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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    Del Monte Foods Corporation II Inc., et al.,1                     ) Case No. 25-16984 (MBK)
                                                                      )
                              Debtors.                                ) (Joint Administration Requested)
                                                                      )

                       NOTICE OF FILING OF DIP CREDIT AGREEMENTS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

             On July 1, 2025, Del Monte Foods Corporation II Inc. and its affiliated debtors and debtors

in possession (collectively, the “Debtors”) filed that certain Motion for Entry of Interim and Final

Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B) Utilize Cash

Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Granting

Adequate Protection, (IV) Modifying Automatic Stay, (V) Scheduling a Final Hearing, and (VI)

Granting Related Relief [Docket No. 17] (the “DIP Motion”), which indicated that the forms of

(a) that certain Debtor-in-Possession ABL Credit Agreement (the “DIP ABL Credit



1
    The last four digits of Debtor Del Monte Foods Corporation II Inc.’s tax identification number are 1894. A complete
    list of the Debtors in these Chapter 11 Cases and their respective tax identification numbers may be obtained on the
    website of the Debtors’ proposed claims and noticing agent, at https://cases.stretto.com/DelMonteFoods. The
    location of the Debtor Del Monte Foods Corporation II Inc.’s principal place of business and the Debtors’ service
    address is 205 North Wiget Lane, Walnut Creek, California 94598.
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Agreement”), and (b) that certain Super-Priority Senior Secured Debtor-in-Possession Credit and

Guaranty Agreement (the “DIP Term Loan Credit Agreement”), to be filed as Exhibit A and

Exhibit B to the Motion, respectively, would be filed separately.

        Copies of the forms of the DIP ABL Credit Agreement and the DIP Term Loan Credit

Agreement (together, the “DIP Credit Agreements”) are attached to this notice as exhibits. A

copy of the DIP ABL Credit Agreement is attached as Exhibit A, and a copy of the DIP Term

Loan Credit Agreement is attached as Exhibit B.

        Copies of documents filed in above-captioned chapter 11 cases may be obtained for free of

charge by visiting the website of the Debtors’ proposed claims and noticing agent at

https://cases.stretto.com/DelMonteFoods. You may also obtain copies of such documents by

visiting the Court’s website at https://ecf.njb.uscourts.gov/ in accordance with the procedures and

fees set forth therein.



                           [Remainder of page intentionally left blank]
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 Dated: July 2, 2025


                                  /s/ Michael D. Sirota
                                  Michael D. Sirota

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                                  Debtors in Possession
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                                EXHIBIT A
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                                                                            Execution Version




                DEBTOR-IN-POSSESSION ABL CREDIT AGREEMENT

                                           among

                         DM INTERMEDIATE II CORPORATION,

                                        as Holdings,

                      DEL MONTE FOODS CORPORATION II INC.,

                                        as Borrower,

                    The Several Lenders from Time to Time Parties Hereto,

                             JPMORGAN CHASE BANK, N.A.,

                                  as Administrative Agent,

WELLS FARGO BANK, NATIONAL ASSOCIATION, CAPITAL ONE, NATIONAL ASSOCIATION,
              BMO CAPITAL MARKETS CORP. and MUFG BANK, LTD.

                                 as Co-Syndication Agents,

                                             and

            U.S. BANK NATIONAL ASSOCIATION AND MUFG BANK, LTD.,

                                  as Documentation Agents

                                   Dated as of July 2, 2025

JPMORGAN CHASE BANK, N.A., WELLS FARGO BANK, NATIONAL ASSOCIATION, CAPITAL
  ONE, NATIONAL ASSOCIATION, BMO CAPITAL MARKETS CORP. and MUFG BANK, LTD.

                        as Joint Lead Arrangers and Joint Bookrunners
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C-2        New Subsidiary Officer’s Certificate
D          Guarantee Agreement
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I-1        [Reserved]
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                  DEBTOR-IN-POSSESSION ABL CREDIT AGREEMENT (this “Agreement”), dated as
of July 2, 2025 among DM Intermediate II Corporation, a New Jersey corporation (“Holdings”), Del Monte
Foods Corporation II Inc., a New Jersey corporation (the “Borrower”), the several banks and other financial
institutions or entities from time to time parties to this Agreement (the “Lenders”), JPMorgan Chase Bank,
N.A., as administrative agent, and the other agents from time to time parties hereto.

                                          W I T N E S S E T H:

                 WHEREAS, on July 1, 2025 (the “Petition Date”), the Borrower, Holdings and certain
direct and indirect Subsidiaries of the Borrower (each, a “Chapter 11 Debtor” and collectively, the “Chapter
11 Debtors”) filed voluntary petitions with the United States Bankruptcy Court for the District of New
Jersey (the “Bankruptcy Court”) initiating their respective jointly administered cases under Chapter 11 of
Title 11 of the United States Code (the “Bankruptcy Code”) (Case No. 25-16984-MBK) (collectively, the
“Chapter 11 Cases”), and each Chapter 11 Debtor has continued and is continuing in the possession of its
assets and management of its business pursuant to Sections 1107 and 1108 of the Bankruptcy Code; and

                WHEREAS, the Borrower has requested that the Lenders extend credit in the form of
Revolving Loans at any time and from time to time during the Revolving Commitment Period, in an
aggregate principal amount at any time outstanding not to exceed the Line Cap, in order to (i) fund the
continued operation of the Borrower’s and other Loan Parties’ businesses during the pendency of the
Chapter 11 Cases and (ii) repay in full all obligations under the Pre-Petition ABL Credit Agreement, subject
to the terms and conditions set forth in this Agreement and the Orders;

                NOW, THEREFORE, the Lenders are willing to extend such credit to the Borrower on the
terms and subject to the conditions set forth herein and the Orders. Accordingly, the parties hereto hereby
agree as follows:

                                      SECTION 1. DEFINITIONS

                 1.1     Defined Terms. As used in this Agreement, the terms listed in this Section 1.1
shall have the respective meanings set forth in this Section 1.1.

                 “ABL Priority Collateral” has the meaning set forth in the Pre-Petition Intercreditor
Agreement; provided, for clarity, that as used herein, “ABL Priority Collateral” includes Previously
Unencumbered Property (as defined in the Orders) that is of the nature of ABL Priority Collateral (as
defined in the Pre-Petition Intercreditor Agreement).

                “ABR” means, when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, bear interest at a rate determined by reference to the
Alternate Base Rate.

                “Account” has the meaning set forth in the Pre-Petition Guarantee and Collateral
Agreement.

                “Account Debtor” means any Person obligated on an Account.

               “Actual Disbursements” means the Actual Non-Operating Items / Restructuring Items and
the Actual Operating Disbursements.

               “Actual Non-Operating Items / Restructuring Items” means with respect to any period, the
amount of non-operating items / restructuring items expended during such period for which the Loan Parties
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are liable for payment (including as reimbursement to any Secured Party or the Lender Financial Advisor)
that correspond to the heading “Non-Operating Items / Restructuring Items” in the Approved DIP Budget
as then in effect.

                  “Actual Operating Disbursements” means with respect to any period, the sum, for such
period, of all such disbursements for all such line items which comprise “Operating Disbursements” (as set
forth in the Approved DIP Budget), on a cumulative basis, as determined by reference to the Approved DIP
Budget as then in effect.

                “Actual Receipts” shall mean with respect to any period, as the context requires, (x) the
amount of actual receipts during such period of the Loan Parties (excluding any borrowings under this
Agreement or the DIP Term Loan Credit Agreement) under the heading “Receipts” in the Approved DIP
Budget and/or (y) the sum, for such period, of all such receipts for all such line items which comprise
“Receipts” (as set forth in the Approved DIP Budget), on a cumulative basis, in each case, as determined
by reference to the Approved DIP Budget as then in effect. For the avoidance of doubt, any proceeds
received from asset sales shall be excluded.

               “Additional Permitted Amount” has the meaning set forth in the definition of Permitted
Refinancing Indebtedness.

                  “Adjusted Daily Simple SOFR” means, an interest rate per annum equal to (a) the Daily
Simple SOFR, plus (b) 0.10%; provided that if the Adjusted Daily Simple SOFR as so determined would
be less than the Floor, such rate shall be deemed to be equal to the Floor for the purposes of this Agreement.

                 “Adjusted Term SOFR Rate” means, for any Interest Period, an interest rate per annum
equal to (a) the Term SOFR Rate for such Interest Period, plus (b) 0.10%; provided that if the Adjusted
Term SOFR Rate as so determined would be less than the Floor, such rate shall be deemed to be equal to
the Floor for the purposes of this Agreement.

                 “Adjustment Date” has the meaning set forth in the Applicable Margin Pricing Grid.

                 “Administrative Agent” means JPMorgan Chase Bank, N.A., together with its affiliates, as
the administrative agent for the Lenders under this Agreement and the other Loan Documents, together
with any of its successors.

                 “Affected Financial Institution” means (a) any EEA Financial Institution or (b) any UK
Financial Institution.

                  “Affiliate” means as to any Person, any other Person that, directly or indirectly, is in control
of, is controlled by, or is under common control with, such Person. For purposes of this definition, “control”
of a Person means the power, directly or indirectly, to direct or cause the direction of the management and
policies of such Person, whether by contract or otherwise.

                 “Agents” means the collective reference to the Administrative Agent and any other agent
identified on the cover page of this Agreement.

                 “Aggregate Exposure Percentage” means, as to any Lender, its Revolving Percentage.

                 “Agreement” has the meaning set forth in the preamble hereto.




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                 “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of (a) the
Prime Rate in effect on such day, (b) the NYFRB Rate in effect on such day plus ½ of 1% and (c) the
Adjusted Term SOFR Rate for a one month Interest Period as published two U.S. Government Securities
Business Days prior to such day (or if such day is not a U.S. Government Securities Business Day, the
immediately preceding U.S. Government Securities Business Day) plus 1.00%; provided that for the
purpose of this definition, the Adjusted Term SOFR Rate for any day shall be based on the Term SOFR
Reference Rate at approximately 5:00 a.m. Chicago time on such day (or any amended publication time for
the Term SOFR Reference Rate, as specified by the CME Term SOFR Administrator in the Term SOFR
Reference Rate methodology). Any change in the Alternate Base Rate due to a change in the Prime Rate,
the NYFRB Rate or the Adjusted Term SOFR Rate shall be effective from and including the effective date
of such change in the Prime Rate, the NYFRB Rate or the Adjusted Term SOFR Rate, respectively. If the
Alternate Base Rate is being used as an alternate rate of interest pursuant to Section 2.16 (for the avoidance
of doubt, only until the Benchmark Replacement has been determined pursuant to Section 2.16(b)), then
the Alternate Base Rate shall be the greater of clauses (a) and (b) above and shall be determined without
reference to clause (c) above. For the avoidance of doubt, if the Alternate Base Rate as determined pursuant
to the foregoing would be less than 1.00%, such rate shall be deemed to be 1.00% for purposes of this
Agreement.

                “Annual Field Examination” has the meaning set forth in Section 6.6(c).

                “Annual Inventory Appraisal” has the meaning set forth in Section 6.6(b).

                “Anti-Corruption Laws” means all laws, rules and regulations of any jurisdiction
applicable to Holdings or its Subsidiaries from time to time concerning or relating to bribery, corruption,
money-laundering, or any financial record keeping (including the U.S. Foreign Corrupt Practices Act of
1977, as amended, the U.K. Bribery Act of 2010 and the Patriot Act) and reporting requirements related
thereto.

                “Applicable Commitment Fee Pricing Grid” means the table set forth below:

                              Average Quarterly
                             Unused Commitments            Commitment Fee Rate
                            <50%                          0.375%
                            ≥50%                          0.50%

                 For the purposes of the tables set forth above, changes to the Commitment Fee Rate as a
result of changes in Average Quarterly Unused Commitments shall become effective on the first day of
each fiscal quarter based upon the Average Quarterly Unused Commitments during the most recently ended
fiscal quarter and shall remain in effect until the next change to be effected pursuant to this paragraph. If,
as of any date that a Borrowing Base Certificate is scheduled to be delivered pursuant to Section 6.2(g),
any Borrowing Base Certificate required to be delivered on or prior to such date shall not have been
delivered, then, until the date of the next change to be effected pursuant to the first sentence of this
paragraph occurring after the date on which all required Borrowing Base Certificates are delivered, the
Administrative Agent, acting at the direction of the Required Lenders, shall declare that the highest rate set
forth in the Applicable Commitment Fee Pricing Grid shall apply. Automatically, upon the occurrence and
continuance of an Event of Default pursuant to Section 8.1(g), the highest rate set forth in the Applicable
Commitment Fee Pricing Grid shall apply.

                 “Applicable Group Members” means the collective reference to Existing Holdings and its
Subsidiaries (other than any Unrestricted Subsidiaries); provided that at any time that Applicable Holdings
is Holdings, Applicable Group Members shall mean the Group Members.

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                 “Applicable Holdings” means Existing Holdings; provided that if Existing Holdings or any
of its Subsidiaries (other than any Group Members) commences new operations after the Closing Date, or
expands its existing operations after the Closing Date or acquires any Person or business after the Closing
Date, Applicable Holdings shall mean Holdings.

                 “Applicable Margin” means, initially, 4.50% in the case of ABR Loans and 5.50% in the
case of Term Benchmark Loans through the first fiscal quarter ending after the Closing Date and thereafter,
subject to adjustment in accordance with the Applicable Margin Pricing Grid.

                 “Applicable Margin Pricing Grid” means the table set forth below:

                                                                        Applicable Margin for
                 Average Quarterly          Applicable Margin for      Term Benchmark Loans
                    Availability                ABR Loans                 and RFR Loans
              ≥ 66% of the Line Cap                4.00%                       5.00%
              <66% but ≥ 33% of the
              Line Cap                              4.25%                        5.25%
              <33% of the Line Cap                  4.50%                        5.50%

                 For the purposes of the Applicable Margin Pricing Grid, changes in the Applicable Margin
as a result of changes in Average Quarterly Availability shall become effective on the first day of each
fiscal quarter (the “Adjustment Date”) based upon the Average Quarterly Availability during the most
recently ended fiscal quarter and shall remain in effect until the next change to be effected pursuant to this
paragraph. If, as of any date that a Borrowing Base Certificate is scheduled to be delivered pursuant to
Section 6.2(g), any Borrowing Base Certificate required to be delivered on or prior to such date shall not
have been delivered, then, until the Adjustment Date occurring after the date on which all required
Borrowing Base Certificates are delivered, the Administrative Agent, acting at the direction of the Required
Lenders, shall declare that the highest rate set forth in each column of the Applicable Margin Pricing Grid
shall apply. Automatically, upon the occurrence and continuance of an Event of Default pursuant to Section
8.1(g), the highest rate set forth in each column of the table set forth above in this defined term shall apply.

                 “Applicable Parties” has the meaning set forth in Section 9.3(c).

                “Applicable Reference Period” means as of any date of determination, the most recently
ended Reference Period for which financial statements with respect to each fiscal quarter included in such
Reference Period have been delivered or were required to have been delivered pursuant to Section 6.1(a)
or 6.1(b); provided that prior to delivery (or required delivery) of any financial statements pursuant to
Section 6.1(a) or 6.1(b), the Applicable Reference Period shall be the Reference Period ended April 27,
2025.

                 “Applicable Transaction” has the meaning set forth in the definition of “Pro Forma Basis”.

                 “Application” means an application, in such form as the Issuing Lender may specify from
time to time, requesting the Issuing Lender to open a Letter of Credit, specifying the date of issuance,
amendment, renewal or extension (which shall be a Business Day) and the date on which such Letter of
Credit is to expire and such other information as the Issuing Lender may request.

              “Approved DIP Budget” means the then most current budget prepared by the Borrower
and approved by the Required Lenders in accordance with Section 6.20. As of the Closing Date, the
Approved DIP Budget is attached hereto as Exhibit M.


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                 “Approved DIP Budget Variance Report” means with respect to a Testing Period, a report
provided by the Borrower to the Administrative Agent and the Lender Financial Advisor, for prompt further
delivery to the Revolving Lenders, (a)(i) showing, on a line item by line item and cumulative basis, the
Actual Disbursements and the Actual Receipts for such Testing Period, (ii) showing, on a line item by line
item and cumulative basis, a comparison (whether positive or negative, in dollars and expressed as a
percentage) of the Actual Disbursements and the Actual Receipts for such Testing Period to the Budgeted
Disbursements and the Budgeted Receipts, (iii) an indication as to whether each variance is temporary or
permanent and analysis and explanations in detail for all variances, (iv) only in the event that a Subsequent
DIP Budget has been requested during the last week of a Budget Period, a weekly roll forward of the Loan
Parties’ cash forecast; and (v) a cash balance for the Loan Parties; and (b) which such reports shall be in a
form, and shall contain supporting information, satisfactory to the Required Lenders in their sole discretion
(it being acknowledged and agreed that the form of the variance report provided by the Borrower to the
Revolving Lenders prior to the Closing Date shall be deemed satisfactory).

                “Approved Electronic Platform” has the meaning set forth in Section 9.3(a).

                “Approved Fund” has the meaning set forth in Section 10.6(b).

                “Arranger” means each Joint Lead Arranger and Joint Bookrunner identified on the cover
page of this Agreement.

                 “Asset Sale Reserve” means, with respect to any Sweep Asset Sale, 40% of the net
consideration for such Sweep Asset Sale not attributable to Borrowing Base Property. In the event of a
Sweep Asset Sale that does not allocate consideration between Borrowing Base Property on the one hand
and other assets on the other hand, then the portion of net consideration allocable to assets not constituting
Borrowing Base Property shall be calculated as the difference between (a) the gross consideration for Sweep
Asset Sale minus (b) the book value of the Borrowing Base Property sold (for the avoidance of doubt,
before applying net orderly liquidation values or Borrowing Base advance rates).

                “Assignee” has the meaning set forth in Section 10.6(b).

               “Assignment and Assumption” means an Assignment and Assumption, substantially in the
form of Exhibit E or any other form (including electronic records generated by the use of an electronic
platform) approved by the Administrative Agent.

                “Availability” means at any time, an amount equal to (a) the Line Cap minus (b) the Total
Revolving Extensions of Credit then outstanding (calculated, with respect to any Defaulting Lender, as if
such Defaulting Lender had funded its Revolving Percentage of all outstanding Revolving Loans).

                “Available Revolving Commitment” means as to any Revolving Lender at any time, an
amount equal to the excess, if any, of (a) such Lender’s Revolving Commitment then in effect over (b) such
Lender’s Revolving Extensions of Credit then outstanding.

                 “Available Tenor” means, as of any date of determination and with respect to the then-
current Benchmark, as applicable, any tenor for such Benchmark (or component thereof) or payment period
for interest calculated with reference to such Benchmark (or component thereof), as applicable, that is or
may be used for determining the length of an Interest Period for any term rate or otherwise, for determining
any frequency of making payments of interest calculated pursuant to this Agreement as of such date and
not including, for the avoidance of doubt, any tenor for such Benchmark that is then-removed from the
definition of “Interest Period” pursuant to clause (e) of Section 2.16.


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                 “Average Quarterly Availability” means, for any fiscal quarter of Holdings, an amount
equal to the average daily Availability during such fiscal quarter, as determined by the Administrative
Agent’s system of records; provided, that in order to determine Availability on any day for purposes of this
definition, the Borrower’s Borrowing Base for such day shall be determined by reference to the most recent
Borrowing Base Certificate delivered pursuant to Section 6.2(g), Section 6.2(l), Section 6.11 or Section 7.5
to the Administrative Agent as of such day.

                “Average Quarterly Outstanding Amount” means, for any fiscal quarter of Holdings, an
amount equal to the average daily Total Revolving Extensions of Credit during such fiscal quarter, as
determined by the Administrative Agent’s system of records.

               “Average Quarterly Unused Commitments” means, for any fiscal quarter of Holdings, an
amount equal to the average daily Unused Commitments during such fiscal quarter, as determined by the
Administrative Agent’s system of records.

                “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable Resolution Authority in respect of any liability of an Affected Financial Institution.

                 “Bail-In Legislation” means (a) with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union,
the implementing law, regulation rule or requirement for such EEA Member Country from time to time
which is described in the EU Bail-In Legislation Schedule and (b) with respect to the United Kingdom,
Part I of the United Kingdom Banking Act 2009 (as amended from time to time) and any other law,
regulation or rule applicable in the United Kingdom relating to the resolution of unsound or failing banks,
investment firms or other financial institutions or their affiliates (other than through liquidation,
administration or other insolvency proceedings).

                “Bank Products” means any of the following bank: (a) commercial credit cards, (b) stored
value cards, (c) purchasing cards and (d) treasury, depositary or cash management services (including
controlled disbursement, automated clearinghouse transactions, return items, overdrafts, supply chain
finance services related to accounts payable and interstate depository network services) or any similar
transaction.

                 “Banking Services” means Bank Products provided to any Group Member or any
Subsidiary of a Group Member by (a) the Administrative Agent or any of its Affiliates or (b) any Lender
or any of its Affiliates.

                 “Banking Services Obligations” means with respect to the Group Members or any
Subsidiary of a Group Member, any and all obligations of the Group Members or any Subsidiary of a Group
Member, whether absolute or contingent and howsoever and whensoever created, arising, evidenced or
acquired (including all renewals, extensions and modifications thereof and substitutions therefor) in
connection with Banking Services.

                 “Banking Services Reserves” means all Reserves that the Administrative Agent from time
to time establishes in its Permitted Discretion for Banking Services then provided or outstanding.

                “Bankruptcy Code” has the meaning set forth in the recitals.

                “Bankruptcy Court” has the meaning set forth in the recitals.




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                  “Bankruptcy Event” means with respect to any Person, such Person becomes the subject
of a bankruptcy or insolvency proceeding, or has had a receiver, conservator, trustee, administrator,
custodian, assignee for the benefit of creditors or similar Person charged with the reorganization or
liquidation of its business appointed for it, or, in the good faith determination of the Administrative Agent,
has taken any action in furtherance of, or indicating its consent to, approval of, or acquiescence in, any such
proceeding or appointment, provided that a Bankruptcy Event shall not result solely by virtue of any
ownership interest, or the acquisition of any ownership interest, in such Person by a Governmental
Authority or instrumentality thereof, provided, further, that such ownership interest does not result in or
provide such Person with immunity from the jurisdiction of courts within the United States or from the
enforcement of judgments or writs of attachment on its assets or permit such Person (or such Governmental
Authority or instrumentality) to reject, repudiate, disavow or disaffirm any contracts or agreements made
by such Person.

                “Benchmark” means, initially, with respect to any (i) RFR Loan, the Daily Simple SOFR
or (ii) Term Benchmark Loan, the Term SOFR Rate; provided that if a Benchmark Transition Event and its
related Benchmark Replacement Date have occurred with respect to the Daily Simple SOFR or Term SOFR
Rate, as applicable, or the then-current Benchmark, then “Benchmark” means the applicable Benchmark
Replacement to the extent that such Benchmark Replacement has replaced such prior benchmark rate
pursuant to clause (b) of Section 2.16.

                “Benchmark Replacement” means, for any Available Tenor, the first alternative set forth
in the order below that can be determined by the Administrative Agent for the applicable Benchmark
Replacement Date:

                 (1)     the Adjusted Daily Simple SOFR;

                (2)     the sum of: (a) the alternate benchmark rate that has been selected by the
        Administrative Agent and the Borrower as the replacement for the then-current Benchmark for the
        applicable Corresponding Tenor giving due consideration to (i) any selection or recommendation
        of a replacement benchmark rate or the mechanism for determining such a rate by the Relevant
        Governmental Body or (ii) any evolving or then-prevailing market convention for determining a
        benchmark rate as a replacement for the then-current Benchmark for Dollar-denominated
        syndicated credit facilities at such time in the United States and (b) the related Benchmark
        Replacement Adjustment;

                 If the Benchmark Replacement as determined pursuant to clause (1) or (2) above would be
less than the Floor, the Benchmark Replacement will be deemed to be the Floor for the purposes of this
Agreement and the other Loan Documents.

                “Benchmark Replacement Adjustment” means, with respect to any replacement of the
then-current Benchmark with an Unadjusted Benchmark Replacement for any applicable Interest Period
and Available Tenor for any setting of such Unadjusted Benchmark Replacement, the spread adjustment,
or method for calculating or determining such spread adjustment, (which may be a positive or negative
value or zero) that has been selected by the Administrative Agent and the Borrower for the applicable
Corresponding Tenor giving due consideration to (i) any selection or recommendation of a spread
adjustment, or method for calculating or determining such spread adjustment, for the replacement of such
Benchmark with the applicable Unadjusted Benchmark Replacement by the Relevant Governmental Body
on the applicable Benchmark Replacement Date and/or (ii) any evolving or then-prevailing market
convention for determining a spread adjustment, or method for calculating or determining such spread
adjustment, for the replacement of such Benchmark with the applicable Unadjusted Benchmark
Replacement for dollar-denominated syndicated credit facilities at such time.:

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                 “Benchmark Replacement Conforming Changes” means, with respect to any Benchmark
Replacement and/or any Term Benchmark Loan, any technical, administrative or operational changes
(including changes to the definition of “Alternate Base Rate,” the definition of “Business Day,” the
definition of “U.S. Government Securities Business Day,” the definition of “Interest Period,” timing and
frequency of determining rates and making payments of interest, timing of borrowing requests or
prepayment, conversion or continuation notices, length of lookback periods, the applicability of breakage
provisions, and other technical, administrative or operational matters) that the Administrative Agent decides
in its reasonable discretion may be appropriate to reflect the adoption and implementation of such
Benchmark and to permit the administration thereof by the Administrative Agent in a manner substantially
consistent with market practice (or, if the Administrative Agent decides that adoption of any portion of such
market practice is not administratively feasible or if the Administrative Agent determines that no market
practice for the administration of such Benchmark exists, in such other manner of administration as the
Administrative Agent decides is reasonably necessary in connection with the administration of this
Agreement and the other Loan Documents).

                 “Benchmark Replacement Date” means, with respect to any Benchmark, the earliest to
occur of the following events with respect to such then-current Benchmark:

                 (1)       in the case of clause (1) or (2) of the definition of “Benchmark Transition Event,”
        the later of (a) the date of the public statement or publication of information referenced therein and
        (b) the date on which the administrator of such Benchmark (or the published component used in
        the calculation thereof) permanently or indefinitely ceases to provide all Available Tenors of such
        Benchmark (or such component thereof); or

                 (2)     in the case of clause (3) of the definition of “Benchmark Transition Event,” the
        first date on which such Benchmark (or the published component used in the calculation thereof)
        has been determined and announced by the regulatory supervisor for the administrator of such
        Benchmark (or such component thereof) to be no longer representative; provided, that such non-
        representativeness will be determined by reference to the most recent statement or publication
        referenced in such clause (c) and even if any Available Tenor of such Benchmark (or such
        component thereof) continues to be provided on such date. For the avoidance of doubt, (i) if the
        event giving rise to the Benchmark Replacement Date occurs on the same day as, but earlier than,
        the Reference Time in respect of any determination, the Benchmark Replacement Date will be
        deemed to have occurred prior to the Reference Time for such determination and (ii) the
        “Benchmark Replacement Date” will be deemed to have occurred in the case of clause (1) or (2)
        with respect to any Benchmark upon the occurrence of the applicable event or events set forth
        therein with respect to all then-current Available Tenors of such Benchmark (or the published
        component used in the calculation thereof).

                “Benchmark Transition Event” means, with respect to any Benchmark, the occurrence of
one or more of the following events with respect to such then-current Benchmark:

                (1)     a public statement or publication of information by or on behalf of the
        administrator of such Benchmark (or the published component used in the calculation thereof)
        announcing that such administrator has ceased or will cease to provide all Available Tenors of such
        Benchmark (or such component thereof), permanently or indefinitely, provided that, at the time of
        such statement or publication, there is no successor administrator that will continue to provide any
        Available Tenor of such Benchmark (or such component thereof);

               (2)      a public statement or publication of information by the regulatory supervisor for
        the administrator of such Benchmark (or the published component used in the calculation thereof),

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        the Federal Reserve Board, the NYFRB, the CME Term SOFR Administrator, an insolvency
        official with jurisdiction over the administrator for such Benchmark (or such component), a
        resolution authority with jurisdiction over the administrator for such Benchmark (or such
        component) or a court or an entity with similar insolvency or resolution authority over the
        administrator for such Benchmark (or such component), in each case, which states that the
        administrator of such Benchmark (or such component) has ceased or will cease to provide all
        Available Tenors of such Benchmark (or such component thereof) permanently or indefinitely;
        provided that, at the time of such statement or publication, there is no successor administrator that
        will continue to provide any Available Tenor of such Benchmark (or such component thereof); or

                (3)       a public statement or publication of information by the regulatory supervisor for
        the administrator of such Benchmark (or the published component used in the calculation thereof)
        announcing that all Available Tenors of such Benchmark (or such component thereof) are no
        longer, or as of a specified future date will no longer be, representative.

                For the avoidance of doubt, a “Benchmark Transition Event” will be deemed to have
occurred with respect to any Benchmark if a public statement or publication of information set forth above
has occurred with respect to each then-current Available Tenor of such Benchmark (or the published
component used in the calculation thereof).

                “Benchmark Unavailability Period” means, with respect to any Benchmark, the period (if
any) (x) beginning at the time that a Benchmark Replacement Date pursuant to clauses (1) or (2) of that
definition has occurred if, at such time, no Benchmark Replacement has replaced such then-current
Benchmark for all purposes hereunder and under any Loan Document in accordance with Section 2.16 and
(y) ending at the time that a Benchmark Replacement has replaced such then-current Benchmark for all
purposes hereunder and under any Loan Document in accordance with Section 2.16.

                 “Beneficial Ownership Certification” means a certification regarding beneficial ownership
or control as required by the Beneficial Ownership Regulation.

                 “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in Section 3(3) of
ERISA) that is subject to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code to which
Section 4975 of the Code applies, and (c) any Person whose assets include (for purposes of the Plan Asset
Regulations or otherwise for purposes of Title I of ERISA or Section 4975 of the Code) the assets of any
such “employee benefit plan” or “plan.”

                 “Benefitted Lender” has the meaning set forth in Section 10.7(a).

                 “BHC Act Affiliate” of a party means an “affiliate” (as such term is defined under, and
interpreted in accordance with, 12 U.S.C. 1841(k)) of such party.

                “Bid Deadline” means such date as 100% of the Lenders may agree from time to time
(including by electronic mail to the Administrative Agent (or its counsel)).

                  “Bidding Procedures Order” means an order of the Bankruptcy Court approving procedures
for the sale of all or substantially all of the assets of the Debtors, which order contains sales milestones and
deadlines in form and substance acceptable and is otherwise in form and substance reasonably acceptable
to the Administrative Agent and the Required Lenders.


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                “Board” means the Board of Governors of the Federal Reserve System of the United States
(or any successor).

                “Borrower” has the meaning set forth in the preamble hereto.

                 “Borrowing” means (a) Revolving Loans of the same Facility and Type, made, converted
or continued on the same date and, in the case of Term Benchmark Loans, as to which a single Interest
Period is in effect or (b) a Swingline Loan.

                “Borrowing Base” means at any time, the sum of:

               (a)      (i) 85% (or, during the Seasonal Advance Period, 90%) of the book value of the
        Borrowing Base Parties’ Non-Investment Grade Eligible Accounts at such time and (ii) 90% of the
        book value of the Borrowing Base Parties’ Investment Grade Eligible Accounts, plus

                 (b)      the lesser of (i) the amount equal to 85% (or, during the Seasonal Advance Period,
        90%) multiplied by the Net Orderly Liquidation Value percentage identified in the most recent
        Inventory appraisal ordered by the Administrative Agent multiplied by the book value of the
        Borrowing Base Parties’ Eligible Inventory and (ii) 75% (or, during the Seasonal Advance Period,
        80%) multiplied by the cost of the Borrowing Base Parties’ Eligible Inventory valued on a first-
        in-first-out basis, minus

                (c)      Reserves (excluding, for avoidance of doubt, the Cumulative Reserve);

provided that (i) in determining the Net Orderly Liquidation Value with respect to Inventory, the
Administrative Agent may determine such value on a blended, product-line or other basis as it determines
in its Permitted Discretion and (ii) unless an Event of Default has occurred and is continuing, no change in
the Net Orderly Liquidation Values as in effect on the Closing Date shall become effective as a result of a
Post-Closing Appraisal prior to the date that is the six-month anniversary of the Closing Date (or such
earlier date as agreed by the Borrower).

                 The Administrative Agent may, in its Permitted Discretion (following (to the extent
practicable) reasonable prior notice to, and consultation with, the Borrower) adjust Reserves or reduce one
or more of the other elements used in computing the Borrowing Base, with any such changes to be effective
five Business Days after delivery of notice thereof to the Borrower and the Lenders; provided that if
consultation with the Borrower and/or notice to the Borrower and the Lenders is not practicable or if failure
to implement any such change within a shorter time period would, in the good faith judgment of the
Administrative Agent, reasonably be expected to result in a Material Adverse Effect or materially and
adversely affect the Collateral or the rights of the Lenders under the Loan Documents, such change may be
implemented within a shorter time as determined by the Administrative Agent in its Permitted Discretion.
The Borrowing Base at any time shall be determined by reference to the most recent Borrowing Base
Certificate delivered to the Administrative Agent pursuant to Section 6.2(g), Section 6.2(l), Section 6.11 or
Section 7.5 of this Agreement, as adjusted to give effect to Reserves; provided that, with respect to any
Seasonal Advance Period, (i) the higher advance rates applicable during such Seasonal Advance Period
will become effective on the date that a Borrowing Base Certificate is first delivered to the Administrative
Agent pursuant to Section 6.2(g), Section 6.2(l), Section 6.11 or Section 7.5 of this Agreement during such
Seasonal Advance Period and (ii) the lower advance rates applicable when such Seasonal Advance Period
ends will automatically become effective on February 1 of any fiscal year.




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                “Borrowing Base Certificate” means a certificate, signed and certified as accurate and
complete by a Responsible Officer of the Borrower, in substantially the form of Exhibit J or another form
which is acceptable to the Administrative Agent in its sole discretion.

                “Borrowing Base Parties” means the Loan Parties other than the Parent Guarantors.

                “Borrowing Base Property” means Eligible Inventory and Eligible Accounts.

               “Borrowing Date” means any Business Day specified by the Borrower as a date on which
the Borrower requests the relevant Lenders to make Loans hereunder.

                “Borrowing Request” means a request by the Borrower for a Revolving Borrowing in
accordance with Section 2.2, which shall be substantially in the form approved by the Administrative Agent
and separately provided to the Borrower.

                “Budget” has the meaning set forth in Section 6.2(c).

                  “Budget Period” means each four-week period set forth in the Approved DIP Budget in
effect at such time, with each new four-week period commencing at the end of the prior four-week period.
The first Budget Period shall be the four-week period ending July 25, 2025.

               “Budgeted Disbursements” means the Budgeted Non-Operating Items / Restructuring
Items and the Budgeted Operating Disbursements.

               “Budgeted Non-Operating Items / Restructuring Items” means with respect to any period,
the amount of non-operating items / restructuring items for such period that are set forth under the heading
“Non-Operating Items / Restructuring Items” in the Approved DIP Budget, as then in effect.

                “Budgeted Operating Disbursements” means with respect to any period, as the context
requires, the sum of all such line items under the heading “Operating Disbursements” (as set forth in the
Approved DIP Budget), as determined by reference to the Approved DIP Budget as then in effect.

                “Budgeted Receipts” means with respect to any period, as the context requires, (x) the line
item under the heading “Receipts” in the Approved DIP Budget and/or (y) the sum, for such period, of all
the amounts for all such line items which comprise “Receipts” (as set forth in the Approved DIP Budget),
on a cumulative basis, in each case, as determined by reference to the Approved Budget as then in effect.

                “Budgeted Liquidity” means as of any date of determination, as the context requires, for
the Loan Parties, the amount set forth as of such date as Liquidity, in each case as determined by reference
to the Approved DIP Budget as then in effect.

                   “Business Day” means, any day (other than a Saturday or a Sunday) on which banks are
open for business in New York City; provided that, in addition to the foregoing, a Business Day shall be
(a) in relation to RFR Loans and any interest rate settings, fundings, disbursements, settlements or payments
of any such RFR Loan, or any other dealings of such RFR Loan and (b) in relation to Loans referencing the
Adjusted Term SOFR Rate and any interest rate settings, fundings, disbursements, settlements or payments
of any such Loans referencing the Adjusted Term SOFR Rate or any other dealings of such Loans
referencing the Adjusted Term SOFR Rate, any such day that is only a U.S. Government Securities Business
Day.




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                 “Capital Lease” means a lease required to be capitalized on a balance sheet (excluding the
footnotes thereto) prepared in accordance with IFRS.

                 “Capital Lease Obligations” of any Person means the obligations of such Person to pay
rent or other amounts under a Capital Lease, and the amount of such obligation shall be the capitalized
amount thereof determined in accordance with IFRS as in effect immediately prior to January 1, 2019,
excluding liabilities resulting from a change in IFRS subsequent to January 1, 2019 (and, for the avoidance
of doubt, without giving effect to IFRS 16 Leases).

                “Capital Stock” means any and all shares, interests, participations or other equivalents
(however designated) of capital stock of a corporation, any and all equivalent ownership interests in a
Person (other than a corporation) and any and all warrants, rights or options to purchase any of the
foregoing, but excluding any debt securities convertible into any of the foregoing.

                “Carve-Out” has the meaning set forth in the Orders.

                  “Cash Equivalents” means (a) marketable direct obligations issued by, or unconditionally
guaranteed by, the United States government or issued by any agency thereof and backed by the full faith
and credit of the United States, in each case maturing within two years from the date of acquisition; (b)
certificates of deposit, time deposits, eurodollar time deposits or overnight bank deposits having maturities
of six months or less from the date of acquisition issued by any Lender or by any commercial bank
organized under the laws of the United States or any state thereof having combined capital and surplus of
not less than $250,000,000; (c) commercial paper of an issuer rated at least A-2 by S&P or P-2 by Moody’s,
or carrying an equivalent rating by a nationally recognized rating agency, if both of the two named rating
agencies cease publishing ratings of commercial paper issuers generally, and maturing within nine months
from the date of acquisition; (d) repurchase obligations of any Lender or of any commercial bank satisfying
the requirements of clause (b) of this definition, having a term of not more than 30 days, with respect to
securities issued or fully guaranteed or insured by the United States government; (e) securities with
maturities of two years or less from the date of acquisition issued or fully guaranteed by any state,
commonwealth or territory of the United States, by any political subdivision or taxing authority of any such
state, commonwealth or territory or by any foreign government, the securities of which state,
commonwealth, territory, political subdivision, taxing authority or foreign government (as the case may be)
are rated at least A by S&P or A by Moody’s; (f) securities with maturities of six months or less from the
date of acquisition backed by standby letters of credit issued by any Lender or any commercial bank
satisfying the requirements of clause (b) of this definition; (g) money market mutual or similar funds that
invest exclusively in assets satisfying the requirements of clauses (a) through (f) of this definition; or (h)
money market funds that (i) comply with the criteria set forth in SEC Rule 2a-7 under the Investment
Company Act of 1940, as amended, (ii) are rated AAA by S&P and Aaa by Moody’s and (iii) have portfolio
assets of at least $5,000,000,000.

                  “Cash Management Motion” means the Debtors’ Motion for Entry of Interim and Final
Orders (I) Authorizing the Debtors to (A) Continue to Operate their Cash Management System and Honor
Prepetition Obligations Related Thereto, (B) Maintain Existing Bank Accounts, (C) Perform Intercompany
Transactions in the Ordinary Course, and (D) Maintain Existing Business Forms; and (II) Granting Related
Relief to be filed on the docket of the Bankruptcy Case.

               “CFC” means (a) each Person that is a “controlled foreign corporation” for purposes of the
Code and (b) each Subsidiary of any such Person.

                “CFC Holding Company” means each Domestic Subsidiary substantially all of the assets
of which consist of Capital Stock of one or more (a) CFCs or (b) Persons described in this definition.

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                 “Change of Control” means, (i) Holdings ceases, directly or indirectly, to own legally and
beneficially 100% of the issued and outstanding equity interests (for avoidance of doubt, excluding
unexercised options and warrants) of the Borrower, (ii) DMFI ceases, directly or indirectly, to own legally
and beneficially 100% of the issued and outstanding common equity interests (for avoidance of doubt,
excluding unexercised options and warrants) of the Borrower, (iii) Existing Holdings ceases, directly or
indirectly, to own legally and beneficially 100% of the issued and outstanding common equity interests (for
avoidance of doubt, excluding unexercised options and warrants) of the Borrower, (iv) Permitted Holders
shall fail to own beneficially, directly or indirectly, in the aggregate Capital Stock representing at least a
majority of the aggregate ordinary voting power represented by the issued and outstanding Capital Stock
of Holdings, (v) any “person” or “group” (within the meaning of Rules 13d-3 and 13d-5 under the Exchange
Act) (other than the Permitted Holders) shall acquire, directly or indirectly, at any time beneficial ownership
representing (a) more than 35% of the ordinary voting power represented by the issued and outstanding
Capital Stock of DMPL and (b) more than the percentage of the ordinary voting power represented by the
issued and outstanding Capital Stock of DMPL beneficially owned, directly or indirectly, by the Permitted
Holders, (vi) one or more sales of all or substantially all of the assets of the Loan Parties have been
consummated pursuant to the Chapter 11 Cases or (vii) any “Change of Control” (or words of like import)
as defined in the Term Loan Credit Agreement or any Refinancing thereof.

                 “Chapter 11 Cases” has the meaning set forth in the recitals.

                 “Chapter 11 Debtors” has the meaning set forth in the recitals.

                 “Closing Date” means July 2, 2025.

               “CME Term SOFR Administrator” means CME Group Benchmark Administration
Limited as administrator of the forward-looking term Secured Overnight Financing Rate (SOFR) (or a
successor administrator).

               “Co-Syndication Agent” means each Co-Syndication Agent identified on the cover page
of this Agreement.

                 “Code” means the Internal Revenue Code of 1986, as amended.

                “Collateral” means all property of the Loan Parties, now owned or hereafter acquired, upon
which a Lien is purported to be created by any Security Document, which, for the avoidance of doubt, shall
exclude all Excluded Collateral.

                 “Collateral Access Agreement” means any landlord waiver or other agreement, in form
and substance reasonably satisfactory to the Administrative Agent, between the Administrative Agent and
any third party (including any bailee, consignee, customs broker, or other similar Person) in possession of
any Collateral or any landlord of any real property where any Collateral is located, as such landlord waiver
or other agreement may be amended, restated, or otherwise modified from time to time.

                  “Collection Account” means individually and collectively, each “Collection Account”
referred to in the Pre-Petition Guarantee and Collateral Agreement.

                 “Commitment Fee Rate” means, initially as of the Closing Date, 0.375% per annum
through the first fiscal quarter ending after the Closing Date, and, thereafter, subject to adjustment based
on Average Quarterly Unused Commitments in accordance with the Applicable Commitment Fee Pricing
Grid.


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               “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.),
as amended from time to time, and any successor statute.

                 “Communications” means, collectively, any notice, demand, communication, information,
document or other material provided by or on behalf of any Loan Party pursuant to any Loan Document or
the transactions contemplated therein which is distributed by the Administrative Agent, any Lender or any
Issuing Lender by means of electronic communications pursuant to this Section, including through an
Approved Electronic Platform.

               “Compliance Certificate” means a certificate duly executed by a Responsible Officer of
Holdings substantially in the form of Exhibit F.

               “Connection Income Taxes” means Other Connection Taxes that are imposed on or
measured by net income (however denominated) or that are franchise Taxes or branch profits Taxes.

                “Consolidated Amortization Expense” for any period means the amortization expense of
Applicable Holdings and the Applicable Group Members for such period, determined on a consolidated
basis in accordance with IFRS.

                 “Consolidated Cash Balance” means, at any time, (a) the aggregate amount of cash and
Cash Equivalents held or owned by (either directly or indirectly), credited to the account of or reflected as
an asset on the balance sheet of Holdings and its Subsidiaries less (b) the sum of (i) any restricted cash or
Cash Equivalents to pay royalty obligations, working interest obligations, suspense payments, severance
taxes, payroll, payroll taxes, other taxes, employee wage and benefit payments and trust and fiduciary
obligations or other obligations of Holdings or any Subsidiary to third parties and for which Holdings or
such Subsidiary has issued checks or has initiated wires or Automated Clearing House (“ACH”) transfers
(or, in the Borrower’s discretion, will issue checks or initiate wires or ACH transfers within five Business
Days) in order to pay, (ii) other amounts for which Holdings or such Subsidiary has issued checks or has
initiated wires or ACH transfers but have not yet been subtracted from the balance in the relevant account
of Holdings or such Subsidiary and (iii) to the extent reflected in clause (a) above, any cash or Cash
Equivalents of Holdings or any Subsidiaries constituting purchase price deposits held in escrow pursuant
to a binding and enforceable purchase and sale agreement with a third party.

                “Consolidated Depreciation Expense” for any period means the depreciation expense of
Applicable Holdings and the Applicable Group Members for such period, determined on a consolidated
basis in accordance with IFRS.

                “Consolidated EBITDA” means for any period, with respect to Applicable Holdings and
the Applicable Group Members, without duplication, the sum of the amounts for such period of:

                (a)      Consolidated Net Income; plus

                (b)      in each case, only to the extent deducted in determining Consolidated Net Income,

                         (i)      Consolidated Income Tax Expense; plus

                         (ii)     Consolidated Amortization Expense; plus

                         (iii)    Consolidated Depreciation Expense; plus

                         (iv)     Consolidated Interest Expense; plus

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                    (v)      any costs, expenses or charges (including advisory, legal and professional
           fees) related to any issuance of debt or equity, investments, acquisition, disposition, asset
           sale, recapitalization or incurrence, issuance, amendment, waiver, modification,
           redemption or refinancing of any Indebtedness, whether or not consummated, including
           (A) prepayment premiums, breakage costs and funding costs, (B) fees, expenses or charges
           related to the Transactions, (C) any amendment or modification of the Loan Documents or
           the Term Loans, (D) any net loss from the extinguishment of any Indebtedness of any
           Person or the amortization or write-off of Indebtedness issuance costs or Indebtedness
           discount, (E) any expenses in connection with related due diligence activities or other
           transactions costs, (F) any write-off or amortization of deferred financing costs and (G)
           any net after tax extraordinary, nonrecurring or unusual gains or losses or income or
           expense or charge (less all fees and expenses relating thereto), whether cash or non-cash,
           including, bonuses payable, any “change of control” payments, and expenses in connection
           with the exercise of stock options by certain holders of options in connection with any such
           acquisition; plus

                   (vi)     any non-cash compensation charges or other non-cash charges or expenses
           (including write-offs and write-downs) with respect to the grant, issuance or repricing of
           stock or shares, stock options, restricted stock or other equity compensation awards or any
           amendment, modification, substitution or change of any equity-based award; plus

                    (vii)   any costs, charges, accruals, reserves or expenses attributable to the
           undertaking and/or implementation of business optimization, reorganization or
           restructuring initiatives, cost savings initiatives, cost rationalization programs, operating
           expense reductions (including in connection with any integration, restructuring or
           transition, facility openings and/or re-openings, inventory optimization programs,
           curtailments and/or future lease commitments), charges relating to the closure or
           consolidation of facilities (including severance, rent termination costs, moving costs and
           legal costs), severance charges, retention or completion bonuses, charges associated with
           modifications to pension and post-retirement employee benefit plans, corporate
           development charges and professional and consulting fees incurred in connection with any
           of the foregoing; plus

                    (viii) the amount of “run rate” cost savings, operating expense reductions,
           restructuring charges and expenses and cost saving synergies projected by Applicable
           Holdings in good faith to be realized, as a result of actions taken or expected to be taken,
           within 12 months of the end of the relevant Reference Period (calculated on a pro forma
           basis as though such cost savings, operating expense reductions, restructuring charges and
           expenses and cost saving synergies had been realized on the first day of such Reference
           Period), net of the amount of actual benefits realized during such Reference Period from
           such actions; provided that (i) such cost savings, operating expense reductions,
           restructuring charges and expenses and cost saving synergies are reasonably identifiable
           and factually supportable and (ii) such adjustments may be incremental to (but not
           duplicative of) pro forma adjustments otherwise made pursuant to this Agreement; plus

                    (ix)   any non-cash impairment charges relating to goodwill or other intangible
           assets; plus

                   (x)      long-term incentive compensation for employees of any entity acquired in
           a transaction not prohibited under the terms of this Agreement; plus


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                         (xi)     all other non-cash items reducing Consolidated Net Income (excluding
                 any non-cash charge that results in an accrual of a reserve for cash charges in any future
                 period) for such period,

                 provided that, any amounts added back pursuant to clauses (v), (vi), (vii) and (viii), in the
                 aggregate, shall not exceed 20% of Consolidated EBITDA in any Reference Period (prior
                 to giving effect to the addbacks in clauses (v), (vi), (vii) and (viii)); provided that the
                 following shall be excluded from such limit: (i) disposition costs related to the Hanford,
                 California facility in an aggregate principal amount not to exceed $10,000,000, (ii) costs
                 related to the transactions set forth in “Step 1” of the “Transaction Structure” section of the
                 Financing Commitment Letter and the Step 2 Transactions incurred on or prior to
                 September 30, 2024 and (iii) expenses exclusively related to any reduction in force and
                 other restructuring related activities in an aggregate principal amount not to exceed
                 $10,000,000 and incurred on or prior to July 2, 2025;

                         minus

                 (c)     Consolidated Income Tax Benefit; minus

                (d)      the aggregate amount of all non-cash items, determined on a consolidated basis, to
        the extent such items increased Consolidated Net Income for such period (excluding any non-cash
        items to the extent they represent the reversal of an accrual of a reserve for a potential cash item
        that reduced Consolidated EBITDA in any prior period); minus

                 (e)     any cash payments made in respect of items described in clause (b)(vi) or (b)(x)
        above subsequent to the fiscal quarter in which the relevant non-cash expenses or losses were
        reflected as a charge in the statement of Consolidated Net Income; and

                (f)      increased or decreased to eliminate from Consolidated Net Income the effects of
        adjustments (including the effects of such adjustments pushed down to Holdings and its Restricted
        Subsidiaries) in any line item in Applicable Holdings’ consolidated financial statements in such
        period pursuant to IFRS resulting from the application of purchase accounting in relation to any
        completed acquisition.

For the purposes of calculating Consolidated EBITDA for any Reference Period pursuant to any
determination of the Consolidated Leverage Ratio, if at any time during such Reference Period Applicable
Holdings or any other Applicable Group Member shall have made any Material Disposition, the
Consolidated EBITDA for such Reference Period shall be reduced by an amount equal to the Consolidated
EBITDA (if positive) attributable to the property that is the subject of such Material Disposition for such
Reference Period or increased by an amount equal to the Consolidated EBITDA (if negative) attributable
thereto for such Reference Period.

                “Consolidated Income Tax Benefit” for any period means the income tax benefit of
Applicable Holdings and the Applicable Group Members for such period, determined on a consolidated
basis in accordance with IFRS.

                 “Consolidated Income Tax Expense” for any period means all provisions for taxes based
on the net income, profits or capital, including federal, provincial, territorial, foreign, state, franchise and
excise and similar taxes and foreign withholding taxes paid or accrued during such period (including in
respect of repatriated funds and any penalties and interest related to such taxes), in each case, of Applicable


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Holdings and the Applicable Group Members (including any additions to such taxes, and any penalties and
interest with respect thereto), determined on a consolidated basis in accordance with IFRS.

                 “Consolidated Interest Expense” for any period means the sum, without duplication, of the
total interest expense of Applicable Holdings and the Applicable Group Members for such period,
determined on a consolidated basis in accordance with IFRS, including, without duplication:

                (a)      imputed interest on Capital Lease Obligations;

                 (b)     commissions, discounts and other fees and charges owed with respect to letters of
        credit securing financial obligations, bankers’ acceptance financing and receivables financings;

               (c)      the net costs associated with Swap Obligations related to interest rates (excluding
        amortization of fees or any non-cash interest expense attributable to the movement in mark-to-
        market valuation of such obligations);

                (d)      amortization of original issue discount;

                (e)      all other non-cash interest expense;

                (f)      capitalized interest;

               (g)      all dividend payments on any series of Disqualified Capital Stock of Applicable
        Holdings or any of the Applicable Group Members or any Preferred Stock of any Applicable Group
        Member (other than dividends on Capital Stock payable solely in Qualified Capital Stock of
        Applicable Holdings, or to Applicable Holdings or any Applicable Group Member);

                (h)   all interest payable on DMPL Payables, Disqualified Parent Payables and DMPL
        Intercompany Debt;

                (i)      all interest payable with respect to discontinued operations; and

                (j)      all interest on any Indebtedness described in clause (h) or (i) of the definition of
        Indebtedness.

Consolidated Interest Expense shall not include any interest expenses relating to (A) penalties and interest
related to taxes, (B) amortization or write-off of deferred financing fees, debt issuance costs, debt discount
or premium, terminated hedging obligations and other commissions, financing fees and expenses, (C) any
expensing of bridge, commitment or other financing fees, (D) fees related to undrawn letters of credit and
(E) any expense resulting from the discounting of any Indebtedness in connection with the application of
purchase accounting in connection with any acquisition.

               “Consolidated Leverage Ratio” means as at the last day of any Reference Period, the ratio
of Consolidated Total Debt on such day to Consolidated EBITDA for such period.

                  “Consolidated Net Income” means for any period the net income (or loss) of Applicable
Holdings and the Applicable Group Members, in each case for such period determined on a consolidated
basis in accordance with IFRS; provided that there shall be excluded in calculating such net income (or
loss), to the extent otherwise included therein, without duplication:




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                (a)     the net income (or loss) of any Person (other than an Applicable Group Member)
        in which any Person other than Applicable Holdings and the Applicable Group Members has an
        ownership interest, except to the extent that cash in an amount equal to any such income has actually
        been received by Applicable Holdings or any of the Applicable Group Members during such
        period;

                (b)      except to the extent includible in the net income (or loss) of Applicable Holdings
        pursuant to the foregoing clause (a), the net income (or loss) of any Person that accrued prior to the
        date that (i) such Person becomes a Restricted Subsidiary or is merged into or consolidated with
        the Borrower or any Restricted Subsidiary or (ii) the assets of such Person are acquired by the
        Borrower or any Restricted Subsidiary;

                (c)     gains or losses attributable to discontinued operations;

                 (d)     any gain (or loss), charge or write-off, together with any related provisions for
        taxes on any such gain (or the tax effect of any such loss), realized or recorded during such period
        by Applicable Holdings or any Applicable Group Member upon (i) the acquisition of any securities,
        or the extinguishment of any Indebtedness, of any Applicable Group Member or (ii) any asset sale
        outside the ordinary course of business by Applicable Holdings or any Applicable Group Member
        or abandonments or reserves relating thereto;

                 (e)    gains and losses due solely to fluctuations in currency values and the related tax
        effects according to IFRS;

                (f)     unrealized gains and losses with respect to Swap Obligations;

                (g)     the cumulative effect of any change in accounting principles or policies; and

                (h)     any extraordinary, non-recurring, exceptional or unusual gain, loss, expense or
        charge and the related tax effect; provided, that the amounts excluded pursuant to this clause (h)
        shall not exceed 10% of Consolidated Net Income for any Reference Period.

                “Consolidated Net Tangible Assets” means, with respect to Applicable Holdings as of any
date, the amount which, in accordance with IFRS, would be set forth under the caption “Total Assets” (or
any like caption) on a consolidated balance sheet of Applicable Holdings and the Applicable Group
Members determined in accordance with IFRS, less, to the extent included in a determination of “Total
Assets,” and without duplication, all goodwill, patents, tradenames, trademarks, copyrights, franchises,
experimental expenses, organization expenses and any other amounts classified as intangible assets in
accordance with IFRS.

                 “Consolidated Total Debt” means at any date (without duplication), all Capital Lease
Obligations, purchase money Indebtedness, Indebtedness for borrowed money and letters of credit (but only
to the extent drawn and not reimbursed), in each case of Applicable Holdings and the Applicable Group
Members at such date, determined on a consolidated basis in accordance with IFRS; provided, that with
respect to calculating Consolidated Total Debt with respect to the Total Revolving Extensions of Credit,
Total Revolving Extensions of Credit shall be deemed to be the Average Quarterly Outstanding Amount.

                 “Contractual Obligation” means as to any Person, any provision of any security issued by
such Person or of any agreement, instrument or other undertaking to which such Person is a party or by
which it or any of its property is bound.


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                “Contribution Agreement” means that certain Contribution Agreement, dated as of August
2, 2024, by and among DMFI, DM Intermediate Corporation, a New Jersey corporation, Holdings and the
Borrower.

                “Corresponding Tenor” with respect to any Available Tenor means, as applicable, either a
tenor (including overnight) or an interest payment period having approximately the same length
(disregarding business day adjustment) as such Available Tenor.

                 “Cost” means the cost of purchase of Inventory determined according to the accounting
policies used in the preparation of the Holdings’s audited financial statements.

                “Covered Entity” means any of the following:

               (a)      a “covered entity” as that term is defined in, and interpreted in accordance with,
        12 C.F.R. § 252.82(b);

                (b)     a “covered bank” as that term is defined in, and interpreted in accordance with, 12
        C.F.R. § 47.3(b); or

                (c)     a “covered FSI” as that term is defined in, and interpreted in accordance with, 12
        C.F.R. § 382.2(b).

                “Covered Party” has the meaning set forth in Section 10.20.

                “Credit Party” means the Administrative Agent, the Issuing Lender, the Swingline Lender
or any other Lender and, for the purposes of Section 10.13 only, any other Agent and any Arranger.

                 “Cumulative Reserve” means, on any date, the sum of (a) all Asset Sale Reserves with
respect to all Sweep Asset Sales occurring on or prior to such date and (b) the sum of all Excess Cash
Reserves for all Excess Cash Payment Dates occurring on or prior to such date.

               “Customary Recourse Exceptions” means, with respect to any Non-Recourse Debt of an
Unrestricted Subsidiary, exclusions from the exculpation provisions with respect to such Non-Recourse
Debt for the voluntary bankruptcy of such Unrestricted Subsidiary, fraud, misapplication of cash,
environmental claims, waste, willful destruction and other circumstances customarily excluded by lenders
from exculpation provisions or included in separate indemnification agreements in non-recourse financings.

               “Daily Cash Sweep Period” means the period from the Closing Date until the Revolving
Termination Date.

                “Daily Simple SOFR” means, for any day (a “SOFR Rate Day”), a rate per annum equal
SOFR for the day (such day “SOFR Determination Date”) that is five (5) U.S. Government Securities
Business Day prior to (i) if such SOFR Rate Day is a U.S. Government Securities Business Day, such SOFR
Rate Day or (ii) if such SOFR Rate Day is not a U.S. Government Securities Business Day, the U.S.
Government Securities Business Day immediately preceding such SOFR Rate Day, in each case, as such
SOFR is published by the SOFR Administrator on the SOFR Administrator’s Website. Any change in
Daily Simple SOFR due to a change in SOFR shall be effective from and including the effective date of
such change in SOFR without notice to the Borrower.

                “Debtor” has the meaning ascribed to such term in the Orders.



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                 “Default” means any of the events specified in Section 8.1, whether or not any requirement
for the giving of notice, the lapse of time, or both, has been satisfied.

               “Default Right” has the meaning assigned to that term in, and shall be interpreted in
accordance with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

                  “Defaulting Lender” means any Lender that (a) has failed, within two Business Days of
the date required to be funded or paid, to (i) fund any portion of its Loans, (ii) fund any portion of its
participations in Letters of Credit, Swingline Loans or Protective Advances or (iii) pay over to any Credit
Party any other amount required to be paid by it hereunder, unless, in the case of clause (i) above, such
Lender notifies the Administrative Agent in writing that such failure is the result of such Lender’s good
faith determination that a condition precedent to funding (specifically identified and including the particular
default, if any) has not been satisfied, (b) has notified the Borrower or any Credit Party in writing, or has
made a public statement to the effect, that it does not intend or expect to comply with any of its funding
obligations under this Agreement (unless such writing or public statement indicates that such position is
based on such Lender’s good faith determination that a condition precedent (specifically identified and
including the particular default, if any) to funding a loan under this Agreement cannot be satisfied) or
generally under other agreements in which it commits to extend credit, (c) has failed, within three Business
Days after request by a Credit Party, acting in good faith, to provide a certification in writing from an
authorized officer of such Lender that it will comply with its obligations (and is financially able to meet
such obligations as of the date of certification) to fund prospective Loans and participations in then
outstanding Letters of Credit, Swingline Loans and Protective Advances under this Agreement, provided
that such Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon such Credit Party’s
receipt of such written certification in form and substance satisfactory to it and the Administrative Agent,
or (d) has a direct or indirect parent company that has become the subject of (i) a Bankruptcy Event or (ii)
a Bail-In Action.

                 “Defined Inventory” means the Inventory subject to the Inventory Purchase Agreement.

              “Deposit Account Control Agreement” means individually and collectively, each “Deposit
Account Control Agreement” referred to in the Pre-Petition Guarantee and Collateral Agreement.

               “Designated Underutilized Assets” means the assets constituting the Borrower’s or any
Guarantor’s manufacturing facilities in Markesan, Wisconsin and Toppenish, Washington.

              “DIP Term Loan Agent” has the meaning set forth in the definition of “DIP Term Loan
Credit Agreement”.

                “DIP Term Loan Credit Agreement” means the Senior Secured Superpriority Debtor in
Possession First Lien Credit and Guaranty Agreement, dated as of July 2, 2025 among the Borrower,
Holdings, certain subsidiaries party thereto, the lenders from time to time party thereto and Wilmington
Savings Fund Society, FSB, as the administrative agent and collateral agent (the “DIP Term Loan Agent”).

                 “DIP Motion” means the Motion for Interim and Final Orders (I) Authorizing the Debtors
to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens
and Providing Superpriority Administrative Expense Claims, (IV) Granting Adequate Protection, (V)
Modifying the Automatic Stay, (VI) Scheduling a Final Hearing and (VII) Granting Related Relief to the
filed on the docket of the Bankruptcy Court.

               “Disposition” means with respect to any property, any sale, lease, sale and leaseback,
assignment, conveyance, transfer, license or other disposition (in one transaction or in a series of related

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transactions) of any property by any Person (including any sale and leaseback transaction and any issuance
of Capital Stock by a Subsidiary of such Person), including any sale, assignment, transfer or other disposal,
with or without recourse, of any notes or accounts receivable or any rights and claims associated therewith.
The terms “Dispose” and “Disposed of” shall have correlative meanings.

                “Disqualified Capital Stock” means with respect to any Person, any Capital Stock of such
Person that by its terms (or by the terms of any security into which it is convertible or for which it is
exchangeable, either mandatorily or at the option of the holder thereof), or upon the happening of any event
or condition:

                (a)     matures or is mandatorily redeemable (other than solely for Capital Stock of such
        Person that does not constitute Disqualified Capital Stock and cash in lieu of fractional shares of
        such Capital Stock) whether pursuant to a sinking fund obligation or otherwise;

                 (b)     is convertible or exchangeable, either mandatorily or at the option of the holder
        thereof, for Indebtedness or Capital Stock (other than solely for Capital Stock of such Person that
        does not constitute Disqualified Capital Stock and cash in lieu of fractional shares of such Capital
        Stock); or

                 (c)     is redeemable (other than solely for Capital Stock of such Person that does not
        constitute Disqualified Capital Stock and cash in lieu of fractional shares of such Capital Stock) or
        is required to be repurchased by Holdings or any Restricted Subsidiary, in whole or in part, at the
        option of the holder thereof;

in each case, on or prior to the date that is 91 days after the Revolving Termination Date (or, in the case of
any such Capital Stock outstanding on the Closing Date, the Closing Date); provided, however, that (i)
Capital Stock of any Person that would not constitute Disqualified Capital Stock but for terms thereof giving
holders thereof the right to require such Person to redeem or purchase such Capital Stock upon the
occurrence of an “asset sale” or a “change of control” (or similar event, however denominated) shall not
constitute Disqualified Capital Stock if any such requirement becomes operative only after repayment in
full of all the Loans and all other Obligations that are accrued and payable and (ii) Capital Stock of any
Person that is issued to any employee or to any plan for the benefit of employees or by any such plan to
such employees shall not constitute Disqualified Capital Stock solely because it may be required to be
repurchased by such Person or any of its subsidiaries in order to satisfy applicable statutory or regulatory
obligations or as a result of such employee’s termination, death or disability.

                  “Disqualified Lenders” means (a) certain banks, financial institutions, other institutional
lenders and other Persons that have been specified in writing to the Administrative Agent by the Borrower
prior to the Closing Date, (b) competitors of the Borrower and its Restricted Subsidiaries and any affiliate
of such competitor, in each case, that is identified in writing to the Administrative Agent by the Borrower
from time to time and (c) any affiliates of the entities described in the foregoing clauses (a) or (b) that are
clearly identifiable as affiliates of such entities solely on the basis of the similarity of their names (other
than affiliates that constitute bona fide debt funds primarily investing in loans). In no event shall the
designation of any Person as a Disqualified Lender apply (x) to disqualify any Person until three (3)
Business Days after such Person shall have been identified in writing to the Administrative Agent via
electronic mail submitted to JPMDQ_Contact@jpmorgan.com (or to such other address as the
Administrative Agent may designate to the Borrower from time to time). For the avoidance of doubt, with
respect to any assignee that becomes a Disqualified Lender after the applicable Trade Date (including as a
result of the delivery of a notice pursuant to, and/or the expiration of the notice period referred to in, this
definition) or is otherwise party to a pending trade as of the date of such notice, (x) such assignee shall not
retroactively be disqualified from becoming a Lender and (y) the execution by the Borrower of an

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Assignment and Assumption with respect to such assignee will not by itself result in such assignee no
longer being considered a Disqualified Lender.

                   “Disqualified Parent Payable” means any Parent Payable (a) that has been sold, assigned
or otherwise transferred to a Person that is not an Affiliate of Holdings, (b) for which cash interest is payable
with respect thereto, (c) that provides for financial or other restrictive covenants for the benefit of the payee
or (d) that is or is required under IFRS to be reflected on the balance sheet of Holdings as indebtedness as
the result of clauses (a), (b) or (c) or due to any other action taken by Holdings or any Affiliate of Holdings.

                  “DMFI” means Del Monte Foods, Inc., a Delaware corporation.

                “DMPL” means Del Monte Pacific Limited, a company limited by shares incorporated
under the laws of the British Virgin Islands with registered number 326349.

                “DMPL Arrangements” means evidence reasonably satisfactory to the Administrative
Agent that the Group Members have no less than $50,000,000 of the DMPL Payables.

                  “DMPL Intercompany Debt” means any intercompany loan or advance by DMPL or any
of its Affiliates (other than any Group Member) to any Group Member. For the avoidance of doubt, none
of the Term Loans shall constitute DMPL Intercompany Debt.

                 “DMPL Payable” means any trade payable owed by Holdings or any of its Restricted
Subsidiaries to DMPL or any of its Affiliates (other than any Group Member).

                  “Documentation Agent” means each Documentation Agent identified on the cover page of
this Agreement.

                  “Documents” has the meaning set forth in the Pre-Petition Guarantee and Collateral
Agreement.

                  “Dollars” and “$” means dollars in lawful currency of the United States.

                 “Domestic Subsidiary” means any Restricted Subsidiary of Holdings organized under the
laws of any jurisdiction within the United States.

                 “EEA Financial Institution” means (a) any institution established in any EEA Member
Country which is subject to the supervision of an EEA Resolution Authority, (b) any entity established in
an EEA Member Country which is a parent of an institution described in clause (a) of this definition, or (c)
any institution established in an EEA Member Country which is a subsidiary of an institution described in
clauses (a) or (b) of this definition and is subject to consolidated supervision with its parent.

                “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein and Norway.

                 “EEA Resolution Authority” means any public administrative authority or any Person
entrusted with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

                “Electronic Signature” means an electronic sound, symbol, or process attached to, or
associated with, a contract or other record and adopted by a Person with the intent to sign, authenticate or
accept such contract or record.

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                “Eligible Accounts” means at any time, the Accounts of the Borrowing Base Parties which
the Administrative Agent determines in its Permitted Discretion (following (to the extent practicable)
reasonable prior notice to, and consultation with, the Borrower) are eligible as the basis for the extension
of Loans and the issuance of Letters of Credit. Without limiting the Administrative Agent’s Permitted
Discretion provided herein, Eligible Accounts shall not include any Account:

               (a)     which is not subject to a first priority perfected security interest in favor of the
        Administrative Agent;

                 (b)     which is subject to any Lien other than (i) a Lien in favor of the Administrative
        Agent, (ii) a Lien in favor of any Term Priority Agent which does not have priority over the Lien
        in favor of the Administrative Agent, (iii) [reserved] and (iv) a Permitted Encumbrance which does
        not have priority over the Lien in favor of the Administrative Agent;

                 (c)     (i) which is unpaid more than 90 days after the date of the original invoice therefor
        or more than 60 days after the original due date therefor, (ii) which arises from a sale with original
        payment terms in excess of 90 days or (iii) which has been written off the books of the Borrowing
        Base Parties or otherwise designated as uncollectible (in determining the aggregate amount from
        the same Account Debtor that is unpaid hereunder there shall be excluded the amount of any net
        credit balances relating to Accounts due from such Account Debtor which are unpaid more than 90
        days from the date of the original invoice therefor or more than 60 days from the original due date
        or which arise from a sale with original payment terms in excess of 90 days);

                (d)    which is owing by an Account Debtor for which more than 50% of the Accounts
        owing from such Account Debtor and its Affiliates are ineligible pursuant to clause (c) above;

                 (e)    which is owing by (i) an Account Debtor (other than Walmart) to the extent the
        aggregate amount of Accounts owing from such Account Debtor and its Affiliates to the Borrowing
        Base Parties exceeds 15% of the aggregate Eligible Accounts, but only to the extent of such excess
        or (ii) Walmart to the extent that the aggregate amount of Accounts owing from Walmart to the
        Borrowing Base Parties exceeds 35% (or, if any class of non-credit enhanced long term senior
        unsecured debt issued by Walmart shall be rated lower than B by S&P or B2 by Moody’s, 25%) of
        the aggregate Eligible Accounts, but only to the extent of such excess;

               (f)      with respect to which any covenant, representation or warranty contained in this
        Agreement or (assuming it were in effect in respect of this Agreement and the Obligations, mutatis
        mutandis) the Pre-Petition Guarantee and Collateral Agreement has been breached or is not true in
        any material respect;

                 (g)       which (i) does not arise from the sale of goods or performance of services in the
        ordinary course of business, (ii) is not evidenced by an invoice or other documentation satisfactory
        to the Administrative Agent (utilizing its Permitted Discretion (following (to the extent practicable)
        reasonable prior notice to, and consultation with, the Borrower)) which has been sent to the Account
        Debtor, (iii) represents a progress billing, (iv) is contingent upon a Borrowing Base Party’s
        completion of any further performance, (v) represents a sale on a bill-and-hold, guaranteed sale,
        sale-and-return, sale on approval, consignment, cash-on-delivery or any other repurchase or return
        basis, (vi) relates to payments of interest or (vii) comprises only service charges or finance charges;

               (h)    (i) for which the goods giving rise to such Account have not been shipped to the
        Account Debtor or for which the services giving rise to such Account have not been performed by
        a Borrowing Base Party or if such Account was invoiced more than once, (ii) for which the goods

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      giving rise to such Account have been shipped to the Account Debtor by FOB destination and such
      goods have not yet been received by the Account Debtor or (iii) for which the goods giving rise to
      such Account have been returned or rejected;

              (i)      with respect to which any check or other instrument of payment has been returned
      uncollected for any reason;

               (j)       which is owed by an Account Debtor which has (i) applied for, suffered, or
      consented to the appointment of any receiver, custodian, trustee, or liquidator of its assets, (ii) had
      possession of all or a material part of its property taken by any receiver, custodian, trustee or
      liquidator, (iii) filed, or had filed against it, any request or petition for liquidation, reorganization,
      arrangement, adjustment of debts, adjudication as bankrupt, winding-up, or voluntary or
      involuntary case under any state or federal bankruptcy laws (other than post-petition accounts
      payable of an Account Debtor that is a debtor-in-possession under the Bankruptcy Code and
      reasonably acceptable to the Administrative Agent), (iv) admitted in writing its inability, or is
      generally unable to, pay its debts as they become due, (v) become insolvent, or (vi) ceased operation
      of its business;

               (k)     which is owed by any Account Debtor which has sold all or a substantially all of
      its assets;

              (l)      which is owed in any currency other than Dollars;

               (m)      which is owed by (i) the government (or any department, agency, public
      corporation, or instrumentality thereof) of any country other than the U.S. unless such Account is
      backed by (A) a letter of credit acceptable to the Administrative Agent which is in the possession
      of, and is directly drawable by, the Administrative Agent or (B) other credit support acceptable to
      the Administrative Agent in its sole discretion, or (ii) the government of the U.S., or any
      department, agency, public corporation, or instrumentality thereof, unless the Federal Assignment
      of Claims Act of 1940, as amended (31 U.S.C. § 3727 et seq. and 41 U.S.C. § 15 et seq.), and any
      other steps necessary to perfect the Lien of the Administrative Agent in such Account have been
      complied with to the Administrative Agent’s satisfaction; provided that up to $5,000,000 in the
      aggregate of Accounts described in this clause (ii) may be Eligible Accounts notwithstanding that
      the applicable Borrowing Base Party has not assigned its rights to payments of such Accounts so
      as to comply with the Federal Assignment of Claims Act of 1940;

               (n)      which is owed by a Loan Party, any Affiliate of any Loan Party or any employee,
      officer, director, agent or stockholder of any Loan Party or any of its Affiliates;

              (o)      which is owed by an Account Debtor or any Affiliate of such Account Debtor to
      which any Loan Party is indebted, but only to the extent of such indebtedness, or is subject to any
      security, deposit, progress payment, retainage or other similar advance made by or for the benefit
      of an Account Debtor, in each case to the extent thereof;

               (p)      which is subject to any counterclaim, deduction, defense, setoff or dispute but only
      to the extent of any such counterclaim, deduction, defense, setoff or dispute;

              (q)      which is evidenced by any promissory note, chattel paper or instrument;

               (r)    which is owed by an Account Debtor (i) located in any jurisdiction which requires
      filing of a “Notice of Business Activities Report” or other similar report in order to permit the

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        applicable Borrowing Base Party to seek judicial enforcement in such jurisdiction of payment of
        such Account, unless the applicable Borrowing Base Party has filed such report or qualified to do
        business in such jurisdiction or (ii) which is a Sanctioned Person;

                (s)     with respect to which any Loan Party has made any agreement with the Account
        Debtor for any reduction thereof, other than discounts and adjustments given in the ordinary course
        of business, or any Account which was partially paid and the applicable Borrowing Base Party
        created a new receivable for the unpaid portion of such Account;

                (t)     which does not comply in all material respects with the requirements of all
        applicable laws and regulations, whether Federal, state or local, including the Federal Consumer
        Credit Protection Act, the Federal Truth in Lending Act and Regulation Z of the Board;

                (u)     which is for goods that have been sold under a purchase order or pursuant to the
        terms of a contract or other agreement or understanding (written or oral) that indicates that any
        Person other than a Borrowing Base Party has or has had an ownership interest in such goods, or
        which indicates any party other than a Borrowing Base Party as payee or remittance party;

                (v)      which was created on cash on delivery terms;

                  (w)     which is a Foreign Account unless such Account is backed by (i) a Letter of Credit
        acceptable to the Administrative Agent in its Permitted Discretion and which is, if requested by the
        Administrative Agent, in the possession of, and is directly drawable by, the Administrative Agent
        or (ii) other credit support acceptable to the Administrative Agent in its sole discretion; or

                 (x)     which the Administrative Agent determines in its Permitted Discretion (following
        (to the extent practicable) reasonable prior notice to, and consultation with, the Borrower) may not
        be paid by reason of the Account Debtor’s inability to pay.

                 In determining the amount of an Eligible Account, the face amount of an Account may, in
the Administrative Agent’s Permitted Discretion (following (to the extent practicable) reasonable prior
notice to, and consultation with, the Borrower), be reduced by, without duplication, to the extent not
reflected in such face amount, (i) the amount of all accrued and actual discounts, claims, credits or credits
pending, promotional program allowances, price adjustments, finance charges or other allowances
(including any amount that any Loan Party may be obligated to rebate to an Account Debtor pursuant to
the terms of any agreement or understanding (written or oral)) and (ii) the aggregate amount of all cash
received in respect of such Account but not yet applied by the applicable Borrowing Base Party to reduce
the amount of such Account. Standards of eligibility may be made more restrictive from time to time by
the Administrative Agent in its Permitted Discretion, following (to the extent practicable) reasonable prior
notice to, and consultation with, the Borrower, with any such changes to be effective five Business Days
after delivery of notice thereof to the Borrower and the Lenders; provided that if consultation with the
Borrower and/or notice to the Borrower and the Lenders is not practicable or if failure to implement any
such change within a shorter time period would, in the good faith judgment of the Administrative Agent,
reasonably be expected to result in a Material Adverse Effect or materially and adversely affect the
Collateral or the rights of the Lenders under the Loan Documents, such change may be implemented within
a shorter time as determined by the Administrative Agent in its Permitted Discretion; provided, further, that
any Borrowing Base Certificate delivered during such five Business Day period will reflect any such
changes.

              “Eligible Assignee” means (a) a Lender, (b) an Affiliate of a Lender, (c) an Approved Fund,
(d) any commercial bank and (e) any other financial institution or investment fund engaged as a primary

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activity in the ordinary course of its business in making or investing in commercial loans or debt securities,
other than, in each case, (i) a natural person, (ii) Holdings, the Borrower, any Subsidiary or any other
Affiliate of Holdings, (iii) a Defaulting Lender or (iv) a Disqualified Lender.

                “Eligible Inventory” means at any time, the Inventory of the Borrowing Base Parties which
the Administrative Agent determines in its Permitted Discretion (following (to the extent practicable)
reasonable prior notice to, and consultation with, the Borrower) is eligible as the basis for the extension of
Loans and the issuance of Letters of Credit. Without limiting the Administrative Agent’s Permitted
Discretion provided herein, Eligible Inventory shall not include any Inventory:

                 (a)     which is not subject to a first priority perfected Lien in favor of the Administrative
        Agent;

                 (b)     which is subject to any Lien other than (i) a Lien in favor of the Administrative
        Agent, (ii) a Lien in favor of any Term Priority Agent which does not have priority over the Lien
        in favor of the Administrative Agent, (iii) [reserved] and (iv) a Permitted Encumbrance which does
        not have priority over the Lien in favor of the Administrative Agent;

                (c)      which is, in the Administrative Agent’s Permitted Discretion (following (to the
        extent practicable) reasonable prior notice to, and consultation with, the Borrower), slow moving,
        obsolete, unmerchantable, defective, used, unfit for sale, not salable at prices approximating at least
        the cost of such Inventory in the ordinary course of business or unacceptable due to age, type,
        category and/or quantity;

               (d)      with respect to which any covenant, representation or warranty contained in this
        Agreement or (assuming it were in effect in respect of this Agreement and the Obligations, mutatis
        mutandis) the Pre-Petition Guarantee and Collateral Agreement has been breached or is not true or
        which does not conform to all material standards applicable to such goods, their use or sale imposed
        by any Governmental Authority having regulatory authority over such matters;

                 (e)    in which any Person other than a Borrowing Base Party shall (i) have any direct or
        indirect ownership, interest or title to such Inventory or (ii) be indicated on any purchase order or
        invoice with respect to such Inventory as having an interest therein;

                 (f)     [reserved];

                 (g)     which constitutes (i) work-in-process, spare or replacement parts, subassemblies,
        packaging and shipping material (other than cans, can ends and shrink-wrap), salvage,
        manufacturing supplies, samples, prototypes, displays or display items not considered for sale in
        the ordinary course of business or (ii) bill-and-hold or ship-in-place goods, goods that are returned
        (except Inventory that is placed back into stock in the ordinary course of business) or marked for
        return, repossessed goods, used goods taken in trade, defective or damaged goods, goods held on
        consignment, or goods which are not of a type held for sale in the ordinary course of business;

                 (h)     which is in transit with a common carrier from vendors and suppliers;

                (i)     which is (i) not located in the United States of America at one of the Permitted
        Inventory Locations or (ii) is in transit within the United States from one Permitted Inventory
        Location to another Permitted Inventory Location for more than 20 consecutive Business Days;




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                (j)      which is stored with a bailee, warehouseman, processor, co-packer or similar
        Person unless (i) if such Inventory is subject to a warehouse receipt or negotiable Document, such
        warehouse receipt or negotiable Document is in the possession of the Administrative Agent, (ii) if
        such Inventory is located in any third party warehouse or is in the possession of a bailee, such
        Inventory is evidenced by a Document and (iii) either (A) the applicable bailee, warehouseman,
        processor or similar Person has delivered to the Administrative Agent a Collateral Access
        Agreement and such other documentation as the Administrative Agent may require or (B) an
        appropriate Reserve has been established by the Administrative Agent in its Permitted Discretion
        (following (to the extent practicable) reasonable prior notice to, and consultation with, the
        Borrower);

                 (k)     which is located at a location where the aggregate Value of all Inventory located
        at such location does not exceed $100,000;

                (l)      which is a discontinued product or component thereof;

               (m)       which is the subject of a consignment by the applicable Borrowing Base Party as
        consignor;

                (n)      which consists of fresh fruit, fresh vegetables or other food that is fresh;

                 (o)     which contains or bears any Intellectual Property rights (i) owned by or licensed
        to the applicable Borrowing Base Party or (ii) owned by the applicable Borrowing Base Party and
        licensed to any other Person (other than the Specified Intellectual Property to the extent it is and
        remains subject to a license in effect as of the Closing Date granted to a Person who is a party to
        the License Intercreditor Agreement in effect on the Closing Date), in each case, unless the
        Administrative Agent is reasonably satisfied that it may sell or otherwise dispose of such Inventory
        without (x) infringing the rights of such licensor or other Person, (y) violating any contract with
        such licensor or other Person, or (z) incurring any liability with respect to payment of royalties
        other than royalties incurred pursuant to sale of such Inventory under the current licensing
        agreement;

                (p)    which is not reflected in a current perpetual inventory report or on the general
        ledger of the Borrowing Base Parties (unless such Inventory is reflected in a report to the
        Administrative Agent as “in transit” Inventory);

                (q)      for which reclamation rights have been asserted by the seller;

                (r)      which has been acquired from a Sanctioned Person;

                 (s)       to the extent that the value (calculated at the lower of (i) book value and (ii) cost
        (on a first-in first-out basis)) of such Inventory is increased due to favorable capitalized adjustments
        (but only to the extent of such increase); or

                (t)     which the Administrative Agent in its Permitted Discretion (following (to the
        extent practicable) reasonable prior notice to, and consultation with, the Borrower) determines is
        unacceptable.

               Standards of eligibility may be made more restrictive from time to time by the
Administrative Agent in its Permitted Discretion (following (to the extent practicable) consultation with
the Borrower) with any such changes to be effective five Business Days after delivery of notice thereof to

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the Borrower and the Lenders; provided that if consultation with the Borrower and/or notice to the Borrower
and the Lenders is not practicable or if failure to implement any such change within a shorter time period
would, in the good faith judgment of the Administrative Agent, reasonably be expected to result in a
Material Adverse Effect or materially and adversely affect the Collateral or the rights of the Lenders under
the Loan Documents, such change may be implemented within a shorter time as determined by the
Administrative Agent in its Permitted Discretion; provided, further, that any Borrowing Base Certificate
delivered during such five Business Day period will reflect any such changes. Notwithstanding anything to
the contrary set forth herein, Eligible Inventory shall not exclude Defined Inventory solely as a result of
such Inventory being Defined Inventory and, for the avoidance of doubt, it is understood and agreed that
all other criteria set forth in the definition of Eligible Inventory shall apply to Inventory that constitutes
Defined Inventory.

                “Engaged Financial Advisor” means, a financial advisor reasonably acceptable to the
Administrative Agent on terms satisfactory to the Administrative Agent; it being agreed that Alvarez &
Marsal is an acceptable Engaged Financial Advisor.

               “Engaged Investment Bank” means an independent nationally recognized investment bank
engaged by the Chapter 11 Debtors for the Chapter 11 Cases; it being understood that PJT Partners L.P. is
the Engaged Investment Bank as of the Petition Date.

                  “Environmental Laws” means any and all foreign, Federal, state, local or municipal laws,
rules, orders, regulations, statutes, ordinances, codes, decrees, requirements of any Governmental Authority
or other Requirements of Law (including common law) regulating, relating to or imposing liability or
standards of conduct concerning protection of human health or the environment, as now or may at any time
hereafter be in effect.

                 “Environmental Permits” means any and all permits, licenses, approvals, registrations,
notifications, exemptions and any other authorization required under any Environmental Law.

                 “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from
time to time, and the rules and regulations promulgated thereunder.

                 “ERISA Affiliate” means any trade or business (whether or not incorporated) that, together
with any Group Member, is treated as a single employer under Section 414(b) or (c) of the Code or Section
4001(a)(14) of ERISA or, solely for purposes of Section 302 of ERISA and Section 412 of the Code, is
treated as a single employer under Section 414(m) or (o) of the Code.

                  “ERISA Event” means (a) any “reportable event,” as defined in Section 4043 of ERISA or
the regulations issued thereunder with respect to a Plan (other than an event for which the 30 day notice
period is waived); (b) the failure to satisfy the “minimum funding standard” (as defined in Section 412 of
the Code or Section 302 of ERISA) with respect to any Plan, whether or not waived; (c) the filing pursuant
to Section 412(c) of the Code or Section 302(c) of ERISA of an application for a waiver of the minimum
funding standard with respect to any Plan; (d) the incurrence by any Group Member or any ERISA Affiliate
of any liability under Title IV of ERISA with respect to the termination of any Plan; (e) the receipt by any
Group Member or any ERISA Affiliate from the PBGC or a plan administrator of any notice relating to an
intention to terminate any Plan or Plans or to appoint a trustee to administer any Plan; (f) the incurrence by
any Group Member or any ERISA Affiliate of any liability with respect to the withdrawal or partial
withdrawal of any Group Member or any ERISA Affiliate from any Plan or Multiemployer Plan; or (g) the
receipt by any Group Member or any ERISA Affiliate of any notice, or the receipt by any Multiemployer
Plan of any notice, concerning the imposition upon any Group Member or any ERISA Affiliate of


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Withdrawal Liability or a determination that a Multiemployer Plan is, or is expected to be, insolvent within
the meaning of Title IV of ERISA.

               “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published
by the Loan Market Association (or any successor Person), as in effect from time to time.

                “Event of Default” means any of the events specified in Section 8.1, provided that any
requirement for the giving of notice, the lapse of time, or both, has been satisfied.

                “Excess Availability” means at any time, an amount equal to (a) the Line Cap minus (b)
the Total Revolving Extensions of Credit then outstanding (calculated, with respect to any Defaulting
Lender, as if such Defaulting Lender had funded its Revolving Percentage of all outstanding Revolving
Loans), minus (c) the aggregate amount of all outstanding trade payables of the Loan Parties which have
been unpaid for more than 60 days after the due date therefor (other than (i) trade payables being contested
or disputed by the applicable Loan Party in good faith and (ii) DMPL Payables), all as determined by the
Administrative Agent in its Permitted Discretion.

                 “Excess Cash” means with respect to any Excess Cash Test Date on which the Sweep
Conditions are not met, an amount equal to the maximum payment the Borrower and its Subsidiaries could
make on such date that would result in Excess Availability being equal to the Excess Cash Minimum Excess
Availability for the 30 days preceding such Excess Cash Test Date.

               “Excess Cash Minimum Excess Availability” means the sum of (a) the Minimum Excess
Availability Amount plus (b) the greater of (x) 20% of the Line Cap and (y) $100,000,000.

                “Excess Cash Payment Date” means, in any fiscal year of the Borrower, each of the first
Business Day of the third fiscal quarter of the Borrower and the first Business Day of the fourth fiscal
quarter of the Borrower.

                “Excess Cash Reserve” means, with respect to any Excess Cash Payment Date, the product
of (a) 40% and (b) Excess Cash as of the immediately preceding Excess Cash Test Date.

                “Excess Cash Test Date” means, in any fiscal year of the Borrower, each of the last
Business Day of the second fiscal quarter of the Borrower and the last Business Day of the third fiscal
quarter of the Borrower.

                 “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                 “Excluded Account” has the meaning set forth in the Pre-Petition Guarantee and Collateral
Agreement.

                  “Excluded Collateral” means (a) all real property and (b) all licenses and any other property
and assets (including any lease, license, permit or agreement) (i) to the extent that the Administrative Agent
may not validly possess a security interest therein under, or such security interest is restricted by, (x)
applicable laws (including, without limitation, rules and regulations of any Governmental Authority or
agency) or (y) by contract, lease, license or other agreement with a counterparty that is not a Debtor or an
affiliate thereof and that exists on the Closing Date or (ii) the pledge or creation of a security interest in
which would require the consent, approval, license or authorization of (x) a Governmental Authority or (y)
a third party that is not a Debtor or an affiliate thereof, which third party right to consent, approve or
authorize such a pledge or creation of a security interest exists on the Closing Date and, in each case of
clause (i) and (ii), other than to the extent such prohibition or limitation is rendered ineffective under the

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UCC, the U.S. Bankruptcy Code, other applicable insolvency laws or other applicable law notwithstanding
such prohibition or limitation; provided, however, that Excluded Collateral shall not include any proceeds,
substitutions, replacements, economic interest and economic value unless such proceeds, substitutions,
replacements economic interest and economic value constitute Excluded Collateral in accordance with
clause (i) or (ii) above.

                 “Excluded Subsidiary” means (a) any Unrestricted Subsidiary, (b) Immaterial Subsidiary,
(c) any non-Wholly Owned Subsidiary to the extent the organizational documents thereof prohibit it from
guaranteeing the Obligations; provided that, no non-Wholly Owned Subsidiary shall be an Excluded
Subsidiary if the transaction pursuant to which a Wholly Owned Subsidiary became a non-Wholly Owned
Subsidiary was entered into primarily to achieve such purpose, (d) any Subsidiary that is prohibited or
restricted by applicable law, rule or regulation or by any contractual obligation existing on the Closing Date
or on the date such Subsidiary was acquired (so long as such contractual obligation was not entered into in
contemplation of such acquisition) from guaranteeing the Obligations or which would require a non-
ministerial governmental (including regulatory) consent, approval, license or authorization to provide a
guarantee unless such consent, approval, licensor authorization has been received (the Loan Parties being
under no obligation to obtain such consent, approval or licensor authorization), (e) any CFC or CFC
Holding Company, (f) any Domestic Subsidiary of a Foreign Subsidiary, (g) not-for-profit Subsidiaries and
captive insurance companies and (h) any Subsidiary whose provision of a guarantee would have a cost
(including tax cost), burden, difficulty or consequence that is excessive in relation to the value afforded
thereby as agreed between the Borrower and Administrative Agent; provided that no Subsidiary that is a
Debtor shall be an Excluded Subsidiary. Each Excluded Subsidiary as of the Closing Date is set forth on
Schedule 4.15.

                  “Excluded Swap Obligation” means with respect to any Loan Party (a) any Swap
Obligation if, and to the extent that, and only for so long as, all or a portion of the guarantee of such Loan
Party of, or the grant by such Loan Party of a security interest to secure, as applicable, such Swap Obligation
(or any guarantee thereof) is or becomes illegal under the Commodity Exchange Act or any rule, regulation
or order of the Commodity Futures Trading Commission (or the application or official interpretation of any
thereof) by virtue of such Loan Party’s failure to constitute an “eligible contract participant,” as defined in
the Commodity Exchange Act and the regulations thereunder, at the time the guarantee of (or grant of such
security interest by, as applicable) such Loan Party becomes or would become effective with respect to
such Swap Obligation or (b) any other Swap Obligation designated as an “Excluded Swap Obligation” of
such Loan Party as specified in any agreement between the relevant Loan Parties and counterparty
applicable to such Swap Obligations, and agreed by the Administrative Agent. If a Swap Obligation arises
under a master agreement governing more than one Swap, such exclusion shall apply only to the portion of
such Swap Obligation that is attributable to Swaps for which such guarantee or security interest is or
becomes illegal.

                 “Excluded Taxes” means any of the following Taxes imposed on or with respect to a Credit
Party or required to be withheld or deducted from a payment to a Credit Party, (a) Taxes imposed on or
measured by net income (however denominated), franchise Taxes, and branch profits Taxes, in each case,
(i) imposed as a result of a Credit Party being organized under the laws of, or having its principal office or,
in the case of any Lender, its applicable lending office located in, the jurisdiction imposing such Tax (or
any political subdivision thereof) or (ii) that are Other Connection Taxes, (b) in the case of a Lender, U.S.
Federal withholding Taxes imposed on amounts payable to or for the account of a Lender with respect to
an applicable interest in a Loan or Revolving Commitment pursuant to a law in effect on the date on which
(i) a Lender acquires such interest in the Loan or Revolving Commitment (other than pursuant to an
assignment request by the Borrower under Section 2.22) or (ii) a Lender changes its lending office, except
in each case to the extent that, pursuant to Section 2.19, amounts with respect to such Taxes were payable
either to such Lender’s assignor immediately before such Lender acquired the applicable interest in a Loan

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 or Revolving Commitment or to such Lender immediately before it changed its lending office, (c) Taxes
 attributable to a Credit Party’s failure to comply with Section 2.19(f) and (d) any withholding Taxes
 imposed under FATCA.

                  “Existing Holdings” has the meaning set forth in the definition of “Applicable Reference
 Period”.

                  “Existing Indebtedness Payoff” has the meaning set forth in Section 5.1(c).

                 “Existing Letters of Credit” means those letters of credit described on Schedule 3.1 issued
 under the Pre-Petition ABL Credit Agreement that are outstanding thereunder on the Closing Date.

                  “Facility” means each of the Revolving Commitments and the Loans made thereunder.

                  “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement
 (or any amended or successor version that is substantively comparable and not materially more onerous to
 comply with), any current or future regulations or official interpretations thereof, any agreement entered
 into pursuant to Section 1471(b)(1) of the Code and any fiscal or regulatory legislation, rules or practices
 adopted pursuant to any intergovernmental agreement, treaty or convention among Governmental
 Authorities and implementing such Sections of the Code.

                  “Federal Funds Effective Rate” means, for any day, the rate calculated by the NYFRB
 based on such day’s federal funds transactions by depositary institutions, as determined in such manner as
 shall be set forth on the NYFRB’s Website from time to time, and published on the next succeeding
 Business Day by the NYFRB as the effective federal funds rate; provided that if the Federal Funds Effective
 Rate as so determined would be less than zero, such rate shall be deemed to be zero for the purposes of this
 Agreement.

                 “Federal Reserve Board” means the Board of Governors of the Federal Reserve System of
 the United States of America.

                 “Fee Payment Date” means (a) the fifteenth (15th) day of each January, April, July and
 October and (b) the last day of the Revolving Commitment Period.

                   “Final DIP Order” means the final order entered by the Bankruptcy Court in the Chapter
 11 Cases approving, among other things, (i) the Loan Parties’ entry into the Loan Documents, (ii) the
 incurrence of the Obligations and the Loans hereunder, (iii) the granting of the super-priority claims and
 liens against the Loan Parties and their assets, (iv) the use of cash collateral, and (v) the granting of adequate
 protection to the secured parties in respect of each Term Loan Credit Agreement and the Obligations, in
 each case, on a final basis, in form and substance acceptable to the Administrative Agent and the Required
 Lenders, which shall be in full force and effect and shall not be reversed, vacated, stayed, amended,
 supplemented or otherwise modified, in each case, without the prior written consent of the Required
 Lenders.

                 “First Day Orders” means all material orders entered by the Bankruptcy Court pursuant to
motions filed on or about the Petition Date by the Chapter 11 Debtors. The First Day Orders, including
without limitation the Orders and Cash Management Order, must be reasonably acceptable to the Required
Lenders.




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                 “Financing Commitment Letter” means the Commitment Letter, dated as of June 21, 2024
(as amended by the Amendment to Commitment Letter, dated as of June 27, 2024) between DMFI and
Jefferies Capital Services, LLC.

                 “First Post-Closing Appraisal” has the meaning set forth in Section 6.6(b).

                 “Floor” means the benchmark rate floor, if any, provided in this Agreement initially (as of
the execution of this Agreement, the modification, amendment or renewal of this Agreement or otherwise)
with respect to the Adjusted Term SOFR Rate or the Adjusted Daily Simple SOFR, as applicable. For the
avoidance of doubt the initial Floor for each of Adjusted Term SOFR Rate and the Adjusted Daily Simple
SOFR shall be zero.

                 “Foreign Account” means an Account that is owed by an Account Debtor which (i) does
not maintain its chief executive office in the U.S. (including any territory thereof) or Canada (including any
province or territory thereof) or (ii) is not organized under applicable law of the U.S., any state of the U.S.,
the District of Columbia, Canada or any province or territory of Canada.

                  “Foreign Benefit Arrangement” means any employee benefit arrangement mandated by
non-U.S. law that is maintained or contributed to by any Group Member, any ERISA Affiliate or any other
entity related to a Group Member on a controlled group basis.

                 “Foreign Plan” means each employee benefit plan (within the meaning of Section 3(3) of
ERISA, whether or not such plan is subject to ERISA) that is not subject to US law and is maintained or
contributed to by any Group Member, or ERISA Affiliate or any other entity related to a Group Member
on a controlled group basis.

                  “Foreign Plan Event” means with respect to any Foreign Benefit Arrangement or Foreign
Plan, (a) the failure to make or, if applicable, accrue in accordance with normal accounting practices, any
employer or employee contributions required by applicable law or by the terms of such Foreign Benefit
Arrangement or Foreign Plan; (b) the failure to register or loss of good standing with applicable regulatory
authorities of any such Foreign Benefit Arrangement or Foreign Plan required to be registered; or (c) the
failure of any Foreign Benefit Arrangement or Foreign Plan to comply with any material provisions of
applicable law and regulations or with the material terms of such Foreign Benefit Arrangement or Foreign
Plan.

                 “Foreign Subsidiary” means any Restricted Subsidiary of Holdings that is not a Domestic
Subsidiary.

                 “Funding Office” means the office of the Administrative Agent specified in Section 10.2
or such other office as may be specified from time to time by the Administrative Agent as its funding office
by written notice to the Borrower and the Lenders. “IFRS” means the International Financial Reporting
Standards, as in effect from time to time. In the event that any “Accounting Change” (as defined below)
shall occur and such change results in a change in the method of calculation of financial covenants,
standards or terms in this Agreement, then the Borrower and the Administrative Agent agree to enter into
negotiations to promptly amend such provisions of this Agreement so as to reflect equitably such
Accounting Changes with the desired result that the criteria for evaluating Holdings’s results of operations
and/or financial condition shall be the same after such Accounting Changes as if such Accounting Changes
had not been made. Until such time as such an amendment shall have been executed and delivered by the
Borrower, the Administrative Agent and the Required Lenders, all financial covenants, standards and terms
in this Agreement shall continue to be calculated or construed as if such Accounting Changes had not


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occurred. “Accounting Changes” refers to changes in accounting principles required by the promulgation
of any rule, regulation, pronouncement or opinion by the IFRS Foundation or any successor thereto.

                 “Governmental Authority” means the government of the United States of America, any
other nation or any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality, regulatory body, court, central bank or other entity exercising executive, legislative,
judicial, taxing, regulatory or administrative powers or functions of or pertaining to government, any
securities exchange and any self-regulatory organization (including the National Association of Insurance
Commissioners).

                 “Group Members” means the collective reference to Holdings and its Restricted
Subsidiaries.

                “Guarantee Agreement” means the ABL Guarantee Agreement, dated as of the Closing
Date, executed and delivered by the Borrower and each Guarantor.

                  “Guarantee Obligation” means as to any Person (the “guaranteeing person”), any
obligation, including a reimbursement, counterindemnity or similar obligation, of the guaranteeing Person
that guarantees or in effect guarantees, or which is given to induce the creation of a separate obligation by
another Person (including any bank under any letter of credit) that guarantees or in effect guarantees, any
Indebtedness, leases, dividends or other obligations (the “primary obligations”) of any other third Person
(the “primary obligor”) in any manner, whether directly or indirectly, including any obligation of the
guaranteeing person, whether or not contingent, (i) to purchase any such primary obligation or any property
constituting direct or indirect security therefor, (ii) to advance or supply funds (1) for the purchase or
payment of any such primary obligation or (2) to maintain working capital or equity capital of the primary
obligor or otherwise to maintain the net worth or solvency of the primary obligor, (iii) to purchase property,
securities or services primarily for the purpose of assuring the owner of any such primary obligation of the
ability of the primary obligor to make payment of such primary obligation or (iv) otherwise to assure or
hold harmless the owner of any such primary obligation against loss in respect thereof; provided, however,
that the term Guarantee Obligation shall not include endorsements of instruments for deposit or collection
in the ordinary course of business. The amount of any Guarantee Obligation of any guaranteeing person
shall be deemed to be the lower of (a) an amount equal to the stated or determinable amount of the primary
obligation in respect of which such Guarantee Obligation is made and (b) the maximum amount for which
such guaranteeing person may be liable pursuant to the terms of the instrument embodying such Guarantee
Obligation, unless such primary obligation and the maximum amount for which such guaranteeing person
may be liable are not stated or determinable, in which case the amount of such Guarantee Obligation shall
be such guaranteeing person’s maximum reasonably anticipated liability in respect thereof as determined
by the Borrower in good faith.

                “Guarantors” means the collective reference to the Parent Guarantors and the Subsidiary
Guarantors, provided, further, that each Debtor (other than the Borrower) shall be a Guarantor hereunder.

                 “Holdings” has the meaning set forth in the preamble hereto.

                  “Immaterial Subsidiary” means any Restricted Subsidiary that is not a Material Subsidiary
and that is designated by Holdings in writing to the Administrative Agent as an “Immaterial Subsidiary”;
provided that if (i) as of the last day of the most recently ended fiscal quarter of Holdings for which financial
statements have been delivered pursuant to Section 5.1(a) or (b), the aggregate Consolidated Net Tangible
Assets of all Immaterial Subsidiaries, as of the last day of such fiscal quarter, exceeds 5.0% of Consolidated
Net Tangible Assets of Holdings and its Restricted Subsidiaries or (ii) the aggregate contribution of
Consolidated EBITDA of all Immaterial Subsidiaries to Consolidated EBITDA for the Applicable

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Reference Period exceeds 5.0% of Consolidated EBITDA of Holdings and its Restricted Subsidiaries for
such Applicable Reference Period, then one or more Restricted Subsidiaries that are not Material
Subsidiaries shall promptly be designated by Holdings in writing to the Administrative Agent as a “Material
Subsidiary” until such excess has been eliminated. Each Immaterial Subsidiary as of the Closing Date is set
forth on Schedule 4.15.

                   “Indebtedness” means of any Person at any date, without duplication, (a) all indebtedness
of such Person for borrowed money, (b) all obligations of such Person for the deferred purchase price of
property or services (other than (i) trade payables incurred in the ordinary course of such Person’s business
(but excluding any Disqualified Parent Payables), (ii) deferred compensation payable to directors, officers
or employees of any Group Member, (iii) any purchase price adjustment or earnout obligation until such
adjustment or obligation becomes a liability on the balance sheet of such Person in accordance with IFRS,
(iv) accrued expenses and liabilities and intercompany liabilities arising in the ordinary course of such
Person’s business, and (v) prepaid or deferred revenue arising in the ordinary course of business), (c) all
obligations of such Person evidenced by notes, bonds, debentures or other similar instruments, (d) all
indebtedness created or arising under any conditional sale or other title retention agreement with respect to
property acquired by such Person (even though the rights and remedies of the seller or lender under such
agreement in the event of default are limited to repossession or sale of such property), (e) all Capital Lease
Obligations of such Person, (f) all obligations of such Person, contingent or otherwise, as an account party
or applicant under or in respect of acceptances, letters of credit, surety bonds or similar arrangements, (g)
the liquidation value of all redeemable preferred Disqualified Capital Stock of such Person, (h) all
Guarantee Obligations of such Person in respect of obligations of the kind referred to in clauses (a) through
(g) above, (i) all obligations of the kind referred to in clauses (a) through (h) above secured by (or for which
the holder of such obligation has an existing right, contingent or otherwise, to be secured by) any Lien on
property (including accounts and contract rights) owned by such Person, whether or not such Person has
assumed or become liable for the payment of such obligation (but only to the extent of the lesser of (i) the
amount of such Indebtedness and (ii) the fair market value of such property), and (j) for the purposes of
Section 8.1(f) only, after taking into account the effect of any legally enforceable netting agreement relating
to Swap Agreements, (i) for any date on or after the date such Swap Agreements have been closed out and
termination value(s) determined in accordance therewith, such termination value(s), and (ii) for any date
prior to the date referenced in the immediately preceding clause (i), the amount(s) determined as the mark-
to-market value(s) for such Swap Agreements, as determined based upon one or more mid-market or other
readily available quotations provided by any recognized dealer in such Swap Agreements (which may
include a Lender or any Affiliate of a Lender). The Indebtedness of any Person shall include the
Indebtedness of any other entity (including any partnership in which such Person is a general partner) to
the extent such Person is liable therefor as a result of such Person’s ownership interest in or other
relationship with such entity, except to the extent the terms of such Indebtedness expressly provide that
such Person is not liable therefor. Any Disqualified Parent Payable shall constitute “Indebtedness” and any
creation or incurrence of a Disqualified Parent Payable shall be deemed to be an incurrence of Indebtedness.

                “Indemnified Taxes” means (a) Taxes, other than Excluded Taxes, imposed on or with
respect to any payment made by or on account of any obligation of any Loan Party under any Loan
Document and (b) to the extent not otherwise described in clause (a) above, Other Taxes.

                 “Indemnitee” has the meaning set forth in Section 10.5.

                 “Initial DIP Budget” has the meaning ascribed to such term in the Orders.

                 “Intellectual Property” means the collective reference to all rights, priorities and privileges
relating to intellectual property, whether arising under United States, multinational or foreign laws or
otherwise, including copyrights, copyright licenses, patents, patent licenses, trademarks, trademark

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licenses, technology, know-how and processes, all registrations and applications therefor, and all rights to
sue at law or in equity for any infringement or other impairment thereof, including the right to receive all
proceeds and damages therefrom.

                 “Interest Election Request” means a request by the Borrower to convert or continue a
Revolving Borrowing in accordance with Section 2.12 and the definition of “Interest Period”, which shall
be substantially in the form of Exhibit B or any other form approved by the Administrative Agent.

                  “Interest Payment Date” means (a) with respect to any ABR Loan (other than a Swingline
Loan), the first day of each January, April, July and October and the Revolving Termination Date, (b) with
respect to any RFR Loan each date that is on the numerically corresponding day in each calendar month
that is one month after the Borrowing of such Loan (or, if there is no such numerically corresponding day
in such month, then the last day of such month) and the Revolving Termination Date, (c) with respect to
any Term Benchmark Loan, the last day of each Interest Period applicable to the Borrowing of which such
Loan is a part and, in the case of a Term Benchmark Borrowing with an Interest Period of more than three
months’ duration, each day prior to the last day of such Interest Period that occurs at intervals of three
months’ duration after the first day of such Interest Period, the Revolving Termination Date and (d) with
respect to any Swingline Loan, the day that such Loan is required to be repaid and the Revolving
Termination Date.

                 “Interest Period” means with respect to any Term Benchmark Borrowing, the period
commencing on the date of such Borrowing and ending on the numerically corresponding day in the
calendar month that is one, three or six months thereafter (in each case, subject to the availability for the
Benchmark applicable to the relevant Loan or Commitment), as the Borrower may elect; provided, that (i)
if any Interest Period would end on a day other than a Business Day, such Interest Period shall be extended
to the next succeeding Business Day unless such next succeeding Business Day would fall in the next
calendar month, in which case such Interest Period shall end on the next preceding Business Day, (ii) any
Interest Period that commences on the last Business Day of a calendar month (or on a day for which there
is no numerically corresponding day in the last calendar month of such Interest Period) shall end on the last
Business Day of the last calendar month of such Interest Period, (iii) no tenor that has been removed from
this definition pursuant to Section 2.16(e) shall be available for specification in such Borrowing Request or
Interest Election Request and (iv) the Borrower may not select an Interest Period that would extend beyond
the Revolving Termination Date. For purposes hereof, the date of a Borrowing initially shall be the date
on which such Borrowing is made and, in the case of a Borrowing, thereafter shall be the effective date of
the most recent conversion or continuation of such Borrowing.

                 “Interim DIP Order” means an interim order entered by the Bankruptcy Court in the
Chapter 11 Cases approving, among other things, (i) the Loan Parties’ entry into the Loan Documents, (ii)
the incurrence of the Term Loan Obligations and the Loans hereunder, (iii) the granting of the super-priority
claims and liens against the Loan Parties and their assets, (iv) the use of cash collateral, and (v) the granting
of adequate protection to the secured parties in respect of each Term Loan Credit Agreement and the Pre-
Petition ABL Credit Agreement, in each case, on an interim basis, which order shall be in form and
substance acceptable to the Administrative Agent and the Required Lenders and shall be in full force and
effect, and shall not, subject to entry of the Final DIP Order, be reversed, stayed, amended, supplemented
or otherwise modified without the prior written consent of the Required Lenders.

                 “Inventory” has the meaning set forth in the Pre-Petition Guarantee and Collateral
Agreement.




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                   “Inventory Purchase Agreement” means the executed Inventory Purchase Agreement,
dated as of April 19, 2024, as amended from time to time, between DMFI, as seller and DMPL (or any of
its affiliates (including, without limitation, Del Monte Philippines, Inc.)), as buyer.

               “Inventory Purchaser” means DMPL (or any of its affiliates (including, without limitation,
Del Monte Philippines, Inc.)).

               “Investment Grade Eligible Accounts” means Eligible Accounts owing by an Account
Debtor whose securities are rated BBB- or better by S&P or Baa3 or better by Moody’s at such time.

                “Investments” has the meaning set forth in Section 7.7.

                “IRS” means the United States Internal Revenue Service.

                “Issuer Document” means, with respect to any Letter of Credit, the Application, a letter of
credit agreement, or any other document, agreement or instrument entered into (or to be entered into) by
the Borrower in favor of the Issuing Lender and relating to such Letter of Credit.

                  “Issuing Lender” means, subject to Section 3.9, each of JPMCB, Wells Fargo Bank,
National Association, Capital One, National Association, BMO Bank N.A., MUFG Bank, Ltd. and any
other Revolving Lender reasonably approved by the Administrative Agent and the Borrower that has agreed
in its sole discretion to act as an “Issuing Lender” hereunder, or any of their respective affiliates, in each
case in its capacity as issuer of any Letter of Credit. Each reference herein to “the Issuing Lender” shall be
deemed to be a reference to the relevant Issuing Lender.

                 “Joint Venture” means a joint venture, partnership or other similar arrangement entered
into by the Borrower or any Restricted Subsidiary, whether in corporate, partnership or other legal form;
provided that in no event shall any Subsidiary be considered to be a Joint Venture.

                “JPMCB” means JPMorgan Chase Bank, N.A., a national banking association, in its
individual capacity, and its successors.

                 “Junior Indebtedness” means (a) any Material Subordinated Indebtedness, (b) any
Indebtedness (other than the Term Loans) of any Group Member that is secured by a Lien on the Collateral
that is junior to the Lien on the Collateral securing the Obligations and (c) any Material Unsecured
Indebtedness of any Group Member. For the avoidance of doubt, none of the Term Loans shall constitute
Junior Indebtedness.

               “L/C Commitment” means (a) with respect to each of JPMCB, Wells Fargo Bank, National
Association, Capital One, National Association, BMO Bank N.A. and MUFG Bank, Ltd., $8,000,000 (as
such amount may be decreased as to any Issuing Lender as agreed between the Borrower and such Issuing
Lender) and (b) with respect to any other Issuing Lender, such amount as separately agreed between the
Borrower and such Issuing Lender.

                 “L/C Disbursement” means a payment made by an Issuing Lender pursuant to a Letter of
Credit, including in respect of a time draft presented thereunder.

                 “L/C Exposure” means at any time, the total L/C Obligations. The L/C Exposure of any
Revolving Lender at any time shall be its Revolving Percentage of the total L/C Exposure at such time. For
all purposes of this Agreement, if on any date of determination a Letter of Credit has expired by its terms
but any amount may still be drawn thereunder by reason of the operation of Article 29(a) of the Uniform

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Customs and Practice for Documentary Credits, International Chamber of Commerce Publication No. 600
(or such later version thereof as may be in effect at the applicable time) or Rule 3.13 or Rule 3.14 of the
International Standby Practices, International Chamber of Commerce Publication No. 590 (or such later
version thereof as may be in effect at the applicable time) or similar terms of the Letter of Credit itself, or
if compliant documents have been presented but not yet honored, such Letter of Credit shall be deemed to
be “outstanding” and “undrawn” in the amount so remaining available to be paid, and the obligations of the
Borrower and each Lender shall remain in full force and effect until the Issuing Lender and the Lenders
shall have no further obligations to make any payments or disbursements under any circumstances with
respect to any Letter of Credit.

               “L/C Obligations” means at any time, an amount equal to the sum of (a) the aggregate then
undrawn and unexpired amount of the then outstanding Letters of Credit and (b) the aggregate amount of
drawings under Letters of Credit that have not then been reimbursed pursuant to Section 3.5.

                “L/C Participants” means the collective reference to all the Revolving Lenders other than
the Issuing Lender.

                “L/C Sublimit” means $40,000,000, as such amount may be reduced from time to time by
the mutual agreement of the Administrative Agent and the Borrower.

                “Lender Financial Advisor” means a financial advisor engaged by the Administrative
Agent on behalf of the Lenders on terms satisfactory to the Administrative Agent. As of the Closing Date,
the Administrative Agent has engaged FTI Consulting Inc. as the Lender Financial Advisor.

                  “Lender Parent” means with respect to any Lender, any Person as to which such Lender is,
directly or indirectly, a Subsidiary.

                 “Lender-Related Person” has the meaning set forth in Section 10.5.

                 “Lenders” means the Persons listed on Schedule 1.1A and any other Person that shall have
become a party hereto pursuant to an Assignment and Assumption or otherwise, other than any such Person
that ceases to be a party hereto pursuant to an Assignment and Assumption or otherwise. Unless the context
otherwise requires, the term “Lenders” includes the Swingline Lender and the Issuing Lenders.

                 “Letters of Credit” has the meaning set forth in Section 3.1(a).

                  “Liabilities” means any losses, claims (including intraparty claims), demands, damages or
liabilities of any kind.

                “License Intercreditor Agreement” means that certain Amended and Restated Intercreditor
Agreement, dated as of December 5, 1989, as executed by Wafer Limited, The First National Bank of
Chicago, Nabisco Brands Canada Ltd. and Compañía Venezolana de Conservas C.A., among others, and
consented to by Del Monte Corporation.

                 “Lien” means any mortgage, pledge, hypothecation, assignment, deposit arrangement,
license, encumbrance, lien (statutory or other), charge or other security interest or any preference, priority
or other security agreement or preferential arrangement of any kind or nature whatsoever (including any
conditional sale or other title retention agreement and any capital lease having substantially the same
economic effect as any of the foregoing).




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                “Limited Condition Transaction” means any Investment that Holdings or a Restricted
Subsidiary is contractually committed to consummate (it being understood that such commitment may be
subject to conditions precedent, which conditions precedent may be amended, satisfied or waived in
accordance with the applicable agreement) and whose consummation is not conditioned on the availability
or, or on obtaining, third party financing; provided that such Limited Condition Transaction shall be
consummated within six months of the date that Holdings or a Restricted Subsidiary enters into the
contractual commitment in respect of such Investment.

              “Line Cap” means an amount equal to the difference between (a) the lesser of (i) the Total
Revolving Commitments at such time and (ii) the Borrowing Base in effect at such time and (b) the
Cumulative Reserve.

                 “Liquidity” means, as of any date, an amount equal to the sum of (A) Excess Availability
and (B) an amount equal to the aggregate amount of cash and Cash Equivalents of the Borrower and the
Guarantors as of such date, but excluding any such cash and Cash Equivalents that (i) would be listed as
“restricted” on a balance sheet of the Borrower or the applicable Guarantors as of such date or (ii) constitute
Net Asset Sale Proceeds (as defined in the Pre-Petition Term Loan Credit Agreement as in effect on the
Closing Date) required to be applied to prepay the Term Loans.

               “Loan” means the loans made by the Lenders to the Borrower pursuant to this Agreement,
including Revolving Loans, Swingline Loans and Protective Advances.

                “Loan Documents” means this Agreement, the Security Documents, the Pre-Petition
Intercreditor Agreement, the Notes, the Letters of Credit, any Applications, any Issuer Documents and any
amendment, waiver, supplement or other modification to any of the foregoing.

                 “Loan Parties” means the Borrower and the Guarantors.

                 “Management Conference Call” has the meaning set forth in Section 6.18(d).

                 “Margin Stock” means margin stock within the meaning of Regulations T, U and X, as
applicable.

                 “Material Adverse Effect” means a material adverse change in, or a material adverse effect
on, (a) the business, property, assets, liabilities (actual or contingent), operations or financial condition of
Holdings and its Restricted Subsidiaries taken as a whole, (b) the ability of the Loan Parties (taken as a
whole) to perform the obligations under the Loan Documents to which they are a party or (c) the validity
or enforceability of this Agreement or any of the other Loan Documents or the rights or remedies of the
Administrative Agent or the Lenders hereunder or thereunder (other than the commencement of a
proceeding under chapter 11 of the Bankruptcy Code and the commencement of the Chapter 11 Cases, the
events that lead to the commencement of the Chapter 11 Cases, events that customarily and reasonably
result from the commencement of the Chapter 11 Cases (in each case, other than matters affecting the Loan
Parties that are not subject to the automatic stay) and the consummation of the transactions contemplated
by the First Day Orders).

                “Material Disposition” means any Disposition (or series of related Dispositions) of any
operating segment, business unit, division, line of business, or the Capital Stock of any Subsidiary of the
Borrower whose contribution to Consolidated EBITDA for the Applicable Reference Period exceeds 5.0%
of Consolidated EBITDA (calculated without giving effect to the portion of Consolidated EBITDA
contributed by such Disposed of assets) for the Applicable Reference Period.


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                 “Material Indebtedness” means Indebtedness (other than the Loans) or Swap Obligations
of any one or more of Holdings and the Restricted Subsidiaries in an aggregate principal amount of
$5,000,000 or more; provided that any Indebtedness outstanding under any Term Loan Credit Agreement
shall be deemed to be Material Indebtedness. For purposes of determining Material Indebtedness, the
“principal amount” of any Swap Obligation at any time shall be the maximum aggregate amount (giving
effect to any netting agreements) that Holdings and/or any applicable Restricted Subsidiary would be
required to pay if the applicable Swap Agreement were terminated at such time.

                 “Material Property” means assets, including, without limitation, intellectual property,
owned by the Borrower and its Restricted Subsidiaries that are material to the business, operations, assets,
financial condition or prospects of the Borrower and its Restricted Subsidiaries, taken as a whole.

                “Material Subordinated Indebtedness” means any Subordinated Indebtedness in an
aggregate principal amount of $1,000,000 or more.

                “Material Subsidiary” means, as of any date of determination, each Restricted Subsidiary
(a) with tangible assets (including the value of Capital Stock of its subsidiaries) on such date of
determination equal to or greater than 5.0% of Consolidated Net Tangible Assets, (b) whose contribution
to Consolidated EBITDA for the Applicable Reference Period exceeds 5.0% of Consolidated EBITDA for
the Applicable Reference Period or (c) that is designated as a “Material Subsidiary” pursuant to the
definition of Immaterial Subsidiary.

               “Material Unsecured Indebtedness” means any Indebtedness in an aggregate principal
amount of $1,000,000 or more that is not secured by a Lien on any property of any Group Member.

                  “Materials of Environmental Concern” means any gasoline or petroleum (including crude
oil or any fraction thereof) or petroleum products, asbestos, polychlorinated biphenyls, urea-formaldehyde
insulation, radioactivity, and any other substances, materials or wastes, that are regulated pursuant to or that
could give rise to liability under any Environmental Law.

               “Minimum Excess Availability Amount” means $50,000,000, provided that such amount
shall be reduced by 10% of the Cumulative Reserve up to an aggregate reduction of $25,000,000.
Notwithstanding the foregoing, under no circumstance shall the Minimum Excess Availability Amount be
reduced below $25,000,000.

                 “Milestones” means the milestones set forth in Section 10.22 hereof.

                 “Moody’s” means Moody’s Investors Service, Inc.

                  “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA to which any Group Member or any ERISA Affiliate (i) makes or is obligated to make contributions,
(ii) during the preceding five plan years, has made or been obligated to make contributions or (iii) has any
actual or contingent liability.

               “Multiple Employer Plan” means as described in Section 4064 of ERISA a Plan which has
two or more contributing sponsors (including any Group Member or any ERISA Affiliate) at least two of
whom are not under common control.

                “Net Cash Proceeds” means (a) in connection with any Disposition or any Recovery Event,
the proceeds thereof in the form of cash and Cash Equivalents (including any such proceeds received by
way of deferred payment of principal pursuant to a note or installment receivable or purchase price

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adjustment receivable or otherwise, but only as and when received), net of the direct costs relating to such
Disposition or Recovery Event including attorneys’ fees, accountants’ fees, investment banking fees, sales
commissions, amounts required to be applied to the repayment of Indebtedness (other than (i) the Loans,
any Junior Indebtedness, any Subordinated Indebtedness or any unsecured Indebtedness and (ii) with
respect to ABL Priority Collateral, the Term Loans or any Indebtedness secured by Liens on the Collateral
on a pari passu basis with the Liens on the Collateral securing the Term Loans) secured by a Lien expressly
permitted hereunder on any asset that is the subject of such Disposition or Recovery Event and other
customary fees and expenses actually incurred in connection therewith and net of taxes paid or reasonably
estimated to be payable as a result thereof (after taking into account any available tax credits or deductions
and any tax sharing arrangements) and any (i) reasonable reserve for adjustment in respect of the sale price
of such asset or assets established in accordance with IFRS; provided that upon release of any such reserve,
the amount released shall be considered Net Cash Proceeds and (ii) any reasonable reserve or payment with
respect to any liabilities associated with such asset or assets and retained by the applicable Group Member
after such sale or other disposition thereof, including, severance costs, pension and other post-employment
benefit liabilities and liabilities related to environmental matters or against any indemnification obligations
associated with such transaction; provided that upon release of any such reserve, the amount released shall
be considered Net Cash Proceeds and (b) in connection with any incurrence of Indebtedness, the cash
proceeds received from such issuance or incurrence, net of all taxes paid or reasonably estimated to be
payable as a result thereof and fees, including attorneys’ fees, investment banking fees and discounts,
accountants’ fees, underwriting discounts and commissions and other customary fees and expenses actually
incurred in connection therewith.

                 “Net Orderly Liquidation Value” means with respect to Inventory of any Person, the net
orderly liquidation value expected to be realized at an orderly, negotiated sale held within reasonable time
period from the most recent Inventory appraisal ordered by the Administrative Agent; provided that unless
an Event of Default has occurred and is continuing, no change in the Net Orderly Liquidation Values as in
effect on the Closing Date shall become effective as a result of a Post-Closing Appraisal prior to the date
that is the six-month anniversary of the Closing Date (or such earlier date as agreed by the Borrower).

               “Non-Investment Grade Eligible Accounts” means Eligible Accounts that are not
Investment Grade Eligible Accounts.

                 “Non-Recourse Debt” means Indebtedness of an Unrestricted Subsidiary:

                (a)      as to which neither Holdings nor any Restricted Subsidiary (a) provides credit
support of any kind (including any undertaking, agreement or instrument that would constitute
Indebtedness), except for Customary Recourse Exceptions or (b) is directly or indirectly liable as a
guarantor or otherwise; and

                 (b)    no default with respect to which (including any rights that the holders thereof may
have to take enforcement action against an Unrestricted Subsidiary) would permit upon notice, lapse of
time or both any holder of any other Indebtedness of Holdings or any Restricted Subsidiary to declare a
default on such other Indebtedness or cause the payment thereof to be accelerated or payable prior to its
Stated Maturity.

                “Non-U.S. Lender” means (a) if the Borrower is a U.S. Person, a Lender, with respect to
the Borrower, that is not a U.S. Person, and (b) if the Borrower is not a U.S. Person, a Lender, with respect
to the Borrower, that is resident or organized under the laws of a jurisdiction other than that in which the
Borrower is resident for tax purposes.

                 “Notes” means the collective reference to any promissory note evidencing Loans.

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                “NYFRB” means the Federal Reserve Bank of New York.

                “NYFRB Rate” means, for any day, the greater of (a) the Federal Funds Effective Rate in
effect on such day and (b) the Overnight Bank Funding Rate in effect on such day (or for any day that is
not a Business Day, for the immediately preceding Business Day); provided that if none of such rates are
published for any day that is a Business Day, the term “NYFRB Rate” means the rate for a federal funds
transaction quoted at 11:00 a.m. on such day received by the Administrative Agent from a federal funds
broker of recognized standing selected by it; provided, further, that if any of the aforesaid rates as so
determined would be less than zero, such rate shall be deemed to be zero for purposes of this Agreement.

                “NYFRB’s Website” means the website of the NYFRB at http://www.newyorkfed.org, or
any successor source.

                  “Obligations” means collectively, (a) the unpaid principal of and interest on (including
interest accruing after the maturity of the Loans and Reimbursement Obligations and interest accruing after
the filing of the Chapter 11 Cases or any other petition in bankruptcy, or the commencement of any
insolvency, reorganization or like proceeding, relating to the Borrower, whether or not a claim for post-
filing or post-petition interest is allowed in such proceeding) the Loans and Reimbursement Obligations,
all other obligations and liabilities of the Borrower to the Administrative Agent or to any Lender, whether
direct or indirect, absolute or contingent, due or to become due, or now existing or hereafter incurred, which
arise under, out of, or in connection with, this Agreement, any other Loan Document, the Letters of Credit
or any other document made, delivered or given in connection herewith or therewith, whether on account
of principal, interest, reimbursement obligations, fees, indemnities, costs, expenses (including all fees,
charges and disbursements of counsel to the Administrative Agent or to any Lender that are required to be
paid by the Borrower pursuant hereto including with respect to Letters of Credit) or otherwise, (b) all
Banking Services Obligations and (c) all Secured Swap Obligations.

                “Official Committee” means any statutory committee appointed in any of the Chapter 11
Cases.

                “Orders” means the Interim DIP Order and/or the Final DIP Order, as the context requires.

                 “Ordinary Course of Business” means the ordinary course of business of DMFI and its
Subsidiaries prior to the date hereof, consistent with the past practices of DMFI and its Subsidiaries prior
to the date hereof; provided, however, for the avoidance of doubt, the foregoing shall not include the
Transactions, or any portion thereof, which shall not be considered ordinary course of business or consistent
with past practices.

                 “Other Connection Taxes” means with respect to any Credit Party, Taxes imposed as a
result of a present or former connection between such Credit Party and the jurisdiction imposing such Tax
(other than connections arising from such Credit Party having executed, delivered, become a party to,
performed its obligations under, received payments under, received or perfected a security interest under,
engaged in any other transaction pursuant to, or enforced, any Loan Document, or sold or assigned an
interest in any Loan or Loan Document).

                 “Other Taxes” means all present or future stamp, court, or documentary, intangible,
recording, filing or similar Taxes that arise from any payment made under, from the execution, delivery,
performance, enforcement or registration of, from the receipt or perfection of a security interest under, or
otherwise with respect to, any Loan Document, except any such Taxes that are Other Connection Taxes
imposed with respect to an assignment (other than an assignment made pursuant to Section 2.22).


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                 “Overnight Bank Funding Rate” means, for any day, the rate comprised of both overnight
federal funds and overnight eurodollar transactions denominated in Dollars by U.S.-managed banking
offices of depository institutions, as such composite rate shall be determined by the NYFRB as set forth on
the NYFRB’s Website from time to time, and published on the next succeeding Business Day by the
NYFRB as an overnight bank funding rate.

             “Parent Guarantors” means (a) Holdings, (b) Del Monte Foods Holdings Limited, (c) Del
Monte Foods Holdings II, Inc., (d) Del Monte Foods Holdings, Inc., (e) DMFI and (f) DM Intermediate
Corporation.

                 “Parent Payable” means any DMPL Payable (or portion thereof) that has not been paid in
full within 365 days of incurrence thereof.

                “Participant” has the meaning set forth in Section 10.6(c).

                “Participant Register” has the meaning set forth in Section 10.6(c).

                “Patriot Act” has the meaning set forth in Section 10.17(a).

                “Payment” has the meaning set forth in Section 9.6(c)(i).

                  “Payment in Full” means the payment in full in cash of the obligations (other than
indemnification or reimbursement obligations under Section 2.18, 2.19(a), 2.19(d) or 2.20 for which the
Borrower has not been notified and contingent indemnification obligations that are expressly stated to
survive repayment of the Facility) under the Loan Documents, the termination of any outstanding Letters
of Credit (other than Letters of Credit cash collateralized or otherwise backstopped in a manner satisfactory
to the applicable Issuing Lender and the Administrative Agent) and the termination of the Revolving
Commitments.

                “Payment Notice” has the meaning set forth in Section 9.6(c)(ii).

              “PBGC” means the Pension Benefit Guaranty Corporation established under Section 4002
of ERISA and any successor entity performing similar functions.

                “Pension Plan” means any employee benefit plan (including a Multiple Employer Plan, but
not including a Multiemployer Plan) that is subject to Title IV of ERISA, Section 412 of the Code or Section
302 of ERISA (i) which is or was sponsored, maintained or contributed to by, or required to be contributed
to by, any Group Member or any ERISA Affiliate or (ii) with respect to which any Group Member or any
ERISA Affiliate has any actual or contingent liability.

                “Permitted Amount” means, as of any date, (a) $10,000,000, less (b) without duplication,
the aggregate outstanding amount of Indebtedness of Restricted Subsidiaries that are not Loan Parties
subject to Guarantee Obligations of Loan Parties under Section 7.7(c) as of such date.

                “Permitted Discretion” means in respect of the adjustment of eligibility criteria and
(without duplication) reserves with respect to the Borrowing Base collateral, a determination made in good
faith and in the exercise of reasonable (from the perspective of a secured asset-based lender) business
judgment following (to the extent practicable) reasonable prior notice to, and consultation with, the
Borrower and in accordance with customary business practices for asset-based transactions.




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                “Permitted Encumbrances” means Liens permitted pursuant to Section 7.3(a), (b), (c), (d),
(e) or (n); provided that the term “Permitted Encumbrances” shall not include any Lien securing
Indebtedness (other than with respect to Section 7.3(n)).

                 “Permitted Holders” means NutriAsia Pacific Limited, a company organized under the
laws of the Philippines or its Affiliates.

                 “Permitted Inventory Locations” means each location listed on Schedule 1.1B and from
time to time each other location within the United States which the Borrower has notified the Administrative
Agent is a location at which Inventory of any Borrowing Base Party is maintained.

                 “Permitted Liens” means Liens permitted pursuant to Section 7.3.

                  “Permitted Refinancing Indebtedness” means with respect to any Indebtedness of any
Person (the “Original Indebtedness”), any modification, refinancing, refunding, replacement, renewal or
extension (any of the foregoing, a “Refinancing”) of such Indebtedness, in whole or in part; provided, that
(i) no Person that is not an obligor with respect to the Original Indebtedness shall be an obligor with respect
to such Permitted Refinancing Indebtedness, (ii) the final maturity of such Indebtedness is no sooner and
weighted average life to maturity of such Indebtedness is no shorter than such Original Indebtedness, (iii) in
the case of any modification, refinancing, refunding, replacement, renewal or extension of Indebtedness
incurred pursuant Section 7.2(b), the other material terms and conditions of such Indebtedness after giving
effect to such modification, refinancing, refunding, replacement, renewal or extension, taken as a whole
(other than interest rates, rate floors, fees and optional prepayment or redemption terms), either (x) reflect
market terms at the time of issuance thereof, as reasonably determined by the Borrower in good faith, or
(y) shall, taken as a whole, not be more favorable to the lenders providing such Indebtedness than the terms
and conditions applicable to the Original Indebtedness, (iv) (x) in the case of any Original Indebtedness
consisting of a revolving credit facility, the committed amount in respect of the Permitted Refinancing
Indebtedness does not exceed the committed amount in respect of the Original Indebtedness and (y)
otherwise, the principal amount (or accreted value, if applicable) thereof does not exceed the principal
amount (or accreted value, if applicable) of the Original Indebtedness, except in each case by an amount
(such amount, the “Additional Permitted Amount”) equal to unpaid accrued interest and premium thereon
at such time plus reasonable fees and expenses incurred in connection with such modification, refinancing,
refunding, replacement, renewal or extension, (v) for the avoidance of doubt, the Original Indebtedness is
paid down (or, with respect to revolving credit facilities, commitments in respect thereof are reduced
(together with, if applicable, payments of principal)) on a dollar-for-dollar basis by such Permitted
Refinancing Indebtedness (other than by the Additional Permitted Amount), (vi) if the Original
Indebtedness shall have been subordinated to the Obligations, such Permitted Refinancing Indebtedness
shall also be subordinated to the Obligations on terms not less favorable in any material respect to the
Lenders and (vii) such Permitted Refinancing Indebtedness shall not be secured by any Lien on any asset
other than the assets that secured such Original Indebtedness (or would have been required to secure such
Original Indebtedness pursuant to the terms thereof) or, in the event Liens securing such Original
Indebtedness shall have been contractually subordinated to any Lien securing the Obligations, by any Lien
that shall not have been contractually subordinated to at least the same extent.

                 “Permitted Variances” has the meaning set forth in Section 6.20(c).

                   “Person” means an individual, partnership, corporation, limited liability company, business
trust, joint stock company, trust, unincorporated association, joint venture, Governmental Authority or other
entity of whatever nature.

                 “Petition Date” has the meaning set forth in recitals.

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                 “Plan” means any employee pension benefit plan (other than a Multiemployer Plan) subject
to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of ERISA, and in respect
of which Holdings or any ERISA Affiliate is (or, if such plan were terminated, would under Section 4069
of ERISA be deemed to be) an “employer” as defined in Section 3(5) of ERISA.

               “Plan Asset Regulations” means 29 CFR § 2510.3-101 et seq., as modified by Section
3(42) of ERISA, as amended from time to time.

                “Post-Closing Appraisal” means any Inventory appraisal ordered by the Administrative
Agent the results of which are received by the Administrative Agent after the Closing Date.

                “Pre-Petition ABL Credit Agreement” means that certain ABL Credit Agreement, dated as
of August 2, 2024 (as amended by that certain Waiver and Amendment to ABL Credit Agreement, dated
as of February 5, 2025, that certain Second Amendment to ABL Credit Agreement, dated as of April 8,
2025 and as further amended, supplemented or modified from time to time), by and among Holdings, the
Borrower, the other Loan Parties party thereto, JPMorgan Chase Bank, as administrative agent, and the
lenders from time to time party thereto.

                “Pre-Petition Guarantee and Collateral Agreement” means the ABL Guarantee and
Collateral Agreement, dated as of August 2, 2024, executed and delivered by the Borrower, each Guarantor
and JPMorgan Chase Bank as administrative agent.

                “Pre-Petition Intercreditor Agreement” means the intercreditor agreement, dated as of
August 2, 2024, among Holdings, the Borrower, the Guarantors, the Administrative Agent as ABL
Representative and Wilmington Savings Fund Society, FSB, as Term Loan Collateral Agent, as amended,
supplemented and modified from time to time.

                “Pre-Petition Term Loan Credit Agreement” means the First Lien Credit and Guaranty
Agreement, dated as of August 2, 2024, among the Borrower, Holdings, certain subsidiaries party thereto,
the lenders from time to time party thereto and Wilmington Savings Fund Society, FSB, as the
administrative agent and collateral agent.

                 “Preferred Stock” means, with respect to any Person, any and all preferred or preference
stock or shares or other Capital Stock (however designated) of such Person whether now outstanding or
issued after the Closing Date that is preferred as to the payment of dividends upon liquidation, dissolution
or winding up.

                 “Prime Rate” means the rate of interest last quoted by The Wall Street Journal as the “Prime
Rate” in the U.S. or, if The Wall Street Journal ceases to quote such rate, the highest per annum interest
rate published by the Federal Reserve Board in Federal Reserve Statistical Release H.15 (519) (Selected
Interest Rates) as the “bank prime loan” rate or, if such rate is no longer quoted therein, any similar rate
quoted therein (as determined by the Administrative Agent) or any similar release by the Federal Reserve
Board (as determined by the Administrative Agent). Each change in the Prime Rate shall be effective from
and including the date such change is publicly announced or quoted as being effective.

                 “Pro Forma Basis” means with respect to the calculation of any test or covenant hereunder,
such test or covenant being calculated after giving effect to (a) [reserved], (b) [reserved], (c) [reserved], (d)
any Material Disposition, and (e) any assumption, incurrence, repayment or other Disposition of
Indebtedness (all of the foregoing, “Applicable Transactions”) using, for purposes of determining such
compliance, the historical financial statements of all entities or assets so designated, acquired or sold (to
the extent available) and the consolidated financial statements of Holdings and its Restricted Subsidiaries,

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which shall be reformulated as if all Applicable Transactions during the Applicable Reference Period, or
subsequent to the Applicable Reference Period and on or prior to the date of such calculation, had been
consummated at the beginning of such period (and shall include, with respect to any Material Disposition,
any adjustments calculated in accordance with (and subject to the requirements and limitations of) clause
(i) of the definition of “Consolidated EBITDA”); provided that with respect to any assumption, incurrence,
repayment or other Disposition of Indebtedness (i) if such Indebtedness has a floating rate of interest, the
interest expense on such Indebtedness will be calculated as if the rate in effect on the date of calculation
had been the applicable rate for the entire period (taking into account any Swap Obligations applicable to
such Indebtedness if such Swap Obligation has a remaining term as at the date of calculation in excess of
12 months), (ii) interest on Capital Lease Obligations shall be deemed to accrue at an interest rate reasonably
determined by a Responsible Officer of Holdings to be the rate of interest implicit in such Capital Lease
Obligation in accordance with IFRS, (iii) interest on any Indebtedness under a revolving credit facility shall
be based upon the average daily balance of such Indebtedness during the applicable period and (iv) interest
on Indebtedness that may be optionally determined at an interest rate based upon a factor of a prime or
similar rate, a eurocurrency interbank offered rate, or other rate, shall be deemed to have been based upon
the rate actually chosen, or, if none, then based upon such optional rate as the Borrower may designate.

               “Pro Forma Period” means with respect to any Restricted Payment, Investment,
prepayment of Indebtedness, or any other measurement of the Sweep Conditions (any of the foregoing, a
“Specified Event”), the period (a) commencing on the date of consummation of the Specified Event and (b)
ending 365 days thereafter.

                 “Proceeding” means any claim, litigation, investigation, action, suit, arbitration or
administrative, judicial or regulatory action or proceeding in any jurisdiction.

                “Prohibited Transaction” has the meaning set forth in Section 406 of ERISA and Section
4975(c) of the Code.

                 “Protective Advance Exposure” means at any time, the sum of the aggregate amount of all
outstanding Protective Advances at such time. The Protective Advance Exposure of any Revolving Lender
at any time shall be its Revolving Percentage of the total Protective Advance Exposure at such time.

                 “Protective Advances” has the meaning set forth in Section 2.3(a).

                “PTE” means a prohibited transaction class exemption issued by the U.S. Department of
Labor, as any such exemption may be amended from time to time.

                “Public-Sider” means a Lender whose representatives may trade in securities of Holdings
or any of its Subsidiaries while in possession of the financial statements provided by Holdings under the
terms of this Agreement.

               “QFC” means a “qualified financial contract” has the meaning set forth in, and interpreted
in accordance with, 12 U.S.C. 5390(c)(8)(D).

                 “QFC Credit Support” has the meaning set forth in Section 10.20.

                 “Qualified Capital Stock” means Capital Stock of Holdings other than Disqualified Capital
Stock.




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                  “Recovery Event” means any settlement of or payment in respect of any property or
casualty insurance claim or any condemnation proceeding relating to any asset of any Group Member (other
than assets that constitute Term Loan Priority Collateral).

                 “Reference Period” means each period of four consecutive fiscal quarters of Applicable
Holdings.

                “Reference Time” with respect to any setting of the then-current Benchmark means (1) if
such Benchmark is the Term SOFR Rate, 5:00 a.m. (Chicago time) on the day that is two U.S. Government
Securities Business Days preceding the date of such setting, (2) if the RFR for such Benchmark is Daily
Simple SOFR, then four Business Days prior to such setting and (3) if such Benchmark is none of the Term
SOFR Rate or Daily Simple SOFR, the time determined by the Administrative Agent in its reasonable
discretion.

                 “Refinancing” has the meaning set forth in the definition of “Permitted Refinancing
Indebtedness”.

                 “Refunded Swingline Loans” has the meaning set forth in Section 2.6(b).

                 “Register” has the meaning set forth in Section 10.6(b)(iv).

                 “Regulation X” means Regulation X of the Federal Reserve Board, as in effect from time
to time and all official rulings and interpretations thereunder or thereof.

                “Reimbursement Obligation” means the obligation of the Borrower to reimburse the
Issuing Lender pursuant to Section 3.5 for amounts drawn under Letters of Credit.

                 “Related Parties” with respect to any specified Person, such Person’s Affiliates and the
respective directors, officers, employees, agents and advisors of such Person and such Person’s Affiliates.

                “Release” means any releasing, spilling, leaking, pumping, pouring, emitting, emptying,
discharging, injecting, escaping, leaching, migrating, disposing or dumping of any substance into the
environment.

                “Relevant Governmental Body” means the Federal Reserve Board and/or the NYFRB, or
a committee officially endorsed or convened by the Federal Reserve Board and/or the NYFRB or, in each
case, any successor thereto.

            “Relevant Rate” means (a) with respect to any Term Benchmark Borrowing, the Adjusted
Term SOFR Rate and (b) with respect to any RFR Borrowing, the Adjusted Daily Simple SOFR, as
applicable.

                 “Rent Reserve” means with respect to any store, warehouse distribution center, regional
distribution center or depot where any Inventory subject to Liens arising by operation of law is located, a
reserve equal to three months’ rent at such store, warehouse distribution center, regional distribution center
or depot; provided that no Rent Reserve shall be established in respect of any store, warehouse distribution
center, regional distribution center or depot if a Collateral Access Agreement has been delivered and
remains in effect with respect to such location.

                  “Report” means reports prepared by the Administrative Agent or another Person showing
the results of appraisals, field examinations or audits pertaining to the assets of the Borrowing Base Parties

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from information furnished by or on behalf of the Borrower, after the Administrative Agent has exercised
its rights of inspection pursuant to this Agreement, which Reports may be distributed to the Lenders by the
Administrative Agent.

                 “Required Lenders” means at any time, Lenders (other than Defaulting Lenders) having
Revolving Extensions of Credit and Available Revolving Commitments representing more than 50% of the
sum of the Total Revolving Extensions of Credit and Available Revolving Commitments at such time;
provided that, for purposes of declaring the Loans to be due and payable pursuant to Section 8, and for all
purposes after the Loans become due and payable pursuant to Section 2 or the Revolving Commitments
expire or terminate, then as to each Revolving Lender, clause (x) of the definition of Swingline Exposure
shall only be applicable for purposes of determining its Revolving Extensions of Credit to the extent such
Lender shall have funded its participation in the outstanding Swingline Loans.

                “Requirement of Law” means as to any Person, the Certificate of Incorporation and By-
Laws or other organizational or governing documents of such Person, and any law, treaty, rule or regulation
or determination of an arbitrator or a court or other Governmental Authority, in each case applicable to or
binding upon such Person or any of its property or to which such Person or any of its property is subject.

                  “Reserves” means any and all reserves which the Administrative Agent deems necessary,
in its Permitted Discretion (following (to the extent practicable) reasonable prior notice to, and consultation
with, the Borrower), to maintain (including an availability reserve, reserves for accrued and unpaid interest
on the Obligations, Banking Services Reserves, reserves for loggers’ liens or Perishable Agricultural
Commodities Act (PACA) liens, reserves for variance between perpetual inventory report and the general
ledger of the Borrowing Base Parties, volatility reserves, Rent Reserves, reserves for dilution of Accounts,
reserves for Inventory shrinkage, reserves for changes in eligibility criteria, reserves for customs charges
and shipping charges related to any Inventory in transit, reserves for Swap Obligations, reserves for
contingent liabilities of any Borrowing Base Party, reserves for uninsured losses of any Borrowing Base
Party, reserves for uninsured, underinsured, un-indemnified or under-indemnified liabilities or potential
liabilities with respect to any litigation, reserves for taxes, fees, assessments, and other governmental
charges) with respect to the Collateral or any Borrowing Base Party. Any changes to reserves shall be
effective five Business Days after delivery of notice thereof to the Borrower and the Lenders; provided that
if consultation with the Borrower and/or notice to the Borrower and the Lenders is not practicable or if
failure to implement any such change within a shorter time period would, in the good faith judgment of the
Administrative Agent, reasonably be expected to result in a Material Adverse Effect or materially and
adversely affect the Collateral or the rights of the Lenders under the Loan Documents, such change may be
implemented within a shorter time as determined by the Administrative Agent in its Permitted Discretion;
provided, further, that such changes will become effective immediately prior to any Borrowing that occurs
during such five Business Day period.

                 “Resolution Authority” means an EEA Resolution Authority or, with respect to any UK
Financial Institution, a UK Resolution Authority.

                 “Responsible Officer” means, with respect to any Person, the chief executive officer,
president, treasurer, any vice president or chief financial officer (or, in the case of Holdings, a director) of
such Person, but in any event, with respect to financial matters, the chief financial officer or chief executive
officer of such Person.

                 “Restricted Debt Payment” has the meaning set forth in Section 7.8.

                 “Restricted Payments” has the meaning set forth in Section 7.6.


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                “Restricted Subsidiary” means any Subsidiary of Holdings other than an Unrestricted
Subsidiary.

                 “Restructuring Support Agreement” means the “Restructuring Support Agreement” dated
as of July 2, 2025, among Del Monte Foods Holdings Limited, the Borrower, certain subsidiaries party
thereto and the Consenting Lenders (as defined therein) party thereto from time to time.

                 “Revolving Commitment” means, as to any Lender, the obligation of such Lender, if any,
to make Revolving Loans and participate in Swingline Loans, Letters of Credit and Protective Advances in
an aggregate principal and/or face amount not to exceed the amount set forth under the heading “Revolving
Commitment” opposite such Lender’s name on Schedule 1.1A or in the Assignment and Assumption or
other documentation or record (as such term is defined in Section 9-102(a)(70) of the New York Uniform
Commercial Code) as provided in Section 10.6(b)(ii)(B) pursuant to which such Lender became a party
hereto, as the same may be changed from time to time pursuant to the terms hereof. The original amount
of the Revolving Commitments on the Closing Date is $500,000,000.

                “Revolving Commitment Period” means the period from and including the Closing Date
to the Revolving Termination Date.

                “Revolving Extensions of Credit” means as to any Revolving Lender at any time, an
amount equal to the sum of (a) the aggregate principal amount of all Revolving Loans held by such Lender
then outstanding, (b) such Lender’s Revolving Percentage of the L/C Obligations then outstanding, (c) such
Lender’s Revolving Percentage of the Swingline Loans then outstanding and (d) such Lender’s Revolving
Percentage of the Protective Advances then outstanding.

              “Revolving Lender” means each Lender that has a Revolving Commitment or that holds
Revolving Loans.

                “Revolving Loans” has the meaning set forth in Section 2.1(a)(i).

                 “Revolving Obligations” means collectively, solely as it relates to Revolving Loans, (a)
the unpaid principal of and interest on (including interest accruing after the maturity of the Loans and
Reimbursement Obligations and interest accruing after the filing of any petition in bankruptcy, or the
commencement of any insolvency, reorganization or like proceeding, relating to the Borrower, whether or
not a claim for post-filing or post-petition interest is allowed in such proceeding) the Loans and
Reimbursement Obligations, all other obligations and liabilities of the Borrower to the Administrative
Agent or to any Lender, whether direct or indirect, absolute or contingent, due or to become due, or now
existing or hereafter incurred, which arise under, out of, or in connection with, this Agreement, any other
Loan Document, the Letters of Credit or any other document made, delivered or given in connection
herewith or therewith, whether on account of principal, interest, reimbursement obligations, fees,
indemnities, costs, expenses (including all fees, charges and disbursements of counsel to the Administrative
Agent or to any Lender that are required to be paid by the Borrower pursuant hereto including with respect
to Letters of Credit) or otherwise, (b) all Banking Services Obligations and (c) all Secured Swap
Obligations.

                 “Revolving Percentage” means as to any Lender at any time, the percentage which such
Lender’s Revolving Commitment then constitutes of the Total Revolving Commitments or, at any time
after the Revolving Commitments shall have expired or terminated, the percentage which the aggregate
principal amount of such Lender’s Revolving Loans then outstanding constitutes of the aggregate principal
amount of the Revolving Loans then outstanding, provided, that, in the event that the Revolving Loans are
paid in full prior to the reduction to zero of the Total Revolving Extensions of Credit, the Revolving

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Percentages shall be determined in a manner designed to ensure that the other outstanding Revolving
Extensions of Credit shall be held by the Revolving Lenders on a comparable basis. Notwithstanding the
foregoing, in the case of Section 2.23 when a Defaulting Lender shall exist, Revolving Percentages shall be
determined without regard to any Defaulting Lender’s Revolving Commitment.

                 “Revolving Termination Date” means the date which is the earliest to occur of (a) 11:59
p.m. New York City Time on the date that is nine (9) months after the Petition Date, (b) 11:59 p.m. New
York City Time on the date that is forty (40) calendar days after the Petition Date (or if such fortieth (40th)
calendar day is not a Business Day, the immediately succeeding Business Day) if the Final DIP Order, in
form and substance acceptable to the Required Lenders, has not been entered by the Bankruptcy Court prior
to such date and time, (c) the effective date of a chapter 11 plan of any Loan Party, which has been
confirmed by an order entered by the Bankruptcy Court in any of the Chapter 11 Cases, (d) dismissal of
any of the Chapter 11 Cases or conversion of any of the Chapter 11 Cases into a case under Chapter 7 of
the Bankruptcy Code, (e) [reserved], (f) consummation of a sale of all or substantially all of the Debtors’
assets, (g) the date on which the Revolving Commitments are terminated in accordance with the terms
hereof and (h) appointment of a Chapter 11 trustee or other Bankruptcy Court-mandated fiduciary with
decision-making authority (including an examiner with expanded powers.

                 “RFR Borrowing” means, as to any Borrowing, the RFR Loans comprising such
Borrowing.

                 “RFR Loan” means a Loan that bears interest at a rate based on the Adjusted Daily Simple
SOFR.

                 “Sale Asset” has the meaning set forth in Section 10.22(c).

                 “S&P” means Standard & Poor’s Rating Services, a Standard & Poor’s Financial Services
LLC business.

                 “Sanctioned Country” means, at any time, a country, region or territory which is itself the
subject or target of any Sanctions (at the time of this Agreement, the so-called Donetsk People’s Republic,
the so-called Luhansk People’s Republic, the Crimea Region of Ukraine, Cuba, Iran, North Korea and
Syria).

                   “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related list
of designated Persons maintained by the Office of Foreign Assets Control of the U.S. Department of the
Treasury, the U.S. Department of State, the United Nations Security Council, the European Union, any
European Union member state, His Majesty’s Treasury of the United Kingdom or other relevant sanctions
authority, (b) any Person operating, organized or resident in a Sanctioned Country, (c) any government that
is itself the subject or target of Sanctions, (d) any Person owned or controlled by any such Person or Persons
described in the foregoing clauses (a), (b) or (c), or (e) any Person otherwise the subject of any Sanctions.

                  “Sanctions” means all economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by (a) the U.S. government, including those administered by
the Office of Foreign Assets Control of the U.S. Department of the Treasury or the U.S. Department of
State, or (b) the United Nations Security Council, the European Union, any European Union member state,
His Majesty’s Treasury of the United Kingdom or other relevant sanctions authority.

                 “Scheduled Borrowing Base Delivery Date” means any date on which the Borrower is
obligated to deliver a Borrowing Base Certificate pursuant to Section 6.2(g).


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                 “Seasonal Advance Period” means the period from August 1 (inclusive) through November
30 (inclusive) of each fiscal year of the Borrower.

              “SEC” means the Securities and Exchange Commission, any successor thereto and any
analogous Governmental Authority.

                “Secured Parties” has the meaning set forth in the Pre-Petition Guarantee and Collateral
Agreement.

                 “Secured Swap Obligations” means Swap Obligations of any Group Member or any
Subsidiary of a Group Member owing to (a) the Administrative Agent or its Affiliates or (b) one or more
Lenders or their respective Affiliates; provided that the Borrower (other than for transactions with JPMCB
and its Affiliates) and the Lender party thereto or its Affiliate (other than JPMCB) shall have delivered
written notice to the Administrative Agent that such a transaction has been entered into and that it
constitutes a Secured Swap Obligation entitled to the benefits of the Security Documents.

                 “Security Documents” means the collective reference to the Orders and any security
documents hereafter delivered to the Administrative Agent granting a Lien on any property of any Person
to secure the obligations and liabilities of any Loan Party under any Loan Document.

             “SOFR” means a rate equal to the secured overnight financing rate as administered by the
SOFR Administrator.

                “SOFR Administrator” means the NYFRB (or a successor administrator of the secured
overnight financing rate).

               “SOFR Administrator’s Website” means the NYFRB’s Website, currently at
http://www.newyorkfed.org, or any successor source for the secured overnight financing rate identified as
such by the SOFR Administrator from time to time.

                “SOFR Determination Date” has the meaning specified in the definition of “Daily Simple
SOFR”.

                “SOFR Rate Day” has the meaning specified in the definition of “Daily Simple SOFR”.

                “Specified Event” has the meaning specified in the definition of “Pro Forma Period”.

                 “Specified Event of Default” means an Event of Default under clauses (a), (b) (with respect
to any Borrowing Base Certificate), (d), (e) (with respect to any breach of Section 6.12 of this Agreement)
or (g) of Section 8.1 of this Agreement.

              “Specified Indebtedness” means (a) Junior Indebtedness, (b) DMPL Payables, (c) DMPL
Intercompany Debt and (d) the Term Loans.

                 “Specified Intellectual Property” means the Intellectual Property subject, as of the Closing
Date, to the License Intercreditor Agreement.

               “Stated Maturity” means, with respect to any Indebtedness, the date specified in the
agreement governing or certificate relating to such Indebtedness as the fixed date on which the final
payment of principal of such Indebtedness is due and payable, including pursuant to any mandatory



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redemption provision, but shall not include any contingent obligations to repay, redeem or repurchase any
such principal prior to the date originally scheduled for the payment thereof.

                 “Step 2 Transactions” means the transactions described as Step 2 of the “Transaction
Structure” section in the Financing Commitment Letter as of June 21, 2024, as amended on June 27, 2024.

                “Subordinated Indebtedness” means any Indebtedness of any Group Member that is
expressly subordinated in right of payment to the Obligations; provided that, (i) for the avoidance of doubt,
the Term Loans shall not be considered Subordinated Indebtedness and (ii) on terms acceptable to the
Administrative Agent.

                 “Subsidiary” means as to any Person, a corporation, partnership, limited liability company
or other entity of which shares of stock or other ownership interests having ordinary voting power (other
than stock or such other ownership interests having such power only by reason of the happening of a
contingency) to elect a majority of the board of directors or other managers of such corporation, partnership
or other entity are at the time owned, or the management of which is otherwise controlled, directly or
indirectly through one or more intermediaries, or both, by such Person. Unless otherwise qualified, all
references to a “Subsidiary” or to “Subsidiaries” in this Agreement shall refer to a Subsidiary or Subsidiaries
of Holdings.

                 “Subsidiary Guarantor” means all Subsidiaries of Holdings other than Excluded
Subsidiaries.

                 “Subsequent DIP Budget” has the meaning set forth in Section 6.20(b).

                 “Supermajority Lenders” means, at any time, Lenders (other than Defaulting Lenders)
having Revolving Extensions of Credit and Available Revolving Commitments representing more than 66
2/3% of the sum of the Total Revolving Extensions of Credit and Available Revolving Commitments (other
than Total Revolving Extensions of Credit and Available Revolving Commitments held by Defaulting
Lenders) at such time; provided that, for all purposes after the Loans become due and payable pursuant to
Section 2 or the Revolving Commitments expire or terminate, then as to each Revolving Lender, clause (x)
of the definition of Swingline Exposure shall only be applicable for purposes of determining its Revolving
Extensions of Credit to the extent such Lender shall have funded its participation in the outstanding
Swingline Loans.

                 “Supported QFC” has the meaning set forth in Section 10.20.

                “Swap” means any agreement, contract, or transaction that constitutes a “swap” within the
meaning of section 1a(47) of the Commodity Exchange Act.

                 “Swap Agreement” means any agreement with respect to any swap, forward, future or
derivative transaction or option or similar agreement involving, or settled by reference to, one or more rates,
currencies, commodities, equity or debt instruments or securities, or economic, financial or pricing indices
or measures of economic, financial or pricing risk or value or any similar transaction or any combination
of these transactions; provided that no phantom stock or similar plan providing for payments only on
account of services provided by current or former directors, officers, employees or consultants of Holdings
or any of its Subsidiaries shall be a “Swap Agreement”.

                “Swap Obligation” means with respect to any Person, any and all obligations of such
Person, whether absolute or contingent and howsoever and whensoever created, arising, evidenced or
acquired (including all renewals, extensions and modifications thereof and substitutions therefor), under (a)

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any and all Swap Agreements, and (b) any and all cancellations, buy backs, reversals, terminations or
assignments of any Swap Agreement transaction.

                “Sweep Asset Sale” means any sale or other disposition by Existing Holdings or any of its
Subsidiaries (other than an Unrestricted Subsidiary) for which proceeds are received when the Sweep
Conditions are not met; provided that the proceeds from sales of Markesan and Toppenish reflected in the
Company’s Three Statement Model Forecast dated as of June 19, 2024 shall be excluded.

                 “Sweep Conditions” means (a) no Event of Default has occurred and is continuing, (b)
after giving effect to the Specified Event on a Pro Forma Basis as if it occurred on the first day of the
Applicable Reference Period, Consolidated Leverage Ratio for the Applicable Reference Period is less than
5.00:1.00 and (c) after giving effect to the Specified Event on a Pro Forma Basis as if it occurred on the
first day of the Applicable Reference Period, Consolidated EBITDA for the Applicable Reference Period
is greater than $125,000,000.

                 “Swingline Exposure” means, at any time, the aggregate principal amount of all Swingline
Loans outstanding at such time. The Swingline Exposure of any Revolving Lender at any time shall be the
sum of (x) its Revolving Percentage of the total Swingline Exposure at such time other than with respect to
any Swingline Loans made by such Revolving Lender in its capacity as the Swingline Lender and (y) the
principal amount of all Swingline Loans made by such Revolving Lender in its capacity as the Swingline
Lender outstanding at such time (less the amount of participations funded by the other Lenders in such
Swingline Loans).

              “Swingline Lender” means JPMorgan Chase Bank, N.A., in its capacity as a lender of
Swingline Loans hereunder.

                “Swingline Loans” has the meaning set forth in Section 2.5(a).

                “Swingline Participation Amount” has the meaning set forth in Section 2.6(c).

                “Swingline Sublimit” means $20,000,000.

                “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

                “Term Benchmark” when used in reference to any Loan or Borrowing, refers to whether
such Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by reference
to the Adjusted Term SOFR Rate.

                “Term Loan Collateral Agent” means, with respect to the Pre-Petition Term Loan Credit
Agreement and the DIP Term Loan Credit Agreement, Wilmington Savings Fund Society, FSB and its
successors and assigns.

                “Term Loan Credit Agreements” means collectively (a) the Pre-Petition Term Loan Credit
Agreement, (b) the DIP Term Loan Credit Agreement and (c) any amendment, waiver, supplement or other
modification to any of the documents described in clauses (a) through (b).

             “Term Loan Documents” means collectively (a) the Term Loan Credit Agreements, (b) the
Term Loan Security Documents, (c) the Pre-Petition Intercreditor Agreement, (d) any promissory note



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evidencing the Term Loans and (e) any amendment, waiver, supplement or other modification to any of the
documents described in clauses (a) through (d).

                “Term Loan Obligations Payment Date” has the meaning set forth in the Pre-Petition
Intercreditor Agreement.

                “Term Loan Priority Collateral” has the meaning set forth in the Pre-Petition Intercreditor
Agreement.

                “Term Loan Security Documents” means the collective reference to the Security
Agreement (in and as defined in each Term Loan Credit Agreement), the Mortgages (in and as defined in
each Term Loan Credit Agreement) and all other security documents delivered to the applicable Term Loan
Collateral Agent granting a Lien on any property of any Person to secure the obligations and liabilities of
any Loan Party under any Term Loan Document.

               “Term Loans” means the term loans made pursuant to the Pre-Petition Term Loan Credit
Agreement and the DIP Term Loan Credit Agreement.

                “Term Priority Agent” means each Term Loan Collateral Agent.

             “Term SOFR Determination Day” has the meaning assigned to it under the definition of
Term SOFR Reference Rate.

                “Term SOFR Rate” means, with respect to any Term Benchmark Borrowing and for any
tenor comparable to the applicable Interest Period, the Term SOFR Reference Rate at approximately 5:00
a.m., Chicago time, two U.S. Government Securities Business Days prior to the commencement of such
tenor comparable to the applicable Interest Period, as such rate is published by the CME Term SOFR
Administrator.

                “Term SOFR Reference Rate” means, for any day and time (such day, the “Term SOFR
Determination Day”), with respect to any Term Benchmark Borrowing denominated in Dollars and for any
tenor comparable to the applicable Interest Period, the rate per annum published by the CME Term SOFR
Administrator and identified by the Administrative Agent as the forward-looking term rate based on SOFR.
If by 5:00 pm (New York City time) on such Term SOFR Determination Day, the “Term SOFR Reference
Rate” for the applicable tenor has not been published by the CME Term SOFR Administrator and a
Benchmark Replacement Date with respect to the Term SOFR Rate has not occurred, then, so long as such
day is otherwise a U.S. Government Securities Business Day, the Term SOFR Reference Rate for such
Term SOFR Determination Day will be the Term SOFR Reference Rate as published in respect of the first
preceding U.S. Government Securities Business Day for which such Term SOFR Reference Rate was
published by the CME Term SOFR Administrator, so long as such first preceding U.S. Government
Securities Business Day is not more than five (5) U.S. Government Securities Business Days prior to such
Term SOFR Determination Day.

                “Testing Period” has the meaning set forth in Section 6.20(c).

             “Total Revolving Commitments” means at any time, the aggregate amount of the
Revolving Commitments then in effect.

               “Total Revolving Extensions of Credit” means at any time, the aggregate amount of the
Revolving Extensions of Credit of the Revolving Lenders outstanding at such time.


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                 “Transactions” means collectively, (a) the execution, delivery and performance by the
Borrower and the other Loan Parties of this Agreement, the borrowing of Loans hereunder and the use of
proceeds thereof, (b) the execution, delivery and performance by the Borrower and the other Loan Parties
of the Term Loan Credit Agreements, the borrowing of loans thereunder and the use of proceeds thereof
and (c) the Existing Indebtedness Payoff.

                 “Transferee” means any Assignee or Participant.

                “Transition Services Agreement” means that certain Transition Services Agreement, dated
as of August 2, 2024, between DMFI and the Borrower.

                  “Type” means, when used in reference to any Loan or Borrowing, refers to whether the
rate of interest on such Loan, or on the Loans comprising such Borrowing, is determined by reference to
the Adjusted Term SOFR Rate, the Alternate Base Rate or the Adjusted Daily Simple SOFR.

                  “UK Financial Institution” means any BRRD Undertaking (as such term is defined under
the PRA Rulebook (as amended from time to time) promulgated by the United Kingdom Prudential
Regulation Authority) or any person falling within IFPRU 11.6 of the FCA Handbook (as amended from
time to time) promulgated by the United Kingdom Financial Conduct Authority, which includes certain
credit institutions and investment firms, and certain affiliates of such credit institutions or investment firms.

                “UK Resolution Authority” means the Bank of England or any other public administrative
authority having responsibility for the resolution of any UK Financial Institution.

                “Unadjusted Benchmark Replacement” means the applicable Benchmark Replacement
excluding the related Benchmark Replacement Adjustment.

                 “United States” means the United States of America.

                  “Unrestricted Cash” means unrestricted cash and Cash Equivalents owned by any Group
Member and not controlled by or subject to any Lien or other preferential arrangement in favor of any
creditor (other than Liens created under the Security Documents and corresponding Liens created under the
Term Loan Security Documents (or any Term Loan Security Documents (as defined in the Pre-Petition
Intercreditor Agreement)) and Liens of the type referred to in Section 7.3(u)).

               “Unrestricted Subsidiary” means any Unrestricted Subsidiary designated as such under the
Pre-Petition ABL Credit Agreement.

                “Unused Commitments” means at any time, an amount equal to (a) the Total Revolving
Commitments minus (b) the Total Revolving Extensions of Credit then outstanding (calculated, with
respect to any Defaulting Lender, as if such Defaulting Lender had funded its Revolving Percentage of all
outstanding Revolving Loans).

                 “U.S. Government Securities Business Day” means any day except for (i) a Saturday, (ii)
a Sunday or (iii) a day on which the Securities Industry and Financial Markets Association recommends
that the fixed income departments of its members be closed for the entire day for purposes of trading in
United States government securities.

                 “U.S. Person” means a “United States person” within the meaning of Section 7701(a)(30)
of the Code.


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                 “U.S. Special Resolution Regimes” has the meaning set forth in Section 10.20.

                 “U.S. Tax Compliance Certificate” has the meaning set forth in Section 2.19(f)(ii)(B)(3).

                  “Value” means, with reference to Eligible Inventory, on any date, the lower of (i) the Cost
thereof and (ii) the fair market value thereof.

                 “Walmart” means Wal-Mart Stores, Inc. and its Affiliates.

                “Wholly Owned Subsidiary” means as to any Person, any other Person all of the Capital
Stock of which (other than directors’ qualifying shares required by law) is owned by such Person directly
and/or through other Wholly Owned Subsidiaries.

                 “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete
or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of
Title IV of ERISA.

                   “Write-Down and Conversion Powers” means (a) with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time to time
under the Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion
powers are described in the EU Bail-In Legislation Schedule and (b) with respect to the United Kingdom,
any powers of the applicable Resolution Authority under the Bail-In Legislation to cancel, reduce, modify
or change the form of a liability of any UK Financial Institution or any contract or instrument under which
that liability arises, to convert all or part of that liability into shares, securities or obligations of that person
or any other person, to provide that any such contract or instrument is to have effect as if a right had been
exercised under it or to suspend any obligation in respect of that liability or any of the powers under that
Bail-In Legislation that are related to or ancillary to any of those powers.

                 1.2      Classification of Loans and Borrowings. For purposes of this Agreement, Loans
may be classified and referred to by Type (e.g., a “Term Benchmark Loan”). Borrowings also may be
classified and referred to by Type (e.g., a “Term Benchmark Borrowing”).

                  1.3    Other Definitional Provisions. (a) Unless otherwise specified therein, all terms
defined in this Agreement shall have the defined meanings when used in the other Loan Documents or any
certificate or other document made or delivered pursuant hereto or thereto.

                 (b)     As used herein and in the other Loan Documents, and any certificate or other
document made or delivered pursuant hereto or thereto, (i) accounting terms relating to any Group Member
not defined in Section 1.1 and accounting terms partly defined in Section 1.1, to the extent not defined,
shall have the respective meanings given to them under IFRS; provided that all terms of an accounting or
financial nature used herein shall be construed, and all computations of amounts and ratios referred to herein
shall be made, without giving effect to (x) any election under any accounting standard codification or
financial accounting standard similar to GAAP Accounting Standards Codification 825-10-25 to value any
Indebtedness or other liabilities of Holdings or any Subsidiary at “fair value” and (y) any treatment of
Indebtedness in respect of convertible debt instruments under any accounting standard codification or
financial accounting standard similar to GAAP Accounting Standards Codification 470-20 to value any
such Indebtedness in a reduced or bifurcated manner as described therein, and such Indebtedness shall at
all times be valued at the full stated principal amount thereof, (ii) the words “include”, “includes” and
“including” shall be deemed to be followed by the phrase “without limitation”, (iii) the word “incur” shall
be construed to mean incur, create, issue, assume, become liable in respect of or suffer to exist (and the
words “incurred” and “incurrence” shall have correlative meanings), (iv) the words “asset” and “property”

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shall be construed to have the same meaning and effect and to refer to any and all tangible and intangible
assets and properties, including cash, Capital Stock, securities, revenues, accounts, leasehold interests and
contract rights, (v) references to agreements or other Contractual Obligations shall, unless otherwise
specified, be deemed to refer to such agreements or Contractual Obligations as amended, supplemented,
restated or otherwise modified from time to time and (vi) the concept of “letters of credit” shall be construed
to include banker’s acceptances.

                (c)     The words “hereof”, “herein” and “hereunder” and words of similar import, when
used in this Agreement, shall refer to this Agreement as a whole and not to any particular provision of this
Agreement, and Section, Schedule and Exhibit references are to this Agreement unless otherwise specified.

                (d)     The meanings given to terms defined herein shall be equally applicable to both the
singular and plural forms of such terms.

               (e)     Unless otherwise defined herein or the context otherwise requires, terms for which
meanings are provided in the UCC are used in this Agreement, including its preamble and recitals, with
such meanings.

                  1.4     Interest Rate; Benchmark Notification. The interest rate on a Loan denominated
in dollars may be derived from an interest rate benchmark that may be discontinued or is, or may in the
future become, the subject of regulatory reform. Upon the occurrence of a Benchmark Transition Event,
Section 2.16(b) provides a mechanism for determining an alternative rate of interest. The Administrative
Agent does not warrant or accept any responsibility for, and shall not have any liability with respect to, the
administration, submission, performance or any other matter related to any interest rate used in this
Agreement, or with respect to any alternative or successor rate thereto, or replacement rate thereof,
including without limitation, whether the composition or characteristics of any such alternative, successor
or replacement reference rate will be similar to, or produce the same value or economic equivalence of, the
existing interest rate being replaced or have the same volume or liquidity as did any existing interest rate
prior to its discontinuance or unavailability. The Administrative Agent and its affiliates and/or other related
entities may engage in transactions that affect the calculation of any interest rate used in this Agreement
or any alternative, successor or alternative rate (including any Benchmark Replacement) and/or any relevant
adjustments thereto, in each case, in a manner adverse to the Borrower. The Administrative Agent may
select information sources or services in its reasonable discretion to ascertain any interest rate used in this
Agreement, any component thereof, or rates referenced in the definition thereof, in each case pursuant to
the terms of this Agreement, and shall have no liability to the Borrower, any Lender or any other person or
entity for damages of any kind, including direct or indirect, special, punitive, incidental or consequential
damages, costs, losses or expenses (whether in tort, contract or otherwise and whether at law or in equity),
for any error or calculation of any such rate (or component thereof) provided by any such information
source or service.

                 1.5      Letter of Credit Amounts. Unless otherwise specified herein, the amount of a
Letter of Credit at any time shall be deemed to be the amount of such Letter of Credit available to be drawn
at such time; provided that with respect to any Letter of Credit that, by its terms provides for one or more
automatic increases in the available amount thereof, the amount of such Letter of Credit shall be deemed to
be the maximum amount of such Letter of Credit after giving effect to all such increases, whether or not
such maximum amount is available to be drawn at such time. For clarity, the calculation of the amount of
such Letter of Credit shall take into account any reduction on account of (a) any permanent reduction of
such Letter of Credit or (b) any amount that is drawn, reimbursed and no longer available under such Letter
of Credit.

                 1.6     [Reserved].

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                   1.7     Divisions. For all purposes under the Loan Documents, in connection with any
division or plan of division under Delaware law (or any comparable event under a different jurisdiction’s
laws): (a) if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or
liability of a different Person, then it shall be deemed to have been transferred from the original Person to
the subsequent Person, and (b) if any new Person comes into existence, such new Person shall be deemed
to have been organized and acquired on the first date of its existence by the holders of its Capital Stock at
such time.

                     SECTION 2. AMOUNT AND TERMS OF COMMITMENTS

                  2.1    Commitments. (a) Subject to the terms and conditions hereof, each Revolving
Lender severally agrees to make revolving credit loans denominated in Dollars (“Revolving Loans”) to the
Borrower from time to time during the Revolving Commitment Period in an aggregate principal amount at
any one time outstanding which would not result in either (i) the Revolving Loans of such Lender when
added (after giving effect to any application of proceeds of such Revolving Loans pursuant to Section 2.5)
to the sum of (x) such Lender’s Revolving Percentage of the L/C Obligations then outstanding, (y) such
Lender’s Swingline Exposure then outstanding and (z) such Lender’s Protective Advance Exposure then
outstanding, exceeding the amount of such Lender’s Revolving Commitment or (ii) the Total Revolving
Extensions of Credit exceeding the Line Cap, subject to the authority of the Administrative Agent, in its
sole discretion, to make Protective Advances pursuant to the terms of Section 2.3. During the Revolving
Commitment Period the Borrower may, subject to the terms and conditions hereof, use the Revolving
Commitments by borrowing, prepaying the Revolving Loans in whole or in part, and reborrowing, all in
accordance with the terms and conditions hereof. The Revolving Loans may from time to time be Term
Benchmark Loans or ABR Loans, as determined by the Borrower and notified to the Administrative Agent
in accordance with Sections 2.2 and 2.12, or may from time to time be RFR Loans in accordance with
Section 2.16.

               (b)       The Borrower shall repay all outstanding Revolving Loans on the Revolving
Termination Date.

                  2.2     Procedure for Loan Borrowing. The Borrower may borrow under the Revolving
Commitments during the Revolving Commitment Period, on any Business Day, provided that the Borrower
shall give the Administrative Agent a Borrowing Request (which notice must be received by the
Administrative Agent prior to (a) 12:00 Noon, New York City time three U.S. Government Securities
Business Days prior to the requested Borrowing Date, in the case of Term Benchmark Loans, or (b) 12:00
Noon, New York City time, the date of the requested Borrowing Date, in the case of ABR Loans),
specifying (i) the amount and Type of Loans to be borrowed, (ii) the requested Borrowing Date (which may
be the same day as the day of the Borrowing Request in the case of ABR Loans) and (iii) in the case of
Term Benchmark Loans, the respective amounts of each such Type of Loan and the respective lengths of
the initial Interest Period therefor. Each borrowing under the Revolving Commitments shall be in an
amount equal to (x) in the case of ABR Loans, $1,000,000 or a whole multiple thereof (or, if the then
aggregate Available Revolving Commitments are less than $1,000,000, such lesser amount) and (y) in the
case of Term Benchmark Loans, $5,000,000 or a whole multiple of $1,000,000 in excess thereof; provided
that the Swingline Lender may request, on behalf of the Borrower, borrowings under the Revolving
Commitments that are Revolving Loans in other amounts pursuant to Section 2.6. Upon receipt of any such
notice from the Borrower, the Administrative Agent shall promptly notify each Revolving Lender thereof.
Each Revolving Lender will make the amount of its pro rata share of each borrowing of Revolving Loans
based on its Revolving Percentage available to the Administrative Agent for the account of the Borrower
at the Funding Office prior to 2:00 P.M., New York City time, on the Borrowing Date requested by the
Borrower in funds immediately available to the Administrative Agent; provided that to the extent separately
agreed by the Borrower and a Lender and notified to the Administrative Agent, any funding of Revolving

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Loans on the Closing Date by a Lender that is also a lender under the Pre-Petition ABL Credit Agreement
immediately prior to giving effect to the Closing Date may be made on a cashless basis pursuant to
mechanics agreed by the Borrower and the Administrative Agent. Such borrowing will then be made
available to the Borrower by the Administrative Agent crediting the account of the Borrower on the books
of such office with the aggregate of the amounts made available to the Administrative Agent by the
Revolving Lenders and in like funds as received by the Administrative Agent.

                 2.3     Protective Advances. (a) Subject to the limitations set forth below, the
Administrative Agent is authorized by the Borrower and the Lenders, from time to time in the
Administrative Agent’s Permitted Discretion (but shall have absolutely no obligation to), to make
Revolving Loans denominated in Dollars to the Borrower, on behalf of all Lenders, which the
Administrative Agent, in its Permitted Discretion, deems necessary or desirable (i) to preserve or protect
the Collateral, or any portion thereof, (ii) to enhance the likelihood of, or maximize the amount of,
repayment of the Loans and other Obligations, or (iii) to pay any other amount chargeable to or required to
be paid by the Borrower pursuant to the terms of this Agreement, including payments of reimbursable
expenses (including costs, fees, and expenses as described in Section 10.5) and other sums payable under
the Loan Documents (any of such Loans are herein referred to as “Protective Advances”); provided that, as
of the date of the making of any Protective Advance, the aggregate amount of outstanding Protective
Advances shall not exceed 10% of the Revolving Commitments outstanding as of such date; provided
further that the Total Revolving Extensions of Credit outstanding any time shall not exceed the total
Revolving Commitments. Protective Advances may be made even if the conditions precedent set forth in
Section 5.2 have not been satisfied. The Protective Advances shall be secured by the Liens in favor of the
Administrative Agent in and to the Collateral and shall constitute Obligations hereunder. All Protective
Advances shall be ABR Loans. The Administrative Agent’s authorization to make Protective Advances
may be revoked at any time by the Required Lenders. Any such revocation must be in writing and shall
become effective prospectively upon the Administrative Agent’s receipt thereof. At any time (a) the
amount equal to (i) the Line Cap minus (ii) the Total Revolving Extensions of Credit then outstanding
(calculated, with respect to any Defaulting Lender, as if such Defaulting Lender had funded its Revolving
Percentage of all outstanding Revolving Loans) exceeds the amount of any Protective Advance and (b) the
conditions precedent set forth in Section 5.2 have been satisfied, the Administrative Agent may request the
Revolving Lenders to make a Revolving Loan to repay a Protective Advance. At any other time the
Administrative Agent may require the Lenders to fund their risk participations described in Section 2.3(b).

                  (b)      Upon the making of a Protective Advance by the Administrative Agent (whether
before or after the occurrence of a Default), each Revolving Lender shall be deemed, without further action
by any party hereto, to have unconditionally and irrevocably purchased from the Administrative Agent,
without recourse or warranty, an undivided interest and participation in such Protective Advance in
proportion to its Revolving Percentage. From and after the date, if any, on which any Revolving Lender is
required to fund its participation in any Protective Advance purchased hereunder, the Administrative Agent
shall promptly distribute to such Revolving Lender such Revolving Lender’s Revolving Percentage of all
payments of principal and interest and all proceeds of Collateral received by the Administrative Agent in
respect of such Protective Advance (appropriately adjusted, in the case of interest payments, to reflect the
period of time during which such Lender’s participating interest was outstanding and funded and, in the
case of principal and interest payments, to reflect such Lender’s pro rata portion based on its Revolving
Percentage of such payment if such payment is not sufficient to pay the principal of and interest on all
Protective Advances then due).

                2.4     [Reserved].

               2.5     Swingline Sublimit. (a) Subject to the terms and conditions hereof, from time to
time during the Revolving Commitment Period, the Borrower may request that a portion of the credit

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otherwise available to the Borrower under the Revolving Commitments be made in the form of swing line
loans (“Swingline Loans”) by the Swingline Lender to the Borrower, and the Swingline Lender may, but
shall have no obligation, to make such requested Swingline Loans pursuant to this Agreement; provided
that (i) the sum of (w) the Swingline Exposure of the Swingline Lender (in its capacity as the Swingline
Lender and a Revolving Lender), (x) the aggregate principal amount of outstanding Revolving Loans made
by the Swingline Lender (in its capacity as a Revolving Lender), (y) the L/C Exposure of the Swingline
Lender (in its capacity as a Revolving Lender) and (z) the Protective Advance Exposure of the Swingline
Lender (in its capacity as a Revolving Lender) shall not exceed its Revolving Commitment then in effect,
(ii) the sum of the outstanding Swingline Loans shall not exceed the Swingline Sublimit and (iii) the
Borrower shall not request, and the Swingline Lender shall not make, any Swingline Loan if, after giving
effect to the making of such Swingline Loan, the Total Revolving Extensions of Credit would exceed the
Line Cap, subject to the authority of the Administrative Agent, in its sole discretion, to make Protective
Advances pursuant to the terms of Section 2.3. During the Revolving Commitment Period, the Borrower
may borrow, repay and reborrow Swingline Loans, all in accordance with the terms and conditions hereof.
Swingline Loans shall be ABR Loans only.

               (b)     The Borrower shall repay to the Swingline Lender the then unpaid principal
amount of each Swingline Loan on the earlier of the Revolving Termination Date and five Business Days
after such Swingline Loan is made; provided that, in each case, on each date that a Revolving Loan is
borrowed, the Borrower shall repay all Swingline Loans then outstanding and the proceeds of any such
Revolving Loans shall be applied by the Administrative Agent to repay any Swingline Loans outstanding.

                 2.6     Procedure for Swingline Borrowing; Refunding of Swingline Loans. (a)Whenever
the Borrower desires that the Swingline Lender make Swingline Loans it shall give the Swingline Lender
irrevocable telephonic notice confirmed promptly in writing (which telephonic notice must be received by
the Swingline Lender not later than 12:00 P.M., New York City time, on the proposed Borrowing Date),
specifying (i) the amount to be borrowed and (ii) the requested Borrowing Date (which shall be a Business
Day during the Revolving Commitment Period). Each borrowing of Swingline Loans shall be in an amount
equal to $500,000 or a whole multiple of $100,000 in excess thereof. Not later than 3:00 P.M., New York
City time, on the Borrowing Date specified in a notice in respect of Swingline Loans, with respect to any
such Swingline Loans the Swingline Lender agrees in its sole discretion to make, the Swingline Lender
shall make available to the Administrative Agent at the Funding Office an amount in immediately available
funds equal to such Swingline Loans. The Administrative Agent shall make the proceeds of such Swingline
Loans available to the Borrower on such Borrowing Date by depositing such proceeds in the account of the
Borrower with the Administrative Agent on such Borrowing Date in immediately available funds.

                  (b)    The Swingline Lender, at any time and from time to time in its sole and absolute
discretion may, on behalf of the Borrower (which hereby irrevocably directs the Swingline Lender to act
on its behalf), on one Business Day’s notice given by the Swingline Lender no later than 12:00 Noon, New
York City time, request each Revolving Lender to make, and each Revolving Lender hereby agrees to make,
a Revolving Loan in an amount equal to such Revolving Lender’s Revolving Percentage of the aggregate
amount of the Swingline Loans (the “Refunded Swingline Loans”) outstanding on the date of such notice,
to repay the Swingline Lender. Each Revolving Lender shall make the amount of such Revolving Loan
available to the Administrative Agent at the Funding Office in immediately available funds, not later than
10:00 A.M., New York City time, one Business Day after the date of such notice. The proceeds of such
Revolving Loans shall be immediately made available by the Administrative Agent to the Swingline Lender
for application by the Swingline Lender to the repayment of the Refunded Swingline Loans. The Borrower
irrevocably authorizes the Swingline Lender to charge the Borrower’s accounts with the Administrative
Agent (up to the amount available in each such account) in order to immediately pay the amount of such
Refunded Swingline Loans to the extent amounts received from the Revolving Lenders are not sufficient
to repay in full such Refunded Swingline Loans.

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                  (c)    If prior to the time a Revolving Loan would have otherwise been made pursuant
to Section 2.6(b), one of the events described in Section 8.1(g) shall have occurred and be continuing with
respect to the Borrower or if for any other reason, as determined by the Swingline Lender in its sole
discretion, Revolving Loans may not be made as contemplated by Section 2.6(b), each Revolving Lender
shall, on the date such Revolving Loan was to have been made pursuant to the notice referred to in Section
2.6(b), purchase for cash an undivided participating interest in the then outstanding Swingline Loans by
paying to the Swingline Lender an amount (the “Swingline Participation Amount”) equal to (i) such
Revolving Lender’s Revolving Percentage times (ii) the sum of the aggregate principal amount of
Swingline Loans of the Swingline Lender then outstanding that were to have been repaid with such
Revolving Loans.

                  (d)     Whenever, at any time after the Swingline Lender has received from any
Revolving Lender such Lender’s Swingline Participation Amount, the Swingline Lender receives any
payment on account of the Swingline Loans, the Swingline Lender will distribute to such Lender its ratable
portion of such payment (appropriately adjusted, in the case of interest payments, to reflect the period of
time during which such Lender’s participating interest was outstanding and funded and, in the case of
principal and interest payments, to reflect such Lender’s pro rata portion of such payment if such payment
is not sufficient to pay the principal of and interest on all Swingline Loans then due); provided, however,
that in the event that such payment received by the Swingline Lender is required to be returned, such
Revolving Lender will return to the Swingline Lender any portion thereof previously distributed to it by the
Swingline Lender.

                 (e)     Each Revolving Lender’s obligation to make the Loans referred to in Section
2.6(b) and to purchase participating interests pursuant to Section 2.6(c) shall be absolute and unconditional
and shall not be affected by any circumstance, including (i) any setoff, counterclaim, recoupment, defense
or other right that such Revolving Lender or the Borrower may have against the Swingline Lender, the
Borrower or any other Person for any reason whatsoever, (ii) the occurrence or continuance of a Default or
an Event of Default or the failure to satisfy any of the other conditions specified in Section 5, (iii) any
adverse change in the condition (financial or otherwise) of the Borrower, (iv) any breach of this Agreement
or any other Loan Document by the Borrower, any other Loan Party or any other Revolving Lender or (v)
any other circumstance, happening or event whatsoever, whether or not similar to any of the foregoing.

                2.7    Repayment of Loans. The Borrower hereby unconditionally promises to pay to
the Administrative Agent for the account of and ratable benefit of each Lender the aggregate outstanding
principal amount of the Revolving Loans (including Swingline Loans and Protective Advances) on the
Revolving Termination Date.

                  2.8     Fees, etc. (a) The Borrower agrees to pay to the Administrative Agent for the
ratable account of each Revolving Lender a commitment fee for the period from and including the Closing
Date to the last day of the Revolving Commitment Period equal to the Commitment Fee Rate multiplied by
the average daily amount of unused Total Revolving Commitments during the period for which payment is
made, in each case, payable quarterly in arrears on each Fee Payment Date, commencing on the first such
date to occur after the Closing Date.

                (b)       The Borrower agrees to pay to the Administrative Agent the fees in the amounts
and on the dates as set forth in any fee agreements with the Administrative Agent and to perform any other
obligations contained therein.

                2.9     Termination or Reduction of Commitments. The Borrower shall have the right,
upon not less than three Business Days’ notice to the Administrative Agent, to terminate the Revolving
Commitments or, from time to time, to reduce the amount of the Revolving Commitments; provided that

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no such termination or reduction of Revolving Commitments shall be permitted if, after giving effect thereto
and to any prepayments of the Revolving Loans made on the effective date thereof, the Total Revolving
Extensions of Credit would exceed the Line Cap. Any such reduction shall be in an amount equal to
$5,000,000, or a whole multiple thereof, and shall reduce permanently the Revolving Commitments then
in effect.

                   2.10    Optional Prepayments. The Borrower may at any time and from time to time
prepay the Revolving Loans, in whole or in part, without premium or penalty, upon irrevocable notice
delivered to the Administrative Agent no later than 12:00 Noon, New York City time, three Business Days
prior thereto, in the case of Term Benchmark Loans, 12:00 Noon, New York City time, three Business Days
prior thereto, in the case of RFR Loans and no later than 12:00 Noon, New York City time, on the date of
such prepayment, in the case of ABR Loans, which notice shall specify the date and amount of prepayment
and whether the prepayment is of Term Benchmark Loans, RFR Loans or ABR Loans; provided, that if a
Term Benchmark Loan is prepaid on any day other than the last day of the Interest Period applicable thereto,
the Borrower shall also pay any amounts owing pursuant to Section 2.20. Upon receipt of any such notice
the Administrative Agent shall promptly notify each relevant Lender thereof. If any such notice is given,
the amount specified in such notice shall be due and payable on the date specified therein, together with
(except in the case of Revolving Loans that are ABR Loans and Swingline Loans) accrued interest to such
date on the amount prepaid. Partial prepayments of Revolving Loans shall be in an aggregate principal
amount of $1,000,000 or a whole multiple of $100,000 in excess thereof. The application of any prepayment
pursuant to this Section 2.10 shall be made first, to ABR Loans and second, to Term Benchmark Loans (or
RFR Loans, if applicable).

                 2.11    Prepayment of Loans. (a) In the event and on such occasion that (i) the Total
Revolving Extensions of Credit exceed the Total Revolving Commitments or (ii) the Total Revolving
Extensions of Credit (excluding for such purposes Protective Advances) exceed the Borrowing Base, the
Borrower shall promptly (and in any event within two Business Days) prepay (or in the case of L/C
Exposure, cash collateralize) the Revolving Loans, L/C Exposure, Swingline Loans and/or (in the case of
clause (i) above) the Protective Advances in an aggregate amount equal to such excess (it being understood
that the Borrower shall prepay Revolving Loans, Swingline Loans and/or Protective Advances prior to cash
collateralization of L/C Exposure).

                 (b)      In the event and on each occasion that any Net Cash Proceeds are received by or
on behalf of any Group Member in respect of any Disposition (other than a Disposition pursuant to Sections
7.5(a), 7.5(b) and (solely with respect to Dispositions to a Loan Party) 7.5(k)) or Recovery Event, in each
case in respect of ABL Priority Collateral, the Borrower shall, within three Business Days after such Net
Cash Proceeds are received by any Group Member, prepay the Revolving Loans and cash collateralize the
L/C Obligations as set forth in Section 2.11(d) below in an aggregate amount equal to 100% of such Net
Cash Proceeds, provided that, this Section 2.11 shall not require any such prepayment with respect to Net
Cash Proceeds received on account of any Disposition or Recovery Event during any fiscal year of Holdings
not exceeding $5,000,000 in the aggregate so long as no Event of Default then exists. For the avoidance of
doubt, any prepayment of such Net Cash Proceeds shall be applied without any reduction in the Revolving
Commitments.

                (c)    If, as of the final Business Day of each weekly period starting from the first
complete calendar week after the Closing Date, (a) Revolving Loans are outstanding and (b) the
Consolidated Cash Balance exceeds $100,000,000 as of the end of such applicable Business Day, then the
Borrower shall, on the next Business Day thereafter, prepay Revolving Loans in an aggregate principal
amount equal to such excess (up to the amount of such outstanding Revolving Loans).



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                 (d)     The application of any prepayment pursuant to this Section 2.11 shall be applied
first, to ABR Loans, second, to Term Benchmark Loans (or RFR Loans, if applicable) and third, to cash
collateralize L/C Obligations.

                (e)     On each Business Day during any Daily Cash Sweep Period, the Administrative
Agent shall apply, subject to Section 2.17(b), all funds credited to any applicable Collection Account as of
10:00 A.M., New York City time, on such Business Day (whether or not immediately available) first to
prepay any Protective Advances that may be outstanding, second to prepay the Swingline Loans and third
to prepay other Revolving Loans (without a corresponding reduction in Revolving Commitments).

                 2.12     Conversion and Continuation Options. (a) The Borrower may elect from time to
time to convert Term Benchmark Loans to ABR Loans (or, if applicable, RFR Loans to ABR Loans) by
giving the Administrative Agent prior irrevocable notice of such election by submitting an Interest Election
Request no later than 11:00 A.M., New York City time, on the Business Day preceding the proposed
conversion date, provided that any such conversion of Term Benchmark Loans may only be made on the
last day of an Interest Period with respect thereto. The Borrower may elect from time to time to convert
ABR Loans to Term Benchmark Loans by giving the Administrative Agent prior irrevocable notice of such
election no later than 12:00 Noon, New York City time, on the third Business Day preceding the proposed
conversion date (which Interest Election Request shall, in the case of Term Benchmark Loans, specify the
length of the initial Interest Period therefor), provided that no ABR Loan may be converted into a Term
Benchmark Loan when any Event of Default has occurred and is continuing and the Administrative Agent
or the Required Lenders have determined in its or their sole discretion not to permit such conversions. Upon
receipt of any such Interest Election Request the Administrative Agent shall promptly notify each relevant
Lender thereof.

                 (b)     Any Term Benchmark Loan may be continued as such upon the expiration of the
then current Interest Period with respect thereto by the Borrower giving irrevocable notice by submitting
an Interest Election Request to the Administrative Agent, in accordance with the applicable provisions of
the term “Interest Period” set forth in Section 1.1, of the length of the next Interest Period to be applicable
to such Loans, provided that no Term Benchmark Loan may be continued as such (i) when any Event of
Default has occurred and is continuing and the Administrative Agent has or the Required Lenders have
determined in its or their sole discretion not to permit such continuations or (ii) if a Specified Event of
Default is in existence, and provided, further, that if the Borrower shall fail to give any required Interest
Election Request as described above in this paragraph or if such continuation is not permitted pursuant to
the preceding proviso such Loans shall be automatically converted to ABR Loans on the last day of such
then expiring Interest Period. Upon receipt of any such Interest Election Request the Administrative Agent
shall promptly notify each relevant Lender thereof.

                  2.13     Limitations on Term Benchmark Borrowings. Notwithstanding anything to the
contrary in this Agreement, all borrowings, conversions and continuations of Term Benchmark Loans and
all selections of Interest Periods shall be in such amounts and be made pursuant to such elections so that,
(a) after giving effect thereto, the aggregate principal amount of the Term Benchmark Loans comprising
each Term Benchmark Borrowing shall be equal to $5,000,000 or a whole multiple of $1,000,000 in excess
thereof and (b) no more than 10 Term Benchmark Borrowings shall be outstanding at any one time.

               2.14     Interest Rates and Payment Dates. Subject to Section 2.16, (a) Each Term
Benchmark Loan shall bear interest for each day during each Interest Period with respect thereto at a rate
per annum equal to the Adjusted Term SOFR Rate determined for such day plus the Applicable Margin.

              (b)     Each RFR Loan shall bear interest at a rate per annum equal to the Adjusted Daily
Simple SOFR plus the Applicable Margin.

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                (c)     Each ABR Loan shall bear interest at a rate per annum equal to the Alternate Base
Rate plus the Applicable Margin.

                 (d)     (i) (A) If all or a portion of the principal amount of any Loan or Reimbursement
Obligation shall not be paid when due (whether at the stated maturity, by acceleration or otherwise) upon
the election of the Required Lenders, such overdue amount shall bear interest at a rate per annum equal to
(x) in the case of the Loans, the rate that would otherwise be applicable thereto pursuant to the foregoing
provisions of this Section 2.14 plus 2% or (y) in the case of Reimbursement Obligations, the rate applicable
to Revolving Loans that are ABR Loans plus 2%, and (B) if all or a portion of any commitment fee or other
amount payable hereunder (other than as covered in clause (d)(ii) below) shall not be paid when due
(whether at the stated maturity, by acceleration or otherwise) upon the election of the Required Lenders,
such overdue amounts shall bear interest at a rate per annum equal to the rate then applicable to Revolving
Loans that are ABR Loans plus 2%, in each case, with respect to clauses (i)(A) and (B) above, from the
date of such non-payment until such amount is paid in full (as well after as before judgment) and (ii) if any
Event of Default shall have occurred and be continuing, all interest payable on any Loan or Reimbursement
Obligation hereunder shall accrue and be payable at a rate per annum equal to the rate then applicable to
Revolving Loans that are ABR Loans (assuming Average Quarterly Availability <33% of the Line Cap)
plus 2% .

                 (e)    Interest shall be payable in arrears on each Interest Payment Date, provided that
interest accruing pursuant to paragraph (d) of this Section 2.14 shall be payable from time to time on
demand.

                 2.15     Computation of Interest and Fees. (a) Interest and fees payable pursuant hereto
shall be calculated on the basis of a 360-day year for the actual days elapsed, except that, with respect to
ABR Loans the rate of interest on which is calculated on the basis of the Prime Rate, the interest thereon
shall be calculated on the basis of a 365- (or 366-, as the case may be) day year for the actual days elapsed
(including the first day, but excluding the last day; provided that if a Loan is repaid on the same day on
which it is made, one day’s interest shall be paid on such Loan). The Administrative Agent shall as soon
as practicable notify the Borrower and the relevant Lenders of each determination of an Adjusted Term
SOFR Rate.

                 (b)    Each determination of an interest rate by the Administrative Agent pursuant to any
provision of this Agreement shall be conclusive and binding on the Borrower and the Lenders in the absence
of manifest error. The Administrative Agent shall, at the request of the Borrower, deliver to the Borrower
a statement showing the quotations used by the Administrative Agent in determining any interest rate
pursuant to Section 2.14(a).

                    2.16   Alternate Rate of Interest. (a) Subject to clauses (b), (c), (d), (e) and (f) of this
Section 2.16, if:

                        (i)    the Administrative Agent determines (which determination shall be
        conclusive absent manifest error) (A) prior to the commencement of any Interest Period for a Term
        Benchmark Borrowing, that adequate and reasonable means do not exist for ascertaining the
        Adjusted Term SOFR Rate (including because the Term SOFR Reference Rate is not available or
        published on a current basis), for such Interest Period or (B) at any time, that adequate and
        reasonable means do not exist for ascertaining the applicable Adjusted Daily Simple SOFR; or

                       (ii)    the Administrative Agent is advised by the Required Lenders that (A) prior
        to the commencement of any Interest Period for a Term Benchmark Borrowing, the Adjusted Term
        SOFR Rate for such Interest Period will not adequately and fairly reflect the cost to such Lenders

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        (or Lender) of making or maintaining their Loans (or its Loan) included in such Borrowing for such
        Interest Period or (B) at any time, Adjusted Daily Simple SOFR will not adequately and fairly
        reflect the cost to such Lenders (or Lender) of making or maintaining their Loans (or its Loan)
        included in such Borrowing;

then the Administrative Agent shall give notice thereof to the Borrower and the Lenders by telephone,
telecopy or electronic mail as promptly as practicable thereafter and, until (x) the Administrative Agent
notifies the Borrower and the Lenders that the circumstances giving rise to such notice no longer exist with
respect to the relevant Benchmark and (y) the Borrower delivers a new Interest Election Request in
accordance with the terms of Section 2.12 or a new Borrowing Request in accordance with the terms of
Section 2.2, any Interest Election Request that requests the conversion of any Revolving Borrowing to, or
continuation of any Revolving Borrowing as, a Term Benchmark Borrowing and any Borrowing Request
that requests a Term Benchmark Revolving Borrowing shall instead be deemed to be an Interest Election
Request or a Borrowing Request, as applicable, for (x) an RFR Borrowing so long as the Adjusted Daily
Simple SOFR is not also the subject of Section 2.16(a)(i) or (ii) above or (y) an ABR Borrowing if the
Adjusted Daily Simple SOFR also is the subject of Section 2.16(a)(i) or (ii) above; provided that if the
circumstances giving rise to such notice affect only one Type of Borrowings, then all other Types of
Borrowings shall be permitted. Furthermore, if any Term Benchmark Loan or RFR Loan is outstanding on
the date of the Borrower’s receipt of the notice from the Administrative Agent referred to in this Section
2.16(a) with respect to a Relevant Rate applicable to such Term Benchmark Loan or RFR Loan, then until
(x) the Administrative Agent notifies the Borrower and the Lenders that the circumstances giving rise to
such notice no longer exist with respect to the relevant Benchmark and (y) the Borrower delivers a new
Interest Election Request in accordance with the terms of Section 2.12 or a new Borrowing Request in
accordance with the terms of Section 2.2, (1) any Term Benchmark Loan shall on the last day of the Interest
Period applicable to such Loan, be converted by the Administrative Agent to, and shall constitute, (x) an
RFR Borrowing so long as the Adjusted Daily Simple SOFR is not also the subject of Section 2.16(a)(i) or
(ii) above or (y) an ABR Loan if the Adjusted Daily Simple SOFR also is the subject of Section 2.16(a)(i)
or (ii) above, on such day and (2) any RFR Loan shall on and from such day be converted by the
Administrative Agent to, and shall constitute, an ABR Loan.

                 (b)      Notwithstanding anything to the contrary herein or in any other Loan Document
(and any Swap Agreement shall be deemed not to be a “Loan Document” for purposes of this Section 2.16),
if a Benchmark Transition Event and its related Benchmark Replacement Date have occurred prior to the
Reference Time in respect of any setting of the then-current Benchmark, then (x) if a Benchmark
Replacement is determined in accordance with clause (1) of the definition of “Benchmark Replacement”
for such Benchmark Replacement Date, such Benchmark Replacement will replace such Benchmark for all
purposes hereunder and under any Loan Document in respect of such Benchmark setting and subsequent
Benchmark settings without any amendment to, or further action or consent of any other party to, this
Agreement or any other Loan Document and (y) if a Benchmark Replacement is determined in accordance
with clause (2) of the definition of “Benchmark Replacement” for such Benchmark Replacement Date, such
Benchmark Replacement will replace such Benchmark for all purposes hereunder and under any Loan
Document in respect of any Benchmark setting at or after 5:00 p.m. (New York City time) on the fifth (5th)
Business Day after the date notice of such Benchmark Replacement is provided to the Lenders without any
amendment to, or further action or consent of any other party to, this Agreement or any other Loan
Document so long as the Administrative Agent has not received, by such time, written notice of objection
to such Benchmark Replacement from Lenders comprising the Required Lenders.

                (c)    Notwithstanding anything to the contrary herein or in any other Loan Document,
the Administrative Agent will have the right to make Benchmark Replacement Conforming Changes from
time to time and, notwithstanding anything to the contrary herein or in any other Loan Document, any


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amendments implementing such Benchmark Replacement Conforming Changes will become effective
without any further action or consent of any other party to this Agreement or any other Loan Document.

                 (d)      The Administrative Agent will promptly notify the Borrower and the Lenders of
(1) any occurrence of a Benchmark Transition Event, (2) the implementation of any Benchmark
Replacement, (3) the effectiveness of any Benchmark Replacement Conforming Changes, (4) the removal
or reinstatement of any tenor of a Benchmark pursuant to clause (f) below and (5) the commencement or
conclusion of any Benchmark Unavailability Period. Any determination, decision or election that may be
made by the Administrative Agent or, if applicable, any Lender (or group of Lenders) pursuant to this
Section 2.16, including any determination with respect to a tenor, rate or adjustment or of the occurrence
or non-occurrence of an event, circumstance or date and any decision to take or refrain from taking any
action or any selection, will be conclusive and binding absent manifest error and may be made in its or their
sole discretion and without consent from any other party to this Agreement or any other Loan Document,
except, in each case, as expressly required pursuant to this Section 2.16.

                   (e)     Notwithstanding anything to the contrary herein or in any other Loan Document,
at any time (including in connection with the implementation of a Benchmark Replacement), (1) if the then-
current Benchmark is a term rate (including the Term SOFR Rate) and either (a) any tenor for such
Benchmark is not displayed on a screen or other information service that publishes such rate from time to
time as selected by the Administrative Agent in its reasonable discretion or (b) the regulatory supervisor
for the administrator of such Benchmark has provided a public statement or publication of information
announcing that any tenor for such Benchmark is or will be no longer representative, then the
Administrative Agent may modify the definition of “Interest Period” for any Benchmark settings at or after
such time to remove such unavailable or non-representative tenor and (2) if a tenor that was removed
pursuant to clause (i) above either (a) is subsequently displayed on a screen or information service for a
Benchmark (including a Benchmark Replacement) or (b) is not, or is no longer, subject to an announcement
that it is or will no longer be representative for a Benchmark (including a Benchmark Replacement), then
the Administrative Agent may modify the definition of “Interest Period” for all Benchmark settings at or
after such time to reinstate such previously removed tenor.

                 (f)     Upon the Borrower’s receipt of notice of the commencement of a Benchmark
Unavailability Period, the Borrower may revoke any request for a Term Benchmark Borrowing of,
conversion to or continuation of Term Benchmark Loans to be made, converted or continued during any
Benchmark Unavailability Period and, failing that, the Borrower will be deemed to have converted any
request for a Term Benchmark Borrowing into a request for a Borrowing of or conversion to (A) an RFR
Borrowing so long as the Adjusted Daily Simple SOFR is not the subject of a Benchmark Transition Event
or (B) an ABR Borrowing if the Adjusted Daily Simple SOFR is the subject of a Benchmark Transition
Event. During any Benchmark Unavailability Period or at any time that a tenor for the then-current
Benchmark is not an Available Tenor, the component of ABR based upon the then-current Benchmark or
such tenor for such Benchmark, as applicable, will not be used in any determination of ABR. Furthermore,
if any Term Benchmark Loan or RFR Loan is outstanding on the date of the Borrower’s receipt of notice
of the commencement of a Benchmark Unavailability Period with respect to a Relevant Rate applicable to
such Term Benchmark Loan or RFR Loan, then until such time as a Benchmark Replacement is
implemented pursuant to this Section 2.16, (1) any Term Benchmark Loan shall on the last day of the
Interest Period applicable to such Loan, be converted by the Administrative Agent to, and shall constitute,
(x) an RFR Borrowing so long as the Adjusted Daily Simple SOFR is not the subject of a Benchmark
Transition Event or (y) an ABR Loan if the Adjusted Daily Simple SOFR is the subject of a Benchmark
Transition Event, on such day and (2) any RFR Loan shall on and from such day be converted by the
Administrative Agent to, and shall constitute, an ABR Loan.



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                 2.17   Pro Rata Treatment and Payments. (a) Each borrowing by the Borrower from the
Revolving Lenders hereunder, each payment by the Borrower on account of any commitment fee and any
reduction of the Revolving Commitments of the Revolving Lenders shall be made pro rata according to the
Revolving Percentages of the Lenders, in each case unless otherwise provided in this Agreement.

                  (b)      Any proceeds of Collateral of any Loan Party received by the Administrative
Agent (i) after an Event of Default has occurred and is continuing and the Administrative Agent so elects
or the Required Lenders so direct or (ii) at any other time, not constituting (A) a specific payment of
principal, interest, fees or other sum payable under the Loan Documents (which shall be applied as specified
by the Borrower), (B) a mandatory prepayment (which shall be applied in accordance with Section 2.11(a))
or (C) amounts to be applied from the Collection Account (which shall be applied in accordance with
Section 2.11(e)), shall be applied, subject to the Orders, ratably first, to pay any fees, indemnities, or
expense reimbursements then owing to the Administrative Agent and any Issuing Lender from, or
guaranteed by, such Loan Party under the Loan Documents related to the Revolving Loans (other than in
connection with Banking Services Obligations or Swap Obligations), second, to pay any fees or expense
reimbursements then owing to the Revolving Lenders from, or guaranteed by, such Loan Party under the
Loan Documents (other than in connection with Banking Services or Swap Obligations), third, to pay
interest due in respect of the Protective Advances owing by or guaranteed by such Loan Party, fourth, to
pay the principal of the Protective Advances owing by or guaranteed by such Loan Party, fifth, to pay
interest then due and payable on the Revolving Loans (other than the Protective Advances) and
unreimbursed L/C Disbursements, in each case owing or guaranteed by such Loan Party, ratably, sixth, to
prepay principal on the Revolving Loans (other than the Protective Advances) and unreimbursed L/C
Disbursements owing or guaranteed by such Loan Party, to pay an amount to the Administrative Agent
equal to 103% of the aggregate undrawn face amount of all outstanding Letters of Credit issued on behalf
of, or guaranteed by, such Loan Party, to be held as cash collateral for such Obligations and to pay any
amounts owing with respect to Banking Services Obligations to the extent that there are Banking Services
Reserves established in respect of such Banking Services Obligations, ratably, seventh, to the payment of
any amounts owing with respect to Banking Services Obligations and Secured Swap Obligations owing or
guaranteed by such Loan Party, ratably, eighth, to the payment of any other Revolving Obligations owing
to the Administrative Agent or any Lender by, or guaranteed by, such Loan Party, ratably and ninth, any
balance remaining after the Obligations shall have been paid in full and no Letters of Credit shall be
outstanding (other than Letters of Credit which have been cash collateralized in accordance with the
foregoing) shall be paid over to the applicable Loan Party at its account designated for such purpose by
written notice by such Loan Party to the Administrative Agent or to whomsoever else may be lawfully
entitled to receive the same. The application of any payment pursuant to this Section 2.17(b) shall be made
first, to ABR Loans and second, to Term Benchmark Loans (or RFR Loans, if applicable). Each of the
Administrative Agent and the Revolving Lenders shall have the continuing and exclusive right to apply and
reverse and reapply any and all such proceeds and payments to any portion of the Obligations to maximize
realization of the Collateral (it being understood that, notwithstanding the foregoing, in no event shall be
payments be made pursuant to levels “seventh” through “ninth” above prior to the payment in full of all
obligations described in levels “first” through “sixth” above). Notwithstanding the foregoing, no amount
received from any Loan Party shall be applied to any Excluded Swap Obligation of such Loan Party.

                (c)     Each payment (including each prepayment) by the Borrower on account of
principal of and interest on the Revolving Loans shall be made pro rata according to the respective
outstanding principal amounts of the Revolving Loans then held by the Revolving Lenders, unless
otherwise provided by this Agreement.

                (d)      All payments (including prepayments) to be made by the Borrower hereunder,
whether on account of principal, interest, fees or otherwise, shall be made without setoff or counterclaim
and shall be made prior to 12:00 Noon, New York City time, on the due date thereof to the Administrative

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Agent, for the account of the Lenders, at the Funding Office, in Dollars and in immediately available funds.
The Administrative Agent shall distribute such payments to each relevant Lender promptly upon receipt in
like funds as received, net of any amounts owing by such Lender pursuant to Section 9.2(d). If any payment
hereunder (other than payments on the Term Benchmark Loans) becomes due and payable on a day other
than a Business Day, such payment shall be extended to the next succeeding Business Day. If any payment
on a Term Benchmark Loan becomes due and payable on a day other than a Business Day, the maturity
thereof shall be extended to the next succeeding Business Day unless the result of such extension would be
to extend such payment into another calendar month, in which event such payment shall be made on the
immediately preceding Business Day. In the case of any extension of any payment of principal pursuant to
the preceding two sentences, interest thereon shall be payable at the then applicable rate during such
extension. During any Daily Cash Sweep Period, solely for purposes of determining the amount of Loans
available for borrowing purposes, checks (in addition to immediately available funds applied pursuant to
Section 2.11(e)) from collections of items of payment and proceeds of any Collateral shall be applied in
whole or in part against the applicable Obligations as of 10:00 A.M., New York City time, on the Business
Day of receipt, subject to actual collection.

                (e)     Unless the Administrative Agent shall have been notified in writing by any Lender
prior to a borrowing that such Lender will not make the amount that would constitute its share of such
borrowing available to the Administrative Agent, the Administrative Agent may assume that such Lender
is making such amount available to the Administrative Agent, and the Administrative Agent may, in
reliance upon such assumption, make available to the Borrower a corresponding amount. If such amount
is not made available to the Administrative Agent by the required time on the Borrowing Date therefor,
such Lender shall pay to the Administrative Agent, on demand, such amount with interest thereon, at a rate
equal to the greater of (i) the NYFRB Rate and (ii) a rate determined by the Administrative Agent in
accordance with banking industry rules on interbank compensation, for the period until such Lender makes
such amount immediately available to the Administrative Agent. A certificate of the Administrative Agent
submitted to any Lender with respect to any amounts owing under this paragraph shall be conclusive in the
absence of manifest error. If such Lender’s share of such borrowing is not made available to the
Administrative Agent by such Lender within three Business Days after such Borrowing Date, the
Administrative Agent shall also be entitled to recover such amount with interest thereon at the rate per
annum applicable to Revolving Loans that are ABR Loans, on demand, from the Borrower.

                 (f)     Unless the Administrative Agent shall have been notified in writing by the
Borrower prior to the date of any payment due to be made by the Borrower pursuant to the terms hereof or
any other Loan Document (including any date that is fixed for prepayment by notice from the Borrower to
the Administrative Agent pursuant to Section 2.11(e)) that the Borrower will not make such payment to the
Administrative Agent, the Administrative Agent may assume that the Borrower is making such payment,
and the Administrative Agent may, but shall not be required to, in reliance upon such assumption, make
available to the Lenders their respective pro rata shares of a corresponding amount. If such payment is not
made to the Administrative Agent by the Borrower within three Business Days after such due date, the
Administrative Agent shall be entitled to recover, on demand, from each Lender to which any amount which
was made available pursuant to the preceding sentence, such amount with interest thereon at the rate per
annum equal to the daily average NYFRB Rate. Nothing herein shall be deemed to limit the rights of the
Administrative Agent or any Lender against the Borrower.

                 (g)      If any Lender shall fail to make any payment required to be made by it pursuant to
Section 2.6(b), 2.6(c), 2.17(e), 2.17(f), 2.19(e), 3.4(a) or 9.2(d), then the Administrative Agent may, in its
discretion and notwithstanding any contrary provision hereof, (i) apply any amounts thereafter received by
the Administrative Agent for the account of such Lender for the benefit of the Administrative Agent, the
Swingline Lender or the Issuing Lender to satisfy such Lender’s obligations to it under such Sections until
all such unsatisfied obligations are fully paid, and/or (ii) hold any such amounts in a segregated account as

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cash collateral for, and application to, any future funding obligations of such Lender under any such Section,
in the case of each of clauses (i) and (ii) above, in any order as determined by the Administrative Agent in
its discretion.

                2.18    Requirements of Law. (a) If the adoption of or any change in any Requirement of
Law or in the interpretation, administration, implementation or application thereof or compliance by any
Lender or other Credit Party with any request or directive (whether or not having the force of law) from
any central bank or other Governmental Authority, in each case made or occurring subsequent to the
Closing Date:

                          (i)     shall subject any Credit Party to any Taxes (other than (A) Indemnified
        Taxes, (B) Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and (C)
        Connection Income Taxes) on its loans, loan principal, letters of credit, commitments, or other
        obligations, or its deposits, reserves, other liabilities or capital attributable thereto;

                           (ii)    shall impose, modify or hold applicable any reserve, special deposit,
        compulsory loan, insurance charge or similar requirement against assets held by, deposits or other
        liabilities in or for the account of, advances, loans or other extensions of credit (or participations
        therein) by, or any other acquisition of funds by, any office of such Lender that is not otherwise
        included in the determination of the Adjusted Term SOFR Rate; or

                         (iii)    shall impose on such Lender any other condition (other than Taxes);

and the result of any of the foregoing is to increase the cost to such Lender or such other Credit Party, by
an amount that such Lender or other Credit Party deems to be material, of making, converting into,
continuing or maintaining Loans or issuing or participating in Letters of Credit, or to reduce any amount
receivable hereunder in respect thereof, then, in any such case, the Borrower shall promptly pay such Lender
or such other Credit Party, upon its demand, any additional amounts necessary to compensate such Lender
or such other Credit Party for such increased cost or reduced amount receivable. If any Lender or such
other Credit Party becomes entitled to claim any additional amounts pursuant to this paragraph, it shall
promptly notify the Borrower (with a copy to the Administrative Agent) of the event by reason of which it
has become so entitled.

                 (b)    If any Lender shall have determined that the adoption of or any change in any
Requirement of Law regarding capital or liquidity requirements or in the interpretation, administration,
implementation or application thereof or compliance by such Lender or any corporation controlling such
Lender with any request or directive regarding capital or liquidity requirements (whether or not having the
force of law) from any Governmental Authority made subsequent to the Closing Date shall have the effect
of reducing the rate of return on such Lender’s or such corporation’s capital as a consequence of its
obligations hereunder or under or in respect of any Letter of Credit to a level below that which such Lender
or such corporation could have achieved but for such adoption, change or compliance (taking into
consideration such Lender’s or such corporation’s policies with respect to capital adequacy or liquidity) by
an amount deemed by such Lender to be material, then from time to time, after submission by such Lender
to the Borrower (with a copy to the Administrative Agent) of a written request therefor, the Borrower shall
pay to such Lender such additional amount or amounts as will compensate such Lender or such corporation
for such reduction.

                  (c)     Notwithstanding anything herein to the contrary, (i) all requests, rules, guidelines,
requirements and directives promulgated by the Bank for International Settlements, the Basel Committee
on Banking Supervision (or any successor or similar authority) or by United States or foreign regulatory
authorities, in each case pursuant to Basel III, and (ii) the Dodd-Frank Wall Street Reform and Consumer

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Protection Act and all requests, rules, guidelines, requirements and directives thereunder or issued in
connection therewith or in implementation thereof, shall in each case be deemed to be a change in law,
regardless of the date enacted, adopted, issued or implemented.

                 (d)    A certificate as to any additional amounts payable pursuant to this Section
submitted by any Lender to the Borrower (with a copy to the Administrative Agent) shall be conclusive in
the absence of manifest error. Notwithstanding anything to the contrary in this Section, the Borrower shall
not be required to compensate a Lender pursuant to this Section for any amounts incurred more than nine
months prior to the date that such Lender notifies the Borrower of such Lender’s intention to claim
compensation therefor; provided that, if the circumstances giving rise to such claim have a retroactive
effect, then such nine-month period shall be extended to include the period of such retroactive effect. The
obligations of the Borrower pursuant to this Section shall survive the termination of this Agreement and the
payment of the Loans and all other amounts payable hereunder.

                 (e)      Notwithstanding any other provision of this Section 2.18 to the contrary, no Lender
shall be entitled to receive any compensation pursuant to this Section 2.18 unless it shall be the general
policy or practice of such Lender to seek compensation from other similarly situated borrowers in the U.S.
syndicated loan market with respect to its similarly affected loans under agreements with such borrowers
having provisions similar to this Section 2.18.

                 2.19    Taxes. (a) Any and all payments by or on account of any obligation of any Loan
Party under any Loan Document shall be made without deduction or withholding for any Taxes, except as
required by applicable law. If any applicable law (as determined in the good faith discretion of an applicable
withholding agent) requires the deduction or withholding of any Tax from any such payment by a
withholding agent, then the applicable withholding agent shall be entitled to make such deduction or
withholding and shall timely pay the full amount deducted or withheld to the relevant Governmental
Authority in accordance with applicable law and, if such Tax is an Indemnified Tax, then the sum payable
by the applicable Loan Party shall be increased as necessary so that, after such deduction or withholding
has been made (including such deductions and withholdings applicable to additional sums payable under
this Section 2.19), the amounts received with respect to this Agreement equal the sum which would have
been received had no such deduction or withholding been made.

               (b)     The Loan Parties shall timely pay to the relevant Governmental Authority in
accordance with applicable law, or at the option of the Administrative Agent timely reimburse it for, Other
Taxes.

                  (c)    As soon as practicable after any payment of Taxes by any Loan Party to a
Governmental Authority pursuant to this Section 2.19, such Loan Party shall deliver to the Administrative
Agent the original or a certified copy of a receipt issued by such Governmental Authority evidencing such
payment, a copy of the return reporting such payment or other evidence of such payment reasonably
satisfactory to the Administrative Agent.

                  (d)     Without duplication of payments made pursuant to Section 2.19(a) above, the Loan
Parties shall jointly and severally indemnify each Credit Party, within 10 days after demand therefor, for
the full amount of any Indemnified Taxes (including Indemnified Taxes imposed or asserted on or
attributable to amounts payable under this Section 2.19) payable or paid by such Credit Party or required
to be withheld or deducted from a payment to such Credit Party and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Indemnified Taxes were correctly or legally imposed
or asserted by the relevant Governmental Authority. A certificate as to the amount of such payment or
liability delivered to the Borrower by a Lender (with a copy to the Administrative Agent), or by the
Administrative Agent on its own behalf or on behalf of a Lender, shall be conclusive absent manifest error.

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                  (e)     Each Lender shall severally indemnify the Administrative Agent, within 10 days
after demand therefor, for (i) any Taxes attributable to such Lender (but only to the extent that any Loan
Party has not already indemnified the Administrative Agent for such Indemnified Taxes and without
limiting the obligation of the Loan Parties to do so) and (ii) any Taxes attributable to such Lender’s failure
to comply with the provisions of Section 10.6(c) relating to the maintenance of a Participant Register, in
either case, that are payable or paid by the Administrative Agent in connection with any Loan Document,
and any reasonable expenses arising therefrom or with respect thereto, whether or not such Taxes were
correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
amount of such payment or liability delivered to any Lender by the Administrative Agent shall be
conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set off and
apply any and all amounts at any time owing to such Lender under any Loan Document or otherwise payable
by the Administrative Agent to the Lender from any other source against any amount due to the
Administrative Agent under this paragraph (e).

                 (f)     (i) Any Lender that is entitled to an exemption from or reduction of withholding
Tax with respect to payments made under any Loan Document shall deliver to the Borrower and the
Administrative Agent, at the time or times reasonably requested by the Borrower or the Administrative
Agent, such properly completed and executed documentation reasonably requested by the Borrower or the
Administrative Agent as will permit such payments to be made without withholding or at a reduced rate of
withholding. In addition, any Lender, if reasonably requested by the Borrower or the Administrative Agent,
shall deliver such other documentation prescribed by applicable law or reasonably requested by the
Borrower or the Administrative Agent as will enable the Borrower or the Administrative Agent to determine
whether or not such Lender is subject to backup withholding or information reporting requirements.
Notwithstanding anything to the contrary in the preceding two sentences, the completion, execution and
submission of such documentation (other than such documentation set forth in Section 2.19(f)(ii)(A), (ii)(B)
and (ii)(D) below) shall not be required if in the Lender’s reasonable judgment such completion, execution
or submission would subject such Lender to any material unreimbursed cost or expense or would materially
prejudice the legal or commercial position of such Lender.

                      (ii)     Without limiting the generality of the foregoing, in the event that the
                Borrower is a U.S. Person,

                                 (A)     any Lender that is a U.S. Person shall deliver to the Borrower and
                         the Administrative Agent on or prior to the date on which such Lender becomes a
                         Lender under this Agreement (and from time to time thereafter upon the reasonable
                         request of the Borrower or the Administrative Agent), executed copies of IRS
                         Form W-9 certifying that such Lender is exempt from U.S. federal backup
                         withholding tax;

                                  (B)      any Non-U.S. Lender shall, to the extent it is legally entitled to do
                         so, deliver to the Borrower and the Administrative Agent (in such number of copies
                         as shall be requested by the recipient) on or prior to the date on which such Non-
                         U.S. Lender becomes a Lender under this Agreement (and from time to time
                         thereafter upon the reasonable request of the Borrower or the Administrative
                         Agent), whichever of the following is applicable:

                                         (1)     in the case of a Non-U.S. Lender claiming the benefits of
                                 an income tax treaty to which the United States is a party (x) with respect
                                 to payments of interest under any Loan Document, executed copies of IRS
                                 Form W-8BEN or IRS Form W-8BEN-E establishing an exemption from,
                                 or reduction of, U.S. federal withholding Tax pursuant to the “interest”

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                            article of such tax treaty and (y) with respect to any other applicable
                            payments under any Loan Document, IRS Form W-8BEN or IRS Form
                            W-8BEN-E establishing an exemption from, or reduction of, U.S. federal
                            withholding Tax pursuant to the “business profits” or “other income”
                            article of such tax treaty;

                                     (2)      executed copies of IRS Form W-8ECI;

                                     (3)      in the case of a Non-U.S. Lender claiming the benefits of
                            the exemption for portfolio interest under Section 881(c) of the Code, (x)
                            a certificate substantially in the form of Exhibit H-1 to the effect that such
                            Non-U.S. Lender is not a “bank” within the meaning of Section
                            881(c)(3)(A) of the Code, a “10 percent shareholder” of the Borrower
                            within the meaning of Section 881(c)(3)(B) of the Code, or a “controlled
                            foreign corporation” described in Section 881(c)(3)(C) of the Code (a
                            “U.S. Tax Compliance Certificate”) and (y) executed copies of IRS Form
                            W-8BEN or IRS Form W-8BEN-E; or

                                    (4)     to the extent a Non-U.S. Lender is not the beneficial
                            owner, executed copies of IRS Form W-8IMY, accompanied by IRS Form
                            W-8ECI, IRS Form W-8BEN, IRS Form W-8BEN-E, a U.S. Tax
                            Compliance Certificate substantially in the form of Exhibit H-2 or Exhibit
                            H-3, IRS Form W-9, and/or other certification documents from each
                            beneficial owner, as applicable; provided that if the Non-U.S. Lender is a
                            partnership and one or more direct or indirect partners of such Non-U.S.
                            Lender are claiming the portfolio interest exemption, such Non-U.S.
                            Lender may provide a U.S. Tax Compliance Certificate substantially in
                            the form of Exhibit H-4 on behalf of each such direct and indirect partner;

                             (C)      any Non-U.S. Lender shall, to the extent it is legally entitled to do
                    so, deliver to the Borrower and the Administrative Agent (in such number of copies
                    as shall be requested by the recipient) on or prior to the date on which such Non-
                    U.S. Lender becomes a Lender under this Agreement (and from time to time
                    thereafter upon the reasonable request of the Borrower or the Administrative
                    Agent), executed copies of any other form prescribed by applicable law as a basis
                    for claiming exemption from or a reduction in U.S. Federal withholding Tax, duly
                    completed, together with such supplementary documentation as may be prescribed
                    by applicable law to permit the Borrower or the Administrative Agent to determine
                    the withholding or deduction required to be made; and

                            (D)     if a payment made to a Lender under any Loan Document would
                    be subject to U.S. federal withholding Tax imposed by FATCA if such Lender
                    were to fail to comply with the applicable reporting requirements of FATCA
                    (including those contained in Section 1471(b) or 1472(b) of the Code, as
                    applicable), such Lender shall deliver to the Borrower and the Administrative
                    Agent at the time or times prescribed by law and at such time or times reasonably
                    requested by the Borrower or the Administrative Agent such documentation
                    prescribed by applicable law (including as prescribed by Section 1471(b)(3)(C)(i)
                    of the Code) and such additional documentation reasonably requested by the
                    Borrower or the Administrative Agent as may be necessary for the Borrower and
                    the Administrative Agent to comply with their obligations under FATCA and to

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                          determine that such Lender has complied with such Lender’s obligations under
                          FATCA or to determine the amount, if any, to deduct and withhold from such
                          payment. Solely for purposes of this clause (D), “FATCA” shall include any
                          amendments made to FATCA after the Closing Date.

               Each Lender agrees that if any form or certification it previously delivered expires or
becomes obsolete or inaccurate in any respect, it shall update such form or certification or promptly notify
the Borrower and the Administrative Agent in writing of its legal inability to do so.

                  (g)      If any party determines, in its sole discretion exercised in good faith, that it has
received a refund of any Taxes as to which it has been indemnified pursuant to this Section 2.19 (including
by the payment of additional amounts pursuant to this Section 2.19), it shall pay to the indemnifying party
an amount equal to such refund (but only to the extent of indemnity payments made under this Section 2.19
with respect to the Taxes giving rise to such refund), net of all out-of-pocket expenses (including Taxes) of
such indemnified party and without interest (other than any interest paid by the relevant Governmental
Authority with respect to such refund). Such indemnifying party, upon the request of such indemnified
party, shall repay to such indemnified party the amount paid over pursuant to this paragraph (g) (plus any
penalties, interest or other charges imposed by the relevant Governmental Authority) in the event that such
indemnified party is required to repay such refund to such Governmental Authority. Notwithstanding
anything to the contrary in this paragraph (g), in no event will the indemnified party be required to pay any
amount to an indemnifying party pursuant to this paragraph (g) the payment of which would place the
indemnified party in a less favorable net after-Tax position than the indemnified party would have been in
if the Tax subject to indemnification and giving rise to such refund had not been deducted, withheld or
otherwise imposed and the indemnification payments or additional amounts with respect to such Tax had
never been paid. This Section 2.19 shall not be construed to require any indemnified party to make available
its Tax returns (or any other information relating to its Taxes that it deems confidential) to the indemnifying
party or any other Person.

                (h)     Each party’s obligations under this Section 2.19 shall survive the resignation or
replacement of the Administrative Agent or any assignment of rights by, or the replacement of, a Lender,
the termination of the Revolving Commitments and the repayment, satisfaction or discharge of all
obligations under the Loan Documents.

                (i)     For purposes of this Section 2.19, the term “Lender” includes the Swingline Lender
and the Issuing Lender and the term “applicable law” includes FATCA.

                 2.20     Indemnity.

                  (a)      With respect to Loans that are not RFR Loans, the Borrower agrees to indemnify
each Lender for, and to hold each Lender harmless from, any loss or expense that such Lender sustains or
incurs as a consequence of (a) default by the Borrower in making a borrowing of, conversion into or
continuation of Term Benchmark Loans after the Borrower has given a notice requesting the same in
accordance with the provisions of this Agreement, (b) default by the Borrower in making any prepayment
of or conversion from Term Benchmark Loans after the Borrower has given a notice thereof in accordance
with the provisions of this Agreement or (c) the making of a prepayment of Term Benchmark Loans on a
day that is not the last day of an Interest Period with respect thereto. Such indemnification may include an
amount equal to the excess, if any, of (i) the amount of interest that would have accrued on the amount so
prepaid, or not so borrowed, converted or continued, for the period from the date of such prepayment or of
such failure to borrow, convert or continue to the last day of such Interest Period (or, in the case of a failure
to borrow, convert or continue, the Interest Period that would have commenced on the date of such failure)
in each case at the applicable rate of interest for such Loans provided for herein (excluding, however, the

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Applicable Margin included therein, if any) over (ii) the amount of interest (as reasonably determined by
such Lender) that would have accrued to such Lender on such amount by placing such amount on deposit
for a comparable period with leading banks in the interbank eurodollar market. A certificate as to any
amounts payable pursuant to this Section submitted to the Borrower by any Lender shall be conclusive in
the absence of manifest error. This covenant shall survive the termination of this Agreement and the
payment of the Loans and all other amounts payable hereunder for nine months.

                 (b)     With respect to RFR Loans, the Borrower agrees to indemnify each Lender for,
and to hold each Lender harmless from, any loss or expense that such Lender sustains or incurs as a
consequence of (a) default by the Borrower in making a borrowing of or conversion into RFR Loans after
the Borrower has given a notice requesting the same in accordance with the provisions of this Agreement
or (b) default by the Borrower in making any prepayment of or conversion from RFR Loans after the
Borrower has given a notice thereof in accordance with the provisions of this Agreement. Such
indemnification may include an amount equal to the excess, if any, of (i) the amount of interest that would
have accrued on the amount so prepaid, or not so borrowed or converted, for the period from the date of
such prepayment or of such failure to borrow or convert to Interest Payment Date (or, in the case of a failure
to borrow, convert or continue, the Interest Period that would have commenced on the date of such failure)
in each case at the applicable rate of interest for such Loans provided for herein (excluding, however, the
Applicable Margin included therein, if any) over (ii) the amount of interest (as reasonably determined by
such Lender) that would have accrued to such Lender on such amount by placing such amount on deposit
for a comparable period with leading banks in the interbank market. A certificate as to any amounts payable
pursuant to this Section submitted to the Borrower by any Lender shall be conclusive in the absence of
manifest error. This covenant shall survive the termination of this Agreement and the payment of the Loans
and all other amounts payable hereunder for nine months.

                 2.21     Change of Lending Office. Each Lender agrees that, upon the occurrence of any
event giving rise to the operation of Section 2.18 or 2.19(a) with respect to such Lender, it will, if requested
by the Borrower, use reasonable efforts to designate another lending office for any Loans affected by such
event or to assign and delegate its rights and obligations hereunder to another of its offices, branches or
Affiliates with the object of avoiding the consequences of such event; provided, that such designation or
assignment is made on terms that, in the sole judgment of such Lender, (i) would eliminate or reduce
amounts payable pursuant to Section 2.18 or 2.19(a), as the case may be, in the future and (ii) would not
subject such Lender to any unreimbursed cost or expense and would not otherwise be disadvantageous to
such Lender, and provided, further, that nothing in this Section shall affect or postpone any of the
obligations of the Borrower or the rights of any Lender pursuant to Section 2.18 or 2.19 (a).

                 2.22    Replacement of Lenders. The Borrower shall be permitted to replace any Lender
that (a) requests reimbursement for amounts owing pursuant to Section 2.18 or 2.19(a), (b) becomes a
Defaulting Lender or (c) does not consent to any proposed amendment, supplement, modification, consent
or waiver of any provision of this Agreement or any other Loan Document that requires the consent of the
Supermajority Lenders, each of the Lenders or each of the Lenders affected thereby (so long as the consent
of the Required Lenders has been obtained), with a replacement financial institution; provided that (i) such
replacement does not conflict with any Requirement of Law, (ii) no Event of Default shall have occurred
and be continuing at the time of such replacement, (iii) prior to any such replacement, such Lender shall
have taken no action under Section 2.21 so as to eliminate the continued need for payment of amounts
owing pursuant to Section 2.18 or 2.19(a), (iv) the replacement financial institution shall purchase, at par,
all Loans and other amounts owing to such replaced Lender on or prior to the date of replacement, (v) the
Borrower shall be liable to such replaced Lender under Section 2.20 if any Term Benchmark Loan owing
to such replaced Lender shall be purchased other than on the last day of the Interest Period relating thereto,
(vi) the replacement financial institution shall be reasonably satisfactory to the Administrative Agent, (vii)
the replaced Lender shall be obligated to make such replacement in accordance with the provisions of

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Section 10.6 (provided that the Borrower shall be obligated to pay the registration and processing fee
referred to therein), (viii) until such time as such replacement shall be consummated, the Borrower shall
pay all additional amounts (if any) required pursuant to Section 2.18 or 2.19(a), as the case may be, and (ix)
any such replacement shall not be deemed to be a waiver of any rights that the Borrower, the Administrative
Agent or any other Lender shall have against the replaced Lender. Each party hereto agrees that an
assignment required pursuant to this Section may be effected pursuant to an Assignment and Assumption
executed by the Borrower, the Administrative Agent and the assignee, and that the Lender required to make
such assignment need not be a party thereto in order for such assignment to be effective.

                 2.23    Defaulting Lenders. Notwithstanding any provision of this Agreement to the
contrary, if any Lender becomes a Defaulting Lender, then the following provisions shall apply for so long
as such Lender is a Defaulting Lender:

                (a)     fees shall cease to accrue on the unfunded portion of the Revolving Commitment
        of such Defaulting Lender pursuant to Section 2.8(a);

                 (b)      any payment of principal, interest, fees or other amounts received by the
        Administrative Agent for the account of such Defaulting Lender (whether voluntary or mandatory,
        at maturity, pursuant to Section 2.17(b) or otherwise) or received by the Administrative Agent from
        a Defaulting Lender pursuant to Section 10.7 shall be applied at such time or times as may be
        determined by the Administrative Agent as follows: first, to the payment of any amounts owing by
        such Defaulting Lender to the Administrative Agent hereunder; second, to the payment on a pro
        rata basis of any amounts owing by such Defaulting Lender to any Issuing Lender or Swingline
        Lender hereunder; third, to cash collateralize the Issuing Lender’s L/C Exposure with respect to
        such Defaulting Lender in accordance with this Section; fourth, as the Borrower may request (so
        long as no Default or Event of Default exists), to the funding of any Loan in respect of which such
        Defaulting Lender has failed to fund its portion thereof as required by this Agreement, as
        determined by the Administrative Agent; fifth, if so determined by the Administrative Agent and
        the Borrower, to be held in a deposit account and released pro rata in order to (x) satisfy such
        Defaulting Lender’s potential future funding obligations with respect to Loans under this
        Agreement and (y) cash collateralize the Issuing Lender’s future L/C Exposure with respect to such
        Defaulting Lender with respect to future Letters of Credit issued under this Agreement, in
        accordance with this Section; sixth, to the payment of any amounts owing to the Lenders, the
        Issuing Lender or Swingline Lender as a result of any judgment of a court of competent jurisdiction
        obtained by any Lender, the Issuing Lender or Swingline Lender against such Defaulting Lender
        as a result of such Defaulting Lender’s breach of its obligations under this Agreement or under any
        other Loan Document; seventh, so long as no Default or Event of Default exists, to the payment of
        any amounts owing to the Borrower as a result of any judgment of a court of competent jurisdiction
        obtained by the Borrower against such Defaulting Lender as a result of such Defaulting Lender’s
        breach of its obligations under this Agreement or under any other Loan Document; and eighth, to
        such Defaulting Lender or as otherwise directed by a court of competent jurisdiction; provided that
        if (x) such payment is a payment of the principal amount of any Loans or L/C Disbursements in
        respect of which such Defaulting Lender has not fully funded its appropriate share, and (y) such
        Loans were made or the related Letters of Credit were issued at a time when the conditions set forth
        in Section 5.2 were satisfied or waived, such payment shall be applied solely to pay the Loans of,
        and L/C Disbursements owed to, all non-Defaulting Lenders on a pro rata basis prior to being
        applied to the payment of any Loans of, or L/C Disbursements owed to, such Defaulting Lender
        until such time as all Loans and funded and unfunded participations in the Borrower’s obligations
        corresponding to such Defaulting Lender’s L/C Exposure and Swingline Loans are held by the
        Lenders pro rata in accordance with the Revolving Commitments without giving effect to clause
        (d) below. Any payments, prepayments or other amounts paid or payable to a Defaulting Lender

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      that are applied (or held) to pay amounts owed by a Defaulting Lender or to post cash collateral
      pursuant to this Section shall be deemed paid to and redirected by such Defaulting Lender, and
      each Lender irrevocably consents hereto;

              (c)      the Revolving Commitment and Revolving Extensions of Credit of such
      Defaulting Lender shall not be included in determining whether the Required Lenders or
      Supermajority Lenders have taken or may take any action hereunder (including any consent to any
      amendment, waiver or other modification pursuant to Section 10.1); provided, that this clause (c)
      shall not apply to the vote of a Defaulting Lender in the case of an amendment, waiver or other
      modification requiring the consent of such Lender or each Lender affected thereby;

               (d)     if any Swingline Exposure, L/C Exposure or Protective Advance Exposure exists
      at the time such Lender becomes a Defaulting Lender then:

                      (i)      all or any part of the Swingline Exposure, L/C Exposure and Protective
              Advance Exposure of such Defaulting Lender shall be reallocated among the non-
              Defaulting Lenders in accordance with their respective Revolving Percentages but only to
              the extent the sum of all non-Defaulting Lenders’ Revolving Extensions of Credit plus such
              Defaulting Lender’s Swingline Exposure, L/C Exposure and Protective Advance Exposure
              does not exceed the total of all non-Defaulting Lenders’ Revolving Commitments;

                       (ii)     if the reallocation described in clause (i) above cannot, or can only
              partially, be effected, the Borrower shall within one Business Day following notice by the
              Administrative Agent (x) first, prepay such Protective Advance Exposure, (y) second,
              prepay such Swingline Exposure and (z) third, cash collateralize for the benefit of the
              Issuing Lender only the Borrower’s obligations corresponding to such Defaulting Lender’s
              L/C Exposure (after giving effect to any partial reallocation pursuant to clause (i) above)
              in accordance with the procedures set forth in Section 8.1 for so long as such L/C Exposure
              is outstanding;

                       (iii)  if the Borrower cash collateralizes any portion of such Defaulting Lender’s
              L/C Exposure pursuant to clause (ii) above, the Borrower shall not be required to pay any
              fees to such Defaulting Lender pursuant to Section 3.3(a) with respect to such Defaulting
              Lender’s L/C Exposure during the period such Defaulting Lender’s L/C Exposure is cash
              collateralized;

                      (iv)     if the L/C Exposure of the non-Defaulting Lenders is reallocated pursuant
              to clause (i) above, then the fees payable to the Lenders pursuant to Section 2.8(a) and
              Section 3.3(a) shall be adjusted in accordance with such non-Defaulting Lenders’
              Revolving Percentages; and

                      (v)     if all or any portion of such Defaulting Lender’s L/C Exposure is neither
              reallocated nor cash collateralized pursuant to clause (i) or (ii) above, then, without
              prejudice to any rights or remedies of the Issuing Lender or any other Lender hereunder,
              all fees payable under Section 3.3(a) with respect to such Defaulting Lender’s L/C
              Exposure shall be payable to the Issuing Lender until and to the extent that such L/C
              Exposure is reallocated and/or cash collateralized; and

              (e)     so long as such Lender is a Defaulting Lender, the Swingline Lender shall not be
      required to fund any Swingline Loan and the Issuing Lender shall not be required to issue, amend
      or increase any Letter of Credit, unless it is satisfied that the related exposure and the Defaulting

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        Lender’s then outstanding L/C Exposure will be 100% covered by the Revolving Commitments of
        the non-Defaulting Lenders and/or cash collateral will be provided by the Borrower in accordance
        with Section 2.23(d), and participating interests in any newly made Swingline Loan or any newly
        issued or increased Letter of Credit shall be allocated among non-Defaulting Lenders (and defined
        terms (including, other than for purposes of Section 9.2(d), the defined term “Revolving
        Percentage”) shall be read to give effect to such allocation) in a manner consistent with Section
        2.23(d)(i) (and such Defaulting Lender shall not participate therein).

                If (i) a Bankruptcy Event with respect to a Lender Parent of any Lender shall occur
following the Closing Date and for so long as such event shall continue or (ii) the Swingline Lender or the
Issuing Lender has a good faith belief that any Lender has defaulted in fulfilling its obligations under one
or more other agreements in which such Lender commits to extend credit, the Swingline Lender shall not
be required to fund any Swingline Loan and the Issuing Lender shall not be required to issue, amend or
increase any Letter of Credit, unless the Swingline Lender or the Issuing Lender, as the case may be, shall
have entered into arrangements with the Borrower or such Lender, satisfactory to the Swingline Lender or
the Issuing Lender, as the case may be, to defease any risk to it in respect of such Lender hereunder.

                In the event that the Administrative Agent, the Borrower, the Swingline Lender and the
Issuing Lender each agrees that a Defaulting Lender has adequately remedied all matters that caused such
Lender to be a Defaulting Lender, then the Swingline Exposure, L/C Exposure and Protective Advance
Exposure of the Lenders shall be readjusted to reflect the inclusion of such Lender’s Revolving
Commitment and on such date such Lender shall purchase at par such of the Loans of the other Lenders
(other than Swingline Loans) as the Administrative Agent shall determine may be necessary in order for
such Lender to hold such Loans in accordance with its Revolving Percentage.

                                   SECTION 3. LETTERS OF CREDIT

                  3.1     L/C Sublimit. (a) Subject to the terms and conditions hereof, the Borrower may
request on any Business Day during the Revolving Commitment Period the issuance of letters of credit
(“Letters of Credit”) in Dollars for its account or the account of its Subsidiaries in such form as may be
approved from time to time by the Issuing Lender and the Issuing Lender may, but shall have no obligation,
to issue such requested Letters of Credit pursuant to this Agreement; provided that the Issuing Lender shall
not issue any Letter of Credit if, after giving effect to such issuance, (i) the Total Revolving Extensions of
Credit would exceed the Line Cap, subject to the authority of the Administrative Agent, in its sole
discretion, to make Protective Advances pursuant to the terms of Section 2.3 or (ii) the total L/C Obligations
would exceed the L/C Sublimit; provided further that no Issuing Lender shall be required to issue any Letter
of Credit if, after giving effect to such issuance, the total L/C Obligations in respect of Letters of Credit
issued by such Issuing Lender would exceed its L/C Commitment. Each Letter of Credit shall (x) be
denominated in Dollars and (y) expire no later than the earlier of (1) the first anniversary of its date of
issuance (or such longer period as agreed to by the applicable Issuing Lender in its sole discretion) and (2)
the date that is five Business Days prior to the Revolving Termination Date, provided that any Letter of
Credit with a one-year term may provide for the renewal thereof for additional one-year periods (which
shall in no event extend beyond the date referred to in clause (2) above unless such Letter of Credit has
been cash collateralized or other arrangements backstopping such Letter of Credit have been made, in each
case, reasonably satisfactory to the Issuing Lender). No more than 20 Letters of Credit shall be outstanding
at any one time. The parties hereto agree that the Existing Letters of Credit will automatically, without any
further action on the part of any Person, be deemed to be Letters of Credit hereunder issued hereunder on
the Closing Date for the account of the Borrower.

                  (b)     The Issuing Lender shall not at any time be obligated to issue any Letter of Credit,
including if the issuance of such Letter of Credit would (i) violate one or more policies of the Issuing Lender

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applicable to letters of credit generally or (ii) conflict with, or cause the Issuing Lender or any L/C
Participant to exceed any limits imposed by, any applicable Requirement of Law.

                 3.2     Procedure for Issuance of Letter of Credit. The Borrower may from time to time
request that the Issuing Lender issue a Letter of Credit (or the amendment, renewal or extension of an
outstanding Letter of Credit) by delivering to the Issuing Lender at its address for notices specified herein,
with a copy to the Administrative Agent, an Application therefor, completed to the reasonable satisfaction
of the Issuing Lender, and such other certificates, documents and other papers and information as the Issuing
Lender may request. Upon receipt of any Application, if the Issuing Lender agrees, in its sole discretion,
to issue the requested Letter of Credit, the Issuing Lender will process such Application and the certificates,
documents and other papers and information delivered to it in connection therewith in accordance with its
customary procedures and shall promptly issue the Letter of Credit requested thereby (but in no event shall
the Issuing Lender be required to issue, amended, renew or extend any Letter of Credit earlier than three
Business Days after its receipt of the Application therefor and all such other certificates, documents and
other papers and information relating thereto) by issuing the original of such Letter of Credit to the
beneficiary thereof or as otherwise may be agreed to by the Issuing Lender and the Borrower. The Issuing
Lender shall furnish a copy of such Letter of Credit to the Borrower promptly following the issuance
thereof. The Issuing Lender shall promptly furnish to the Administrative Agent, which shall in turn
promptly furnish to the Lenders, notice of the issuance of each Letter of Credit (including the amount
thereof).

                 3.3       Fees and Other Charges. (a) The Borrower will pay a fee on all outstanding
Letters of Credit at a per annum rate equal to the Applicable Margin then in effect with respect to Revolving
Loans that are Term Benchmark Loans, shared ratably among the Revolving Lenders and payable quarterly
in arrears on each Fee Payment Date after the issuance date. In addition, the Borrower shall pay to each
Issuing Lender for its own account a fronting fee equal to 0.125% per annum multiplied by the daily average
undrawn and unexpired amount of each Letter of Credit issued by such Issuing Lender, payable quarterly
in arrears.

                 (b)      In addition to the foregoing fees, the Borrower shall pay or reimburse the Issuing
Lender for such normal and customary costs and expenses as are incurred or charged by the Issuing Lender
in issuing, negotiating, effecting payment under, amending or otherwise administering any Letter of Credit.

                 3.4     L/C Participations. (a) The Issuing Lender irrevocably agrees to grant and hereby
grants to each L/C Participant, and, to induce the Issuing Lender to issue Letters of Credit, each L/C
Participant irrevocably agrees to accept and purchase and hereby accepts and purchases from the Issuing
Lender, on the terms and conditions set forth below, for such L/C Participant’s own account and risk an
undivided interest equal to such L/C Participant’s Revolving Percentage in the Issuing Lender’s obligations
and rights under and in respect of each Letter of Credit and the amount of each draft paid by the Issuing
Lender thereunder. Each L/C Participant agrees with the Issuing Lender that, if a draft is paid under any
Letter of Credit for which the Issuing Lender is not reimbursed in full by the Borrower in accordance with
the terms of Section 3.5 (or in the event that any reimbursement received by the Issuing Lender shall be
required to be returned by it at any time), such L/C Participant shall pay to the Issuing Lender upon demand
at the Issuing Lender’s address for notices specified herein an amount equal to such L/C Participant’s
Revolving Percentage of the amount that is not so reimbursed (or is so returned). Each L/C Participant’s
obligation to pay such amount shall be absolute and unconditional and shall not be affected by any
circumstance, including (i) any setoff, counterclaim, recoupment, defense or other right that such L/C
Participant may have against the Issuing Lender, the Borrower or any other Person for any reason
whatsoever, (ii) the occurrence or continuance of a Default or an Event of Default or the failure to satisfy
any of the other conditions specified in Section 5, (iii) any adverse change in the condition (financial or
otherwise) of the Borrower, (iv) any breach of this Agreement or any other Loan Document by the

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Borrower, any other Loan Party or any other L/C Participant or (v) any other circumstance, happening or
event whatsoever, whether or not similar to any of the foregoing.

                 (b)     If any amount required to be paid by any L/C Participant to the Issuing Lender
pursuant to Section 3.4(a) in respect of any unreimbursed portion of any payment made by the Issuing
Lender under any Letter of Credit is not paid to the Issuing Lender within three Business Days after the
date such payment is due, such L/C Participant shall pay to the Issuing Lender on demand an amount equal
to the product of (i) such amount, times (ii) the greater of (x) the daily average NYFRB Rate during the
period from and including the date such payment is required to the date on which such payment is
immediately available to the Issuing Lender and (y) a rate determined by the Administrative Agent in
accordance with banking industry rules on interbank compensation, times (iii) a fraction the numerator of
which is the number of days that elapse during such period and the denominator of which is 360. If any
such amount required to be paid by any L/C Participant pursuant to Section 3.4(a) is not made available to
the Issuing Lender by such L/C Participant within three Business Days after the date such payment is due,
the Issuing Lender shall be entitled to recover from such L/C Participant, on demand, such amount with
interest thereon calculated from such due date at the rate per annum applicable to the Alternate Base Rate
plus the Applicable Margin. A certificate of the Issuing Lender submitted to any L/C Participant with
respect to any amounts owing under this Section shall be conclusive in the absence of manifest error.

                 (c)      Whenever, at any time after the Issuing Lender has made payment under any Letter
of Credit and has received from any L/C Participant its pro rata share of such payment in accordance with
Section 3.4(a), the Issuing Lender receives any payment related to such Letter of Credit (whether directly
from the Borrower or otherwise, including proceeds of collateral applied thereto by the Issuing Lender), or
any payment of interest on account thereof, the Issuing Lender will distribute to such L/C Participant its
pro rata share thereof; provided, however, that in the event that any such payment received by the Issuing
Lender shall be required to be returned by the Issuing Lender, such L/C Participant shall return to the Issuing
Lender the portion thereof previously distributed by the Issuing Lender to it.

                 3.5      Reimbursement Obligation of the Borrower. If any draft is paid under any Letter
of Credit, the Borrower shall, subject to Section 3.7, reimburse the Issuing Lender for the amount of (a) the
draft so paid and (b) any taxes, fees, charges or other costs or expenses incurred by the Issuing Lender in
connection with such payment, not later than 1:00 P.M., New York City time, on (i) the Business Day that
the Borrower receives notice of such draft, if such notice is received on such day prior to 11:00 A.M., New
York City time and JPMCB is the applicable Issuing Lender, or (ii) if clause (i) above does not apply, the
Business Day immediately following the day that the Borrower receives such notice. Each such payment
shall be made to the Issuing Lender at its address for notices referred to herein in Dollars and in immediately
available funds. Interest shall be payable on any such amounts from the date on which the relevant draft is
paid until payment in full at the rate set forth in (x) until the Business Day next succeeding the date of the
relevant notice, Section 2.14(c) and (y) thereafter, Section 2.14(d).

                 3.6     Obligations Absolute. The Borrower’s obligations under this Section 3 shall be
absolute, unconditional and irrevocable under any and all circumstances and irrespective of any setoff,
counterclaim or defense to payment that the Borrower may have or have had against the Issuing Lender,
any beneficiary of a Letter of Credit or any other Person. The Borrower also agrees with the Issuing Lender
that the Issuing Lender shall not be responsible for, and the Borrower’s Reimbursement Obligations under
Section 3.5 shall not be affected by, among other things, (a) any lack of validity or enforceability of any
Letter of Credit or this Agreement, or any term or provision therein, (b) any draft or other document
presented under a Letter of Credit proving to be invalid, fraudulent or forged in any respect or any statement
therein being untrue or inaccurate in any respect, (c) any dispute between or among the Borrower and any
beneficiary of any Letter of Credit or any other party to which such Letter of Credit may be transferred or
any claims whatsoever of the Borrower against any beneficiary of such Letter of Credit or any such

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transferee, (d) payment by the Issuing Lender under a Letter of Credit against presentation of a draft or
other document that does not comply with the terms of such Letter of Credit, or (e) any other event or
circumstance whatsoever, whether or not similar to any of the foregoing, that might, but for the provisions
of this Section, constitute a legal or equitable discharge of, or provide a right of setoff against, the
Borrower’s obligations hereunder. The Issuing Lender shall not have any liability or responsibility by
reason of or in connection with the issuance or transfer of any Letter of Credit or any payment or failure to
make any payment thereunder (irrespective of any of the circumstances referred to in the preceding
sentence), or any error, omission, interruption, loss or delay in transmission or delivery of any draft, notice
or message or advice, however transmitted, in connection with any Letter of Credit (including any document
required to make a drawing thereunder), any error in interpretation of technical terms or any consequence
arising from causes beyond the control of the Issuing Lender; provided that the foregoing shall not be
construed to excuse the Issuing Lender from liability to the Borrower to the extent of any direct damages
(as opposed to special, indirect, consequential or punitive damages, claims in respect of which are hereby
waived by the Borrower to the extent permitted by applicable law) suffered by the Borrower that are caused
by the Issuing Lender’s failure to exercise care when determining whether drafts and other documents
presented under a Letter of Credit comply with the terms thereof. The parties hereto expressly agree that,
in the absence of gross negligence or willful misconduct on the part of the Issuing Lender (as finally
determined by a court of competent jurisdiction), the Issuing Lender shall be deemed to have exercised care
in each such determination. In furtherance of the foregoing and without limiting the generality thereof, the
parties agree that, with respect to documents presented which appear on their face to be in substantial
compliance with the terms of a Letter of Credit, the Issuing Lender may, in its sole discretion, either accept
and make payment upon such documents without responsibility for further investigation, regardless of any
notice or information to the contrary, or refuse to accept and make payment upon such documents if such
documents are not in strict compliance with the terms of such Letter of Credit.

                  3.7     Letter of Credit Payments. If any draft shall be presented for payment under any
Letter of Credit, the Issuing Lender shall promptly notify the Administrative Agent of the date and amount
thereof and the Administrative Agent shall provide such notice to the Borrower; provided that any failure
to give or delay in giving such notice shall not relieve the Borrower of its obligation to reimburse the Issuing
Lender and the Revolving Lenders pursuant to Section 3.5. The Borrower may request that a Revolving
Loan (or Swingline Loan) be made to provide funds for the payment required by this Section 3.7; provided
that, after giving effect to any such Revolving Loan (or Swingline Loan), the Line Cap would not be
exceeded at such time. The proceeds of such Revolving Loan (or Swingline Loan) shall be paid directly to
the Issuing Lender to reimburse it for the payment made by it under the Letter of Credit.

                 3.8     Applications. To the extent that any provision of any Application related to any
Letter of Credit is inconsistent with the provisions of this Section 3, the provisions of this Section 3 shall
apply.

                  3.9      Replacement of an Issuing Lender. An Issuing Lender may be replaced at any time
by (a) the Borrower in its sole discretion upon written notice to the Administrative Agent; provided that
there are no outstanding Letters of Credit issued by such Issuing Lender which are not cash collateralized
by the Borrower or (b) written agreement among the Borrower, the Administrative Agent, the replaced
Issuing Lender and the successor Issuing Lender. The Administrative Agent shall notify the Lenders of any
such replacement of an Issuing Lender. At the time any such replacement shall become effective, the
Borrower shall pay all unpaid fees accrued for the account of the replaced Issuing Lender pursuant to
Section 3.3. From and after the effective date of any such replacement, (a) the successor Issuing Lender
shall have all the rights and obligations of the Issuing Lender under this Agreement with respect to Letters
of Credit to be issued thereafter and (b) references herein to the term “Issuing Lender” shall be deemed to
refer to such successor or to any previous Issuing Lender, or to such successor and all previous Issuing
Lenders, as the context shall require. After the replacement of an Issuing Lender hereunder, the replaced

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Issuing Lender shall remain a party hereto and shall continue to have all the rights and obligations of an
Issuing Lender under this Agreement with respect to Letters of Credit then outstanding and issued by it
prior to such replacement, but shall not be required to issue additional Letters of Credit.

                  3.10    Letters of Credit Issued for Account of Subsidiaries. Notwithstanding that a Letter
of Credit issued or outstanding hereunder supports any obligations of, or is for the account of, a Subsidiary,
or states that a Subsidiary is the “account party,” “applicant,” “customer,” “instructing party,” or the like
of or for such Letter of Credit, and without derogating from any rights of the Issuing Lender (whether
arising by contract, at law, in equity or otherwise) against such Subsidiary in respect of such Letter of
Credit, the Borrower (i) shall reimburse, indemnify and compensate the Issuing Lender hereunder for such
Letter of Credit (including to reimburse any and all drawings thereunder) as if such Letter of Credit had
been issued solely for the account of the Borrower and (ii) irrevocably waives any and all defenses that
might otherwise be available to it as a guarantor or surety of any or all of the obligations of such Subsidiary
in respect of such Letter of Credit. The Borrower hereby acknowledges that the issuance of such Letters of
Credit for its Subsidiaries inures to the benefit of the Borrower, and that the Borrower’s business derives
substantial benefits from the businesses of such Subsidiaries.

                        SECTION 4. REPRESENTATIONS AND WARRANTIES

                To induce the Administrative Agent and the Lenders to enter into this Agreement and to
make the Loans and issue or participate in the Letters of Credit, each of Holdings and the Borrower hereby
represents and warrants to the Administrative Agent and each Lender that:

                  4.1    Financial Condition. The audited consolidated balance sheets of Existing
Holdings and its consolidated Subsidiaries as at May 1, 2022, April 30, 2023 and April 28, 2024, and the
related consolidated statements of income, stockholders’ equity and cash flows for the fiscal years ended
on such dates, reported on by and accompanied by an unqualified report from SyCip Gorres Velayo & Co.,
present fairly, in all material respects, the consolidated financial condition of Existing Holdings and its
consolidated Subsidiaries as at such date, and the consolidated results of its operations and its consolidated
cash flows for the respective fiscal years then ended. All such financial statements, including the related
schedules and notes thereto, have been prepared in accordance with IFRS applied consistently throughout
the periods involved (except as approved by the aforementioned firm of accountants and disclosed therein),
except that the interim financial statements are subject to year-end adjustments and are lacking footnote
disclosures.

                4.2     No Change. Since the Petition Date, there has been no development or event that
has had or could reasonably be expected to have a Material Adverse Effect.

                 4.3      Existence; Compliance with Law. Each Group Member (a) is duly organized or
formed, validly existing and in good standing under the laws of the jurisdiction of its organization, (b)
subject to entry of the Interim DIP Order, has the corporate or similar organizational power and authority,
and the legal right, to own and operate its property, to lease the property it operates as lessee and to conduct
the business in which it is currently engaged, (c) is duly qualified as a foreign corporation or other
organization and in good standing under the laws of each jurisdiction where its ownership, lease or
operation of property or the conduct of its business requires such qualification, except where the failure to
be so qualified could not, in the aggregate, reasonably be expected to have a Material Adverse Effect and
(d) is in compliance with all Requirements of Law except to the extent that the failure to comply therewith
could not, in the aggregate, reasonably be expected to have a Material Adverse Effect.

               4.4    Power; Authorization; Enforceable Obligations. (a) Subject to entry of the Interim
DIP Order, each Loan Party has the corporate or similar organizational power and authority, and the legal

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right, to make, deliver and perform the Loan Documents to which it is a party and, in the case of the
Borrower, to obtain extensions of credit hereunder. Each Loan Party has taken all necessary corporate or
similar organizational action to authorize the execution, delivery and performance of the Loan Documents
to which it is a party and, in the case of the Borrower, to authorize the extensions of credit on the terms and
conditions of this Agreement. Each Loan Document has been duly executed and delivered on behalf of
each Loan Party party thereto. Subject to entry of the Interim DIP Order, this Agreement constitutes, and
each other Loan Document upon execution will constitute, a legal, valid and binding obligation of each
Loan Party party thereto, enforceable against each such Loan Party in accordance with its terms, except as
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium or similar
laws affecting the enforcement of creditors’ rights generally and by general equitable principles (whether
enforcement is sought by proceedings in equity or at law).

                 (b)      Subject to entry of the Interim DIP Order, no consent or authorization of, filing
with, notice to or other act by or in respect of, any Governmental Authority or any other Person is required
in connection with the extensions of credit hereunder or with the execution, delivery, performance, validity
or enforceability of this Agreement or any of the Loan Documents, except (i) consents, authorizations,
filings and notices that have been obtained or made and are in full force and effect and (ii) the filings
referred to in Section 4.19.

                 4.5     No Legal Bar. Except as a result of, and in connection with, the Chapter 11 Cases,
the execution, delivery and performance of this Agreement and the other Loan Documents, the borrowings
hereunder and the use of the proceeds thereof will not violate any Requirement of Law or any Contractual
Obligation of any Group Member, except for violations that could not reasonably be expected to have a
Material Adverse Effect, and will not result in, or require, the creation or imposition of any Lien on any of
their respective properties or revenues pursuant to any Requirement of Law or any such Contractual
Obligation (other than the Liens created by the Security Documents and the Term Loan Documents).

                  4.6     Litigation. Except for the Chapter 11 Cases, no litigation, investigation or
proceeding of or before any arbitrator or Governmental Authority is pending or, to the knowledge of
Holdings or the Borrower, threatened by or against any Group Member or against any of their respective
properties (a) with respect to any of the Loan Documents or any of the transactions contemplated hereby or
thereby, or (b) that could reasonably be expected to have a Material Adverse Effect if determined adversely
to any applicable Group Member.

                 4.7     No Default. No Default or Event of Default has occurred and is continuing.

                 4.8       Ownership of Property; Liens. Each Group Member has such title in fee simple or
valid leasehold to the real property owned or leased by it as is necessary to the conduct of its business and
valid and legal title to all of its personal property owned by it, in each case, subject to Permitted Liens.

                 4.9      Intellectual Property. Subject to the Transition Services Agreement, except as
could not reasonably be expected to have a Material Adverse Effect, each Group Member owns, or is
licensed to use, all Intellectual Property reasonably necessary for the conduct of its business as currently
conducted, free and clear of all Liens, except as permitted by Section 7.3, and the use of any such
Intellectual Property and the conduct of each of the Group Members does not infringe upon the rights of
any Person. Except as could not reasonably be expected to have a Material Adverse Effect, no claim has
been asserted or is pending by any Person challenging or questioning the use of any Intellectual Property
or the validity or effectiveness of any material Intellectual Property, nor does Holdings or the Borrower
know of any valid basis for any such claim.



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                  4.10      Taxes. Each Group Member has filed or caused to be filed all Federal, state and
other material Tax returns that are required to be filed and has paid all Taxes shown to be due and payable
on said returns or on any assessments made against it or any of its property and all other Taxes, fees or
other charges imposed on it or any of its property by any Governmental Authority (other than (i) any amount
or validity of which are currently being contested in good faith by appropriate proceedings and with respect
to which reserves in conformity with IFRS have been provided on the books of the relevant Group Member,
or (ii) to the extent that the failure to file or pay, individually or in the aggregate, could not reasonably be
expected to have a Material Adverse Effect); to the knowledge of Holdings and the Borrower, no material
Liens for Taxes have been filed, and, to the knowledge of Holdings and the Borrower, no claim is being
asserted, with respect to any such Tax, fee or other charge.

                 4.11    Federal Regulations. Neither Holdings nor the Borrower is engaged and neither
Holdings nor the Borrower will engage, principally or as one of its respective important activities, in the
business of purchasing or carrying Margin Stock, or extending credit for the purpose of purchasing or
carrying Margin Stock, and no part of the proceeds of any Borrowing or Letter of Credit hereunder will be
used to buy or carry any Margin Stock. Following the application of the proceeds of each Borrowing or
drawing under each Letter of Credit, not more than 25% of the value of the assets (either of Holdings
individually or of Holdings and its Restricted Subsidiaries on a consolidated basis) will be Margin Stock.

                 4.12    Labor Matters. Except as set forth on Schedule 4.12, no domestic Group Member
is a party to or otherwise bound by any collective bargaining or similar agreement with any labor union,
works council or similar employee representative and, to the knowledge of Holdings or the Borrower, no
union organizing activities or petitions for representation are pending or threatened. Except as, in the
aggregate, could not reasonably be expected to have a Material Adverse Effect: (a) there are no strikes or
other work stoppages of any kind, or other labor disputes against any Group Member pending or, to the
knowledge of Holdings or the Borrower, threatened; and (b) each Group Member is in compliance with all
applicable Requirements of Law concerning labor and employment matters, including with respect to hours
of work and payment of wages, and the withholding, payment, and reporting of payroll taxes (including
the Fair Labor Standards Act and any other applicable Requirement of Law dealing with such matters).

                  4.13     ERISA. Except as could not reasonably be expected, individually or in the
aggregate, to have a Material Adverse Effect: (a) each Group Member is in compliance with all applicable
provisions and requirements of ERISA and the Code and other federal and state laws and the regulations
and published interpretations thereunder with respect to each Plan and Pension Plan and have performed
all their obligations under each Plan and Pension Plan; (b) no ERISA Event or Foreign Plan Event has
occurred or is reasonably expected to occur, and no ERISA Affiliate is aware of any fact, event or
circumstance that could reasonably be expected to constitute or result in an ERISA Event; (c) each Plan or
Pension Plan which is intended to qualify under Section 401(a) of the Code has received a favorable
determination letter from the IRS, or, with respect to a preapproved plan, can rely on an opinion letter or
advisory letter from the IRS to the preapproved plan sponsor indicating that such Plan or Pension Plan is
so qualified and the trust related thereto has been determined by the Internal Revenue Service to be exempt
from federal income tax under Section 501(a) of the Code or, with respect to an individually designed Plan
or Pension Plan, an application for such a determination is currently pending before the Internal Revenue
Service and, to the knowledge of Holdings and the Borrower, nothing has occurred which would cause such
Plan or Pension Plan to lose its qualified status; (d) no liability to the PBGC (other than required premium
payments) or the IRS has been or is reasonably expected to be incurred by any Group Member or ERISA
Affiliate; (e) each of the Group Members and each ERISA Affiliate has complied with the requirements of
Section 515 of ERISA with respect to each Multiemployer Plan and is not in “default” (as defined in Section
4219(c)(5) of ERISA) with respect to payments to a Multiemployer Plan; (f) all amounts required by
applicable law with respect to, or by the terms of, any retiree welfare benefit arrangement maintained by
any Group Member or any ERISA Affiliate or to which any Group Member or any ERISA Affiliate has an

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obligation to contribute have been accrued in accordance with ASC Topic 715-60; (g) reserved; (h) there
has been no Prohibited Transaction or violation of the fiduciary responsibility rules with respect to any Plan
or Pension Plan; and (i) neither any Group Member nor any ERISA Affiliate maintains or contributes to,
or has any unsatisfied obligation to contribute to, or liability under, any active or terminated Pension Plan
other than (i) on the Closing Date, those listed on Schedule 4.13 hereto and (ii) thereafter, Pension Plans
not otherwise prohibited by this Agreement. Except as disclosed on Schedule 4.13, the present value of all
accumulated benefit obligations under each Pension Plan, did not, as of the close of its most recent plan
year, exceed by more than $10,000,000 the fair market value of the assets of such Pension Plan allocable
to such accrued benefits (determined in both cases using the applicable assumptions for financial statement
reporting purposes under ASC Topic 715), and the present value of all accumulated benefit obligations of
all underfunded Pension Plans did not, as of the date of the most recent financial statements reflecting such
amounts, exceed by more than $10,000,000 the fair market value of the assets of all such underfunded
Pension Plans (determined in both cases using the applicable assumptions for financial statement reporting
purposes under ASC Topic 715). Except as could not reasonably be expected, individually or in the
aggregate, to have a Material Adverse Effect, there are no pending or, to the knowledge of Holdings or
Borrower, threatened claims, actions, proceedings or lawsuits (other than claims for benefits in the normal
course) asserted or instituted against (i) any Plan or its assets, (ii) any fiduciary with respect to any Plan, or
(iii) any Group Member or any ERISA Affiliate with respect to any Plan. Except as required by Section
4980B of the Internal Revenue Code or other applicable law and except as could not reasonably be expected,
individually or in the aggregate, to have a Material Adverse Effect, no Group Member or any ERISA
Affiliates maintains an employee welfare benefit plan (as defined in Section 3(1) of ERISA) which provides
health or welfare benefits (through the purchase of insurance or otherwise) for any retired or former
employee of any Group Member or any ERISA Affiliate or coverage after a participant’s termination of
employment.

                4.14    Investment Company Act; Other Regulations. No Loan Party is an “investment
company”, or a company “controlled” by an “investment company”, within the meaning of the Investment
Company Act of 1940, as amended. No Loan Party is subject to regulation under any Requirement of Law
(other than Regulation X of the Board) that limits its ability to incur Indebtedness.

                 4.15    Subsidiaries; Capital Stock. As of the Closing Date, (a) Schedule 4.15 sets forth
the name and jurisdiction of incorporation or formation, as applicable, of each Subsidiary and, as to each
such Subsidiary, the percentage of each class of Capital Stock owned by any Loan Party and (b) there are
no outstanding subscriptions, options, warrants, calls, rights or other agreements or commitments (other
than stock options and restricted stock units granted to employees or directors and directors’ qualifying
shares) of any nature relating to any Capital Stock of Holdings or any Subsidiary, except (i) with respect to
Capital Stock of Loan Parties, as created by the Loan Documents or the Notes Documents and (ii) otherwise,
as permitted by this Agreement.

                 4.16     Use of Proceeds. Subject to the Orders, the proceeds of the Revolving Loans and
the Swingline Loans and the Letters of Credit shall be used for (a) general corporate purposes (including
repayment of certain Indebtedness outstanding under the Pre-Petition ABL Credit Agreement), (b)
bankruptcy-related costs and expenses and (c) costs, fees, and expenses related to the DIP ABL Credit
Facility, in each case, solely in accordance with the Initial DIP Budget or Subsequent DIP Budget.

                4.17    Environmental Matters. Except as, individually or in the aggregate, could not
reasonably be expected to have a Material Adverse Effect:

                (a)      Materials of Environmental Concern are not present at, on, under, in, or about any
        real property now or formerly owned, leased or operated by any Group Member or at any other
        location (including any location to which Materials of Environmental Concern have been sent for

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        re-use or recycling or for treatment, storage, or disposal), in amounts or concentrations or under
        circumstances that constitute or constituted a violation of, or could give rise to liability under, any
        Environmental Law;

                (b)     no Group Member has received or is aware of any notice of violation, alleged
        violation, non-compliance, liability or potential liability under or relating to any Environmental
        Law, nor is Holdings or the Borrower aware of any facts, events or circumstances that could
        reasonably be expected to result in any such notice received or threatened;

                (c)     no judicial, arbitral, governmental or administrative litigation, investigation,
        proceeding or similar action is pending or, to the knowledge of either Holdings or the Borrower,
        threatened, under any Environmental Law to which any Group Member is or will be named as a
        party, nor has any Group Member entered into or agreed to any settlements or other agreements,
        consent decrees or other decrees, consent orders, administrative orders or other orders, or other
        administrative or judicial requirements relating to compliance with or liability under any
        Environmental Law that have not been fully and finally resolved;

                 (d)     each Group Member (i) is in compliance, and within the period of all applicable
        statute of limitation has been in compliance, with all applicable Environmental Laws, and (ii)
        possesses and is in compliance with all Environmental Permits necessary for its business as
        currently conducted, and there is no reasonable basis for any such permit to be revoked, not renewed
        or adversely modified; and

                 (e)    no Group Member has assumed or retained, by contract or operation of law, any
        liability of any other Person under Environmental Laws or with respect to any Material of
        Environmental Concern.

                  4.18     Accuracy of Information, etc. (a) The statements and information contained in this
Agreement, the other Loan Documents, and the other material documents, certificates and statements
furnished by or on behalf of any Loan Party to the Administrative Agent or the Lenders, or any of them, in
writing, for use in connection with the transactions contemplated by this Agreement or the other Loan
Documents (as modified or supplemented by other information so furnished), taken together as a whole,
did not contain as of the date such written statements, information, documents or certificates were so
furnished, any untrue statement of a material fact or omit to state a material fact necessary to make the
statements contained herein or therein not misleading in any material respect. The projections and pro
forma financial information contained in the materials referenced above are based upon good faith estimates
and assumptions believed by management of Holdings to be reasonable at the time made, it being
recognized by the Lenders that such financial information as it relates to future events is not to be viewed
as fact and that actual results during the period or periods covered by such financial information may differ
from the projected results set forth therein by a material amount.

                (b)     As of the Closing Date, to the best knowledge of Holdings and the Borrower, the
information included in any Beneficial Ownership Certification provided on or prior to the Closing Date to
any Lender in connection with this Agreement is true and correct in all respects.

                   4.19     Security Documents. (a) The Orders are effective to create in favor of the
Administrative Agent, for the benefit of the Secured Parties, a legal, valid, enforceable and automatically
perfected security interest in the Collateral described therein and proceeds thereof, in each case, having the
priorities set forth in the Orders and the Pre-Petition Intercreditor Agreement and subject only to the Carve-
Out in accordance with the Interim DIP Order and other exceptions set forth in the Orders.


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                (b)     Pursuant to the Orders, no filing or other action will be necessary to perfect or
protect such Liens and security interests.

                  (c)      Pursuant to and to the extent provided in, and subject to the entry of, the Orders,
the Obligations of the Loan Parties under this Agreement will constitute allowed superpriority
administrative expense claims in the Chapter 11 Cases under section 364(c) of the Bankruptcy Code, having
priority over all administrative expense claims and unsecured claims against such Loan Parties now existing
or hereafter arising, of any kind whatsoever, including, without limitation, all administrative expense claims
of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code on a joint and several basis and
all superpriority administrative expense claims granted to any other Person, having the priorities set forth
in the Orders, subject in all respects to the Carve-Out in accordance with the Interim DIP Order and other
exceptions set forth in the Orders, which claims shall have recourse to all of the Loan Parties’ assets to the
extent set forth in the Orders.

                 4.20    [Reserved].

                  4.21   Anti-Corruption Laws, Anti-Money Laundering and Sanctions. Holdings has
implemented and maintains in effect policies and procedures designed to ensure compliance in all material
respects by Holdings, its Subsidiaries and its and their respective directors, officers, employees and agents
with Anti-Corruption Laws and applicable Sanctions, and Holdings, its Subsidiaries and its their respective
officers and directors and to the knowledge of Holdings and the Borrower their respective employees and
agents, are in compliance with Anti-Corruption Laws and applicable Sanctions in all material respects.
None of (a) Holdings, any Subsidiary, any of its or their respective directors, officers or employees, or (b)
to the knowledge of Holdings and the Borrower, any agent of Holdings, the Borrower or any Subsidiary
that will act in any capacity in connection with or benefit from the credit facility established hereby, is a
Sanctioned Person. No Borrowing, use of proceeds or other transaction contemplated by this Agreement
will violate any Anti-Corruption Law or applicable Sanctions.

                 4.22    Plan Assets; Prohibited Transactions. None of Holdings or any of its Subsidiaries
is an entity deemed to hold “plan assets” (within the meaning of the Plan Asset Regulations), and neither
the execution, delivery nor performance of the transactions contemplated under this Agreement, including
the making of any Loan and the issuance of any Letter of Credit hereunder, will give rise to a non-exempt
Prohibited Transaction. For purposes of the foregoing, each of Holdings and the Borrower may rely on the
Lender’s representation in Section 9.9(a).

                 4.23    EEA Financial Institutions. No Loan Party is an EEA Financial Institution.

                   4.24    Variance Report. The Initial DIP Budget and each Subsequent DIP Budget is
based upon good faith estimates and assumptions believed by management of the Borrower to be reasonable
at the time made, in light of the circumstances under which they were made, it being recognized by the
Agents and the Lenders that such financial information as it relates to future events is not to be viewed as
fact, such financial information as it relates to future events are subject to uncertainties and contingencies,
many of which are beyond the Borrower’s control, no assurance can be given that such financial information
as it relates to future events will be realized and that actual results during the period or periods covered by
such financial information may differ from the projected results set forth therein and such differences may
be material. From and after the delivery of any Approved DIP Budget Variance Report, such Approved
DIP Budget Variance Report shall be true, complete and correct in all material respects and fairly represent
in all material respects the results of operations of Holdings, the Borrower and its Subsidiaries for the period
covered thereby and in the detail to be covered thereby.



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                  4.25    Orders. The Interim DIP Order is in full force and effect and has not been vacated,
reversed or rescinded or, without the prior written consent of the Administrative Agent and the Required
Lenders, amended or modified and no appeal of such Interim DIP Order has been timely filed or, if timely
filed, no stay pending such appeal is currently effective. After entry of the Final DIP Order, the Final DIP
Order is in full force and effect and has not been vacated, reversed or rescinded or, without the prior written
consent of the Administrative Agent and the Required Lenders, amended or modified and no appeal of such
Final DIP Order has been timely filed or, if timely filed, no stay pending such appeal is currently effective.

                 4.26    Bankruptcy Matters.

                (a)     The Chapter 11 Cases were validly commenced on the Petition Date, and (x)
        proper notice under the circumstances of the motion seeking approval of the Loan Documents and
        entry of the Orders was given, and (y) the hearing for the approval of the Interim DIP Order has
        been held by the Bankruptcy Court.

                 (b)      After the entry of the Orders, the Obligations will constitute a “DIP Superpriority
        Claim” (as defined in the Orders) and the liens securing the Obligations shall be senior secured,
        valid, enforceable, and automatically and properly perfected priming liens on the Collateral, having
        the priorities set forth in the Orders, subject in all respects to the Carve-Out in accordance with the
        Interim DIP Order and other exceptions set forth in the Orders and the Loan Documents.

                (c)      The Interim DIP Order (with respect to the period prior to the entry of the Final
        DIP Order) or the Final DIP Order (with respect to the period on and after the entry of the Final
        DIP Order), as the case may be, is in full force and effect and has not been reversed, stayed (whether
        by statutory stay or otherwise), modified or amended without the Required Lenders’ consent.

                                SECTION 5. CONDITIONS PRECEDENT

                 5.1      Conditions to Initial Extension of Credit. The agreement of each Lender to make
the Revolving Commitments available and make the initial extension of credit requested to be made by it
is subject to the satisfaction, prior to or concurrently with the making of such extension of credit on the
Closing Date, of the following conditions precedent:

                (a)     Loan Documents. The Administrative Agent shall have received (i) this
        Agreement, executed and delivered by the Administrative Agent, Holdings, the Borrower and each
        Person listed on Schedule 1.1A and (ii) the Guarantee Agreement, executed and delivered by the
        Borrower and each Guarantor.

                 (b)     Initial DIP Budget. The Administrative Agent and the Lenders shall have received
        the Initial DIP Budget, which shall be in form and substance satisfactory to the Required Lenders.

                 (c)      Payoff of Pre-Petition ABL Credit Agreement. Substantially concurrently with the
        initial extensions of credit under this Agreement on the Closing Date, (i) the indebtedness
        outstanding under the Pre-Petition ABL Credit Agreement shall have been repaid in full in
        accordance with the Interim DIP Order, (ii) the commitments outstanding under the Pre-Petition
        ABL Credit Agreement shall have been terminated and (iii) all guarantees in respect of, and lien
        securing, obligations under the Pre-Petition ABL Credit Agreement shall have been released and
        (clauses (i) through (iii), the foregoing, the “Existing Indebtedness Payoff”).

                 (d)     [Reserved].


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              (e)      [Reserved].

               (f)      Fees. All costs, fees and expenses required to be paid by the Borrower to the
      Administrative Agent, the Arrangers and the Lenders in connection with this Agreement (including
      the reasonable and documented fees and expenses of legal counsel to the Administrative Agent)
      and all costs, fees and expenses required to be paid by the Borrower pursuant to letter agreements
      entered into with the Arrangers shall have been paid or shall have been authorized to be deducted
      from the proceeds of the initial extensions of credit under this Agreement to the extent due and
      invoiced to the Borrower.

                (g)      Officer’s Certificate; Good Standing Certificates. The Administrative Agent shall
      have received (i) a certificate of each Loan Party, dated the Closing Date, with appropriate
      insertions and attachments, including (w) the certificate of incorporation, in the case of a Loan
      Party that is a corporation, and certificate of formation, in the case of a Loan Party that is a limited
      liability company, in each case certified by the relevant authority of the jurisdiction of organization
      of such Loan Party as of a recent date, (x) the bylaws, in the case of a Loan Party that is a
      corporation, and limited liability company agreement or operating agreement, in the case of a Loan
      Party that is a limited liability company, certified as of the Closing Date by its secretary, an assistant
      secretary or a Responsible Officer as being in full force and effect without modification or
      amendment, (y) resolutions of the governing bodies of each Loan Party approving and authorizing
      the execution, delivery and performance of Loan Documents to which it is a party, certified as of
      the Closing Date by its secretary, an assistant secretary or a Responsible Officer as being in full
      force and effect without modification or amendment and (z) signature and incumbency certificates
      of the Responsible Officers of each Loan Party executing the Loan Documents to which it is a
      party, and (ii) a long form good standing certificate for each Loan Party from its jurisdiction of
      organization.

              (h)      Legal Opinions. The Administrative Agent shall have received the executed legal
      opinions of (i) Herbert Smith Freehills Kramer (US) LLP, New York counsel to Holdings and its
      Restricted Subsidiaries and (ii) Cole Schotz P.C., New Jersey counsel to Holdings and its Restricted
      Subsidiaries, each in form and substance reasonably acceptable to the Administrative Agent.

              (i)      [Reserved].

              (j)      [Reserved].

              (k)      [Reserved].

              (l)      [Reserved].

              (m)      PATRIOT Act. The Administrative Agent shall have received, at least three
      Business Days prior to the Closing Date, (i) all documentation and other information about any
      Loan Party reasonably requested by the Administrative Agent in writing at least five days prior to
      the Closing Date and that the Administrative Agent reasonably determines is required by United
      States bank regulatory authorities under applicable “know your customer” and anti-money
      laundering rules and regulations, including the Patriot Act and (ii) if the Borrower qualifies as a
      “legal entity” customer under the Beneficial Ownership Regulation, and to the extent requested by
      any Lender at least five days prior to the Closing Date, a Beneficial Ownership Certificate.

              (n)      [Reserved].


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               (o)     Borrowing Base Certificate. The Administrative Agent shall have received a
        completed Borrowing Base Certificate.

                (p)     [Reserved].

                (q)    Excess Availability. After giving effect to all extensions of credit to be made on
        the Closing Date, Excess Availability on a Pro Forma Basis shall be greater than or equal to the
        Minimum Excess Availability Amount.

                (r)     Officer’s Certificate. The Administrative Agent shall have received a certificate
        of the Borrower, dated the Closing Date, substantially in the form of Exhibit C-1 certifying that the
        conditions in Section 5.2(a) and Section 5.2(b) have been met.

                (s)     Chapter 11 Cases.

                        (i)      The Petition Date shall have occurred.

                        (ii)    The Interim DIP Order shall have been entered on the docket of the
                Bankruptcy Court which Interim DIP Order shall be in full force and effect and shall not
                have been reversed, vacated or stayed, and shall not have been amended, supplemented or
                otherwise modified without the prior written consent of the Administrative Agent and the
                Required Lenders.

                        (iii)    All material “first day” motions filed by the Debtors in the Chapter 11
                Cases shall be in form and substance reasonably satisfactory to the Administrative Agent,
                including, without limitation the DIP Motion and the Cash Management Motion submitted
                by the Debtors to the Bankruptcy Court on the first day of the Chapter 11 Cases.

                         (iv)     The Restructuring Support Agreement in form and substance reasonably
                satisfactory to the Administrative Agent shall be in full force and effect.

                  (t)     Other than the Chapter 11 Cases, there shall not exist any actions, suits,
        investigations or proceedings by or before any arbitrator or Governmental Authority pending
        against or, to the knowledge of the Debtors, threatened in writing against or affecting any Debtor,
        (i) that involve this Agreement or the transactions contemplated herein or (ii) which is not otherwise
        subject to the automatic stay as a result of the Chapter 11 Cases.

                (u)     All Obligations shall be secured by a perfected lien and security interest on all
        Collateral pursuant to and with the priority set forth in, the Interim DIP Order.

              (x)     Term Loan. Concurrently with the initial funding hereunder, the DIP Term Loan
Credit Agreement shall have been effective with aggregate commitments in an amount not less than
$165,000,000 and the Borrower shall have received gross proceeds thereunder in an amount of
$100,000,000.

                 (y)     All necessary governmental and third party consents and approvals necessary in
connection with the Facility and the Transactions shall have been obtained (without the imposition of any
materially adverse conditions that are not acceptable to the Required Lenders) and shall remain in effect;
and the making of the loans under the Facility shall not violate any material applicable requirement of law
and shall not be enjoined temporarily, preliminarily or permanently.


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                 (z)    The Administrative Agent shall have received the most recent information required
to be delivered under Section 6.1 of the Prepetition Credit Agreement.

                For the purpose of determining compliance with the conditions specified in this Section
5.1, each Lender that has signed this Agreement shall be deemed to have accepted, and to be satisfied with,
each document or other matter required under this Section 5.1 unless the Administrative Agent shall have
received written notice from such Lender prior to the proposed Closing Date specifying its objection
thereto.

                5.2      Conditions to Each Extension of Credit. The agreement of each Lender to make
any extension of credit requested to be made by it on any date (including, for the avoidance of doubt, the
making of its Revolving Commitments and the making of its initial extension of credit on the Closing Date,
but excluding any Protective Advance) is subject to the satisfaction of the following conditions precedent:

                (a)      Representations and Warranties. Each of the representations and warranties made
        by any Loan Party in or pursuant to the Loan Documents shall be true and correct in all material
        respects (or in all respects if qualified by materiality) on and as of such date as if made on and as
        of such date, except to the extent expressly made as of an earlier date, in which case such
        representations and warranties shall have been so true and correct as of such earlier date.

                (b)     No Default. No Default or Event of Default shall have occurred and be continuing
        on such date or after giving effect to the extensions of credit requested to be made on such date.

                 (c)     DIP Order. The Bankruptcy Court shall have entered the Interim DIP Order no
        later than five (5) calendar days after the Petition Date, which Interim DIP Order shall be in full
        force and effect and shall not have been reversed, vacated or stayed, and shall not have been
        amended, supplemented or otherwise modified without the prior written consent of the Required
        Lenders. The Bankruptcy Court shall have entered the Final DIP Order no later than forty (40)
        calendar days after the Petition Date (or if such fortieth (40th) calendar day is not a Business Day,
        the immediately succeeding Business Day), which Final DIP Order shall be in full force and effect
        and shall not have been reversed, vacated or stayed, and shall not have been amended,
        supplemented or otherwise modified without the prior written consent of the Administrative Agent
        and the Required Lenders.

               (d)     Budget. The Administrative Agent and the Lenders shall have received the Initial
        DIP Budget and any Subsequent DIP Budget, which shall be in form and substance satisfactory to
        the Required Lenders.

                 (e)     Closing Date. The Closing Date shall have occurred on or before the date that is
        five (5) calendar days after the date of entry of the Interim DIP Order.

                (f)     Perfected Liens. The Administrative Agent, for the benefit of the Secured Parties,
        shall have valid, binding, enforceable, non-avoidable, and automatically and fully and perfected
        Liens on, and security interests in, the Collateral, in each case, having the priorities set forth in the
        Orders and subject only to the payment in full in cash of any amounts due under the Carve-Out in
        accordance with the Interim DIP Order.

                (g)       Other than the Chapter 11 Cases, there shall not exist any actions, suits,
        investigations or proceedings by or before any arbitrator or Governmental Authority pending
        against or, to the knowledge of the Debtors, threatened in writing against or affecting any Debtor,


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        (i) that involve this Agreement or the transactions contemplated herein or (ii) which is not otherwise
        subject to the automatic stay as a result of the Chapter 11 Cases.

                 (h)      The Restructuring Support Agreement remains in full force and effect and the Loan
        Parties are not in Default under such agreement.

                (i)      The Borrower shall be in compliance in all respects with the Milestones.

               (j)    The Loan Parties shall be in compliance with the Initial DIP Budget and any
        Subsequent DIP Budget (subject to the Approved DIP Budget Variance Report) in all respects.

                (k)     Solely with respect to any extension of credit on or after the date that is one
        Business Day after the Final DIP Order (such date, the “Second TL Funding Deadline Date”), the
        Borrower shall have received gross proceeds under the Term Loan Credit Agreement in an amount
        of $65,000,000 on or prior to the Second TL Funding Deadline Date.

                  Each borrowing by and issuance of a Letter of Credit on behalf of the Borrower hereunder
(other than the initial extensions of credit on the Closing Date and other than with respect to a Protective
Advance) shall constitute a representation and warranty by the Borrower as of the date of such extension
of credit that the conditions contained in this Section 5.2 have been satisfied.

                              SECTION 6. AFFIRMATIVE COVENANTS

                 Holdings and the Borrower hereby agree that, so long as the Revolving Commitments
remain in effect, any Letter of Credit remains outstanding or any Loan or other amount is owing to any
Lender or the Administrative Agent hereunder, each of Holdings and the Borrower shall and, in the case of
Sections 6.3 through 6.8, 6.10 and 6.13, shall, to the extent applicable, cause each of its Restricted
Subsidiaries to and, in the case of Section 6.12, shall cause each of its Domestic Subsidiaries to:

                6.1      Financial Statements. Furnish to the Administrative Agent (who will furnish to
each Lender):

                (a)       as soon as available, but in any event within 90 days after the end of each fiscal
        year of Applicable Holdings beginning with the fiscal year ended April 30, 2025, a copy of the
        audited consolidated balance sheet of Applicable Holdings and its consolidated Subsidiaries as at
        the end of such year, the related audited consolidated statements of income, stockholders’ equity
        and cash flows for such year (and until the assignment or transfer of each Delayed Assignment
        Asset has been consummated, the related consolidating financial statements reflecting the
        adjustments necessary to eliminate the accounts of any parent company of Holdings (which may
        be in footnote form only) from such consolidated financial statements), setting forth in each case
        in comparative form the figures for the previous year, reported on without a “going concern” or
        like qualification or exception, or qualification arising out of the scope of the audit, by SyCip Gorres
        Velayo & Co. or other independent certified public accountants of nationally recognized standing
        acceptable to the Administrative Agent;

                 (b)    as soon as available, but in any event not later than 45 days after the end of each
        quarterly periods of each fiscal year of Applicable Holdings, the unaudited consolidated balance
        sheet of Applicable Holdings and its consolidated Subsidiaries as at the end of such quarter, the
        related unaudited consolidated statements of income, stockholders’ equity and cash flows for such
        quarter and/or the portion of the fiscal year through the end of such quarter, as required by
        applicable SEC rules (and until the assignment or transfer of each Delayed Assignment Asset has

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        been consummated, the related consolidating financial statements reflecting the adjustments
        necessary to eliminate the accounts of any parent company of Holdings (which may be in footnote
        form only) from such consolidated financial statements), setting forth in each case in comparative
        form the figures for the corresponding period or periods of the previous fiscal year (or, in the case
        of the balance sheet, as of the end of the previous fiscal year), certified by a Responsible Officer of
        Applicable Holdings as being fairly stated in all material respects (subject to normal year-end audit
        adjustments and the absence of footnotes);

                 (c)     as soon as available, but in any event not later than 45 days after the end of each
        fiscal month of Applicable Holdings, commencing with the month ended June 30, 2025, the
        unaudited consolidated balance sheet of Applicable Holdings and its consolidated Subsidiaries as
        at the end of such month, the related unaudited consolidated statements of income and cash flows
        for such month and the portion of the fiscal year through the end of such month, setting forth in
        each case in comparative form the figures for the previous year, certified by a Responsible Officer
        of Applicable Holdings as being fairly stated in all material respects (subject to normal year-end
        audit adjustments); and

                 (d)      if any Unrestricted Subsidiary exists, concurrently with each delivery of financial
        statements under clause (a), (b) or (c) above, financial statements (in substantially the same form
        as the financial statements delivered pursuant to clause (a), (b) or (c) above, as applicable) prepared
        on the basis of consolidating the accounts of Applicable Holdings and the Applicable Group
        Members and treating any Unrestricted Subsidiaries as if they were not consolidated with
        Applicable Holdings, together with an explanation of reconciliation adjustments in reasonable
        detail.

All such financial statements shall be complete and correct in all material respects and shall be prepared in
reasonable detail and in accordance with IFRS applied (except as approved by such accountants or officer,
as the case may be, and disclosed in reasonable detail therein) consistently throughout the periods reflected
therein and with prior periods.

                  Documents required to be delivered pursuant to Section 6.(c) or (d) or Section 6.2(c) or (d)
may be delivered electronically and if so delivered, shall be deemed to have been delivered on the date on
which (i) such documents are posted on Holdings’s behalf on IntraLinks/IntraAgency or another relevant
Internet or intranet website, if any, to which each Lender and the Administrative Agent have access
(whether a commercial, third-party website or whether sponsored by the Administrative Agent) or (ii) such
documents are filed of record with the SEC; provided that, upon written request by the Administrative
Agent, Holdings or the Borrower shall deliver paper copies of such documents to the Administrative Agent
for further distribution to each Lender until a written request to cease delivering paper copies is given by
the Administrative Agent. The Administrative Agent shall have no obligation to request the delivery of or
to maintain or deliver to Lenders paper copies of the documents referred to above, and in any event shall
have no responsibility to monitor compliance by Holdings or the Borrower with any such request for
delivery, and each Lender shall be solely responsible for timely accessing posted documents or requesting
delivery of paper copies of such documents from the Administrative Agent and maintaining its copies of
such documents.

               6.2      Certificates; Borrowing Base; Other Information. Furnish to the Administrative
Agent (who will furnish to each Lender):

                (a)      The Borrower shall deliver to the Administrative Agent any additional reporting
        required to be delivered to the DIP Term Loan Agent under the DIP Term Loan Credit Agreement;


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                (b)      concurrently with the delivery of any financial statements pursuant to Sections
      6.1(a) or (b), (i) a Compliance Certificate executed by a Responsible Officer of Holdings, which
      Compliance Certificate shall (x) include a statement that, to each such Responsible Officer’s
      knowledge, each Loan Party during such period has observed or performed all of its covenants and
      other agreements, and satisfied every condition contained in this Agreement and the other Loan
      Documents to which it is a party to be observed, performed or satisfied by it, and that such
      Responsible Officer has obtained no knowledge of any Default or Event of Default except as
      specified in such certificate, (y) set forth, in reasonable detail, the calculation of the Consolidated
      EBITDA with reasonable detail as to the amounts of each addback thereto and to which clause of
      Consolidated EBITDA such addback relates (and which detail shall delineate which addbacks are
      subject to the 20% of Consolidated EBITDA as to clauses (v), (vi), (vii) and (viii) of the definition
      of such term (or are otherwise excluded from such limit by virtue of the proviso thereto)) and
      Consolidated Leverage Ratio for the Reference Period ending as of the last day of the fiscal year
      or fiscal quarter for which financial statements are being delivered pursuant to Section 6.1(a) or
      6.1(b) and (z) set forth the amount of Parent Payables and Disqualified Parent Payables as of the
      last day of the fiscal year or fiscal quarter for which financial statements are being delivered
      pursuant to Section 6.1(c) and (ii) to the extent not previously disclosed to the Administrative
      Agent, (x) a description of any change in the jurisdiction of organization of any Loan Party, (y) a
      list of any registered Intellectual Property (or applications therefor) acquired or created by any Loan
      Party and (z) a description of any Person that has become a Group Member or a Restricted
      Subsidiary, in each case since the date of the most recent report delivered pursuant to this clause
      (ii) (or, in the case of the first such report so delivered, since the Closing Date); provided that no
      deliverables shall be required pursuant to this Section 6.2(b) concurrently with the delivery of
      financial statements pursuant to Section 6.1(b) for the fourth fiscal quarter of each fiscal year of
      Holdings.

              (c)      [reserved].

               (d)     (i) within 45 days after the end of each fiscal quarter of Holdings (or 105 days, in
      the case of the fourth fiscal quarter of each fiscal year), a narrative discussion and analysis of the
      financial condition and results of operations of Applicable Holdings and the Applicable Group
      Members for such fiscal quarter and for the period from the beginning of the then current fiscal
      year to the end of such fiscal quarter, as compared to the comparable periods of the previous year
      and (ii) within 45 days after the end of each fiscal month of Holdings, a narrative discussion and
      analysis of the financial condition and results of operations of Applicable Holdings and the
      Applicable Group Members for such fiscal month.

               (e)     promptly after the same are sent, copies of all financial statements and reports that
      the Borrower (or Existing Holdings or Holdings, as applicable) sends to the holders of any class of
      its public debt securities or public equity securities or sends to the lenders under the DIP Term
      Loan Credit Agreement and, promptly after the same are filed, copies of all financial statements
      and reports that the Borrower (or Existing Holdings or Holdings, as applicable) may make to, or
      file with, the SEC;

               (f)     promptly following receipt thereof, copies of any documents described in Section
      101(k) or 101(l) of ERISA that any Group Member or any ERISA Affiliate may request with
      respect to any Multiemployer Plan or any documents described in Section 101(f) of ERISA that
      any Group Member or any ERISA Affiliate may request with respect to any Pension Plan; provided,
      that if the relevant Group Members or ERISA Affiliates have not requested such documents or
      notices from the administrator or sponsor of the applicable Multiemployer Plans, then, upon
      reasonable request of the Administrative Agent, such Group Member or the ERISA Affiliate shall

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        promptly make a request for such documents or notices from such administrator or sponsor and the
        Borrower shall provide copies of such documents and notices to the Administrative Agent promptly
        after receipt thereof;

                 (g)     as soon as available but in any event within five Business Days of the end of each
        week commencing with the first week ended after the Closing Date or within five Business Days
        of the end of the Seasonal Advance Period, as of the last day of the period then ended, a Borrowing
        Base Certificate and the information supporting the Borrowing Base calculation required by the
        Borrowing Base Certificate (including the information set forth on the schedule of reporting
        requirements attached thereto (in each case as modified from time to time by the Administrative
        Agent in its Permitted Discretion)), an inventory report (including aging), an accounts receivable
        report (including aging) and any additional reports or information with respect to the Borrowing
        Base as the Administrative Agent may reasonably request or, in addition, at the Borrower’s
        discretion, a Borrowing Base Certificate and the information supporting the Borrowing Base
        calculation required by the Borrowing Base Certificate (including the information set forth on the
        schedule of reporting requirements attached thereto (in each case as modified from time to time by
        the Administrative Agent in its Permitted Discretion)) may be delivered prior to any Scheduled
        Borrowing Base Delivery Date, and if the Borrower so elects, then the Borrower must deliver a
        Borrowing Base Certificate within five Business Days of the end of each week until the next
        Scheduled Borrowing Base Delivery Date.

                 (h)     an annex with each Borrowing Base Certificate delivered to the Administrative
        Agent pursuant to Section 6.2(g) if, subsequent to the Closing Date, a Loan Party shall acquire or
        obtain any Inventory that contains or bears Intellectual Property rights licensed to any Loan Party
        that may be sold or otherwise disposed of without (i) infringing the rights of such licensor, (ii)
        violating any contract with such licensor, or (iii) incurring any liability with respect to payment of
        royalties other than royalties incurred pursuant to the sale of such Inventory under the current
        licensing agreement, which annex shall specify all reasonable details (including the location, title,
        patent number(s) and issue date) as to the Inventory so acquired or obtained and the Intellectual
        Property rights licensed to the Loan Party in connection therewith.

                 (i)    promptly, such (x) additional financial and other information (including, without
        limitation, the information previously agreed between the Loan Parties’ advisors and the
        Administrative Agent’s advisors on or prior to the Closing Date) as the Administrative Agent or
        any Lender may from time to time reasonably request and (y) information and documentation
        reasonably requested by the Administrative Agent or any Lender for purposes of compliance with
        applicable “know your customer” and anti-money laundering rules and regulations, including the
        Patriot Act.

                 6.3     Payment of Obligations. Pay, discharge or otherwise satisfy at or before maturity
or before they become delinquent, as the case may be, all its material obligations of whatever nature
(including Taxes), except where (a) the amount or validity thereof is currently being contested in good faith
by appropriate proceedings and reserves to the extent required by IFRS with respect thereto have been
provided on the books of the relevant Group Member or (b) the failure to make such payments, individually
or in the aggregate, could not reasonably be expected to have a Material Adverse Effect.

                  6.4      Maintenance of Existence; Compliance. Subject to Section 7.4, (a) (i) preserve,
renew and keep in full force and effect its organizational existence and (ii) take all reasonable action to
maintain all rights, privileges and franchises necessary in the normal conduct of its business, except, in each
case, as otherwise permitted by Section 7.4, Section 7.5 and except, in the case of clause (ii) above, to the
extent that failure to do so could not reasonably be expected to have a Material Adverse Effect; (b) comply

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with all Contractual Obligations and Requirements of Law except to the extent that failure to comply
therewith could not, in the aggregate, reasonably be expected to have a Material Adverse Effect; and (c)
maintain in effect and enforce policies and procedures reasonably designed to ensure compliance in all
material respects by Holdings, its Subsidiaries and their respective directors, officers, employees and agents
with Anti-Corruption Laws and applicable Sanctions.

                  6.5      Maintenance of Property; Insurance. (a) Maintain, with financially sound and
reputable insurance companies, insurance in such amounts and against such risks as are customarily
maintained by companies engaged in the same or similar businesses operating in the same or similar
locations (including hazard and business interruption insurance) and (b) use commercially reasonable
efforts to cause, in the case of each property or casualty insurance policy, as requested by the Administrative
Agent, to be endorsed to the benefit of the Administrative Agent (including by naming the Administrative
Agent as lender loss payee and/or additional insured). If the Borrower or any other Loan Party shall fail to
maintain insurance in accordance with this Section 6.5, or if the Borrower or any other Loan Party shall fail
to so endorse and deliver all policies or certificates with respect thereto, the Administrative Agent shall
have the right (but shall be under no obligation) to procure such insurance and the Borrower agrees to
reimburse the Administrative Agent for all reasonable costs and expenses of procuring such insurance.

                 6.6     Inspection of Property; Books and Records; Discussions; Appraisals; Field
Examinations. (a) (i) Keep proper books of records and account in which full, true and correct (in all
material respects) entries in conformity with IFRS and all Requirements of Law shall be made of all
dealings and transactions in relation to its business and activities and (ii) upon reasonable prior notice,
permit representatives of the Administrative Agent or any Lender to visit and inspect any of its properties
and examine and make abstracts from any of its books and records at any reasonable time and as often as
may reasonably be desired and to discuss the business, operations, properties and financial and other
condition of the Group Members with officers and employees of the Group Members and, accompanied by
one or more officers or designees of the Borrower if requested by the Borrower, with their independent
certified public accountants; provided that only the Administrative Agent, acting individually or on behalf
of the Lenders may exercise rights under this Section 6.6(a) and excluding any such visits and inspections
during the continuation of an Event of Default, the Administrative Agent shall not exercise rights under this
Section 6.6(a) more often than one time during any calendar year.

                  (b)      Cooperate with an appraiser selected and engaged by the Administrative Agent to
provide Inventory appraisals or updates thereof, which appraisals shall be prepared on a basis consistent
with (and on the same form and with the same scope and parameters as) the last Inventory appraisal
delivered under the Pre-Petition ABL Credit Agreement and shall otherwise be reasonably satisfactory to
the Administrative Agent (and to include information required by applicable law and regulations) and
furnished to the Administrative Agent and Revolving Lenders. The Borrower shall ensure that the first
Inventory appraisal after the Closing Date (the “First Post-Closing Appraisal”) shall be completed on or
prior to the date that is four months following the Closing Date. The Borrower shall be responsible for the
costs and expenses of two Inventory appraisals or updates thereof during any 12-month period (the “Annual
Inventory Appraisals”) and one additional Inventory appraisal or update thereof (for a total of three such
Inventory appraisals or updates thereof during any 12-month period) conducted at any time, in the
Administrative Agent’s sole discretion, if during such 12-month period Availability is less than or equal to
12.5% of the Total Revolving Commitments at any time; provided, that the Borrower shall be responsible
for the costs and expenses of all Inventory appraisals or updates thereof conducted while an Event of Default
has occurred and is continuing. For purposes of this Section 6.6(b), it is understood and agreed that a single
appraisal may consist of appraisals conducted at multiple relevant sites and include multiple classes of
assets and involve one or more relevant Loan Parties and their assets.



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                  (c)       Permit any representatives designated by the Administrative Agent (including
employees of the Administrative Agent or any consultants, accountants, lawyers, agents and appraisers
retained by the Administrative Agent), upon reasonable prior notice, to conduct a field examination to
ensure the adequacy of Collateral included in the Borrowing Base and related reporting and control systems
and determine any variance between the Loan Parties’ general ledger and perpetual inventory report. The
Borrower shall be responsible for the costs and expenses of two field examinations during any 12-month
period (the “Annual Field Examinations”) and one additional field examination (for a total of three such
field examinations during any 12-month period) conducted at any time, in the Administrative Agent’s sole
discretion if during such 12-month period Availability is less than or equal to 12.5% of the Total Revolving
Commitments at any time; provided, that the Borrower shall be responsible for the costs and expenses of
all field examinations conducted while an Event of Default has occurred and is continuing. For purposes of
this Section 6.6(c), it is understood and agreed that a single field examination may be conducted at multiple
relevant sites and involve one or more relevant Loan Parties and their assets. Any such field examination
shall be furnished to the Administrative Agent and Lenders.

                  (d)     Concurrently with the Annual Field Examination the Borrower will provide an
updated customer list for each Loan Party, which list shall state the customer’s name, mailing address and
phone number, delivered electronically in a text formatted file acceptable to the Administrative Agent and
certified as true and correct by a Responsible Officer of the Borrower.

                  (e)       To the extent that the Borrower or any Loan Party commences or continues a
process to sell all or a substantial part of the assets of the Chapter 11 Debtors (including a sale of the Chapter
11 Debtors or equity held in Affiliates), whether pursuant to Section 363 of the Bankruptcy Code or
otherwise in a like process in connection with the Chapter 11 Cases, the Engaged Investment Bank shall
participate in weekly telephonic conferences at times to be mutually agreed with the Lender Financial
Advisor, commencing on the later of the first full week following the Petition Date and the date on which
any such sales process has commenced, and at each such telephonic conference, the Engaged Investment
Bank shall provide the Lender Financial Advisor applicable updates as to the status and progress of any
such sales process and other information that the Lender Financial Advisor may deem reasonably necessary
to be reasonably informed about the sales process and which is not otherwise protected by the attorney
client privilege.

                6.7     Notices. Promptly give notice to the Administrative Agent (who will furnish to
each Lender), on behalf of each Lender, of:

                 (a)      the occurrence of any Default or Event of Default;

               (b)       any (i) default or event of default under any Contractual Obligation of any Group
        Member or (ii) litigation, investigation or proceeding that may exist at any time between any Group
        Member and any Governmental Authority, that in either case, if not cured or if adversely
        determined, as the case may be, could reasonably be expected to have a Material Adverse Effect;

              (c)    any litigation or proceeding affecting any Group Member which relates to any
        Loan Document;

                 (d)     (i) as soon as reasonably possible and in any event within 10 days upon becoming
        aware of the occurrence of, or forthcoming occurrence of, any material ERISA Event, a written
        notice specifying the nature thereof, what action the Borrower, any other Group Member or any
        ERISA Affiliate has taken, is taking or proposes to take with respect thereto and, when known, any
        action taken or threatened by the IRS, the Department of Labor or the PBGC with respect thereto;
        and (ii) with reasonable promptness, upon the Administrative Agent’s reasonable request, copies

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        of (1) each Schedule SB (Actuarial Information) to the annual report (Form 5500 Series) filed by
        the Borrower, any other Group Member or any ERISA Affiliate with the IRS with respect to each
        Pension Plan; (2) all notices received by the Borrower, any other Group Member or any ERISA
        Affiliate from a Multiemployer Plan sponsor concerning a material ERISA Event; and (3) copies
        of such other documents or governmental reports or filings relating to any Plan or Pension Plan as
        the Administrative Agent shall reasonably request;

               (e)     any amendment, modification, waiver to, or consent provided under, the DIP Term
        Loan Credit Agreement, any notice of an Event of Default under (and as defined in) the DIP Term
        Loan Credit Agreement and any Carve Out Trigger Notice (as defined in the Orders); and

               (f)      any other development or event that has had or could reasonably be expected to
        have a Material Adverse Effect.

Each notice pursuant to this Section 6.7 shall be accompanied by a statement of a Responsible Officer of
the Borrower setting forth details of the occurrence referred to therein and stating what action the relevant
Group Member proposes to take with respect thereto.

                  6.8     Environmental Laws. (a) Comply with, and use reasonable efforts to ensure
compliance by all tenants, subtenants, contractors, subcontractors, and invitees, if any, with, all applicable
Environmental Laws, and obtain and comply with and maintain, and use reasonable efforts to ensure that
all tenants, subtenants, contractors, subcontractors, and invitees, obtain and comply with and maintain, any
and all Environmental Permits. It being understood that any noncompliance with this Section 6.8(a) shall
be deemed not to constitute a breach of this covenant provided that, such noncompliance with
Environmental Laws, individually or in the aggregate, could not reasonably be expected to give rise to a
Material Adverse Effect.

                (b)     Promptly comply with all orders and directives of all Governmental Authorities
regarding Environmental Laws, other than such orders and directives as to which an appeal has been timely
and properly taken in good faith, and provided that the pendency of any and all such appeals could not
reasonably be expected to give rise to a Material Adverse Effect.

                 6.9     [Reserved].

                  6.10    Additional Collateral, etc. (a) Without limitation of the grant of liens and security
interests in the Orders, with respect to any property acquired after the Closing Date by any Loan Party
(other than (w) Excluded Collateral and any real property, (x) any property described in paragraph (c) or
(d) below, (y) any property subject to a Lien expressly permitted by Section 7.3(g), and (z) any property as
to which the Administrative Agent determines, in its reasonable discretion and in consultation with the
Borrower, that the cost of obtaining a security interest therein is excessive in relation to the value of the
security to be afforded thereby) as to which the Administrative Agent, for the benefit of the Secured Parties,
does not have a perfected Lien, promptly (i) execute and deliver to the Administrative Agent such
documents as the Administrative Agent deems necessary or reasonably advisable to grant to the
Administrative Agent, for the benefit of the Secured Parties, a security interest in such property and (ii)
take all actions necessary or reasonably advisable to grant to the Administrative Agent, for the benefit of
the Secured Parties, a perfected security interest in such property with the priority required by the Pre-
Petition Intercreditor Agreement or the Orders, including the filing of Uniform Commercial Code financing
statements in such jurisdictions as may be required by the Orders or by law or as may be requested by the
Administrative Agent.

                 (b)     [Reserved].

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                  (c)    Without limitation of the grant of liens and security interests in the Orders, with
respect to any new Domestic Subsidiary (other than any Excluded Subsidiary) created or acquired after the
Closing Date by any Loan Party (which, for the purposes of this paragraph (c), shall include any (1) existing
Subsidiary that becomes a Domestic Subsidiary that is not an Excluded Subsidiary and (2) any existing
Domestic Subsidiary that ceases to be an Excluded Subsidiary) within forty-five (45) days after the creation
or acquisition of such new Domestic Subsidiary (or such later date as the Administrative Agent shall agree
to in its sole discretion) (i) execute and deliver to the Administrative Agent such documents as the
Administrative Agent deems necessary or reasonably advisable to grant to the Administrative Agent, for
the benefit of the Secured Parties, a perfected security interest with the priority required by the Pre-Petition
Intercreditor Agreement or the Orders in the Capital Stock of such new Subsidiary that is owned by any
Loan Party, (ii) subject to the Pre-Petition Intercreditor Agreement and the Orders, deliver to the
Administrative Agent the certificates (if any) representing such Capital Stock, together with undated
endorsements, in blank, executed and delivered by a duly authorized officer of the relevant Loan Party and
(iii) cause such new Subsidiary (A) to take such actions necessary or reasonably advisable to grant to the
Administrative Agent for the benefit of the Secured Parties a perfected security interest with the priority
required by the Pre-Petition Intercreditor Agreement or the Orders in the Collateral described in the Orders
with respect to such new Subsidiary, including the filing of Uniform Commercial Code financing statements
in such jurisdictions as may be required by the Orders or by law or as may be requested by the
Administrative Agent and (C) subject to the Pre-Petition Intercreditor Agreement or the Orders, to deliver
to the Administrative Agent a certificate of such Subsidiary, substantially in the form of Exhibit C-2, with
appropriate insertions and attachments.

                 (d)      Without limitation of the grant of liens and security interests in the Orders, with
respect to any new CFC Holding Company or Foreign Subsidiary created or acquired after the Closing Date
by any Loan Party (which, for the purposes of this paragraph (d), shall include any existing Subsidiary that
becomes a CFC Holding Company or a Foreign Subsidiary), within sixty (60) days after the creation or
acquisition of such new CFC Holding Company or Foreign Subsidiary (or such later date as the
Administrative Agent shall agree to in its sole discretion) (i) execute and deliver to the Administrative
Agent such documents as the Administrative Agent deems necessary or reasonably advisable to grant to
the Administrative Agent, for the benefit of the Secured Parties, a perfected security interest with the
priority required by the Pre-Petition Intercreditor Agreement or the Orders in the Capital Stock of such CFC
Holding Company or Foreign Subsidiary that is owned by any such Loan Party (provided that in no event
shall more than 65% of the total outstanding voting Capital Stock of any such CFC Holding Company or
Foreign Subsidiary that is a CFC be required to be so pledged), and (ii) subject to the Pre-Petition
Intercreditor Agreement or the Orders, deliver to the Administrative Agent the certificates representing
such pledged Capital Stock, together with undated stock powers, in blank, executed and delivered by a duly
authorized officer of the relevant Loan Party and take such other action as the Administrative Agent deems
necessary or reasonably advisable to perfect the Administrative Agent’s security interest therein.

               (e)     Notwithstanding anything to the contrary in this Agreement or any other Loan
Document, no Loan Document other than the Orders shall grant the Secured Parties a security interest in
any fee-owned or leased real property.

                 6.11    [Reserved].

                 6.12     Deposit Account Control Agreements. With respect to any new Deposit Account
that is not an Excluded Account opened by a Loan Party after the Closing Date or any Excluded Account
that ceases to be an Excluded Account, deliver to the Administrative Agent, within 45 days of the opening
thereof (or such later date as the Administrative Agent may agree in its reasonable discretion), any Deposit
Account Control Agreement required to be delivered pursuant to the Orders, in each case, in form and
substance reasonably satisfactory to the Administrative Agent.

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                6.13    [Reserved].

                6.14    [Reserved].

               6.15    DMPL Arrangements. Maintain the DMPL Arrangements and keep the DMPL
Arrangements in place at all times.

                 6.16     Other Obligations. (a) Through and until the Revolving Termination Date, (i)
maintain an engagement with the Engaged Financial Advisor and (ii) reimburse the Lender Financial
Advisor for its fees and expenses incurred in connection with its engagement by the Administrative Agent,
(b) comply with the obligations of the Debtors in the Orders, (c) with respect to the Inventory Purchase
Agreement, (i) ensure that any claim Inventory Purchaser may have against the Borrower with respect to
the Inventory Purchase Deposit shall be unsecured, (ii) ensure it has no obligation to sell any inventory to
the Inventory Purchaser and that the inventory of the Borrower may be sold free and clear of any claim of
interest of the Inventory Purchaser and (iii) not amend the Inventory Purchase Agreement or otherwise
modify it in any manner adverse to the Administrative Agent and Lenders without the Required Lenders’
consent and (d) promptly after the Closing Date, furnish to the Administrative Agent all insurance
certificates, endorsements and other information reasonably requested by the Administrative Agent to
conduct a complete insurance review, provided that any updates to insurance certificates and endorsements
requested by the Administrative Agent shall be made no event later than 90 days after the Closing Date (as
such date may be extended in the Administrative Agent’s sole discretion) if such requests are made within
45 days after the Closing Date.

                6.17    [Reserved].

                6.18    Additional Chapter 11 Reporting.

                 (a)     Pleadings. The Loan Parties shall deliver to the Administrative Agent all material
        pleadings, motions and other material documents to be filed with the Bankruptcy Court on behalf
        of the Chapter 11 Debtors in the Chapter 11 Cases no later than three (3) Business Days prior to
        filing thereof, unless such delivery is not possible under the circumstances (in which case such
        pleadings, motions and other material documents shall be delivered to the Administrative Agent as
        promptly as is possible).

                (b)     [Reserved].

                (c)     [Reserved].

                  (d)     Management Conference Calls. The Borrower shall participate in a teleconference
        with the Lender Financial Advisor (the “Management Conference Call”) to take place at least once
        per calendar week (at such time as is reasonably satisfactory to the Lender Financial Advisor with
        at least two (2) Business Days’ notice to the Borrower), which Management Conference Call shall
        (i) require participation by at least one senior member of the Borrower’s management team and
        such professional advisors to the Borrower as the Lender Financial Advisor elects and (ii) include
        discussion of the Variance Report, the Chapter 11 Cases, the financial and operational performance
        of Holdings and its Subsidiaries, and such other matters as may be reasonably requested by the
        Lender Financial Advisor.

                (e)      Additional Reporting. The Borrower shall deliver to the Administrative Agent any
        additional reporting required to be delivered to the Term Loan Collateral Agent under each Term
        Loan Credit Agreement.

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                 6.19   Cash Management. The Loan Parties shall maintain the cash management of the
Loan Parties in accordance in all material respects with the Cash Management Motion.

                  6.20   Approved DIP BudgetThe use of Revolving Loans by the Loan Parties under this
Agreement and the other Loan Documents shall be limited in accordance with the Approved DIP Budget
(subject to Permitted Variances). The Approved DIP Budget shall set forth, on a weekly basis, for the period
ending the week of [ ], 2025 covered thereby, the Budgeted Receipts, Budgeted Disbursements and
Budgeted Liquidity for the period commencing with the week that includes the Petition Date and shall be
approved by, and be in form and substance satisfactory to, the Required Lenders (it being acknowledged
and agreed that the form of Approved DIP Budget set forth as Exhibit M hereto is approved by and
satisfactory to the Required Lenders and is and shall be the Approved DIP Budget unless and until replaced
in accordance with the terms of this Section 6.20). The Approved DIP Budget shall (i) include line-item
reporting, the nature and scope of which shall be satisfactory to the Required Lenders and (ii) otherwise be
in form and substance satisfactory to, and subject to the approval of, the Required Lenders.

                 (b)      On or before the fifth (5th) Business Day before the end of each Budget Period, the
        Borrower and/or the Administrative Agent (acting at the direction of the Required Lenders) may
        request that the Approved DIP Budget be updated by the Borrower for the subsequent 13-week
        period (a “Subsequent DIP Budget”), which Subsequent DIP Budget shall be in form and substance
        satisfactory to, and subject to the approval of, the Required Lenders; provided that Subsequent DIP
        Budget shall be deemed to an Approved DIP Budget absent response or objection by the Required
        Lenders (which objection may be communicated by means of a direction of the Required Lenders)
        within ten (10) Business Days of receipt; provided, further, however, that in the event the Required
        Lenders, on the one hand, and the Borrower, on the other hand, cannot agree as to a Subsequent
        DIP Budget, the then current Approved DIP Budget shall remain in effect and the Borrower shall
        be required to work in good faith with the Required Lenders to modify such Subsequent DIP Budget
        until the Required Lenders approve such Subsequent DIP Budget as an “Approved DIP Budget”.
        Each Approved DIP Budget delivered to the Administrative Agent and the Lender Financial
        Advisor shall be accompanied by such supporting documentation as reasonably requested by the
        Required Lenders. Each Approved DIP Budget shall be prepared in good faith based upon
        assumptions believed by the Borrower to be reasonable at the time of preparation thereof.

                (c)      During each Budget Period, Permitted Budget Variances shall be tested on a
        cumulative weekly basis for the following periods (each, a “Testing Period”) (i) the first and second
        weeks of such Budget Period, (ii) the first, second and third weeks of such Budget Period and (iii)
        such Budget Period in its entirety. With respect to each Budget Period, the Borrower shall not
        permit, for any Testing Period during such Budget Period: (x) Actual Disbursements (in the
        aggregate) to be more than 115% (on a cumulative basis during the Budget Period) of the Budgeted
        Disbursements (for the avoidance of doubt, excluding the fees and expenses of Professional Persons
        (as defined in the DIP Orders)) (in the aggregate) as set forth in the Approved DIP Budget with
        respect to such period; and (y) Actual Receipts (in the aggregate) to be less than 85% (on a
        cumulative basis during the Budget Period) of the Budgeted Receipts (in the aggregate) as set forth
        in the Approved DIP Budget with respect to such period (the “Permitted Variances”).

                (d)     With respect to each Testing Period in a Budget Period, the Borrower shall deliver
        to the Administrative Agent and the Lenders on or before 5:00 p.m. New York City time on Friday
        of the week immediately following the end of such Testing Period, an Approved DIP Budget
        Variance Report.

               (e)     The Borrower shall deliver to the Administrative Agent and the Lender Financial
        Advisor concurrently with the delivery of the Approved DIP Budget Variance Report pursuant to

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        clause (d) above, a certificate which shall include such detail as is reasonably satisfactory to the
        Required Lenders, signed by a Responsible Officer of the Borrower certifying that (i) the Loan
        Parties are in compliance with the covenants contained in this Section 6.20, (ii) no Default or Event
        of Default has occurred or, if such a Default or Event of Default has occurred, specifying the nature
        and extent thereof and any corrective action taken or proposed to be taken with respect thereto,
        and (iii) the Loan Parties are in compliance with Section 7.1.

                 (f)     The Revolving Lenders (i) may assume that the Loan Parties will comply with the
        Approved DIP Budget (subject to Permitted Variances), (ii) shall have no duty to monitor such
        compliance and (iii) shall not be obligated to pay (directly or indirectly from the Collateral) any
        unpaid expenses incurred or authorized to be incurred pursuant to any Approved DIP Budget. The
        line items in the Approved DIP Budget for payment of interest, expenses and other amounts to the
        Administrative Agent and the Lenders are estimates only, and the Loan Parties remain obligated to
        pay any and all Obligations in accordance with the terms of the Loan Documents regardless of
        whether such amounts exceed such estimates. Nothing in any Approved DIP Budget shall constitute
        an amendment or other modification of any Loan Document or other lending limits set forth therein.

                                SECTION 7. NEGATIVE COVENANTS

                 Each of Holdings and the Borrower hereby agrees that, so long as the Revolving
Commitments remain in effect, any Letter of Credit remains outstanding or any Loan or other amount is
owing to any Lender or the Administrative Agent hereunder, each of Holdings and the Borrower shall not,
and shall not permit any of its Restricted Subsidiaries to, directly or indirectly:

                7.1      Excess Availability and Minimum Liquidity. (a) Permit Excess Availability to be
less than or equal to the Minimum Excess Availability Amount or (b) permit Liquidity at any time to be
less than $50,000,000; provided that such amount shall be reduced by 10% of any paydown of the Loans
in connection with the implementation of a Cumulative Reserve up to an aggregate reduction of up to
$25,000,000.

                7.2      Indebtedness. Create, issue, incur, assume, become liable in respect of or suffer to
exist any Indebtedness, except:

                (a)    Indebtedness in respect of the Obligations of any Group Member under or secured
        by this Agreement;

                 (b)    Indebtedness of the Loan Parties in respect of the Term Loans in an aggregate
        principal amount not to exceed (i) $1,187,343,400.24 plus (ii) any interest payment in respect of
        term loans as of the Closing Date that is paid in kind by the Borrower as permitted by the Pre-
        Petition Term Loan Credit Agreement or the DIP Term Loan Credit Agreement, as applicable, and
        any Permitted Refinancing Indebtedness in respect of the Term Loans made pursuant to the DIP
        Term Loan Credit Agreement;

                 (c)     Indebtedness of any Group Member owing to any Group Member; provided that
        (x) any Indebtedness of any Loan Party shall be unsecured and shall be subordinated in right of
        payment to the Obligations on terms customary for intercompany subordinated Indebtedness, as
        reasonably determined by the Administrative Agent, (y) any such Indebtedness owing to any Loan
        Party shall be evidenced by a promissory note which shall have been pledged pursuant to the Orders
        and (z) any such Indebtedness owing by any Subsidiary that is not a Loan Party to any Loan Party
        shall be incurred in compliance with Section 7.7;


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              (d)      Guarantee Obligations incurred by any Group Member of obligations of any Group
      Member to the extent such obligations are not prohibited hereunder; provided that (i) to the extent
      any such obligations are subordinated to the Obligations, any such related Guarantee Obligations
      incurred by a Loan Party shall be subordinated to the guarantee of such Loan Party of the
      Obligations on terms no less favorable to the Lenders than the subordination provisions of the
      obligations to which such Guarantee Obligation relates and (ii) any Guarantee Obligations incurred
      by any Loan Party of obligations of a Restricted Subsidiary that is not a Loan Party shall be
      permitted to the extent incurred in compliance with Section 7.7;

              (e)    Indebtedness (other than Capital Lease Obligations and purchase money
      Indebtedness, which shall be deemed incurred pursuant to Section 7.2(f)) outstanding on the
      Closing Date and listed on Schedule 7.2(e);

               (f)    Capital Lease Obligations and purchase money Indebtedness outstanding as of the
      Petition Debt and incurred in the Ordinary Course of Business, made in good faith, for a bona fide
      business purpose (and not for any other purpose, including, without limitation, a “liability
      management transaction”) and that are secured by Liens permitted by Section 7.3(g)];

             (g)      Indebtedness representing deferred compensation to employees or directors of
      Holdings and its Restricted Subsidiaries incurred in the ordinary course of business;

              (h)     Indebtedness incurred in the ordinary course of business or that is consistent with
      past practice and owed in respect of any netting services, overdrafts and related liabilities arising
      from treasury, depository, credit or debit card, purchase card or other cash management services or
      in connection with any automated clearing-house transfers of funds, in each case that does not
      constitute Indebtedness for borrowed money;

              (i)     Indebtedness arising under any Swap Agreement permitted by Section 7.11;

               (j)      Indebtedness (other than Indebtedness for borrowed money) that may be deemed
      to exist pursuant to any guarantees, warranty or contractual service obligations, performance,
      surety, statutory, appeal, bid, prepayment guarantee, payment (other than payment of Indebtedness)
      or completion of performance guarantees or similar obligations incurred in the ordinary course of
      business;

              (k)     Indebtedness in respect of workers’ compensation claims, payment obligations in
      connection with health, disability or other types of social security benefits, unemployment or other
      insurance obligations, reclamation and statutory obligations, in each case in the ordinary course of
      business;

              (l)      Indebtedness arising from the honoring by a bank or other financial institution of
      a check, draft or similar instrument drawn against insufficient funds, so long as such Indebtedness
      is covered or extinguished within five Business Days;

              (m)      Indebtedness consisting of (i) the financing of insurance premiums or self-
      insurance obligations or (ii) take-or-pay obligations contained in supply or similar agreements in
      each case in the ordinary course of business;

              (n)    Indebtedness in the form of purchase price adjustments (including in respect of
      working capital), earnouts, deferred compensation, indemnification or other arrangements
      representing acquisition consideration or deferred payments of a similar nature incurred in

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        connection with any Investments permitted under Section 7.7 or Dispositions permitted under
        Section 7.5;

                 (o)     [reserved];

                 (p)     [reserved];

                 (q)     [reserved];

                 (r)     [reserved];

                 (s)     [reserved];

                 (t)     [reserved];

                 (u)     [reserved];

                 (v)     [reserved]; and

                (w)     additional unsecured Indebtedness of Holdings or any of its Restricted Subsidiaries
        in the Ordinary Course of Business, made in good faith, for a bona fide business purpose (and not
        for any other purpose, including, without limitation, a “liability management transaction”) in an
        aggregate principal amount (for Holdings and all Restricted Subsidiaries) not to exceed at any time
        outstanding $1,000,000.

For purposes of determining compliance with this Section 7.2, in the event that an item of Indebtedness
meets the criteria of more than one of the categories of Indebtedness described in clauses (a) through (w)
above, the Borrower may, in its sole discretion, divide or classify or later divide, classify or reclassify all
or a portion of such item of Indebtedness in a manner that complies with this Section 7.2 and will only be
required to include the amount and type of such Indebtedness (or any portion thereof) in one or more of the
above clauses; provided that all Indebtedness outstanding under the Loan Documents and the Term Loans
that were made to the Borrower under any Term Loan Credit Agreement as in effect prior to the Closing
Date will at all times be deemed to be outstanding in reliance only on the exception in Section 7.2(a) and
Section 7.2(b), respectively.

Notwithstanding the foregoing, Indebtedness of the Borrower or any Loan Party owing to Holdings, the
Borrower or another Restricted Subsidiary that is not a Loan Party shall be unsecured, subordinated in right
of payment to the guarantee of Holdings, the Borrower or such Guarantor as the case may be and any
guarantee by Holdings, the Borrower or any Loan Party of Indebtedness of Holdings, the Borrower or
another Restricted Subsidiary that is not a Loan Party shall be subordinated in right of payment to the
guarantee of Holdings, the Borrower or such Guarantor as the case may be.

              7.3     Liens. Create, incur, assume or suffer to exist any Lien upon any of its property,
whether now owned or hereafter acquired, except:

                 (a)    Liens for Taxes not yet due or that are being contested in good faith by appropriate
        proceedings; provided that adequate reserves with respect thereto are maintained on the books of
        the relevant Group Member to the extent required by IFRS;




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              (b)      carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s or other like
      Liens arising in the ordinary course of business that are not overdue for a period of more than 60
      days or that are being contested in good faith by appropriate proceedings;

             (c)    pledges, deposits or similar Liens in connection with workers’ compensation,
      unemployment insurance and other social security legislation;

               (d)     (i) deposits to secure (x) the performance of bids, supplier and other trade contracts
      (including government contracts) (other than for borrowed money), leases, statutory obligations
      (other than for borrowed money and other than any such obligation imposed pursuant to Section
      430(k) of the Code or Sections 303(k) or 4068 of ERISA) and (y) surety and appeal bonds,
      performance bonds and other obligations of a like nature, in each case (with respect to clauses (x)
      and (y)) incurred in the ordinary course of business and (ii) Liens on cash earnest money deposits
      in connection with any letter of intent or purchase agreement permitted under this Agreement;

              (e)     easements, rights-of-way, restrictions and other similar encumbrances incurred in
      the ordinary course of business that, in the aggregate, are not substantial in amount and that do not
      in any case materially detract from the value of the property subject thereto or materially interfere
      with the ordinary conduct of the business of Holdings or any of its Restricted Subsidiaries;

              (f)     Liens in existence on the Closing Date listed on Schedule 7.3(f), securing
      Indebtedness permitted by Section 7.2(e); provided that no such Lien is spread to cover any
      additional property after the Closing Date and that the amount of Indebtedness secured thereby is
      not increased;

               (g)     Liens outstanding on the Petition Date securing Indebtedness of any Group
      Member incurred pursuant to Section 7.2(f) to finance the acquisition of fixed or capital assets (and
      any Permitted Refinancing Indebtedness in respect thereof); provided that (i) such Liens were
      created within 270 days of the acquisition of such fixed or capital assets, (ii) such Liens do not at
      any time encumber any property other than the property financed by such Indebtedness and the
      proceeds and products thereof and (iii) the amount of Indebtedness secured thereby is not increased;
      provided further that in the event that purchase money obligations are owed to any Person with
      respect to financing of more than one purchase of any fixed or capital assets, such Liens may secure
      all such purchase money obligations and may apply to all such fixed or capital assets financed by
      such Person;

              (h)     (i) Liens on the Collateral created pursuant to the Security Documents, (ii) Liens
      on cash granted in favor of any Lenders and/or the Issuing Lender created as a result of any
      requirement to provide cash collateral pursuant to this Agreement and (iii) Liens on the Collateral
      and any real property created pursuant to the Term Loan Security Documents (or any Term Loan
      Security Documents (as defined in the Pre-Petition Intercreditor Agreement)), provided that any
      Liens on the Collateral shall be subject to the Pre-Petition Intercreditor Agreement and the Orders;

              (i)   any interest or title of a licensor or lessor under any lease or license entered into
      by any Group Member in the ordinary course of its business and covering only the assets so leased;

              (j)      [reserved];

             (k)     Liens in favor of any Loan Party so long as (in the case of any Lien granted by a
      Loan Party) such Liens are junior to the Liens created pursuant to the Security Documents;


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               (l)     Liens arising from filing Uniform Commercial Code or personal property security
      financing statements (or substantially equivalent filings outside of the United States) regarding
      leases incurred in the ordinary course of business;

             (m)       any option or other agreement to purchase any asset of any Group Member, the
      purchase, sale or other disposition of which is not prohibited by Section 7.5;

             (n)   Liens arising from the rendering of an interim or final judgment or order against
      any Group Member that does not give rise to an Event of Default;

              (o)      [reserved];

              (p)     Liens arising out of conditional sale, title retention, consignment or similar
      arrangements for sale of goods entered into by Holdings or any other Restricted Subsidiary in the
      ordinary course of business and permitted by this Agreement;

               (q)      licenses, sublicenses, leases and subleases of Intellectual Property of any Group
      Member in the Ordinary Course of Business, made in good faith, for a bona fide business purpose
      (and not for any other purpose, including, without limitation, a “liability management transaction”),
      to the extent that they exist as of the Closing Date and that they do not materially interfere with the
      business of any Group Member;

               (r)      Liens existing as of the Closing Date encumbering reasonable and customary
      initial deposits and margin deposits and similar Liens attaching to brokerage accounts incurred in
      the ordinary course of business and not for speculative purposes;

              (s)     Liens in favor of customs and revenue authorities arising as a matter of law to
      secure payment of customs duties in connection with the importation of goods in the ordinary
      course of business;

              (t)      Liens on premium refunds granted in favor of insurance companies (or their
      financing affiliates) in connection with the financing of insurance premiums;

               (u)    banker’s liens, rights of setoff or similar rights and remedies as to deposit accounts
      or other funds maintained with depository institutions and securities accounts and other financial
      assets maintained with a securities intermediary; provided that such deposit accounts or funds and
      securities accounts or other financial assets are not established or deposited for the purpose of
      providing collateral for any Indebtedness and are not subject to restrictions on access by Holdings
      or any Restricted Subsidiary in excess of those required by applicable banking regulations;

              (v)      Liens (i) on cash advances in favor of the seller of any property to be acquired in
      an Investment permitted pursuant to Section 7.7 to be applied against the purchase price for such
      Investment or (ii) consisting of an agreement to dispose of any property in a Disposition permitted
      by Section 7.5, in each case, solely to the extent such Investment or Disposition, as the case may
      be, would have been permitted on the date of the creation of such Lien;

              (w)      [reserved];

             (x)      Liens existing as of the Closing Date on Specified Intellectual Property (and
      proceeds thereof) in favor of licensees of such Specified Intellectual Property licensed by a Group
      Member to such licensee, which Liens secure damage claims in the event of a rejection of such

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        applicable license in a Bankruptcy Event; provided such Liens are subject to the License
        Intercreditor Agreement; and

                (y)     Liens not otherwise permitted by this Section so long as neither (i) the aggregate
        outstanding principal amount of the obligations secured thereby nor (ii) the aggregate fair market
        value (determined as of the date such Lien is incurred) of the assets subject thereto exceeds (as to
        all Group Members) $1,000,000; provided, that if such Lien is securing Indebtedness for borrowed
        money, such Lien shall be expressly subordinated or junior to the Liens securing the Obligations.

                  7.4      Fundamental Changes. Enter into any merger, consolidation or amalgamation, or
liquidate, wind up or dissolve itself (or suffer any liquidation or dissolution), or Dispose of all or
substantially all of its property or business, except pursuant to the Chapter 11 Cases.

                7.5       Disposition of Property. Dispose of any of its property, whether now owned or
hereafter acquired, or, in the case of any Restricted Subsidiary, issue or sell any shares of such Restricted
Subsidiary’s Capital Stock to any Person, except:

                (a)     the Disposition of surplus, outdated, obsolete or worn out, or no longer used or
        useable property (other than accounts receivable or inventory) in the ordinary course of business;

                (b)      Dispositions of inventory, cash and Cash Equivalents in the ordinary course of
        business;

                (c)      Dispositions permitted by Section 7.4(c)(i) or Section 7.4(d)(i);

              (d)      the sale or issuance of any Restricted Subsidiary’s Capital Stock to Holdings, the
        Borrower or any Subsidiary Guarantor except pursuant to the Chapter 11 Cases;

                 (e)     Dispositions of accounts receivable in connection with the compromise, settlement
        or collection thereof in the ordinary course of business consistent with past practice and not as part
        of any accounts receivables financing transaction;

                 (f)      Dispositions of assets other than Accounts or Inventory included in the Borrowing
        Base (including as a result of like-kind exchanges) to the extent that (i) such assets are exchanged
        for credit (on a fair market value basis) against the purchase price of similar or replacement assets
        or (ii) such asset is Disposed of for fair market value and the proceeds of such Disposition are
        promptly applied to the purchase price of similar or replacement assets;

               (g)     Dispositions resulting from any casualty or other insured damage to, or any taking
        under power of eminent domain or by condemnation or similar proceeding of, any asset of any
        Group Member;

                 (h)     non-exclusive or exclusive licenses or sublicenses of non-U.S. Intellectual
        Property (and non-exclusive licenses or sublicenses of U.S. Intellectual Property), in each case, in
        the ordinary course of business, to the extent that they do not materially interfere with the business
        of Holdings or any Restricted Subsidiary; provided, in no event shall any Intellectual Property be
        transferred directly or indirectly by the Borrower or its Restricted Subsidiaries to an Unrestricted
        Subsidiary;

               (i)    the lapse, abandonment, cancellation, non-renewal or discontinuance of use or
        maintenance of non-material Intellectual Property or rights relating thereto that the Borrower

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        determines in its reasonable judgment to be desirable to the conduct of its business and not
        materially disadvantageous to the interests of the Lenders;

                (j)      licenses (other than with respect to Intellectual Property), leases or subleases
        entered into in the ordinary course of business, to the extent that they do not materially interfere
        with the business of Holdings or any Restricted Subsidiary;

                 (k)    Dispositions to any Group Member; provided that any such Disposition involving
        a Restricted Subsidiary that is not a Loan Party shall be made in compliance with Sections 7.7
        and 7.9;

                (l)      (i) Dispositions of assets to the extent that such Disposition constitutes an
        Investment referred to in and permitted by Section 7.7, (ii) Dispositions of assets to the extent that
        such Disposition constitute a Restricted Payment referred to in and permitted by Section 7.6 (iii)
        Dispositions set forth on Schedule 7.5(l) and (iv) sale and leaseback transactions permitted under
        Section 7.10;

                (m)      [reserved];

                (n)      [reserved];

                (o)      [reserved];

                (p)     the surrender or waiver of contract rights in the ordinary course of business or the
        surrender or waiver of litigation claims or the settlement, release or surrender of tort or litigation
        claims of any kind;

                (q)    the transfer of improvements or alterations in connection with any lease of property
        upon the termination thereof;

                (r)      any Restricted Payment permitted by Section 7.6 or Investment permitted by
        Section 7.7;

                (s)      the termination of a lease of real or personal property;

                  (t)     Dispositions so long as (i) the consideration for such assets shall be in an amount
        at least equal to the fair market value thereof (determined in good faith by the board of directors of
        the Borrower (or similar governing body), (ii) with respect to Dispositions in excess of $2,000,000,
        no less than 90% thereof shall be paid in cash and Cash Equivalents) and (iii) the Borrower shall
        have provided the Administrative Agent (x) with respect to Dispositions of assets included in the
        Borrowing Base, a completed Borrowing Base Certificate giving pro forma effect to such
        Disposition prior to consummation thereof demonstrating that the Total Revolving Extensions of
        Credit (excluding for such purposes Protective Advances) shall not exceed the Borrowing Base as
        of such date and (y) a calculation of any Asset Sale Reserve resulting therefrom; and

                 (u)     Dispositions of the Designated Underutilized Assets, in each case, solely to the
        extent that such proceeds are being used in accordance with the Approved DIP Budget.

                Notwithstanding anything to the contrary contained in this Section 7.5, in no event shall
any Disposition (or series of related Dispositions) of assets included in the Borrowing Base and contributing
more than $5,000,000 of the Borrowing Base (other than Dispositions permitted pursuant to Section 7.5(b))

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be permitted unless the Administrative Agent receives a completed Borrowing Base Certificate giving pro
forma effect to such Disposition prior to consummation thereof.

                 Notwithstanding anything to the contrary contained in this Agreement, in no event shall
(a) the Borrower or any Loan Party sell, transfer or otherwise dispose of any Material Property (whether
pursuant to a sale, lease, license, transfer, Investment, restricted payment, dividend or otherwise or relating
to the exclusive rights thereto) to any Subsidiary that is not a Loan Party; provided that in no event shall
this sentence prohibit the Borrower or its Restricted Subsidiaries from entering into non-exclusive licensing
arrangements of Intellectual Property to a Restricted Subsidiary in the ordinary course of business for a
bona fide business purpose and (b) no Subsidiary that is not a Loan Party shall own or hold an exclusive
license to any Material Property.

                  7.6      Restricted Payments. Declare or pay any dividend (other than dividends payable
solely in common stock of the Person making such dividend) on, or make any payment on account of, or
set apart assets for a sinking or other analogous fund for, the purchase, redemption, defeasance, retirement
or other acquisition of, any Capital Stock of any Group Member, whether now or hereafter outstanding,
make any other distribution in respect thereof, either directly or indirectly, whether in cash or property or
in obligations of any Group Member, or make any principal payment on, or other retirement for value of,
any Parent Payable (collectively, “Restricted Payments”), except that:

               (a)      any Restricted Subsidiary may make Restricted Payments to its equity holders that
        are Loan Parties;

                 (b)     [reserved];

                 (c)     Holdings may declare and pay dividends with respect to its Capital Stock payable
        solely in shares of Qualified Capital Stock;

                 (d)     [reserved];

                 (e)     [reserved];

                (f)    Holdings may convert or exchange any of its Capital Stock for or into Qualified
        Capital Stock;

                 (g)     payments to DMPL and its affiliates as expressly permitted by Section 7.18;

               (h)     so long as such payment is in accordance with the Approved DIP Budget,
        payments to DMFI pursuant to the terms of the (i) Transition Services Agreement and (ii) the
        Contribution Agreement, in the case of this clause (ii) in respect of liabilities owing by the Borrower
        to DMFI under Section 18 of the Contribution Agreement.

         Notwithstanding anything to the contrary contained in this Agreement, in no event shall (a) the
Borrower or any Loan Party sell, transfer or otherwise dispose of any Material Property (whether pursuant
to a sale, lease, license, transfer, Investment, restricted payment, dividend or otherwise or relating to the
exclusive rights thereto) to any Subsidiary that is not a Loan Party and (b) no Subsidiary that is not a Loan
Party shall own or hold an exclusive license to any Material Property.

                7.7      Investments. Make any advance, loan, extension of credit (by way of guaranty or
otherwise) or capital contribution to, or purchase any Capital Stock, bonds, notes, debentures or other debt



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securities of, or any assets constituting a business unit of, or make any other investment in, any other Person
(all of the foregoing, “Investments”), except:

                 (a)     extensions of trade credit in the ordinary course of business;

                 (b)     investments in cash and Cash Equivalents;

                  (c)      Guarantee Obligations of any Group Member in respect of Indebtedness or other
        obligations of Holdings or any Restricted Subsidiary (including any such Guarantee Obligations
        arising as a result of any such Person being a joint and several co-applicant with respect to any
        letter of credit or letter of guaranty); provided that (i) (A) a Restricted Subsidiary that is not a Loan
        Party shall not Guarantee any Indebtedness for borrowed money of any Loan Party and (B) any
        Guarantee Obligations in respect of Subordinated Indebtedness shall be subordinated to the
        Obligations on terms no less favorable to the Lenders than those of the Subordinated Indebtedness
        and (ii) no Guarantee Obligations of any Loan Party of Indebtedness (excluding, for the avoidance
        of doubt, Guarantee Obligations in respect of obligations not constituting Indebtedness) of any
        Restricted Subsidiary that is not a Loan Party shall be permitted pursuant to this Section 7.7(c) if,
        at the time of the incurrence of, and after giving effect to, such Guarantee Obligations (and any
        substantially simultaneous use of the Permitted Amount), the Permitted Amount would be less than
        zero;

                 (d)     [reserved];

                 (e)     [reserved];

                 (f)     [reserved];

                 (g)     [reserved];

                 (h)     [reserved];

                (i)     promissory notes and other non-cash consideration received in connection with
        Dispositions permitted by Section 7.5;

                 (j)     [reserved];

               (k)      Investments existing on the Closing Date and set forth on Schedule 7.7(k) and any
        modification, refinancing, renewal, refunding, replacement or extension thereof; provided that the
        amount of any Investment permitted pursuant to this Section 7.7(k) is not increased from the
        amount of such Investment on the Closing Date;

                (l)     Investments received in connection with the bankruptcy or reorganization of, or
        settlement of delinquent accounts and disputes with, customers and suppliers, in each case in the
        ordinary course of business;

                 (m)     [reserved];

                 (n)     guarantees by Holdings or any Restricted Subsidiary of leases (other than Capital
        Lease Obligations) or of other obligations that do not constitute Indebtedness, in each case entered
        into in the ordinary course of business;



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                (o)     Investments made to effect the pledges and deposits described in, and permitted
        under, Section 7.3(c) and (d); and

                 (p)     Investments by Holdings or any Restricted Subsidiary that result solely from the
        receipt by Holdings or such Restricted Subsidiary from any of its Subsidiaries of a dividend or
        other Restricted Payment in the form of Capital Stock, evidences of Indebtedness or other securities
        (but not any additions thereto made after the date of the receipt thereto).

                 Notwithstanding anything to the contrary contained in this Agreement, in no event shall
(a) the Borrower or any Loan Party sell, transfer or otherwise dispose of any Material Property (whether
pursuant to a sale, lease, license, transfer, Investment, restricted payment, dividend or otherwise or relating
to the exclusive rights thereto) to any Subsidiary that is not a Loan Party; provided that in no event shall
this sentence prohibit the Borrower or its Restricted Subsidiaries from entering into non-exclusive licensing
arrangements of Intellectual Property to a Restricted Subsidiary in the ordinary course of business for a
bona fide business purpose and (b) any Subsidiary that is not a Loan Party own or hold an exclusive license
to any Material Property. Holdings and the Borrower shall not, nor permit any of their Restricted
Subsidiaries to, form or acquire any Restricted Subsidiary after the Closing Date that is an Excluded
Subsidiary or permit any Loan Party to become an Excluded Subsidiary.

                 7.8     Optional Payments of Certain Debt Instruments. Each of Holdings and the
Borrower shall not, and shall not permit any of its Restricted Subsidiaries to, directly or indirectly, make or
offer to make any optional or voluntary payment, prepayment, repurchase or redemption of or otherwise
optionally or voluntarily defease or segregate funds with respect to any Specified Indebtedness (any of the
foregoing, a “Restricted Debt Payment”) without the written approval of the Required Lenders.

                Notwithstanding anything to the contrary contained in this Section 7.8, in no event shall
any payment in respect of Subordinated Indebtedness be permitted if such payment is in violation of the
subordination provisions of such Subordinated Indebtedness.

                  7.9     Transactions with Affiliates. Enter into any transaction, including any purchase,
sale, lease or exchange of property, the rendering of any service or the payment of any management,
advisory or similar fees, with any Affiliate (other than (x) transactions between or among the Loan Parties,
(y) transactions between or among Restricted Subsidiaries that are not Loan Parties and (z) transactions
between or among Holdings and its Restricted Subsidiaries consistent with past practices and made in the
ordinary course of business) unless such transaction is (a) otherwise permitted under this Agreement and
(b) upon fair and reasonable terms no less favorable to the relevant Group Member than it would obtain in
a comparable arm’s length transaction with a Person that is not an Affiliate as determined in good faith by
the Board of Directors; provided that the foregoing restriction in clause (b) shall not apply to (i) transactions
permitted under Section 7.6; (ii) the payment of customary directors’ fees and indemnification and
reimbursement of expenses to directors, officers or employees; (iii) any issuance of securities or other
payments, awards or grants in cash, securities or otherwise pursuant to, or the funding of, employment
agreements, stock options and stock ownership plans approved by the Board of Directors; (iv) employment,
retention, severance and similar arrangements (including equity or equity based incentive plans, stock
ownership plans, compensation or incentive plans and arrangements and employee benefit plans and
arrangements) and indemnification arrangements entered into in the ordinary course of business between
Holdings or any Restricted Subsidiary and any employee, officer or director thereof; (v) intercompany
transactions undertaken in good faith (as certified by a Responsible Officer of Holdings) for the purpose of
improving the consolidated tax efficiency of the Group Members; (vi) [reserved]; (vii) payment of
customary fees and reasonable out of pocket costs to, and indemnities for the benefit of, directors, officers
and employees of Holdings and its Restricted Subsidiaries in the ordinary course of business to the extent
attributable to the ownership or operation of Holdings and its Restricted Subsidiaries; (viii) [reserved]; and

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(ix) any agreement or arrangement in effect on the Closing Date (and performance thereunder) set forth on
Schedule 7.9 or as thereafter amended or replaced in any manner that, taken as a whole, is not materially
less advantageous to Holdings and its Restricted Subsidiaries than such agreement as it was in effect on the
Closing Date; provided that, from and including the Closing Date, each of Holdings and the Borrower shall
not, and shall not permit any of its Restricted Subsidiaries to, directly or indirectly, enter into any
transaction, including any purchase, sale, lease or exchange of property, the rendering of any service or the
payment of any management, advisory or similar fees, with any Affiliate pursuant to Section 7.9(z)(b)(v)
without the written approval of the Required Lenders.

                 7.10     Sales and Leasebacks. No Loan Party shall, nor shall it permit any of its Restricted
Subsidiaries to, directly or indirectly, become or remain liable as lessee or as a guarantor or other surety
with respect to any lease, rental or similar arrangement of any property (whether real, personal or mixed),
whether now owned or hereafter acquired, which such Loan Party (a) has sold or transferred or is to sell or
to transfer to any other Person (other than a Loan Party), or (b) intends to use for substantially the same
purpose as any other property which has been or is to be sold or transferred by such Loan Party to any
Person (other than Holdings or any of its Restricted Subsidiaries) in connection with such lease.

                 7.11    Swap Agreements. Enter into any Swap Agreement, except (a) Swap Agreements
entered into to hedge or mitigate risks to which any Group Member has actual exposure (other than those
in respect of Capital Stock) and (b) Swap Agreements entered into in order to effectively cap, collar or
exchange interest rates (from fixed to floating rates, from one floating rate to another floating rate or
otherwise) with respect to any interest-bearing liability or investment of any Group Member.

               7.12    Changes in Fiscal Periods. Change the fiscal year end of Holdings or change
Holdings’s method of determining fiscal months or fiscal quarters (without the consent of the
Administrative Agent) except as permitted by IFRS and recommended by the auditors of Holdings or
required by IFRS.

                  7.13    Negative Pledge Clauses. Enter into or suffer to exist or become effective any
agreement that prohibits or limits the ability of any Group Member to create, incur, assume or suffer to
exist any Lien upon any of its property or revenues, whether now owned or hereafter acquired to secure its
obligations under the Loan Documents to which it is a party other than (a) (i) this Agreement, the other
Loan Documents and the Term Loan Documents, (ii) agreements related to other Indebtedness permitted
by this Agreement to the extent that encumbrances or restrictions imposed by such other Indebtedness are
not more restrictive on the Loan Party or any of its applicable Subsidiaries than the encumbrances and
restrictions contained in this Agreement as determined by the chief executive officer or the chief financial
officer of the Borrower in good faith and (iii) any agreement governing any Permitted Refinancing
Indebtedness (or any successive Permitted Refinancing Indebtedness) in respect of the Loans or the Term
Loans made pursuant to the DIP Term Loan Credit Agreement, in each case, with respect to this clause (iii),
so long as any such agreement is not more restrictive than the Loan Documents, the Term Loan Documents
or the documents governing the Indebtedness being refinanced, as applicable, (b) any agreements governing
any purchase money Liens or Capital Lease Obligations otherwise permitted hereby (in which case, any
prohibition or limitation shall only be effective against the assets financed thereby), (c) any agreement in
effect at the time any Subsidiary becomes a Restricted Subsidiary of Holdings, so long as such prohibition
or limitation applies only to such Restricted Subsidiary (and, if applicable, its Subsidiaries) and such
agreement was not entered into in contemplation of such Person becoming a Restricted Subsidiary of
Holdings, as such agreement may be amended, restated, supplemented, modified extended renewed or
replaced, so long as such amendment, restatement, supplement, modification, extension, renewal or
replacement does not expand in any material respect the scope of any restriction contemplated by this
Section 7.13 contained therein, (d) customary provisions restricting assignments, subletting, sublicensing,
pledging or other transfers contained in leases, subleases, licenses or sublicenses, so long as such

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restrictions are limited to the property or assets subject to such leases, subleases, licenses or sublicenses, as
the case may be, (e) customary restrictions and conditions contained in agreements relating to the sale of a
Restricted Subsidiary or any assets pending such sale; provided that such restrictions or conditions apply
only to the Restricted Subsidiary or assets that is to be sold and such sale is permitted hereunder, (f)
restrictions imposed by applicable law or regulation or license requirements; (g) customary provisions
restricting assignment of any agreement, which provisions are entered into in the ordinary course of
business; (h) any customary restriction pursuant to any document, agreement or instrument governing or
relating to any Lien permitted under Section 7.3 and (i) customary provisions contained in joint venture
agreements, shareholder agreements and other similar agreements applicable to joint ventures permitted
hereunder and applicable solely to such joint venture (and its assets or Capital Stock issued by such Person)
entered into in the ordinary course of business.

                  7.14     Clauses Restricting Subsidiary Distributions. Enter into or suffer to exist or
become effective any consensual encumbrance or restriction on the ability of any Restricted Subsidiary of
Holdings to (a) make Restricted Payments in respect of any Capital Stock of such Restricted Subsidiary
held by, or pay any Indebtedness owed to, any Group Member, (b) make loans or advances to, or other
Investments in, any Group Member or (c) transfer any of its assets to any Group Member, except for (i) any
encumbrances or restrictions existing under (A) this Agreement, the other Loan Documents and the Term
Loan Documents, (B) any agreement governing Indebtedness incurred pursuant to Section 7.2 so long as
such encumbrances or restrictions are customary in agreements governing Indebtedness of such type and
are not, when taken as a whole, materially more restrictive than the encumbrances and restrictions contained
in the Loan Documents or (C) any agreement governing Permitted Refinancing Indebtedness (or any
successive Permitted Refinancing Indebtedness) in respect of the Loans, the Term Loans made pursuant to
the DIP Term Loan Credit Agreement or any other Indebtedness incurred pursuant to Section 7.2, in each
case so long as any such encumbrances or restrictions are not, when taken as a whole, materially more
restrictive than the encumbrances and restrictions contained in the Loan Documents, the Term Loan
Documents or the documents governing the Indebtedness being refinanced, as applicable, (ii) any
encumbrances or restrictions with respect to a Restricted Subsidiary imposed pursuant to an agreement that
has been entered into in connection with the Disposition of all or substantially all of the Capital Stock or
assets of such Restricted Subsidiary, (iii) any encumbrance or restriction applicable to a Restricted
Subsidiary (and, if applicable, its Subsidiaries) under any agreement of such Restricted Subsidiary in effect
at the time such Person becomes a Restricted Subsidiary of Holdings, so long as such agreement was not
entered into in contemplation of such Person becoming a Restricted Subsidiary of Holdings, as such
agreement may be amended, restated, supplemented, modified extended renewed or replaced, so long as
such amendment, restatement, supplement, modification, extension, renewal or replacement does not
expand in any material respect the scope of any restriction contemplated by this Section 7.14 contained
therein, (iv) customary provisions restricting assignments, subletting, sublicensing, pledging or other
transfers contained in leases, subleases, licenses or sublicenses, so long as such restrictions are limited to
the property or assets subject to such leases, subleases, licenses or sublicenses, as the case may be, (v)
customary restrictions and conditions contained in agreements relating to the sale of a Restricted Subsidiary
or any assets pending such sale, provided that such restrictions or conditions apply only to the Restricted
Subsidiary or assets that is to be sold and such sale is permitted hereunder, (vi) restrictions of the nature
referred to in clause (c) above under the agreements governing purchase money liens or Capital Lease
Obligations otherwise permitted hereby, which restrictions are only effective against the assets financed
thereby, (vii) any applicable law, rule or regulation (including applicable currency control laws and
applicable state corporate statutes restricting the payment of dividends in certain circumstances), (viii)
agreements related to other Indebtedness permitted by this Agreement to the extent that encumbrances or
restrictions imposed by such other Indebtedness (x) are (A) customary for financing arrangements of their
type or (B) not, when taken as a whole, materially more restrictive on the Loan Party or any of its applicable
Subsidiaries than the restrictions contained in this Agreement as determined by the chief executive officer
or the chief financial officer of the Borrower in good faith and (y) will not materially affect the Loan Parties’

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ability to satisfy their obligations hereunder or under the other Loan Documents, (ix) customary provisions
contained in joint venture agreements, shareholder agreements and other similar agreements applicable to
joint ventures permitted hereunder and applicable solely to such joint venture (and its assets or Capital
Stock issued by such Person) entered into in the ordinary course of business or (x) restrictions applicable
solely to Foreign Subsidiaries.

                7.15     Lines of Business. Enter into any business, either directly or through any
Restricted Subsidiary, except for those businesses in which the Group Members were engaged on the
Closing Date or that are reasonably related, ancillary or complementary thereto.

                  7.16    Use of Proceeds. Request any Loan or Letter of Credit, and neither Holdings nor
the Borrower shall use, and each shall procure that its respective Restricted Subsidiaries and its or their
respective directors, officers, employees and agents shall not use, the proceeds of any Loan or Letter of
Credit (a) in furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Corruption Laws, (b) for the
purpose of funding, financing or facilitating any activities, business or transaction of or with any Sanctioned
Person, or in any Sanctioned Country, to the extent that such activities, businesses or transaction would be
prohibited by Sanctions if conducted by a corporation incorporated in the United States or a European
Union member state or (c) in any manner that would result in the violation of any Sanctions applicable to
any party hereto.

                  7.17     Amendment of Organizational Documents Amend, modify, supplement or waive
any of its rights under its charter, articles or certificate of incorporation or organization, by-laws, operating,
management or partnership agreement or other organizational or governing documents (collectively, the
“Organizational Documents”) to the extent any such amendment, modification or waiver would be
materially adverse to the Lenders.

                 7.18    Delivery of Defined Inventory and Return of Inventory Purchaser Deposit. The
Borrower shall not (a) deliver any Defined Inventory to the Inventory Purchaser, (b) return any portion of
the Inventory Purchaser Deposit to the Inventory Purchaser, (c) return or make any payment in respect of
any DMPL Payables or (d) make any other payment to DMPL or Inventory Purchaser (including, without
limitation, any fees owed to such Party) (each of clauses (a) through (d) “Restricted Parent Payments”),
except for payments by the Loan Parties of the purchase price on arms-length customary industry terms
(including payment terms that are substantially consistent with the payment terms of other suppliers of fresh
produce to the Loan Parties) in respect of current purchases (excluding past-due payables outstanding prior
to July 2, 2024) of fresh pineapple and other processed products in an aggregate amount not to exceed
$25,000,000, subject to quarterly reporting to the Administrative Agent and Lenders regarding the price,
terms and sale and quantity of fresh pineapple and other processed products purchases to be delivered within
10 business days of the end of each fiscal quarter.

                 7.19    Material Property. Notwithstanding anything to the contrary contained in this
Agreement, in no event shall (a) the Borrower or any Loan Party sell, transfer or otherwise dispose of any
Material Property (whether pursuant to a sale, lease, license, transfer, Investment, restricted payment,
dividend or otherwise or relating to the exclusive rights thereto) to any Subsidiary that is not a Loan Party;
provided that in no event shall this sentence prohibit the Borrower or its Restricted Subsidiaries from
entering into non-exclusive licensing arrangements of Intellectual Property to a Restricted Subsidiary in the
ordinary course of business for a bona fide business purpose and (b) no Subsidiary that is not a Loan Party
shall own or hold an exclusive license to any Material Property.




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                 7.20    Chapter 11 Cases. Holdings and the Borrower will not, and will not permit any of
their Restricted Subsidiaries to, directly or indirectly:

                (a)     Except for the Carve-Out, incur, create, assume, suffer to exist or permit, or file
        any motion seeking, any other superpriority claim which is pari passu with, or senior to, the
        Obligations (except as may be set forth in the Orders or the Loan Documents);

                (b)     Incur, create, assume, suffer to exist or permit or file any motion seeking, any lien
        which is pari passu with the liens granted hereunder, (except as may be set forth in the Orders or
        the Loan Documents);

                (c)     Make or permit to be made any amendment, modification, supplement or change
        to the Orders, Bidding Procedures or the milestones (and deadlines applicable thereto) set forth in
        the Bidding Procedures Order, as applicable, (other than technical modifications to correct
        grammatical, ministerial or typographical errors) without the prior written consent of the Required
        Lenders;

                (d)      Commence any adversary proceeding, contested matter or other action (or
        otherwise support any party) asserting any claims or defenses or otherwise against (or asserting any
        surcharge under section 506(c) of the Bankruptcy Code or otherwise against) the Administrative
        Agent, any Lender, any other Secured Party and any holder of the Term Loan Obligations, and any
        lender or agent party to the Pre-Petition ABL Credit Agreement with respect to this Agreement, the
        other Loan Documents, the transactions contemplated hereby or thereby, the Pre-Petition ABL
        Credit Agreement, the other documents or agreements executed or delivered in connection
        therewith or the transactions contemplated thereby; or

                (e)     File any motion or application with the Bankruptcy Court with regard to actions
        taken outside the ordinary course of business of the Loan Parties without consulting with the
        Lenders and providing the Lenders two (2) Business Days’ (or as soon thereafter as is practicable)
        notice and the opportunity to review and comment on each such motion.

                                 SECTION 8. EVENTS OF DEFAULT

                8.1     Events of Default.

                If any of the following events shall occur and be continuing:

                (a)    the Borrower shall fail to pay any principal of any Loan or Reimbursement
        Obligation when due in accordance with the terms hereof; the Borrower shall fail to pay any interest
        on any Loan or Reimbursement Obligation, or any other amount payable hereunder or under any
        other Loan Document, within three Business Days after any such interest or other amount becomes
        due in accordance with the terms hereof; or

                (b)     any representation or warranty made or deemed made by any Loan Party herein or
        in any other Loan Document or that is contained in any certificate, document or financial or other
        statement furnished by it at any time under or in connection with this Agreement or any such other
        Loan Document shall prove to have been inaccurate in any material respect on or as of the date
        made or deemed made; or

                (c)     any Loan Party shall default in the observance or performance of any agreement
        contained in clause (i) or (ii) of Section 6.4(a) (with respect to Holdings or the Borrower only),

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      Section 6.7(a), Section 6.15, Section 6.16, Section 6.19, Section 6.20, Section 7 or Section 10.22
      of this Agreement or the Orders; or

              (d)      any Loan Party shall default in the observance or performance of any agreement
      in Section 6.2(g) and such default shall continue unremedied for a period of one (1) Business Day;
      or

              (e)     any Loan Party shall default in the observance or performance of any other
      agreement contained in this Agreement or any other Loan Document (other than as provided in
      paragraphs (a) through (c) of this Section 8.1), and such default shall continue unremedied for a
      period of 5 days after notice to the Borrower from the Administrative Agent or the Required
      Lenders; or

               (f)      any Group Member shall (i) default in making any payment of any principal of any
      Material Indebtedness (including any Guarantee Obligation, but excluding the Loans); (ii) default
      in making any payment of any interest on any such Material Indebtedness beyond the period of
      grace, if any, provided in the instrument or agreement under which such Material Indebtedness was
      created; or (iii) default in the observance or performance of any other agreement or condition
      relating to any such Material Indebtedness or contained in any instrument or agreement evidencing,
      securing or relating thereto, or any other event shall occur or condition exist, the effect of which
      default or other event or condition is to cause, or to permit the holder or beneficiary of such
      Indebtedness (or a trustee or agent on behalf of such holder or beneficiary) to cause, with the giving
      of notice if required, such Material Indebtedness to become due prior to its stated maturity or (in
      the case of any such Indebtedness constituting a Guarantee Obligation) to become payable or (iv)
      breach or default with respect to any material term of any Material Indebtedness of any Parent
      Guarantor; or

               (g)      Other than the Chapter 11 Cases, (i) a court of competent jurisdiction shall enter a
      decree or order for relief in respect of the Parent Guarantors or any of their Subsidiaries in an
      involuntary case under any Debtor Relief Laws now or hereafter in effect, which decree or order is
      not stayed; or any other similar relief shall be granted under any applicable international, federal,
      state or local law; or (ii) an involuntary case shall be commenced against the Parent Guarantors or
      any of their Subsidiaries under any Debtor Relief Laws now or hereafter in effect; or a decree or
      order of a court having jurisdiction in the premises for the appointment of a receiver, liquidator,
      sequestrator, trustee, custodian or other officer having similar powers over the Parent Guarantors
      or any of their Subsidiaries, or over any of its property, shall have been entered; or there shall have
      occurred the involuntary appointment of an interim receiver, trustee, custodian or any other person
      having similar powers of the Parent Guarantors or any of their Subsidiaries for any of its property;
      or a warrant of attachment, execution or similar process shall have been issued against any part of
      the property of the Parent Guarantors or any of their Subsidiaries, and any such event described in
      this clause (g) shall continue for sixty days without having been dismissed, bonded or discharged;
      or

               (h)      (i) an ERISA Event and/or a Foreign Plan Event shall have occurred; (ii) a trustee
      shall be appointed by a United States district court to administer any Pension Plan; (iii) the PBGC
      shall institute proceedings to terminate any Pension Plan; (iv) any Parent Guarantor, Group
      Member or any ERISA Affiliate shall have been notified by the sponsor of a Multiemployer Plan
      that it has incurred or will be assessed Withdrawal Liability to such Multiemployer Plan and such
      entity does not have reasonable grounds for contesting such Withdrawal Liability or is not
      contesting such Withdrawal Liability in a timely and appropriate manner; or (v) any other event or
      condition shall occur or exist with respect to a Plan, a Foreign Benefit Arrangement, or a Foreign

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      Plan; and in each case in clauses (i) through (v) above, such event or condition, together with all
      other such events or conditions, if any, would reasonably be expected to result in a Material Adverse
      Effect; or

               (i)     one or more judgments or decrees shall be entered against any Parent Guarantor or
      any Group Member involving in the aggregate a liability (not paid or fully covered by insurance as
      to which the relevant insurance company has not disputed coverage) of $1,000,000 or more, and
      all such judgments or decrees shall not have been vacated, discharged, satisfied, stayed or bonded,
      as applicable, pending appeal within 30 days from the entry thereof; or

               (j)     any of the Security Documents shall cease, for any reason, to be in full force and
      effect (other than pursuant to the terms hereof), or any Loan Party or any Affiliate of any Loan
      Party shall so assert, or any Lien created by any of the Security Documents shall cease to be
      enforceable and of the same effect and priority purported to be created thereby (and, for the
      avoidance of doubt, as required by the Orders); or

                (k)    the guarantees provided in the Loan Documents shall cease, for any reason, to be
      in full force and effect or any Loan Party shall so assert; or

               (l)      Other than the Chapter 11 Cases, (i) the Parent Guarantors or any of their
      Subsidiaries shall have an order for relief entered with respect to it or shall commence a voluntary
      case under any Debtor Relief Laws, now or hereafter in effect, or shall consent to the entry of an
      order for relief in an involuntary case, or to the conversion of an involuntary case to a voluntary
      case, under any such law, or shall consent to the appointment of or taking possession by a receiver,
      trustee or other custodian for any of its property; or the Parent Guarantors or any of their
      Subsidiaries shall make any assignment for the benefit of creditors; or (ii) the Parent Guarantors or
      any of their Subsidiaries shall be unable, or shall fail generally, or shall admit in writing its general
      inability, to pay its debts as such debts become due; or the board of directors (or similar governing
      body) of the Parent Guarantors or any of their Subsidiaries (or any committee thereof) shall adopt
      any resolution or otherwise authorize any action to approve any of the actions referred to in this
      Section 8.1(l) or in Section 8.1(g);

              (m)      a Change of Control shall occur; or

              (n)      any of the following shall have occurred in the Chapter 11 Cases:

                      (i)      the Closing Date shall not have occurred within five (5) calendar days of
              the Petition Date (or if such fifth calendar day is not a Business Day, the immediately
              succeeding Business Day);

                       (ii)     the Interim DIP Order (a) at any time ceases to be in full force and effect
              or (b) shall be vacated, reversed, stayed, amended, supplemented or modified without the
              prior written consent of the Administrative Agent and the Required Lenders;

                       (iii)    the Final DIP Order (a) at any time ceases to be in full force and effect,
              (b) shall be vacated, reversed, stayed, amended, supplemented or modified without the
              prior written consent of the Required Lenders, or (c) shall not have been entered by the
              Bankruptcy Court within forty (40) calendar days after the Petition Date (or if such fortieth
              calendar day is not a Business Day, the immediately succeeding Business Day);



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                    (iv)      except with the prior written consent of the Administrative Agent and the
           Required Lenders, the entry of an order in any of Chapter 11 Cases (a) staying, reversing,
           amending, supplementing, vacating or otherwise modifying any of the Loan Documents,
           the Interim DIP Order or the Final DIP Order, or (b) adversely impairing or modifying any
           of the liens, security interests, claims, rights, remedies, privileges, benefits or protections
           granted under the Loan Documents or under the Orders to the Secured Parties or the
           Prepetition Secured Parties (as defined in the Orders);

                   (v)      the failure of any of the Chapter 11 Debtors to comply with any of the
           terms or conditions of the Interim DIP Order or the Final DIP Order;

                   (vi)    an order of the Bankruptcy Court shall be entered providing for a change
           in venue with respect to any of the Chapter 11 Cases;

                  (vii)   the dismissal of any of the Chapter 11 Cases or conversion of any of the
           Chapter 11 Cases to a Chapter 7 case;

                   (viii)  the appointment or election of a Chapter 11 trustee, a responsible officer
           or an examiner (other than a fee examiner) under section 1104 of the Bankruptcy Code
           with enlarged powers (beyond those set forth in Section 1106(a)(3) and (4) of the
           Bankruptcy Code) relating to the operation of the business of any Debtor in the Chapter 11
           Cases;

                   (ix)       the entry of an order in any of the Chapter 11 Cases authorizing the
           Chapter 11 Debtors (i) to obtain additional financing under section 364(c) or (d) of the
           Bankruptcy Code that does not provide for Payment in Full; (ii) to grant any Lien, other
           than Liens expressly permitted under this Agreement and the Orders, upon or affecting any
           Collateral; or (iii) take any other action adverse to the Administrative Agent and the other
           Secured Parties’ rights and remedies under the Loan Documents or the validity of their
           Liens on the Collateral;

                   (x)     (a) the consensual use of prepetition cash collateral is terminated or
           modified, or (b) the entry of an order in any of the Chapter 11 Cases terminating or
           modifying the use of cash collateral other than as provided in this Agreement and the
           Orders, in each case, without the prior written consent of the Required Lenders;

                    (xi)    except as expressly permitted hereunder or the Orders, the entry of an
           order in any of the Chapter 11 Cases granting any claim against any Chapter 11 Debtor
           entitled to superpriority administrative expense status in any of the Chapter 11 Cases
           pursuant to section 364(c)(2) of the Bankruptcy Code that is pari passu with or senior to
           the claims of the Administrative Agent and the Lenders or the DIP ABL Adequate
           Protection Claims (as defined in the Orders) (without the prior written consent of the
           Required Lenders);

                    (xii)    except as expressly permitted hereunder or the Orders, the entry of an
           order in any of the Chapter 11 Cases granting any Lien in Collateral that is pari passu with
           or senior to any Lien granted to the Administrative Agent or the Lenders, or any DIP ABL
           Adequate Protection Lien (as defined in the Orders) (without the prior written consent of
           the Administrative Agent and the Required Lenders);



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                   (xiii)  except as provided in the Orders, the making of any adequate protection
           payment or the granting of any adequate protection (including, without limitation, the
           granting of any Liens on the Collateral, superpriority claims, the right to receive cash
           payments or otherwise), without the prior written consent of the Required Lenders;

                    (xiv)     the Chapter 11 Debtors’ “exclusive period” under Section 1121 of the
           Bankruptcy Code for the filing and/or solicitation of a chapter 11 plan is terminated or
           modified for any reason, provided that termination of such exclusivity periods is not the
           result of any action by a Lender;

                   (xv)     the payment of, or any Chapter 11 Debtors file a motion or application
           seeking authority to pay, any Prepetition Debt or other prepetition claim other than (A) as
           provided in any of the First Day Orders, (B) to the extent such payment is expressly
           permitted pursuant to this Agreement and the Approved DIP Budget, or (C) with the prior
           written consent of the Required Lenders;

                    (xvi)    the entry of an order in any of the Chapter 11 Cases granting relief from
           or otherwise modifying any stay of proceeding (including the automatic stay) to allow a
           third party to execute upon or enforce a Lien against any assets of the Chapter 11 Debtors
           that have an aggregate value in excess of $2.5 million, or with respect to any Lien of or the
           granting of any Lien on any assets of the Chapter 11 Debtors to any state or local
           environmental or regulatory agency or authority having priority over the Liens in favor of
           the Secured Parties without the prior written consent of the Required Lenders;

                     (xvii) (A) any Chapter 11 Debtor shall (i) challenge or contest the validity or
           enforceability of the Orders or any Loan Document or deny that it has further liability
           thereunder, (ii) challenge or contest the nature, extent, amount, enforceability, validity,
           priority or perfection of the Obligations, Liens securing the Obligations, the DIP
           Superpriority Claims (as defined in the Orders), Loan Documents, Prepetition Secured
           Obligations (as defined in the Orders), Adequate Protection Liens (as defined in the
           Orders), Adequate Protection Claims (as defined in the Orders), the Liens securing the
           Prepetition Secured Obligations (as defined in the Orders), (iii) assert any claim, defense
           or cause of action that seeks to avoid, recharacterize, subordinate, disgorge, disallow,
           impair or offset all or any portion of the Obligations, Liens securing the Obligations, the
           DIP Superpriority Claims, Loan Documents, Adequate Protection Liens, Adequate
           Protection Claims, the Prepetition Secured Obligations (as defined in the Orders), and the
           Liens securing the Prepetition Secured Obligations (as defined in the Orders) (iv)
           investigate, join or file any motion, application or other pleading in support of, or publicly
           support any other Person that has asserted any of the claims, challenges or other requested
           relief contemplated in clauses (i) or (ii) above or standing to pursue such claims challenged
           or other requested relief, or fails to timely contest such claims, challenges or other
           requested relief in good faith (provided, that responding to any investigation conducted by
           an Official Committee or other party with respect to the nature, extent, amount,
           enforceability, validity, priority or perfection of the Prepetition Secured Obligations (as
           defined in the Orders), the Liens securing the Prepetition Secured Obligations (as defined
           in the Orders), subject in each case to the Orders, shall not, in and of itself, constitute an
           Event of Default hereunder); or (B) the entry of a judgment or order in any of the Chapter
           11 Cases sustaining any of the claims, challenges or other relief contemplated in clauses
           (i) or (ii) above made by a Debtor or any other party;



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                   (xviii) the entry of an order in any of the Chapter 11 Cases, avoiding,
           disallowing, offsetting, recharacterizing, subordinating, disgorging or requiring repayment
           of any payments made to the Secured Parties on account of the Obligations owing under
           the Orders, this Agreement, the other Loan Documents or any prepetition loan documents;

                   (xix)    the entry of any order in any of the Chapter 11 Cases (a) charging any of
           the Collateral with respect to the Secured Parties, whether under Section 506(c) of the
           Bankruptcy Code or otherwise or (b) charging any of the prepetition collateral securing the
           ABL Claims (as defined in the Orders) with respect to the secured parties in respect of the
           ABL Claims, whether under Section 506(c) of the Bankruptcy Code or otherwise;

                    (xx)     any Chapter 11 Debtor shall enter into any definitive agreement for, or
           consummates any sale or other disposition of all or any portion of the Collateral outside
           the ordinary course of business pursuant to Section 363 of the Bankruptcy Code or
           otherwise (other than in ordinary course of business that is expressly permitted by the
           Approved DIP Budget and this Agreement), that does not pay the Obligations (other than
           indemnification or reimbursement obligations under Section 2.18, 2.19(a), 2.19(d) or 2.20
           for which the Borrower has not been notified and contingent indemnification obligations
           that are expressly stated to survive repayment of the Facility) in full in cash (other than
           Letters of Credit cash collateralized or otherwise backstopped as required by the terms of
           this Agreement or in a manner satisfactory to the applicable Issuing Lender and the
           Administrative Agent) on the closing date thereof, without the prior written consent of the
           Administrative Agent and the Required Lenders;

                   (xxi)   the Restructuring Support Agreement is terminated by any party thereto
           or otherwise terminates in accordance with the terms the thereof, or the Restructuring
           Support Agreement is amended, modified or waived in a manner materially adverse to
           Chapter 11 Debtors or the Lenders;

                     (xxii) the filing by any Chapter 11 Debtor of any chapter 11 plan or any
           disclosure statement attendant to a chapter 11 plan that purports to not pay the Obligations
           (other than indemnification or reimbursement obligations under Section 2.18, 2.19(a),
           2.19(d) or 2.20 for which the Borrower has not been notified and contingent
           indemnification obligations that are expressly stated to survive repayment of the Facility)
           in full in cash (other than Letters of Credit cash collateralized or otherwise backstopped as
           required by the terms of this Agreement or in a manner satisfactory to the applicable Issuing
           Lender and the Administrative Agent) on the effective date thereof without the consent of
           the Administrative Agent and the Required Lenders;

                   (xxiii) if any Chapter 11 Debtor or any of its Subsidiaries is enjoined, restrained,
           or in any way prevented by court order or a Governmental Authority from continuing to
           conduct all or any material part of the business affairs of the Chapter 11 Debtors and their
           Subsidiaries;

                   (xxiv) any order having been entered or granted (or requested, unless actively
           opposed by the Loan Parties) by either the Bankruptcy Court or any other court of
           competent jurisdiction adversely impacting the rights of the Administrative Agent and the
           other Secured Parties under the Loan Documents;




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                   (xxv)    any Loan Party or any Subsidiary thereof files any motion, pleading or
           other request with the Bankruptcy Court seeking to modify or affect any of the rights of
           the Administrative Agent or the Lenders under the Orders or the Loan Documents;

                   (xxvi) the filing of a motion, pleading or the taking of any action in the Chapter
           11 Cases by any Loan Party seeking the entry of an order by the Bankruptcy Court
           precluding the Administrative Agent from having the right to, or being permitted to, or
           precluding any Secured Party from directing or instructing the Administrative Agent to
           exercise the right to, “credit bid” in any manner in respect of any applicable collateral;

                   (xxvii) any Loan Party or any Subsidiary of a Loan Party shall file a motion
           (without consent of the Required Lenders) seeking, or the Bankruptcy Court shall enter an
           order granting, relief from or modifying the automatic stay of Section 362 of the
           Bankruptcy Code to allow any creditor (other than the Administrative Agent) to execute
           upon or enforce a Lien on any Collateral, solely if the value of such collateral exceeds
           $250,000;

                    (xxviii) the entry by a Loan Party into any proposed settlement of any Claim,
           litigation, dispute, cause of action, or other proceeding, in each case, against the Debtors
           which requires a payment by the Debtors of any amount greater than $250,000;

                   (xxix) any Chapter 11 Debtor initiates, commences, joins, publicly supports,
           pursues, files any motion, application or other pleading in support of, the entry of an order
           or any of the relief described in clauses (iv) through (xxvii) in this Section 8.1(n);

                   (xxx) other than in the ordinary course of business and consistent with past
           practice, a Loan Party shall (i) enter into any material agreement, (ii) amend, supplement,
           modify, or terminate any material agreement, (iii) other than to the extent resulting from
           the Chapter 11 Cases, allow any material permit, license, or regulatory approval to be
           terminated, revoked, suspended, or modified, in each case without the prior written consent
           of the Administrative Agent and the Required Lenders, or (iv) enter into, terminate, or
           modify any material operational contracts, leases, or other agreements that would,
           individually or in the aggregate, reasonably be expected to have a material and adverse
           effect on the Loan Parties, taken as a whole, without the consent of the Administrative
           Agent and the Required Lenders;

                   (xxxi) an “Event of Default” under and as defined in the DIP Term Loan Credit
           Agreement (other than an event of default pursuant to Section 8.1(a) of the DIP Term Loan
           Credit Agreement which shall be an immediate Event of Default under Section 8.1(a)(f)
           hereof) has occurred and such Event of Default has not been waived within five (5) days
           of the occurrence thereof;

                   (xxxii) a failure of the Loan Parties to satisfy any of the Milestones or to satisfy
           the deadlines in the Bidding Procedures Order with respect to the Debtors’ sales process;
           or

                    (xxxiii) a default under the Restructuring Support Agreement by any of the Loan
           Parties or any of its Affiliates or Subsidiaries party to the Restructuring Support Agreement
           shall have occurred and be continuing (with all applicable grace periods having expired);



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then, and in any such event, either or both of the following actions may be taken: (i) with the consent of
the Required Lenders, the Administrative Agent may, or upon the request of the Required Lenders, the
Administrative Agent shall, by notice to the Borrower declare the Revolving Commitments to be terminated
forthwith, whereupon the Revolving Commitments shall immediately terminate; and (ii) with the consent
of the Required Lenders, the Administrative Agent may, or upon the request of the Required Lenders, the
Administrative Agent shall, by notice to the Borrower, declare the Loans (with accrued interest thereon)
and all other amounts owing under this Agreement and the other Loan Documents (including all amounts
of L/C Obligations, whether or not the beneficiaries of the then outstanding Letters of Credit shall have
presented the documents required thereunder) to be due and payable forthwith, whereupon the same shall
immediately become due and payable. With respect to all Letters of Credit with respect to which
presentment for honor shall not have occurred at the time of an acceleration pursuant to this paragraph, the
Borrower shall at such time deposit in a cash collateral account opened by the Administrative Agent an
amount equal to 103% of the aggregate then undrawn and unexpired amount of such Letters of Credit.
Amounts held in such cash collateral account shall be applied by the Administrative Agent to the payment
of drafts drawn under such Letters of Credit, and the unused portion thereof after all such Letters of Credit
shall have expired or been fully drawn upon, if any, shall be applied to repay other obligations of the
Borrower hereunder and under the other Loan Documents. After all such Letters of Credit shall have
expired or been fully drawn upon, all Reimbursement Obligations shall have been satisfied and all other
obligations of the Borrower hereunder and under the other Loan Documents shall have been paid in full
and no Letters of Credit shall be outstanding, the balance, if any, in such cash collateral account shall be
returned to the Borrower (or such other Person as may be lawfully entitled thereto). Except as expressly
provided above in this Section, presentment, demand, protest and all other notices of any kind are hereby
expressly waived by the Borrower.

In addition to any other rights and remedies granted to the Administrative Agent and the Lenders in the
Loan Documents, the Administrative Agent on behalf of the Lenders may exercise all rights and remedies
of a secured party under the New York Uniform Commercial Code or any other applicable law. Without
limiting the generality of the foregoing, the Administrative Agent, without demand of performance or other
demand, presentment, protest, advertisement or notice of any kind (except any notice required by law
referred to below) to or upon any Loan Party or any other Person (all and each of which demands, defenses,
advertisements and notices are hereby waived), may in such circumstances forthwith collect, receive,
appropriate and realize upon the Collateral, or any part thereof, or consent to the use by the Loan Parties of
any cash collateral arising in respect of the Collateral on such terms as the Administrative Agent deems
reasonable, and/or may forthwith sell, lease, assign give an option or options to purchase or otherwise
dispose of and deliver, or acquire by credit bid on behalf of the Lenders, the Collateral or any part thereof
(or contract to do any of the foregoing), in one or more parcels at public or private sale or sales, at any
exchange, broker’s board or office of the Administrative Agent or any Lender or elsewhere, upon such
terms and conditions as it may deem advisable and at such prices as it may deem best, for cash or on credit
or for future delivery, all without assumption of any credit risk. The Administrative Agent or any Lender
shall have the right upon any such public sale or sales, and, to the extent permitted by law, upon any such
private sale or sales, to purchase the whole or any part of the Collateral so sold, free of any right or equity
of redemption in any Loan Party, which right or equity is hereby waived and released. The Borrower further
agrees, at the Administrative Agent’s request, to assemble, or cause the applicable Loan Party to assemble,
the Collateral and make it available to the Administrative Agent at places which the Administrative Agent
shall reasonably select, whether at the Borrower’s or such Loan Party’s premises or elsewhere. The
Administrative Agent shall apply the net proceeds of any action taken by it pursuant to this Section 8.1,
after deducting all reasonable costs and expenses of every kind incurred in connection therewith or
incidental to the care or safekeeping of any of the Collateral or in any other way relating to the Collateral
or the rights of the Administrative Agent and the Lenders hereunder, including reasonable attorneys’ fees
and disbursements, to the payment in whole or in part of the obligations of the Loan Parties under the Loan
Documents, in such order as the Administrative Agent may elect, and only after such application and after

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the payment by the Administrative Agent of any other amount required by any provision of law, including
Section 9-615(a)(3) of the New York UCC, need the Administrative Agent account for the surplus, if any,
to any Loan Party. To the extent permitted by applicable law, the Borrower on behalf of itself and the other
Loan Parties, waives all claims, damages and demands it or any other Loan Party may acquire against the
Administrative Agent or any Lender arising out of the exercise by them of any rights hereunder, except to
the extent such damages are found by a final and nonappealable decision of a court of competent jurisdiction
to have resulted from the gross negligence or willful misconduct of the Administrative Agent or such
Lender, as the case may be. If any notice of a proposed sale or other disposition of Collateral shall be
required by law, such notice shall be deemed reasonable and proper if given at least 10 days before such
sale or other disposition.

                8.2      Bankruptcy Code and Other Remedies.

                (a)     General. During the continuance of an Event of Default, subject to the Orders, the
        Administrative Agent may exercise, in addition to all other rights and remedies granted to it in this
        Agreement (including, without limitation, Section 8.1) and in any other instrument or agreement
        securing, evidencing or relating to any Obligation, all rights and remedies of a secured party under
        the Bankruptcy Code, the Uniform Commercial Code and any other applicable law.

                 (b)       Disposition of Collateral. Subject to the Orders, without limiting the generality of
        the foregoing, the Administrative Agent may, without demand of performance or other demand,
        presentment, protest, advertisement or notice of any kind (except any notice required by the Orders
        and any notice required by law referred to below) to or upon any Loan Party or any other Person
        (all and each of which demands, defenses, advertisements and notices are hereby waived (except
        as required by the Orders)), during the continuance of any Event of Default (personally or through
        its agents or attorneys), (i) enter upon the premises where any Collateral is located, without any
        obligation to pay rent, through self- help, without judicial process, without first obtaining a final
        judgment or giving any Loan Party or any other Person notice or opportunity for a hearing on the
        Administrative Agent’s claim or action, (ii) collect, receive, appropriate and realize upon any
        Collateral, (iii) dispose of, sell, grant option or options to purchase and deliver any Collateral (enter
        into contractual obligations to do any of the foregoing), in one or more parcels at public or private
        sale or sales, at any exchange, broker’s board or office of any Secured Party or elsewhere upon
        such terms and conditions as it may deem advisable and at such prices as it may deem best, for cash
        or on credit or for future delivery without assumption of any credit risk, (iv) withdraw all cash and
        Cash Equivalents in any deposit account or securities account of a Loan Party (other than an
        Excluded Deposit Account) and apply such cash and Cash Equivalents and other cash, if any, then
        held by it as Collateral in satisfaction of the Obligations, and (v) give notice and take sole
        possession and control of all amounts on deposit in or credited to any deposit account or securities
        account (other than an Excluded Deposit Account) pursuant to any related control agreement. The
        Administrative Agent shall have the right, upon any such public sale or sales and, to the extent
        permitted by the Bankruptcy Code and other applicable Requirements of Law, upon any such
        private sale, to purchase the whole or any part of the Collateral so sold (and, in lieu of actual
        payment of the purchase price, may “credit bid” or otherwise set off the amount of such price
        against the Obligations), free of any right or equity of redemption of any Loan Party, which right
        or equity is hereby waived and released.

                 (c)       Management of the Collateral. Subject to the Orders, each Loan Party further
        agrees, that, during the continuance of any Event of Default, (i) at the Administrative Agent’s
        request, it shall assemble the Collateral and make it available to the Administrative Agent at places
        that the Administrative Agent shall reasonably select, whether at such Loan Party’s premises or
        elsewhere, (ii) without limiting the foregoing, the Administrative Agent also has the right to require

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      that each Loan Party store and keep any Collateral pending further action by the Administrative
      Agent and, while any such Collateral is so stored or kept, provide such guards and maintenance
      services as shall be necessary to protect the same and to preserve and maintain such Collateral in
      good condition, (iii) until the Administrative Agent is able to sell any Collateral, the Administrative
      Agent shall have the right to hold or use such Collateral to the extent that it deems appropriate for
      the purpose of preserving the Collateral or its value or for any other purpose deemed appropriate
      by the Administrative Agent and (iv) the Administrative Agent may, if it so elects, seek the
      appointment of a receiver or keeper to take possession of any Collateral and to enforce any of the
      Administrative Agent’s remedies (for the benefit of the Secured Parties), with respect to such
      appointment without prior notice or hearing as to such appointment. The Administrative Agent
      shall not have any obligation to any Loan Party to maintain or preserve the rights of any Loan Party
      as against third parties with respect to any Collateral while such Collateral is in the possession of
      the Administrative Agent.

               (d)     Direct Obligation. Subject to the Orders, neither the Administrative Agent nor any
      other Secured Party shall be required to make any demand upon, or pursue or exhaust any right or
      remedy against, any Loan Party or any other Person with respect to the payment of the Obligations
      or to pursue or exhaust any right or remedy with respect to any Collateral therefor or any direct or
      indirect guaranty thereof. All of the rights and remedies of the Administrative Agent and any other
      Secured Party under any Loan Document shall be cumulative, may be exercised individually or
      concurrently and not exclusive of any other rights or remedies provided by any Requirements of
      Law. To the extent it may lawfully do so, each Loan Party absolutely and irrevocably waives and
      relinquishes the benefit and advantage of, and covenants not to assert against the Administrative
      Agent or any Lender or other Secured Party, any valuation, stay, appraisement, extension,
      redemption or similar laws and any and all rights or defenses it may have as a surety, now or
      hereafter existing, arising out of the exercise by them of any rights hereunder. If any notice of a
      proposed sale or other disposition of any Collateral shall be required by law, such notice shall be
      deemed reasonable and proper if given at least 10 calendar days before such sale or other
      disposition.

                (e)     Commercially Reasonable. To the extent that any Requirements of Law impose
      duties on the Administrative Agent to exercise remedies in a commercially reasonable manner,
      each Loan Party acknowledges and agrees that it is not commercially unreasonable for the
      Administrative Agent to do any of the following: (i) fail to incur significant costs, expenses or other
      liabilities reasonably deemed as such by the Administrative Agent to prepare any Collateral for
      disposition or otherwise to complete raw material or work in process into finished goods or other
      finished products for disposition; (ii) fail to obtain permits, or other consents, for access to any
      Collateral to sell or for the collection or sale of any Collateral, or, if not required by other
      Requirements of Law, fail to obtain permits or other consents for the collection or disposition of
      any Collateral; (iii) fail to exercise remedies against account debtors or other Persons obligated on
      any Collateral or to remove Liens on any Collateral or to remove any adverse claims against any
      Collateral; (iv) advertise dispositions of any Collateral through publications or media of general
      circulation, whether or not such Collateral is of a specialized nature or to contact other Persons,
      whether or not in the same business as any Loan Party, for expressions of interest in acquiring any
      such Collateral; (v) exercise collection remedies against account debtors and other Persons
      obligated on any Collateral, directly or through the use of collection agencies or other collection
      specialists, hire one or more professional auctioneers to assist in the disposition of any Collateral,
      whether or not such Collateral is of a specialized nature or, to the extent deemed appropriate by the
      Administrative Agent, obtain the services of other brokers, investment bankers, consultants and
      other professionals to assist the Administrative Agent in the collection or disposition of any
      Collateral, or utilize Internet sites that provide for the auction of assets of the types included in the

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        Collateral or that have the reasonable capacity of doing so, or that match buyers and sellers of assets
        to dispose of any Collateral; (vi) dispose of assets in wholesale rather than retail markets; (vii)
        disclaim disposition warranties, such as title, possession or quiet enjoyment; or (viii) purchase
        insurance or credit enhancements to insure the Administrative Agent against risks of loss, collection
        or disposition of any Collateral or to provide to the Administrative Agent a guaranteed return from
        the collection or disposition of any Collateral. Each Loan Party acknowledges that the purpose of
        clauses (i) through (viii) of this Section 8.2(e) is to provide a non-exhaustive list of actions or
        omissions that are commercially reasonable when exercising remedies against any Collateral and
        that other actions or omissions by the Secured Parties shall not be deemed commercially
        unreasonable solely on account of not being indicated in such clauses. Without limitation upon the
        foregoing, nothing contained herein shall be construed to grant any rights to any Loan Party or to
        impose any duties on the Administrative Agent that would not have been granted or imposed by
        this Agreement or by applicable Requirements of Law in the absence of this Section 8.2.

                 (f)      Deficiency. Each Loan Party shall remain liable for any deficiency if the proceeds
        of any sale or other disposition of any Collateral are insufficient to pay the Obligations and the fees
        and disbursements of any attorney employed by the Administrative Agent or any other Secured
        Party to collect such deficiency.

                                        SECTION 9. THE AGENTS

                 9.1     Appointment.

                 (a)     Each Lender hereby irrevocably appoints the entity named as Administrative
Agent in the heading of this Agreement and its successors and assigns to serve as the administrative agent
under the Loan Documents and each Lender, the Swingline Lender and each Issuing Lender authorizes the
Administrative Agent to take such actions as agent on its behalf and to exercise such powers under this
Agreement and the other Loan Documents as are delegated to the Administrative Agent under such
agreements and to exercise such powers as are reasonably incidental thereto. Without limiting the
foregoing, each Lender hereby authorizes the Administrative Agent to execute and deliver, and to perform
its obligations under, each of the Loan Documents to which the Administrative Agent is a party, and to
exercise all rights, powers and remedies that the Administrative Agent may have under such Loan
Documents.

                  (b)     As to any matters not expressly provided for herein and in the other Loan
Documents (including enforcement or collection), the Administrative Agent shall not be required to
exercise any discretion or take any action, but shall be required to act or to refrain from acting (and shall be
fully protected in so acting or refraining from acting) upon the written instructions of the Required Lenders
(or such other number or percentage of the Lenders as shall be necessary, pursuant to the terms in the Loan
Documents), and, unless and until revoked in writing, such instructions shall be binding upon each Lender;
provided, however, that the Administrative Agent shall not be required to take any action that (i) the
Administrative Agent in good faith believes exposes it to liability unless the Administrative Agent receives
an indemnification and is exculpated in a manner satisfactory to it from the Lenders, the Swingline Lender
and the Issuing Lenders with respect to such action or (ii) is contrary to this Agreement or any other Loan
Document or applicable law, including any action that may be in violation of the automatic stay under any
requirement of law relating to bankruptcy, insolvency or reorganization or relief of debtors or that may
effect a forfeiture, modification or termination of property of a Defaulting Lender in violation of any
requirement of law relating to bankruptcy, insolvency or reorganization or relief of debtors; provided,
further, that the Administrative Agent may seek clarification or direction from the Required Lenders (or,
for matters that require consent of a greater or different number or percentage pursuant to Section 10.1,
such other number or percentage of Lenders) prior to the exercise of any such instructed action and may

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refrain from acting until such clarification or direction has been provided. Except as expressly set forth in
the Loan Documents, the Administrative Agent shall not have any duty to disclose, and shall not be liable
for the failure to disclose, any information relating to Holdings, any of its Subsidiaries or any Affiliate of
any of the foregoing that is communicated to or obtained by the Person serving as Administrative Agent or
any of its Affiliates in any capacity. Nothing in this Agreement shall require the Administrative Agent to
expend or risk its own funds or otherwise incur any financial liability in the performance of any of its duties
hereunder or in the exercise of any of its rights or powers if it shall have reasonable grounds for believing
that repayment of such funds or adequate indemnity against such risk or liability is not reasonably assured
to it.

                 (c)      In performing its functions and duties hereunder and under the other Loan
Documents, the Administrative Agent is acting solely on behalf of the Lenders, the Swingline Lender and
the Issuing Lenders (except in limited circumstances expressly provided for herein relating to the
maintenance of the Register), and its duties are entirely mechanical and administrative in nature. Without
limiting the generality of the foregoing, the Administrative Agent does not assume and shall not be deemed
to have assumed any obligation or duty or any other relationship as the agent, fiduciary or trustee of or for
any Lender, other than as expressly set forth herein and in the other Loan Documents, regardless of whether
a Default or an Event of Default has occurred and is continuing (and it is understood and agreed that the
use of the term “agent” (or any similar term) herein or in any other Loan Document with reference to the
Administrative Agent is not intended to connote any fiduciary duty or other implied (or express) obligations
arising under agency doctrine of any applicable law, and that such term is used as a matter of market custom
and is intended to create or reflect only an administrative relationship between contracting parties);
additionally, each Lender agrees that it will not assert any claim against the Administrative Agent based on
an alleged breach of fiduciary duty by the Administrative Agent in connection with this Agreement and/or
the transactions contemplated hereby.

                (d)     Nothing in this Agreement or any Loan Document shall require the Administrative
Agent to account to any Lender for any sum or the profit element of any sum received by the Administrative
Agent for its own account.

                (e)      The Administrative Agent may perform any of its duties and exercise its rights and
powers hereunder or under any other Loan Document by or through any one or more sub-agents appointed
by the Administrative Agent. The Administrative Agent and any such sub-agent may perform any of their
respective duties and exercise their respective rights and powers through their respective Related Parties.
The exculpatory provisions of this Article shall apply to any such sub-agent and to the Related Parties of
the Administrative Agent and any such sub-agent, and shall apply to their respective activities pursuant to
this Agreement. The Administrative Agent shall not be responsible for the negligence or misconduct of any
sub-agent except to the extent that a court of competent jurisdiction determines in a final and nonappealable
judgment that the Administrative Agent acted with gross negligence or willful misconduct in the selection
of such sub-agent.

                  (f)     No Arranger shall have obligations or duties whatsoever in such capacity under
this Agreement or any other Loan Document and shall incur no liability hereunder or thereunder in such
capacity, but all such persons shall have the benefit of the indemnities provided for hereunder.

                 (g)      In case of the pendency of any proceeding with respect to any Loan Party under
any Federal, state or foreign bankruptcy, insolvency, receivership or similar law now or hereafter in effect,
the Administrative Agent (irrespective of whether the principal of any Loan or any Reimbursement
Obligation shall then be due and payable as herein expressed or by declaration or otherwise and irrespective
of whether the Administrative Agent shall have made any demand on the Borrower) shall be entitled and
empowered (but not obligated) by intervention in such proceeding or otherwise:

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                          (i)     to file and prove a claim for the whole amount of the principal and interest
                 owing and unpaid in respect of the Loans and all other Obligations that are owing and
                 unpaid and to file such other documents as may be necessary or advisable in order to have
                 the claims of the Lenders and the Administrative Agent (including any claim under
                 Sections 2.12, 2.13, 2.15, 2.17 and 9.3) allowed in such judicial proceeding; and(ii) to
                 collect and receive any monies or other property payable or deliverable on any such claims
                 and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any such
proceeding is hereby authorized by each Lender and each other Secured Party to make such payments to
the Administrative Agent and, in the event that the Administrative Agent shall consent to the making of
such payments directly to the Lenders or the other Secured Parties, to pay to the Administrative Agent any
amount due to it, in its capacity as the Administrative Agent, under the Loan Documents (including under
Sections 9.3 and 9.7). Nothing contained herein shall be deemed to authorize the Administrative Agent to
authorize or consent to or accept or adopt on behalf of any Lender, Swingline Lender or Issuing Lender any
plan of reorganization, arrangement, adjustment or composition affecting the Obligations or the rights of
any Lender, Swingline Lender or Issuing Lender or to authorize the Administrative Agent to vote in respect
of the claim of any Lender or Issuing Lender in any such proceeding.

                 (h)      The provisions of this Section are solely for the benefit of the Administrative
Agent, the Lenders, the Swingline Lender and the Issuing Lenders, and, except solely to the extent of
Holdings’s or the Borrower’s rights to consent pursuant to and subject to the conditions set forth in this
Section, none of Holdings or any Subsidiary, or any of their respective Affiliates, shall have any rights as
a third party beneficiary under any such provisions. Each Secured Party, whether or not a party hereto, will
be deemed, by its acceptance of the benefits of the Collateral and of the Guarantees of the Obligations
provided under the Loan Documents, to have agreed to the provisions of this Section.

                 9.2      Administrative Agent’s Reliance, Indemnification, Etc..

                  (a)     Neither the Administrative Agent nor any of its Related Parties shall be (i) liable
for any action taken or omitted to be taken by such party, the Administrative Agent or any of its Related
Parties under or in connection with this Agreement or the other Loan Documents (x) with the consent of or
at the request of the Required Lenders (or such other number or percentage of the Lenders as shall be
necessary, or as the Administrative Agent shall believe in good faith to be necessary, under the
circumstances as provided in the Loan Documents) or (y) in the absence of its own gross negligence or
willful misconduct (such absence to be presumed unless otherwise determined by a court of competent
jurisdiction by a final and non-appealable judgment) or (ii) responsible in any manner to any of the Lenders
for any recitals, statements, representations or warranties made by any Loan Party or any officer thereof
contained in this Agreement or any other Loan Document or in any certificate, report, statement or other
document referred to or provided for in, or received by the Administrative Agent under or in connection
with, this Agreement or any other Loan Document or for the value, validity, effectiveness, genuineness,
enforceability or sufficiency of this Agreement or any other Loan Document or for any failure of any Loan
Party to perform its obligations hereunder or thereunder.

                  (b)        The Administrative Agent shall be deemed not to have knowledge of any (i) notice
of any of the events or circumstances set forth or described in Section 6.7 unless and until written notice
thereof stating that it is a “notice under Section 6.7” in respect of this Agreement and identifying the specific
clause under said Section is given to the Administrative Agent by the Borrower, or (ii) notice of any Default
or Event of Default unless and until written notice thereof (stating that it is a “notice of default”) is given
to the Administrative Agent by the Borrower, a Lender, the Swingline Lender or an Issuing Lender, and the
Administrative Agent shall not be responsible for or have any duty to ascertain or inquire into (i) any

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statement, warranty or representation made in or in connection with any Loan Document, (ii) the contents
of any certificate, report or other document delivered thereunder or in connection therewith, (iii) the
performance or observance of any of the covenants, agreements or other terms or conditions set forth in
any Loan Document or the occurrence of any Default, (iv) the sufficiency, validity, enforceability,
effectiveness or genuineness of any Loan Document or any other agreement, instrument or document, (v)
the satisfaction of any condition set forth in Article IV or elsewhere in any Loan Document, other than to
confirm receipt of items (which on their face purport to be such items) expressly required to be delivered
to the Administrative Agent or satisfaction of any condition that expressly refers to the matters described
therein being acceptable or satisfactory to the Administrative Agent or (vi) the creation, perfection or
priority of Liens on the Collateral.

                  (c)      Without limiting the foregoing, the Administrative Agent (i) may treat the payee
of any promissory note as its holder until such promissory note has been assigned in accordance with
Section 10.6, (ii) may rely on the Register to the extent set forth in Section 10.6(b), (iii) may consult with
legal counsel (including counsel to the Borrower), independent public accountants and other experts
selected by it, and shall not be liable for any action taken or omitted to be taken in good faith by it in
accordance with the advice of such counsel, accountants or experts, (iv) makes no warranty or
representation to any Lender, Swingline Lender or Issuing Lender and shall not be responsible to any
Lender, Swingline Lender or Issuing Lender for any statements, warranties or representations made by or
on behalf of any Loan Party in connection with this Agreement or any other Loan Document, (v) in
determining compliance with any condition hereunder to the making of a Loan, or the issuance of a Letter
of Credit, that by its terms must be fulfilled to the satisfaction of a Lender, Swingline Lender or an Issuing
Lender, may presume that such condition is satisfactory to such Lender, Swingline Lender or Issuing Lender
unless the Administrative Agent shall have received notice to the contrary from such Lender, Swingline
Lender or Issuing Lender sufficiently in advance of the making of such Loan or the issuance of such Letter
of Credit and (vi) shall be entitled to rely on, and shall incur no liability under or in respect of this Agreement
or any other Loan Document by acting upon, any notice, consent, certificate or other instrument or writing
(which writing may be a fax, any electronic message, Internet or intranet website posting or other
distribution) or any statement made to it orally or by telephone and believed by it to be genuine and signed
or sent or otherwise authenticated by the proper party or parties (whether or not such Person in fact meets
the requirements set forth in the Loan Documents for being the maker thereof).

                   (d)     The Lenders agree to indemnify the Administrative Agent and its officers,
directors, employees, affiliates, agents, advisors and controlling persons (each, an “Agent Indemnitee”) (to
the extent not reimbursed by Holdings or the Borrower and without limiting the obligation of Holdings or
the Borrower to do so), ratably according to their respective Aggregate Exposure Percentages in effect on
the date on which indemnification is sought under this Section (or, if indemnification is sought after the
date upon which the Revolving Commitments shall have terminated and the Loans shall have been paid in
full, ratably in accordance with such Aggregate Exposure Percentages immediately prior to such date), from
and against any and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs,
expenses or disbursements of any kind whatsoever that may at any time (whether before or after the
payment of the Loans) be imposed on, incurred by or asserted against such Agent Indemnitee in any way
relating to or arising out of, the Revolving Commitments, this Agreement, any of the other Loan Documents
or any documents contemplated by or referred to herein or therein or the transactions contemplated hereby
or thereby or any action taken or omitted by such Agent Indemnitee under or in connection with any of the
foregoing; provided that no Lender shall be liable for the payment of any portion of such liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements that are
found by a final and nonappealable decision of a court of competent jurisdiction to have resulted from such
Agent Indemnitee’s gross negligence or willful misconduct (it being understood that pending the outcome
of any such decision, the Lenders remain obligated to pay amounts on a current basis). The agreements in


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this Section shall survive the termination of this Agreement and the payment of the Loans and all other
amounts payable hereunder.

                9.3     Posting of Communications.

                 (a)   The Borrower agrees that the Administrative Agent may, but shall not be obligated
to, make any Communications available to the Lenders, the Swingline Lender and the Issuing Lenders by
posting the Communications on IntraLinks™, DebtDomain, SyndTrak, ClearPar or any other electronic
platform chosen by the Administrative Agent to be its electronic transmission system (the “Approved
Electronic Platform”).

                (b)      Although the Approved Electronic Platform and its primary web portal are secured
with generally-applicable security procedures and policies implemented or modified by the Administrative
Agent from time to time (including, as of the Closing Date, a user ID/password authorization system) and
the Approved Electronic Platform is secured through a per-deal authorization method whereby each user
may access the Approved Electronic Platform only on a deal-by-deal basis, each of the Lenders, the
Swingline Lender, each of the Issuing Lenders and the Borrower acknowledges and agrees that the
distribution of material through an electronic medium is not necessarily secure, that the Administrative
Agent is not responsible for approving or vetting the representatives or contacts of any Lender that are
added to the Approved Electronic Platform, and that there may be confidentiality and other risks associated
with such distribution. Each of the Lenders, the Swingline Lender, each of the Issuing Lenders and the
Borrower hereby approves distribution of the Communications through the Approved Electronic Platform
and understands and assumes the risks of such distribution.

             (c)  THE    APPROVED      ELECTRONIC     PLATFORM   AND    THE
COMMUNICATIONS ARE PROVIDED “AS IS” AND “AS AVAILABLE”. THE APPLICABLE
PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE ACCURACY OR COMPLETENESS OF
THE COMMUNICATIONS, OR THE ADEQUACY OF THE APPROVED ELECTRONIC PLATFORM
AND EXPRESSLY DISCLAIM LIABILITY FOR ERRORS OR OMISSIONS IN THE APPROVED
ELECTRONIC PLATFORM AND THE COMMUNICATIONS. NO WARRANTY OF ANY KIND,
EXPRESS, IMPLIED OR STATUTORY, INCLUDING ANY WARRANTY OF MERCHANTABILITY,
FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT OF THIRD PARTY RIGHTS OR
FREEDOM FROM VIRUSES OR OTHER CODE DEFECTS, IS MADE BY THE APPLICABLE
PARTIES IN CONNECTION WITH THE COMMUNICATIONS OR THE APPROVED ELECTRONIC
PLATFORM. IN NO EVENT SHALL THE ADMINISTRATIVE AGENT, ANY ARRANGER OR ANY
OF THEIR RESPECTIVE RELATED PARTIES (COLLECTIVELY, “APPLICABLE PARTIES”)
HAVE ANY LIABILITY TO ANY LOAN PARTY, ANY LENDER, THE SWINGLINE LENDER, ANY
ISSUING LENDER OR ANY OTHER PERSON OR ENTITY FOR DAMAGES OF ANY KIND,
INCLUDING DIRECT OR INDIRECT, SPECIAL, INCIDENTAL OR CONSEQUENTIAL DAMAGES,
LOSSES OR EXPENSES (WHETHER IN TORT, CONTRACT OR OTHERWISE) ARISING OUT OF
ANY LOAN PARTY’S OR THE ADMINISTRATIVE AGENT’S TRANSMISSION OF
COMMUNICATIONS THROUGH THE INTERNET OR THE APPROVED ELECTRONIC
PLATFORM.

                  (d)    Each Lender agrees that notice to it (as provided in the next sentence) specifying
that Communications have been posted to the Approved Electronic Platform shall constitute effective
delivery of the Communications to such Lender for purposes of the Loan Documents. Each Lender agrees
(i) to notify the Administrative Agent in writing (which could be in the form of electronic communication)
from time to time of such Lender’s, Swingline Lender’s or Issuing Lender’s (as applicable) email address
to which the foregoing notice may be sent by electronic transmission and (ii) that the foregoing notice may
be sent to such email address.

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                (e)     Each of the Lenders and the Borrower agrees that the Administrative Agent may,
but (except as may be required by applicable law) shall not be obligated to, store the Communications on
the Approved Electronic Platform in accordance with the Administrative Agent’s generally applicable
document retention procedures and policies, but subject to the requirements of Section 10.15.

                 (f)     Nothing herein shall prejudice the right of the Administrative Agent or any Lender
to give any notice or other communication pursuant to any Loan Document in any other manner specified
in such Loan Document.

                  9.4     The Administrative Agent Individually. With respect to its Revolving
Commitment and Loans, Letter of Credit Commitments and Letters of Credit, the Person serving as the
Administrative Agent shall have and may exercise the same rights and powers hereunder and is subject to
the same obligations and liabilities as and to the extent set forth herein for any other Lender, Swingline
Lender or Issuing Lender, as the case may be. The terms “Lenders”, “Required Lenders” and any similar
terms shall, unless the context clearly otherwise indicates, include the Administrative Agent in its individual
capacity as a Lender or as one of the Required Lenders, as applicable. The Person serving as the
Administrative Agent and its Affiliates may accept deposits from, lend money to, own securities of, act as
the financial advisor or in any other advisory capacity for and generally engage in any kind of banking,
trust or other business with, the Borrower, any Subsidiary or any Affiliate of any of the foregoing as if such
Person was not acting as the Administrative Agent and without any duty to account therefor to the Lenders,
the Swingline Lender or the Issuing Lenders.

                 9.5     Successor Administrative Agent.

                  (a)     The Administrative Agent may resign at any time by giving 30 days’ prior written
notice thereof to the Lenders and the Borrower, whether or not a successor Administrative Agent has been
appointed. Upon any such resignation, the Required Lenders shall have the right to appoint a successor
Administrative Agent. If no successor Administrative Agent shall have been so appointed by the Required
Lenders, and shall have accepted such appointment, within 30 days after the retiring Administrative Agent’s
giving of notice of resignation, then the retiring Administrative Agent may, on behalf of the Lenders,
appoint a successor Administrative Agent, which shall be a bank with an office in New York, New York
or an Affiliate in New York, New York of any such bank. In either case, such appointment shall be subject
to the prior written approval of the Borrower (which approval may not be unreasonably withheld and shall
not be required while an Event of Default has occurred and is continuing). Upon the acceptance of any
appointment as Administrative Agent by a successor Administrative Agent, such successor Administrative
Agent shall succeed to, and become vested with, all the rights, powers, privileges and duties of the retiring
Administrative Agent. Upon the acceptance of appointment as Administrative Agent by a successor
Administrative Agent, the retiring Administrative Agent shall be discharged from its duties and obligations
under this Agreement and the other Loan Documents. Prior to any retiring Administrative Agent’s
resignation hereunder as Administrative Agent, the retiring Administrative Agent shall take such action as
may be reasonably necessary to assign to the successor Administrative Agent its rights as Administrative
Agent under the Loan Documents.

                 (b)      Notwithstanding paragraph (a) of this Section, in the event no successor
Administrative Agent shall have been so appointed and shall have accepted such appointment within 30
days after the retiring Administrative Agent gives notice of its intent to resign, the retiring Administrative
Agent may give notice of the effectiveness of its resignation to the Lenders and the Borrower, whereupon,
on the date of effectiveness of such resignation stated in such notice, (i) the retiring Administrative Agent
shall be discharged from its duties and obligations hereunder and under the other Loan Documents;
provided that, solely for purposes of maintaining any security interest granted to the Administrative Agent
under any Security Document for the benefit of the Secured Parties, the retiring Administrative Agent shall

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continue to be vested with such security interest as collateral agent for the benefit of the Secured Parties,
and continue to be entitled to the rights set forth in such Security Document and Loan Document, and, in
the case of any Collateral in the possession of the Administrative Agent, shall continue to hold such
Collateral, in each case until such time as a successor Administrative Agent is appointed and accepts such
appointment in accordance with this Section (it being understood and agreed that the retiring Administrative
Agent shall have no duty or obligation to take any further action under any Security Document, including
any action required to maintain the perfection of any such security interest), and (ii) the Required Lenders
shall succeed to and become vested with all the rights, powers, privileges and duties of the retiring
Administrative Agent; provided that (A) all payments required to be made hereunder or under any other
Loan Document to the Administrative Agent for the account of any Person other than the Administrative
Agent shall be made directly to such Person and (B) all notices and other communications required or
contemplated to be given or made to the Administrative Agent shall directly be given or made to each
Lender. Following the effectiveness of the Administrative Agent’s resignation from its capacity as such,
the provisions of this Article and Section 10.3, as well as any exculpatory, reimbursement and
indemnification provisions set forth in any other Loan Document, shall continue in effect for the benefit of
such retiring Administrative Agent, its sub-agents and their respective Related Parties in respect of any
actions taken or omitted to be taken by any of them while the retiring Administrative Agent was acting as
Administrative Agent and in respect of the matters referred to in the proviso under clause (i) above.

                 (c)     Any successor Administrative Agent appointed pursuant to this Section 9.5 shall
deliver to Borrower, on or before the date on which it becomes the Administrative Agent hereunder, either
(i) a duly executed copy of IRS Form W-9 (or any applicable successor form) certifying that the successor
Administrative Agent is not subject to backup withholding, or (ii) (A) a duly completed and executed copy
of IRS Form W-8ECI to establish that the successor Administrative Agent is not subject to withholding
Taxes under the Code with respect to any amounts payable for the account of the successor Administrative
Agent under any of the Loan Documents, and (B) a duly executed copy of IRS Form W-8IMY, certifying
on Part I and Part VI of such IRS Form W-8IMY (or applicable successor form or Parts) that it is a U.S.
branch that has agreed to be treated as a U.S. person for United States federal withholding Tax purposes
with respect to payments received by it from the Borrower for the account of others under the Loan
Documents.

                9.6      Acknowledgments.

                   (a)     Each Lender represents that it is engaged in making, acquiring or holding
commercial loans in the ordinary course of its business and that it has, independently and without reliance
upon the Administrative Agent, any Arranger or any other Lender, or any of the Related Parties of any of
the foregoing, and based on such documents and information as it has deemed appropriate, made its own
credit analysis and decision to enter into this Agreement as a Lender, and to make, acquire or hold Loans
hereunder. Each Lender also acknowledges that it will, independently and without reliance upon the
Administrative Agent, any Arranger or any other Lender, or any of the Related Parties of any of the
foregoing, and based on such documents and information (which may contain material, non-public
information within the meaning of the United States securities laws concerning the Borrower and its
Affiliates) as it shall from time to time deem appropriate, continue to make its own decisions in taking or
not taking action under or based upon this Agreement, any other Loan Document or any related agreement
or any document furnished hereunder or thereunder.

                (b)      Each Lender, by delivering its signature page to this Agreement on the Closing
Date, or delivering its signature page to an Assignment and Assumption or any other Loan Document
pursuant to which it shall become a Lender hereunder, shall be deemed to have acknowledged receipt of,
and consented to and approved, each Loan Document and each other document required to be delivered to,
or be approved by or satisfactory to, the Administrative Agent or the Lenders on the Closing Date.

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                  (c)      (i)      Each Lender hereby agrees that (x) if the Administrative Agent notifies
such Lender that the Administrative Agent has determined in its sole discretion that any funds received by
such Lender from the Administrative Agent or any of its Affiliates (whether as a payment, prepayment or
repayment of principal, interest, fees or otherwise; individually and collectively, a “Payment”) were
erroneously transmitted to such Lender (whether or not known to such Lender), and demands the return of
such Payment (or a portion thereof), such Lender shall promptly, but in no event later than one Business
Day thereafter, return to the Administrative Agent the amount of any such Payment (or portion thereof) as
to which such a demand was made in same day funds, together with interest thereon in respect of each day
from and including the date such Payment (or portion thereof) was received by such Lender to the date such
amount is repaid to the Administrative Agent at the greater of the NYFRB Rate and a rate determined by
the Administrative Agent in accordance with banking industry rules on interbank compensation from time
to time in effect, and (y) to the extent permitted by applicable law, such Lender shall not assert, and hereby
waives, as to the Administrative Agent, any claim, counterclaim, defense or right of set-off or recoupment
with respect to any demand, claim or counterclaim by the Administrative Agent for the return of any
Payments received, including without limitation any defense based on “discharge for value” or any similar
doctrine. A notice of the Administrative Agent to any Lender under this Section 9.6(c) shall be conclusive,
absent manifest error.

                         (ii)    Each Lender hereby further agrees that if it receives a Payment from the
        Administrative Agent or any of its Affiliates (x) that is in a different amount than, or on a different
        date from, that specified in a notice of payment sent by the Administrative Agent (or any of its
        Affiliates) with respect to such Payment (a “Payment Notice”) or (y) that was not preceded or
        accompanied by a Payment Notice, it shall be on notice, in each such case, that an error has been
        made with respect to such Payment. Each Lender agrees that, in each such case, or if it otherwise
        becomes aware a Payment (or portion thereof) may have been sent in error, such Lender shall
        promptly notify the Administrative Agent of such occurrence and, upon demand from the
        Administrative Agent, it shall promptly, but in no event later than one Business Day thereafter,
        return to the Administrative Agent the amount of any such Payment (or portion thereof) as to which
        such a demand was made in same day funds, together with interest thereon in respect of each day
        from and including the date such Payment (or portion thereof) was received by such Lender to the
        date such amount is repaid to the Administrative Agent at the greater of the NYFRB Rate and a
        rate determined by the Administrative Agent in accordance with banking industry rules on
        interbank compensation from time to time in effect.

                           (iii)   The Borrower and each other Loan Party hereby agrees that in the event
        an erroneous Payment (or portion thereof) are not recovered from any Lender that has received
        such Payment (or portion thereof) for any reason, (x) the Administrative Agent shall be subrogated
        to all the rights of such Lender with respect to such amount and (y) an erroneous Payment shall not
        pay, prepay, repay, discharge or otherwise satisfy any Obligations owed by the Borrower or any
        other Loan Party, except, in each case, to the extent such erroneous Payment is, and solely with
        respect to the amount of such erroneous Payment that, comprised of funds of the Borrower or any
        other Loan Party.

                          (iv)   Each party’s obligations under this Section 9.6(c) shall survive the
        resignation or replacement of the Administrative Agent or any transfer of rights or obligations by,
        or the replacement of, a Lender, the termination of the Revolving Commitments or the repayment,
        satisfaction or discharge of all Obligations under any Loan Document.




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                 9.7     Collateral Matters.

                 (a)     Except with respect to the exercise of setoff rights in accordance with Section 9.8
or with respect to a Secured Party’s right to file a proof of claim in an insolvency proceeding, no Secured
Party shall have any right individually to realize upon any of the Collateral or to enforce any Guarantee
Obligations, it being understood and agreed that all powers, rights and remedies under the Loan Documents
may be exercised solely by the Administrative Agent on behalf of the Secured Parties in accordance with
the terms thereof.

                  (b)       The Secured Parties irrevocably authorize the Administrative Agent, at its option
and in its discretion, to subordinate any Lien on any property granted to or held by the Administrative Agent
under any Loan Document to the holder of any Lien on such property that is permitted by Section 7.3. The
Administrative Agent shall not be responsible for or have a duty to ascertain or inquire into any
representation or warranty regarding the existence, value or collectability of the Collateral, the existence,
priority or perfection of the Administrative Agent’s Lien thereon or any certificate prepared by any Loan
Party in connection therewith, nor shall the Administrative Agent be responsible or liable to the Lenders or
any other Secured Party for any failure to monitor or maintain any portion of the Collateral.

                (c)     At least once each calendar year, the Administrative Agent will conduct or caused
to be conducted an Annual Field Examination, pursuant to Section 6.6(c), and an Annual Inventory
Appraisal, pursuant to Sections 6.6(b).

                  9.8      Credit Bidding.      The Secured Parties hereby irrevocably authorize the
Administrative Agent, at the direction of the Required Lenders, to credit bid all or any portion of the
Obligations (including by accepting some or all of the Collateral in satisfaction of some or all of the
Obligations pursuant to a deed in lieu of foreclosure or otherwise) and in such manner purchase (either
directly or through one or more acquisition vehicles) all or any portion of the Collateral (a) at any sale
thereof conducted under the provisions of the Bankruptcy Code, including under Sections 363, 1123 or
1129 of the Bankruptcy Code, or any similar laws in any other jurisdictions to which a Loan Party is subject,
or (b) at any other sale, foreclosure or acceptance of collateral in lieu of debt conducted by (or with the
consent or at the direction of) the Administrative Agent (whether by judicial action or otherwise) in
accordance with any applicable law. In connection with any such credit bid and purchase, the Obligations
owed to the Secured Parties shall be entitled to be, and shall be, credit bid by the Administrative Agent at
the direction of the Required Lenders on a ratable basis (with Obligations with respect to contingent or
unliquidated claims receiving contingent interests in the acquired assets on a ratable basis that shall vest
upon the liquidation of such claims in an amount proportional to the liquidated portion of the contingent
claim amount used in allocating the contingent interests) for the asset or assets so purchased (or for the
equity interests or debt instruments of the acquisition vehicle or vehicles that are issued in connection with
such purchase). In connection with any such bid, (i) the Administrative Agent shall be authorized to form
one or more acquisition vehicles and to assign any successful credit bid to such acquisition vehicle or
vehicles, (ii) each of the Secured Parties’ ratable interests in the Obligations which were credit bid shall be
deemed without any further action under this Agreement to be assigned to such vehicle or vehicles for the
purpose of closing such sale, (iii) the Administrative Agent shall be authorized to adopt documents
providing for the governance of the acquisition vehicle or vehicles (provided that any actions by the
Administrative Agent with respect to such acquisition vehicle or vehicles, including any disposition of the
assets or equity interests thereof, shall be governed, directly or indirectly, by, and the governing documents
shall provide for, control by the vote of the Required Lenders or their permitted assignees under the terms
of this Agreement or the governing documents of the applicable acquisition vehicle or vehicles, as the case
may be, irrespective of the termination of this Agreement and without giving effect to the limitations on
actions by the Required Lenders contained in Section 10.1 of this Agreement), (iv) the Administrative
Agent on behalf of such acquisition vehicle or vehicles shall be authorized to issue to each of the Secured

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Parties, ratably on account of the relevant Obligations which were credit bid, interests, whether as equity,
partnership interests, limited partnership interests or membership interests, in any such acquisition vehicle
and/or debt instruments issued by such acquisition vehicle, all without the need for any Secured Party or
acquisition vehicle to take any further action, and (v) to the extent that Obligations that are assigned to an
acquisition vehicle are not used to acquire Collateral for any reason (as a result of another bid being higher
or better, because the amount of Obligations assigned to the acquisition vehicle exceeds the amount of
Obligations credit bid by the acquisition vehicle or otherwise), such Obligations shall automatically be
reassigned to the Secured Parties pro rata with their original interest in such Obligations and the equity
interests and/or debt instruments issued by any acquisition vehicle on account of such Obligations shall
automatically be cancelled, without the need for any Secured Party or any acquisition vehicle to take any
further action. Notwithstanding that the ratable portion of the Obligations of each Secured Party are deemed
assigned to the acquisition vehicle or vehicles as set forth in clause (ii) above, each Secured Party shall
execute such documents and provide such information regarding the Secured Party (and/or any designee of
the Secured Party which will receive interests in or debt instruments issued by such acquisition vehicle) as
the Administrative Agent may reasonably request in connection with the formation of any acquisition
vehicle, the formulation or submission of any credit bid or the consummation of the transactions
contemplated by such credit bid.

                9.9      Certain ERISA Matters.

                 (a)     Each Lender represents and warrants, as of the date such Person became a Lender
party hereto, to, and covenants, from the date such Person became a Lender party hereto to the date such
Person ceases being a Lender party hereto, for the benefit of, the Administrative Agent, and each Arranger
and their respective Affiliates, and not, for the avoidance of doubt, to or for the benefit of the Borrower or
any other Loan Party, that at least one of the following is and will be true:

                        (i)     such Lender is not using “plan assets” (within the meaning of the Plan
        Asset Regulations) of one or more Benefit Plans in connection with the Loans, the Letters of Credit
        or the Revolving Commitments,

                         (ii)    the transaction exemption set forth in one or more PTEs, such as PTE 84-
        14 (a class exemption for certain transactions determined by independent qualified professional
        asset managers), PTE 95-60 (a class exemption for certain transactions involving insurance
        company general accounts), PTE 90-1 (a class exemption for certain transactions involving
        insurance company pooled separate accounts), PTE 91-38 (a class exemption for certain
        transactions involving bank collective investment funds) or PTE 96-23 (a class exemption for
        certain transactions determined by in-house asset managers), is applicable with respect to such
        Lender’s entrance into, participation in, administration of and performance of the Loans, the
        Letters of Credit, the Revolving Commitments and this Agreement,

                          (iii)   (A) such Lender is an investment fund managed by a “Qualified
        Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such Qualified
        Professional Asset Manager made the investment decision on behalf of such Lender to enter into,
        participate in, administer and perform the Loans, the Letters of Credit, the Revolving Commitments
        and this Agreement, (C) the entrance into, participation in, administration of and performance of
        the Loans, the Letters of Credit, the Revolving Commitments and this Agreement satisfies the
        requirements of sub-sections (b) through (g) of Part I of PTE 84-14 and (D) to the best knowledge
        of such Lender, the requirements of subsection (a) of Part I of PTE 84-14 are satisfied with respect
        to such Lender’s entrance into, participation in, administration of and performance of the Loans,
        the Letters of Credit, the Revolving Commitments and this Agreement, or


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                       (iv)    such other representation, warranty and covenant as may be agreed
        in writing between the Administrative Agent, in its sole discretion, and such Lender.

                  (b)     In addition, unless sub-clause (i) in the immediately preceding clause (a) is true
with respect to a Lender or such Lender has provided another representation, warranty and covenant as
provided in sub-clause (iv) in the immediately preceding clause (a), such Lender further (x) represents and
warrants, as of the date such Person became a Lender party hereto, to, and (y) covenants, from the date such
Person became a Lender party hereto to the date such Person ceases being a Lender party hereto, for the
benefit of, the Administrative Agent, and each Arranger and their respective Affiliates, and not, for the
avoidance of doubt, to or for the benefit of the Borrower or any other Loan Party, that none of the
Administrative Agent, or any Arranger or any of their respective Affiliates is a fiduciary with respect to the
Collateral or the assets of such Lender (including in connection with the reservation or exercise of any
rights by the Administrative Agent under this Agreement, any Loan Document or any documents related to
hereto or thereto).

                  (c)     The Administrative Agent hereby informs the Lenders that it is not undertaking to
provide investment advice or to give advice in a fiduciary capacity, in connection with the transactions
contemplated hereby, and that such Person has a financial interest in the transactions contemplated hereby
in that such Person or an Affiliate thereof (i) may receive interest or other payments with respect to the
Loans, the Letters of Credit, the Revolving Commitments, this Agreement and any other Loan Documents
(ii) may recognize a gain if it extended the Loans, the Letters of Credit or the Revolving Commitments for
an amount less than the amount being paid for an interest in the Loans, or the Revolving Commitments by
such Lender or (iii) may receive fees or other payments in connection with the transactions contemplated
hereby, the Loan Documents or otherwise, including structuring fees, commitment fees, arrangement fees,
facility fees, upfront fees, underwriting fees, ticking fees, agency fees, administrative agent or collateral
agent fees, utilization fees, minimum usage fees, letter of credit fees, fronting fees, deal-away or alternate
transaction fees, amendment fees, processing fees, term out premiums, banker’s acceptance fees, breakage
or other early termination fees or fees similar to the foregoing

                                    SECTION 10. MISCELLANEOUS

                 10.1    Amendments and Waivers. Subject to Section 2.16(b), neither this Agreement,
any other Loan Document, nor any terms hereof or thereof may be amended, supplemented or modified
except in accordance with the provisions of this Section 10.1. The Required Lenders and each Loan Party
party to the relevant Loan Document may, or, with the written consent of the Required Lenders, the
Administrative Agent and each Loan Party party to the relevant Loan Document may, from time to time,
(a) enter into written amendments, supplements or modifications hereto and to the other Loan Documents
for the purpose of adding any provisions to this Agreement or the other Loan Documents or changing in
any manner the rights of the Lenders or of the Loan Parties hereunder or thereunder or (b) waive, on such
terms and conditions as the Required Lenders or the Administrative Agent, as the case may be, may specify
in such instrument, any of the requirements of this Agreement or the other Loan Documents or any Default
or Event of Default and its consequences; provided, however, that no such waiver and no such amendment,
supplement or modification shall (i) forgive the principal amount or extend the final scheduled date of
maturity of any Loan, reduce the stated rate of any interest or fee payable hereunder (except (x) in
connection with the waiver of applicability of any post-default increase in interest rates (which waiver shall
be effective with the consent of the Required Lenders of each adversely affected Facility) and (y) that any
amendment or modification of defined terms used in the financial covenants in this Agreement shall not
constitute a reduction in the rate of interest or fees for purposes of this clause (i)) or extend the scheduled
date of any payment thereof, or increase the amount or extend the expiration date of any Lender’s
Commitment, in each case without the written consent of each Lender directly affected thereby; (ii)
eliminate or reduce the voting rights of any Lender under this Section 10.1 without the written consent of

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such Lender; (iii) reduce any percentage specified in the definition of “Required Lenders” or
“Supermajority Lenders” without the written consent of each Lender of the applicable Facility or change
any other provision of this Agreement or any other Loan Document specifying the number or percentage
of Lenders (or Lenders of any Facility) required to waive, amend or otherwise modify any rights thereunder
or make any determination or grant any consent thereunder without the written consent of each Lender (or
each Lender of the applicable Facility, as applicable), (iv) consent to the assignment or transfer by the
Borrower of any of its rights and obligations under this Agreement and the other Loan Documents, release
or subordinate Administrative Agent’s Liens on all or substantially all of the Collateral or release all or
substantially all of the Guarantors from their obligations under the Orders, in each case without the written
consent of all Lenders; (v) amend, modify or waive any provision of Section 2.17 without the written
consent of each Lender in respect of each Facility adversely affected thereby; (vi) (A) increase the advance
rates set forth in the definition of “Borrowing Base” or add new categories of eligible assets or (B) amend
the definition of “Minimum Excess Availability Amount” or any use thereof, without the written consent
of the Supermajority Lenders; (vii) modify eligibility criteria, as such eligibility criteria are in effect on the
Closing Date (including adding new categories of eligible assets or eliminating any new category of the
Reserves (including without limitation the Cumulative Reserve) in effect on the Closing Date and, for the
avoidance of doubt, not established or contemplated on or before the Closing Date; provided, however, that,
for the avoidance of doubt, notwithstanding anything in this Section 10.1 to the contrary, the Administrative
Agent may, in its Permitted Discretion and without the consent of any other Lenders, eliminate any new
category of Reserve that was added after the Closing Date) in any manner that has the effect of increasing
the amounts available to be borrowed hereunder without the written consent of the Supermajority Lenders;
(viii) amend, modify or waive any provision of Section 9 or any other provision of any Loan Document
that affects the Administrative Agent without the written consent of the Administrative Agent; (ix) amend,
modify or waive any provision of Section 2.5 or 2.6 without the written consent of the Swingline Lender;
(x) amend, modify or waive any provision of Section 3 without the written consent of the Issuing Lender,
(xi) amend, modify or waive any provision of Section 10.22(e) without the written consent of each Lender;
provided that only Required Lenders shall be required to amend, modify or waive any provision of Section
10.22(e) if on or prior to the Bid Deadline (as defined as of the Closing Date), the valuation set forth in the
First Post-Closing Appraisal has been implemented pursuant to the defined term “Net Orderly Liquidation
Value” or (xii) subordinate any of the Obligations owed to the Lenders in right of payment or any of the
Liens granted in favor of the Lenders hereunder without the consent of all Lenders. Notwithstanding
anything to the contrary in this Agreement, any amendment, modification or change to the Final DIP Order,
Interim DIP Order or any other order entered by the Bankruptcy Court that would, if it were an amendment
to this Agreement, require a higher threshold of voting pursuant to this Section 10.1(a)(i)-(xi), shall be
subject to the higher voting threshold set forth in this Section 10.1(a)(i)-(xi). Any such waiver and any such
amendment, supplement or modification shall apply equally to each of the Lenders and shall be binding
upon the Loan Parties, the Lenders, the Administrative Agent and all future holders of the Loans. In the
case of any waiver, the Loan Parties, the Lenders and the Administrative Agent shall be restored to their
former position and rights hereunder and under the other Loan Documents, and any Default or Event of
Default waived shall be deemed to be cured and not continuing; but no such waiver shall extend to any
subsequent or other Default or Event of Default, or impair any right consequent thereon.

                  Notwithstanding the foregoing, (i) this Agreement may be amended (or amended and
restated) with the written consent of the Required Lenders, the Administrative Agent and the Borrower to:
(a) add one or more additional credit facilities to this Agreement and to permit the extensions of credit from
time to time outstanding thereunder and the accrued interest and fees in respect thereof to share in the
benefits of this Agreement and the other Loan Documents with the Revolving Extensions of Credit and the
accrued interest and fees in respect thereof, in each case, as permitted by this Agreement and (b) include
appropriately the Lenders holding such credit facilities in any determination of the Required Lenders and
(ii) no Lender’s consent is required to effect any amendment or supplement to any intercreditor agreement
or arrangement that is not prohibited by this Agreement that is for the purpose of adding the holders of any

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Indebtedness as expressly contemplated by the terms of such intercreditor agreement or arrangement and
such other amendments reasonably related thereto as the Administrative Agent may determine.

                Furthermore, notwithstanding the foregoing, the Administrative Agent, with the consent of
the Borrower, may amend, modify or supplement any Loan Document without the consent of any Lender
or the Required Lenders in order to correct, amend or cure any ambiguity, inconsistency or defect or correct
any typographical error or other manifest error in any Loan Document not materially adverse to any Lender.

                10.2     Notices. All notices, requests and demands to or upon the respective parties hereto
to be effective shall be in writing (including by facsimile or e-mail), and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when delivered, or three Business Days
after being deposited in the mail, postage prepaid, or, in the case of facsimile or e-mail notice, when
received, addressed as follows in the case of the Borrower and the Administrative Agent, and as set forth
in an administrative questionnaire delivered to the Administrative Agent in the case of the Lenders, or to
such other address as may be hereafter notified by the respective parties hereto:

                    Borrower:                          Del Monte Foods Corporation II Inc.
                                                       205 North Wiget Lane
                                                       Walnut Creek, CA 94598
                                                       Attention: Alfred Artis, Treasurer
                                                       Phone: 415-848-5794
                                                       Email: alfred.artis@delmonte.com


                    Administrative Agent:              JPMorgan Chase Bank, N.A.
                                                       1900 North Akard Street, 4th Floor
                                                       Dallas, TX 75201
                                                       Attention: Will Eifert
                                                       Phone: 214-965-3172
                                                       E-mail: will.d.eifert@jpmorgan.com

                    with a copy to:                    JPMorgan Chase Bank, N.A.
                                                       383 Madison Avenue, 24th floor
                                                       New York, NY 10179
                                                       Attention: Juliana Orellana Reid
                                                       Phone: 214-622-0674
                                                       E-mail: juliana.orellanareid@jpmorgan.com

provided that any notice, request or demand to or upon the Administrative Agent or the Lenders shall not
be effective until received.

                Notices and other communications to the Lenders hereunder may be delivered or furnished
by electronic communications pursuant to procedures approved by the Administrative Agent; provided that
the foregoing shall not apply to notices pursuant to Section 2 unless otherwise agreed by the Administrative
Agent and the applicable Lender. The Administrative Agent or the Borrower may, in its discretion, agree
to accept notices and other communications to it hereunder by electronic communications pursuant to
procedures approved by it; provided that approval of such procedures may be limited to particular notices
or communications.

                 10.3    No Waiver; Cumulative Remedies. No failure to exercise and no delay in
exercising, on the part of the Administrative Agent or any Lender, any right, remedy, power or privilege

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hereunder or under the other Loan Documents shall operate as a waiver thereof; nor shall any single or
partial exercise of any right, remedy, power or privilege hereunder preclude any other or further exercise
thereof or the exercise of any other right, remedy, power or privilege. The rights, remedies, powers and
privileges herein provided are cumulative and not exclusive of any rights, remedies, powers and privileges
provided by law.

                10.4    Survival of Representations and Warranties. All representations and warranties
made hereunder, in the other Loan Documents and in any document, certificate or statement delivered
pursuant hereto or in connection herewith shall survive the execution and delivery of this Agreement and
the making of the Loans and other extensions of credit hereunder.

                10.5     Expenses; Limitation of Liability; Indemnity; Etc.

                  (a)      The Borrower agrees (a) to pay or reimburse the Administrative Agent and the
Arrangers for all of their respective reasonable and documented out-of-pocket costs and expenses incurred
in connection with the syndication of the Revolving Commitments and the development, preparation and
execution of, and any amendment, supplement or modification to, this Agreement and the other Loan
Documents and any other documents prepared in connection herewith or therewith, and the consummation
and administration of the transactions contemplated hereby and thereby, including the reasonable and
documented fees, disbursements and other charges of one primary counsel to the Administrative Agent and
the Arrangers and, if necessary, one local counsel in each applicable jurisdiction and filing and recording
fees and expenses, with statements with respect to the foregoing to be submitted to the Borrower at least
three (3) Business Days prior to the Closing Date (in the case of amounts to be paid on the Closing Date)
and from time to time thereafter on a quarterly basis or such other periodic basis as the Administrative
Agent shall deem appropriate, (b) to pay or reimburse each Lender, the Swingline Lender, the Issuing
Lenders and the Administrative Agent for all its reasonable and documented costs and out-of-pocket
expenses incurred in connection with the enforcement or preservation of any rights under this Agreement,
the other Loan Documents and any such other documents, including the reasonable and documented fees,
disbursements and other charges of counsel to the Administrative Agent and the Lenders and including all
reasonable and documented costs and expenses incurred during any workout, restructuring or negotiations
in connection therewith (it being understood that expenses reimbursed by the Borrower under this Section
10.5 shall include costs and expenses incurred in connection with (1) appraisals, environmental reviews
and insurance reviews, (2) field examinations and the preparation of Reports based on the fees charged by
a third party retained by the Administrative Agent or the internally allocated fees for each Person employed
by the Administrative Agent with respect to each field examination and (3) forwarding loan proceeds,
collecting checks and other items of payment and establishing and maintaining the accounts and lock boxes,
and costs and expenses of preserving and protecting the Collateral, in each case (with respect to appraisals,
field examinations and clause (3)) in accordance with the provisions of the Loan Documents), (c) to pay,
indemnify, and hold each Lender, the Issuing Lenders, the Swingline Lender and the Administrative Agent
harmless from, any and all recording and filing fees and any and all Liabilities with respect to the execution
and delivery of, or consummation or administration (including any act or omission of the Administrative
Agent in connection with such administration) of any of the transactions contemplated by, or any
amendment, supplement or modification of, or any waiver or consent under or in respect of, this Agreement,
the other Loan Documents and any such other documents, and (d) to pay, indemnify, and hold each Lender,
the Issuing Lenders, the Swingline Lender, the Arrangers and each Agent, their respective affiliates, and
their respective officers, directors, employees, agents, advisors and controlling persons, and with respect to
Issuing Lenders, correspondents and branches (each, an “Indemnitee”) harmless from and against any and
all other Liabilities or expenses (including the reasonable and documented fees, disbursements and other
charges of counsel) of any kind or nature whatsoever with respect to the execution, delivery, enforcement,
performance and administration of this Agreement, the other Loan Documents and any such other
documents, including any actual or prospective claim, litigation, investigation or proceeding regardless of

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whether any Indemnitee is a party thereto and whether or not the same are brought by the Borrower, its
equity holders, affiliates or creditors or any other Person, including any of the foregoing relating to the use
of proceeds of the Loans or Letters of Credit (including any refusal by the Issuing Lender to honor a demand
for payment under a Letter of Credit if the documents presented in connection with such demand do not
strictly comply with the terms of such Letter of Credit) or the violation of, noncompliance with or liability
under, any Environmental Law applicable to any Group Member or its operations or properties and the
reasonable and documented fees, disbursements and other charges of legal counsel (limited to reasonable
and documented fees, disbursements and other charges of one primary counsel for all Indemnitees (taken
together as a single group or client) and, if necessary, one local counsel required in any relevant jurisdiction
(which may include a single counsel acting in multiple jurisdictions) and applicable special regulatory
counsel for all Indemnitees (and, in the case of an actual or perceived conflict of interest, of another firm
of counsel (and, if applicable, another local counsel in any relevant jurisdiction and applicable special
regulatory counsel) for all similarly affected Indemnitees) (in connection with claims, actions or
proceedings by any Indemnitee against any Loan Party under any Loan Document (all the foregoing in this
clause (d), collectively, the “Indemnified Liabilities”), provided, that the Borrower shall have no obligation
hereunder to any Indemnitee with respect to Indemnified Liabilities to the extent such Indemnified
Liabilities are found by a final and nonappealable decision of a court of competent jurisdiction to have
resulted from (x) the bad faith, gross negligence or willful misconduct of such Indemnitee (or any of its
Affiliates, officers, directors, employees, agents, advisors or controlling persons), (y) a material breach by
such Indemnitee of its obligations under the Loan Documents or (z) disputes or proceedings that are brought
by an Indemnitee against any other Indemnitee (other than any claims against any Arranger or Agent in its
capacity or in fulfilling its roles as an Arranger or Agent hereunder or any similar role with respect to any
Facility) to the extent such disputes do not arise from any act or omission of any Loan Party or any of its
Affiliates. Without limiting the foregoing, and to the extent permitted by applicable law, the Borrower
agrees not to assert and to cause its Subsidiaries not to assert, and hereby waives and agrees to cause its
Subsidiaries to waive, all rights for contribution or any other rights of recovery with respect to all claims,
demands, penalties, fines, liabilities, settlements, damages, costs and expenses of whatever kind or nature,
under or related to Environmental Laws, that any of them might have by statute or otherwise against any
Indemnitee. No Indemnitee shall be liable for any damages arising from the use by others of information
or other materials obtained through electronic, telecommunications or other information transmission
systems, except to the extent any such damages are found by a final and nonappealable decision of a court
of competent jurisdiction to have resulted from (x) the gross negligence or willful misconduct of such
Indemnitee (or any of its Affiliates, officers, directors, employees, agents, advisors or controlling persons)
or (y) a material breach in bad faith by such Indemnitee of its obligations under the Loan Documents.

                  (b)    Limitation of Liability. To the extent permitted by applicable law (i) neither the
Borrower nor any Loan Party shall assert, and the Borrower and each Loan Party hereby waives, any claim
against the Administrative Agent, any Arranger, any Co-Syndication Agent, any Documentation Agent,
any Issuing Lender, Swingline Lender and any Lender, and any Related Party of any of the foregoing
Persons (each such Person being called a “Lender-Related Person”) for any Liabilities arising from the use
by others of information or other materials (including, without limitation, any personal data) obtained
through telecommunications, electronic or other information transmission systems (including the Internet),
and (ii) no party hereto shall assert, and each such party hereby waives, any Liabilities against any other
party hereto, on any theory of liability, for special, indirect, consequential or punitive damages (as opposed
to direct or actual damages) arising out of, in connection with, or as a result of, this Agreement, any other
Loan Document, or any agreement or instrument contemplated hereby or thereby, the Transactions, any
Loan or Letter of Credit or the use of the proceeds thereof; provided that, nothing in this Section 10.5(b)
shall relieve the Borrower or any Loan Party of any obligation it may have to indemnify an Indemnitee, as
provided in Section 10.5(a), against any special, indirect, consequential or punitive damages asserted
against such Indemnitee by a third party.


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                 (c)      Payments. All amounts due under this Section 10.5 shall be payable not later than
10 days after written demand therefor. This Section 10.5 shall not apply with respect to Taxes other than
any Taxes that represent losses or damages arising from any non-Tax claim. The agreements in this Section
10.5 shall survive the termination of this Agreement and the repayment of the Loans and all other amounts
payable hereunder.

                  10.6     Successors and Assigns; Participations and Assignments. (a) The provisions of
this Agreement shall be binding upon and inure to the benefit of the parties hereto and their respective
successors and assigns permitted hereby (including any affiliate of the Issuing Lender that issues any Letter
of Credit), except that (i) the Borrower may not assign or otherwise transfer any of its rights or obligations
hereunder without the prior written consent of each Lender (and any attempted assignment or transfer by
the Borrower without such consent shall be null and void) and (ii) no Lender may assign or otherwise
transfer its rights or obligations hereunder except in accordance with this Section.

                (b)       (i)     Subject to the conditions set forth in paragraph (b)(ii) below, any Lender
may assign to one or more Eligible Assignees (each, an “Assignee”), all or a portion of its rights and
obligations under this Agreement (including all or a portion of its Revolving Commitments and the Loans
at the time owing to it) with the prior written consent of:

                                  (A)     the Borrower (such consent not to be unreasonably withheld),
                         provided that no consent of the Borrower shall be required for an assignment to a
                         Lender, an affiliate of a Lender, an Approved Fund (as defined below) or, if an
                         Event of Default has occurred and is continuing, any other Person; and provided,
                         further, that the Borrower shall be deemed to have consented to any such
                         assignment unless the Borrower shall object thereto by written notice to the
                         Administrative Agent within five Business Days after having received notice
                         thereof;

                                  (B)    the Administrative Agent (such consent not to be unreasonably
                         withheld), provided that no consent of the Administrative Agent shall be required
                         for an assignment of all or any portion of its Revolving Commitment or Loan to a
                         Lender, an Affiliate of a Lender or an Approved Fund;

                                 (C)      the Issuing Lender (such consent not to be unreasonably
                         withheld);

                                 (D)      the Swingline Lender (such consent not to be unreasonably
                         withheld).

                         (ii)    Assignments shall be subject to the following additional conditions:

                                  (A)     except in the case of an assignment to a Lender, an affiliate of a
                         Lender or an Approved Fund or an assignment of the entire remaining amount of
                         the assigning Lender’s Revolving Commitments or Loans, the amount of the
                         Revolving Commitments or Loans of the assigning Lender subject to each such
                         assignment (determined as of the date the Assignment and Assumption with
                         respect to such assignment is delivered to the Administrative Agent) shall not be
                         less than $5,000,000) unless each of the Borrower and the Administrative Agent
                         otherwise consent, provided that (1) no such consent of the Borrower shall be
                         required if an Event of Default has occurred and is continuing and (2) such amounts


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                         shall be aggregated in respect of each Lender and its affiliates or Approved Funds,
                         if any;

                                 (B)     (1) the parties to each assignment shall execute and deliver to the
                         Administrative Agent an Assignment and Assumption, together with a processing
                         and recordation fee of $3,500 and (2) the assigning Lender shall have paid in full
                         any amounts owing by it to the Administrative Agent; and

                                  (C)    the Assignee, if it shall not be a Lender, shall deliver to the
                         Administrative Agent an administrative questionnaire in which the Assignee
                         designates one or more credit contacts to whom all syndicate-level information
                         (which may contain material non-public information about the Borrower and its
                         Affiliates and their Related Parties or their respective securities) will be made
                         available and who may receive such information in accordance with the Assignee’s
                         compliance procedures and applicable laws, including Federal and state securities
                         laws.

                 For the purposes of this Section 10.6, “Approved Fund” means any Person (other than a
natural person) that is engaged in making, purchasing, holding or investing in bank loans and similar
extensions of credit in the ordinary course of its business and that is administered or managed by (a) a
Lender, (b) an affiliate of a Lender or (c) an entity or an affiliate of an entity that administers or manages a
Lender.

                         (iii)     Subject to acceptance and recording thereof pursuant to paragraph (b)(iv)
                 below, from and after the effective date specified in each Assignment and Assumption the
                 Assignee thereunder shall be a party hereto and, to the extent of the interest assigned by
                 such Assignment and Assumption, have the rights and obligations of a Lender under this
                 Agreement, and the assigning Lender thereunder shall, to the extent of the interest assigned
                 by such Assignment and Assumption, be released from its obligations under this
                 Agreement (and, in the case of an Assignment and Assumption covering all of the assigning
                 Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party
                 hereto but shall continue to be entitled to the benefits of Sections 2.18, 2.19, 2.20 and 10.5).
                 Any assignment or transfer by a Lender of rights or obligations under this Agreement that
                 does not comply with this Section 10.6 shall be treated for purposes of this Agreement as
                 a sale by such Lender of a participation in such rights and obligations in accordance with
                 paragraph (c) of this Section.

                         (iv)      The Administrative Agent, acting for this purpose as an agent of the
                 Borrower, shall maintain at one of its offices a copy of each Assignment and Assumption
                 delivered to it and a register for the recordation of the names and addresses of the Lenders,
                 and the Revolving Commitments of, and principal amount (and stated interest) of the Loans
                 and L/C Obligations owing, to each Lender pursuant to the terms hereof from time to time
                 (the “Register”). The entries in the Register shall be conclusive, and the Borrower, the
                 Administrative Agent, the Swingline Lender, the Issuing Lender and the Lenders shall treat
                 each Person whose name is recorded in the Register pursuant to the terms hereof as a
                 Lender hereunder for all purposes of this Agreement, notwithstanding notice to the
                 contrary.

                         (v)     Upon its receipt of a duly completed Assignment and Assumption
                 executed by an assigning Lender and an Assignee, the Assignee’s completed administrative
                 questionnaire (unless the Assignee shall already be a Lender hereunder), the processing

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                 and recordation fee referred to in paragraph (b) of this Section and any written consent to
                 such assignment required by paragraph (b) of this Section, the Administrative Agent shall
                 accept such Assignment and Assumption and record the information contained therein in
                 the Register. No assignment shall be effective for purposes of this Agreement unless it has
                 been recorded in the Register as provided in this paragraph.

                         (vi)    Each assignee, by its execution and delivery of an Assignment and
                 Assumption, shall be deemed to have represented to the assigning Lender and the
                 Administrative Agent that such assignee is an Eligible Assignee. In no event shall the
                 Administrative Agent be obligated to ascertain, monitor or inquire as to whether any
                 prospective assignee is an Eligible Assignee or have any liability with respect to any
                 assignment made to a Disqualified Lender or any other Person that is not an Eligible
                 Assignee.

                  (c)      Any Lender may, without the consent of the Borrower or the Administrative
Agent, sell participations to one or more Eligible Assignees (a “Participant”) in all or a portion of such
Lender’s rights and obligations under this Agreement (including all or a portion of its Revolving
Commitments and the Loans owing to it); provided that (i) such Lender’s obligations under this Agreement
shall remain unchanged, (ii) such Lender shall remain solely responsible to the other parties hereto for the
performance of such obligations, and (iii) the Borrower, the Administrative Agent, the Swingline Lender,
the Issuing Lender and the other Lenders shall continue to deal solely and directly with such Lender in
connection with such Lender’s rights and obligations under this Agreement. Any agreement pursuant to
which a Lender sells such a participation shall provide that such Lender shall retain the sole right to enforce
this Agreement and to approve any amendment, modification or waiver of any provision of this Agreement;
provided that such agreement may provide that such Lender will not, without the consent of the Participant,
agree to any amendment, modification or waiver that (i) requires the consent of each Lender directly
affected thereby pursuant to the proviso to the second sentence of Section 10.1 and (ii) directly affects such
Participant. Each Lender that sells a participation agrees, at the Borrower’s request and expense, to use
reasonable efforts to effectuate the provisions of Section 2.22 with respect to any Participant. The Borrower
agrees that each Participant shall be entitled to the benefits of Sections 2.18, 2.19 and 2.20 (subject to the
requirements and limitations therein, including the requirements under Section 2.19(f) (it being understood
that the documentation required under Section 2.19(f) shall be delivered to the participating Lender)) to the
same extent as if it were a Lender and had acquired its interest by assignment pursuant to paragraph (b) of
this Section; provided that such Participant (i) agrees to be subject to the provisions of Sections 2.18 and
2.19 as if it were an assignee under paragraph (b) of this Section and (ii) shall not be entitled to receive any
greater payment under Sections 2.18 or 2.19, with respect to any participation, than its participating Lender
would have been entitled to receive, except to the extent that (x) the Borrower is notified of the participation
sold to such Participant and the sale of the participation to the Participant is made with the Borrower’s prior
written consent or (y) such entitlement to receive a greater payment results from an adoption of or any
change in any Requirement of Law or in the interpretation or application thereof or compliance by any
Lender with any request or directive (whether or not having the force of law) from any central bank or other
Governmental Authority made subsequent to the Closing Date that occurs after the Participant acquired the
applicable participation. To the extent permitted by law, each Participant also shall be entitled to the
benefits of Section 10.7(b) as though it were a Lender, provided such Participant shall be subject to Section
10.7(a) as though it were a Lender. Each Lender that sells a participation shall, acting solely for this purpose
as a non-fiduciary agent of the Borrower, maintain a register on which it enters the name and address of
each Participant and the principal amounts (and stated interest) of each Participant’s interest in the Loans
or other obligations under the Loan Documents (the “Participant Register”); provided that no Lender shall
have any obligation to disclose all or any portion of the Participant Register to any Person (including the
identity of any Participant or any information relating to a Participant’s interest in any Revolving
Commitments, Loans, Letters of Credit or its other obligations under any Loan Document) except to the

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extent that such disclosure is necessary to establish that such Commitment, Loan, Letter of Credit or other
obligation is in registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The
entries in the Participant Register shall be conclusive absent manifest error, and such Lender shall treat each
Person whose name is recorded in the Participant Register as the owner of such participation for all purposes
of this Agreement notwithstanding any notice to the contrary. For the avoidance of doubt, the
Administrative Agent (in its capacity as Administrative Agent) shall have no responsibility for maintaining
a Participant Register.

                  (d)     Any Lender may at any time pledge or assign a security interest in all or any portion
of its rights under this Agreement to secure obligations of such Lender, including any pledge or assignment
to secure obligations to a Federal Reserve Bank or any other central banking authority, and this Section
shall not apply to any such pledge or assignment of a security interest; provided that no such pledge or
assignment of a security interest shall release a Lender from any of its obligations hereunder or substitute
any such pledgee or Assignee for such Lender as a party hereto. The Borrower, upon receipt of written
notice from the relevant Lender, agrees to issue Notes to any Lender requiring Notes to facilitate
transactions of the type described in this paragraph (d).

                 (e)     [Reserved].

                 (f)     The list of Disqualified Lenders (i) shall be made available to the Lenders by
posting on IntraLinks/IntraAgency or another relevant Internet or intranet website, if any, to which each
Lender and the Administrative Agent have access (whether a commercial, third-party website or whether
sponsored by the Administrative Agent) and (ii) shall be provided to any Lender upon request by such
Lender to the Administrative Agent. A Lender may provide the list of Disqualified Lenders to any potential
assignee or participant on a confidential basis in accordance with Section 10.15 hereof for the purpose of
verifying whether such Person is a Disqualified Lender.

                  10.7     Adjustments; Set-off. (a) Except to the extent that this Agreement or a court order
expressly provides for payments to be allocated to a particular Lender, if any Lender (a “Benefitted
Lender”) shall receive any payment of all or part of the Obligations owing to it (other than in connection
with an assignment made pursuant to Section 10.6), or receive any collateral in respect thereof (whether
voluntarily or involuntarily, by set-off, pursuant to events or proceedings of the nature referred to in Section
8.1(g), or otherwise), in a greater proportion than any such payment to or collateral received by any other
Lender, if any, in respect of the Obligations owing to such other Lender, such Benefitted Lender shall
purchase for cash from the other Lenders a participating interest in such portion of the Obligations owing
to each such other Lender, or shall provide such other Lenders with the benefits of any such collateral, as
shall be necessary to cause such Benefitted Lender to share the excess payment or benefits of such collateral
ratably with each of the Lenders; provided, however, that if all or any portion of such excess payment or
benefits is thereafter recovered from such Benefitted Lender, such purchase shall be rescinded, and the
purchase price and benefits returned, to the extent of such recovery, but without interest; provided further,
that to the extent prohibited by applicable law as described in the definition of “Excluded Swap Obligation,”
no amounts received from, or set-off with respect to, any Guarantor shall be applied to any Excluded Swap
Obligations of such Guarantor.

                  (b)     In addition to any rights and remedies of the Lenders provided by law, each Lender
shall have the right, without notice to the Borrower, any such notice being expressly waived by the
Borrower to the extent permitted by applicable law, upon any Obligations becoming due and payable by
the Borrower (whether at the stated maturity, by acceleration or otherwise), to apply to the payment of such
Obligations, by setoff or otherwise, any and all deposits (general or special, time or demand, provisional or
final), in any currency, and any other credits, indebtedness or claims, in any currency, in each case whether
direct or indirect, absolute or contingent, matured or unmatured, at any time held or owing by such Lender,

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any affiliate thereof or any of their respective branches or agencies to or for the credit or the account of the
Borrower; provided that if any Defaulting Lender shall exercise any such right of setoff (i) all amounts so
set-off shall be paid over immediately to the Administrative Agent for further application in accordance
with the provisions of this Agreement and, pending such payment, shall be segregated by such Defaulting
Lender from its other funds and deemed held in trust for the benefit of the Administrative Agent, the Issuing
Lenders, the Swingline Lender and the Lenders and (ii) the Defaulting Lender shall provide promptly to
the Administrative Agent a statement describing in reasonable detail the obligations owing to such
Defaulting Lender as to which it exercised such right of set-off. Each Lender agrees promptly to notify the
Borrower and the Administrative Agent after any such application made by such Lender, provided that the
failure to give such notice shall not affect the validity of such application.

                  10.8     Counterparts. This Agreement may be executed by one or more of the parties to
this Agreement on any number of separate counterparts, and all of said counterparts taken together shall be
deemed to constitute one and the same instrument. Delivery of an executed signature page of this
Agreement by e-mail or facsimile transmission shall be effective as delivery of a manually executed
counterpart hereof. A set of the copies of this Agreement signed by all the parties shall be lodged with the
Borrower and the Administrative Agent. The words “execution,” “signed,” “signature,” “delivery,” and
words of like import in or relating to any document to be signed in connection with this Agreement and the
transactions contemplated hereby shall be deemed to include Electronic Signatures, deliveries or the
keeping of records in electronic form, each of which shall be of the same legal effect, validity or
enforceability as a manually executed signature, physical delivery thereof or the use of a paper-based
recordkeeping system, as the case may be, to the extent and as provided for in any applicable law, including
the Federal Electronic Signatures in Global and National Commerce Act, the New York State Electronic
Signatures and Records Act, or any other similar state laws based on the Uniform Electronic Transactions
Act; provided that nothing herein shall require the Administrative Agent to accept electronic signatures in
any form or format without its prior written consent; provided further that if the Administrative Agent
accepts electronic signatures of the Loan Parties with respect to this Agreement, the Loan Parties shall
deliver to the Administrative Agent original signature pages within five Business Days of the Closing Date
(or such later date as agreed by the Administrative Agent). Without limiting the generality of the foregoing,
the Borrower hereby (i) agrees that, for all purposes, including without limitation, in connection with any
workout, restructuring, enforcement of remedies, bankruptcy proceedings or litigation among the
Administrative Agent, the Lenders and the Loan Parties, electronic images of this Agreement or any other
Loan Documents (in each case, including with respect to any signature pages thereto) shall have the same
legal effect, validity and enforceability as any paper original, and (ii) waives any argument, defense or right
to contest the validity or enforceability of the Loan Documents based solely on the lack of paper original
copies of any Loan Documents, including with respect to any signature pages thereto.

                10.9     Severability. Any provision of this Agreement that is prohibited or unenforceable
in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or
unenforceability without invalidating the remaining provisions hereof, and any such prohibition or
unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in any other
jurisdiction.

                  10.10 Integration. This Agreement and the other Loan Documents represent the entire
agreement of the Borrower, the Administrative Agent and the Lenders with respect to the subject matter
hereof and thereof, and there are no promises, undertakings, representations or warranties by the
Administrative Agent or any Lender relative to the subject matter hereof not expressly set forth or referred
to herein or in the other Loan Documents.




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                 10.11   GOVERNING LAW.

           (a)   THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE
PARTIES UNDER THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED AND
INTERPRETED IN ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK.

               (b)      Each of the Lenders and the Administrative Agent hereby irrevocably and
unconditionally agrees that, notwithstanding the governing law provisions of any applicable Loan
Document, any claims brought against the Administrative Agent by any Lender relating to this Agreement,
any other Loan Document, the Collateral or the consummation or administration of the transactions
contemplated hereby or thereby shall be construed in accordance with and governed by the law of the State
of New York.

                10.12 Submission To Jurisdiction; Waivers. The Borrower and each Credit Party hereby
irrevocably and unconditionally:

                 (a)     submits for itself and its property in any legal action or proceeding relating to this
        Agreement and the other Loan Documents to which it is a party, or for recognition and enforcement
        of any judgment in respect thereof, to the exclusive jurisdiction of the courts of the United States
        for the Southern District of New York located in the Borough of Manhattan (or in the event such
        courts lack subject matter jurisdiction, to the courts of the State of New York located in the Borough
        of Manhattan), and appellate courts from any thereof; provided, that nothing contained herein or in
        any other Loan Document will prevent any Lender or the Administrative Agent from bringing any
        action to enforce any award or judgment or exercise any right under the Security Documents or
        against any Collateral or any other property of any Loan Party in any other forum in which
        jurisdiction can be established;

                (b)     consents that any such action or proceeding may be brought in such courts and
        waives any objection that it may now or hereafter have to the venue of any such action or
        proceeding in any such court or that such action or proceeding was brought in an inconvenient court
        and agrees not to plead or claim the same;

                 (c)     agrees that service of process in any such action or proceeding may be effected by
        mailing a copy thereof by registered or certified mail (or any substantially similar form of mail),
        postage prepaid, to the Borrower or the applicable Credit Party at its address set forth in Section
        10.2 or at such other address of which the applicable party shall have been notified pursuant thereto;

               (d)     agrees that nothing herein shall affect the right to effect service of process in any
        other manner permitted by law; and

                (e)     waives, to the maximum extent not prohibited by law, any right it may have to
        claim or recover in any legal action or proceeding referred to in this Section any indirect, special,
        exemplary, punitive or consequential damages.

                 10.13 Acknowledgments. The Borrower hereby acknowledges and agrees that (a) no
fiduciary, advisory or agency relationship between the Loan Parties and the Credit Parties is intended to be
or has been created in respect of any of the transactions contemplated by this Agreement or the other Loan
Documents, irrespective of whether the Credit Parties have advised or are advising the Loan Parties on
other matters, and the relationship between the Credit Parties, on the one hand, and the Loan Parties, on the
other hand, in connection herewith and therewith is solely that of creditor and debtor, (b) the Credit Parties,
on the one hand, and the Loan Parties, on the other hand, have an arm’s length business relationship that

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does not directly or indirectly give rise to, nor do the Loan Parties rely on, any fiduciary duty to the Loan
Parties or their affiliates on the part of the Credit Parties, (c) the Loan Parties are capable of evaluating and
understanding, and the Loan Parties understand and accept, the terms, risks and conditions of the
transactions contemplated by this Agreement and the other Loan Documents, (d) the Loan Parties have
been advised that the Credit Parties are engaged in a broad range of transactions that may involve interests
that differ from the Loan Parties’ interests and that the Credit Parties have no obligation to disclose such
interests and transactions to the Loan Parties, (e) the Loan Parties have consulted their own legal,
accounting, regulatory and tax advisors to the extent the Loan Parties have deemed appropriate in the
negotiation, execution and delivery of this Agreement and the other Loan Documents, (f) each Credit Party
has been, is, and will be acting solely as a principal and, except as otherwise expressly agreed in writing by
it and the relevant parties, has not been, is not, and will not be acting as an advisor, agent or fiduciary for
the Loan Parties, any of their affiliates or any other Person, (g) none of the Credit Parties has any obligation
to the Loan Parties or their affiliates with respect to the transactions contemplated by this Agreement or the
other Loan Documents except those obligations expressly set forth herein or therein or in any other express
writing executed and delivered by such Credit Party and the Loan Parties or any such affiliate and (h) no
joint venture is created hereby or by the other Loan Documents or otherwise exists by virtue of the
transactions contemplated hereby among the Credit Parties or among the Loan Parties and the Credit
Parties.

                  10.14 Releases of Guarantees and Liens. At such time as the Loans and the other
obligations (other than indemnification or reimbursement obligations under Section 2.18, 2.19(a), 2.19(d)
or 2.20 for which the Borrower has not been notified and contingent indemnification obligations that are
expressly stated to survive repayment of the Facility) under the Loan Documents shall have been paid in
full, no Letters of Credit shall be outstanding (other than Letters of Credit cash collateralized or otherwise
backstopped in a manner satisfactory to the applicable Issuing Lender and the Administrative Agent) and
the Revolving Commitments have been terminated, all Collateral shall automatically be released from the
Liens created by the Security Documents, and the Security Documents and all obligations (other than those
expressly stated to survive such termination) of the Administrative Agent and each Loan Party under the
Security Documents shall automatically terminate, all without delivery of any instrument or performance
of any act by any Person. In connection with any termination or release pursuant to this clause (b), the
Administrative Agent shall promptly execute and deliver to the relevant Loan Party, and shall file and
record, at such Loan Party’s expense, all documents that such Loan Party shall reasonably request to
evidence such release, including UCC-3 amendments or termination statements in relation to any UCC-1
financing statements then of record, and shall promptly return to the relevant Loan Party any share
certificates (and related powers and proxies), instruments, chattel paper, negotiable documents and other
Collateral theretofore delivered to the Administrative Agent, each in the form in which the same was
received, free and clear of all Liens created by and through the Administrative Agent.

Notwithstanding anything to the contrary contained herein or in any other Loan Document, the
Administrative Agent is hereby irrevocably authorized by each Lender (without requirement of notice to or
consent of any Lender except as expressly required by Section 10.1) to take any action requested by the
Borrower having the effect of releasing any Collateral or guarantee obligations (i) to the extent necessary
to permit consummation of any transaction not prohibited by any Loan Document or that has been consented
to in accordance with Section 10.1 or (ii) under the circumstances described in paragraphs (a) or (b) above.

                 10.15 Confidentiality. Each of the Administrative Agent and each Lender agrees to keep
confidential all non-public information provided to it by any Loan Party, the Administrative Agent or any
Lender pursuant to or in connection with this Agreement that is designated by the provider thereof as
confidential; provided that nothing herein shall prevent the Administrative Agent or any Lender from
disclosing any such information (a) to the Administrative Agent, any other Lender or any affiliate thereof,
(b) subject to an agreement to comply with the provisions of this Section, to any actual or prospective

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Transferee or any direct or indirect counterparty to any Swap Agreement (or any professional advisor to
such counterparty), in each case made expressly for the benefit of the Loan Parties, (c) to its employees,
directors, agents, attorneys, accountants and other professional advisors or those of any of its affiliates, that
are advised of the confidential nature of such information and of this Section 10.15, (d) upon the request or
demand of any Governmental Authority, (e) in response to any order of any court or other Governmental
Authority or as may otherwise be required pursuant to any Requirement of Law, (f) if requested or required
to do so in connection with any litigation or similar proceeding, (g) that has been publicly disclosed other
than as a result of a breach of this Section 10.15 or any other applicable confidentiality or non-disclosure
requirement, (h) to the National Association of Insurance Commissioners or any similar organization or
any nationally recognized rating agency that requires access to information about a Lender’s investment
portfolio in connection with ratings issued with respect to such Lender, (i) in connection with the exercise
of any remedy hereunder or under any other Loan Document to the extent relevant to the proceedings
pursuant to which such remedy is being exercised, (j) to data service providers (including league table
providers) that serve the lending industry to the extent such information is of the type customarily provided
to such providers or (k) if agreed by the Borrower in its sole discretion, to any other Person.

                 Each Lender acknowledges that information furnished to it pursuant to this Agreement or
the other Loan Documents may include material non-public information concerning the Borrower and its
Affiliates and their Related Parties or their respective securities, and confirms that it has developed
compliance procedures regarding the use of material non-public information and that it will handle such
material non-public information in accordance with those procedures and applicable law, including Federal
and state securities laws.

                 All information, including requests for waivers and amendments, furnished by the
Borrower or the Administrative Agent pursuant to, or in the course of administering, this Agreement or the
other Loan Documents will be syndicate-level information, which may contain material non-public
information about the Borrower and its Affiliates and their Related Parties or their respective securities.
Accordingly, each Lender represents to the Borrower and the Administrative Agent that it has identified in
its administrative questionnaire a credit contact who may receive information that may contain material
non-public information in accordance with its compliance procedures and applicable law, including federal
and state securities laws.

                  Holdings represents and warrants that it and its Subsidiaries either (i) have no registered or
publicly traded securities outstanding, or (ii) files its financial statements with the SEC and/or makes its
financial statements available to potential holders of its 144A securities, and, accordingly, Holdings hereby
(i) authorizes the Administrative Agent to make the financial statements to be provided under Section 6.1(a)
and (b), along with the Loan Documents, available to Public-Siders and (ii) agrees that at the time such
financial statements are provided hereunder, they shall already have been made available to holders of its
securities. Holdings will not request that any other material be posted to Public-Siders without expressly
representing and warranting to the Administrative Agent in writing that such materials do not constitute
material non-public information within the meaning of the federal securities laws or that Holdings and its
Subsidiaries have no outstanding publicly traded securities, including 144A securities. For the avoidance
of doubt, the Budget and monthly financial statements provided pursuant to Section 6.1(c) shall not be
posted to Public-Siders.

                 Holdings hereby acknowledges that (a) the Administrative Agent will make available to
the Lenders materials and/or information provided by or on behalf of the Loan Parties hereunder
(collectively, the “Borrower Materials”) by posting the Borrower Materials on IntraLinks/IntraAgency or
another similar electronic system (the “Platform”) and (b) certain of the Lenders may be Public-Siders. If
any Borrower Materials are designated by the Loan Parties as “PRIVATE”, such Borrower Materials will
not be made available to that portion of the Platform designated “Public Investor,” which is intended to

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contain only information that is either publicly available or not material information (though it may be
sensitive and proprietary) with respect to Borrower, its Subsidiaries or their securities for purposes of
federal and state securities laws. The Administrative Agent shall be entitled to treat any Borrower Materials
that are not marked “PRIVATE” or “CONFIDENTIAL” as not containing any material non-public
information with respect to Holdings, its Subsidiaries or their securities for purposes of federal and state
securities laws.

            10.16 WAIVERS OF JURY TRIAL. THE BORROWER, THE ADMINISTRATIVE
AGENT AND THE LENDERS HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVE
TRIAL BY JURY IN ANY LEGAL ACTION OR PROCEEDING RELATING TO THIS AGREEMENT
OR ANY OTHER LOAN DOCUMENT AND FOR ANY COUNTERCLAIM THEREIN.

                10.17    USA Patriot Act; Beneficial Ownership Regulation.

                 (a)     Each Lender hereby notifies the Borrower that pursuant to the requirements of the
USA Patriot Act (Title III of Pub. L. 107-56 (signed into law October 26, 2001)) (the “Patriot Act”), it is
required to obtain, verify and record information that identifies the Borrower, which information includes
the name and address of the Borrower and other information that will allow such Lender to identify the
Borrower in accordance with the Patriot Act.

               (b)     Promptly following any request therefor, the Borrower shall provide information
and documentation reasonably requested by the Administrative Agent or any Lender for purposes of
compliance with the Beneficial Ownership Regulation.

                10.18    [Reserved].

                 10.19 Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement
or understanding among any such parties, each party hereto acknowledges that any liability of any Affected
Financial Institution arising under any Loan Document may be subject to the Write-Down and Conversion
Powers of the applicable Resolution Authority and agrees and consents to, and acknowledges and agrees to
be bound by:

                (a)      the application of any Write-Down and Conversion Powers by the applicable
        Resolution Authority to any such liabilities arising hereunder which may be payable to it by any
        party hereto that is an Affected Financial Institution; and

                (b)      the effects of any Bail-In Action on any such liability, including, if applicable:

                (c)      a reduction in full or in part or cancellation of any such liability;

               (d)     a conversion of all, or a portion of, such liability into shares or other instruments
        of ownership in such Affected Financial Institution, its parent entity, or a bridge institution that
        may be issued to it or otherwise conferred on it, and that such shares or other instruments of
        ownership will be accepted by it in lieu of any rights with respect to any such liability under this
        Agreement or any other Loan Document; or

               (e)    the variation of the terms of such liability in connection with the exercise of the
        Write-Down and Conversion Powers of the applicable Resolution Authority.




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                 10.20 Acknowledgement Regarding Any Supported QFCs. To the extent that the Loan
Documents provide support, through a guarantee or otherwise, for hedging agreements or any other
agreement or instrument that is a QFC (such support “QFC Credit Support” and each such QFC a
“Supported QFC”), the parties acknowledge and agree as follows with respect to the resolution power of
the Federal Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title II of the
Dodd-Frank Wall Street Reform and Consumer Protection Act (together with the regulations promulgated
thereunder, the “U.S. Special Resolution Regimes”) in respect of such Supported QFC and QFC Credit
Support (with the provisions below applicable notwithstanding that the Loan Documents and any Supported
QFC may in fact be stated to be governed by the laws of the State of New York and/or of the United States
or any other state of the United States):

                  In the event a Covered Entity that is party to a Supported QFC (each, a “Covered Party”)
becomes subject to a proceeding under a U.S. Special Resolution Regime, the transfer of such Supported
QFC and the benefit of such QFC Credit Support (and any interest and obligation in or under such Supported
QFC and such QFC Credit Support, and any rights in property securing such Supported QFC or such QFC
Credit Support) from such Covered Party will be effective to the same extent as the transfer would be
effective under the U.S. Special Resolution Regime if the Supported QFC and such QFC Credit Support
(and any such interest, obligation and rights in property) were governed by the laws of the United States or
a state of the United States. In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes
subject to a proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents
that might otherwise apply to such Supported QFC or any QFC Credit Support that may be exercised against
such Covered Party are permitted to be exercised to no greater extent than such Default Rights could be
exercised under the U.S. Special Resolution Regime if the Supported QFC and the Loan Documents were
governed by the laws of the United States or a state of the United States. Without limitation of the foregoing,
it is understood and agreed that rights and remedies of the parties with respect to a Defaulting Lender shall
in no event affect the rights of any Covered Party with respect to a Supported QFC or any QFC Credit
Support.

                10.21 Orders Control. To the extent that any specific provision hereof is inconsistent
with any of the Orders, the Interim DIP Order or Final DIP Order (as applicable) shall control.

                 10.22 Milestones.Interim DIP Order. By no later than five (5) days following the Petition
Date, the Interim DIP Order in form and substance acceptable to the Administrative Agent shall have been
entered by the Bankruptcy Court.

                (b)      Final DIP Order. By no later than forty (40) days following the Petition Date (or if
        such fortieth (40th) calendar day is not a Business Day, the immediately succeeding Business Day),
        the Final DIP Order in form and substance acceptable to the Administrative Agent shall have been
        entered by the Bankruptcy Court.

                 (c)    Bidding Procedures Motion. By no later than ten (10) days following the Petition
        Date, the Chapter 11 Debtors shall have filed a motion with the Bankruptcy Court seeking to
        establish procedures for the sale of all or substantially all of the assets of the Debtors (the “Bidding
        Procedures”) in form and substance reasonably satisfactory to the Administrative Agent;

                (d)     Bidding Procedures Order. By no later than forty (40) days following the Petition
        Date (or if such fortieth (40th) calendar day is not a Business Day, the immediately succeeding
        Business Day), the Bankruptcy Court shall have entered the Bidding Procedures Order;

                (e)     Binding Offers. By no later than the Bid Deadline, the Debtors or the Debtors’
        professionals shall have received one or more binding offers satisfying the bid procedures set forth

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      in the Bidding Procedures Order for the purchase of the Sale Assets, which binding offers (i) do
      not contain financing or diligence contingencies and (ii) provide for either (x) Payment in Full or
      (y) the assumption of the Facility subject to the prior written consent of each of the Lenders.

              [Remainder of this page intentionally left blank. Signature pages follow.]




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                              EXHIBIT B
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  SUPER-PRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT AND
                      GUARANTY AGREEMENT


                            dated as of July [ ], 2025


                                     among

                DEL MONTE FOODS CORPORATION II INC.,
                       as Borrower and a Debtor,

                    DM INTERMEDIATE II CORPORATION,
                          as Holdings and a Debtor,

    CERTAIN SUBSIDIARIES OF DEL MONTE FOODS CORPORATION II INC.,
                       as Guarantors and Debtors,

                             VARIOUS LENDERS,

                WILMINGTON SAVINGS FUND SOCIETY, FSB,
                 as Administrative Agent and Collateral Agent,

                                       and

                            OPY CREDIT CORP.,
                               as Trading Agent
          ________________________________________________________
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  SUPER-PRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION CREDIT AND
                      GUARANTY AGREEMENT

              This SUPER-PRIORITY SENIOR SECURED DEBTOR-IN-POSSESSION
CREDIT AND GUARANTY AGREEMENT, dated as of July [ ], 2025, is entered into by and
among DEL MONTE FOODS CORPORATION II INC., a New Jersey corporation (the
“Borrower”), DM INTERMEDIATE II CORPORATION, a New Jersey corporation
(“Holdings”), CERTAIN SUBSIDIARIES OF HOLDINGS, as Guarantors, the Lenders party
hereto from time to time, WILMINGTON SAVINGS FUND SOCIETY, FSB (“WSFS”), as
Administrative Agent (together with its permitted successors in such capacity, “Administrative
Agent”) and as Collateral Agent (together with its permitted successor in such capacity,
“Collateral Agent”) and OPY CREDIT CORP (“OPY”), as Trading Agent.

                                          RECITALS:

              WHEREAS, capitalized terms used in these recitals shall have the respective
meanings set forth for such terms in Section 1.1 hereof;

               WHEREAS, on July [1], 2025 (the “Petition Date”), Holdings, the Borrower and
certain Domestic Subsidiaries of the Borrower (collectively, the “Debtors” and, each individually,
a “Debtor”) voluntarily commenced chapter 11 cases (the “Chapter 11 Cases”) under Chapter 11
of the U.S. Bankruptcy Code in the United States Bankruptcy Court for the District of New Jersey
(the “Bankruptcy Court”) and the Debtors have retained possession of their assets and are
authorized under the Bankruptcy Code to continue the operations of their businesses as
debtors-in-possession;

               WHEREAS, prior to the Petition Date, the Lenders (together with the Prepetition
Lenders (as defined below)) provided financing to the Borrower pursuant to that certain Super-
Priority Credit and Guaranty Agreement, dated as of August 2 ,2024, among Holdings, the
Borrower, Wilmington Savings Fund Society, FSB, as Administrative Agent and Collateral Agent
(the “Prepetition Agent”), and the lenders party thereto from time to time (the “Prepetition
Lenders”) (as amended by that certain Amendment No. 1 to Super-Priority Credit and Guaranty
Agreement, dated as of April 8, 2025, that certain Amendment No. 2 to Super-Priority Credit and
Guaranty Agreement, dated as of June 24, 2025, and as further amended, restated, amended and
restated, supplemented or otherwise modified from time to time, the “Prepetition Credit
Agreement”);

              WHEREAS, on the Petition Date, the Prepetition Lenders were owed
approximately $999,243,404 in outstanding principal balance of Term Loans (as defined in the
Prepetition Credit Agreement) (the “Prepetition Term Loans”) plus interest, fees, costs and
expenses and all other Prepetition Obligations under the Prepetition Credit Agreement;

                WHEREAS, the Borrower has requested and the Lenders have agreed to make
available to the Borrower, a super-priority senior secured debtor-in-possession term loan credit
facility (the “DIP Facility”), consisting of (i) term loans in an initial aggregate principal amount
equal to $165,000,000 (the “DIP Term Loans”) available in Dollars and (ii) a term loan facility
in an aggregate principal amount not to exceed $247,500,000 (the “Roll-Up Loans”, together with


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the DIP Term Loans, the “Term Loans”), which Roll-Up Loans will result from the conversion
from and exchange of certain of the Prepetition Term Loans;

             WHEREAS, the proceeds of the Term Loans shall be used in accordance with the
Approved DIP Budget (subject to Permitted Variances); and

                WHEREAS, subject to the terms of this Agreement, the other Credit Documents
and the DIP Orders, Holdings, the Borrower and the other Credit Parties have agreed to secure all
of their Obligations under the Credit Documents by granting to the Administrative Agent, for the
benefit of the Administrative Agent and the other Secured Parties, a first priority priming security
interest in and lien upon substantially all of their property (subject to the DIP Orders and Carve
Out), whether now existing or acquired after the date hereof, subject to exceptions specified herein
or in the other Credit Documents;

               NOW, THEREFORE, in consideration of the premises and the agreements,
provisions and covenants herein contained, the parties hereto agree as follows:

       SECTION 1.         DEFINITIONS AND INTERPRETATION

        1.1.    Definitions. The following terms used herein, including in the preamble, recitals,
exhibits and schedules hereto, shall have the following meanings:

               “ABL DIP Agent” has the meaning specified in the definition of ABL DIP Credit
Agreement.

                “ABL DIP Credit Agreement” means that certain Debtor-in-Possession ABL
Credit Agreement, dated as of July [ ], 2025, among the Borrower, certain other parties thereto,
JPMorgan Chase Bank, N.A., as administrative agent (the “ABL DIP Agent”) and the lenders
party thereto (the “ABL DIP Lenders”) with respect to the ABL DIP Facility.

             “ABL DIP Credit Documents” means the ABL DIP Credit Agreement and the
other Loan Documents (as defined in the ABL DIP Credit Agreement).

               “ABL DIP Facility” means that certain senior secured postpetition revolving credit
facility comprised of a roll-up or refinancing of the outstanding loans under the Prepetition ABL
Credit Agreement on a dollar-for-dollar basis into new revolving loans or commitments, as
applicable pursuant to terms reasonably satisfactory to the Requisite Lenders.

               “ABL DIP Loans” means the Revolving Loans (as defined in the ABL DIP Credit
Agreement).

               “ABL Priority Collateral” has the meaning specified in the Prepetition ABL
Intercreditor Agreement.

               “Actual Disbursements” shall mean the Actual Non-Operating Items /
Restructuring Items and the Actual Operating Disbursements.




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               “Actual Non-Operating Items / Restructuring Items” means with respect to any
period, the amount of non-operating items / restructuring items expended during such period for
which the Credit Parties are liable for payment (including as reimbursement to any Secured Party
or the Lender Advisors) that correspond to the heading “Non-Operating Items / Restructuring
Items” in the Approved DIP Budget as then in effect.

               “Actual Operating Disbursements” shall mean with respect to any period, the
sum, for such period, of all such disbursements for all such line items which comprise “Operating
Disbursements”, (as set forth in the Approved DIP Budget) on a cumulative basis, as determined
by reference to the Approved DIP Budget as then in effect.

                “Actual Receipts” shall mean with respect to any period, as the context requires,
(x) the amount of actual receipts during such period of the Credit Parties (excluding any
borrowings under this Agreement or the ABL DIP Credit Agreement) under the heading
“Receipts” in the Approved DIP Budget and/or (y) the sum, for such period, of all such receipts
for all such line items which comprise “Receipts” (as set forth in the Approved DIP Budget), on a
cumulative basis, in each case, as determined by reference to the Approved DIP Budget as then in
effect. For the avoidance of doubt, any proceeds received from asset sales shall be excluded.

                “Adjusted Term SOFR” means, for purposes of any calculation, the rate per
annum equal to (a) Term SOFR for such calculation plus (b) the Term SOFR Adjustment; provided
that if Adjusted Term SOFR as so determined shall ever be less than the Floor, then Adjusted Term
SOFR shall be deemed to be the Floor.

               “Administrative Agent” as defined in the preamble hereto.

               “Administrative Agent Fee Letter” means that certain Fee Letter dated as of the
Effective Date between the Borrower and the Administrative Agent.

               “Adverse Proceeding” means any action, suit, proceeding, hearing (in each case,
whether administrative, judicial or otherwise), governmental investigation or arbitration (whether
or not purportedly on behalf of Holdings or any of its Subsidiaries) at law or in equity, or before
or by any Governmental Authority, domestic or foreign (including any Environmental Claims),
whether pending or, to the knowledge of Holdings or any of its Subsidiaries, threatened in writing
against or affecting Holdings or any of its Subsidiaries or any property of Holdings or any of its
Subsidiaries, but excluding the Chapter 11 Cases.

             “Affected Financial Institution” means (i) any EEA Financial Institution or (ii)
any UK Financial Institution.

               “Affected Lender” as defined in Section 2.18(b).

               “Affected Loans” as defined in Section 2.18(b).

               “Affiliate” means, as applied to any Person, any other Person directly or indirectly
controlling, controlled by, or under common control with, that Person. For the purposes of this
definition, “control” (including, with correlative meanings, the terms “controlling,” “controlled
by” and “under common control with”), as applied to any Person, means the possession, directly

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or indirectly, of the power to direct or cause the direction of the management and policies of that
Person.

               “Agent” means each of (i) Administrative Agent, (ii) Collateral Agent, (iii) any
other Person appointed under the Credit Documents to serve in an agent or similar capacity and
(iv) where applicable, the Trading Agent.

               “Agent Affiliates” as defined in Section 10.1(b)(iii).

               “Aggregate Amounts Due” as defined in Section 2.17.

               “Aggregate Payments” as defined in Section 7.2.

             “Agreement” means this Super-Priority Senior Secured Debtor-in-Possession
Credit and Guaranty Agreement, dated as of July [ ], 2025, as it may be amended, restated,
supplemented or otherwise modified from time to time.

               “Allowed Professional Fees” has the meaning assigned to such term in the Interim
Order.

               “Anti-Corruption Laws” as defined in Section 4.22(b).

                “Applicable Holdings” means DMFHL; provided that if DMFHL or any of its
Subsidiaries (other than Subsidiaries of Holdings) commences new operations after the Effective
Date, or expands its existing operations after the Effective Date or acquires any Person or business
after the Effective Date, Applicable Holdings shall mean Holdings.

                “Applicable Margin” means (i) with respect to the DIP Term Loans, a per annum
rate equal to 9.50% for SOFR Loans, of which 8.50% will be paid in kind and the remainder shall
be paid in cash and 8.50% for Base Rate Loans, of which 7.50% will be paid in kind and the
remainder shall be paid in cash and (ii) with respect to the Roll-Up Loans, a per annum rate equal
to 9.50% for SOFR Loans, which will be paid in kind and 8.50% for Base Rate Loans, which will
be paid in kind.

              “Approved Commercial Bank” means a commercial bank with a consolidated
combined capital and surplus of at least $5,000,000,000.

               “Approved DIP Budget” means the then most current budget prepared by the
Borrower and approved by the Requisite Lenders (which may be communicated via a Direction of
the Requisite Lenders) in accordance with Section 5.24. As of the Effective Date, the Approved
DIP Budget is attached hereto as Exhibit O.

               “Approved Budget Variance Report” shall mean, with respect to a Testing
Period, a report provided by the Borrower to the Administrative Agent and the Lender Advisors,
for prompt further delivery to the Lenders, (a)(i) showing, on a line item by line item and
cumulative basis, the Actual Disbursements and the Actual Receipts for such Testing Period, (ii)
showing, on a line item by line item and cumulative basis, a comparison (whether positive or
negative, in dollars and expressed as a percentage) of the Actual Disbursements and the Actual for


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such Testing Period to the Budgeted Disbursements and the Budgeted Receipts, (iii) an indication
as to whether each variance is temporary or permanent and analysis and explanations in detail for
all variances, (iv) only in the event that a Subsequent DIP Budget has been requested during the
last week of a Budget Period, a weekly roll forward of the Credit Parties’ cash forecast; and (v) a
cash balance for the Credit Parties; and (b) which such reports shall be in a form, and shall contain
supporting information, satisfactory to the Requisite Lenders in their sole discretion (it being
acknowledged and agreed that the form of the variance report provided by the Borrower to the
Lenders prior to the Effective Date shall be deemed satisfactory).

                “Approved Electronic Communications” means any notice, demand,
communication, information, document or other material that any Credit Party provides to
Administrative Agent pursuant to any Credit Document or the transactions contemplated therein
that is distributed to Agents or Lenders by means of electronic communications pursuant to
Section 10.1(b).

                “Asset Sale” means a voluntary sale, lease or sub-lease (as lessor or sublessor),
sale and leaseback, assignment, conveyance, exclusive license (as licensor or sublicensor), transfer
or other disposition to, or any exchange of property with, any Person (other than the Borrower or
any Guarantor), in one transaction or a series of transactions, of all or any part of Holdings’ or any
of its Subsidiaries’ businesses, assets or properties of any kind, whether real, personal, or mixed
and whether tangible or intangible, whether now owned or hereafter acquired, leased or licensed,
including the Equity Interests of any of Holdings’ Subsidiaries, other than:

                (i) inventory (or other assets) sold, leased or licensed out in the Ordinary Course of
Business, including the abandonment of intellectual property rights in the Ordinary Course of
Business which in the reasonable view of the Borrower are not individually or in the aggregate
material to the business of Holdings and its Subsidiaries, taken as a whole (excluding any such
sales, leases or licenses out by operations or divisions discontinued or to be discontinued);

                (ii) sales, leases or licenses out of other assets to the extent not materially interfering
with the business of Holdings and its Subsidiaries (other than as would have a material adverse
effect on the value of the Collateral or the ability of the Collateral Agent or the Lenders to realize
the benefits of, and intended to be afforded by, the Collateral);

                (iii) [reserved];

               (iv) the sale of all or any of the facilities of the Borrower located in Toppenish,
Washington and/or Markesan, Wisconsin, in each case, solely to the extent that such proceeds are
being used in accordance with the Approved DIP Budget; and

               (v) trade-ins and exchanges of assets with third parties conducted in the Ordinary
Course of Business to the extent substantially comparable (or better) assets useful in the operation
of the business of any Credit Party is obtained in exchange therefor.

              “Assignment Agreement” means, as applicable, an Assignment and Assumption
Agreement substantially in the form of Exhibit D, with such amendments or modifications as may
be approved by Administrative Agent.


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                “Assignment Effective Date” as defined in Section 10.6(b).

                “Attorney Costs” means and includes all reasonable and documented or invoiced
out-of-pocket fees, expenses and disbursements of any specified law firm or other specified
external legal counsel.

                “Authorized Officer” means, as applied to any Person, any individual holding the
position of director, chairman of the board (if an officer), chief executive officer, president, vice
president (or the equivalent thereof), chief financial officer (or the equivalent thereof or treasurer
of such Person); provided that the secretary or assistant secretary or any other Authorized Officer
of such Person shall have delivered an incumbency certificate to Administrative Agent as to the
authority of such Authorized Officer.

                “Available Tenor” means, as of any date of determination and with respect to the
then-current Benchmark, as applicable, (x) if such Benchmark is a term rate, any tenor for such
Benchmark (or component thereof) that is or may be used for determining the length of an interest
period pursuant to this Agreement or (y) otherwise, any payment period for interest calculated with
reference to such Benchmark (or component thereof) that is or may be used for determining any
frequency of making payments of interest calculated with reference to such Benchmark, in each
case, as of such date and not including, for the avoidance of doubt, any tenor for such Benchmark
that is then-removed from the definition of “Interest Period” pursuant to Section 2.28(d).

               “Backstop Parties” means the entities set forth on Schedule 1.01B hereto, on file
with the Administrative Agent (the “Backstop Allocation Schedule”), together with their
respective successors and permitted assignees.

              “Bail-In Action” means the exercise of any Write-Down and Conversion Powers
by the applicable Resolution Authority in respect of any liability of an Affected Financial
Institution.

                “Bail-In Legislation” means, (a) with respect to any EEA Member Country
implementing Article 55 of Directive 2014/59/EU of the European Parliament and of the Council
of the European Union, the implementing law, regulation, rule or requirement for such EEA
Member Country from time to time which is described in the EU Bail-In Legislation Schedule
from time to time and (b) with respect to the United Kingdom, Part I of the United Kingdom
Banking Act 2009 (as amended from time to time) and any other law, regulation or rule applicable
in the United Kingdom relating to the resolution of unsound or failing banks, investment firms or
other financial institutions or their affiliates (other than through liquidation, administration or other
insolvency proceedings).

              “Bankruptcy Code” means Title 11 of the United States Code entitled
“Bankruptcy”, as now and hereafter in effect, or any successor statute.

                “Bankruptcy Court” as defined in the preamble hereto.

               “Base Rate” means, for any day, a rate per annum equal to the greatest of (i) the
Prime Rate in effect on such day, (ii) the Federal Funds Effective Rate in effect on such day plus
0.50% and (iii) the sum of (a) the Adjusted Term SOFR (after giving effect to the Floor) that would

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be payable on such day for a SOFR Loan with a one-month interest period plus (b) 1%. Any change
in the Base Rate due to a change in the Prime Rate or the Federal Funds Effective Rate shall be
effective on the effective day of such change in the Prime Rate or the Federal Funds Effective
Rate, respectively.

               “Base Rate Loan” means a Loan bearing interest at a rate determined by reference
to the Base Rate. All Base Rate Loans shall be denominated in Dollars.

                “Base Rate Term SOFR Determination Day” has the meaning specified in the
definition of “Term SOFR”.

               “Benchmark” means, initially, the Term SOFR Reference Rate; provided that if a
Benchmark Transition Event has occurred with respect to the Term SOFR Reference Rate or the
then-current Benchmark, then “Benchmark” means the applicable Benchmark Replacement to the
extent that such Benchmark Replacement has replaced such prior benchmark rate pursuant to
Section 2.28(a).

                “Benchmark Replacement” means, for any Available Tenor, the first alternative
set forth in the order below that can be determined by the Administrative Agent (acting at the
Direction of the Requisite Lenders) for the applicable Benchmark Replacement Date:

              (a)     Daily Simple SOFR; and

                 (b)   the sum of: (i) the alternate benchmark rate that has been selected by the
Administrative Agent (acting at the Direction of the Requisite Lenders) and the Borrower as the
replacement for the then-current Benchmark for the applicable Corresponding Tenor giving due
consideration to (x) any selection or recommendation of a replacement benchmark rate or the
mechanism for determining such a rate by the Relevant Governmental Body or (y) any evolving
or then-prevailing market convention for determining a benchmark rate as a replacement for the
then-current Benchmark for U.S. dollar-denominated syndicated credit facilities at such time and
(ii) the related Benchmark Replacement Adjustment.

If the Benchmark Replacement as determined pursuant to clause (a) or (b) above would be less
than the Floor, the Benchmark Replacement will be deemed to be the Floor for the purposes of
this Agreement and the other Credit Documents.

               “Benchmark Replacement Adjustment” means, with respect to any replacement
of the then-current Benchmark with an Unadjusted Benchmark Replacement, the spread
adjustment, or method for calculating or determining such spread adjustment (which may be a
positive or negative value or zero) that has been selected by the Administrative Agent (acting at
the Direction of the Requisite Lenders) and the Borrower for the applicable Corresponding Tenor
giving due consideration to (a) any selection or recommendation of a spread adjustment, or method
for calculating or determining such spread adjustment, for the replacement of such Benchmark
with the applicable Unadjusted Benchmark Replacement by the Relevant Governmental Body or
(b) any evolving or then-prevailing market convention for determining a spread adjustment, or
method for calculating or determining such spread adjustment, for the replacement of such
Benchmark with the applicable Unadjusted Benchmark Replacement for Dollar-denominated
syndicated credit facilities.

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               “Benchmark Replacement Date” means the earliest to occur of the following
events with respect to the then-current Benchmark:

               (a)      in the case of clause (a) or (b) of the definition of “Benchmark Transition
Event,” the later of (i) the date of the public statement or publication of information referenced
therein and (ii) the date on which the administrator of such Benchmark (or the published
component used in the calculation thereof) permanently or indefinitely ceases to provide all
Available Tenors of such Benchmark (or such component thereof); or

                (b)     in the case of clause (c) of the definition of “Benchmark Transition Event”,
the date of the public statement or publication of information referenced therein.

For the avoidance of doubt, (i) if the event giving rise to the Benchmark Replacement Date occurs
on the same day as, but earlier than, the Reference Time in respect of any determination, the
Benchmark Replacement Date will be deemed to have occurred prior to the Reference Time for
such determination and (ii) the “Benchmark Replacement Date” will be deemed to have occurred
in the case of clause (a) or (b) with respect to any Benchmark upon the occurrence of the applicable
event or events set forth therein with respect to all then-current Available Tenors of such
Benchmark (or the published component used in the calculation thereof).

              “Benchmark Transition Event” means the occurrence of one or more of the
following events with respect to the then-current Benchmark:

               (c)    a public statement or publication of information by or on behalf of the
administrator of such Benchmark (or the published component used in the calculation thereof)
announcing that such administrator has ceased or will cease to provide all Available Tenors of
such Benchmark (or such component thereof), permanently or indefinitely; provided that, at the
time of such statement or publication, there is no successor administrator that will continue to
provide any Available Tenor of such Benchmark (or such component thereof);

               (d)     a public statement or publication of information by the regulatory
supervisor for the administrator of such Benchmark (or the published component used in the
calculation thereof), the Federal Reserve Board, the Federal Reserve Bank of New York, an
insolvency official with jurisdiction over the administrator for such Benchmark (or such
component), a resolution authority with jurisdiction over the administrator for such Benchmark
(or such component) or a court or an entity with similar insolvency or resolution authority over the
administrator for such Benchmark (or such component), which states that the administrator of such
Benchmark (or such component) has ceased or will cease to provide all Available Tenors of such
Benchmark (or such component thereof) permanently or indefinitely; provided that, at the time of
such statement or publication, there is no successor administrator that will continue to provide any
Available Tenor of such Benchmark (or such component thereof); or

                (e)    a public statement or publication of information by or on behalf of the
administrator of such Benchmark (or the published component used in the calculation thereof) or
the regulatory supervisor for the administrator of such Benchmark (or such component thereof)
announcing that all Available Tenors of such Benchmark (or such component thereof) are not, or
as of a specified future date will not be, representative or in compliance with or aligned with the


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International Organization of Securities Commissions (IOSCO) Principles for Financial
Benchmarks.

For the avoidance of doubt, a “Benchmark Transition Event” will be deemed to have occurred
with respect to any Benchmark if a public statement or publication of information set forth above
has occurred with respect to each then-current Available Tenor of such Benchmark (or the
published component used in the calculation thereof).

              “Benchmark Unavailability Period” means the period (if any) (a) beginning at
the time that a Benchmark Replacement Date has occurred if, at such time, no Benchmark
Replacement has replaced the then-current Benchmark for all purposes hereunder and under any
Credit Document in accordance with Section 2.28 and (b) ending at the time that a Benchmark
Replacement has replaced the then-current Benchmark for all purposes hereunder and under any
Credit Document in accordance with Section 2.28.

                  “Beneficial Ownership Certification” shall have the meaning provided in
Section 3.1(k).

                  “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                  “Beneficiary” means each Agent and Lender.

                  “Benefit Plan” as defined in Section 9.11.

                  “BHC Act Affiliate” as defined in Section 9.12(b).

             “Board of Governors” means the Board of Governors of the United States Federal
Reserve System, or any successor thereto.

                  “Borrower” as defined in the preamble hereto.

               “Borrowing” means Loans of the same Class and Type of Loan, made, converted,
or continued on the same date, and, in the case of SOFR Loans, as to which a single Interest Period
is in effect.

               “Budget Period” means each four-week period set forth in the Approved DIP
Budget in effect at such time, with each new four-week period commencing at the end of the prior
four-week period. The first Budget Period shall be the four-week period ending July 25, 2025.

               “Budgeted Disbursements” shall mean the Budgeted Non-Operating Items /
Restructuring Items and the Budgeted Operating Disbursements.

                “Budgeted Non-Operating Items / Restructuring Items” shall mean with respect
to any period, the amount of non-operating items / restructuring items for such period that are set
forth under the heading “Non-Operating Items / Restructuring Items” in the Approved DIP Budget,
as then in effect.




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                “Budgeted Operating Disbursements” means with respect to any period, as the
context requires, the sum of all such line items under the heading “Operating Disbursements” (as
set forth in the Approved DIP Budget), as determined by reference to the Approved DIP Budget
as then in effect.

               “Budgeted Receipts” means with respect to any period, as the context requires, (x)
the line item under the heading “Receipts” in the Approved DIP Budget and/or (y) the sum, for
such period, of all the amounts for all such line items which comprise “Receipts” (as set forth in
the Approved DIP Budget), on a cumulative basis, in each case, as determined by reference to the
Approved Budget as then in effect.

                “Budgeted Liquidity” shall mean as of any date of determination, as the context
requires, for the Credit Parties, the amount set forth as of such date as Liquidity, in each case as
determined by reference to the Approved DIP Budget as then in effect.

                 “Business Day” means (i) any day excluding Saturday, Sunday and any day which
is a legal holiday under the laws of the State of New York or is a day on which banking institutions
located in such state are authorized or required by law or other governmental action to close and
(ii) if such day relates to any interest rate settings as to a SOFR Loan denominated in Dollars, any
fundings, settlements, payments and disbursements in Dollars in respect of any such SOFR Loan
or any other dealings in Dollars to be carried out pursuant to this Agreement in respect of any such
SOFR Loan, any such day described in clause (i) above that is also a London Banking Day or a
U.S. Government Securities Business Day.

               “Capital Lease” means, as applied to any Person, any lease of any property
(whether real, personal or mixed) by that Person as lessee that, in conformity with IFRS, is or
should be accounted for as a capital lease on the balance sheet of that Person.

               “Carve Out” has the meaning assigned to such term in the DIP Orders.

               “Cash” means money, currency or a credit balance in any demand or Deposit
Account.

               “Cash Collateral” has the meaning assigned to such term in the DIP Orders.

               “Cash Equivalents” means, as at any date of determination, any of the following:
(i) marketable securities (a) issued or directly and unconditionally guaranteed as to interest and
principal by the United States Government or (b) issued by any agency or instrumentality of the
United States the obligations of which are backed by the full faith and credit of the United States,
in each case maturing within two years after such date; (ii) marketable direct obligations issued by
any state of the United States of America or any political subdivision of any such state or any
public instrumentality thereof, in each case maturing within one year after such date and having,
at the time of the acquisition thereof, a rating of at least A-2 from S&P or at least P-2 from
Moody’s; (iii) commercial paper maturing no more than 365 days from the date of acquisition
thereof and having, at the time of the acquisition thereof, a rating of at least A-2 from S&P or at
least P-2 from Moody’s; (iv) certificates of deposit or bankers’ acceptances maturing within 365
days after such date and issued or accepted by any Lender or by any commercial bank organized
under the laws of the United States of America or any state thereof or the District of Columbia that

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(a) is at least “adequately capitalized” (as defined in the regulations of its primary Federal banking
regulator) and (b) has Tier 1 capital (as defined in such regulations) of not less than $250,000,000;
(v) repurchase obligations of any Lender or any commercial bank satisfying the requirements of
clause (iv) of this definition having a term of not more than 30 days with respect to securities of
the types described in clauses (i) and (iv); (vi) securities with maturities of three months or less
from the date of acquisition issued or fully guaranteed by any state, commonwealth or territory of
the United States, by any political subdivision or taxing authority of any such state, commonwealth
or territory or by any foreign government, the securities of which state, commonwealth, territory,
political subdivision, taxing authority or foreign government (as the case may be) are rated at least
P-2 by Moody’s or at least A-2 by S&P; (vii) shares of any money market mutual fund that (a) has
at least 90% of its assets invested continuously in the types of investments referred to in clauses
(i) through (vi) above and (b) has the highest rating obtainable from either S&P or Moody’s; and
(viii) in the case of any Foreign Subsidiary, (a) such local currencies in those countries in which
such Foreign Subsidiary transacts business from time to time in the Ordinary Course of Business
and (b) investments of comparable tenor and credit quality to those described in the foregoing
clauses (i) through (vii) customarily utilized in countries in which such Foreign Subsidiary
operates for short term cash management purposes.

               “Cash Management Order” has the meaning assigned to such term in the DIP
Order.

               “CFC” means a direct or indirect non-U.S. Subsidiary of Borrower that is a
“controlled foreign corporation” within the meaning of Section 957 of the Internal Revenue Code.

                “CFC Holding Company” means a direct or indirect Subsidiary of Borrower
substantially all of the assets of which consist of Equity Interests (including, for this purpose, any
debt or other instrument treated as equity for U.S. federal income tax purposes) and/or
Indebtedness or receivables of one or more direct or indirect Foreign Subsidiaries that are CFCs
and/or other CFC Holding Companies.

                “Change of Control” means, (i) Holdings ceases, directly or indirectly, to own
legally and beneficially 100% of the issued and outstanding equity interests (for avoidance of
doubt, excluding unexercised options and warrants) of the Borrower, (ii) DMFI ceases, directly or
indirectly, to own legally and beneficially 100% of the issued and outstanding common equity
interests (for avoidance of doubt, excluding unexercised options and warrants) of the Borrower,
(iii) DMFHL ceases, directly or indirectly, to own legally and beneficially 100% of the issued and
outstanding common equity interests (for avoidance of doubt, excluding unexercised options and
warrants) of the Borrower, (iv) Permitted Holders shall fail to own beneficially, directly or
indirectly, in the aggregate Equity Interests representing at least a majority of the aggregate
ordinary voting power represented by the issued and outstanding Equity Interests of Holdings, (v)
any “person” or “group” (within the meaning of Rules 13d 3 and 13d 5 under the Exchange Act)
(other than the Permitted Holders) shall acquire, directly or indirectly, at any time beneficial
ownership representing (a) more than 35% of the ordinary voting power represented by the issued
and outstanding Equity Interests of DMPL and (b) more than the percentage of the ordinary voting
power represented by the issued and outstanding Equity Interests of DMPL beneficially owned,
directly or indirectly, by the Permitted Holders, or (vi) any “Change of Control” (or words of like
import) as defined in the ABL DIP Credit Agreement.

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               “Chapter 11 Cases” as defined in the preamble hereto.

              “Chapter 11 Plan” means a joint plan filed by the Debtors in the Chapter 11
Cases, which shall be in form and substance acceptable to the Requisite Lenders.

               “Chapter 11 Plan Effective Date” means the date on which all of the conditions
precedent to consummation of the Chapter 11 Plan have been satisfied in full or waived, in
accordance with the terms of the Chapter 11 Plan.

              “Chapter 11 Plan Supplement” means the compilation of documents and forms
of documents, schedules, and exhibits to the Chapter 11 Plan that will be filed by the Debtors
with the Bankruptcy Court.

               “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

              “Class” (i) when used in reference to any Lender, refers to whether such Lender
has a Loan or Commitment of such Class and (ii) when used in reference to any Loans, refers to
whether such Loans are DIP Term Loans or Roll-Up Loans. Any Loans or Commitments of one
or more Lenders with the same rights and obligations (other than with respect to fees paid to
Lenders as consideration for consenting to an amendment under this Agreement) as the Loans or
Commitments of any other Lender shall be construed to be in the same Class as such Loans or
Commitments with such same rights and obligations.

              “Collateral” means, collectively, all of the real, personal and mixed property
(including Equity Interests) in which Liens are purported to be granted pursuant to the Collateral
Documents as security for the Obligations, which, for the avoidance of doubt, shall exclude all
Excluded Collateral.

               “Collateral Agent” as defined in the preamble hereto.

                “Collateral Documents” means the License Intercreditor Agreement (including
the License Intercreditor Joinder Agreement), DIP Orders and all other instruments, documents
and agreements delivered by or on behalf of any Credit Party pursuant to this Agreement or any
of the other Credit Documents in order to grant to, or perfect in favor of, the Collateral Agent, for
the benefit of Secured Parties, a Lien on any real, personal or mixed property of that Credit Party
as security for the Obligations.

               “Commitment” means any Term Loan Commitment of a Lender.

                “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1
et seq.), as amended from time to time, and any successor statute.

              “Compliance Certificate” means a Compliance Certificate substantially in the
form of Exhibit C.

              “Confirmation Order” means the order of the Bankruptcy Court confirming the
Chapter 11 Plan pursuant to section 1129 of the Bankruptcy Code.



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                “Conforming Changes” means, with respect to either the use or administration of
Term SOFR or the use, administration, adoption or implementation of any Benchmark
Replacement, any technical, administrative or operational changes (including changes to the
definition of “Base Rate,” the definition of “Business Day,” the definition of “U.S. Government
Securities Business Day,” the definition of “Interest Period” or any similar or analogous definition
(or the addition of a concept of “interest period”), timing and frequency of determining rates and
making payments of interest, timing of borrowing requests or prepayment, conversion or
continuation notices, the applicability and length of lookback periods, the applicability of Section
2.18 and other technical, administrative or operational matters) that the Administrative Agent (with
the consent of the Borrower) decides may be appropriate to reflect the adoption and
implementation of any such rate or to permit the use and administration thereof by the
Administrative Agent in a manner substantially consistent with market practice (or, if the
Administrative Agent decides that adoption of any portion of such market practice is not
administratively feasible or if the Administrative Agent determines that no market practice for the
administration of any such rate exists, in such other manner of administration as the Administrative
Agent (with the consent of the Borrower) decides is reasonably necessary in connection with the
administration of this Agreement and the other Credit Documents).

               “Contractual Obligation” means, as applied to any Person, any provision of any
Security issued by that Person or of any indenture, mortgage, deed of trust, contract, undertaking,
agreement or other instrument to which that Person is a party or by which it or any of its properties
is bound or to which it or any of its properties is subject.

               “Contributing Guarantors” as defined in Section 7.2.

              “Contribution Agreement” means that certain Investment and Contribution
Agreement dated as of August 2, 2024, by and among DMFI, DM Intermediate Corporation,
Holdings and the Borrower.

               “Conversion/Continuation Date” means the effective date of a continuation or
conversion, as the case may be, as set forth in the applicable Conversion/Continuation Notice.

                “Conversion/Continuation Notice” means a Conversion/Continuation Notice
substantially in the form of Exhibit A-2.

                “Copyrights” means, with respect to any Person, all of such Person’s right, title,
and interest in and to the following: (a) all copyrights, rights and interests in copyrights, works
protectable by copyright, copyright registrations, and copyright applications; (b) all renewals of
any of the foregoing; (c) all income, royalties, damages, and payments now or hereafter due and/or
payable under any of the foregoing, including, without limitation, damages or payments for past
or future infringements for any of the foregoing; and (d) the right to sue for past, present, and
future infringements of any of the foregoing.

                “Corresponding Tenor” with respect to any Available Tenor means, as
applicable, either a tenor (including overnight) or an interest payment period having approximately
the same length (disregarding business day adjustment) as such Available Tenor.



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              “Counterpart Agreement” means a Counterpart Agreement substantially in the
form of Exhibit G delivered by a Credit Party pursuant to Section 5.10.

               “Covered Party” has the meaning specified in Section 9.12(b).

               “Credit Date” means the date of a Credit Extension.

                 “Credit Document” means any of this Agreement, the Notes, if any, the Collateral
Documents, the DIP Orders, the Administrative Agent Fee Letter, and all other documents,
certificates, instruments or agreements agreed in writing by the Borrower and the Administrative
Agent (acting at the Direction of the Requisite Lenders) or Collateral Agent (acting at the Direction
of the Requisite Lenders) to be a Credit Document.

               “Credit Extension” means the making of a Loan.

               “Credit Facilities” means, collectively, each category of Commitments and each
extension of credit hereunder.

               “Credit Party” means each Person (other than any Agent or any Lender or any
other representative thereof) from time to time party to a Credit Document as the Borrower or
Guarantor.

              “Currency Agreement” means any foreign exchange contract, currency swap
agreement, futures contract, option contract, synthetic cap or other similar agreement or
arrangement, each of which is for the purpose of hedging the foreign currency risk associated with
Holdings’ and its Subsidiaries’ operations and not for speculative purposes.

               “Daily Simple SOFR” means, for any day, SOFR, with the conventions for this
rate (which will include a lookback) being established by the Administrative Agent in accordance
with the conventions for this rate selected or recommended by the Relevant Governmental Body
for determining “Daily Simple SOFR” for syndicated business loans; provided that if the
Administrative Agent decides that any such convention is not administratively feasible for the
Administrative Agent, then the Administrative Agent may establish another convention in its
reasonable discretion.

               “Debtor” as defined in the preamble hereto.

                “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation,
conservatorship, bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement,
receivership, insolvency, reorganization, or similar debtor relief laws of the United States or other
applicable jurisdictions (including, without limitation, in the British Virgin Islands, the Insolvency
Act, 2003) from time to time in effect.

               “Declined Proceeds” as defined in Section 2.15(c).

               “Default” means a condition or event that, after notice or lapse of time or both, in
each case, pursuant to Section 8.1, would constitute an Event of Default.



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                 “Defaulting Lender” means, subject to Section 2.22(b), any Lender that (a) has
failed to (i) fund all or any portion of its Loans within two Business Days of the date such Loans
were required to be funded hereunder unless such Lender notifies Administrative Agent and the
Borrower in writing that such failure is the result of such Lender’s good faith determination that
one or more conditions precedent to funding (which conditions precedent, together with the
applicable default, if any, shall be specifically identified in such writing) has not been satisfied, or
(ii) pay to Administrative Agent or any other Lender any other amount required to be paid by it
hereunder within two Business Days of the date when due, (b) has notified the Borrower,
Administrative Agent in writing that it does not intend to comply with its funding obligations
hereunder, or has made a public statement to that effect (unless such writing or public statement
relates to such Lenders’ obligation to fund a Loan hereunder and states that such position is based
on such Lender’s determination that a condition precedent to funding (which condition precedent,
together with the applicable default, if any, shall be specifically identified in such writing or public
statement) cannot be satisfied), (c) has failed, within three Business Days after written request by
Administrative Agent or the Borrower, to confirm in writing to Administrative Agent and the
Borrower that it will comply with its prospective funding obligations hereunder (provided that
such Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon receipt of such
written confirmation by Administrative Agent and the Borrower), or (d) Administrative Agent has
received notification that such Lender has, or has a direct or indirect parent company that is (i)
insolvent, or is generally unable to pay its debts as they become due, or admits in writing its
inability to pay its debts as they become due, or makes a general assignment for the benefit of its
creditors, (ii) the subject of a bankruptcy, insolvency, reorganization, liquidation or similar
proceeding, or a receiver, trustee, conservator, intervenor or sequestrator or the like has been
appointed for such Lender or its direct or indirect parent company, or such Lender or its direct or
indirect parent company has taken any action in furtherance of or indicating its consent to or
acquiescence in any such proceeding or appointment or (iii) the subject of a Bail-In Action;
provided that, for the avoidance of doubt, a Lender shall not be a Defaulting Lender solely by
virtue of (i) the ownership or acquisition of any Equity Interest in that Lender or any direct or
indirect parent company thereof by a Governmental Authority or (ii) in the case of a solvent person,
the precautionary appointment of an administrator, guardian, custodian or other similar official by
a Governmental Authority under or based on the law of the country where such person is subject
to home jurisdiction supervision if applicable law requires that such appointment not be publicly
disclosed, in any such case, where such action does not result in or provide such Lender with
immunity from the jurisdiction of courts within the United States or from the enforcement of
judgments or writs of attachment on its assets or permit such Lender (or such Governmental
Authority or instrumentality) to reject, repudiate, disavow or disaffirm any contracts or agreements
made with such Lender.

                “Definitive Documents” means, collectively, all documents, instruments, deeds,
notifications, agreements, and filings related to the documentation, implementation, and
consummation of the Chapter 11 Plan, including, without limitation: (a) the Chapter 11 Plan; (b)
the Confirmation Order; (c) the Disclosure Statement (and any motions or orders related thereto);
(d) the order of the Bankruptcy Court approving the Disclosure Statement; (e) the Solicitation
Materials; (f) the First Day Pleadings and all orders sought pursuant thereto; (g) the Chapter 11
Plan Supplement (including but not limited to any restructuring transactions memorandum and/or
schedules to assume, reject or renegotiate executory contracts and unexpired leases); (h)(x) the
Credit Documents (including the Approved DIP Budget and each motion filed with the Bankruptcy

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Court seeking entry of the DIP Orders) and (y) the ABL DIP Credit Documents; (i) the DIP Orders;
(j) the MIP Documents; (k) any documents and/or filings with the Bankruptcy Court providing for
any key employee incentive and/or retention plan(s); (l) the New Organizational Documents
(including any shareholders’ or similar agreements and/or any corporate formational documents
necessary or desirable to give effect to the Chapter 11 Plan); (m) the Exit Facilities Documents;
(n) [reserved]; and (o) all other material pleadings and/or other material documents filed with the
Bankruptcy Court; in each case, including any amendments, modifications, and supplements
thereto and any related notes, certificates, agreements, documents, and instruments (as applicable).
For the avoidance of doubt, all Definitive Documents shall (i) be reasonably satisfactory to the
Requisite Lenders and (ii) not provide for any treatment or recovery on account of DIP
Superpriority Claims or Prepetition Claims (each as defined in the Interim Order) that are not
consented to by the Requisite Lenders in their sole discretion.

              “Deposit Account” means a demand, time, savings, passbook or like account with
a bank, savings and loan association, credit union or like organization, other than an account
evidenced by a negotiable certificate of deposit.

               “Derivative Counterparty” as defined in Section 10.17.

               “DIP Facility” as defined in the preamble hereto.

               “DIP Orders” means the Interim Order and the Final Order.

            “DIP Term Lender” means, at any time, any Lender that has a DIP Term Loan
Commitment or a DIP Term Loan at such time.

               “DIP Term Loans” as defined in the preamble hereto.

               “DIP Term Loan Claims” means any Claim that arises under the Credit
Documents.

               “DIP Term Loan Commitment” means, as to each DIP Term Lender, its
obligation to make a DIP Term Loan to the Borrower pursuant to Section 2.1(a) in an aggregate
principal amount not to exceed the amount set forth opposite such Lender’s name on Schedule
1.01(A) under the caption “DIP Term Loan Commitment” or in the Assignment and Assumption
pursuant to which such DIP Term Lender becomes a party hereto, as applicable, as such amount
may be adjusted from time to time in accordance with this Agreement.

               “DIP Term Loan Exposure” means, with respect to any Lender, as of any date of
determination, the outstanding principal amount of the DIP Term Loans of such Lender; provided,
that at any time prior to the making (or deemed making) of the DIP Term Loans, the DIP Term
Loan Exposure of any Lender shall be equal to such Lender’s DIP Term Loan Commitment.

               “Direction of the Requisite Lenders” means a written direction or instruction
from Lenders constituting the Requisite Lenders which may be in the form of an email or other
form of written communication and which may come from any Lender Advisor. Any such email
or other communication from a Lender Advisor shall be conclusively presumed to have been
authorized by a written direction or instruction from the Requisite Lenders and such Lender

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Advisor shall be conclusively presumed to have acted on behalf of and at the written direction or
instruction from the Requisite Lenders (and the Administrative Agent and the Borrower shall be
entitled to rely on such presumption). For the avoidance of doubt, with respect to each reference
herein to (i) documents, agreements or other matters being “satisfactory,” “acceptable,”
“reasonably satisfactory” or “reasonably acceptable” (or any expression of similar import) to the
Requisite Lenders, such determination may be communicated by a Direction of the Requisite
Lenders as contemplated above and/or (ii) any matter requiring the consent or approval of, or a
determination by, the Requisite Lenders, such consent, approval or determination may be
communicated by a Direction of the Requisite Lenders as contemplated above. The Administrative
Agent and the Borrower shall be entitled to rely upon, and shall not incur any liability for relying
upon, any purported Direction of the Requisite Lenders, and the Administrative Agent and the
Borrower shall not have any responsibility to independently determine whether such direction has
in fact been authorized by the Requisite Lenders.

             “Disclosure Statement” means that certain disclosure statement disclosing the
terms and conditions of the Chapter 11 Plan, as may be amended, supplemented, or otherwise
modified from time-to-time in accordance with the terms of this Agreement and in accordance
with, among other things, applicable securities Law, sections 1125, 1126(b), and 1145 of the
Bankruptcy Code, Bankruptcy Rule 3018, and other applicable Law.

                  “Disqualified Equity Interests” means any Equity Interest which, by its terms (or
by the terms of any security or other Equity Interests into which it is convertible or for which it is
exchangeable), or upon the happening of any event or condition (i) matures or is mandatorily
redeemable (other than solely for Equity Interests which are not otherwise Disqualified Equity
Interests), pursuant to a sinking fund obligation or otherwise, (ii) is redeemable at the option of the
holder thereof (other than solely for Equity Interests which are not otherwise Disqualified Equity
Interests), in whole or in part, (iii) provides for the scheduled payments or dividends in cash, or
(iv) is or becomes convertible into or exchangeable for Indebtedness or any other Equity Interests
that would constitute Disqualified Equity Interests, in each case of clauses (i) through (iv) above,
prior to the date that is 91 days after the Latest Maturity Date, except, in the case of clauses (i) and
(ii), if as a result of a change of control or asset sale, so long as any rights of the holders thereof
upon the occurrence of such a change of control or asset sale event are subject to the prior Payment
in Full of all Obligations.

                 “Disqualified Institution” means such Persons (i) separately identified in writing
by the Borrower to the Administrative Agent from time to time so long as such additions are
consented to by the Administrative Agent (acting at the Direction of the Requisite Lenders), (ii)
who are competitors of Holdings and its Subsidiaries that are separately identified in writing by
the Borrower to the Administrative Agent from time to time, and (iii) in the case of each of clauses
(i) and (ii), any of their Affiliates (other than any such Affiliate that is affiliated with a financial
investor in such Person and that is not itself an operating company or otherwise an Affiliate of an
operating company so long as such Affiliate is a bona fide Fund) that are either (a) identified in
writing by the Borrower to the Administrative Agent from time to time or (b) clearly identifiable
on the basis of such Affiliate’s name. Notwithstanding the foregoing, (x) each Credit Party and the
Lenders acknowledge and agree that the Administrative Agent shall not have any responsibility or
obligation to determine whether any Lender or potential Lender is a Disqualified Institution and
the Administrative Agent shall have no liability with respect to any assignment or participation

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made to a Disqualified Institution and (y) any such designation of a Disqualified Institution may
not apply retroactively to disqualify any Person that has previously acquired an assignment or
participation in any Credit Facility.

               “DMFI” means Del Monte Foods, Inc., a Delaware corporation.

               “DMFHL” means Del Monte Foods Holdings Limited, a company limited by
shares incorporated under the laws of the British Virgin Islands with registered number 1798494.

              “DMPL” means Del Monte Pacific Limited, a company limited by shares
incorporated under the laws of the British Virgin Islands with registered number 326349.

               “Dollars” and the sign “$” mean the lawful money of the United States.

               “Domestic Subsidiary” means any Subsidiary that is not a Foreign Subsidiary.

                “EAR” means all incentive programs providing for equity appreciation rights or
similar plans, in each case, in the Ordinary Course of Business.

                “EEA Financial Institution” means (a) any credit institution or investment firm
established in any EEA Member Country which is subject to the supervision of an EEA Resolution
Authority, (b) any entity established in an EEA Member Country which is a parent of an institution
described in clause (a) of this definition, or (c) any financial institution established in an EEA
Member Country which is a subsidiary of an institution described in clauses (a) or (b) of this
definition and is subject to consolidated supervision with its parent.

               “EEA Member Country” means any of the member states of the European Union,
Iceland, Liechtenstein, and Norway.

               “EEA Resolution Authority” means any public administrative authority or any
person entrusted with public administrative authority of any EEA Member Country (including any
delegee) having responsibility for the resolution of any EEA Financial Institution.

               “Effective Date” means July [ ], 2025.

              “Effective Date Certificate” means an Effective Date Certificate substantially in
the form of Exhibit F-1.

               “Effective Date Roll-Up Lenders” as defined in Section 2.1(b).

               “Effective Date Roll-Up Term Loans” as defined in Section 2.1(b).

               “Eligible Assignee” means any Person other than a natural Person that is (i) a
Lender, an Affiliate of any Lender under common control with such Lender or a Related Fund
(any two or more Related Funds being treated as a single Eligible Assignee for all purpose hereof)
or (ii) a commercial bank, insurance company, investment or mutual fund or other entity that is an
“accredited investor” (as defined in Regulation D under the Securities Act) and which extends
credit or buys loans in the ordinary course of business; provided, that no Defaulting Lender,


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Disqualified Institution, natural person, Credit Party or Affiliate of a Credit Party shall be an
Eligible Assignee.

               “Employee Benefit Plan” means any “employee benefit plan” as defined in
Section 3(3) of ERISA which is or was sponsored, maintained or contributed to by, or required to
be contributed by, Holdings or any of its Subsidiaries.

                “Environmental Claim” means any written notice of violation, claim, action, suit,
proceeding, demand, abatement order or other order or directive (conditional or otherwise) by any
Governmental Authority or any other Person arising (i) pursuant to Environmental Law in
connection with any actual or alleged violation of any Environmental Law; (ii) in connection with
any actual or alleged Hazardous Materials Activity; or (iii) in connection with any actual or alleged
damage, injury, threat or harm to natural resources or the environment.

                 “Environmental Laws” means any and all foreign or domestic, federal or state (or
any subdivision of either of them), statutes, ordinances, orders, rules, regulations, judgments,
Governmental Authorizations or any other requirements of Governmental Authorities relating to
(i) the protection of human health (from an exposure to Hazardous Materials) or the environment;
(ii) any Hazardous Materials Activity; or (iii) the Release, generation, use, storage, transportation
or disposal of, or exposure to, Hazardous Materials, in any manner applicable to Holdings or any
of its Subsidiaries regarding any Facility.

               “Equity Interests” means any and all shares, interests, participations or other
equivalents (however designated) of capital stock or authorized shares of a corporation or
company, any and all equivalent ownership interests in a Person (other than a corporation),
including partnership interests and membership interests, and any and all warrants, rights or
options to purchase or other arrangements or rights to acquire any of the foregoing.

             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time.

                “ERISA Affiliate” means, as applied to Holdings and its Subsidiaries, (i) any
corporation which is a member of a controlled group of corporations within the meaning of
Section 414(b) of the Internal Revenue Code of which Holdings or its Subsidiaries is a member;
(ii) any trade or business (whether or not incorporated) which is a member of a group of trades or
businesses under common control within the meaning of Section 414(c) of the Internal Revenue
Code of which Holdings and its Subsidiaries is a member; and (iii) solely for purposes of
Section 302 of ERISA and Section 412 of the Code, any member of an affiliated service group
within the meaning of Section 414(m) or (o) of the Internal Revenue Code of which Holdings and
its Subsidiaries, is a member. Any former ERISA Affiliate of Holdings or any of its Subsidiaries
shall continue to be considered an ERISA Affiliate of Holdings or any such Subsidiary within the
meaning of this definition with respect to the period that Holdings or its Subsidiaries could be
liable for such ERISA Affiliates’ liability under the Internal Revenue Code or ERISA.

              “ERISA Event” means (i) a “reportable event” within the meaning of Section 4043
of ERISA and the regulations issued thereunder with respect to any Pension Plan (excluding those
for which the provision for 30-day notice to the PBGC has been waived by regulation); (ii) the


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failure to meet the minimum funding standard of Section 412 of the Internal Revenue Code with
respect to any Pension Plan (whether or not waived in accordance with Section 412(c) of the
Internal Revenue Code) or the failure to make by its due date a required installment under
Section 430(j) of the Internal Revenue Code with respect to any Pension Plan or the failure to
make any required contribution to a Multiemployer Plan; (iii) the provision by the administrator
of any Pension Plan pursuant to Section 4041(a)(2) of ERISA of a notice of intent to terminate
such plan in a distress termination described in Section 4041(c) of ERISA; (iv) the withdrawal by
Holdings, any of its Subsidiaries or any of their respective ERISA Affiliates from any Pension
Plan with two or more contributing sponsors or the termination of any such Pension Plan resulting
in liability to Holdings, any of its Subsidiaries or any of their respective Affiliates pursuant to
Section 4063 or 4064 of ERISA; (v) the institution by the PBGC of proceedings to terminate any
Pension Plan or the appointment of a trustee to administer any Pension Plan, or the receipt of a
written notice in which the Pension Benefit Guaranty Corporation states that either such an event
is forthcoming; (vi) the imposition of liability on Holdings, any of its Subsidiaries or any of their
respective ERISA Affiliates pursuant to Section 4062(e) or 4069 of ERISA or by reason of the
application of Section 4212(c) of ERISA; (vii) the withdrawal of Holdings, any of its Subsidiaries
or any of their respective ERISA Affiliates in a complete or partial withdrawal (within the meaning
of Sections 4203 and 4205 of ERISA) from any Multiemployer Plan if there is a reasonable
expectation of potential liability therefor, or the receipt by Holdings, any of its Subsidiaries or any
of their respective ERISA Affiliates of notice from any Multiemployer Plan that it is insolvent
within the meaning of Section 4245 of ERISA, or that it intends to terminate or has terminated
under Section 4041A or 4042 of ERISA; (viii) receipt from the Internal Revenue Service of notice
of the failure of any Pension Plan (or any other Employee Benefit Plan intended to be qualified
under Section 401(a) of the Internal Revenue Code) to qualify under Section 401(a) of the Internal
Revenue Code, or of the failure of any trust forming part of any Pension Plan to qualify for
exemption from taxation under Section 501(a) of the Internal Revenue Code; or (ix) the imposition
of a Lien pursuant to Section 430(k) of the Internal Revenue Code or ERISA or a violation of
Section 436 of the Internal Revenue Code.

               “Erroneous Payment” has the meaning assigned to it in Section 9.13(a).

               “Erroneous Payment Deficiency Assignment” has the meaning assigned to it in
Section 9.13(d).

               “Erroneous Payment Impacted Class” has the meaning assigned to it in
Section 9.13(d).

               “Erroneous Payment Return Deficiency” has the meaning assigned to it in
Section 9.13(d).

               “Erroneous Payment Subrogation Rights” has the meaning assigned to it in
Section 9.13(d).

              “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule
published by the Loan Market Association (or any successor person), as in effect from time to
time.



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               “Event of Default” means each of the conditions or events set forth in Section 8.1.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended from
time to time, and any successor statute.

                 “Excluded Collateral” means all licenses and any other property and assets
(including any lease, license, permit or agreement) (i) to the extent that the Collateral Agent may
not validly possess a security interest therein under, or such security interest is restricted by, (x)
applicable laws (including, without limitation, rules and regulations of any Governmental
Authority or agency) or (y) by contract, lease, license or other agreement with a counterparty that
is not a Debtor or an affiliate thereof and that exists on the Effective Date or (ii) the pledge or
creation of a security interest in which would require the consent, approval, license or authorization
of (x) a Governmental Authority or (y) a third party that is not a Debtor or an affiliate thereof,
which third party right to consent, approve or authorize such a pledge or creation of a security
interest exists on the Effective Date and, in each case of clause (i) and (ii), other than to the extent
such prohibition or limitation is rendered ineffective under the UCC, the U.S. Bankruptcy Code,
other applicable insolvency laws or other applicable law notwithstanding such prohibition or
limitation; provided, however, that Excluded Collateral shall not include any proceeds,
substitutions, replacements, economic interest and economic value unless such proceeds,
substitutions, replacements economic interest and economic value constitute Excluded Collateral
in accordance with clause (i) or (ii) above. For the avoidance of doubt, any property in the Wells
Fargo Account (as defined in the DIP Orders) shall not constitute “Excluded Collateral.”

                 “Excluded Swap Obligation” means, with respect to any Guarantor at any time,
any obligation (a “Swap Obligation”) to pay or perform under any agreement, contract or
transaction that constitutes a “swap” within the meaning of section 1a(47) of the Commodity
Exchange Act, if, and to the extent that, all or a portion of the guarantee of such Guarantor of, or
the grant by such Guarantor of a security interest to secure, such Swap Obligation (or any guarantee
thereof) is illegal at such time under the Commodity Exchange Act or any rule, regulation or order
of the Commodity Futures Trading Commission (or the application or official interpretation of any
thereof) by virtue of such Guarantor’s failure for any reason to constitute an “eligible contract
participant” as defined in the Commodity Exchange Act at the time such guarantee or grant of a
security interest becomes effective with respect to such related Swap Obligation.

                “Excluded Taxes” means with respect to any the Administrative Agent, any
Lender or any other recipient of any payment to be made by or on account of any obligation of any
Credit Party under any Credit Document, (a) Taxes based upon, or measured by, such Person’s (or
a branch of such Person’s) net income (however denominated), franchise Taxes, and branch profits
or other similar taxes, imposed by a taxing authority (i) in a jurisdiction in which such Person is
organized, (ii) in a jurisdiction in which such Person’s principal office is located, (iii) in a
jurisdiction in which such Person’s lending office (or branch) in respect of which payments under
this Agreement are made is located, or (iv) in a jurisdiction where such Person is deemed to
conduct business or otherwise have a taxable presence or has a present or former connection (other
than connections arising from such Person having executed, delivered, become a party to,
performed its obligations under, received payments under, received or perfected a security interest
under, engaged in any other transaction pursuant to or enforced any Credit Document, or sold or
assigned an interest in any Loan or Credit Document), (b) U.S. federal withholding Taxes imposed

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on amounts payable to such Person (i) at the time that such Person becomes party to this
Agreement, or (ii) such Person changes its lending office, except in each case to the extent that,
pursuant to Section 2.20, amounts with respect to such Taxes were payable either to such Person’s
assignor immediately before such Person became a party hereto or to such Person immediately
before it changed its lending office, (c) Taxes imposed on amounts payable to such Person that are
attributable to such Person’s failure to comply with Section 2.20(c) or Section 2.20(d) (in each
case after being given timely notice and a reasonable opportunity to cure such failure) and (d) any
U.S. federal withholding Taxes imposed under FATCA.

                 “Exit ABL Credit Agreement” means the credit agreement for the Exit ABL
Facility, if any.

             “Exit ABL Facility” means that certain exit facility issued pursuant to the Exit
ABL Credit Agreement, if any.

               “Exit Facilities” means the Exit Term Loan Facility, the Exit ABL Facility, and/or
any other financing facility effective on the Chapter 11 Plan Effective Date that is approved by the
Company Parties (as defined in the RSA) and the Requisite Lenders.

                “Exit Facilities Documents” means the Exit ABL Credit Agreement and the Exit
Term Loan Credit Agreement and any other agreements, documents, and instruments delivered or
entered into in connection therewith or with any other Exit Facility contemplated by the Company
Parties (as defined in the RSA) and the Requisite Lenders, including, without limitation, any
guarantee agreements, pledge, and collateral agreements, intercreditor agreements, and other
security documents.

             “Exit Term Loan Credit Agreement” means the credit agreement for the Exit
Term Loan Facility, if any.

               “Exit Term Loan Facility” means that certain exit facility, if any, issued pursuant
to the Exit Term Loan Credit Agreement.

              “Facility” means any real property (including all buildings, fixtures or other
improvements located thereon) now, hereafter or heretofore owned, leased, operated or used by
Holdings or any of its Subsidiaries or any of their respective predecessors.

               “Fair Share” as defined in Section 7.2.

               “Fair Share Contribution Amount” as defined in Section 7.2.

                “FATCA” means Sections 1471 through 1474 of the Internal Revenue Code
(effective as of the Effective Date) (or any amended or successor version that is substantively
comparable and not materially more onerous to comply with) any current or future regulations or
official interpretations thereof, any agreements entered into pursuant to Section 1471(b)(1) of the
Internal Revenue Code and any fiscal or regulatory legislation, rules or practices adopted pursuant
to any intergovernmental agreement, treaty or convention among Governmental Authorities and
implementing such Sections of the Internal Revenue Code.


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                “Federal Funds Effective Rate” means for any day, the rate per annum equal to
the weighted average of the rates on overnight Federal funds transactions with members of the
Federal Reserve System on such day, as published by the Federal Reserve Bank of New York on
the Business Day next succeeding such day; provided, that (i) if such day is not a Business Day,
the Federal Funds Effective Rate for such day shall be such rate on such transactions on the next
preceding Business Day as so published on the next succeeding Business Day and (ii) if no such
rate is so published on such next succeeding Business Day, the Federal Funds Effective Rate for
such day shall be the average rate charged to Administrative Agent on such day on such
transactions as determined by Administrative Agent (acting at the Direction of the Requisite
Lenders); provided further, that if the Federal Funds Effective Rate would otherwise be negative,
it shall be deemed to be 0.00% per annum.

              “First Day Pleadings” means the first-day motions and related pleadings that the
Debtors determine are necessary or desirable to file upon the commencement of the Chapter 11
Cases.

               “Final Draw” as defined in Section 2.1(a).

               “Final Draw Funding Date” as defined in Section 2.1(a).

                “Final Order” means the order entered by the Bankruptcy Court approving, among
other things, the terms of the ABL DIP Facility and the DIP Term Loan Facility, the Debtors’ entry
into the Credit Documents, and the use of Cash Collateral on a final basis.

               “Fiscal Quarter” means a fiscal quarter of any Fiscal Year.

               “Fiscal Year” means the Fiscal Year of Holdings and its Subsidiaries ending on
the last Sunday closest to April 30 of each calendar year.

               “Flood Hazard Property” means any Real Estate Asset subject to a mortgage in
favor of Collateral Agent, for the benefit of Secured Parties, and located in an area designated by
the Federal Emergency Management Agency as having special flood or mud slide hazards.

               “Flood Program” means the National Flood Insurance Program created by the
U.S. Congress pursuant to the National Flood Insurance Act of 1968, the Flood Disaster Protection
Act of 1973, the National Flood Insurance Reform Act of 1994 and the Flood Insurance Reform
Act of 2004, in each case as amended from time to time, and any successor statutes.

              “Flood Zone” means areas having special flood hazards as described in the
National Flood Insurance Act of 1968, as amended from time to time, and any successor statute.

               “Floor” means a rate of interest equal to 1.00% per annum.

               “Foreign Subsidiary” means any Subsidiary (i) that is a CFC, (ii) that is
disregarded as separate from its owner for U.S. federal income Tax purposes and owns 100% of
the Equity Interests of a CFC and substantially all of the assets of which consist (directly or
indirectly) of Equity Interests and/or Indebtedness of CFCs or (iii) that is a CFC Holding
Company.

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               “Fronting Lender” means Jefferies Capital Services, LLC.

              “Fronting Lender Fee Letter” means that certain Fee Letter, dated as of July [ ],
2025, between the Borrower and the Fronting Lender.

               “Fund” means any Person (other than a natural Person) that is engaged or advises
funds or other investment vehicles that are engaged in making, purchasing, holding, or investing
in commercial loans and similar extensions of credit in the ordinary course.

               “Funding Guarantors” as defined in Section 7.2.

               “Funding Notice” means a notice substantially in the form of Exhibit A-1.

               “Governmental Authority” means any federal, state, municipal, national or other
government, governmental department, commission, board, bureau, court, agency or
instrumentality or political subdivision thereof or any entity, officer or examiner exercising
executive, legislative, judicial, regulatory or administrative functions of or pertaining to any
government or any court, in each case whether associated with a state of the United States, the
United States, or a foreign entity or government (including any supra-national body exercising
such powers or functions, such as the European Union or the European Central Bank).

               “Governmental Authorization” means any permit, license, authorization,
directive, consent order or consent decree of or from any Governmental Authority.

               “Guaranteed Obligations” as defined in Section 7.1.

               “Guarantor” means (i) the Parent Guarantors, and (iii) each Domestic Subsidiary
of the Borrower; provided that any Subsidiary of Holdings that is a “Guarantor” (as defined in the
ABL Credit Agreement) shall also be a Guarantor hereunder; provided, further, that the each
Debtor shall be a Guarantor hereunder.

                “Guaranty” means (i) the guaranty of each Guarantor set forth in Section 7 and
(ii) any other guaranty of the Obligations made by a Subsidiary in form and substance reasonably
acceptable to the Administrative Agent (acting at the Direction of the Requisite Lenders).

               “Hazardous Materials” means any chemical, contaminant, pollutant, waste,
material or substance, of a type or quantity prohibited, limited or regulated as hazardous pursuant
to any Environmental Law.

               “Hazardous Materials Activity” means any activity, event or occurrence
involving any Hazardous Materials, including the use, manufacture, possession, storage, presence,
Release, threatened Release, discharge, placement, generation, transportation, processing,
treatment, abatement, removal, remediation, disposal, disposition or handling of any Hazardous
Materials, and any corrective action or response action with respect to any of the foregoing.

               “Highest Lawful Rate” means the maximum lawful interest rate, if any, that at
any time or from time to time may be contracted for, charged, or received under the laws applicable
to any Lender which are presently in effect or, to the extent allowed by law, under such applicable


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laws which may hereafter be in effect and which allow a higher maximum nonusurious interest
rate than applicable laws now allow.

              “Historical Financial Statements” means (a) the audited consolidated balance
sheets as of DMFHL and the related audited consolidated statements of operations and
comprehensive income and cash flows of Holdings and its Subsidiaries and (b) the unaudited
consolidated balance sheets and the related unaudited consolidated statements of operations and
comprehensive income and cash flows of Holdings and its Subsidiaries as of and for each fiscal
quarter ended at least 45 days prior to the Effective Date (and the same period in the prior fiscal
year).

                “Holdings” as defined in the preamble hereto.

               “IFRS” means, subject to the provisions of Section 1.2, the international financial
reporting standards as issued by the International Accounting Standards Board as in effect from
time to time.

                “Indebtedness” means, as applied to any Person, without duplication,

                       (i)      all indebtedness for borrowed money and guarantees of such
indebtedness;

                        (ii)     that portion of obligations with respect to Capital Leases that is
properly classified as a liability on a balance sheet in conformity with IFRS;

                      (iii) notes payable and drafts accepted representing extensions of credit
whether or not representing obligations for borrowed money;

                       (iv)    any obligation owed for all or any part of the deferred purchase price
of property or services, including any earn-out obligations which are due and payable for at least
3 Business Days (excluding any such obligations (w) incurred under ERISA, (x) pursuant to any
employee program, (y) payables in the Ordinary Course of Business (it being acknowledged that
the certain trade payable owed by Holdings or any of its subsidiaries to DMPL (or its affiliates) is
a payable in the Ordinary Course of Business) or (z) which are supported by a third party escrow
arrangement or indemnifiable obligation in favor of such Person), which purchase price is (a) due
more than six months from the date of incurrence of the obligation in respect thereof or (b)
evidenced by a note or similar written instrument;

                      (v)     all indebtedness secured by any Lien on any property or asset owned
or held by that Person regardless of whether the indebtedness secured thereby shall have been
assumed by that Person or is nonrecourse to the credit of that Person;

                     (vi)  the outstanding balance of any letter of credit or any bank guarantee
issued for the account of that Person or as to which that Person is otherwise liable for
reimbursement of drawings;

                       (vii)    Disqualified Equity Interests;



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                       (viii) the direct or indirect guaranty, endorsement (otherwise than for
collection or deposit in the Ordinary Course of Business), co-making, discounting with recourse
or sale with recourse by such Person of Indebtedness of another;

                       (ix)    any obligation of such Person the primary purpose or intent of which
is to provide assurance to an obligee that the obligation of the obligor thereof constituting
Indebtedness will be paid or discharged, or any agreement relating thereto will be complied with,
or the holders thereof will be protected (in whole or in part) against loss in respect thereof;

                       (x)     any liability of such Person for an obligation of another through any
agreement (contingent or otherwise) (a) to purchase, repurchase or otherwise acquire such
obligation or any security therefor, or to provide funds for the payment or discharge of such
obligation (whether in the form of loans, advances, stock purchases, capital contributions or
otherwise) or (b) to maintain the solvency or any balance sheet item, level of income or financial
condition of another if, in the case of any agreement described under subclause (a) or (b) of this
clause (x), the primary purpose or intent thereof is as described in clause (ix) above; and

                      (xi)     all obligations of such Person in respect of any exchange traded or
over the counter derivative transaction, including under any Interest Rate Agreement or Currency
Agreement, in each case, whether entered into for hedging or speculative purposes or otherwise.

               “Indemnified Liabilities” as defined in Section 10.3(a).

              “Independent Director” means a member of the Board of Directors of DMFHL
who is not an officer or employee of DMFHL or any Affiliate thereof and who otherwise is
“independent” in accordance with the rules of the New York Stock Exchange (or any successor
thereto).

               “Initial Draw” as defined in Section 2.1(a).

               “Installment Date” as defined in Section 2.12.

               “Installments” as defined in Section 2.12.

               “Insurance Premium Financers” means Persons who are non-Affiliates of
Holdings that advance insurance premiums for Holdings and its Subsidiaries pursuant to Insurance
Premium Financing Arrangements.

                “Insurance Premium Financing Arrangements” means, collectively, such
agreements with Insurance Premium Financers pursuant to which such Insurance Premium
Financers advance insurance premiums for Holdings and its Subsidiaries. Such Insurance Premium
Financing Arrangements shall provide for the benefit of such Insurance Premium Financers a
security interest in no property of Holdings or any of its Subsidiaries other than gross unearned
premiums for the insurance policies, the proceeds of such policies and related rights.

                “Intellectual Property” means the collective reference to all rights, priorities and
privileges relating to intellectual property arising under United States laws, including, without
limitation, the Copyrights, the Copyright Licenses, the Patents, the Patent Licenses, the

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Trademarks and the Trademark Licenses, and all rights to sue at law or in equity for any
infringement or other impairment thereof, including the right to receive all Proceeds and damages
therefrom.

                “Intellectual Property Asset” means, at the time of determination, any interest
(fee, license or otherwise) then owned by any Credit Party in any Intellectual Property.

               “Intercompany Note” means a promissory note substantially in the form of
Exhibit J evidencing Indebtedness owed among Credit Parties and their Subsidiaries.

              “Interest Payment Date” means as to any Loan, including SOFR Loans and Base
Rate Loans, the last day of each Interest Period and the Maturity Date of the Facility under which
such Loan was made.

               “Interest Period” means, in connection with a SOFR Loan, the period
commencing on the date such Loan is advanced, disbursed or converted to or continued as a Term
SOFR Loan and ending on the date one month thereafter ; provided, that (a) if an Interest Period
would otherwise expire on a day that is not a Business Day, such Interest Period shall expire on
the next succeeding Business Day unless no further Business Day occurs in such month, in which
case such Interest Period shall expire on the immediately preceding Business Day; (b) any Interest
Period that begins on the last Business Day of a calendar month (or on a day for which there is no
numerically corresponding day in the calendar month at the end of such Interest Period) shall,
subject to clause (c) of this definition, end on the last Business Day of a calendar month; and (c)
no Interest Period with respect to any portion of any Class of Term Loans shall extend beyond
such Class’s Maturity Date.

               “Interest Rate Agreement” means any interest rate swap agreement, interest rate
cap agreement, interest rate collar agreement, interest rate hedging agreement or other similar
agreement or arrangement, each of which is for the purpose of hedging the interest rate exposure
associated with Holdings’ and its Subsidiaries’ operations and not for speculative purposes.

                 “Interest Rate Determination Date” means, with respect to any Interest Period,
the date that is two Business Days prior to the first day of such Interest Period.

              “Interim Order” means the order entered by the Bankruptcy Court approving,
among other things, the terms of the ABL DIP Facility and the DIP Facility, the Debtors’ entry
into the DIP Documents, and the use of Cash Collateral on an interim basis.

              “Internal Revenue Code” or “Code” means the Internal Revenue Code of 1986,
as amended to the Effective Date and from time to time hereafter.

               “Internal Revenue Service” or “IRS” means the United States Internal Revenue
Service.

                “Investment” means (i) any direct or indirect purchase or other acquisition by
Holdings or any of its Subsidiaries of, or of a beneficial interest in, any of the Securities of any
other Person (other than a Guarantor) or the acquisition of all or substantially all of the assets or a
division, line of business or other business unit of a Person; (ii) any direct or indirect purchase or

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other acquisition for value, by any Subsidiary of Holdings from any Person (other than any
Guarantor or the Borrower), of any Equity Interests of such Person; (iii) any direct or indirect loan
(including guarantees), advance (other than advances to employees for moving, entertainment and
travel expenses, drawing accounts and similar expenditures in the Ordinary Course of Business)
or capital contributions by Holdings or any of its Subsidiaries to any other Person (other than a
Guarantor), including all indebtedness and accounts receivable from that other Person that are not
current assets or did not arise from sales to that other Person in the Ordinary Course of Business
and (iv) all investments consisting of any exchange traded or over the counter derivative
transaction, including any Interest Rate Agreement and Currency Agreement, whether entered into
for hedging or speculative purposes or otherwise. The amount of any Investment of the type
described in clauses (i), (ii) and (iii) shall be the original cost of such Investment plus the cost of
all additions thereto, without any adjustments for increases or decreases in value, or write-ups,
write-downs or write-offs with respect to such Investment less, to the extent cash is received by
Credit Party, the amount of any redemptions, returns of capital or repayments.

               “ISDA CDS Definitions” has the meaning assigned to it in Section 8.3(c)(iv).

               “Joinder Agreement” means an agreement substantially in the form of Exhibit K.

                “Joint Venture” means a joint venture, partnership or other similar arrangement,
whether in corporate, partnership or other legal form with bona fide third parties that are not
Affiliates of the Credit Parties.

               “Latest Maturity Date” means, at any date of determination, the latest maturity or
expiration date applicable to any Loan or Commitment hereunder at such time as extended in
accordance with this Agreement from time to time.

               “Lender” means each financial institution listed on the signature pages hereto as a
Lender, and any other Person that becomes a party hereto pursuant to an Assignment Agreement
or a Joinder Agreement.

                “Lender Advisors” means, collectively, Gibson, Dunn & Crutcher LLP and
Houlihan Lokey Capital, Inc., as counsel and financial advisor and investment banker,
respectively, to the Lenders (other than the Fronting Lender, which may retain its own counsel).

                 “Licenses” means, with respect to any Person, all of such Person’s right, title, and
interest in and to (a) any and all licensing agreements or similar arrangements in and to its Patents,
Copyrights, or Trademarks, (b) all income, royalties, damages, claims, and payments now or
hereafter due or payable under and with respect thereto, including, without limitation, damages
and payments for past and future breaches thereof, and (c) all rights to sue for past, present, and
future breaches thereof.

               “License Intercreditor Agreement” means that certain Amended and Restated
Intercreditor Agreement, dated as of December 5, 1989, as supplemented by the Joinder
Agreement dated as of August 2, 2024 (the “License Intercreditor Joinder Agreement”) (and
as further amended, restated, supplemented or otherwise modified from time to time), as executed
by Wafer Limited, The First National Bank of Chicago, Nabisco Brands Canada Ltd. and


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Compañia Venezolana de Conservas C.A., among others, and consented to by Del Monte
Corporation.

               “License Intercreditor Joinder Agreement” as defined in the definition of
“License Intercreditor Agreement”.

                 “Lien” means any lien, mortgage, pledge, assignment, security interest, charge or
encumbrance in the nature of a security interest of any kind (including any conditional sale or other
title retention agreement, and any financing lease in the nature thereof) and any option, trust or
other preferential arrangement having the practical effect of any of the foregoing.

                “Liquidity” shall mean, as of any date, an amount equal to the sum of (A) Excess
Availability (as such term is defined in the ABL Credit Agreement in effect as of the date hereof
or, with the consent of the Requisite Lenders, as such defined term is amended) and (B) an amount
equal to the aggregate amount of cash and Cash Equivalents of the Borrower and the Guarantors
as of such date, but excluding any such cash and Cash Equivalents that (i) would be listed as
“restricted” on a balance sheet of the Borrower or the applicable Guarantors as of such date or (ii)
constitute Net Asset Sale Proceeds required to be applied to prepay the Term Loans.

                    “Loan” means a Term Loan.

              “London Banking Day” means any day on which dealings in Dollar deposits are
conducted by and between banks in the London interbank market.

                    “Margin Stock” as defined in Regulation U.

                “Material Adverse Effect” means a material adverse effect on (a) the business,
operations, properties, assets or financial condition of Holdings and its Subsidiaries taken as a
whole; (b) the ability of the Credit Parties, taken as a whole, to fully and timely perform their
material Obligations, taken as a whole; (c) the legality, validity, binding effect or enforceability
against the Credit Parties of the Credit Documents, taken as a whole; or (d) the rights, remedies
and benefits available to, or conferred upon, any Agent and any Lender or any Secured Party under
the Credit Documents, taken as a whole (other than the commencement of a proceeding under
chapter 11 of the Bankruptcy Code and the commencement of the Chapter 11 Cases, the events
that lead to the commencement of the Chapter 11 Cases, events that customarily and reasonably
result from the commencement of the Chapter 11 Cases (in each case, other than matters affecting
the Loan Parties that are not subject to the automatic stay) and the consummation of the
transactions contemplated by the First Day Orders).

                “Material Property” means assets, including, without limitation, intellectual
property, owned by the Borrower and its Subsidiaries that are material to the business, operations,
assets, financial condition or prospects of the Borrower and its Subsidiaries, taken as a whole.

              “Maturity Date” means, the earliest of (a) [ ]1; (b) acceleration of the Term Loans
and termination of the Commitments; (c) the Bankruptcy Court orders a conversion of these

1
    NTD: to be the date that is 9 months after the execution of the DIP CA.



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Chapter 11 Cases to a Chapter 7 liquidation or a dismissal of any of these Chapter 11 Cases; (d)
substantial consummation (as defined in 11 U.S.C. § 1101(2)) of a plan of reorganization of the
Debtors which has been confirmed by the Confirmation Order (as defined in the RSA); (e)
appointment of a Chapter 11 trustee or other Bankruptcy Court-mandated fiduciary with decision-
making authority (including an examiner with expanded powers); (f) consummation of a sale of
all or substantially all of the Debtors’ assets; and (g) termination of the RSA in accordance with
Section 12 of the RSA.

              “MIP Documents” mean such agreements, instruments, and documents as may be
reasonably desired or necessary to implement a management incentive plan, to be filed with the
Chapter 11 Plan Supplement.

               “Moody’s” means Moody’s Investors Service, Inc.

               “Multiemployer Plan” means any Employee Benefit Plan, as well as an employee
pension benefit plan (as defined in Section 3(3) of ERISA) subject to Title IV of ERISA and
contributed to by Holdings, its Subsidiaries or its ERISA Affiliates, or with respect to which
Holdings or its Subsidiaries have sponsored or contributed and could have liability, which is a
“multiemployer plan” as defined in Section 3(37) of ERISA.

                “Net Asset Sale Proceeds” means, with respect to any Asset Sale permitted by
Section 6.8(c), an amount equal to 60% of: (i) Cash payments (including any Cash received by
way of deferred payment pursuant to, or by monetization of, a note receivable or otherwise, but
only as and when so received) received by Holdings or any of its Subsidiaries from such Asset
Sale, minus (ii) any bona fide direct costs or reasonable and customary expenses incurred in
connection with such Asset Sale, including (a) income or gains taxes payable by the seller as a
result of any gain recognized in connection with such Asset Sale, (b) payment of the outstanding
principal amount of, premium or penalty, if any, and interest on any Indebtedness (other than the
Loans or the ABL DIP Loans) that is secured by a Lien having priority to the Obligations on the
stock or assets in question and that is required to be repaid under the terms thereof as a result of
such Asset Sale, (c) a reasonable reserve for any indemnification payments (fixed or contingent)
attributable to seller’s indemnities and representations and warranties to purchaser in respect of
such Asset Sale undertaken by Holdings or any of its Subsidiaries in connection with such Asset
Sale; provided that upon release of any such reserve, the amount released shall be considered Net
Asset Sale Proceeds and (d) the amount of any escrow or other reserves established by Holdings,
the Borrower and the Subsidiaries to fund contingent liabilities reasonably estimated to be payable,
that are directly attributable to such event, and including any appropriate amounts as a reserve
required in accordance who IFRS against any adjustment in the sale price of such asset or liabilities
associated with such Asset Sale and retained by Holdings or its Subsidiaries, as the case may be,
after such Asset Sale, including pensions and other post-employment benefit liabilities, liabilities
related to environmental matters and liabilities under any indemnification obligations associated
who such Asset Sale, provided that any reduction at any time in the amount of any such reserves
(other than as a result of payments made in respect thereof) that are permanently returned to
Holdings, the Borrower, or the Subsidiaries shall be deemed to constitute the receipt by Holdings,
the Borrower, or the Subsidiaries, as applicable, at such time of Net Asset Sale Proceeds in the
amount of such reduction. For the avoidance of doubt, Net Asset Sale Proceeds shall not include
cash receipts from proceeds of insurance or indemnity payments to the extent that such proceeds,

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awards or payments are received by Holdings or any Subsidiary with respect to ABL Priority
Collateral.

                “Net Insurance/Condemnation Proceeds” means an amount equal to: (i) any
Cash payments or proceeds received by Holdings or any of its Subsidiaries (a) under any casualty
insurance policy in respect of a covered loss thereunder or (b) as a result of the taking of any assets
of Holdings or any of its Subsidiaries by any Person pursuant to the power of eminent domain,
condemnation or otherwise, or pursuant to a sale of any such assets to a purchaser with such power
under threat of such a taking, minus (ii)(a) any actual and reasonable costs incurred by Holdings
or any of its Subsidiaries in connection with the adjustment or settlement of any claims of Holdings
or such Subsidiary in respect thereof, and (b) any bona fide direct costs incurred in connection
with any sale of such assets as referred to in clause (i)(b) of this definition, including income taxes
payable as a result of any gain recognized in connection therewith.

               “Net Mark-to-Market Exposure” of a Person means, as of any date of
determination, the excess (if any) of all unrealized losses over all unrealized profits of such Person
arising from Interest Rate Agreements and Currency Agreements or other Indebtedness of the type
described in clause (xi) of the definition thereof. As used in this definition, “unrealized losses”
means the fair market value of the cost to such Person of replacing such Interest Rate Agreements
and Currency Agreement or such other Indebtedness as of the date of determination (assuming the
Interest Rate Agreements and Currency Agreement or such other Indebtedness were to be
terminated as of that date), and “unrealized profits” means the fair market value of the gain to such
Person of replacing such Interest Rate Agreements and Currency Agreement or such other
Indebtedness as of the date of determination (assuming such Interest Rate Agreements and
Currency Agreement or such other Indebtedness were to be terminated as of that date).

                “New Organizational Documents” means the documents providing for the
corporate governance of the Reorganized Debtors, including any charters, bylaws, operating
agreements, or other organizational documents or shareholder’s agreements, as applicable, which
shall be consistent with section 1123(a)(6) of the Bankruptcy Code, as applicable.

              “Non-Defaulting Lender” means, at any time, each Lender that is not a Defaulting
Lender at such time.

               “Non-Excluded Taxes” means Taxes, other than Excluded Taxes, imposed on or
with respect to any payment made by or on account of any obligation of any Credit Party under
any Credit Document.

               “Non-U.S. Lender” as defined in Section 2.20(c).

                “Note” means a promissory note in the form of Exhibit B, as it may be amended,
restated, supplemented or otherwise modified from time to time.

               “Notice” means a Funding Notice or a Conversion/ Continuation Notice.

               “Obligations” means (a) all obligations of every nature of each Credit Party,
including obligations from time to time owed to Agents (including former Agents), Lenders or any
of them, under any Credit Document, whether for principal, interest (including interest which, but

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for the filing of a petition in bankruptcy or the commencement of any insolvency, reorganization
or like proceeding, with respect to such Credit Party, would have accrued on any Obligation,
whether or not a claim is allowed against such Credit Party for such interest in the related
bankruptcy, insolvency, reorganization or like proceeding), fees, expenses, indemnification or
otherwise, excluding, with respect to any Guarantor, Excluded Swap Obligations with respect to
such Guarantor and (b) Erroneous Payment Subrogation Rights.

               “Obligee Guarantor” as defined in Section 7.7.

                “Ordinary Course of Business” means the ordinary course of business of DMFI
and its Subsidiaries prior to the date hereof, consistent with the past practices of DMFI and its
Subsidiaries prior to the date hereof; provided, however, for the avoidance of doubt, the foregoing
shall not include the Transactions, or any portion thereof, which shall not be considered ordinary
course of business or consistent with past practices.

                “Organizational Documents” means (i) with respect to any corporation or
company, its certificate, memorandum or articles of incorporation, organization or association, as
amended, and its by-laws, as amended, (ii) with respect to any limited partnership, its certificate
or declaration of limited partnership, as amended, and its partnership agreement, as amended, (iii)
with respect to any general partnership, its partnership agreement, as amended, and (iv) with
respect to any limited liability company, its articles of organization, as amended, and its operating
agreement, as amended. In the event any term or condition of this Agreement or any other Credit
Document requires any Organizational Document to be certified by a secretary of state or similar
governmental official, the reference to any such Organizational Document shall only be to a
document of a type customarily certified by such governmental official.

                “Other Taxes” means any and all present or future stamp, court or documentary,
intangible, recording, filing or similar Taxes or any other excise or property Taxes, charges or
similar levies (and interest, fines, penalties and additions related thereto) arising from any payment
made hereunder or from the execution, delivery or enforcement of, or otherwise with respect to,
this Agreement or any other Credit Document.

              “Outstanding Amount” means, with respect to the Term Loans on any date, the
aggregate outstanding principal amount thereof after giving effect to any borrowings and
prepayments or repayments of the Term Loans, as the case may be, occurring on such date.

               “Paid in Full” or “Payment in Full” or “Pay in Full” means the payment in full
in cash or other consideration acceptable to the Administrative Agent (acting at the Direction of
the Requisite Lenders) of all Obligations (or Guaranteed Obligations, as applicable) (other than
indemnities and other contingent obligations not yet due and payable) and cancellation,
termination or expiration of all Commitments.

              “Parent Guarantors” means (a) Holdings, (b) Del Monte Foods Holdings
Limited, (c) Del Monte Foods Holdings II, Inc., (d) Del Monte Foods Holdings, Inc. and (e) Del
Monte Foods, Inc.

               “Participant Register” as defined in Section 10.6(g)(i).


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                “Patents” means, with respect to any Person, all of such Person’s right, title, and
interest in and to: (a) any and all patents and patent applications; (b) all inventions and
improvements described and claimed therein; (c) all reissues, reexaminations, divisionals,
continuations, renewals, extensions, and continuations-in-part thereof; (d) all income, royalties,
damages, claims, and payments now or hereafter due or payable under and with respect thereto,
including, without limitation, damages and payments for past and future infringements thereof;
and (e) all rights to sue for past, present, and future infringements thereof.

               “PATRIOT Act” means the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism Act (Title III of Pub. L. 107-56
(signed into law October 26, 2001)).

               “Payment Recipient” has the meaning assigned to it in Section 9.13(a).

               “PBGC” means the Pension Benefit Guaranty Corporation or any successor
thereto.

                “Pension Plan” means any Employee Benefit Plan, as well as an employee pension
benefit plan (as defined in Section 3(3) of ERISA) sponsored or contributed to by Holdings, its
Subsidiaries or its ERISA Affiliate, or with respect to which Holdings or its Subsidiaries have
sponsored or contributed and could have liability, other than a Multiemployer Plan, which is
subject to Section 412 of the Internal Revenue Code or Section 302 of ERISA.

                “Periodic Term SOFR Determination Day” has the meaning specified in the
definition of “Term SOFR”.

               “Permitted Holders” means NutriAsia Pacific Limited, a company organized
under the laws of the Philippines or its Affiliates.

               “Permitted Liens” means each of the Liens permitted pursuant to Section 6.2.

               “Permitted Variances” as defined in Section 5.24.

                “Person” means and includes natural persons, corporations, limited partnerships,
general partnerships, limited liability companies, limited liability partnerships, joint stock
companies, Joint Ventures, associations, companies, trusts, banks, trust companies, land trusts,
business trusts or other organizations, whether or not legal entities, and Governmental Authorities.

               “Petition Date” as defined in the preamble hereto.

               “Platform” as defined in Section 5.1(n).

               “Position Representation” as defined in Section 8.3(d).

               “Prepetition ABL Administrative Agent” means the “Administrative Agent” (or
similar term) as defined in the Prepetition ABL Credit Agreement.




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               “Prepetition ABL Collateral Agent” means the “Collateral Agent” (or similar
term) as defined in the Prepetition ABL Credit Agreement.

              “Prepetition ABL Credit Agreement” means that certain ABL Credit Agreement,
dated as of May 15, 2020, among DMFHL, DMFI, the lenders from time to time party thereto, and
JPMorgan Chase Bank, N.A., as administrative agent, as amended, restated, amended and restated,
supplemented or otherwise modified prior to the Petition Date.

                “Prepetition ABL Intercreditor Agreement” means that certain Intercreditor
Agreement dated as of August 2, 2024, (as amended, restated, supplemented or otherwise modified
from time to time), among the Borrower, the other Grantors (as defined therein) party thereto, the
ABL Representative (as defined therein), the Term Loan Representative (as defined therein) and
the additional representatives in respect of Additional Debt (as defined therein) from time to time
party thereto.

               “Prepetition Agent” as defined in the preamble hereto.

               “Prepetition Claims” means any Claim that arises under the Prepetition Credit
Agreement.

               “Prepetition Credit Agreement” as defined in the preamble hereto.

               “Prepetition Lenders” as defined in the preamble hereto.

               “Prepetition Term Loans” as defined in the preamble hereto.

                “Prime Rate” means the rate of interest quoted in the print edition of The Wall
Street Journal, Money Rates Section as the Prime Rate, as in effect from time to time. The Prime
Rate is a reference rate and does not necessarily represent the lowest or best rate actually charged
to any customer. The Administrative Agent or any other Lender may make commercial loans or
other loans at rates of interest at, above or below the Prime Rate.

              “Principal Office” means the Administrative Agent’s “Principal Office” as set
forth on Appendix B, or such other office or office of a third party or sub-agent, as appropriate, as
such Person may from time to time designate in writing to the Borrower, Administrative Agent
and each Lender.

               “Private Lenders” means Lenders that wish to receive Private-Side Information.

                “Private-Side Information” means any information with respect to Holdings and
its Subsidiaries that is not Public-Side Information.

                “Pro Rata Share” means, with respect to each Lender at any time a fraction
(expressed as a percentage, carried out to the ninth decimal place), the numerator of which is the
amount of the Commitments (and, if applicable and without duplication, Term Loans) of such
Lender at such time and the denominator of which is the aggregate amount of all Commitments
(and, if applicable and without duplication, all Term Loans).



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               “Protected Persons” as defined in Section 10.3(a).

               “PTE” as defined in Section 9.11.

                “Public Company Costs” means, as to any Person, costs associated with, or in
anticipation of, or preparation for, compliance with the requirements of the Sarbanes-Oxley Act
of 2002 and the rules and regulations promulgated in connection therewith and costs relating to
compliance with the provisions of the Securities Act and the Exchange Act or any other
comparable body of laws, rules or regulations, as companies with listed equity, directors’
compensation, fees and expense reimbursement, costs relating to enhanced accounting functions
and investor relations, shareholder meetings and reports to shareholders, directors’ and officers’
insurance and other executive costs, legal and other professional fees, and listing fees, in each case
to the extent arising solely by virtue of the listing of such Person’s equity securities on a national
securities exchange or issuance of public debt securities.

               “Public Lenders” means Lenders that do not wish to receive Private-Side
Information.

                “Public-Side Information” means (i) at any time prior to Holdings or any of its
Subsidiaries becoming the issuer of any Traded Securities, information that is either (x) of a type
that would be made publicly available if Holdings or any of its Subsidiaries were issuing securities
pursuant to a public offering or (y) not material (for purposes of United States federal, state or
other applicable securities laws) to make an investment decision with respect to securities of
Holdings or any of its Subsidiaries, and (ii) at any time on or after Holdings or any of its
Subsidiaries becoming the issuer of any Traded Securities, information that is either (x) available
to all holders of Traded Securities of Holdings and its Subsidiaries or (y) not material (for purposes
of United States federal, state or other applicable securities laws) to make an investment decision
with respect to securities of Holdings or any of its Subsidiaries.

                “QFC” has the meaning assigned to the term “qualified financial contract” in, and
shall be interpreted in accordance with, 12 U.S.C. 5390(c)(8)(D).

               “QFC Credit Support” has the meaning specified in Section 9.12(a).

               “Qualified ECP Guarantor” means, in respect of any Swap Obligation, each
Credit Party that has total assets exceeding $10,000,000 at the time such Swap Obligation is
incurred.

               “Real Estate Asset” means, at any time of determination, any interest (fee,
leasehold or otherwise) then owned by any Credit Party in any real property.

               “Reference Time” with respect to any setting of the then-current Benchmark
means (1) if such Benchmark is Term SOFR Reference Rate, 11:00 a.m. (London time) on the day
that is two London Banking Days preceding the date of such setting, and (2) if such Benchmark is
not Term SOFR Reference Rate, the time determined by the Administrative Agent (acting at the
Direction of the Requisite Lenders) in its reasonable discretion.

               “Register” as defined in Section 2.7(b).

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               “Registered Equivalent Notes” means, with respect to any notes originally issued
in a Rule 144A or other private placement transaction under the Securities Act, substantially
identical notes (having the same Guaranties) issued in a dollar-for-dollar exchange therefor
pursuant to an exchange offer registered with the U.S. Securities and Exchange Commission.

                  “Regulated Bank” means an Approved Commercial Bank that is (i) a U.S.
depository institution the deposits of which are insured by the Federal Deposit Insurance
Corporation; (ii) a corporation organized under Section 25A of the U.S. Federal Reserve Act of
1913; (iii) a branch, agency or commercial lending company of a foreign bank operating pursuant
to approval by and under the supervision of the Board of Governors under 12 CFR part 211; (iv)
a non-U.S. branch of a foreign bank managed and controlled by a U.S. branch referred to in clause
(iii); or (v) any other U.S. or non-U.S. depository institution or any branch, agency or similar office
thereof supervised by a bank regulatory authority in any jurisdiction.

               “Regulation D” means Regulation D of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

               “Regulation T” means Regulation T of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

               “Regulation U” means Regulation U of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

               “Regulation X” means Regulation X of the Board of Governors, as in effect from
time to time and all official rulings and interpretations thereunder or thereof.

               “Related Fund” means, with respect to any Lender or Eligible Assignee that is an
investment fund or other entity, any other investment fund or other entity that invests in
commercial loans and that is managed or advised by the same investment advisor/manager as such
Lender/Eligible Assignee or by an Affiliate of such investment advisor/manager under common
control therewith.

               “Related Parties” means, with respect to any specified Person, such Person’s
Affiliates and the directors, officers, employees, agents, members, advisors, controlling persons
and other representatives of such Person and their respective successors and assigns and any
Person that possesses, directly or indirectly, the power to direct or cause the direction of the
management or policies of such Person, whether through the ability to exercise voting power, by
contract or otherwise.

                “Release” means any release, spill, emission, leaking, pumping, pouring, injection,
escaping, deposit, disposal, discharge, dispersal, dumping, leaching or migration of any Hazardous
Material into the indoor or outdoor environment (including the abandonment or disposal of any
barrels, containers or other closed receptacles containing any Hazardous Material), including the
movement of any Hazardous Material through the air, soil, surface water or groundwater.

             “Relevant Governmental Body” means the Board of Governors of the Federal
Reserve System or the Federal Reserve Bank of New York, or a committee officially endorsed or


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convened by the Board of Governors of the Federal Reserve System or the Federal Reserve Bank
of New York, or any successor thereto.

               “Reorganized Debtors” means the Debtors as reorganized under the Chapter 11
Plan, or any successor or assign thereto, by transfer, merger, consolidation, or otherwise.

               “Required Prepayment Date” as defined in Section 2.15(c).

             “Requisite Lenders” means one or more Lenders having or holding Term Loan
Exposure and representing more than 50% of the aggregate Voting Power Determinants of all
Lenders.

             “Resolution Authority” means anybody which has authority to exercise any
Write-Down and Conversion Powers.

                “Restricted Junior Payment” means (i) any dividend or other distribution, direct
or indirect, on account of any shares of any class of stock of Holdings or any of its Subsidiaries
now or hereafter outstanding, except a dividend payable solely in shares of that class of stock to
the holders of that class; (ii) any redemption, retirement, sinking fund or similar payment, purchase
or other acquisition for value, direct or indirect, of any shares of any class of stock of Holdings or
any of its Subsidiaries (or the direct parent thereof) now or hereafter outstanding; (iii) any payment
made to retire, or to obtain the surrender of, any outstanding warrants, options or other rights to
acquire shares of any class of stock of Holdings or any of its Subsidiaries (or the direct parent
thereof) now or hereafter outstanding; and (iv) any payment or prepayment of principal of,
premium, if any, or interest on, or redemption, purchase, retirement, defeasance (including
in-substance or legal defeasance), sinking fund or similar payment with respect to any
Subordinated Indebtedness.

               “Restructuring Plan” means any plan of reorganization, plan of liquidation, plan
of arrangement, agreement for composition, or any other type of dispositive restructuring plan
proposed in or in connection with any proceeding under any Debtor Relief Law.

               “Roll-Up Amount” as defined in Section 2.1(b).

               “Roll-Up Loan Exposure” means, with respect to any Lender, as of any date of
determination, the outstanding principal amount of the Roll-Up Loans of such Lender.

               “Roll-Up Loans” as defined in the preamble hereto.

               “Rolled-Up Prepetition Loans” as defined in Section 2.1(b).

               “RSA” means that certain Restructuring Support Agreement, dated as of July [1],
2025 (as may be amended, restated, amended and restated, supplemented or otherwise modified
from time to time) between the Company Parties and the Consenting Lenders (each as defined
therein).

               “S&P” means Standard & Poor’s Financial Services LLC, a subsidiary of the S&P
Global, Inc.


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               “Sale and Leaseback Transaction” as defined in Section 6.10.

               “Sanctions” as defined in Section 4.22(a).

               “Sanctions Laws” as defined in Section 4.22(a).

               “Secured Obligations” means, collectively, the Obligations.

                “Secured Parties” means, collectively, the Administrative Agent, the Lenders, and
each co-agent or sub-agent appointed by the Administrative Agent from time to time pursuant to
Section 9.3(c).

                 “Securities” means any stock, shares, partnership interests, voting trust
certificates, certificates of interest or participation in any profit-sharing agreement or arrangement,
options, warrants, bonds, debentures, notes, or other evidences of indebtedness, secured or
unsecured, convertible, subordinated or otherwise, or in general any instruments commonly known
as “securities” or any certificates of interest, shares or participations in temporary or interim
certificates for the purchase or acquisition of, or any right to subscribe to, purchase or acquire, any
of the foregoing.

              “Securities Act” means the Securities Act of 1933, as amended from time to time,
and any successor statute.

               “Similar Businesses” means any business conducted or proposed to be conducted
by Holdings, the Borrower and the Subsidiaries on the Effective Date or any business that is
similar, reasonably related, synergistic, incidental, or ancillary thereto.

             “SOFR” means a rate equal to the secured overnight financing rate as administered
by the SOFR Administrator.

              “SOFR Administrator” means the Federal Reserve Bank of New York (or a
successor administrator of the secured overnight financing rate).

             “SOFR Borrowing” means, as to any Borrowing, the SOFR Loans comprising
such Borrowing.

              “SOFR Loan” means a Loan that bears interest at a rate based on Adjusted Term
SOFR, other than pursuant to clause (c) of the definition of “Base Rate”.

               “Solicitation Materials” means, collectively, all documents, forms, ballots,
notices, and other materials provided in connection with the solicitation of votes on the Chapter
11 Plan pursuant to sections 1125 and 1126 of the Bankruptcy Code, including, but not limited to,
the Disclosure Statement.

               “Specified Intellectual Property” means the Intellectual Property subject, as of
the Effective Date, to the License Intercreditor Agreement.

               “Subsequent DIP Budget” as defined in Section 5.24.


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              “Subordinated Indebtedness” means Indebtedness of the Borrower or any
Guarantor that is by its express terms subordinated in right of payment to the obligations of the
Borrower or such Guarantor, as applicable, in accordance with the terms of the subordination
agreement applicable thereto.

                 “subsidiary” means, with respect to any Person, any corporation, partnership,
limited liability company, association, Joint Venture or other business entity of which more than
50% of the total voting power of shares of stock or other ownership interests entitled (without
regard to the occurrence of any contingency) to vote in the election of the Person or Persons
(whether directors, managers, trustees or other Persons performing similar functions) having the
power to direct or cause the direction of the management and policies thereof is at the time owned
or controlled, directly or indirectly, by that Person or one or more of the other subsidiaries of that
Person or a combination thereof; provided, that in determining the percentage of ownership
interests of any Person controlled by another Person, no ownership interest in the nature of a
“qualifying share” of the former Person shall be deemed to be outstanding.

               “Subsidiary” means, unless the context otherwise expressly requires, a subsidiary
of Holdings.

               “Supported QFC” has the meaning specified in Section 9.12(a).

               “Swap Obligation” as defined in the definition of “Excluded Swap Obligation.”

               “Syndication” has the meaning assigned in Section 2.27.

               “Syndication Procedures” has the meaning assigned in Section 2.27.

               “Tax” means any present or future tax, levy, impost, duty, assessment, charge, fee,
deduction or withholding (including backup withholding) (together with interest, penalties and
other additions thereto) of any nature and whatever called, by any Governmental Authority, on
whomsoever and wherever imposed, levied, collected, withheld or assessed.

               “Tax Group” has the meaning specified in Section 6.4(k).

               “Term Loan” means a DIP Term Loan or a Roll-Up Loan, as applicable.

            “Term Loan Commitment” means respect to any Lender, such Lender’s DIP
Term Loan Commitment.

            “Term Loan Exposure” means, with respect to any Lender, such Lender’s DIP
Term Loan Exposure or Roll-Up Loan Exposure, as applicable.

               “Term SOFR” means,

               (a)    for any calculation with respect to a SOFR Loan, the Term SOFR Reference
Rate for a tenor comparable to the applicable Interest Period on the day (such day, the “Periodic
Term SOFR Determination Day”) that is two (2) U.S. Government Securities Business Days
prior to the first day of such Interest Period, as such rate is published by the Term SOFR


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Administrator; provided, however, that if as of 5:00 p.m. (New York City time) on any Periodic
Term SOFR Determination Day the Term SOFR Reference Rate for the applicable tenor has not
been published by the Term SOFR Administrator and a Benchmark Replacement Date with respect
to the Term SOFR Reference Rate has not occurred, then Term SOFR will be the Term SOFR
Reference Rate for such tenor as published by the Term SOFR Administrator on the first preceding
U.S. Government Securities Business Day for which such Term SOFR Reference Rate for such
tenor was published by the Term SOFR Administrator so long as such first preceding U.S.
Government Securities Business Day is not more than three (3) U.S. Government Securities
Business Days prior to such Periodic Term SOFR Determination Day, and

               (b)     for any calculation with respect to a Base Rate Loan on any day, the Term
SOFR Reference Rate for a tenor of one month on the day (such day, the “Base Rate Term SOFR
Determination Day”) that is two (2) U.S. Government Securities Business Days prior to such
day, as such rate is published by the Term SOFR Administrator; provided, however, that if as of
5:00 p.m. (New York City time) on any Base Rate Term SOFR Determination Day the Term SOFR
Reference Rate for the applicable tenor has not been published by the Term SOFR Administrator
and a Benchmark Replacement Date with respect to the Term SOFR Reference Rate has not
occurred, then Term SOFR will be the Term SOFR Reference Rate for such tenor as published by
the Term SOFR Administrator on the first preceding U.S. Government Securities Business Day
for which such Term SOFR Reference Rate for such tenor was published by the Term SOFR
Administrator so long as such first preceding U.S. Government Securities Business Day is not
more than three (3) U.S. Government Securities Business Days prior to such Base Rate Term
SOFR Determination Day.

               “Term SOFR Adjustment” means, for any calculation with respect to a Base Rate
Loan or a SOFR Loan, a percentage per annum as set forth below for the applicable Type of Loan
and (if applicable) Interest Period therefor:

              Base Rate Loans:

                                  0.10%

              SOFR Loans:

              Interest Period                  Percentage

              One month                        0.10%



              “Term SOFR Administrator” means CME Group Benchmark Administration
Limited (CBA) (or a successor administrator of the Term SOFR Reference Rate selected by the
Administrative Agent in its reasonable discretion).

              “Term SOFR Reference Rate” means the forward-looking term rate based on
SOFR.

              “Threshold Amount” means $5,000,000.

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               “Traded Securities” means any debt or equity Securities issued pursuant to a
public offering or Rule 144A offering or other similar private placement.

                “Trademarks” means, with respect to any Person, all of such Person’s right, title,
and interest in and to the following: (a) all trademarks (including service marks), trade names,
trade dress, trade styles, Internet domain names and all other sources of commercial indicia and
the registrations and applications for registration thereof and the goodwill of the business
symbolized by the foregoing; (b) all Licenses of the foregoing, whether as licensee or licensor; (c)
all renewals of the foregoing; (d) all income, royalties, damages, and payments now or hereafter
due or payable with respect thereto, including, without limitation, damages, claims, and payments
for past and future infringements thereof; and (e) all rights to sue for past, present, and future
infringements of the foregoing, including the right to settle suits involving claims and demands for
royalties owing.

                 “Trading Agent” means OPY (and its affiliates) as that certain party available
solely to facilitate trades of the Borrower's Loans, securities or other debt instruments currently
outstanding or to be issued by the Borrower under the Credit Documents. The Trading Agent shall
be entitled to the same rights, protections and benefits provided to the other Agents under Sections
9.3, 9.5, 9.6, 10.2, 10.3, 10.8, 10.14, 10.15, 10.16, 10.17, 10.19, 10.20 and 10.23 of this Agreement.
For the avoidance of doubt, the Trading Agent shall not have any duties, responsibilities or
obligations under this Agreement (other than pursuant to Section 10.17 (Confidentiality)).

               “Transaction Costs” means the fees, costs and expenses payable by Holdings,
Borrower or any other Subsidiaries of Holdings on or before the Effective Date in connection with
the Transactions.

               “Transactions” means the transactions contemplated by the RSA.

               “Transition Services Agreement” means the Transition Services
Agreement dated as of August 2, 2024 between DMFI and the Borrower.

             “Treasury Regulations” means the United States Treasury regulations
promulgated under the Internal Revenue Code from time to time.

               “Testing Period” as defined in Section 5.24.

               “Type of Loan” means a Base Rate Loan or a SOFR Loan.

               “U.S.” or “United States” means the United States of America.

               “U.S. Government Securities Business Day” means any day except for (a) a
Saturday, (b) a Sunday or (c) a day on which the Securities Industry and Financial Markets
Association recommends that the fixed income departments of its members be closed for the entire
day for purposes of trading in United States government securities.

               “U.S. Lender” as defined in Section 2.20(c).



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                “U.S. Special Resolution Regime” has the meaning specified in Section 9.12(a).

                “U.S. Withholding Certificate” as defined in Section 2.20(c).

                 “UCC” means the Uniform Commercial Code (or any similar or equivalent
legislation) as in effect from time to time in any applicable jurisdiction.

                “UK Financial Institution” shall mean any BRRD Undertaking (as such term is
defined under the PRA Rulebook (as amended from time to time) promulgated by the United
Kingdom Prudential Regulation Authority) or any person falling within IFPRU 11.6 of the FCA
Handbook (as amended from time to time) promulgated by the United Kingdom Financial Conduct
Authority, which includes certain credit institutions and investment firms, and certain affiliates of
such credit institutions or investment firms.

             “Unadjusted Benchmark Replacement” means the applicable Benchmark
Replacement excluding the related Benchmark Replacement Adjustment.

             “Voting Power Determinants” means, collectively, DIP Term Loan Exposure and
Roll-Up Loan Exposure.

                “Voting Stock” means, with respect to any Person as of any date, the Equity
Interests of such Person that is at the time entitled to vote in the election of the board of directors
of such Person.

                “Waivable Mandatory Prepayment” as defined in Section 2.15(c).

                  “Write-Down and Conversion Powers” means, (a) with respect to any EEA
Resolution Authority, the write-down and conversion powers of such EEA Resolution Authority
from time to time under the Bail-In Legislation for the applicable EEA Member Country, which
write-down and conversion powers are described in the EU Bail-In Legislation Schedule and (b)
with respect to the United Kingdom, any powers of the applicable Resolution Authority under the
Bail-In Legislation to cancel, reduce, modify or change the form of a liability of any UK Financial
Institution or any contract or instrument under which that liability arises, to convert all or part of
that liability into shares, securities or obligations of that person or any other person, to provide that
any such contract or instrument is to have effect as if a right had been exercised under it or to
suspend any obligation in respect of that liability or any of the powers under that Bail-In
Legislation that are related to or ancillary to any of those powers.

                “WSFS” as defined in the preamble hereto.

        1.2.    Accounting Terms. Except as otherwise expressly provided herein, all accounting
terms not otherwise defined herein shall have the meanings assigned to them in conformity with
IFRS. Financial statements and other information required to be delivered by the Borrower to
Lenders pursuant to Sections 5.1(b) and 5.1(c) shall be prepared in accordance with IFRS as in
effect on the Effective Date. If at any time any change in IFRS would affect the computation of
any financial ratio or requirement set forth in any Credit Document, and the Borrower shall so
request, Administrative Agent (acting at the Direction of the Requisite Lenders) and the Borrower
shall negotiate in good faith, and consent, to amend such ratio or requirement to preserve the

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original intent thereof in light of such change in IFRS, provided that, until so amended, such ratio
or requirement shall continue to be computed in conformity with those accounting principles and
policies used to prepare the Historical Financial Statements. Without limiting the foregoing, (a)
leases shall continue to be classified and accounted for on a basis consistent with that reflected in
the Historical Financial Statements for all purposes of this Agreement, notwithstanding any change
in IFRS (or implementation of previously adopted IFRS) relating thereto, unless the parties hereto
shall enter into a mutually acceptable amendment addressing such change in IFRS, as provided for
above, and (b) when determining or calculating obligations or liabilities under this Agreement in
respect of leases (including such obligations liabilities or leases as Indebtedness or Capital Leases),
such leases, obligations or liabilities resulting from a change in IFRS subsequent to January 1,
2019 shall be excluded (and, for the avoidance of doubt, without giving effect to IFRS 16 Leases).

        1.3.     Interpretation, Etc. Any of the terms defined herein may, unless the context
otherwise requires, be used in the singular or the plural, depending on the reference. References
herein to any Section, Appendix, Schedule or Exhibit shall be to a Section, an Appendix, a
Schedule or an Exhibit, as the case may be, hereof unless otherwise specifically provided. The use
herein of the word “include” or “including,” when following any general statement, term or matter,
shall not be construed to limit such statement, term or matter to the specific items or matters set
forth immediately following such word or to similar items or matters, whether or not non-limiting
language (such as “without limitation” or “but not limited to” or words of similar import) is used
with reference thereto, but rather shall be deemed to refer to all other items or matters that fall
within the broadest possible scope of such general statement, term or matter. The terms lease and
license shall include sub-lease and sub-license, as applicable. Unless otherwise specifically
indicated, the term “consolidated” with respect to any Person refers to such Person consolidated
with its Subsidiaries.

        1.4.     Rates. The Administrative Agent does not warrant or accept responsibility for,
and shall not have any liability with respect to (a) the continuation of, administration of,
submission of, calculation of or any other matter related to Base Rate, the Term SOFR Reference
Rate, Adjusted Term SOFR, or any component definition thereof or rates referred to in the
definition thereof, or any alternative, successor or replacement rate thereto (including any
Benchmark Replacement), including whether the composition or characteristics of any such
alternative, successor or replacement rate (including any Benchmark Replacement) will be similar
to, or produce the same value or economic equivalence of, or have the same volume or liquidity
as, Base Rate, the Term SOFR Reference Rate, Adjusted Term SOFR or any other Benchmark
prior to its discontinuance or unavailability, or (b) the effect, implementation or composition of
any Conforming Changes. The Administrative Agent and its affiliates or other related entities may
engage in transactions that affect the calculation of Base Rate, the Term SOFR Reference Rate,
Adjusted Term SOFR, any alternative, successor or replacement rate (including any Benchmark
Replacement) or any relevant adjustments thereto, in each case, in a manner adverse to the
Borrower. The Administrative Agent may select information sources or services in its reasonable
discretion (acting at the Direction of the Requisite Lenders) to ascertain Base Rate, the Term SOFR
Reference Rate, Adjusted Term SOFR or any other Benchmark, in each case pursuant to the terms
of this Agreement, and shall have no liability to the Borrower, any Lender or any other person or
entity for damages of any kind, including direct or indirect, special, punitive, incidental or
consequential damages, costs, losses or expenses (whether in tort, contract or otherwise and


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whether at law or in equity), for any error or calculation of any such rate (or component thereof)
provided by any such information source or service.

        1.5.     [Reserved].

        1.6.     References to Agreements, Laws, Etc. Unless otherwise expressly provided
herein, (a) references to Organizational Documents, agreements (including the Credit Documents),
and other Contractual Obligations shall be deemed to include all subsequent amendments,
restatements, amendment and restatements, extensions, supplements, modifications, replacements,
refinancings, renewals, or increases (in each case, whether pursuant to one or more agreements or
with different lenders or agents), but only to the extent that such amendments, restatements,
amendment, and restatements, extensions, supplements, modifications, replacements,
refinancings, renewals, or increases are not prohibited by any Credit Document, (b) references to
any requirements of law shall include all statutory and regulatory provisions consolidating,
amending, replacing, supplementing, or interpreting such requirement of law and (c) any reference
herein to any Person shall be construed to include such Person’s successors and permitted assigns
and, in the case of any Governmental Authority, any other Governmental Authority that shall have
succeeded to any or all of the functions thereof.

        1.7.     [Reserved].

         1.8.      Divisions. For all purposes under the Credit Documents, in connection with any
division or plan of division under the Delaware Limited Liability Company Act (or any
comparable event under a different jurisdiction’s laws): (a) if any asset, right, obligation or liability
of any Person becomes the asset, right, obligation or liability of a different Person, then it shall be
deemed to have been transferred from the original Person to the subsequent Person, and (b) if any
new Person comes into existence, such new Person shall be deemed to have been organized on the
first date of its existence by the holders of its equity interests at such time.

        SECTION 2.          LOANS

        2.1.     Term Loans.

                (a)     DIP Term Loan Borrowings. Subject to terms and conditions hereof and in
DIP Orders, each DIP Term Lender severally agrees to make the DIP Term Loans to the Borrower
hereunder in two Borrowings in an aggregate principal amount not to exceed its DIP Term Loan
Commitment. The first Borrowing of DIP Term Loans (the “Initial Draw”) will be in an amount
equal to $100,000,000 and shall occur on the Effective Date. The second Borrowing of DIP Term
Loans (the “Final Draw”) will be in an amount equal to $65,000,000 and shall occur on or after
the date of entry of the Final Order (such date on which the Final Draw occurs, the “Final Draw
Funding Date”). Upon each DIP Term Lender’s funding of a DIP Term Loan, such DIP Term
Lender’s DIP Term Loan Commitment with respect to such DIP Term Loan shall be permanently
reduced by the amount of such DIP Term Loan (it being understood that the DIP Term Loan
Commitment of such DIP Term Lender shall be (x) reduced to the amount of DIP Term Loans to
be funded under the Final Draw following the Initial Draw and (y) zero following the Final Draw).

              (b)     Roll-Up Loans. Subject to terms and conditions hereof and in the DIP
Orders, concurrently and automatically with the making of the Initial Draw pursuant to Section

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2.1(a) above, $[150,000,000] in aggregate principal amount of Prepetition Term Loans constituting
First Out Term Loans (as defined in the Prepetition Credit Agreement) shall be deemed converted
into and exchanged for Roll-Up Loans (the Prepetition Term Loans rolled-up pursuant to this
Section 2.1(b), the “Rolled-Up Prepetition Loans”), and $[150,000,000] of Roll-Up Loans shall
be deemed funded on the Effective Date (such Roll-Up Loans, the “Effective Date Roll-Up Term
Loans”), without constituting a novation, and shall satisfy and discharge $[150,000,000] in
aggregate principal amount of Rolled-Up Prepetition Loans. On the Effective Date, the Effective
Date Roll-Up Loans shall be deemed to be made by each Prepetition Lender (or an investment
advisor, manager, or beneficial owner for the account of such Prepetition Lender, or an affiliated
fund or trade counterparty designated by such Prepetition Lender) (such initial lender holding
Effective Date Roll-Up Loans, the “Effective Date Roll-Up Lenders”) in the amount set forth
opposite such Effective Date Roll-Up Lender’s name in Schedule 1.01A under the caption “Roll-
Up Term Loan Commitment” (such amount, such Lender’s “Roll-Up Amount”).

               (c)     Borrowing Mechanics for Term Loans. The Borrower shall deliver to
Administrative Agent a fully executed Funding Notice no later than, with respect to the Term
Loans, (x) the Effective Date with respect to Base Rate Loans and (y) one (1) U.S. Government
Securities Business Day prior to the Effective Date with respect to SOFR Loans (or such shorter
period as may reasonably be acceptable to Administrative Agent (acting at the Direction of the
Requisite Lenders)). Promptly upon receipt by Administrative Agent of such Funding Notice,
Administrative Agent shall notify each Lender of the proposed borrowing.

             (d)   Amounts borrowed under this Section 2.1 and repaid or prepaid may not be
re-borrowed. Term Loans may be Base Rate Loans or Term SOFR Loans, as further provided
herein.

              (e)      On the Effective Date (after giving effect to the funding of the Term Loans
to made on such date), the Commitments of each Lender as of the Effective Date will automatically
and permanently be reduced by the amount of such Term Loans funded pursuant to the Initial
Draw. On the date on which the Final Draw occurs (after giving effect thereto), the then-
outstanding Commitments of each Lender will automatically and permanently terminate.

       2.2.     [Reserved].

       2.3.     [Reserved].

       2.4.     [Reserved].

       2.5.     Pro Rata Shares; Availability of Funds.

               (a)     Pro Rata Shares. All Loans shall be made, and all participations purchased,
by Lenders simultaneously and proportionately to their respective Pro Rata Shares, it being
understood that no Lender shall be responsible for any default by any other Lender in such other
Lender’s obligation to make a Loan requested hereunder or purchase a participation required
hereby nor shall any Commitment of any Lender be increased or decreased as a result of a default
by any other Lender in such other Lender’s obligation to make a Loan requested hereunder or
purchase a participation required hereby.


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                (b)     Availability of Funds. Unless Administrative Agent shall have been notified
by any Lender prior to the applicable Credit Date that such Lender does not intend to make
available to Administrative Agent the amount of such Lender’s Loan requested on such Credit
Date, Administrative Agent may assume that such Lender has made such amount available to
Administrative Agent on such Credit Date and Administrative Agent may, in its sole discretion,
but shall not be obligated to, make available to the Borrower a corresponding amount on such
Credit Date. If such corresponding amount is not in fact made available to Administrative Agent
by such Lender, Administrative Agent shall be entitled to recover such corresponding amount on
demand from such Lender together with interest thereon, for each day from such Credit Date until
the date such amount is paid to Administrative Agent, at the customary rate set by Administrative
Agent for the correction of errors among banks for three Business Days and thereafter at the Base
Rate. In the event that (i) Administrative Agent declines to make a requested amount available to
the Borrower until such time as all applicable Lenders have made payment to Administrative
Agent, (ii) a Lender fails to fund to Administrative Agent all or any portion of the Loans required
to be funded by such Lender hereunder prior to the time specified in this Agreement and (iii) such
Lender’s failure results in Administrative Agent failing to make a corresponding amount available
to the Borrower on the Credit Date, at Administrative Agent’s option, such Lender shall not receive
interest hereunder with respect to the requested amount of such Lender’s Loans for the period
commencing with the time specified in this Agreement for receipt of payment by the Borrower
through and including the time of the Borrower’s receipt of the requested amount. If such Lender
does not pay such corresponding amount forthwith upon Administrative Agent’s demand therefor,
Administrative Agent shall promptly notify the Borrower and the Borrower shall immediately pay
such corresponding amount to Administrative Agent together with interest thereon, for each day
from such Credit Date until the date such amount is paid to Administrative Agent, at the rate
payable hereunder for Base Rate Loans for such Class of Loans. Nothing in this Section 2.5(b)
shall be deemed to relieve any Lender from its obligation to fulfill its Commitments hereunder or
to prejudice any rights that the Borrower may have against any Lender as a result of any default
by such Lender hereunder.

        2.6.   Use of Proceeds. The Credit Parties and their Subsidiaries will use the proceeds
of the DIP Term Loans as set forth in Section 5.16.

       2.7.     Evidence of Debt; Register; Lenders’ Books and Records; Notes.

                (a)    Lenders’ Evidence of Debt. Each Lender shall maintain on its internal
records an account or accounts evidencing the Obligations of the Borrower to such Lender,
including the amounts of the Loans made by it and each repayment and prepayment in respect
thereof. Any such recordation shall be conclusive and binding on the Borrower, absent manifest
error; provided, that the failure to make any such recordation, or any error in such recordation,
shall not affect the Borrower’s Obligations in respect of any applicable Loans; and provided
further, in the event of any inconsistency between the Register and any Lender’s records, the
recordations in the Register shall govern.

               (b)      Register. Administrative Agent (or its agent or sub-agent appointed by it)
shall maintain at its Principal Office a register for the recordation of the names and addresses of
Lenders and the principal amounts of (and stated interest on) Loans of each Lender from time to
time (the “Register”). The Register shall be available for inspection by the Borrower or any

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Lender (with respect to (i) any entry relating to such Lender’s Loans and (ii) the identity of the
other Lenders (but not any information with respect to such other Lenders’ Loans)) at any
reasonable time and from time to time upon reasonable prior notice. Administrative Agent shall
record, or shall cause to be recorded, in the Register the Loans in accordance with the provisions
of Section 10.6, and each repayment or prepayment in respect of the principal amount of (and
stated interest on) the Loans, and any such recordation shall be conclusive and binding on the
Borrower and each Lender, absent manifest error; provided, that failure to make any such
recordation, or any error in such recordation, shall not affect the Borrower’s Obligations in respect
of any Loan. The Borrower hereby designates Administrative Agent, and Administrative Agent
agrees, to serve as the Borrower’s agent solely for purposes of maintaining the Register as provided
in this Section 2.7. The requirement for the Register set forth in this Section 2.7(b) and the
Participant Register set forth in Section 10.6(g)(i) shall be construed so that the Loans are at all
times maintained in “registered form” within the meaning of Treasury Regulation Section 5f.103-
1 and Proposed Treasury Regulation Section 1.163-5(b) and within the meaning of Section 163(f),
871(h)(2) and 881(c)(2) of the Code.

                (c)     Notes. If so requested by any Lender and reflected in the Register, by
written notice to the Borrower (with a copy to Administrative Agent) at least two Business Days
prior to the Effective Date, or at any time thereafter, the Borrower shall execute and deliver to such
Lender (and/or, if applicable and if so specified in such notice, to any Person who is an assignee
of such Lender pursuant to Section 10.6) on the Effective Date (or, if such notice is delivered after
the Effective Date, promptly after the Borrower’s receipt of such notice) a Note or Notes to
evidence such Lender’s Term Loan.

       2.8.     Interest on Loans.

               (a)    Except as otherwise set forth herein, each Class of Loan shall bear interest
on the unpaid principal amount thereof from the date made through repayment (whether by
acceleration or otherwise) thereof as follows:

                       (i) if a Base Rate Loan, at the Base Rate plus the Applicable Margin; or

                       (ii) if a SOFR Loan, at the Adjusted Term SOFR plus the Applicable
Margin; and

                (b)    The basis for determining the rate of interest with respect to any Loan, and
the Interest Period with respect to any SOFR Loan, shall be selected by the Borrower and notified
to Administrative Agent and Lenders pursuant to the applicable Funding Notice or
Conversion/Continuation Notice, as the case may be.

                 (c)    In connection with SOFR Loans there shall be no more than ten (10) Interest
Periods outstanding at any time. In the event the Borrower fails to specify between a Base Rate
Loan or a SOFR Loan in the applicable Funding Notice or Conversion/Continuation Notice, such
Loan (if outstanding as a SOFR Loan) will be automatically converted into a Base Rate Loan on
the last day of the then-current Interest Period for such Loan (or if outstanding as a Base Rate Loan
will remain as, or (if not then outstanding) will be made as, a Base Rate Loan). In the event the
Borrower fails to specify an Interest Period for any SOFR Loan in the applicable Funding Notice


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or Conversion/Continuation Notice, the Borrower shall be deemed to have selected an Interest
Period of one month. As soon as practicable after 10:00 a.m. (New York City time) on each Interest
Rate Determination Date, Administrative Agent shall determine (which determination shall, absent
manifest error, be final, conclusive and binding upon all parties) the interest rate that shall apply
to the SOFR Loans for which an interest rate is then being determined for the applicable Interest
Period and shall promptly give notice thereof (in writing or by telephone confirmed in writing) to
the Borrower and each Lender.

                (d)     Interest payable pursuant to Section 2.8(a) shall be computed (i) in the case
of Base Rate Loans, on the basis of a 360-day year (or, in the case of Base Rate Loans determined
by reference to the “Prime Rate,” a 365-day or 366-day year, as applicable), as the case may be,
and (ii) in the case of SOFR Loans, on the basis of a 360-day year, in each case for the actual
number of days elapsed in the period during which it accrues. In computing interest on any Loan,
the date of the making of such Loan or the first day of an Interest Period applicable to such Loan
or, with respect to a Term Loan, the last Interest Payment Date with respect to such Term Loan or,
with respect to a Base Rate Loan being converted from a SOFR Loan, the date of conversion of
such SOFR Loan to such Base Rate Loan, as the case may be, shall be included, and the date of
payment of such Loan or the expiration date of an Interest Period applicable to such Loan or, with
respect to a Base Rate Loan being converted to a SOFR Loan, the date of conversion of such Base
Rate Loan to such SOFR Loan, as the case may be, shall be excluded; provided, that if a Loan is
repaid on the same day on which it is made, one day’s interest shall be paid on that Loan.

                (e)     Except as otherwise set forth herein, interest on each Loan (i) shall accrue
on a daily basis and shall be payable in arrears on each Interest Payment Date with respect to
interest accrued on and to each such payment date; (ii) shall accrue on a daily basis and shall be
payable in arrears upon any prepayment of that Loan, whether voluntary or mandatory, to the
extent accrued on the amount being prepaid; and (iii) shall accrue on a daily basis and shall be
payable in arrears at maturity of the Loans; provided, however, with respect to any voluntary
prepayment of a Base Rate Loan, accrued interest shall, at the option of the Borrower, instead be
payable on the applicable Interest Payment Date (it being acknowledged that in the event such
interest is payable on the applicable Interest Payment Date pursuant to this proviso, interest shall
not accrue on such amount).

              (f)     On each Interest Payment Date, accrued and unpaid interest on the Term
Loans shall be paid in cash or be paid in kind by capitalizing and adding such amount to (and
thereby increasing) the principal amount of Term Loans outstanding hereunder on each such
Interest Payment Date, in each case, in the amount specified in the definition of “Applicable
Margin”, on such Interest Payment Date.

               (g)   Interest shall begin to accrue on the Roll-Up Loans from (and including) the
date such Roll-Up Loans are deemed made in accordance with Section 2.01(b) (which, in the case
of the Effective Date Roll-Up Loans deemed made pursuant to Section 2.01(b), shall be the
Effective Date).

              (h)    In connection with the use or administration of Term SOFR, the
Administrative Agent (acting at the Direction of the Requisite Lenders) (with the consent of the
Borrower) will have the right to make Conforming Changes from time to time and,


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notwithstanding anything to the contrary herein or in any other Credit Document, any amendments
implementing such Conforming Changes will become effective without any further action or
consent of any other party to this Agreement or any other Credit Document. The Administrative
Agent will promptly notify the Lenders of the effectiveness of any Conforming Changes in
connection with the use or administration of Term SOFR.

       2.9.     Conversion/Continuation.

                (a)     Subject to Section 2.18 and so long as no Event of Default under
Section 8.1(a), (f) or (g) shall have occurred and then be continuing, the Borrower shall have the
option:

                       (i)      to convert at any time all or any part of any Term Loan equal to
$1,000,000 and integral multiples of $250,000 in excess of that amount from one Type of Loan to
another Type of Loan; provided, that a SOFR Loan may only be converted on the expiration of the
Interest Period applicable to such SOFR Loan unless the Borrower shall pay all amounts due under
Section 2.18 in connection with any such conversion; or

                      (ii)    upon the expiration of any Interest Period applicable to any SOFR
Loan, to continue all or any portion of such Loan equal to $1,000,000 and integral multiples of
$250,000 in excess of that amount as a SOFR Loan.

                (b)     Subject to Section 3.2(b), the Borrower shall deliver a
Conversion/Continuation Notice to Administrative Agent no later than 11:00 a.m. (New York City
time) at least one Business Day in advance of the proposed conversion date (in the case of a
conversion to a Base Rate Loan) and at least three Business Days in advance of the proposed
conversion/continuation date (in the case of a conversion to, or a continuation of, a SOFR Loan).
Except as otherwise provided herein (including Section 2.18), a Conversion/Continuation Notice
for conversion to, or continuation of, any SOFR Loans shall be irrevocable on and after the related
Interest Rate Determination Date, and the Borrower shall be bound to effect a conversion or
continuation in accordance therewith. If on any day a Loan is outstanding with respect to which a
Funding Notice or Conversion/Continuation Notice has not been delivered to Administrative
Agent in accordance with the terms hereof specifying the applicable basis for determining the rate
of interest, then for that day such Loan shall be a Base Rate Loan. Notwithstanding any contrary
provision herein or in the other Loans Documents, if an Event of Default has occurred and is
continuing, then, so long as such Event of Default is continuing (i) no Loan may be converted to
or continued as a SOFR Loan and (ii) unless repaid as provided herein, each SOFR Loan shall
automatically be converted to a Base Rate Loan.

        2.10. Default Interest. Upon the occurrence and during the continuance of an Event of
Default, all amounts shall thereafter bear interest (including post-petition interest in any
proceeding under Debtor Relief Laws) payable on demand at a rate that is 2% per annum in excess
of the interest rate otherwise payable hereunder with respect to the applicable Loans. Payment or
acceptance of the increased rates of interest provided for in this Section 2.10 is not a permitted




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alternative to timely payment and shall not constitute a waiver of any Event of Default or otherwise
prejudice or limit any rights or remedies of Administrative Agent or any Lender.

        2.11. Fees.        The Borrower agrees to pay (i) to the Agents such fees in the amounts
and at the times separately agreed upon in the Administrative Agent Fee Letter, (ii) to the
Administrative Agent for the ratable account of the Lenders, the Commitment Premium (as defined
in the RSA, (iii) to the Fronting Lender on behalf of each of the Backstop Parties, the Backstop
Premium (as defined in the RSA), in each case, to the extent payable and (iv) to the Fronting
Lender, for its own account, such fees in the amounts and at the times separately agreed upon in
the Fronting Lender Fee Letter.

       2.12. Scheduled Payments. The Borrower hereby unconditionally promises to pay to
the Administrative Agent, for the account of each Lender the then unpaid principal amount of
outstanding Term Loans, plus any interest accrued and unpaid on such Term Loans, on the
Maturity Date unless such Term Loans have been otherwise satisfied in accordance with the
Chapter 11 Plan. The Lenders hereby expressly agree that to the extent provided therein, the
Obligations shall be satisfied in accordance with the Chapter 11 Plan. Notwithstanding anything
herein or the other Credit Documents to the contrary, if the Requisite Lenders support a Chapter
11 Plan that provides for the Lenders to receive non-Cash distributions on account of the
Obligations and related Claims on account thereof, each Lender shall be deemed to have (i) elected
to have its DIP Term Loan Claims paid on the Plan Effective Date with the non-cash option
provided in the Chapter 11 Plan and (ii) forgone a cash distribution on account of such Lender’s
Obligations and related Claims, unless otherwise consented to by the Credit Parties and the
Requisite Lenders (each such consent not to be unreasonably withheld).

       2.13.    Voluntary Prepayments.

               (a)     Voluntary Prepayments.

                       (i) Any time and from time to time:

                              (1)      with respect to Base Rate Loans, the Borrower may prepay
                       any such Loans on any Business Day in whole or in part, in an aggregate
                       minimum amount of $1,000,000 and integral multiples of $250,000 in
                       excess of that amount;

                              (2)      with respect to SOFR Loans, the Borrower may prepay any
                       such Loans on any Business Day in whole or in part in an aggregate
                       minimum amount of $1,000,000 and integral multiples of $250,000 in
                       excess of that amount; and

                              (3)     [Reserved].

                       (ii) All such prepayments shall be made:

                              (1)     upon not less than one Business Day’s prior written or
                       telephonic notice in the case of Base Rate Loans;


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                             (2)     upon not less than three Business Days’ prior written or
                      telephonic notice in the case of SOFR Loans; and

                              (3)     [Reserved];

in each case given to Administrative Agent, as the case may be, by 1:00 p.m. (New York City
time) on the date required and, if given by telephone, promptly confirmed by delivery of written
notice thereof to Administrative Agent (and Administrative Agent will promptly transmit such
original notice for Term Loans by facsimile or telephone to each Lender). Upon the giving of any
such notice, the principal amount of the Loans specified in such notice shall become due and
payable on the prepayment date specified therein (provided, that any such prepayment may be
conditioned upon the closing of a transaction or refinancing, in which case, upon the failure of
such transaction or refinancing to close, such notice of prepayment may be withdrawn). Any such
voluntary prepayment shall be applied as specified in Section 2.15(a).

               (b)    [Reserved].

               (c)    [Reserved].

       2.14.    Mandatory Prepayments.

               (a)     Asset Sales. Subject to the DIP Order, no later than the fifth Business Day
following the date of receipt by the Borrower of any Net Asset Sale Proceeds from any Asset Sale
(except with respect to any ABL Priority Collateral) pursuant to Sections 6.8(c), the Borrower
shall prepay the Loans as set forth in Section 2.15(b) in an aggregate amount equal to 100% of
such Net Asset Sale Proceeds in excess of the amount required for the Borrower to remain in pro
forma compliance with Section 6.9.

               (b)   Insurance/Condemnation Proceeds. Subject to the DIP Order, no later than
the fifth Business Day following the date of receipt by Holdings or any of its Subsidiaries, or
Administrative Agent as loss payee, of any Net Insurance/Condemnation Proceeds, the Borrower
shall prepay the Loans as set forth in Section 2.15(b) in an aggregate amount equal to 100% of
such Net Insurance/Condemnation Proceeds.

               (c)      Issuance of Debt. On the third Business Day after receipt by Holdings or
any of its Subsidiaries of any Cash proceeds from the incurrence of any Indebtedness of Holdings
or any of its Subsidiaries (other than with respect to any Indebtedness permitted to be incurred
pursuant to Section 6.1), the Borrower shall prepay the Loans as set forth in Section 2.15(b) in an
aggregate amount equal to 100% of such proceeds, net of underwriting discounts and commissions
and other reasonable costs and expenses associated therewith, including reasonable legal fees and
expenses.

       2.15.    Application of Prepayments/Reductions.

              (a)     Application of Prepayments by Type of Loans. Any prepayment of any
Loan pursuant to Section 2.13(a) or Section 2.14 shall be applied, first, ratably to the DIP Term
Loans included in the repaid Borrowing, until all DIP Term Loans are repaid in full, and, second,


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ratably to the Roll-Up Loans included in the repaid Borrowing, until all Roll-Up Loans are repaid
in full.

                (b)     Application of Prepayments after an Event of Default. After the occurrence
and during the continuation of an Event of Default, monies to be applied to the Obligations,
whether arising from payments by the Credit Parties, realization on Collateral, set-off or otherwise,
shall be allocated as follows (subject, in all respects, to the Carve Out):

                       first, to the payment of all reasonable and documented costs and expenses
       incurred by the Administrative Agent or the Collateral Agent in connection with any
       collection or sale of the Collateral or otherwise in connection with any Credit Document,
       including all court costs and the reasonable fees and expenses of its agents and legal
       counsel, the repayment of all advances made by the Administrative Agent or the Collateral
       Agent hereunder or under any other Credit Document on behalf of any Credit Party and
       any other reasonable and documented costs or expenses incurred in connection with the
       exercise of any right or remedy hereunder or under any other Credit Document to the extent
       reimbursable hereunder or thereunder,

                       second, to pay interest and principal due in respect of DIP Term Loans, until
       paid in full,

                       third, to pay interest and principal due in respect of the Roll-Up Loans, until
       paid in full,

                     fourth, to the Secured Parties, an amount equal to all remaining Obligations
       owing to them on the date of any distribution, and

                        fifth, any surplus then remaining shall be paid to the applicable Credit
       Parties or their successors or assigns or to whomsoever may be lawfully entitled to receive
       the same or as a court of competent jurisdiction may direct.

               (c)     Waivable Mandatory Prepayment. Anything contained herein to the
contrary notwithstanding, in the event the Borrower is required to make any mandatory
prepayment under Section 2.14 (a) or 2.14(c) (a “Waivable Mandatory Prepayment”) of the
Term Loans, not less than four Business Days prior to the date (the “Required Prepayment
Date”) on which the Borrower is required to make such Waivable Mandatory Prepayment, the
Borrower shall notify Administrative Agent of the amount of such prepayment, and Administrative
Agent will promptly thereafter notify each Lender holding an outstanding Term Loan of the
amount of such Lender’s Pro Rata Share of such Waivable Mandatory Prepayment and such
Lender’s option to refuse such amount (such refused amounts, the “Declined Proceeds”). Each
such Lender may exercise such option by giving written notice to the Borrower and Administrative
Agent of its election to do so on or before the second Business Day prior to the Required
Prepayment Date (it being understood that any Lender which does not notify the Borrower and
Administrative Agent of its election to exercise such option on or before the second Business Day
prior to the Required Prepayment Date shall be deemed to have elected, as of such date, not to
exercise such option). On the Required Prepayment Date, the Borrower shall pay to Administrative
Agent the amount of the Waivable Mandatory Prepayment, which amount shall be applied in an


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amount equal to that portion of the Waivable Mandatory Prepayment payable to those Lenders that
have elected not to exercise such option, to prepay the Term Loans of such Lenders (which
prepayment shall be applied in accordance with Section 2.15(b)). Any Declined Proceeds
remaining shall be first offered to Lenders holding DIP Term Loans in accordance with the
provisions of this Section 2.15(c), second, offered to Lenders holding Roll-Up Loans in accordance
with the provisions of this Section 2.15(c), and third retained by the Borrower (in which event the
Borrower may use the proceeds for any purpose not prohibited by the Credit Documents).

                (d)     In the case of a prepayment required pursuant to (i) Section 2.14(a) due to
an Asset Sale by a Foreign Subsidiary (or a Subsidiary thereof) or (ii) Section 2.14(b) due to Net
Insurance/Condemnation Proceeds received by a Foreign Subsidiary (or a Subsidiary thereof)(x)
if such Net Asset Sale Proceeds or Net Insurance/Condemnation Proceeds are prohibited (or
delayed) by applicable local law in such foreign jurisdiction from being repatriated to the United
States, the portion of such Net Asset Sale Proceeds or Net Insurance/Condemnation Proceeds so
subject to such prohibition will not be required to be applied to repay Loans at the times provided
in Section 2.14 but may be retained by the applicable Foreign Subsidiary (or a Subsidiary thereof)
so long as the applicable local law will not permit (or otherwise delays) repatriation to the United
States (and the Borrower hereby agrees to cause the applicable Foreign Subsidiary (or a Subsidiary
thereof) to promptly take all commercially reasonable actions required by the applicable local law
to permit such repatriation), and once such repatriation of any of such affected Net Asset Sale
Proceeds or Net Insurance/Condemnation Proceeds is permitted under the applicable local law,
such repatriation will be promptly effected and such repatriated Net Asset Sale Proceeds or Net
Insurance/Condemnation Proceeds will be promptly (and in any event not later than five Business
Days after such repatriation) applied (net of additional taxes payable or reserved against as a result
thereof) to the repayment of the Loans pursuant to this Section 2.15 and (y) to the extent that the
Borrower has determined in good faith that repatriation to the Borrower of any of or all the Net
Asset Sale Proceeds or Net Insurance/Condemnation Proceeds attributable to Foreign Subsidiaries
would cause material adverse tax or regulatory consequences to Holdings and its Subsidiaries,
such Net Asset Sale Proceeds or Net Insurance/Condemnation Proceeds so affected may be
retained by the applicable Foreign Subsidiary, provided that once such material adverse
consequences no longer apply, such repatriation will be promptly effected and such repatriated
Net Asset Sale Proceeds or Net Insurance/Condemnation Proceeds will be promptly (and in any
event not later than five Business Days after such repatriation) applied (net of additional taxes
payable or reserved against as a result thereof) to the repayment of the Loans pursuant to this
Section 2.15.

               (e)     Application of Prepayments of Loans to Base Rate Loans and SOFR Loans.
Considering each Class of Loans being prepaid separately, any prepayment thereof shall be applied
first to Base Rate Loans to the full extent thereof before application to SOFR Loans, in each case
in a manner which minimizes the amount of any payments required to be made by the Borrower
pursuant to Section 2.18(c).

       2.16.    General Provisions Regarding Payments.

               (a)     All payments by the Borrower of principal, interest, fees and other
Obligations shall be made in Dollars in same day funds, without defense, recoupment, setoff or
counterclaim, free of any restriction or condition, and delivered to Administrative Agent not later

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than 1:00 p.m. (New York City time) on the date due at the Principal Office of Administrative
Agent for the account of Lenders; for purposes of computing interest and fees, funds received by
Administrative Agent after that time on such due date shall be deemed to have been paid by the
Borrower on the next succeeding Business Day.

               (b)    All payments in respect of the principal amount of any Loan shall be
accompanied by payment of accrued interest on the principal amount being repaid or prepaid, and
all such payments (and, in any event, any payments in respect of any Loan on a date when interest
is due and payable with respect to such Loan) shall be applied to the payment of interest then due
and payable before application to principal.

                 (c)    Administrative Agent (or its agent or sub-agent appointed by it) shall
promptly distribute to each Lender at such address as such Lender shall indicate in writing, such
Lender’s applicable Pro Rata Share of all payments and prepayments of principal and interest due
hereunder, together with all other amounts due thereto, including all fees payable with respect
thereto, to the extent received by Administrative Agent.

                (d)     Notwithstanding the foregoing provisions hereof, if any Conversion/
Continuation Notice is withdrawn as to any Affected Lender or if any Affected Lender makes Base
Rate Loans in lieu of its Pro Rata Share of any SOFR Loans, Administrative Agent shall give
effect thereto in apportioning payments received thereafter.

               (e)    Subject to the provisos set forth in the definition of “Interest Period”,
whenever any payment to be made hereunder with respect to any Loan shall be stated to be due on
a day that is not a Business Day, such payment shall be made on the next succeeding Business
Day.

                (f)     Administrative Agent shall deem any payment by or on behalf of the
Borrower hereunder that is not made in same day funds prior to 1:00 p.m. (New York City time)
to be a non-conforming payment. Any such payment shall not be deemed to have been received
by Administrative Agent until the later of (i) the time such funds become available funds, and (ii)
the applicable next Business Day. Administrative Agent shall give prompt telephonic notice to the
Borrower and each applicable Lender (confirmed in writing) if any payment is non-conforming.
Any non-conforming payment may constitute or become a Default or Event of Default in
accordance with the terms of Section 8.1(a). Interest shall continue to accrue on any principal as
to which a non-conforming payment is made until such funds become available funds (but in no
event less than the period from the date of such payment to the next succeeding applicable Business
Day) at the rate determined pursuant to Section 2.10 from the date such amount was due and
payable until the date such amount is paid in full.

       2.17. Ratable Sharing. Lenders hereby agree among themselves that if any of them shall,
whether by voluntary payment (other than a voluntary prepayment of Loans made and applied in
accordance with the terms hereof), through the exercise of any right of set-off or banker’s lien, by
counterclaim or cross action or by the enforcement of any right under the Credit Documents or
otherwise, or as adequate protection of a deposit treated as Cash Collateral under the Bankruptcy
Code, receive payment or reduction of a proportion of the aggregate amount of principal, interest,
fees and other amounts then due and owing to such Lender hereunder or under the other Credit


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Documents (collectively, the “Aggregate Amounts Due” to such Lender) which is greater than
the proportion received by any other Lender in respect of the Aggregate Amounts Due to such
other Lender, then the Lender receiving such proportionately greater payment shall (a) notify
Administrative Agent and each other Lender of the receipt of such payment and (b) apply a portion
of such payment to purchase participations (which it shall be deemed to have purchased from each
seller of a participation simultaneously upon the receipt by such seller of its portion of such
payment) in the Aggregate Amounts Due to the other Lenders so that all such recoveries of
Aggregate Amounts Due shall be shared by all Lenders in proportion to the Aggregate Amounts
Due to them; provided that, if all or part of such proportionately greater payment received by such
purchasing Lender is thereafter recovered from such Lender upon the bankruptcy or reorganization
of the Borrower or otherwise, those purchases shall be rescinded and the purchase prices paid for
such participations shall be returned to such purchasing Lender ratably to the extent of such
recovery, but without interest. The Borrower expressly consents to the foregoing arrangement and
agrees that any holder of a participation so purchased may exercise any and all rights of banker’s
lien, consolidation, set-off or counterclaim with respect to any and all monies owing by the
Borrower to that holder with respect thereto as fully as if that holder were owed the amount of the
participation held by that holder, subject to Section 10.4. The provisions of this Section 2.17 shall
not be construed to apply to (a) any payment made by the Borrower pursuant to and in accordance
with the express terms of this Agreement (including the application of funds arising from the
existence of a Defaulting Lender), (b) any payment obtained by any Lender as consideration for
the assignment or sale of a participation in any of its Loans or other Obligations owed to it or (c)
any payment of any fee in connection with any amendment, waiver or consent or in connection
with any extension or commitment of funds.

       2.18.    Making or Maintaining SOFR Loans.

                (a)     Inability to Determine Applicable Interest Rate. Subject to Section 2.28, in
the event that (i) the Administrative Agent shall have determined (which determination shall be
final and conclusive and binding upon all parties hereto absent manifest error), on any Interest
Rate Determination Date with respect to any SOFR Loans, that the interest rate applicable to such
Loans on the basis provided for in the definition of “Adjusted Term SOFR” cannot be determined
pursuant to the definition thereof, or (ii) the Requisite Lenders determine that for any reason in
connection with any request for a SOFR Loan or a conversion thereto or a continuation thereof
that Adjusted Term SOFR for any requested Interest Period with respect to a proposed SOFR Loan
does not adequately and fairly reflect the cost to such Lenders of funding such Loan, and the
Requisite Lenders have provided notice of such determination to the Administrative Agent, in each
case, the Administrative Agent will promptly so notify (by facsimile or by telephone confirmed in
writing) the Borrower and each Lender of such determination. Upon such notice thereof, (i) no
Loans may be made as, or converted to, SOFR Loans until such time as Administrative Agent
notifies the Borrower and Lenders that the circumstances giving rise to such notice no longer exist,
(ii) any Conversion/Continuation Notice given by the Borrower with respect to the Loans in
respect of which such determination was made shall be deemed to be rescinded by the Borrower,
(iii) any Funding Notice given by the Borrower with respect to SOFR Loans shall be deemed to
be a request for Base Rate Loans (provided that, the Borrower shall have the option, subject to the
provisions of Section 2.18(c), to rescind such Funding Notice) and (iv) any outstanding affected
SOFR Loans will be deemed to have been converted into Base Rate Loans at the end of the
applicable Interest Period. Upon any such conversion, the Borrower shall also pay accrued interest

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on the amount so converted, together with any additional amounts required pursuant to Section
2.18(c). Subject to Section 2.28, if the Administrative Agent determines (which determination
shall be conclusive and binding absent manifest error) that “Adjusted Term SOFR” cannot be
determined pursuant to the definition thereof on any given day, the interest rate on Base Rate Loans
shall be determined by the Administrative Agent without reference to clause (ii) of the definition
of “Base Rate” until the Administrative Agent revokes such determination.

                 (b)    Illegality or Impracticability of SOFR Loans. In the event that on any date
(i) any Lender shall have determined (which determination shall be final and conclusive and
binding upon all parties hereto absent manifest error) that the making, maintaining, converting to
or continuation of its Loans whose interest is determined by reference to SOFR, the Term SOFR
Reference Rate, Adjusted Term SOFR or Term SOFR, or to determine or charge interest rates
based upon SOFR, the Term SOFR Reference Rate, Adjusted Term SOFR or Term SOFR has
become unlawful as a result of compliance by such Lender in good faith with any law, treaty,
governmental rule, regulation, guideline or order (or would conflict with any such treaty,
governmental rule, regulation, guideline or order not having the force of law even though the
failure to comply therewith would not be unlawful), or (ii) Administrative Agent is advised by the
Requisite Lenders (which determination shall be final and conclusive and binding upon all parties
hereto absent manifest error) that the making, maintaining, converting to or continuation of its
SOFR Loans has become impracticable, as a result of contingencies occurring after the Effective
Date which materially and adversely affect SOFR, the Term SOFR Reference Rate, Adjusted Term
SOFR or Term SOFR or the position of the Lenders or, on any Interest Rate Determination Date
with respect to any SOFR Loans, the interest rate for such Loans for any requested Interest Period
does not adequately and fairly reflect the cost to Requisite Lenders of funding such SOFR Loans
in that market, then, and in any such event, such Lenders (or in the case of the preceding clause
(i), such Lender) shall be an “Affected Lender” and such Affected Lender shall on that day give
notice (by e-mail or by telephone confirmed in writing) to the Borrower and Administrative Agent
of such determination (which notice Administrative Agent shall promptly transmit to each other
Lender). If Administrative Agent receives a notice from (x) any Lender pursuant to clause (i) of
the preceding sentence or (y) a notice from Lenders constituting Requisite Lenders pursuant to
clause (ii) of the preceding sentence, then (1) the obligation of the Lenders (or, in the case of any
notice pursuant to clause (i) of the preceding sentence, such Lender) to make Loans as, or to
convert Loans to, SOFR Loans shall be suspended until such notice shall be withdrawn by each
Affected Lender and any right of the Borrower to continue SOFR Loans or to convert Base Rate
Loans to SOFR Loans, shall be suspended, (2) to the extent such determination by the Affected
Lender relates to a SOFR Loan then being requested by the Borrower pursuant to a Funding Notice
or a Conversion/Continuation Notice, the Lenders (or in the case of any notice pursuant to clause
(i) of the preceding sentence, such Lender) shall make such Loan as (or continue such Loan as or
convert such Loan to, as the case may be) a Base Rate Loan (the interest rate on which Base Rate
Loans of such Lender shall, if necessary to avoid such illegality, be determined by the
Administrative Agent without reference to clause (ii) of the definition of “Base Rate”) (provided
that, the Borrower shall have the option, subject to the provisions of Section 2.18(c), to rescind
such Funding Notice), (3) the Lenders’ (or in the case of any notice pursuant to clause (i) of the
preceding sentence, such Lender’s) obligations to maintain their respective outstanding SOFR
Loans (the “Affected Loans”) shall be terminated at the earlier to occur of the expiration of the
Interest Period then in effect with respect to the Affected Loans or when required by law, (4) the
Affected Loans shall automatically convert into Base Rate Loans on the date of such termination

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and (5) if necessary to avoid such illegality, the Administrative Agent shall during the period of
such suspension compute the Base Rate without reference to clause (ii) of the definition of “Base
Rate,” in each case until the Administrative Agent is advised in writing by each Affected Lender
that it is no longer illegal for such Affected Lender to determine or charge interest rates based upon
SOFR, the Term SOFR Reference Rate or Adjusted Term SOFR. Notwithstanding the foregoing,
to the extent a determination by an Affected Lender as described above relates to a SOFR Loan
then being requested by the Borrower pursuant to a Funding Notice or a Conversion/Continuation
Notice, the Borrower shall have the option, subject to the provisions of Section 2.18(c), to rescind
such Funding Notice or Conversion/Continuation Notice as to all Lenders by giving written or
telephonic notice (promptly confirmed by delivery of written notice thereof) to Administrative
Agent of such rescission on the date on which the Affected Lender gives notice of its determination
as described above (which notice of rescission Administrative Agent shall promptly transmit to
each other Lender). Upon any such prepayment or conversion, the Borrower shall also pay accrued
interest on the amount so prepaid or converted, together with any additional amounts required
pursuant to Section 2.18(c).

                 (c)     Compensation for Breakage or Non-Commencement of Interest Periods.
The Borrower shall compensate each Lender, upon written request by such Lender (which request
shall set forth the basis for requesting such amounts), for all actual reasonable losses, expenses and
liabilities (including any interest paid or payable by such Lender to Lenders of funds borrowed by
it to make or carry its SOFR Loans and any actual reasonable loss, expense or liability sustained
by such Lender in connection with the liquidation or re-employment of such funds but excluding
loss of anticipated profits) which such Lender may sustain: (i) if for any reason (other than a default
by such Lender) a borrowing of any SOFR Loan does not occur on a date specified therefor in a
Funding Notice or a telephonic request for borrowing, or a conversion to or continuation of any
SOFR Loan does not occur on a date specified therefor in a Conversion/Continuation Notice or a
telephonic request for conversion or continuation; (ii) if any prepayment or other principal
payment of, or any conversion of, any of its SOFR Loans occurs on a date prior to the last day of
an Interest Period applicable to that Loan; or (iii) if any prepayment of any of its SOFR Loans is
not made on any date specified in a notice of prepayment given by the Borrower.

               (d)     Booking of SOFR Loans. Any Lender may make, carry or transfer SOFR
Loans at, to, or for the account of any of its branch offices or the office of an Affiliate of such
Lender.

       2.19.    Increased Costs; Capital Adequacy.

               (a)     Compensation for Increased Costs and Taxes. In the event that any Lender
shall determine (which determination shall, absent manifest error, be final and conclusive and
binding upon all parties hereto) that after the Effective Date (A) any law, treaty or governmental
rule, regulation or order, or any change therein or in the interpretation, administration or
application thereof, including the introduction of any new law, treaty or governmental rule,
regulation or order but excluding solely proposals thereof, or any determination of a court or
Governmental Authority, in each case that becomes effective after the Effective Date, or (B) any
guideline, request or directive by any central bank or other governmental or quasi-Governmental
Authority (whether or not having the force of law) or any implementation rules or interpretations
of previously issued guidelines, requests or directives, in each case that is issued or made after the

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Effective Date: (i) subject any Lender to any new Taxes (other than (A) Non-Excluded Taxes (B)
Taxes described in clauses (b) through (d) of the definition of Excluded Taxes and (C) any Taxes
resulting from the imposition of a new rate of an existing Tax) on its loans, loan principal, letters
of credit, bank guarantees, commitments, or other obligations, or its deposits, reserves, other
liabilities or capital attributable thereto; or (ii) imposes, modifies or holds applicable any reserve
(including any marginal, emergency, supplemental, special or other reserve), special deposit,
liquidity, compulsory loan, FDIC insurance or similar requirement against assets held by, or
deposits or other liabilities in or for the account of, or advances or loans by, or other credit extended
by, or any other acquisition of funds by, any office of such Lender (other than any such reserve or
other requirements with respect to SOFR Loans that are reflected in the definition of “Adjusted
Term SOFR”) or any company controlling such Lender; or (iii) imposes any other condition (other
than with respect to a Tax matter) on or affecting such Lender (or its applicable lending office) or
any company controlling such Lender or such Lender’s obligations hereunder or the London
interbank market; and the result of any of the foregoing is to increase the cost to such Lender of
agreeing to make, making or maintaining Loans hereunder or to reduce any amount received or
receivable by such Lender (or its applicable lending office) with respect thereto; then, in any such
case, the Borrower shall promptly pay to such Lender, upon receipt of the statement referred to in
the next sentence, such additional amount or amounts (in the form of an increased rate of, or a
different method of calculating, interest or in a lump sum or otherwise as such Lender in its sole
discretion shall determine) as may be necessary to compensate such Lender for any such increased
cost or reduction in amounts received or receivable hereunder. Such Lender shall deliver to the
Borrower (with a copy to Administrative Agent) a written statement, setting forth in reasonable
detail the basis for calculating the additional amounts owed to such Lender under this
Section 2.19(a), which statement shall be conclusive and binding upon all parties hereto absent
manifest error.

                (b)     Capital Adequacy Adjustment. In the event that any Lender shall have
determined (which determination shall, absent manifest error, be final and conclusive and binding
upon all parties hereto) that (A) the adoption, effectiveness, phase-in or applicability of any law,
rule or regulation (or any provision thereof) regarding capital adequacy or liquidity requirements,
or any change therein or in the interpretation or administration thereof by any Governmental
Authority, central bank or comparable agency charged with the interpretation or administration
thereof, or (B) compliance by any Lender (or its applicable lending office) or any company
controlling such Lender with any guideline, request or directive regarding capital adequacy or
liquidity (whether or not having the force of law) of any such Governmental Authority, central
bank or comparable agency, in each case after the Effective Date, has or would have the effect of
reducing the rate of return on the capital of such Lender or any company controlling such Lender
as a consequence of, or with reference to, such Lender’s Loans or participations therein or other
obligations hereunder with respect to the Loans to a level below that which such Lender or such
controlling company could have achieved but for such adoption, effectiveness, phase-in,
applicability, change or compliance (taking into consideration the policies of such Lender or such
controlling company with regard to capital adequacy or liquidity, as applicable), then from time to
time, within ten Business Days after receipt by the Borrower from such Lender of the statement
referred to in the next sentence, the Borrower shall pay to such Lender such additional amount or
amounts as will compensate such Lender or such controlling company on an after-tax basis for
such reduction. Such Lender shall deliver to the Borrower (with a copy to Administrative Agent)
a written statement, setting forth in reasonable detail the basis for calculating the additional

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amounts owed to Lender under this Section 2.19(b), which statement shall be conclusive and
binding upon all parties hereto absent manifest error. For the avoidance of doubt, subsections (a)
and (b) of this Section 2.19 shall apply to all requests, rules, guidelines or directives concerning
liquidity and capital adequacy issued by any United States or foreign regulatory authority (i) under
or in connection with the implementation of the Dodd-Frank Wall Street Reform and Consumer
Protection Act and (ii) in connection with the implementation of the recommendations of the Bank
for International Settlements or the Basel Committee on Banking Regulations and Supervisory
Practices (or any successor or similar authority), regardless of the date adopted, issued,
promulgated or implemented.

                (c)     Delay in Requests; Similarly Situated Persons. Failure or delay on the part
of any Lender to demand compensation pursuant to the foregoing provisions of this Section 2.19
shall not constitute a waiver of such Lender’s right to demand such compensation; provided that
the Borrower shall not be required to compensate a Lender pursuant to the foregoing provisions of
this Section 2.19 for any increased costs incurred or reductions suffered more than six months prior
to the date that such Lender notifies the Borrower of the event giving rise to such increased costs
or reductions and of such Lender’s intention to claim compensation therefor (except that, if any
such event giving rise to such increased costs or reductions is retroactive, then the six-month period
referred to above shall be extended to include the period of retroactive effect thereof).
Notwithstanding anything to the contrary in this Section 2.19, the Lenders shall not be permitted
to request compensation under this Section 2.19 unless such Lender is also requesting
compensation (to the extent contractually permitted to do so) from similarly situated borrowers.

       2.20.    Taxes; Withholding, Etc.

               (a)    Payments to Be Free and Clear. All sums payable by or on behalf of any
Credit Party hereunder and under the other Credit Documents shall (except to the extent required
by law) be paid free and clear of, and without any deduction or withholding on account of, any
Tax imposed, levied, collected, withheld or assessed by any Governmental Authority.

               (b)     Withholding of Taxes. If any Credit Party or any other Person (acting as a
withholding agent) is (in such withholding agent’s reasonable good faith discretion) required by
law to make any deduction or withholding for Taxes from any sum paid or payable by any Credit
Party to Administrative Agent or any Lender under any of the Credit Documents: (i) the Borrower
shall notify Administrative Agent of any such requirement or any change in any such requirement
as soon as the Borrower becomes aware of it; (ii) the Borrower shall pay, or cause to be paid, any
such Tax before the date on which penalties attach thereto, such payment to be made (if the liability
to pay is imposed on any Credit Party) for its own account or (if that liability is imposed on
Administrative Agent or such Lender, as the case may be) on behalf of and in the name of
Administrative Agent or such Lender; (iii) in the case of Non-Excluded Taxes, the sum payable
by such Credit Party in respect of which the relevant deduction, withholding or payment of Non-
Excluded Taxes is required shall be increased to the extent necessary to ensure that, after the
making of that deduction, withholding or payment of Non-Excluded Taxes (including such
deductions and withholdings applicable to additional sums payable under this Section),
Administrative Agent or such Lender, as the case may be, receives on the due date a net sum equal
to what it would have received had no such deduction, withholding or payment been required or
made; (iv) in the case of Excluded Taxes, the sum payable shall not be increased, and (v) within

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thirty (30) days after the due date of payment of any Tax which it is required by clause (ii) above
to pay, the Borrower shall deliver to Administrative Agent an original or a certified copy of a
receipt issued by such Governmental Authority evidencing such payment, a copy of the return
reporting such payment or other evidence satisfactory to the other affected parties of such
deduction, withholding or payment and of the remittance thereof to the relevant taxing or other
authority.

                (c)     Evidence of Exemption From U.S. Withholding Tax. Each Lender that is
not a “United States person” (as such term is defined in Section 7701(a)(30) of the Internal
Revenue Code) for U.S. federal income Tax purposes (a “Non-U.S. Lender”) shall, to the extent
such Lender is legally able to do so, deliver to Administrative Agent for transmission to the
Borrower, on or prior to the Effective Date (in the case of each Lender listed on the signature pages
hereof on the Effective Date) or on or prior to the date of the Assignment Agreement pursuant to
which it becomes a Lender (in the case of each other Lender), and at such other times as may be
necessary in the determination of the Borrower or Administrative Agent (each in the reasonable
exercise of its discretion), (i) two copies of executed IRS Form W-8BEN, IRS Form W-8BEN-E,
IRS Form W-8ECI, IRS Form W-8EXP and/or IRS Form W-8IMY (or, in each case, any successor
forms), properly completed and duly executed by such Lender, and such other documentation
required under the Internal Revenue Code and reasonably requested by the Borrower to establish
that such Lender is not subject to (or is subject to a reduced rate of) deduction or withholding of
United States federal income tax with respect to any payments to such Lender of principal, interest,
fees or other amounts payable under any of the Credit Documents and (ii) if such Lender is
claiming exemption from U.S. federal withholding Tax under Section 871(h) or 881(c) of the
Internal Revenue Code with respect to payments of “portfolio interest”, a copy of a properly
completed and duly executed IRS Form W-8BEN or IRS Form W-8BEN-E (together with a
certificate substantially in the form of Exhibit M-1 representing that such Non-U.S. Lender is not
a “bank” for purposes of Section 881(c)(3)(A) of the Code, is not a “10-percent shareholder”
(within the meaning of Section 871(h)(3)(B) or Section 881(c)(3)(B) of the Code) of the Borrower
and is not a “controlled foreign corporation” related to the Borrower (within the meaning of
Section 881(c)(3)(C) of the Code) (a “U.S. Withholding Certificate”)) and such other
documentation required under the Internal Revenue Code and reasonably requested by the
Borrower to establish that such Lender is not subject to (or is subject to a reduced rate of) deduction
or withholding of United States federal income Tax with respect to any payments to such Lender
of interest payable under any of the Credit Documents and (iii) to the extent a Non-U.S. Lender is
not the beneficial owner (for example, where the Non-U.S. Lender is a partnership or a
participating Lender granting a participation), copies of properly completed and duly executed
Internal Revenue Service Form W-8IMY, accompanied by IRS Form W-8ECI, IRS Form W-
8BEN, IRS Form W-8BEN-E, a U.S. Withholding Certificate substantially in the form of Exhibit
M-2 or Exhibit M-3, IRS Form W-9, and/or other certification documents from each beneficial
owner, as applicable (provided that if the Non-U.S. Lender is a partnership for U.S. federal income
tax purposes (and not a participating Lender) and one or more direct or indirect partners are
claiming the portfolio interest exemption, the U.S. Withholding Certificate may be provided by
such Non-U.S. Lender on behalf of such direct or indirect partners and shall be substantially in the
form of Exhibit M-4). Each Lender that is a “United States person” (as such term is defined in
Section 7701(a)(30) of the Internal Revenue Code) (a “U.S. Lender”) shall deliver to
Administrative Agent and the Borrower on or prior to the Effective Date (or, if later, on or prior
to the date on which such Lender becomes a party to this Agreement) two copies of executed

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Internal Revenue Service Form W-9 (or any successor form), properly completed by such Lender,
certifying that such U.S. Lender is entitled to an exemption from United States backup withholding
Tax, or otherwise prove that it is entitled to such an exemption. Each Lender required to deliver
any forms, certificates or other evidence with respect to United States federal income tax
withholding matters pursuant to this Section 2.20(c) hereby agrees, from time to time after the
initial delivery by such Lender of such forms, certificates or other evidence, whenever a lapse in
time or change in circumstances renders such forms, certificates or other evidence obsolete or
inaccurate in any material respect, that such Lender shall promptly deliver to Administrative Agent
for transmission to the Borrower two new copies of executed IRS Form W-8BEN, IRS Form W-
8BEN-E, IRS Form W-8ECI, IRS Form W-8EXP, IRS Form W-8IMY and/or IRS Form W-9 (or,
in each case, any successor form), or a U.S. Withholding Certificate and two copies of executed
IRS Form W-8BEN or IRS Form W-8BEN-E (or any successor form), as the case may be, properly
completed and duly executed by such Lender, and such other documentation required under the
Internal Revenue Code and reasonably requested by the Borrower to confirm or establish that such
Lender is not subject to (or is subject to a reduced rate of) deduction or withholding of United
States federal income Tax with respect to payments to such Lender under the Credit Documents,
or notify Administrative Agent and the Borrower of its inability to deliver any such forms,
certificates or other evidence, and (iv) in addition, any Lender, if reasonably requested by the
Borrower or the Administrative Agent, shall deliver such other documentation prescribed by
applicable law or reasonably requested by the Borrower or the Administrative Agent as will enable
the Borrower or the Administrative Agent to determine whether or not such Lender is subject to
backup withholding or information reporting requirements. Notwithstanding anything to the
contrary in the preceding two sentences, the completion, execution and submission of such
documentation (other than such documentation set forth in Sections 2.20(c)(i)-(iii) and clause (d)
below) shall not be required if in the Lender’s reasonable judgment such completion, execution or
submission would subject such Lender to any material unreimbursed cost or expense or would
materially prejudice the legal or commercial position of such Lender. The Administrative Agent
shall deliver to the Borrower two duly completed copies of IRS Form W-9, or any subsequent
versions or successors to such form, certifying that it is exempt from U.S. federal backup
withholding. On or before the date it becomes a party to this Agreement, any successor or
supplemental Agent (i) that is not a “United States person” as defined in Section 7701(a)(30) of
the Code, shall deliver to the Borrower (A) two copies of duly completed IRS Form W-8ECI (or
any successor form) with respect to any amounts payable under any Credit Document to the
Administrative Agent for its own account, and (B) two copies of duly completed IRS Form W-
8IMY (or any other successor form) with respect to any amounts payable under any Credit
Document to the Administrative Agent for the account of others, certifying that it is a “U.S.
branch” and that the payments it receives for the account of others are not effectively connected
with the conduct of its trade or business within the United States and that it is using such form as
evidence of its agreement with the Borrower to be treated as a United States person and thus act
as the withholding agent with respect to such payments (and the Borrower and the Administrative
Agent agree to so treat the Administrative Agent as a United States person with respect to such
payments as contemplated by Treasury Regulation Section 1.1441-1(b)(2)(iv)(A)), and (ii) that is
a “United States person” as defined in Section 7701(a)(30) of the Code, shall deliver to the
Borrower two copies of duly completed IRS Form W-9, or any subsequent versions or successors
to such form, certifying that it is exempt from U.S. federal backup withholding.



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                (d)    (d) If a payment made to a Lender under any Credit Document would be
subject to U.S. federal withholding tax imposed by FATCA if such Lender were to fail to comply
with the applicable reporting requirements of FATCA (including those contained in Section
1471(b) or 1472(b) of the Internal Revenue Code, as applicable), such Lender shall deliver to the
Borrower at the time or times prescribed by law and at such time or times reasonably requested by
the Borrower such documentation prescribed by applicable law (including as prescribed by
Section 1471(b)(3)(C)(i) of the Internal Revenue Code) and such additional documentation
reasonably requested by the Borrower as may be necessary for the Borrower to comply with its
obligations under FATCA and to determine the amount to deduct and withhold from such payment,
if any. Solely for purposes of this clause (d), “FATCA” shall include any amendments made to
FATCA after the date of this Agreement.

                (e)    Without limiting the provisions of Section 2.20(b), the Borrower shall
timely pay all Other Taxes to the relevant Governmental Authorities in accordance with applicable
law. The Borrower shall deliver to Administrative Agent original receipts issued by such
Governmental Authorities evidencing such payment or other evidence of such payment reasonably
satisfactory to Administrative Agent in respect of any Other Taxes payable hereunder promptly
after payment of such Other Taxes.

                (f)    The Borrower shall indemnify Administrative Agent and any Lender for the
full amount of Non-Excluded Taxes and Other Taxes for which additional amounts are required
to be paid pursuant to Section 2.20(b) arising in connection with payments made under this
Agreement or any other Credit Document and Other Taxes (including any such Non-Excluded
Taxes or Other Taxes imposed or asserted on or attributable to amounts payable under this
Section 2.20) paid by Administrative Agent or Lender and any reasonable expenses arising
therefrom or with respect thereto, whether or not such Non-Excluded Taxes or Other Taxes were
correctly or legally imposed or asserted by the relevant Governmental Authority. Such payment
shall be due within thirty (30) days of such Credit Party’s receipt of such written demand.

                (g)     If the Administrative Agent or any Lender determines, in its sole discretion
exercised in good faith, that it has received a refund (or credit against a future Tax in lieu of a
refund) of any Taxes as to which it has been indemnified pursuant to this Section 2.20 (including
additional amounts pursuant to this Section 2.20), it shall pay to the Borrower an amount equal to
such refund or credit (but only to the extent of indemnity payments made under this Section 2.20
with respect to the Taxes giving rise to such refund), net of all reasonable out-of-pocket expenses
(including Taxes) of the Administrative Agent or Lender, as applicable, in obtaining such refund
or credit, and without interest (other than any interest paid by the relevant Governmental Authority
with respect to such refund). The Borrower, upon the request of the Administrative Agent or such
Lender, shall repay to the Administrative Agent or such Lender the amount paid over pursuant to
this paragraph (g) (plus any penalties, interest or other charges imposed by the relevant
Governmental Authority) in the event that the Administrative Agent or such Lender is required to
repay such refund to such Governmental Authority or such credit is disallowed by such
Governmental Authority. Notwithstanding anything to the contrary in this paragraph (g), in no
event will the Administrative Agent or any Lender be required to pay any amount to the Borrower
pursuant to this paragraph (g) the payment of which would place the Administrative Agent or such
Lender in a less favorable net after-Tax position than the Administrative Agent or such Lender
would have been in if the indemnification payments or additional amounts giving rise to such

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refund or credit had never been paid. This paragraph shall not be construed to require the
Administrative Agent or any Lender to make available its Tax returns (or any other information
relating to its Taxes that it deems confidential) to the Borrower or any other Person.

               (h)     Notwithstanding anything herein to the contrary, no Borrower or any other
Credit Party shall be required to pay any additional amounts hereunder or under any other Credit
Document with respect to Taxes if such Taxes are Excluded Taxes.

               (i)     Each party’s obligations under this Section 2.20 shall survive the
resignation or replacement of the Administrative Agent or any assignment of rights by, or the
replacement of, a Lender, the termination of the Commitments and the repayment, satisfaction or
discharge of all obligations under any Credit Document.

        2.21. Obligation to Mitigate. Each Lender agrees that, as promptly as practicable after
the officer of such Lender responsible for administering its Loans becomes aware of the occurrence
of an event or the existence of a condition that would cause such Lender to become an Affected
Lender or that would entitle such Lender to receive payments under Section 2.18, 2.19 or 2.20, it
will, to the extent not inconsistent with the internal policies of such Lender and any applicable
legal or regulatory restrictions, use reasonable efforts to (a) make, issue, fund or maintain its Credit
Extensions, including any Affected Loans, through another office of such Lender, or (b) take such
other measures as such Lender may deem reasonable, if as a result thereof the circumstances which
would cause such Lender to be an Affected Lender would cease to exist or the additional amounts
which would otherwise be required to be paid to such Lender pursuant to Section 2.18, 2.19 or
2.20 would be materially reduced and if, as determined by such Lender in its sole discretion, the
making, issuing, funding or maintaining of such Loans through such other office or in accordance
with such other measures, as the case may be, would not otherwise adversely affect such Loans or
the interests of such Lender; provided that, such Lender will not be obligated to utilize such other
office pursuant to this Section 2.21 unless the Borrower agrees to pay all incremental and
reasonable out-of-pocket expenses incurred by such Lender as a result of utilizing such other office
as described above. A certificate as to the amount of any such expenses payable by the Borrower
pursuant to this Section 2.21 (setting forth in reasonable detail the basis for requesting such
amount) submitted by such Lender to the Borrower (with a copy to Administrative Agent) shall be
conclusive absent manifest error.

       2.22.     Defaulting Lenders.

               (a)    Defaulting Lender Adjustments. Notwithstanding anything to the contrary
contained in this Agreement, if any Lender becomes a Defaulting Lender, then, until such time as
such Lender is no longer a Defaulting Lender, to the extent permitted by applicable law:

                       (i)    Defaulting Lender Waterfall. Any payment of principal, interest,
fees or other amounts received by Administrative Agent for the account of such Defaulting Lender
(whether voluntary or mandatory, at maturity, pursuant to Section 8 or otherwise) or received by
Administrative Agent from a Defaulting Lender pursuant to Section 10.4 shall be applied at such
time or times as may be determined by Administrative Agent (acting at the Direction of the
Requisite Lenders) as follows: first, to the payment of any amounts owing by such Defaulting
Lender to Administrative Agent hereunder; second, as the Borrower may request (so long as no


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Default or Event of Default shall have occurred and be continuing), to the funding of any Loan in
respect of which such Defaulting Lender has failed to fund its portion thereof as required by this
Agreement, as determined by Administrative Agent (acting at the Direction of the Requisite
Lenders); third, if so determined by Administrative Agent (acting at the Direction of the Requisite
Lenders) and the Borrower, to be held in a Deposit Account and released pro rata in order to satisfy
such Defaulting Lender’s potential future funding obligations with respect to Loans under this
Agreement; fourth, to the payment of any amounts owing to the Lenders as a result of any judgment
of a court of competent jurisdiction obtained by any Lender against such Defaulting Lender as a
result of such Defaulting Lender’s breach of its obligations under this Agreement; fifth, so long as
no Default or Event of Default shall have occurred and be continuing, to the payment of any
amounts owing to the Borrower as a result of any judgment of a court of competent jurisdiction
obtained by the Borrower against such Defaulting Lender as a result of such Defaulting Lender’s
breach of its obligations under this Agreement; and sixth, to such Defaulting Lender or as otherwise
directed by a court of competent jurisdiction; provided that if (x) such payment is a payment of
the principal amount of any Loans in respect of which such Defaulting Lender has not fully funded
its appropriate share, and (y) such Loans were made at a time when the conditions set forth in
Section 3.2 were satisfied and waived, such payment shall be applied solely to pay the Loans of
all Non-Defaulting Lenders on a pro rata basis prior to being applied to the payment of any Loans
of such Defaulting Lender until such time as all Loans are held by the Lenders pro rata in
accordance with the applicable Commitments without giving effect to Section 2.22(a)(iii). Any
payments, prepayments or other amounts paid or payable to a Defaulting Lender that are applied
(or held) to pay amounts owed by a Defaulting Lender or to post Cash Collateral pursuant to this
Section 2.22(a)(i) shall be deemed paid to and redirected by such Defaulting Lender, and each
Lender irrevocably consents hereto.

                       (ii)   Certain Fees.

                              (A)     No Defaulting Lender shall be entitled to receive any fee
       pursuant to Section 2.11(a) for any period during which that Lender is a Defaulting Lender
       (and the Borrower shall not be required to pay any such fee that otherwise would have been
       required to have been paid to that Defaulting Lender).

                            (B)     With respect to any fees not required to be paid to any
       Defaulting Lender pursuant to clause (A) above, the Borrower shall not be required to pay
       the remaining amount of any such fee.

                (b)     Defaulting Lender Cure. If the Borrower and Administrative Agent (acting
at the Direction of the Requisite Lenders) agree in writing that a Lender is no longer a Defaulting
Lender, Administrative Agent will so notify the parties hereto, whereupon as of the effective date
specified in such notice and subject to any conditions set forth therein (which may include
arrangements with respect to any Cash Collateral), that Lender will, to the extent applicable,
purchase at par that portion of outstanding Loans of the other Lenders or take such other actions
as Administrative Agent may determine to be necessary to cause the Loans to be held pro rata by
the Lenders in accordance with the applicable Commitments, whereupon such Lender will cease
to be a Defaulting Lender; provided that no adjustments will be made retroactively with respect to
fees accrued or payments made by or on behalf of the Borrower while that Lender was a Defaulting
Lender; and provided further, that except to the extent otherwise expressly agreed by the affected

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parties, no change hereunder from Defaulting Lender to Lender will constitute a waiver or release
of any claim of any party hereunder arising from that Lender having been a Defaulting Lender.

               (c)     [Reserved].

               (d)     [Reserved].

               (e)     [Reserved].

         2.23. Removal or Replacement of a Lender. Anything contained herein to the contrary
notwithstanding, in the event that: (a)(i) any Lender (an “Increased-Cost Lender”) shall give
notice to the Borrower that such Lender is an Affected Lender or that such Lender is entitled to
receive payments under Section 2.18, 2.19 or 2.20, (ii) the circumstances which have caused such
Lender to be an Affected Lender or which entitle such Lender to receive such payments shall
remain in effect, and (iii) such Lender shall fail to withdraw such notice within five Business Days
after the Borrower’s request for such withdrawal; or (b)(i) any Lender shall become and continues
to be a Defaulting Lender, and (ii) such Defaulting Lender shall fail to cure the default pursuant to
Section 2.22(b) within five Business Days after the Borrower’s request that it cure such default;
then, with respect to each such Increased-Cost Lender or Defaulting Lender (the “Terminated
Lender”), the Borrower may, by giving written notice to Administrative Agent and any
Terminated Lender of its election to do so, elect to cause such Terminated Lender (and such
Terminated Lender hereby irrevocably agrees) to assign its outstanding Loans, if any, in full to
one or more Eligible Assignees (each a “Replacement Lender”) in accordance with the
provisions of Section 10.6 (or terminate the applicable Commitments of such Lender, and repay
in full in cash all Obligations (other than any premium with respect to a Defaulting Lender) of the
Borrower then due and owing to such Lender relating to the applicable Loans and participations
held by such Lender as of such termination date) and the Borrower shall pay the reasonable-out-
of-pocket fees, if any, payable thereunder in connection with any such assignment from an
Increased-Cost Lender; provided that, (1) on the date of such assignment, the Replacement Lender
shall pay to Terminated Lender an amount equal to the sum of (A) an amount equal to the principal
of, and all accrued interest on, all outstanding Loans of the Terminated Lender and (B) an amount
equal to all accrued, but theretofore unpaid fees owing to such Terminated Lender pursuant to
Section 2.11; (2) on the date of such assignment or payment, the Borrower shall pay any amounts
payable to such Terminated Lender pursuant to Section 2.13(c), 2.18(c), 2.19 or 2.20; or otherwise
as if it were a prepayment; and (3) in the case of any such assignment or payment resulting from a
claim for compensation under Section 2.19 or payments required to be made pursuant to
Section 2.20, such assignment or payment will result in a reduction in such compensation or
payments thereafter; provided that, any rights of such Terminated Lender to indemnification
hereunder shall survive as to such Terminated Lender solely to the same extent as if it were not a
Terminated Lender. Each Lender agrees that if the Borrower exercises its option hereunder to
cause an assignment by such Lender as a Terminated Lender, such Lender shall, promptly after
receipt of written notice of such election, execute and deliver all documentation necessary to
effectuate such assignment in accordance with Section 10.6. In the event that a Lender does not
comply with the requirements of the immediately preceding sentence within one Business Day
after receipt of such notice, each Lender hereby authorizes and directs Administrative Agent to
execute and deliver such documentation as may be required to give effect to an assignment in
accordance with Section 10.6 on behalf of a Terminated Lender and any such documentation so

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executed by Administrative Agent shall be effective for purposes of documenting an assignment
pursuant to Section 10.6.

       2.24.    [Reserved].

       2.25.    [Reserved].

       2.26.    [Reserved].

       2.27. Syndication. Following the Effective Date, the Borrower shall use commercially
reasonable efforts to assist the Lenders in connection with a syndication process (the
“Syndication”) for the assignment to additional Prepetition Lenders of a share of the DIP Term
Loans pro rata to their respective holdings of Prepetition Term Loans in accordance with
syndication procedures (the “Syndication Procedures”) acceptable to each of the Administrative
Agent and the Requisite Lenders (each in their sole discretion), in consultation with the Borrower
and in accordance with the terms of this Agreement. Upon completion of the Syndication, a
Schedule 2.27, which shall be prepared by the Lender Advisors and satisfactory to the Requisite
Lenders, shall be delivered to the Administrative Agent and the Borrower, which shall set forth
the aggregate principal amount of DIP Term Loans and Roll-Up Loans held by each Lender upon
closing of the Syndication.

       2.28.    Benchmark Replacement Setting.

                 (a)    Benchmark Replacement. Notwithstanding anything to the contrary herein
or in any other Credit Document, if a Benchmark Transition Event and its related Benchmark
Replacement Date have occurred in respect of any setting of the then-current Benchmark, then (x)
if a Benchmark Replacement is determined in accordance with clause (a) of the definition of
“Benchmark Replacement” for such Benchmark Replacement Date, such Benchmark
Replacement will replace such Benchmark for all purposes hereunder and under any Credit
Document in respect of such Benchmark setting and subsequent Benchmark settings without any
amendment to, or further action or consent of any other party to, this Agreement or any other
Credit Document and (y) if a Benchmark Replacement is determined in accordance with clause
(b) of the definition of “Benchmark Replacement” for such Benchmark Replacement Date, such
Benchmark Replacement will replace such Benchmark for all purposes hereunder and under any
Credit Document in respect of any Benchmark setting at or after 5:00 p.m. (New York City time)
on the fifth (5th) Business Day after the date notice of such Benchmark Replacement is provided
to the Lenders without any amendment to, or further action or consent of any other party to, this
Agreement or any other Credit Document so long as the Administrative Agent has not received,
by such time, written notice of objection to such Benchmark Replacement from Lenders
comprising the Requisite Lenders of each Class.

               (b)    Benchmark Replacement Conforming Changes. In connection with the use,
administration, adoption or implementation of a Benchmark Replacement, the Administrative
Agent (acting at the Direction of the Requisite Lenders) and the Borrower will have the right to
make Conforming Changes from time to time (in consultation with the Borrower) and,
notwithstanding anything to the contrary herein or in any other Credit Document, any amendments
implementing such Conforming Changes will become effective without any further action or


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consent of any other party to this Agreement or any other Credit Document.

               (c)      Notices; Standards for Decisions and Determinations. The Administrative
Agent will promptly notify the Borrower and the Lenders of (i) the implementation of any
Benchmark Replacement and (ii) the effectiveness of any Conforming Changes in connection with
the use, administration, adoption or implementation of a Benchmark Replacement. The
Administrative Agent will promptly notify the Borrower of the removal or reinstatement of any
tenor of a Benchmark pursuant to clause (d) below. Any determination, decision or election that
may be made by the Administrative Agent or, if applicable, any Lender (or group of Lenders)
pursuant to this Section 2.28, including any determination with respect to a tenor, rate or
adjustment or of the occurrence or non-occurrence of an event, circumstance or date and any
decision to take or refrain from taking any action or any selection, will be conclusive and binding
absent manifest error and may be made in its or their sole discretion and without consent from any
other party to this Agreement or any other Credit Document, except, in each case, as expressly
required pursuant to this Section 2.28.

                (d)    Unavailability of Tenor of Benchmark. Notwithstanding anything to the
contrary herein or in any other Credit Document, at any time (including in connection with the
implementation of a Benchmark Replacement), (i) if the then-current Benchmark is a term rate
(including Term SOFR Reference Rate) and either (A) any tenor for such Benchmark is not
displayed on a screen or other information service that publishes such rate from time to time as
selected by the Administrative Agent (acting at the Direction of the Requisite Lenders) in its
reasonable discretion or (B) the administrator of such Benchmark or the regulatory supervisor for
the administrator of such Benchmark has provided a public statement or publication of information
announcing that any tenor for such Benchmark is not or will not be representative or in compliance
with or aligned with the International Organization of Securities Commissions (IOSCO) Principles
for Financial Benchmarks, then the Administrative Agent may modify the definition of “Interest
Period” (or any similar or analogous definition) for any Benchmark settings at or after such time
to remove such unavailable, non-representative, non-compliant or non-aligned tenor and (ii) if a
tenor that was removed pursuant to clause (i) above either (A) is subsequently displayed on a
screen or information service for a Benchmark (including a Benchmark Replacement) or (B) is
not, or is no longer, subject to an announcement that it is not or will not be representative or in
compliance with or aligned with the International Organization of Securities Commissions
(IOSCO) Principles for Financial Benchmarks for a Benchmark (including a Benchmark
Replacement), then the Administrative Agent may modify the definition of “Interest Period” (or
any similar or analogous definition) for all Benchmark settings at or after such time to reinstate
such previously removed tenor.

               (e)     Benchmark Unavailability Period. Upon the Borrower’s receipt of notice of
the commencement of a Benchmark Unavailability Period, the Borrower may revoke any pending
request for a SOFR Borrowing of, conversion to or continuation of SOFR Loans to be made,
converted or continued during any Benchmark Unavailability Period and, failing that, the
Borrower will be deemed to have converted any such request into a request for a Borrowing of or
conversion to Base Rate Loans. During any Benchmark Unavailability Period or at any time that
a tenor for the then-current Benchmark is not an Available Tenor, the component of Base Rate
based upon the then-current Benchmark or such tenor for such Benchmark, as applicable, will not
be used in any determination of Base Rate.

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       SECTION 3.          CONDITIONS PRECEDENT

       3.1.    Effectiveness of this Agreement and Credit Extensions on the Effective Date.
The effectiveness of this Agreement and the obligation of each Lender to make a Credit Extension
hereunder on the Effective Date (including the Initial Draw) is subject to the satisfaction, or waiver
in accordance with Section 10.5, of the following conditions on or before the Effective Date:

              (a)      Credit Documents. The Administrative Agent shall have received copies of
this Agreement, the Notes (to the extent requested at least three Business Days prior to the
Effective Date) and the Administrative Agent Fee Letter, executed and delivered by each
applicable Credit Party and each other party thereto.

                 (b)     Organizational Documents; Incumbency. The Administrative Agent shall
have received, in respect of each Credit Party, (i) copies of each Organizational Document, and,
to the extent applicable, certified as of the Effective Date or a date no earlier than 30 days prior
thereto by the appropriate Governmental Authority; (ii) signature and incumbency certificates of
the officers or directors (as applicable) of such Credit Party; (iii) resolutions of the board of
directors or similar governing body of such Credit Party approving and authorizing the execution,
delivery and performance of this Agreement and the other Credit Documents to which it is a party
or by which it or its assets may be bound as of the Effective Date, certified as of the Effective Date
by its secretary or an assistant secretary or other Authorized Officer as being in full force and effect
without modification or amendment; and (iv) a good standing certificate (to the extent applicable
in the relevant jurisdiction) from the applicable Governmental Authority of such Credit Party’s
jurisdiction of incorporation, organization or formation, each dated within 30 days of the Effective
Date.

               (c)    No Material Adverse Effect. Since the Petition Date, there has been no
Material Adverse Effect other than the events and developments related to, or arising as a result
of, the Chapter 11 Cases.

              (d)   Funding Notice. The Administrative Agent shall have received a fully
executed Funding Notice.

               (e)    Representations and Warranties. On the Effective Date, the representations
and warranties in Section 4 of this Agreement shall be true and correct in all material respects
(provided that any such representations, which are qualified by materiality, material adverse effect
or similar language shall be true and correct in all respects).

                (f)    Event of Default. On the Effective Date and immediately after giving effect
to the Initial Draw, no event shall have occurred and be continuing or would immediately result
from the consummation of the Credit Extension that would constitute an Event of Default or a
Default.

              (g)     Opinions of Counsel to Credit Parties. Agents and Lenders and their
respective counsel shall have received executed copies of the favorable written opinions of (i)
Herbert Smith Freehills Kramer (US) LLP, counsel for Credit Parties and (ii) Cole Schotz P.C., as
special New Jersey counsel for the Credit Parties, in each case, as to such matters as Administrative
Agent may reasonably request, dated as of the Effective Date and in form and substance reasonably

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satisfactory to Administrative Agent (acting at the Direction of the Requisite Lenders) (and each
Credit Party hereby instructs such counsel to deliver such opinions to Agents and Lenders).

                (h)     Fees. The Agents, Lenders and the Lender Advisors shall have received,
substantially simultaneously with the funding of the Term Loans, fees and, to the extent invoiced
at least three Business Days prior to the Effective Date (except as otherwise reasonably agreed by
the Borrower) reasonable out-of-pocket expenses in the amounts previously agreed in writing to
be received on the Effective Date (which amounts may, at the Borrower’s option, be offset against
the proceeds of the Term Loans).

                (i)   Consents and Approvals. All necessary governmental and third party
consents and approvals necessary in connection with the DIP Facility and the Transactions shall
have been obtained (without the imposition of any materially adverse conditions that are not
acceptable to the Requisite Lenders (which may be communicated via a Direction of the Requisite
Lenders)) and shall remain in effect; and the making of the loans under the DIP Facility shall not
violate any material applicable requirement of law and shall not be enjoined temporarily,
preliminarily or permanently.

              (j)    Effective Date Certificate. The Borrower shall have delivered to
Administrative Agent an originally executed Effective Date Certificate, together with all
attachments thereto.

                (k)    PATRIOT Act. The Agents shall have received at least three Business Days
prior to the Effective Date all documentation and other information about the Borrower and the
Guarantors as shall have been reasonably requested in writing by any Agent at least ten calendar
days prior to the Effective Date and as required by U.S. regulatory authorities under applicable
“know your customer” and anti-money laundering laws. For the avoidance of doubt, to the extent
the Borrower qualifies as a “legal entity customer” under the Beneficial Ownership Regulation,
any Lender that has requested, in a written notice to the Borrower at least ten Business Days prior
to the Effective Date, a certification regarding beneficial ownership in relation to the Borrower as
required by the Beneficial Ownership Regulation (the “Beneficial Ownership Certification”),
shall have received such certification at least three Business Days prior to the Effective Date. As
of the Effective Date, the information included in the Beneficial Ownership Certification with
respect to any beneficial owner of the Borrower is true and correct in all material respects to the
best knowledge of the Borrower.

               (l)   Transactions. Substantially simultaneously with the Borrowing of the Term
Loans, the Transactions shall be consummated in accordance with the RSA and the respective
terms thereof.

              (m)     ABL DIP Credit Documents. The Administrative Agent shall have received
executed copies of each ABL DIP Credit Document entered into by a Credit Party, a Debtor or
any Subsidiary on the Closing Date in connection with the ABL DIP Facility (including, for the
avoidance of doubt, the ABL DIP Credit Agreement), in each case, duly executed and delivered
by a Responsible Officer of each of the Credit Parties party thereto and such ABL DIP Credit
Documents shall be acceptable and on terms satisfactory to the Lenders and shall be in full force



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and effect and there shall not be a default or Event of Default (as defined in the ABL DIP Credit
Agreement) under the ABL DIP Credit Documents.

               (n)     RSA. The RSA remains in full force and effect and the Credit Parties are
not in Default under such agreement.

              (o)     Financials. The Administrative Agent and the Lender Advisors shall have
received the most recent information required to be delivered under Section 5.1 of the Prepetition
Credit Agreement.

               (p)    Interim Order. (i) The Interim Order shall have been entered by the
Bankruptcy Court and shall not have been vacated, reversed, modified, amended or stayed in any
respect without the consent of the Requisite Lenders (which consent may be communicated via a
Direction of the Requisite Lenders), and (ii) no motion for reconsideration of the Interim Order
shall have been timely filed by any Credit Party, any Debtor, any Subsidiary or any Affiliate
thereof.

               (q)     Chapter 11 Cases. The Chapter 11 Cases shall have been commenced by
Debtors and the same shall each be a debtor and a debtor in possession. The Chapter 11 Cases of
the Debtors shall not have been dismissed or converted to cases under chapter 7 of the Bankruptcy
Code. No trustee under chapter 7 or chapter 11 of the Bankruptcy Code shall have been appointed
in the Chapter 11 Cases.

               (r)      Perfected Liens. After giving effect to the Interim Order, the Collateral and
Guarantee Requirement shall be satisfied and the Administrative Agent shall have a fully perfected
lien on the Collateral to the extent required by the other Credit Documents and the DIP Orders,
having the priorities set forth in the DIP Orders.

               (s)     First Day Pleadings. All First Day Pleadings filed by the Credit Parties on
the Petition Date and related orders entered by the Bankruptcy Court in the Chapter 11 Cases shall
be in form and substance reasonably satisfactory to the Requisite Lenders.

                (t)    Approved DIP Budget. The Administrative Agent and Lender Advisors on
behalf of the Lenders shall have received the Approved DIP Budget in form and substance
satisfactory to the Requisite Lenders.

               (u)    Master Consent to Assignment. The Fronting Lender shall have received a
copy of that certain Master Consent to Assignment, dated as of the Effective Date, duly executed
by the Borrower and the Administrative Agent.

        3.2.     Conditions to Final Draw. The obligation of each Lender to make the Final Draw
after the Effective Date is subject to the satisfaction, or waiver in accordance with Section 10.5, of
the following conditions precedent:

               (a)      as of such Credit Date, the representations and warranties contained herein
and in the other Credit Documents shall be true and correct in all material respects on and as of
that Credit Date to the same extent as though made on and as of that date, except to the extent such
representations and warranties specifically relate to an earlier date, in which case such

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representations and warranties shall have been true and correct in all material respects on and as
of such earlier date; provided that, in each case, such materiality qualifier shall not be applicable
to any representations and warranties that already are qualified or modified by materiality in the
text thereof;

               (b)     the Administrative Agent shall have received a fully executed Funding
Notice;

              (c)    no Default or Event of Default shall exist or would result from such
proposed Credit Extension or from the application of the proceeds therefrom;

               (d)  the Final Order shall have been entered by the Bankruptcy Court and shall
not have been amended, modified, repealed or stayed in any respect without the Requisite Lenders’
consent (which consent of the Requisite Lenders may be communicated via a Direction of the
Requisite Lenders);

               (e)    the Credit Parties shall be in compliance with the Approved DIP Budget
(subject to Permitted Variances) in all respects and the proceeds of the Final Draw shall be used
solely in accordance with the Approved DIP Budget (subject to Permitted Variances);

               (f)    the RSA remains in full force and effect and the Credit Parties are not in
Default under such agreement;

               (g)     the Borrower shall be in compliance in all respects with the Milestones; and

               (h)     each Collateral Document duly executed by each Credit Party or Subsidiary
(as applicable) thereto, together with, if required pursuant to the terms of the relevant Collateral
Document, certificates, if any, representing the pledged Equity Interests referred to therein
accompanied by undated stock powers executed in blank and instruments, if any, evidencing the
pledged Indebtedness referred to therein indorsed in blank.

          SECTION 4.       REPRESENTATIONS AND WARRANTIES

               In order to induce Agents and Lenders to enter into this Agreement and to make
each Credit Extension to be made thereby, each Credit Party represents and warrants to each Agent
and Lender on the Effective Date and on each Credit Date, that the following statements are true
and correct:

        4.1.     Organization; Requisite Power and Authority; Qualification. Each of
Holdings and its Subsidiaries (a) is duly organized, validly existing and in good standing under the
laws of its jurisdiction of organization, formation or incorporation (as applicable), (b) subject to
the entry of the Interim Order, has all requisite corporate or other entity power and authority to
own and operate its properties, to carry on its business as now conducted and as proposed to be
conducted, to enter into the Credit Documents to which it is a party and to carry out the transactions
contemplated thereby, except where a failure in any aspect of this clause (b) would not reasonably
be expected to have a Material Adverse Effect (other than with respect to Holdings and the
Borrower) and (c) is qualified to do business and in good standing in every jurisdiction where its
assets are located and wherever necessary to carry out its business and operations, except, in each

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case, in jurisdictions where the failure to be so qualified or in good standing would not reasonably
be expected to have a Material Adverse Effect.

        4.2.     Subsidiaries. Schedule 4.2 lists each Subsidiary of Holdings and the Borrower
(and the direct and indirect ownership interest of Holdings and the Borrower therein), in each case
existing on the Effective Date after giving effect to the Transactions.

        4.3.    Due Authorization. Subject to the entry of the Interim Order, the execution,
delivery and performance of the Credit Documents have been duly authorized by all necessary
action on the part of each Credit Party that is a party thereto.

        4.4.     No Conflict. Subject to the entry of the Interim Order, the execution, delivery and
performance by Credit Parties of the Credit Documents to which they are parties and the
consummation of the transactions contemplated by the Credit Documents do not and will not (a)
violate (i) any provision of any law or any governmental rule or regulation applicable to Holdings
or any of its Subsidiaries, except to the extent such violation would not reasonably be expected to
have a Material Adverse Effect, (ii) any of the Organizational Documents of Holdings or any of
its Subsidiaries, or (iii) any order, judgment or decree of any court or other agency of government
binding on Holdings or any of its Subsidiaries, except to the extent such violation would not
reasonably be expected to have a Material Adverse Effect; and (b) except as a result of and in
connection with the Chapter 11 Cases, conflict with, result in a breach of or constitute (with due
notice or lapse of time or both) a default under any Contractual Obligation of Holdings or any of
its Subsidiaries except to the extent such conflict, breach or default would not reasonably be
expected to have a Material Adverse Effect.

        4.5.     Governmental and Third Party Consents. Subject to the entry of the Interim
Order, the execution, delivery and performance by Credit Parties of the Credit Documents to which
they are parties and the consummation of the transactions contemplated by the Credit Documents
do not and will not require any registration with, consent or approval of, or notice to, or other
action to, with or by, any Governmental Authority or other third party, except for (i) filings and
recordings with respect to the Collateral to be made, or otherwise delivered to Collateral Agent for
filing and/or recordation, as of the Effective Date and any necessary continuations thereof under
applicable law and (ii) those registrations, consents, approvals, notices or other actions, the failure
of which to obtain or make would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect.

        4.6.     Binding Obligation. Subject to the entry of the Interim Order, each Credit
Document has been duly executed and delivered by each Credit Party that is a party thereto and is
the legally valid and binding obligation of such Credit Party, enforceable against such Credit Party
in accordance with its respective terms, except as may be limited by bankruptcy, insolvency,
reorganization, moratorium or similar laws relating to or limiting creditors’ rights generally or by
equitable principles relating to enforceability.

       4.7.     Historical Financial Statements. The Historical Financial Statements were
prepared in conformity with IFRS with customary adjustments and carve-outs as agreed between
the Lenders and the Borrower and fairly present, in all material respects, the financial position, on
a consolidated basis, of the Persons described in such financial statements as at the respective dates


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thereof and the results of operations and cash flows, on a consolidated basis, of the entities
described therein for each of the periods then ended, subject, in the case of any such unaudited
financial statements, to changes resulting from audit and normal year-end adjustments.

        4.8.     [Reserved].

        4.9.     No Material Adverse Effect. Since the Petition Date, no event, circumstance or
change has occurred that has caused or evidences, or would reasonably be expected to result in,
either in any case or in the aggregate, a Material Adverse Effect.

         4.10. Adverse Proceedings, Etc. There are no Adverse Proceedings, individually or in
the aggregate, that would reasonably be expected to have a Material Adverse Effect. Neither
Holdings nor any of its Subsidiaries (a) is in violation of any applicable laws (including
Environmental Laws) that, individually or in the aggregate, would reasonably be expected to have
a Material Adverse Effect, or (b) is subject to or in default with respect to any final judgments,
writs, injunctions, decrees, rules or regulations of any court or any federal, state, municipal or other
governmental department, commission, board, bureau, agency or instrumentality, domestic or
foreign, that, individually or in the aggregate, would reasonably be expected to have a Material
Adverse Effect.

        4.11. Payment of Taxes. Except as otherwise permitted under Section 5.3, all Tax
returns and reports of Holdings and its Subsidiaries required to be filed by any of them have been
timely filed, except where the failure to so file would not reasonably be expected to result in a
Material Adverse Effect, and all Taxes to be due and payable have been paid when due and
payable, except those which are being contested in good faith by appropriate proceedings
diligently conducted and for which adequate reserves have been provided in accordance with IFRS
or except where the failure to pay such Taxes would not reasonably be expected to result in a
Material Adverse Effect. There is no proposed Tax assessment against Holdings or any of its
Subsidiaries that would, if made, reasonably be expected to have a Material Adverse Effect and
which is not being actively contested by Holdings or such Subsidiary in good faith and by
appropriate proceedings; provided that, such reserves or other appropriate provisions, if any, as
shall be required in conformity with IFRS shall have been made or provided therefor.

        4.12.    Properties.

                  (a)     Title. Each of Holdings and its Subsidiaries has (i) good, sufficient and legal
title to (in the case of fee interests in real property), (ii) valid leasehold interests in (in the case of
leasehold interests in real or personal property), (iii) valid licensed rights in (in the case of licensed
interests in Intellectual Property) and (iv) good title to (in the case of all other personal property),
all of their respective properties and assets reflected in the Historical Financial Statements referred
to in Section 4.7 and in the most recent financial statements delivered pursuant to Section 5.1, in
each case except for assets disposed of since the date of such financial statements in the Ordinary
Course of Business or as otherwise permitted under Section 6.8 and in each case except for such
defects in title as would not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect. Except as permitted by this Agreement, all such properties and assets are
free and clear of Liens (other than Permitted Liens).



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        4.13. Environmental Matters. Neither Holdings nor any of its Subsidiaries nor any of
their respective Facilities or operations are subject to any pending or, to each of Holdings’ and its
Subsidiaries’ knowledge, threatened Environmental Claim that, individually or in the aggregate,
would reasonably be expected to have a Material Adverse Effect. There are and, to each of
Holdings’ and its Subsidiaries’ knowledge, have been, no conditions, occurrences, or Hazardous
Materials Activities which would reasonably be expected to form the basis of an Environmental
Claim against Holdings or any of its Subsidiaries that, individually or in the aggregate, would
reasonably be expected to have a Material Adverse Effect. Neither Holdings nor any of its
Subsidiaries is conducting, funding or responsible for any investigation, remediation, remedial
action or cleanup of any Hazardous Materials at any Facilities that would reasonably be expected
to have, individually or in the aggregate, a Material Adverse Effect. The operations of Holdings
and each of its Subsidiaries are in compliance with all Environmental Laws, except for any failure
to comply that would not reasonably be expected to have, individually or in the aggregate, a
Material Adverse Effect. To the knowledge of Holdings and its Subsidiaries, compliance with all
applicable requirements pursuant to or under Environmental Laws would not reasonably be
expected to have, individually or in the aggregate, a Material Adverse Effect. No event or condition
has occurred or is occurring with respect to Holdings or any of its Subsidiaries relating to any
Environmental Law, any Release of Hazardous Materials, or any Hazardous Materials Activity
which, individually or in the aggregate would reasonably be expected to have, a Material Adverse
Effect.

       4.14. Governmental Regulation. No Credit Party is required to be registered as an
“investment company” under the Investment Company Act of 1940.

        4.15. Federal Reserve Regulations; Exchange Act. Neither Holdings nor any of its
Subsidiaries is engaged principally, or as one of its important activities, in the business of
extending credit for the purpose of buying or carrying Margin Stock. No portion of the proceeds
of any Credit Extension shall be used in any manner, whether directly or indirectly, that causes or
would reasonably be expected to cause, such Credit Extension or the application of such proceeds
to violate Regulation T, Regulation U or Regulation X of the Board of Governors or any other
regulation thereof or to violate the Exchange Act.

       4.16.    [Reserved].

         4.17. Employee Benefit Plans. Except, in each case, where the failure to so comply
would not, individually or in the aggregate, reasonably be expected to result in a Material Adverse
Effect: (a) Holdings and each of its Subsidiaries are in compliance with all applicable provisions
and requirements of ERISA and the Internal Revenue Code and the regulations and published
interpretations thereunder with respect to each Employee Benefit Plan; (b) each Employee Benefit
Plan which is intended to qualify under Section 401(a) of the Internal Revenue Code has received
a favorable determination letter from the Internal Revenue Service or may rely on a favorable
opinion letter from the Internal Revenue Service indicating that such Employee Benefit Plan is so
qualified and, to the knowledge of Holdings, nothing has occurred subsequent to the issuance of
such determination letter which would cause such Employee Benefit Plan to lose its qualified
status; (c) no liability to the PBGC (other than required premium payments) has been or is expected
to be incurred by Holdings, any of its Subsidiaries or any of their ERISA Affiliates; (d) no ERISA
Event has occurred or is reasonably expected to occur; (e) except to the extent required under

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Section 4980B of the Internal Revenue Code or similar state laws, no Employee Benefit Plan
provides health or welfare benefits (through the purchase of insurance or otherwise) for any retired
or former employee of Holdings or any of its Subsidiaries; and (f) Holdings, each of its
Subsidiaries and each of their ERISA Affiliates have complied with the requirements of
Section 515 of ERISA with respect to each Multiemployer Plan and are not in material “default”
(as defined in Section 4219(c)(5) of ERISA) with respect to payments to a Multiemployer Plan.

       4.18.    [Reserved].

       4.19.    [Reserved].

       4.20.    [Reserved].

        4.21. Disclosure. No representation or warranty of any Credit Party contained in any
Credit Document or in any other documents, certificates or written statements furnished to any
Agent or Lender by or on behalf of Holdings or any of its Subsidiaries for use in connection with
the transactions contemplated, when taken as a whole, hereby contains any untrue statement of a
material fact or omits to state a material fact (known to Holdings or the Borrower, in the case of
any document not furnished by any of them) necessary in order to make the statements contained
herein or therein (in each case, taken as a whole) not materially misleading in light of the
circumstances in which the same were made, as supplemented. Any projections, budgets and other
forward looking information and pro forma financial information contained in such materials are
based upon good faith estimates and assumptions believed by Holdings to be reasonable at the
time made, it being recognized by Lenders that such projections as to future events are not to be
viewed as facts and that actual results during the period or periods covered by any such projections
may differ from the projected results.

        4.22. Compliance with Statutes, etc. (a) Each of Holdings and its Subsidiaries is in
compliance with all applicable statutes, regulations and orders of, and all applicable restrictions
imposed by, all Governmental Authorities, in respect of the conduct of its business and the
ownership of its property, except such non-compliance that, individually or in the aggregate, would
not reasonably be expected to result in a Material Adverse Effect, including, without limitation,
none of Holdings or any of its Subsidiaries or any of their respective directors, officers or, to the
knowledge of Holdings, employees, agents, advisors or Affiliates is the target of any sanctions or
economic embargoes administered or enforced by the U.S. Department of State, the U.S.
Department of Treasury (including the Office of Foreign Assets Control), the United Nations
Security Council, the European Union, Her Majesty’s Treasury of the United Kingdom, or any
other applicable sanctions authority (collectively, “Sanctions”, and the associated laws, rules,
regulations and orders, collectively, “Sanctions Laws”).

                (b)    Each of Holdings and its Subsidiaries and their respective directors, officers
and, to the knowledge of Holdings, employees, agents, advisors and Affiliates is in compliance, in
all material respects, with (i) applicable Sanctions Laws, (ii) the United States Foreign Corrupt
Practices Act of 1977, as amended, the United Kingdom Bribery Act of 2010 and any other
applicable anti-bribery or anti-corruption laws, rules, regulations and orders (collectively, “Anti-
Corruption Laws”) and any other applicable terrorism and money laundering laws, rules,
regulations and orders and (iii) the PATRIOT Act.


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                (c)     No part of the proceeds of the Loans will be used, directly or indirectly, by
the Borrower (i) in violation of Anti-Corruption Laws or (ii) for the purpose of financing any
activities or business of or with any Person, or in any country or territory, that, at the time of such
financing, is the target of any Sanctions, except to the extent permissible under applicable
Sanctions Laws.

        4.23. Use of Proceeds. The proceeds of the Loans shall be used for the purposes set
forth in Section 2.6.

        4.24. Collateral Documents. Subject to the entry thereof, the Interim Order creates in
favor of the Collateral Agent (for the benefit of the Secured Parties), in each case, a legal, valid
and enforceable security interest in and Liens on the Collateral described therein and proceeds
thereof, which security interest and Lien shall be valid and perfected as of the Closing Date by
entry of the Interim Order with respect to each Loan Party and which shall constitute a continuing
security interest and Lien on the Collateral having priority over all other security interests and
Liens on the Collateral and securing all the Obligations, other than as set forth in the Interim Order.
The Collateral Agent and Lenders shall not be required to file or record any financing statements,
mortgages, notices of Lien or similar instruments, in any jurisdiction or filing office or to take any
other action in order to validate, perfect or establish the priority of the security interest and Lien
granted pursuant to the Interim Order.

        Pursuant to Section 364(c)(1) of the U.S. Bankruptcy Code, subject to the entry of the DIP
Orders, the Obligations of the Credit Parties shall at all times constitute allowed senior
administrative expenses against each of the Credit Parties in the Chapter 11 Cases (without the
need to file any proof of claim or request for payment of administrative expense), with priority
over any and all other administrative expenses, adequate protection claims, diminution claims and
all other claims against the Credit Parties, now existing or hereafter arising, of any kind or nature
whatsoever, including, without limitation, all administrative expenses of the kind specified in
Sections 503(b) and 507(b) of the U.S. Bankruptcy Code, and over any and all other administrative
expense claims arising under Sections 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b),
546, 726, 1113 and 1114 of the U.S. Bankruptcy Code, whether or not such expenses or claims
may become secured by a judgment Lien or other non-consensual Lien, levy or attachment, which
allowed claims shall for purposes of Section 1129(a)(9)(A) of the U.S. Bankruptcy Code be
considered administrative expenses allowed under Section 503(b) of the U.S. Bankruptcy Code,
and which shall be payable from and have recourse to all pre- and post-petition property of the
Credit Parties and their estates and all proceeds thereof other than as set forth in the DIP Orders.

       4.25.    [Reserved].

        4.26. Intellectual Property. Each of Holdings and the Subsidiaries owns or has the right
to use all Intellectual Property that is used in or is otherwise necessary for the operation of their
respective businesses as currently conducted, except where the failure to own or have a right to
use such Intellectual Property would not reasonably be expected to have a Material Adverse Effect.
To the knowledge of Holdings, the operation of their respective businesses by each of Holdings
and the Subsidiaries does not infringe upon, misappropriate, violate or otherwise conflict with the
Intellectual Property of any third party, except as would not reasonably be expected to have a
Material Adverse Effect.


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               4.27.     Bankruptcy Matters. (a) The Chapter 11 Cases were commenced on
the Petition Date in accordance in all material respects with applicable law and proper notice
thereof was given. Proper notice under the circumstances was also provided for (x) the motion
seeking approval of the Credit Documents pursuant to the DIP Order and (y) the hearing for the
approval of the DIP Order.

                 (b)      After entry of the Interim Order (and the Final Order when applicable) and
pursuant to and to the extent provided in the Interim Order and the Final Order, as applicable, the
Obligations will be secured by a valid and perfected first priority Lien on all of the Collateral, (i)
encumbered by no Liens other than Liens permitted by Section 7.1 and (ii) prior and superior to
any other Person or Lien pursuant to Section 364(d)(1) of the Bankruptcy Code, in each case, other
than the Carve-Out and the Prior Senior Liens (as defined in the DIP Order) and subject to the
priorities set forth in the Interim Order or the Final Order, as applicable.

               (c)      The Interim Order (with respect to the period prior to the entry of the Final
Order) or the Final Order (with respect to the period on and after the entry of the Final Order), as
the case may be, is in full force and effect and has not been reversed, stayed (whether by statutory
stay or otherwise), modified or amended without the Requisite Lenders’ consent (which consent
of the Requisite Lenders may be communicated via an email from the Lender Advisors).

       SECTION 5.          AFFIRMATIVE COVENANTS

                Each Credit Party covenants and agrees that, so long as any Commitment is in effect
and until Payment in Full of all Obligations, each Credit Party shall perform, and shall cause each
of its Subsidiaries to perform, all covenants in this Section 5.

      5.1.     Financial Statements and Other Reports. The Borrower will deliver to
Administrative Agent for prompt further distribution by the Administrative Agent to each Lender:

                (a)     Monthly Financial Statements. Within 45 days after the end of each fiscal
month, commencing with the month ended June 30, 2025, an unaudited consolidated balance sheet
of Applicable Holdings and its Subsidiaries as at the end of such fiscal month and the related (i)
unaudited consolidated statements of income or operations for such fiscal month and for the
portion of the fiscal year then ended and (ii) unaudited consolidated statements of cash flows for
such fiscal month and the portion of the fiscal year then ended, all in reasonable detail, certified
by an Authorized Officer of the Borrower as fairly presenting in all material respects the financial
condition, results of operations, stockholders’ equity and cash flows of Applicable Holdings and
its Subsidiaries in accordance with IFRS;

                (b)     Quarterly Financial Statements. Within 45 days after the end of each Fiscal
Quarter of each Fiscal Year, commencing with the Fiscal Quarter ended July 31, 2025, the
consolidated balance sheets of Applicable Holdings and its Subsidiaries as at the end of such Fiscal
Quarter from the consolidated financial statements, the related consolidated statements of income
and cash flows of Applicable Holdings and its Subsidiaries for such Fiscal Quarter and for the
period from the beginning of the then current Fiscal Year to the end of such Fiscal Quarter, setting
forth in each case in comparative form solely with respect to the consolidated statement of income



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the corresponding figures for the corresponding periods of the previous Fiscal Year, all in
reasonable detail;

                (c)     Annual Financial Statements. Within 90 days after the end of each Fiscal
Year, commencing with the Fiscal Year in which the Effective Date occurs, (i) the consolidated
balance sheets of Applicable Holdings and its Subsidiaries as at the end of such Fiscal Year and
the related consolidated statements of income, stockholders’ equity and cash flows of Applicable
Holdings and its Subsidiaries for such Fiscal Year, and (ii) with respect to such consolidated
financial statements a report thereon of SyCip Gorres Velayo & Co. or other independent certified
public accountants of recognized national standing selected by the Borrower, or other accounting
firm reasonably satisfactory to Administrative Agent (acting at the Direction of the Requisite
Lenders) and scope of audit, and shall state that such consolidated financial statements fairly
present, in all material respects, the consolidated financial position of Applicable Holdings and its
Subsidiaries as at the dates indicated and the results of their operations and their cash flows for the
periods indicated in conformity with IFRS and that the examination by such accountants in
connection with such consolidated financial statements has been made in accordance with
generally accepted auditing standards) subject only to normal year-end audit adjustments and the
absence of footnotes;

               (d)    Compliance Certificate. Commencing with the financial statements for the
Fiscal Quarter ended July 31, 2025, together with each delivery of financial statements of DMFHL
and its Subsidiaries pursuant to Sections 5.1(b) and 5.1(c), a duly executed and completed
Compliance Certificate;

              (e)     Additional Reporting. The Borrower shall deliver to the Administrative
Agent any additional reporting required to be delivered to the ABL DIP Agent under the ABL DIP
Credit Agreement;

                 (f)    Notice of Default. Promptly upon any Authorized Officer of the Borrower
obtaining knowledge (i) of any condition or event that constitutes a Default or an Event of Default
or that notice has been given to the Borrower with respect thereto; provided, that, subject to
Section 8.1(c), the delivery of a notice of Default at any time will cure an Event of Default arising
from the failure of the Borrower to timely deliver such notice of Default; (ii) that any Person has
given any notice to Holdings or any of its Subsidiaries or taken any other action with respect to
any event or condition set forth in Section 8.1(b); or (iii) of the occurrence of any event or change
that has caused or evidences, either in any case or in the aggregate, a Material Adverse Effect, a
certificate of an Authorized Officer specifying the nature and period of existence of such condition,
event or change, or specifying the notice given and action taken by any such Person and the nature
of such claimed Event of Default, Default, default, event or condition, and what action the
Borrower has taken, is taking and proposes to take with respect thereto;

               (g)      Notice of Litigation. Promptly upon any Authorized Officer of the
Borrower obtaining knowledge of (i) any Adverse Proceeding not previously disclosed in writing
by the Borrower to Lenders, or (ii) any development in any Adverse Proceeding that, in the case
of either clause (i) or (ii), is reasonably expected to be adversely determined and, if reasonably
expected to be adversely determined, such adverse determination would reasonably be expected
to have a Material Adverse Effect, written notice thereof together with such other information as


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may be reasonably available to the Borrower to enable Lenders and their counsel to evaluate such
matters (provided, that the Borrower shall not be obligated to provide information relating to such
matters solely to the extent the provision of such information would result in a loss of attorney-
client privilege or other similar privilege);

               (h)     [Reserved];

               (i)     [Reserved];

               (j)     [Reserved];

               (k)     [Reserved];

               (l)     [Reserved];

                 (m)    Other Information. (A) Promptly upon their becoming available, copies of
(i) all financial statements, reports, notices and proxy statements sent or made available generally
by DMFHL or Holdings, as applicable, or made available by any of its Subsidiaries to its material
bondholders or holders of any other of its material debt securities acting in such capacity or made
available by any Subsidiary of DMFHL or Holdings, as applicable, to its debt security holders
other than DMFHL or Holdings or another Subsidiary of DMFHL or Holdings, (ii) all regular and
periodic reports and all registration statements and prospectuses, if any, filed by DMFL or
Holdings or any of its Subsidiaries with any securities exchange or with the Securities and
Exchange Commission or any other Governmental Authority, (iii) all press releases and other
statements made available generally by DMFHL or Holdings, as applicable, or any of its
Subsidiaries to the public concerning material developments in the business of DMFHL or
Holdings or any of its Subsidiaries; provided, that subclauses (i) and (ii) of this clause (A) shall
not require delivery of any such information as the result of customary reporting or filing
requirements in foreign jurisdictions, and (B) promptly following written request, such other
information and data with respect to DMFL or Holdings or any of its Subsidiaries as from time to
time may be reasonably requested by Administrative Agent or any Lender; and

               (n)      Certification of Public Information. The Borrower and each Lender
acknowledge that certain of the Lenders may be Public Lenders and, if documents or notices
required to be delivered pursuant to this Section 5.1 or otherwise are being distributed through
IntraLinks/IntraAgency, SyndTrak or another relevant website or other information platform (the
“Platform”), solely to the extent the Borrower has indicated that a document or notice contains
only Public-Side Information should such document or notice shall be posted on that portion of
the Platform designated for such Public Lenders. The Borrower agrees to clearly designate all
information provided to Administrative Agent by or on behalf of the Borrower which contains
only Public-Side Information, and by doing so shall be deemed to have represented that such
information contains only Public-Side Information. If the Borrower has not indicated whether a
document or notice delivered pursuant to this Section 5.1 contains Private-Side Information,
Administrative Agent reserves the right to post such document or notice solely on that portion of
the Platform designated for Private Lenders. The Borrower acknowledges and agrees that the list
of Disqualified Institutions shall be deemed to be suitable for posting on a portion of the Platform
for Public Lenders and may be posted on the Effective Date to all Lenders by the Administrative


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Agent, and thereafter all written supplements updating the list of Disqualified Institutions may be
posted to all Lenders by the Administrative Agent after receipt thereof from the Borrower.

         5.2.    Existence. Except as otherwise permitted under Section 6.8, each Credit Party
will, and will cause each of its Subsidiaries to, at all times preserve and keep in full force and effect
its existence and all rights and franchises, licenses and permits material to its business, except as
expressly permitted by Section 6.8; provided, that no Credit Party (other than the Borrower with
respect to existence) or any of its Subsidiaries shall be required to preserve any such existence,
right or franchise, licenses and permits if the failure to so preserve would not reasonably be
expected to result in a Material Adverse Effect.

        5.3.     Payment of Taxes. Each Credit Party will, and will cause each of its Subsidiaries
to, pay all Taxes imposed upon it or any of its properties or assets or in respect of any of its income
before any penalty or fine accrues thereon; provided, that no such Tax need be paid if (a) it is being
contested in good faith by appropriate proceedings promptly instituted and diligently conducted,
so long as (x) adequate reserve or other appropriate provision, as shall be required in conformity
with IFRS shall have been made therefor, and (y) in the case of a Tax or claim which has or may
become a Lien against any of the Collateral, such contest proceedings conclusively operate to stay
the sale of any portion of the Collateral to satisfy such Tax or claim or (b) the failure to pay such
Taxes would not reasonably be expected to result in a Material Adverse Effect.

         5.4.    Maintenance of Properties. Each Credit Party will, and will cause each of its
Subsidiaries to, maintain or cause to be maintained in good repair, working order and condition,
ordinary wear and tear, casualty and condemnation excepted, all material properties used or useful
in the business of Holdings and its Subsidiaries and from time to time will make or cause to be
made all appropriate repairs, renewals and replacements thereof, except, in each case, where the
failure to do so would not reasonably be expected to result in a Material Adverse Effect.

        5.5.     Insurance. Holdings will maintain or cause to be maintained, with reputable
insurers, such public liability insurance, third party property damage insurance, business
interruption insurance and casualty insurance with respect to liabilities, losses or damage in respect
of the assets, properties and businesses of Holdings and its Subsidiaries as may customarily be
carried or maintained under similar circumstances by Persons of established reputation engaged in
Similar Businesses, in each case in such amounts (giving effect to self-insurance), with such
deductibles, covering such risks and otherwise on such terms and conditions as shall be customary
for such Persons, in each case as determined by Holdings in its business judgment. Without
limiting the generality of the foregoing, Holdings will maintain or cause to be maintained (a) flood
insurance with respect to each Flood Hazard Property in respect of any real property that is located
in a community that participates in the Flood Program, in each case in compliance with any
applicable regulations of the Board of Governors solely to the extent that any such flood insurance
relating to such real property is required by law, and (b) replacement value casualty insurance on
the Collateral under such policies of insurance, with such insurance companies, in such amounts,
with such deductibles, and covering such risks as are at all times carried or maintained under
similar circumstances by Persons of established reputation engaged in Similar Businesses.

        5.6.     Books and Records; Inspections. Each Credit Party will, and will cause each of
its Subsidiaries to, keep proper books of record and accounts in which full, true and correct entries


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in conformity in all material respects with IFRS shall be made of all dealings and transactions in
relation to its business and activities. Each Credit Party will, and will cause each of its Subsidiaries
to, permit any authorized representatives designated by the Administrative Agent to visit and
inspect any of the properties of any Credit Party and any of its respective Subsidiaries, to inspect,
copy and take extracts from its and their financial and accounting records, and to discuss its and
their affairs, finances and accounts with its and their officers and independent public accountants
(provided that an officer of the Borrower shall be given a reasonable opportunity to be present at
all meetings with the accountants of the Credit Parties), all upon reasonable notice and at such
reasonable times during normal business hours; provided, that absent an Event of Default, only
one such visit per Fiscal Year shall be permitted (and such visit shall be limited to the chief
executive office and such other facilities as reasonably determined by the Administrative Agent
and the Borrower); provided further, that, absent an Event of Default, only one such visit per Fiscal
Year shall be required to be reimbursed by the Credit Parties.

       5.7.      [Reserved].

        5.8.     Compliance with Laws. Each Credit Party will comply, and shall cause each of
its subsidiaries and all other Persons, if any, on or occupying any Facilities to comply, with the
requirements of all applicable laws, rules, regulations and orders of any Governmental Authority
(including all Environmental Laws), except to the extent that non-compliance therewith would not
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect (or, in
the case of the laws, rules, regulations and orders referred to in Section 4.22, except to the extent
that non-compliance therewith is not material); provided that with respect to Anti-Corruption
Laws, anti-money laundering laws and Sanctions Laws, Holdings will, and will cause each of its
subsidiaries to, comply with such laws in all material respects.

       5.9.      [Reserved].

        5.10. Additional Guarantors. In the event that any Person becomes a Subsidiary of any
Credit Party after the Effective Date, Holdings shall, or shall cause such Credit Party, within 15
days of such event (as extended in the sole discretion of the Administrative Agent (acting at the
Direction of the Requisite Lenders)) (i) cause such Subsidiary to become a Guarantor hereunder
by executing and delivering to Administrative Agent and Collateral Agent a Counterpart
Agreement, and (ii) take all such actions and execute and deliver, or cause to be executed and
delivered, all such documents, instruments, agreements, and certificates reasonably requested by
Collateral Agent (acting at the Direction of the Requisite Lenders).

       5.11.     [Reserved].

        5.12. Further Assurances. At any time or from time to time upon the reasonable request
of Administrative Agent (acting at the Direction of the Requisite Lenders), each Credit Party will,
at its expense, promptly execute, acknowledge and deliver such further documents and do such
other acts and things as Administrative Agent or Collateral Agent (each acting at the Direction of
the Requisite Lenders) may reasonably request in order to effect fully the purposes of the Credit
Documents to the extent required under the Credit Documents. In furtherance and not in limitation
of the foregoing but subject to the terms of the Credit Documents, each Credit Party shall take such
actions as Administrative Agent or Collateral Agent (each acting at the Direction of the Requisite


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Lenders) may reasonably request from time to time to ensure that the Obligations are guaranteed
by the Guarantors and are secured by substantially all of the assets of Holdings and its Subsidiaries
and all of the outstanding Equity Interests of the Holdings and its Subsidiaries (subject to
limitations contained in the Credit Documents with respect to Foreign Subsidiaries and the
Excluded Collateral). Notwithstanding anything to the contrary herein, neither Holdings nor any
of its Subsidiaries shall be required to grant a security interest in the Excluded Collateral.

        5.13. Maintenance of Ratings. The Borrower shall use commercially reasonable efforts
to obtain within thirty (30) calendar days after the date that the Final Order is entered and maintain
(i) a public corporate family rating (but no specific rating) issued by Moody’s and a public
corporate credit rating issued by S&P and (ii) a public credit rating (but no specific rating) from
each of Moody’s and S&P with respect to the Term Loans.

       5.14.    [Reserved].

       5.15.    [Reserved].

        5.16. Use of Proceeds. Subject to the terms and conditions herein, use the proceeds of
the Loans on or after the Effective Date, solely in accordance with the DIP Orders and the
Approved DIP Budget (subject to the Permitted Variance), including to: (i) pay related transaction
costs, fees and expenses (including attorney’s fees required to be paid hereunder with respect to
the DIP Facility, (ii) fund interest, fees, and other payments contemplated in respect of the DIP
Facility and adequate protection payments contemplated by the DIP Orders, (iii) provide working
capital and for other general corporate purposes of the Credit Parties and their Subsidiaries, (iv)
fund the costs of the administration of the Chapter 11 Cases and claims or amounts approved by
the Bankruptcy Court for payment, including amounts paid pursuant to customary “first day”
orders, and (v) fund and pay obligations arising out of, or that are related to, the Carve Out. The
Credit Parties shall not be permitted to use the proceeds of the Loans or any cash collateral in
contravention of the provisions of the Credit Documents, the Approved DIP Budget (subject to the
Permitted Variance), the DIP Orders or the Bankruptcy Code; provided, that this Section 5.16 shall
not be construed to limit Allowed Professional Fees.

        5.17. ERISA. When applicable, (a) the Borrower will furnish to the Administrative
Agent promptly following receipt thereof, copies of any documents described in Section 101(k) or
101(l) of ERISA that any Credit Party or any of its Subsidiaries may request with respect to any
Multiemployer Plan to which a Credit Party or any of its Subsidiaries is obligated to contribute;
provided that if the Credit Parties or any of their Subsidiaries have not requested such documents
or notices from the administrator or sponsor of the applicable Multiemployer Plan, then, upon
reasonable request of the Administrative Agent (acting at the Direction of the Requisite Lenders),
applicable Credit Party or Subsidiary shall promptly make a request for such documents or notices
from such administrator or sponsor and the Borrower shall provide copies of such documents and
notices to the Administrative Agent promptly after receipt thereof; provided, further, that the rights
granted to the Administrative Agent in this Section 5.17 shall be exercised not more than once
during a 12-month period, and (b) the Borrower will notify the Administrative Agent promptly
following the occurrence of any ERISA Event that, alone or together with any other ERISA Events




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that have occurred, would reasonably be expected to result in liability of any Credit Party that
would reasonably be expected to have a Material Adverse Effect.

       5.18. Conduct of Business. From and after the Effective Date, no Credit Party shall,
nor shall it permit any of its Subsidiaries to, engage in any business other than (i) the businesses
engaged in by such Credit Party on the Effective Date and extensions thereof or otherwise similar,
incidental, complementary, synergistic, reasonably related, or ancillary to any of the foregoing, in
each case as determined by the Borrower in good faith and (ii) such other lines of business as may
be consented to by Requisite Lenders.

       5.19. Fiscal Year. No Credit Party shall, nor shall it permit any of its Subsidiaries to,
change its Fiscal Year-end from the Sunday closest to April 30, unless approved by the
Administrative Agent (acting at the Direction of the Requisite Lenders), such consent not to be
unreasonably withheld.

        5.20. Transactions with Shareholders and Affiliates. No Credit Party shall, nor shall
it permit any of its Subsidiaries to, directly or indirectly, enter into or permit to exist any transaction
(including the purchase, sale, lease or exchange of any property or the rendering of any service)
with any Affiliate of Holdings on terms that are less favorable to Holdings, the Borrower or that
Subsidiary, as the case may be, than those that might be obtained at the time from a Person who is
not such a holder or Affiliate; provided, that the foregoing restriction shall not apply to:

                (a)   any transaction between Holdings and any Subsidiary, including loans and
other transactions among Holdings and the Subsidiaries or any entity that becomes a Subsidiary
as a result of such loan or other transaction to the extent permitted under this Section 5.20
(excluding, for the avoidance of doubt, any acquisition of an entity from a Person other than
Holdings or a Subsidiary);

               (b)   reasonable and customary fees paid to members of the board of directors (or
similar governing body) of Holdings and its Subsidiaries;

               (c)     compensation arrangements (including bonuses) and other benefits and
indemnification arrangements for directors, officers and other employees of Holdings and its
Subsidiaries entered into in the Ordinary Course of Business;

               (d)    transactions described in Schedule 5.20, and any amendments or
modifications thereto so long as such amendment or modification is not materially less favorable
to Holdings or such Subsidiary than the terms in effect on the Effective Date;

                (e)     [reserved];

                (f)     transactions permitted by Sections 6.4(a),(k) and (l);

                (g)     the Transactions;

               (h)    non-exclusive licensing of intellectual property in the Ordinary Course of
Business that does not interfere with the business of Holdings or any of its Subsidiaries, made in
good faith, for a bona fide business purpose (and not for any other purpose, including, without

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limitation, a “liability management transaction”); and

               (i)   payments to or from, and transactions with, Joint Ventures (to the extent
any such Joint Venture is only an Affiliate as a result of Investments by Holdings and the
Subsidiaries in such Joint Venture) in the Ordinary Course of Business and permitted by
Section 6.6.

        5.21. Lender Advisors; Professional Services Firm. The Lenders (taken as a whole)
shall be entitled to retain or continue to retain (either directly or through counsel) any Lender
Advisor as the Requisite Lenders may deem necessary to provide advice and analysis of the
reporting delivered for the benefit of the Lenders as expressly provided herein. The Credit Parties
shall pay all reasonable and documented out of pocket fees, charges and disbursements of each
Lender Advisor within the timeframe as set forth in the DIP Orders, and all such fees and expenses
shall constitute Obligations and be secured by the Collateral.

        5.22. Weekly Advisor Calls. Commencing the week of [ ], 2025, the Borrower, and
the Borrower’s advisors shall hold weekly calls with the Lender Advisors provided that, to the
extent requested by the Lender Advisors, such weekly call shall include representatives from the
Lenders and the Borrower, as applicable. The date and time of the weekly advisor calls shall be
agreed among the Requisite Lenders and the Borrower.

               5.23.       Milestones. The Borrower shall, or shall cause, the actions and events
set forth on Annex I to occur by the times and dates set forth therein, unless waived by the
Administrative Agent (acting at the Direction of the Requisite Lenders), as any such time and date
may be extended from time to time by the Administrative Agent (acting at the Direction of the
Requisite Lenders); provided that, without limiting the foregoing, where used in Annex I, any
“delivery” required by this Section 5.23 shall require delivery to the Lender Advisors (and all such
deliveries are to be in form and substance satisfactory to the Requisite Lenders in their sole
discretion), as well as to any other Person specified in Annex I attached hereto (each, a
“Milestone” and collectively, the “Milestones”)2.

                   5.24.       Approved DIP Budget.

                (a)    The use of Loans by the Credit Parties under this Agreement and the other
Credit Documents shall be limited in accordance with the Approved DIP Budget (subject to
Permitted Variances). The Approved DIP Budget shall set forth, on a weekly basis, for the period
ending the week of [ ], 2025 covered thereby, the Budgeted Receipts, Budgeted Disbursements
and Budgeted Liquidity for the period commencing with the week that includes the Petition Date
and shall be approved by, and be in form and substance satisfactory to, the Requisite Lenders (it
being acknowledged and agreed that the form of Approved DIP Budget set forth as Exhibit O
hereto is approved by and satisfactory to the Requisite Lenders and is and shall be the Approved
DIP Budget unless and until replaced in accordance with the terms of this Section 5.24). The
Approved DIP Budget shall (i) include line-item reporting, the nature and scope of which shall be
satisfactory to the Requisite Lenders and (ii) otherwise be in form and substance satisfactory to,


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    NTD: Milestone Annex to include all Milestones from the RSA.



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and subject to the approval of, the Requisite Lenders.

                (b)     On or before the fifth (5th) Business Day before the end of each Budget
Period, the Borrower and/or the Administrative Agent (acting at the Direction of the Requisite
Lenders) may request that the Approved DIP Budget be updated by the Borrower for the
subsequent 13-week period (a “Subsequent DIP Budget”), which Subsequent DIP Budget shall
be in form and substance satisfactory to, and subject to the approval of, the Requisite Lenders;
provided that Subsequent DIP Budget shall be deemed to an Approved DIP Budget absent
response or objection by the Requisite Lenders (which objection may be communicated by means
of a Direction of the Requisite Lenders) within ten (10) Business Days of receipt; provided, further,
however, that in the event the Requisite Lenders, on the one hand, and the Borrower, on the other
hand, cannot agree as to a Subsequent DIP Budget, the then current Approved DIP Budget shall
remain in effect and the Borrower shall be required to work in good faith with the Requisite
Lenders to modify such Subsequent DIP Budget until the Requisite Lenders approve such
Subsequent DIP Budget as an “Approved DIP Budget”. Each Approved DIP Budget delivered to
the Administrative Agent and the Lender Advisors shall be accompanied by such supporting
documentation as reasonably requested by the Requisite Lenders. Each Approved DIP Budget
shall be prepared in good faith based upon assumptions believed by the Borrower to be reasonable
at the time of preparation thereof.

                (c)    During each Budget Period, Permitted Budget Variances shall be tested on
a cumulative weekly basis for the following periods (each, a “Testing Period”) (i) the first and
second weeks of such Budget Period, (ii) the first, second and third weeks of such Budget Period
and (iii) such Budget Period in its entirety. With respect to each Budget Period, the Borrower shall
not permit, for any Testing Period during such Budget Period: (x) Actual Disbursements (in the
aggregate) to be more than 115% (on a cumulative basis during the Budget Period) of the Budgeted
Disbursements (for the avoidance of doubt, excluding the fees and expenses of Professional
Persons (as defined in the DIP Orders)) (in the aggregate) as set forth in the Approved DIP Budget
with respect to such period; and (y) Actual Receipts (in the aggregate) to be less than 85% (on a
cumulative basis during the Budget Period) of the Budgeted Receipts (in the aggregate) as set forth
in the Approved DIP Budget with respect to such period (the “Permitted Variances”).

                (d)   With respect to each Testing Period in a Budget Period, the Borrower shall
deliver to the Administrative Agent and the Lenders on or before 5:00 p.m. New York City time
on Friday of the week immediately following the end of such Testing Period, an Approved DIP
Budget Variance Report.

                (e)    The Borrowers shall deliver to the Administrative Agent and the Lender
Advisors concurrently with the delivery of the Approved DIP Budget Variance Report pursuant to
clause (d) above, a certificate which shall include such detail as is reasonably satisfactory to the
Requisite Lenders, signed by a Responsible Officer of the Borrower certifying that (i) the Credit
Parties are in compliance with the covenants contained in Section 5.24, (ii) no Default or Event of
Default has occurred or, if such a Default or Event of Default has occurred, specifying the nature
and extent thereof and any corrective action taken or proposed to be taken with respect thereto,
and (iii) the Credit Parties are in compliance with the Minimum Liquidity Covenant set forth in
Section 6.9.



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                (f)    The Lenders (i) may assume that the Credit Parties will comply with the
Approved DIP Budget (subject to Permitted Variances), (ii) shall have no duty to monitor such
compliance and (iii) shall not be obligated to pay (directly or indirectly from the Collateral) any
unpaid expenses incurred or authorized to be incurred pursuant to any Approved DIP Budget. The
line items in the Approved DIP Budget for payment of interest, expenses and other amounts to the
Administrative Agent and the Lenders are estimates only, and the Credit Parties remain obligated
to pay any and all Obligations in accordance with the terms of the Credit Documents regardless of
whether such amounts exceed such estimates. Nothing in any Approved DIP Budget shall
constitute an amendment or other modification of any Credit Document or other lending limits set
forth therein.

                5.25.      Cash Management. Maintain the cash management of the Credit
Parties in accordance in all material respects with the Cash Management Order.

          SECTION 6.           NEGATIVE COVENANTS

                Each Credit Party covenants and agrees that, so long as any Commitment is in effect
and until Payment in Full of all Obligations, such Credit Party shall perform, and shall cause each
of its Subsidiaries to perform, all covenants in this Section 6.

        6.1.     Indebtedness. No Credit Party shall, nor shall it permit any of its Subsidiaries to,
directly or indirectly, create, incur, assume or guaranty, or otherwise become or remain directly or
indirectly liable with respect to any Indebtedness, except:

                  (a)      the Obligations;

                (b)    Indebtedness of any Subsidiary to Holdings or to any other Subsidiary, or
of Holdings to any Subsidiary; provided, that (i) all such Indebtedness shall be evidenced by the
Intercompany Note, (ii) all such Indebtedness shall be unsecured and subordinated in right of
payment to the Payment in Full of the Obligations pursuant to the terms of the Intercompany Note
and (iii) such Indebtedness is permitted as an Investment under Sections 6.6(e), (k), (l) or (m);

              (c)      (i) Indebtedness incurred under the ABL DIP Credit Agreement and any
other ABL DIP Credit Document not to exceed at any time $[500,000,000]3 and (ii) Indebtedness
under the Prepetition Credit Agreement;

               (d)     Indebtedness incurred by Holdings or any of its Subsidiaries arising from
agreements providing for indemnification, adjustment of purchase price, holdbacks or similar
obligations or from guaranties or letters of credit, bank guarantees, surety bonds or performance
bonds securing the performance of Holdings or any such Subsidiary pursuant to such agreements,
in connection with Investments permitted hereunder or permitted dispositions of any business,
assets or Subsidiary of Holdings or any of its Subsidiaries in the Ordinary Course of Business;

                  (e)      [reserved];


3
    NTD: To equal the amount of ABL DIP Commitments on the Effective Date.



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                (f)     obligations (including in respect of letters of credit, bank guarantees,
bankers’ acceptances, or similar instruments issued or created in the Ordinary Course of Business)
in respect of bids, tenders, trade contracts, governmental contracts and leases, statutory obligations,
surety, stay, customs, bid, and appeal bonds, performance and return of money bonds, performance
and completion guarantees, agreements with utilities and other obligations of a like nature
(including those to secure health, safety and environmental obligations, including in respect of
workers’ compensation, unemployment insurance and other social security legislation, health,
disability or other employee benefits or property, casualty or liability insurance), in each case
(other than in the case of appeal bonds) in the Ordinary Course of Business;

                 (g)    Indebtedness arising from (i) the honoring by a bank or other financial
institution of a check, draft or similar instrument drawn against insufficient funds in the Ordinary
Course of Business, in respect of netting services, overdraft protections and otherwise in
connection with deposit accounts, employee credit card programs and (ii) other cash management
and similar arrangements, in the case of clause (ii), in the Ordinary Course of Business;

                (h)    guaranties in the Ordinary Course of Business of the obligations of
suppliers, customers, franchisees and licensees of Holdings and its Subsidiaries;

                (i)    guaranties by Holdings of Indebtedness of a Subsidiary or guaranties by a
Subsidiary of Indebtedness of Holdings or another Subsidiary with respect, in each case, to
Indebtedness otherwise permitted to be incurred pursuant to this Section 6.1; provided, that if the
Indebtedness that is being guarantied is unsecured and/or subordinated to the Obligations, the
guaranty shall also be unsecured and/or subordinated to the Obligations; provided, further, that no
Credit Party shall guarantee the Indebtedness of a Subsidiary that is not a Credit Party unless such
guarantee is also permitted under Section 6.6;

                (j)     (i) Indebtedness (other than Capital Leases and purchase money
Indebtedness, which shall be deemed incurred pursuant to Section 6.1(k)) of Holdings and/or any
Subsidiary existing, or pursuant to commitments existing, on the Effective Date and (ii) to the
extent such Indebtedness is in excess of $1,000,000, described in Schedule 6.1 as of the Effective
Date, but not any extensions, renewals or replacements of such Indebtedness except renewals and
extensions expressly provided for in the agreements evidencing any such Indebtedness as the same
are in effect on the date of this Agreement; provided, that such Indebtedness shall not (A) include
Indebtedness of an obligor that was not an obligor with respect to the Indebtedness being extended,
renewed or refinanced, (B) exceed in a principal amount the Indebtedness being renewed, extended
or refinanced plus accrued interest, fees and premiums (if any) thereon and reasonable fees and
expenses associated with the refinancing or (C) be incurred, created or assumed if any Default or
Event of Default under Section 8.1(a), (f) or (g) has occurred and is continuing or would result
therefrom;

               (k)     [reserved];

               (l)     [reserved];

               (m)     [reserved];



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                (n)    other unsecured Indebtedness of Holdings and its Subsidiaries that are
Credit Parties in the Ordinary Course of Business, made in good faith, for a bona fide business
purpose (and not for any other purpose, including, without limitation, a “liability management
transaction”), in an aggregate amount not to exceed at any time $1,000,000;

              (o)     [reserved];

              (p)     [reserved];

              (q)     [reserved];

              (r)     [reserved];

              (s)     [reserved];

                (t)     Indebtedness representing deferred compensation to current or former
officers, directors, managers, consultants and employees members of management and consultants
of Holdings and its Subsidiaries incurred in the Ordinary Course of Business;

              (u)     [reserved];

                (v)    Indebtedness consisting (i) solely of obligations under Insurance Premium
Financing Arrangements or (ii) of take-or-pay obligations contained in supply arrangements, in
each case, in the Ordinary Course of Business;

              (w)     [reserved];

               (x)    Indebtedness consisting of Interest Rate Agreements and Currency
Agreements; provided, that such obligations are entered into in the Ordinary Course of Business,
made in good faith, for a bona fide business purpose (and not for any other purpose, including,
without limitation, a “liability management transaction”), for the purpose of mitigating risks
associated with liabilities, commitments, investments, assets or property held or reasonably
anticipated by such Person, and not for purposes of speculation;

              (y)     [reserved];

              (z)     [reserved];

              (aa)    [reserved]; and

               (bb) Indebtedness of Subsidiaries of Holdings that are non-Credit Parties
incurred under working capital lines not to exceed $1,000,000 in the Ordinary Course of Business,
made in good faith, for a bona fide business purpose (and not for any other purpose, including,
without limitation, a “liability management transaction”).

       Notwithstanding the foregoing, Indebtedness of the Borrower or any Credit Party owing to
Holdings, the Borrower or another Subsidiary that is not a Credit Party shall be unsecured,
subordinated in right of payment to the Guaranty of Holdings, the Borrower or such Guarantor as


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the case may be and any guarantee by Holdings, the Borrower or any Credit Party of Indebtedness
of Holdings, the Borrower or another Subsidiary that is not a Credit Party shall be subordinated in
right of payment to the Guaranty of Holdings, the Borrower or such Guarantor as the case may be.

        6.2.     Liens. No Credit Party shall, nor shall it permit any of its Subsidiaries to, directly
or indirectly, create, incur, assume or permit to exist any Lien on or with respect to any property
or asset of any kind (including any document or instrument in respect of goods or accounts
receivable) of Holdings or any of its Subsidiaries, whether now owned or hereafter acquired or
licensed, or any income, profits or royalties therefrom, or file or permit the filing of, or permit to
remain in effect, any financing statement or other similar notice of any Lien with respect to any
such property, asset, income, profits or royalties under the UCC of its State of organization or
under any similar recording or notice statute or under any applicable intellectual property laws,
rules or procedures, except:

               (a)     Liens on Indebtedness permitted by Section 6.1(a) and Liens otherwise
granted to secure the Obligations pursuant to the Credit Documents;

               (b)    Liens for Taxes (i) if obligations with respect to such Taxes are being
contested in good faith by appropriate proceedings promptly instituted and diligently conducted
and adequate reserves have been made in accordance with IFRS or (ii) if the failure to pay such
amounts would not reasonably be expected to result in a Material Adverse Effect;

               (c)     statutory Liens of landlords, banks (and rights of set-off), of carriers,
warehousemen, mechanics, repairmen, construction contractors, workmen and materialmen, and
other Liens imposed by law (other than any such Lien imposed pursuant to Section 430(k) of the
Internal Revenue Code or ERISA or a violation of Section 436 of the Internal Revenue Code), in
each case incurred in the Ordinary Course of Business (i) for amounts not yet overdue or (ii) for
amounts that are overdue and that (in the case of any such amounts overdue for a period in excess
of sixty days) are being contested in good faith by appropriate proceedings, so long as such
reserves or other appropriate provisions, if any, as shall be required by IFRS shall have been made
for any such contested amounts;

                (d)    Liens incurred in the Ordinary Course of Business in connection with
workers’ compensation, unemployment insurance and other types of social security legislation,
health, disability or other employee benefits (other than any such Lien imposed pursuant to
Section 430(k) of the Internal Revenue Code or ERISA or a violation of Section 436 of the Internal
Revenue Code), or to secure the performance of tenders, statutory obligations, stay, customs,
surety and appeal bonds, bids, leases, government contracts, trade contracts, performance and
return-of-money bonds, performance and completion guarantees, agreements with utilities and
other similar obligations (exclusive of obligations for the payment of borrowed money or other
Indebtedness), so long as no foreclosure, sale or similar proceedings have been commenced with
respect to any portion of the Collateral on account thereof;

                (e)    easements, rights-of-way, servitudes, restrictions, protrusions, covenants,
variations in area of measurement, encroachments, declarations on or with respect to the use of
property, and other minor defects or irregularities in title, in each case which do not and will not



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interfere in any material respect with the ordinary conduct of the business and consistent with the
past practice of Holdings or any of its Subsidiaries and do not secure any monetary obligations;

                 (f)    any interest or title of a lessor or sublessor under any lease which does not
(i) interfere in any material respect with the business of Holdings and its Subsidiaries, taken as a
whole, or (ii) secure any Indebtedness for borrowed money;

               (g)    Liens solely on any cash earnest money deposits made by Holdings or any
of its Subsidiaries in connection with any letter of intent or purchase agreement permitted
hereunder;

               (h)    purported Liens evidenced by the filing of precautionary UCC financing
statements relating solely to operating leases of personal property entered into in the Ordinary
Course of Business;

              (i)     Liens in favor of customs and revenue authorities arising as a matter of law
to secure payment of customs duties in connection with the importation of goods;

               (j)     any zoning or similar law or right reserved to or vested in any governmental
office or agency to control or regulate the use of any real property;

                 (k)     licenses of patents, copyrights, trademarks and other intellectual property
rights granted by Holdings or any of its Subsidiaries in the Ordinary Course of Business, made in
good faith, for a bona fide business purpose (and not for any other purpose, including, without
limitation, a “liability management transaction”);

                 (l)    (i) Liens existing on the Effective Date, (ii) to the extent securing
obligations in excess of $1,000,000, Liens described in Schedule 6.2 or (iii) Liens described on a
title report delivered pursuant to Section 5.11;

               (m)     [reserved];

               (n)     [reserved];

               (o)     other Liens on assets securing Indebtedness or other obligations in an
aggregate amount at any time outstanding not to exceed $1,000,000; provided, that if such Lien is
securing Indebtedness for borrowed money, such Lien shall be expressly subordinated or junior to
the Liens securing the Obligations;

               (p)     [reserved];

               (q)     [reserved];

               (r)     [reserved];

                (s)    Liens arising from judgments or orders for the payment of money (or appeal
or other surety bonds relating thereto) not constituting an Event of Default;



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                (t)      Liens (i) of a collection bank arising under Section 4-208 of the UCC or
similar provisions of applicable law on items in the course of collection, (ii) in favor of a banking
or other financial institution arising as a matter of common or statutory law encumbering deposits
or other funds maintained with a financial institution (including the right of setoff (A) relating to
the establishment of depository relations with banks or other deposit-taking financial institutions
in the Ordinary Course of Business and not given in connection with the issuance of Indebtedness
and (B) relating to pooled deposit, automatic clearinghouse accounts or sweep accounts of
Holdings or any of its Subsidiaries to permit satisfaction of overdraft or similar obligations
incurred in the Ordinary Course of Business); and (iii) in connection with cash management
arrangements entered into in the Ordinary Course of Business;

                (u)    Liens consisting of an agreement to dispose of any property in a disposition
permitted under Section 6.8, solely to the extent such disposition would been permitted on the date
of the creation of such Lien;

              (v)    Liens on property of a Subsidiary that is not a Credit Party in respect of
Indebtedness permitted under Section 6.1(bb);

               (w)    (i) Liens arising out of conditional sale, title retention, consignment or
similar arrangements for sale of goods entered into by Holdings or any of its Subsidiaries in the
Ordinary Course of Business and (ii) Liens or similar provisions of applicable law under Article 2
of the UCC or similar provisions of applicable law in favor of a seller or buyer of goods;

                (x)    with respect to any Foreign Subsidiary, other Liens and privileges arising
as a matter of law;

              (y)     Liens created pursuant to Insurance Premium Financing Arrangements
otherwise permitted under this Agreement, so long as such Liens attach only to gross unearned
premiums for the insurance policies and related rights;

             (z)     customary rights of first refusal and tag, drag and similar rights in Joint
Venture agreements entered into in the Ordinary Course of Business;

                (aa) Liens on cash and Cash Equivalents (which may be in the form of letters of
credit or bank guarantees) securing Interest Rate Agreements, Currency Agreements and/or other
hedging contracts, agreements, confirmations or other similar transaction or arrangement enter into
in the Ordinary Course of Business, made in good faith, for a bona fide business purpose (and not
for any other purpose, including, without limitation, a “liability management transaction”), for the
purpose of mitigating risks associated with liabilities, commitments, investments, assets or
property held or reasonably anticipated by such Person, and not for purposes of speculation, in
each case to the extent not consisting of part of the Obligations in an aggregate amount at any time
outstanding not to exceed $1,000,000; and

               (bb) Liens on Specified Intellectual Property (and proceeds thereof) in favor of
licensees of such Specified Intellectual Property licensed by any of Holdings and its Subsidiaries
to such licensee, which Liens secure damage claims in the event of a rejection of such applicable
license in a bankruptcy case under Debtor Relief Laws, provided such Liens are subject to the
License Intercreditor Agreement.

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       6.3.     [Reserved].

        6.4.     Restricted Junior Payments. No Credit Party shall, nor shall it permit any of its
Subsidiaries through any manner or means or through any other Person to, directly or indirectly,
declare, order, pay, make or set apart, or agree to declare, order, pay, make or set apart, any sum
for any Restricted Junior Payment except that:

                (a)     any Subsidiary of Holdings may declare and pay dividends or make other
distributions ratably to its equity holders;

               (b)     [reserved];

               (c)     [reserved];

               (d)     [reserved];

               (e)     [reserved];

               (f)     [reserved];

               (g)     [reserved];

               (h)     [reserved];

               (i)    Holdings and its Subsidiaries may make regularly scheduled payments of
interest in respect of any Subordinated Indebtedness in accordance with the terms of the
subordination agreement applicable thereto;

               (j)     [reserved];

                 (k)    if and for so long as the Borrower files or joins in filing a consolidated,
combined, unitary or similar federal, state, provincial, territorial or local income tax return with
Holdings (or any other direct or indirect parent entity of the Borrower) of which Holdings or any
other direct or indirect parent entity of the Borrower is the common parent, the Borrower may
make, and may cause its Subsidiaries to make, distributions, directly or indirectly, to Holdings
(and/or any other direct or indirect parent entity of the Borrower) to permit such entities to pay
federal, state, provincial, territorial and/or local income Taxes (and franchise Taxes), as applicable,
attributable to the income of the Borrower and/or its Subsidiaries then due and payable for such
taxable period in respect of which a tax return is filed by Holdings or such direct or indirect parent
entity of the Borrower that includes the Borrower (for the avoidance of doubt, taking into account
any net operating losses or other attributes of the Borrower or its Subsidiaries to the extent such
attributes would reduce the Taxes of the Borrower or its Subsidiaries if calculated on a stand-alone
basis or as a stand-alone group) and reduced by the amount of such Taxes directly paid by the
Borrower and/or its Subsidiaries to an applicable Governmental Authority; provided that the
amount of such distributions for any taxable period shall not be greater than the amount of such
Taxes that would have been due and payable by the Borrower and its applicable Subsidiaries for
such taxable period had the Borrower and its applicable Subsidiaries paid such Taxes on a stand-
alone basis or as a stand-alone group;


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                (l)    Holdings may make Restricted Junior Payments to the direct or indirect
parent company of Holdings to permit such parent company to pay, without duplication, the
following expenses to the extent such costs and expenses are attributable to the ownership or
operation of Holdings and its Subsidiaries, including Holdings’ proportionate share of such amount
relating to such parent company being a public company, in each case in the Ordinary Course of
Business:

                       (i)    ordinary course corporate operating and overhead expenses
consistent with past practices (including administrative, legal, accounting and similar expenses
provided by third parties) and other fees and expenses required to maintain its or their corporate
existence (including franchise and similar Taxes);

                       (ii)   reasonable fees and expenses in connection with compliance with
reporting obligations under, or connection with compliance with applicable law;

                       (iii) cash, in lieu of issuing fractional shares, in connection with the
exercise of warrants, options or other securities convertible into or exchangeable for Equity
Interests of such Person;

                       (iv)   reasonable directors’ fees and indemnification payments, in each
case of such direct parent company; and

                        (v)     Public Company Costs; and

               (m)   so long as such payment is in accordance with the Approved DIP Budget,
payments made to DMFI pursuant to the terms of (i) the Transition Services Agreement and (ii)
the Contribution Agreement, in the case of this clause (ii) in respect of liabilities owing by the
Borrower to DMFI under Section 18 of the Contribution Agreement.

        Notwithstanding anything to the contrary contained in this Agreement, in no event shall
(a) the Borrower or any Credit Party sell, transfer or otherwise dispose of any Material Property
(whether pursuant to a sale, lease, license, transfer, Investment, restricted payment, dividend or
otherwise or relating to the exclusive rights thereto) to any Subsidiary that is not a Credit Party;
provided that in no event shall this sentence prohibit the Borrower or its Subsidiaries from entering
into non-exclusive licensing arrangements of Intellectual Property to a Subsidiary in the Ordinary
Course of Business for a bona fide business purpose and (b) no Subsidiary that is not a Credit Party
shall own or hold an exclusive license to any Material Property.

        6.5.     Restrictions on Subsidiary Distributions. Except as provided herein, no Credit
Party shall, nor shall it permit any of its Subsidiaries to, create or otherwise cause or suffer to exist
or become effective any consensual encumbrance or restriction of any kind on the ability of any
Subsidiary of Holdings to:

               (a)    pay dividends or make any other distributions on any of such Subsidiary’s
Equity Interests owned by Holdings or any other Subsidiary of Holdings,

              (b)     repay or prepay any Indebtedness owed by such Subsidiary to Holdings or
any other Subsidiary of Holdings,

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               (c)     make loans or advances to Holdings or any other Subsidiary of Holdings,
or

               (d)    transfer, lease or license any of its property or assets to Holdings or any
other Subsidiary of Holdings

       other than, in each case:

                              (A)     restrictions:

                                      (i)    by reason of customary provisions restricting
                       assignments, subletting or other transfers contained in leases, licenses, Joint
                       Venture agreements and similar agreements entered into in the Ordinary
                       Course of Business,

                                      (ii)    that are or were created by virtue of any transfer of,
                       agreement to transfer or option or right with respect to any property, assets
                       or Equity Interests not otherwise prohibited under this Agreement,

                                      (iii)   described on Schedule 6.5,

                                      (iv)    [reserved],

                                     (v)    in any agreement, document, instrument or other
                       arrangement that is assumed by Holdings or any of its Subsidiaries (or
                       existed at the time such Person was acquired) in connection with an
                       Investments permitted hereunder (and was not created in contemplation of
                       such Investment),

                                      (vi)    on cash or other deposits imposed by customers
                       under contracts entered into in the Ordinary Course of Business or arise in
                       connection with cash or cash deposits permitted under Section 6.2 and
                       limited to such cash or cash deposit,

                                      (vii) imposed by any agreement relating to a Permitted
                       Lien (provided that such restrictions shall only apply to the assets or
                       property secured thereby), or

                              (B)     [reserved], and

                              (C)     agreements      evidencing    Indebtedness     permitted     by
       Section 6.1(c), (k)and (n).

        6.6.     Investments. No Credit Party shall, nor shall it permit any of its Subsidiaries to,
directly or indirectly, make or own any Investment in any Person, including any Joint Venture,
except:

               (a)     Investments in Cash and Cash Equivalents;


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                (b)    (i) equity Investments owned as of the Effective Date in any Subsidiary or
any Joint Venture described in Schedule 6.6(b) and (ii) Investments made after the Effective
Date in (x) Holdings, the Borrower or any Subsidiary, (y) by any Subsidiary that is not a Credit
Party in another Subsidiary that is a wholly owned Subsidiary and (z) by any Subsidiary that is not
a Credit Party in a Credit Party; provided, that any Investments made by Credit Parties in any non-
Credit Party pursuant to clause (ii) shall not exceed $1,000,000 and shall be made in good faith,
for a bona fide business purpose (and not for any other purpose, including, without limitation, a
“liability management transaction”);

                (c)     Investments (i) in any Securities received in satisfaction or partial
satisfaction thereof from financially troubled account debtors and (ii) deposits, prepayments and
other credits to suppliers made in the Ordinary Course of Business;

               (d)    Investments consisting of the purchase of the remaining Equity Interests in
Joint Ventures in which Holdings or a Subsidiary owned as of the Effective Date;

               (e)      intercompany loans and guarantees to the extent permitted under
Sections 6.1(b), (i) and (n);

               (f)     [reserved];

               (g)     [reserved];

               (h)     [reserved];

               (i)     Investments described in Schedule 6.6(i) as of the Effective Date;

               (j)     Interest Rate Agreements and Currency Agreements which constitute
Investments;

               (k)     reserved;

               (l)     [reserved];

               (m)     [reserved];

               (n)     Investments consisting of extensions of credit in the nature of accounts
receivable or securities of trade creditors or customers that are received in settlement of bona fide
disputes arising from the grant of trade credit in the Ordinary Course of Business;

             (o)    to the extent constituting Investments, Permitted Liens and Restricted
Junior Payments permitted under Section 6.4;

               (p)      guarantees of (i) leases (other than Capital Leases) or of other obligations
that do not constitute Indebtedness, in each case entered into in the Ordinary Course of Business,
and (ii) Indebtedness to the extent permitted under Section 6.1 and other obligations of Credit
Parties not prohibited hereunder;



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               (q)    promissory notes and other non-cash consideration that is permitted to be
received in connection with dispositions permitted by Section 6.8 (other than Section 6.8(p));

               (r)    loans and advances to the direct parent of Holdings in lieu of, and not in
excess of the amount of (after giving effect to any other loans, advances or Restricted Junior
Payments in respect thereof), Restricted Junior Payments to the extent permitted to be made to
such Person in accordance with Section 6.4; and

            (s)    advances of payroll payments to directors, officers, employees, members of
management and consultants in the Ordinary Course of Business.

For purposes of this Section 6.6, the amount of any Investment shall be the amount actually
invested, without adjustment for subsequent increases or decreases in the value of such Investment
(including any write-downs or write-offs thereof) but giving effect to any cash returns or cash
distributions received by such Person with respect thereto in an amount not to exceed the original
amount of such Investment. Notwithstanding the foregoing, in no event shall any Credit Party
make any Investment which results in or facilitates in any manner any Restricted Junior Payment
not otherwise permitted under the terms of Section 6.4.

                        Notwithstanding anything to the contrary contained in this Agreement, in
no event shall (a) the Borrower or any Credit Party sell, transfer or otherwise dispose of any
Material Property (whether pursuant to a sale, lease, license, transfer, Investment, restricted
payment, dividend or otherwise or relating to the exclusive rights thereto) to any Subsidiary that
is not a Credit Party; provided that in no event shall this sentence prohibit the Borrower or its
Subsidiaries from entering into non-exclusive licensing arrangements of Intellectual Property to a
Subsidiary in the ordinary course of business for a bona fide business purpose and (b) any
Subsidiary that is not a Credit Party own or hold an exclusive license to any Material Property.

       6.7.     [Reserved].

        6.8.     Fundamental Changes; Disposition of Assets; Acquisitions. No Credit Party
shall, nor shall it permit any of its Subsidiaries to, enter into any transaction of merger,
consolidation or continuation or migration, or liquidate, wind-up or dissolve itself (or suffer any
liquidation, dissolution or strike-off), or convey, sell, lease or license, exchange, transfer or
otherwise dispose of, in one transaction or a series of transactions, all or any part of its business,
assets or property of any kind whatsoever, whether real, personal or mixed and whether tangible
or intangible, whether now owned or hereafter acquired, leased or licensed, or acquire by purchase
or otherwise (other than purchases or other acquisitions of inventory, materials and equipment and
capital expenditures in the Ordinary Course of Business) the business, property or fixed assets of,
or stock or other evidence of beneficial ownership of, any Person or any division or line of business
or other business unit of any Person, except:

               (a)     any Credit Party or any of its Subsidiaries may be merged with or into the
Borrower or any Credit Party, or be liquidated, wound up or dissolved, or all or any part of its
business, property or assets may be conveyed, sold, leased, transferred or otherwise disposed of,
in one transaction or a series of transactions, to the Borrower or any Credit Party pursuant to the



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Chapter 11 Cases; provided, that in the case of such a merger, the Borrower or such Credit Party,
as applicable shall be the continuing or surviving Person;

               (b)     sales or other dispositions of assets that do not constitute Asset Sales;

                 (c)    Asset Sales so long as (1) the consideration received for such assets shall be
in an amount at least equal to the fair market value thereof (determined in good faith by the board
of directors of the Borrower (or similar governing body)), (2) with respect to Asset Sales in excess
of $1,000,000, no less than 100% thereof shall be paid in Cash and Cash Equivalents; and (3) the
Net Asset Sale Proceeds thereof shall be applied as required by Section 2.14(a);

                (d)     disposals or transfers of obsolete, damaged, worn out or surplus property
and dispositions, abandonment, or expiration of property (including, for the avoidance of doubt,
intellectual property) that, in the Borrower’s reasonable judgment, are no longer necessary, used
or useful in the conduct of the business of Holdings and its Subsidiaries; and

               (e)     [reserved];

              (f)     Investments made in accordance with Section 6.6 and transfer of assets
(including Equity Interests) that are governed by, and made in accordance with, Section 6.4, 6.5,
or 6.6;

               (g)     [reserved];

               (h)     [reserved];

               (i)     [reserved];

               (j)     [reserved];

                (k)     any Subsidiary that is not a Credit Party may be merged with or into another
Subsidiary that is not a Credit Party or be liquidated, wound up or dissolved, or all or any part of
its business, property or assets may be conveyed, sold, leased, transferred or otherwise disposed
of, in one transaction or a series of transactions, to a Subsidiary that is not a Credit Party (it being
understood that for purposes of this Section 6.8(k) and Section 6.6(b)(ii), any merger of a
Subsidiary that is not a Credit Party with or into another Subsidiary that is not a Credit Party may
alternatively be consummated by the sale, distribution or contribution (or a series of sales,
distributions and/or contributions involving the Credit Parties and their subsidiaries) ultimately
resulting in the transfer of the Equity Interests of a Subsidiary that is not a Credit Party to a
Subsidiary that is not a Credit Party);

                (l)   dispositions of property to the extent that (x) such property is exchanged for
credit against the purchase price of similar replacement property or (y) the proceeds of such
disposition are promptly applied to the purchase price of such replacement property;

                 (m)    dispositions of property among Holdings and/or its Subsidiaries; provided
that if the transferor of such property is a Credit Party (i) the transferee thereof must be a Credit
Party or (ii) such Investment must be a permitted Investment in accordance with Section 6.6;


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               (n)     Permitted Liens;

               (o)     [reserved];

               (p)    dispositions of Cash and Cash Equivalents in the Ordinary Course of
Business, made in good faith, for a bona fide business purpose (and not for any other purpose,
including, without limitation, a “liability management transaction”);

               (q)     transfers of assets upon condemnation, the exercise of eminent domain or
casualty events;

              (r)     dispositions of Investments in Joint Ventures or any Subsidiary that is not
wholly owned to the extent required by, or made pursuant to customary buy/sell arrangements
between, the Joint Venture or similar parties set forth in joint venture arrangements and similar
binding arrangements;

                (s)     (i) dispositions or discounts without recourse of accounts receivable in
connection with the compromise or collection thereof in the Ordinary Course of Business; (ii)
dispositions of assets received in settlement of debts accrued in the Ordinary Course of Business;
(iii) a disposition of receivables in connection with the compromise, settlement or collection
thereof in the Ordinary Course of Business or in bankruptcy or similar proceedings and exclusive
of factoring and similar arrangements; and (iv) the sale of delinquent notes and accounts receivable
in the Ordinary Course of Business for purposes of collection only (and not for the purpose of any
bulk sale or securitization transaction);

               (t)     the unwinding of any Interest Rate Agreements or Currency Agreements;

               (u)      any disposition by reason of the exercise of termination rights under any
lease, sublease, license, sublicense, concession or other agreement;

                (v)    leases and subleases of real or personal property and sales, non-exclusive
licenses, transfers and sublicenses of intellectual property that do not interfere with the business
of Holdings and its Subsidiaries; and

                (w)     the Borrower and any Subsidiary may merge, amalgamate or consolidate
with or into any other Subsidiary in order to effect an Investment permitted pursuant to Section 6.6
or transaction permitted pursuant to Section 6.8; provided that if a Credit Party is a party to the
transaction effected pursuant to this clause (w), (i) such Credit Party shall be the continuing or
surviving Person or the continuing or surviving Person shall expressly assume the obligations of
such Credit Party under the Credit Documents in a manner reasonably acceptable to the
Administrative Agent (acting at the Direction of the Requisite Lenders) and (ii) such transaction
shall not result in such Credit Party ceasing to be a Domestic Subsidiary;

        Notwithstanding anything to the contrary contained in this Agreement, in no event shall
(a) the Borrower or any Credit Party sell, transfer or otherwise dispose of any Material Property
(whether pursuant to a sale, lease, license, transfer, Investment, restricted payment, dividend or
otherwise or relating to the exclusive rights thereto) to any Subsidiary that is not a Credit Party;
provided that in no event shall this sentence prohibit the Borrower or its Subsidiaries from entering

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into non-exclusive licensing arrangements of Intellectual Property to a Subsidiary in the ordinary
course of business for a bona fide business purpose and (b) no Subsidiary that is not a Credit Party
shall own or hold an exclusive license to any Material Property.

        6.9.    Minimum Liquidity. The Borrower shall not permit Liquidity at any time to be
less than $50,000,000; provided that such amount shall be reduced by 10% of any paydown of the
ABL Credit Agreement in connection with the implementation of a Cumulative Reserve (as
defined in the ABL Credit Agreement as in effect on the date hereof) up to an aggregate reduction
of up to $25,000,000 (the “Minimum Liquidity Covenant”).

        6.10. Sales and Lease-Backs. No Credit Party shall, nor shall it permit any of its
Subsidiaries to, directly or indirectly, become or remain liable as lessee or as a guarantor or other
surety with respect to any lease, rental or similar arrangement of any property (whether real,
personal or mixed), whether now owned or hereafter acquired, which such Credit Party (a) has
sold or transferred or is to sell or to transfer to any other Person (other than a Credit Party), or
(b) intends to use for substantially the same purpose as any other property which has been or is to
be sold or transferred by such Credit Party to any Person (other than Holdings or any of its
Subsidiaries) in connection with such lease (any such transaction, a “Sale and Leaseback
Transaction”).

        6.11. Material Property. Notwithstanding anything to the contrary contained in this
Agreement, in no event shall (a) the Borrower or any Credit Party sell, transfer or otherwise dispose
of any Material Property (whether pursuant to a sale, lease, license, transfer, Investment, restricted
payment, dividend or otherwise or relating to the exclusive rights thereto) to any Subsidiary that
is not a Credit Party; provided that in no event shall this sentence prohibit the Borrower or its
Subsidiaries from entering into non-exclusive licensing arrangements of Intellectual Property to a
Subsidiary in the ordinary course of business for a bona fide business purpose and (b) no
Subsidiary that is not a Credit Party shall own or hold an exclusive license to any Material Property.

       6.12.    [Reserved].

       6.13.    [Reserved].

       6.14.    [Reserved].

        6.15. Director Appointments. No Credit Party shall, nor shall it permit any of its
Subsidiaries to, appoint, remove, replace, or otherwise modify any directors without the express
written consent of the Requisite Lenders.GUARANTY

        7.1.     Guaranty of the Obligations. Subject to the provisions of Section 7.2, Guarantors
jointly and severally hereby irrevocably and unconditionally guaranty to Administrative Agent,
for the ratable benefit of the Beneficiaries, the due and punctual payment in full of all Obligations
when the same shall become due, whether at stated maturity, by required prepayment, declaration,
acceleration, demand or otherwise (including amounts that would become due but for the operation
of the automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a))
(collectively, the “Guaranteed Obligations”).



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        7.2.     Contribution by Guarantors. All Guarantors desire to allocate among
themselves (collectively, the “Contributing Guarantors”), in a fair and equitable manner, their
obligations arising under this Guaranty. Accordingly, in the event any payment or distribution is
made on any date by a Guarantor (a “Funding Guarantor”) under this Guaranty such that its
Aggregate Payments exceeds its Fair Share as of such date, such Funding Guarantor shall be
entitled to a contribution from each of the other Contributing Guarantors in an amount sufficient
to cause each Contributing Guarantor’s Aggregate Payments to equal its Fair Share as of such date.
“Fair Share” means, with respect to a Contributing Guarantor as of any date of determination, an
amount equal to (a) the ratio of (i) the Fair Share Contribution Amount with respect to such
Contributing Guarantor to (ii) the aggregate of the Fair Share Contribution Amounts with respect
to all Contributing Guarantors multiplied by (b) the aggregate amount paid or distributed on or
before such date by all Funding Guarantors under this Guaranty in respect of the Guaranteed
Obligations. “Fair Share Contribution Amount” means, with respect to a Contributing
Guarantor as of any date of determination, the maximum aggregate amount of the obligations of
such Contributing Guarantor under this Guaranty that would not render its obligations hereunder
or thereunder subject to avoidance as a fraudulent transfer or conveyance under Section 548 of
Title 11 of the United States Code or any comparable applicable provisions of state law; provided,
that solely for purposes of calculating the Fair Share Contribution Amount with respect to any
Contributing Guarantor for purposes of this Section 7.2, any assets or liabilities of such
Contributing Guarantor arising by virtue of any rights to subrogation, reimbursement or
indemnification or any rights to or obligations of contribution hereunder shall not be considered
as assets or liabilities of such Contributing Guarantor. “Aggregate Payments” means, with
respect to a Contributing Guarantor as of any date of determination, an amount equal to (1) the
aggregate amount of all payments and distributions made on or before such date by such
Contributing Guarantor in respect of this Guaranty (including in respect of this Section 7.2), minus
(2) the aggregate amount of all payments received on or before such date by such Contributing
Guarantor from the other Contributing Guarantors as contributions under this Section 7.2. The
amounts payable as contributions hereunder shall be determined as of the date on which the related
payment or distribution is made by the applicable Funding Guarantor. The allocation among
Contributing Guarantors of their obligations as set forth in this Section 7.2 shall not be construed
in any way to limit the liability of any Contributing Guarantor hereunder. Each Guarantor is a third
party beneficiary to the contribution agreement set forth in this Section 7.2.

        7.3.    Payment by Guarantors. Subject to Section 7.2, Guarantors hereby jointly and
severally agree, in furtherance of the foregoing and not in limitation of any other right which any
Beneficiary may have at law or in equity against any Guarantor by virtue hereof, that upon the
failure of the Borrower to pay any of the Guaranteed Obligations when and as the same shall
become due, whether at stated maturity, by required prepayment, declaration, acceleration,
demand or otherwise (including amounts that would become due but for the operation of the
automatic stay under Section 362(a) of the Bankruptcy Code, 11 U.S.C. § 362(a)), Guarantors will
upon demand pay, or cause to be paid, in Cash, to Administrative Agent for the ratable benefit of
Beneficiaries, an amount equal to the sum of the unpaid principal amount of all Guaranteed
Obligations then due as aforesaid, accrued and unpaid interest on such Guaranteed Obligations
(including interest which, but for the Borrower’s becoming the subject of a case under the
Bankruptcy Code, would have accrued on such Guaranteed Obligations, whether or not a claim is



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allowed against the Borrower for such interest in the related bankruptcy case) and all other
Guaranteed Obligations then owed to Beneficiaries as aforesaid.

        7.4.    Liability of Guarantors Absolute. Each Guarantor agrees that its obligations
hereunder are irrevocable, absolute, independent and unconditional and shall not be affected by
any circumstance which constitutes a legal or equitable discharge of a guarantor or surety other
than Payment in Full of the Guaranteed Obligations. In furtherance of the foregoing and without
limiting the generality thereof, each Guarantor agrees as follows:

              (a)     this Guaranty is a guaranty of payment when due and not of collectability.
This Guaranty is a primary obligation of each Guarantor and not merely a contract of surety;

                (b)    Administrative Agent (acting at the Direction of the Requisite Lenders) may
enforce this Guaranty upon the occurrence and during the continuance of an Event of Default
notwithstanding the existence of any dispute between the Borrower and any Beneficiary with
respect to the existence of such Event of Default;

               (c)     the obligations of each Guarantor hereunder are independent of the
obligations of the Borrower and the obligations of any other guarantor (including any other
Guarantor) of the obligations of any the Borrower, and a separate action or actions may be brought
and prosecuted against such Guarantor whether or not any action is brought against the Borrower
or any of such other guarantors and whether or not the Borrower is joined in any such action or
actions;

               (d)     payment by any Guarantor of a portion, but not all, of the Guaranteed
Obligations shall in no way limit, affect, modify or abridge any Guarantor’s liability for any
portion of the Guaranteed Obligations which has not been paid. Without limiting the generality of
the foregoing, if Administrative Agent is awarded a judgment in any suit brought to enforce any
Guarantor’s covenant to pay a portion of the Guaranteed Obligations, such judgment shall not be
deemed to release such Guarantor from its covenant to pay the portion of the Guaranteed
Obligations that is not the subject of such suit, and such judgment shall not, except to the extent
satisfied by such Guarantor, limit, affect, modify or abridge any other Guarantor’s liability
hereunder in respect of the Guaranteed Obligations;

                (e)     any Beneficiary, upon such terms as it deems appropriate, without notice or
demand and without affecting the validity or enforceability hereof or giving rise to any reduction,
limitation, impairment, discharge or termination of any Guarantor’s liability hereunder, from time
to time may (i) renew, extend, accelerate, increase the rate of interest on, or otherwise change the
time, place, manner or terms of payment of the Guaranteed Obligations; (ii) settle, compromise,
release or discharge, or accept or refuse any offer of performance with respect to, or substitutions
for, the Guaranteed Obligations or any agreement relating thereto and/or subordinate the payment
of the same to the payment of any other obligations; (iii) request and accept other guaranties of the
Guaranteed Obligations and take and hold security for the payment hereof or the Guaranteed
Obligations; (iv) release, surrender, exchange, substitute, compromise, settle, rescind, waive, alter,
subordinate or modify, with or without consideration, any security for payment of the Guaranteed
Obligations, any other guaranties of the Guaranteed Obligations, or any other obligation of any
Person (including any other Guarantor) with respect to the Guaranteed Obligations; (v) enforce


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and apply any security now or hereafter held by or for the benefit of such Beneficiary in respect
hereof or the Guaranteed Obligations and direct the order or manner of sale thereof, or exercise
any other right or remedy that such Beneficiary may have against any such security, in each case
as such Beneficiary in its discretion may determine consistent herewith and any applicable security
agreement, including foreclosure on any such security pursuant to one or more judicial or non-
judicial sales, whether or not every aspect of any such sale is commercially reasonable, and even
though such action operates to impair or extinguish any right of reimbursement or subrogation or
other right or remedy of any Guarantor against any other Credit Party or any security for the
Guaranteed Obligations; and (vi) exercise any other rights available to it under the Credit
Documents; and

                 (f)    this Guaranty and the obligations of Guarantors hereunder shall be valid and
enforceable and shall not be subject to any reduction, limitation, impairment, discharge or
termination for any reason (other than Payment in Full of the Guaranteed Obligations), including
the occurrence of any of the following, whether or not any Guarantor shall have had notice or
knowledge of any of them: (i) any failure or omission to assert or enforce or agreement or election
not to assert or enforce, or the stay or enjoining, by order of court, by operation of law or otherwise,
of the exercise or enforcement of, any claim or demand or any right, power or remedy (whether
arising under the Credit Documents, at law, in equity or otherwise) with respect to the Guaranteed
Obligations or any agreement relating thereto, or with respect to any other guaranty of or security
for the payment of the Guaranteed Obligations; (ii) any rescission, waiver, amendment or
modification of, or any consent to departure from, any of the terms or provisions (including
provisions relating to events of default) hereof, any of the other Credit Documents or any
agreement or instrument executed pursuant thereto, or of any other guaranty or security for the
Guaranteed Obligations, in each case whether or not in accordance with the terms hereof or such
Credit Document or any agreement relating to such other guaranty or security; (iii) the Guaranteed
Obligations, or any agreement relating thereto, at any time being found to be illegal, invalid or
unenforceable in any respect; (iv) the application of payments received from any source (other
than payments received pursuant to the other Credit Documents or from the proceeds of any
security for the Guaranteed Obligations, except to the extent such security also serves as collateral
for indebtedness other than the Guaranteed Obligations) to the payment of indebtedness other than
the Guaranteed Obligations, even though any Beneficiary might have elected to apply such
payment to any part or all of the Guaranteed Obligations; (v) any Beneficiary’s consent to the
change, reorganization or termination of the corporate structure or existence of Holdings or any of
its Subsidiaries and to any corresponding restructuring of the Guaranteed Obligations; (vi) any
failure to perfect or continue perfection of a security interest in any collateral which secures any
of the Guaranteed Obligations; (vii) any defenses, set-offs or counterclaims which the Borrower
may allege or assert against any Beneficiary in respect of the Guaranteed Obligations, including
failure of consideration, breach of warranty, payment, statute of frauds, statute of limitations,
accord and satisfaction and usury; and (viii) any other act or thing or omission, or delay to do any
other act or thing, which may or might in any manner or to any extent vary the risk of any Guarantor
as an obligor in respect of the Guaranteed Obligations.

       7.5.      Waivers by Guarantors. Each Guarantor hereby waives, for the benefit of
Beneficiaries: (a) any right to require any Beneficiary, as a condition of payment or performance
by such Guarantor, to (i) proceed against the Borrower, any other guarantor (including any other
Guarantor) of the Guaranteed Obligations or any other Person, (ii) proceed against or exhaust any

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security held from the Borrower, any such other guarantor or any other Person, (iii) proceed against
or have resort to any balance of any Deposit Account or credit on the books of any Beneficiary in
favor of any Credit Party or any other Person, or (iv) pursue any other remedy in the power of any
Beneficiary whatsoever; (b) any defense arising by reason of the incapacity, lack of authority or
any disability or other defense of the Borrower or any other Guarantor including any defense based
on or arising out of the lack of validity or the unenforceability of the Guaranteed Obligations or
any agreement or instrument relating thereto or by reason of the cessation of the liability of the
Borrower or any other Guarantor from any cause other than payment in full of the Guaranteed
Obligations; (c) any defense based upon any statute or rule of law which provides that the
obligation of a surety must be neither larger in amount nor in other respects more burdensome than
that of the principal; (d) any defense based upon any Beneficiary’s errors or omissions in the
administration of the Guaranteed Obligations, except behavior which amounts to bad faith; (e)(i)
any principles or provisions of law, statutory or otherwise, which are or might be in conflict with
the terms hereof and any legal or equitable discharge of such Guarantor’s obligations hereunder,
(ii) the benefit of any statute of limitations affecting such Guarantor’s liability hereunder or the
enforcement hereof, (iii) any rights to set-offs, recoupments and counterclaims, and
(iv) promptness, diligence and any requirement that any Beneficiary protect, secure, perfect or
insure any security interest or lien or any property subject thereto; (f) notices, demands,
presentments, protests, notices of protest, notices of dishonor and notices of any action or inaction,
including acceptance hereof, notices of default hereunder or any agreement or instrument related
thereto, notices of any renewal, extension or modification of the Guaranteed Obligations or any
agreement related thereto, notices of any extension of credit to the Borrower and notices of any of
the matters referred to in Section 7.4 and any right to consent to any thereof; and (g) any defenses
or benefits that may be derived from or afforded by law which limit the liability of or exonerate
guarantors or sureties, or which may conflict with the terms hereof.

         7.6.     Guarantors’ Rights of Subrogation, Contribution, Etc. Until the Guaranteed
Obligations shall have been Paid in Full, each Guarantor hereby waives any claim, right or remedy,
direct or indirect, that such Guarantor now has or may hereafter have against the Borrower or any
other Guarantor or any of its assets in connection with this Guaranty or the performance by such
Guarantor of its obligations hereunder, in each case whether such claim, right or remedy arises in
equity, under contract, by statute, under common law or otherwise and including (a) any right of
subrogation, reimbursement or indemnification that such Guarantor now has or may hereafter have
against the Borrower with respect to the Guaranteed Obligations, (b) any right to enforce, or to
participate in, any claim, right or remedy that any Beneficiary now has or may hereafter have
against the Borrower, and (c) any benefit of, and any right to participate in, any collateral or
security now or hereafter held by any Beneficiary. In addition, until the Guaranteed Obligations
shall have been Paid in Full, each Guarantor shall withhold exercise of any right of contribution
such Guarantor may have against any other guarantor (including any other Guarantor) of the
Guaranteed Obligations, including any such right of contribution as contemplated by Section 7.2.
Each Guarantor further agrees that, to the extent the waiver or agreement to withhold the exercise
of its rights of subrogation, reimbursement, indemnification and contribution as set forth herein is
found by a court of competent jurisdiction to be void or voidable for any reason, any rights of
subrogation, reimbursement or indemnification such Guarantor may have against the Borrower or
against any collateral or security, and any rights of contribution such Guarantor may have against
any such other guarantor, shall be junior and subordinate to any rights any Beneficiary may have
against the Borrower, to all right, title and interest any Beneficiary may have in any such collateral

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or security, and to any right any Beneficiary may have against such other guarantor. If any amount
shall be paid to any Guarantor on account of any such subrogation, reimbursement,
indemnification or contribution rights at any time when all Guaranteed Obligations shall not have
been finally and Paid in Full, such amount shall be held in trust for Administrative Agent on behalf
of Beneficiaries and shall forthwith be paid over to Administrative Agent for the benefit of
Beneficiaries to be credited and applied against the Guaranteed Obligations, whether matured or
unmatured, in accordance with the terms hereof.

       7.7.     [Reserved].

        7.8.     Continuing Guaranty. This Guaranty is a continuing guaranty and shall remain
in effect until all of the Guaranteed Obligations shall have been Paid in Full. Each Guarantor
hereby irrevocably waives any right to revoke this Guaranty as to future transactions giving rise to
any Guaranteed Obligations.

        7.9.     Authority of Guarantors or Borrower. It is not necessary for any Beneficiary to
inquire into the capacity or powers of any Guarantor or the Borrower or the officers, directors or
any agents acting or purporting to act on behalf of any of them.

        7.10. Financial Condition of Borrower. Any Credit Extension may be made to the
Borrower or continued from time to time without notice to or authorization from any Guarantor
regardless of the financial or other condition of the Borrower at the time of any such grant or
continuation. No Beneficiary shall have any obligation to disclose or discuss with any Guarantor
its assessment, or any Guarantor’s assessment, of the financial condition of the Borrower. Each
Guarantor has adequate means to obtain information from the Borrower on a continuing basis
concerning the financial condition of the Borrower and its ability to perform its obligations under
the Credit Documents, and each Guarantor assumes the responsibility for being and keeping
informed of the financial condition of the Borrower and of all circumstances bearing upon the risk
of non-payment of the Guaranteed Obligations. Each Guarantor hereby waives and relinquishes
any duty on the part of any Beneficiary to disclose any matter, fact or thing relating to the business,
operations or conditions of the Borrower now known or hereafter known by any Beneficiary.

        7.11. Bankruptcy, Etc. (a) Other than the Chapter 11 Cases, so long as any Guaranteed
Obligations remain outstanding, no Guarantor shall, without the prior written consent of
Administrative Agent (acting at the Direction of the Requisite Lenders) acting pursuant to the
instructions of Requisite Lenders, commence or join with any other Person in commencing any
bankruptcy, reorganization or insolvency case or proceeding of or against the Borrower or any
other Guarantor. The obligations of Guarantors hereunder shall not be reduced, limited, impaired,
discharged, deferred, suspended or terminated by any case or proceeding, voluntary or involuntary,
involving the bankruptcy, insolvency, receivership, reorganization, liquidation, winding up, strike-
off or arrangement of the Borrower or any other Guarantor or by any defense which the Borrower
or any other Guarantor may have by reason of the order, decree or decision of any court or
administrative body resulting from any such proceeding.

                (b)     Each Guarantor acknowledges and agrees that any interest on any portion
of the Guaranteed Obligations which accrues after the commencement of any case or proceeding
referred to in clause (a) above (or, if interest on any portion of the Guaranteed Obligations ceases


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to accrue by operation of law by reason of the commencement of such case or proceeding, such
interest as would have accrued on such portion of the Guaranteed Obligations if such case or
proceeding had not been commenced) shall be included in the Guaranteed Obligations because it
is the intention of Guarantors and Beneficiaries that the Guaranteed Obligations which are
guaranteed by Guarantors pursuant hereto should be determined without regard to any rule of law
or order which may relieve Holdings or any of its Subsidiaries of any portion of such Guaranteed
Obligations. Guarantors will permit any trustee in bankruptcy, receiver, debtor in possession,
assignee for the benefit of creditors or similar Person to pay Administrative Agent, or allow the
claim of Administrative Agent in respect of, any such interest accruing after the date on which
such case or proceeding is commenced.

                (c)    In the event that all or any portion of the Guaranteed Obligations are paid
by Holdings or any of its Subsidiaries, the obligations of Guarantors hereunder shall continue and
remain in full force and effect or be reinstated, as the case may be, in the event that all or any part
of such payment(s) are rescinded or recovered directly or indirectly from any Beneficiary as a
preference, fraudulent transfer or otherwise, and any such payments which are so rescinded or
recovered shall constitute Guaranteed Obligations for all purposes hereunder.

         7.12. Discharge of Guaranty Upon Sale of Guarantor. If all of the Equity Interests of
any Guarantor or any of its successors in interest hereunder shall be sold or otherwise disposed of
(including by merger or consolidation) in accordance with the terms and conditions hereof, the
Guaranty of such Guarantor or such successor in interest, as the case may be, hereunder shall
automatically be discharged and released without any further action by any Beneficiary or any
other Person effective as of the time of such event provided, that if any Guarantor (other than
Holdings, or, if applicable, DMFI or DMFHL) ceases to be wholly-owned, directly or indirectly,
by Holdings, such subsidiary shall not be released from its Guaranty or otherwise not required to
be a Guarantor as a result of the disposition of less than all of the Equity Interests in such subsidiary
owned by Holdings or any Subsidiary, unless (A) such disposition is made in good faith for fair
market value and for a bona fide business purpose (as determined in good faith by the Borrower
in consultation with the Administrative Agent (acting at the Direction of the Requisite Lenders)),
(B) at the time such Guarantor ceases to be wholly-owned, the primary purpose of such transaction
was not to evade the guarantee requirements, (C) the transaction by which such Guarantor ceases
to be wholly-owned was consummated on an arms’ length basis with an unaffiliated third party
and (D) such transaction otherwise complies with the terms of Section 6.4 (with the Borrower
being deemed to have made an Investment in such resulting non-Guarantor Subsidiary, and such
transaction constitutes a Permitted Investment).

         SECTION 8.         EVENTS OF DEFAULT

         8.1.    Events of Default. If any one or more of the following conditions or events shall
occur:

                (a)    Failure to Make Payments When Due. Failure by the Borrower to pay (i)
when due any installment of principal of any Loan, whether at stated maturity, by acceleration, by
mandatory prepayment or otherwise; (ii) any interest on any Loan within three Business Days after
the date due; or (iv) any fee or other payment amount due hereunder within five Business Days
after the date due; or


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                 (b)    Default in Other Agreements. (i) Failure of any Credit Party or any of their
respective Subsidiaries to pay when due any principal of or interest on or any other amount,
including any payment in settlement, payable in respect of one or more items of Indebtedness
(other than Indebtedness referred to in Section 8.1(a) and excluding, for the avoidance of doubt,
Indebtedness under the Prepetition Credit Agreement as long as enforcement of remedies
thereunder is subject to the automatic stay of Section 362 of the Bankruptcy Code) with an
aggregate principal amount (or Net Mark-to-Market Exposure) in excess of the Threshold Amount
or more beyond any applicable grace period, if any, provided therefor; or (ii) breach or default by
any Credit Party with respect to any other material term of (1) one or more items of Indebtedness
in the individual or aggregate principal amounts (or Net Mark-to-Market Exposure) referred to in
clause (i) above (other than any such Indebtedness that was incurred prior to the commencement
of the Chapter 11 Cases, as long as enforcement of remedies thereunder is subject to the automatic
stay of Section 362 of the Bankruptcy Code), (2) any loan agreement, mortgage, indenture or other
agreement relating to such item(s) of Indebtedness (other than any such Indebtedness that was
incurred prior to the commencement of the Chapter 11 Cases, as long as enforcement of remedies
thereunder is subject to the automatic stay of Section 362 of the Bankruptcy Code), or (3) any
other Indebtedness of DMFI and/or DMFHL in excess of the Threshold Amount (other than any
such Indebtedness that was incurred prior to the commencement of the Chapter 11 Cases, as long
as enforcement of remedies thereunder is subject to the automatic stay of Section 362 of the
Bankruptcy Code), in each case, beyond any applicable grace period, if any, provided therefor, if
the effect of such breach or default is to cause, or to permit the holder or holders of that
Indebtedness (or a trustee on behalf of such holder or holders), to cause, that Indebtedness to
become or be declared due and payable (or subject to a compulsory repurchase or redemption)
prior to its stated maturity or the stated maturity of any underlying obligation, as the case may be;
or

               (c)     Breach of Certain Covenants. Failure of any Credit Party to perform or
comply with any term or condition contained in Section 5.1(f)(i), Section 5.2 (solely with respect
to the existence of the Borrower), Section 5.16, Section 5.21, Section 5.15, Section 5.22, Section
5.23, Section 5.24, Section 5.25 or Section 6; or

                (d)    Breach of Representations, Etc. Any representation, warranty, certification
or other written statement of fact made or deemed made by any Credit Party in any Credit
Document or in any statement or certificate at any time given by any Credit Party or any of its
Subsidiaries in writing pursuant hereto or thereto or in connection herewith or therewith shall be
false in any material respect as of the date made or deemed made and, to the extent capable of
being cured, such incorrect representation or warranty shall remain incorrect for a period of thirty
days after written notice thereof from the Administrative Agent to the Borrower; or

                (e)     Other Defaults Under Credit Documents. Any Credit Party shall default in
the performance of or compliance with any covenant contained herein or any of the other Credit
Documents, other than any such term referred to in any other paragraph of this Section 8.1, and
such default shall not have been remedied or waived within thirty days after the date on which
written notice thereof is delivered by the Administrative Agent to the Borrower; or

             (f)      Involuntary Bankruptcy; Appointment of Receiver, Etc. Other than the
Chapter 11 Cases, (i) a court of competent jurisdiction shall enter a decree or order for relief in

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respect of the Parent Guarantors or any of their Subsidiaries in an involuntary case under any
Debtor Relief Laws now or hereafter in effect, which decree or order is not stayed; or any other
similar relief shall be granted under any applicable international, federal, state or local law; or
(ii) an involuntary case shall be commenced against the Parent Guarantors or any of their
Subsidiaries under any Debtor Relief Laws now or hereafter in effect; or a decree or order of a
court having jurisdiction in the premises for the appointment of a receiver, liquidator, sequestrator,
trustee, custodian or other officer having similar powers over the Parent Guarantors or any of their
Subsidiaries, or over any of its property, shall have been entered; or there shall have occurred the
involuntary appointment of an interim receiver, trustee, custodian or any other person having
similar powers of the Parent Guarantors or any of their Subsidiaries for any of its property; or a
warrant of attachment, execution or similar process shall have been issued against any part of the
property of the Parent Guarantors or any of their Subsidiaries, and any such event described in this
clause (f) shall continue for sixty days without having been dismissed, bonded or discharged; or

                (g)     Voluntary Bankruptcy; Appointment of Receiver, Etc. Other than the
Chapter 11 Cases, (i) the Parent Guarantors or any of their Subsidiaries shall have an order for
relief entered with respect to it or shall commence a voluntary case under any Debtor Relief Laws,
now or hereafter in effect, or shall consent to the entry of an order for relief in an involuntary case,
or to the conversion of an involuntary case to a voluntary case, under any such law, or shall consent
to the appointment of or taking possession by a receiver, trustee or other custodian for any of its
property; or the Parent Guarantors or any of their Subsidiaries shall make any assignment for the
benefit of creditors; or (ii) the Parent Guarantors or any of their Subsidiaries shall be unable, or
shall fail generally, or shall admit in writing its general inability, to pay its debts as such debts
become due; or the board of directors (or similar governing body) of the Parent Guarantors or any
of their Subsidiaries (or any committee thereof) shall adopt any resolution or otherwise authorize
any action to approve any of the actions referred to in this Section 8.1(g) or in Section 8.1(f); or

               (h)     Judgments and Attachments. Any money judgment, writ or warrant of
attachment or similar process involving individually, or in the aggregate at any time, an amount in
excess of the Threshold Amount (in either case to the extent not covered by insurance or
reimbursement as to which a solvent and unaffiliated insurance company or third party has not
denied coverage or payment, as applicable) shall be entered or filed against the Parent Guarantors
or any of their Subsidiaries or any of their respective assets and shall remain undischarged,
unsatisfied, unvacated, unbonded or unstayed for a period of sixty days; or

               (i)     [Reserved]; or

                 (j)    Employee Benefit Plans. There shall occur one or more ERISA Events
which individually or in the aggregate results in or would reasonably be expected to result in
liability of the Parent Guarantors or any of their Subsidiaries which would reasonably be expected
to result in a Material Adverse Effect; or

               (k)     Change of Control. A Change of Control shall occur; or

               (l)     RSA; A default under the RSA by any Credit Parties or any of its Affiliates
or Subsidiaries party to the RSA shall have occurred and be continuing (with all applicable grace
periods having expired) or the RSA is terminated for any reason; or


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                 (m)    Guaranties, Collateral Documents and other Credit Documents. At any time
after the execution and delivery thereof, (i) the Guaranty for any reason, other than the Payment
in Full of all Obligations and other than if otherwise expressly permitted hereunder, shall cease to
be in full force and effect in any material respect (other than in accordance with its terms) or shall
be declared to be null and void or any Guarantor shall repudiate its obligations thereunder in
writing, (ii) this Agreement or any Collateral Document ceases to be in full force and effect (other
than by reason of a release of Collateral in accordance with the terms hereof or thereof or the
Payment in Full of the Obligations in accordance with the terms hereof) in any material respect or
shall be declared null and void, or Collateral Agent shall not have or shall cease to have a valid
and perfected Lien in a material portion of the Collateral purported to be covered by the Collateral
Documents with the priority required by the relevant Collateral Document, in each case for any
reason other than the failure of Collateral Agent or any Secured Party to take any action within its
control or by reason of a release of Collateral in accordance with the terms hereof or thereof, or
(iii) any Credit Party shall contest the validity or enforceability of any Credit Document in writing
or deny in writing that it has any further liability, including with respect to future advances by
Lenders, under any Credit Document to which it is a party or shall contest the validity or perfection
of any Lien in any Collateral purported to be covered by the Collateral Documents; or

               (n)     [Reserved]; or

               (o)     [Reserved]; or

                (p)    Lender-Appointed Directors; The removal (other than as a result of death,
disability or voluntary resignation) of any lender-appointed Director from the Board of Directors
of any of the Parent Guarantor or any of their Subsidiaries without the consent of the Requisite
Lenders;

               (q)    Bankruptcy Matters. Any of the following occurs in any of the Chapter 11
Cases, except to the extent consented to by the Requisite Lenders in their discretion (which may
be evidenced by a Direction of the Requisite Lenders);

                        (i) other than a motion in support of the DIP Orders or actions in
accordance with the RSA, the bringing of any motion, taking of any action, or the filing of any
pleading, Chapter 11 Plan, or Disclosure Statement attendant to such plan, by any of the Credit
Parties or any Affiliates or Subsidiary of a Credit Party in the Chapter 11 Cases (or the entry of an
order of the Bankruptcy Court granting a motion) seeking: (A) to obtain additional financing under
Section 364(c) or Section 364(d) of the Bankruptcy Code not otherwise permitted pursuant to this
Agreement; (B) to grant any Lien other than Liens permitted under Section 6.2; (C) except as
provided in the DIP Orders, to use cash collateral of the Administrative Agent and the other
Secured Parties or the Prepetition Lenders under Section 363(c) of the Bankruptcy Code without
the written consent of such parties; or (D) to approve any other action or actions adverse to the
Administrative Agent and the other Secured Parties’ rights and remedies under the Credit
Documents or the validity or perfection of their Liens on the Collateral;

                      (ii) other than in accordance with the RSA or with the consent of the
Requisite Lenders, (A) the filing of any Chapter 11 Plan or Disclosure Statement attendant thereto
by a Credit Party that would not result in the full and final satisfaction and discharge of all


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Obligations on or before the effective date of such Chapter 11 Plan or (B) if any of the Credit
Parties or their Affiliates or Subsidiaries shall seek, support, or fail to contest in good faith the
filing or confirmation of any Chapter 11 Plan or entry of any such order that would not result in
the full and final satisfaction and discharge of all Obligations on or before the effective date of any
such Chapter 11 Plan;

                       (iii)the entry of any final order terminating any Credit Party’s exclusive
right to file a Chapter 11 Plan or the expiration of any Credit Party’s exclusive right to file a
Chapter 11 Plan, provided that termination of such exclusivity periods is not the result of any
action by a Lender;

                         (iv) the entry of an order in the Chapter 11 Cases confirming a Chapter 11
Plan that is not either (A) in accordance with the RSA or (B) otherwise acceptable to the Requisite
Lenders in their discretion, other than to the extent that such Chapter 11 Plan provides for the full
and final satisfaction and discharge of all Obligations on or before the effective date of any such
Chapter 11 Plan;

                        (v) the entry by a Credit Party into any proposed settlement of any Claim,
litigation, dispute, cause of action, or other proceeding, in each case, against the Debtors which
requires a payment by the Debtors of any amount greater than $250,000;

                      (vi)the Debtors’ filing of a Definitive Document that is not acceptable to
the Requisite Lenders or the filing of a Chapter 11 Plan that provides for any treatment or recovery
on account of DIP Term Loan Claims or Prepetition Claims that are not consented to by the
Requisite Lenders in their sole discretion;

                       (vii) (A) the entry of an order amending, supplementing, staying,
revoking, vacating or otherwise modifying the Credit Documents, the Cash Management Orders,
or the DIP Orders (including any order in respect of the Milestones specified herein), (B) the filing
by a Credit Party of a motion for reconsideration with respect to the DIP Orders, or (C) any Credit
Party or any Affiliate or Subsidiary shall fail to comply with the DIP Orders;

                       (viii) the entry of an order amending, supplementing, staying, revoking,
vacating or otherwise modifying the Credit Documents, the Cash Management Orders, or the DIP
Orders (including any order in respect of the Milestones specified herein), (B) the filing by a Credit
Party of a motion for reconsideration with respect to the DIP Orders, or (C) any Credit Party or
any Affiliate or Subsidiary shall fail to comply with the DIP Orders;

                       (ix)(A) the dismissal or conversion of any Chapter 11 Case or (B) any Credit
Party or any Affiliate or Subsidiary of a Credit Party shall file a motion or other pleading seeking
the conversion or dismissal of the Chapter 11 Cases under Section 1112 of the Bankruptcy Code
or otherwise;

                         (x) any Credit Party or any Subsidiary of a Credit Party shall file a motion
(without consent of the Requisite Lenders) seeking, or the Bankruptcy Court shall enter an order
granting, relief from or modifying the automatic stay of Section 362 of the Bankruptcy Code to
allow any creditor (other than the Administrative Agent) to execute upon or enforce a Lien on any
Collateral, solely if the value of such collateral exceeds $250,000;

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                     (xi)the entry of an order in the Chapter 11 Cases avoiding or requiring the
disgorgement of any portion of the payments made on account of the Obligations owing under this
Agreement, the other Credit Documents, the RSA or the DIP Orders;

                       (xii) other than in respect of this Agreement and the other Credit
Documents, or as otherwise permitted under the applicable Credit Documents, the DIP Orders, or
the orders approving any of the First Day Pleadings, (A) the existence of any claims or charges, or
the entry of any order of the Bankruptcy Court authorizing any claims or charges entitled to
superpriority administrative expense claim status in any Chapter 11 Case pursuant to Section
364(c)(1) of the Bankruptcy Code, clause (b) of Section 503 of the Bankruptcy Code, or clause (b)
of Section 507 of the Bankruptcy Code of the Bankruptcy Code pari passu with or senior to the
claims of the Administrative Agent and the Secured Parties under this Agreement and the other
Credit Documents or (B) there shall arise or be granted by the Bankruptcy Court any Lien on the
Collateral having a priority senior to or pari passu with the Liens and security interests granted by
the Credit Documents, in each case, other than with respect to the ABL DIP Facility (including the
adequate protection claims granted in relation thereto);

                       (xiii) the DIP Orders shall cease to be in full force and effect or shall have
been reversed, modified, amended, stayed, vacated, or subject to stay pending appeal (other than
through the entry of the Final Order), in each case so as to cause the DIP Orders to cease to create
a valid and perfected Lien on the Collateral (without further action other than the entry and terms
of the DIP Orders) to the extent the DIP Orders do so on the Effective Date;

                        (xiv) an order in the Chapter 11 Cases shall be entered (i) charging any
of, or authorizing the recovery of any amount from, the Collateral under Section 506(c) of the
Bankruptcy Code, or (ii) prohibiting or limiting the extension under Section 552(b) of the
Bankruptcy Code of the Liens of the Prepetition Agent on the Collateral to any proceeds, products,
offspring, or profits of the Collateral acquired by any Credit Party after the Petition Date;

                      (xv) any order having been entered or granted (or requested, unless
actively opposed by the Credit Parties) by either the Bankruptcy Court or any other court of
competent jurisdiction adversely and materially impacting the rights of the Administrative Agent
and the other Secured Parties under the Credit Documents;

                       (xvi) an order of the Court shall be entered denying or terminating use of
cash collateral by the Credit Parties authorized by the DIP Orders;

                        (xvii) if the Final Order does not include a waiver, in form and substance
acceptable to the Requisite Lenders, of (i) the right to surcharge, or recover any amount from, the
Collateral under Section 506(c) of the Bankruptcy Code and (ii) any ability to limit the extension
under Section 552(b) of the Bankruptcy Code of the Liens of the Prepetition Agent on the
Collateral to any proceeds, products, offspring, or profits of the Collateral acquired by any Credit
Party after the Petition Date;

                        (xviii) (A) any Credit Party shall challenge (or support or encourage a
challenge of) the validity, enforceability, perfection or priority (as applicable) of (1) the Prepetition
Credit Agreement and any prepetition attendant debt documents, (2) any of the Liens created


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pursuant to the foregoing, (3) any of the obligations thereunder or (4) any payments made (I) to
any Secured Party with respect to the Obligations or (II) to any Prepetition Secured Party (as
defined in the DIP Orders) with respect to the obligations under the Prepetition Credit Agreement
or any attendant prepetition debt documents or (B) the filing of any motion by the Credit Parties
or any of their Affiliates or Subsidiaries seeking approval of (or the entry of an order by the Court
approving) adequate protection to any prepetition creditor in respect of Liens on the Collateral that
is inconsistent with the DIP Orders;

                       (xix) if, unless otherwise approved by the Administrative Agent and the
Requisite Lenders, an order of the Bankruptcy Court shall be entered providing for a change in
venue with respect to the Chapter 11 Cases;

                       (xx) any Credit Party or any Subsidiary thereof files any motion,
pleading or other request with the Bankruptcy Court seeking to modify or affect any of the rights
of the Administrative Agent or the Lenders under the DIP Orders or the Credit Documents without
the prior written consent of the Administrative Agent or the Requisite Lenders (which consent of
the Requisite Lenders may be communicated via an email from the Lender Advisors);

                      (xxi) (A) any Credit Party or any Subsidiary thereof takes any action in
support of any matter prohibited by this Section 8.1(q) or (B) any other Person files a motion or
pleading before the Bankruptcy Court seeking the entry of order in violation of this Section 8.1(q)
and such motion is not contested in good faith by the Credit Parties;

                        (xxii) the filing of a motion, pleading or the taking of any action in the
Chapter 11 Cases by any Credit Party seeking the entry of an order by the Bankruptcy Court
precluding the Administrative Agent or the Prepetition Agent from having the right to, or being
permitted to, or precluding any holder of Prepetition Claims from directing or instructing any of
the foregoing parties to exercise the right to, “credit bid” in any manner in respect of any applicable
collateral;

                       (xxiii) the commencement of a suit or an action against the Administrative
Agent or any Lender or any Prepetition Agent or any Prepetition Lender and, as to any suit or
action brought by any Person other than a Credit Party or an Affiliate, Subsidiary, officer, or
employee of a Credit Party, that asserts or seeks by or on behalf of a Credit Party, any official
committee in the Chapter 11 Cases or any other party in interest in the Chapter 11 Cases, a claim
or any legal or equitable remedy that would, other than as contemplated by the DIP Orders or the
Cash Management Order, (x) have the effect of invalidating, subordinating or challenging (I) any
or all of the Obligations or Liens of the Administrative Agent or any Lender under the Credit
Documents or (II) any portion of the obligations under the Prepetition Credit Agreement or
attendant prepetition debt documents or Liens of the Prepetition Agent or the Prepetition Lenders
under the Prepetition Credit Agreement or attendant prepetition debt documents to any other claim,
or (y) have an adverse effect on the rights and remedies of the Administrative Agent or any Lender
under any Credit Document or the Prepetition Agent or Prepetition Lenders under the Prepetition
Credit Agreement or attendant prepetition debt documents or the collectability of all or any portion
of the Obligations under the Credit Documents or the obligations under the Prepetition Credit
Agreement or attendant prepetition debt documents;



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                      (xxiv) the entry of a judgment or order by the Bankruptcy Court (i)
sustaining any defense, objection or challenge to the validity, security, perfection, priority, extent
or enforceability of the DIP Documents, the DIP Liens, the Obligations, the Prepetition
Documents, the Prepetition Liens or the Prepetition Obligations (each as defined in the Interim
Order), (ii) invalidating, disallowing avoiding, subordinating, recharacterizing, limiting or
otherwise impairing any of the DIP Obligations, DIP Superpriority Claims, DIP Liens, the
Prepetition Obligations or the Prepetition Liens (each as defined in the Interim Order); any Debtor
shall deny in writing that such Debtor has liability or obligation under this Agreement for the
Obligations;

                      (xxv) any Debtor denies in writing that such Debtor has liability or
obligation under this Agreement for the Obligations or seek to recover any monetary damages
from any Secured Party or Prepetition Agent or Prepetition Lender in their capacity as such;

                       (xxvi) the Bankruptcy Court grants relief under any motion or other
pleading filed by any Debtor that results in the occurrence of an Event of Default; provided that
the Credit Parties hereby agree that the Administrative Agent (with the consent of the Requisite
Lenders) shall be entitled to request an expedited hearing on any such motion and hereby consent
to such expedited hearing (and the Administrative Agent is authorized to represent to the
Bankruptcy Court that the Credit Parties have consented to such expedited hearing on the motion);

                     (xxvii) the Debtors file any motion, Definitive Document, objection, or
pleading with the Bankruptcy Court or any other court (including any modifications or
amendments thereof) that is inconsistent with this Agreement (nor directly or indirectly direct any
other Person to make such a filing) or is otherwise not in form and substance acceptable to the
Requisite Lenders;

                       (xxviii)the Debtors sell, or file any motion, pleading or application seeking
to sell, any material assets outside of the ordinary course of business without the prior written
consent of the Requisite Lenders;

                      (xxix) any Credit Parties amend any of their existing corporate governance
or organizational documents without the prior written consent of the Requisite Lenders;

                      (xxx) any party obtains derivative standing to pursue a chapter 5 cause of
action with the Bankruptcy Court or any other court;

                     (xxxi) the Debtors pursue any chapter 5 cause of action without the consent
of the Required Consenting Lenders (as defined in the RSA);

                         (xxxii) other than in the ordinary course of business and consistent with
past practice, (i) enter into any material agreement, (ii) amend, supplement, modify, or terminate
any material agreement, (iii) allow any material permit, license, or regulatory approval to be
terminated, revoked, suspended, or modified, in each case without the prior written consent of the
Requisite Lenders, or (iv) enter into, terminate, or modify any material operational contracts,
leases, or other agreements that would, individually or in the aggregate, reasonably be expected to
have a material and adverse effect on the Credit Parties, taken as a whole, without the consent of
the Requisite Lenders; other than in connection with and as consistent with the RSA;

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                      (xxxiii)any Credit Parties (i) authorize, create, issue, sell, or grant any
additional Equity Interests, (ii) reclassify, recapitalize, redeem, purchase, acquire, declare any
distribution on, or make any distribution on any Equity Interests, or (iii) enter into, terminate, or
modify any material operational contracts, leases, or other agreements that would, individually or
in the aggregate, be expected to have an adverse effect on the Credit Parties, taken as a whole,
without the consent of the Requisite Lenders; other than in connection with the RSA and Sale
Documents;

                         (xxxiv)any Credit Parties pledge, encumber, assign, sell, or otherwise
transfer, offer, or contract to pledge, encumber, assign, sell, or otherwise transfer, in whole or in
part, any portion of its right, title, or interests in any Equity Interests in the Credit Parties, whether
held directly or indirectly, to the extent such pledge, encumbrance, assignment, sale, or other
transfer will impair any of the Credit Parties’ tax attributes and is expected to result in adverse tax
consequences to the Credit Parties;

                        (xxxv) any Credit Parties take any action (except to the extent expressly
contemplated by this Agreement) if such action would result in a change in the tax status of any
Credit Party or (ii) make any election outside the ordinary course of business, or settle any tax
audit or contest, in each case, if such election or action pursuant to clause (i) or (ii) is expected to
result, individually or in the aggregate, in adverse tax consequences to any of the Credit Parties;

                       (xxxvi)any Credit Parties encourage or facilitate any Person (including, for
the avoidance of doubt, any non-Debtor Affiliate) to do any of the foregoing actions described in
clauses (xxi) through (xxxvii);

THEN, and in every such event, and at any time thereafter during the continuance of such event,
the Administrative Agent may, and at the request of the Requisite Lenders shall, by notice to the
Borrower, take any of the following actions, at the same or different times, in each case, subject to
provisions of the DIP Orders: (i) terminate the Commitments, and thereupon the Commitments
shall terminate immediately and (ii) declare the Loans then outstanding to be due and payable in
whole (or in part, in which case any principal not so declared to be due and payable may thereafter
be declared to be due and payable), and thereupon the principal of the Loans so declared to be due
and payable, together with accrued interest thereon and all fees and other obligations of the
Borrower accrued hereunder, shall become due and payable immediately, without presentment,
demand, protest or other notice of any kind, all of which are hereby waived by the Borrower. Upon
the occurrence and during the continuance of an Event of Default, the Administrative Agent may,
and at the request of the Requisite Lenders shall, exercise any rights and remedies provided to the
Administrative Agent under the DIP Orders and the Credit Documents or at law or equity,
including all remedies provided under the UCC, in each case, subject to the provisions of the DIP
Orders.

Any Event of Default under this Agreement or the other Credit Documents (and any Event of
Default resulting from failure to provide notice thereof) shall be deemed not to be “continuing” or
“existing” if the events, acts or conditions that gave rise to such Event of Default have been
remedied or cured (if any such cure right exists) or have ceased to exist.




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        8.2.     Application of Funds. Subject to the Carve Out, any amount received by the
Administrative Agent or the Collateral Agent from any Credit Party (or from proceeds of any
Collateral) following any acceleration of the Obligations under this Agreement, in each case that
is continuing, shall be applied as set forth in Section 2.15.

       SECTION 9.          AGENTS

         9.1.     Appointment of Agents. WSFS is hereby appointed Administrative Agent and
Collateral Agent hereunder and under the other Credit Documents and each Lender hereby
authorizes WSFS to act as Administrative Agent and Collateral Agent in accordance with the terms
hereof and the other Credit Documents. Each Agent hereby agrees to act in its capacity as such
upon the express conditions contained herein and the other Credit Documents, as applicable, it
being understood that the provisions of this Section 9 apply to the Administrative Agent in its
capacity as such and references to the Administrative Agent shall be interpreted accordingly to
include references to the Collateral Agent. The provisions of this Section 9 are solely for the
benefit of Agents and Lenders and no Credit Party shall have any rights as a third party beneficiary
of any of the provisions thereof (except as provided under Sections 9.7 and 9.8(d)). In performing
its functions and duties hereunder, each Agent shall act solely as an agent of Lenders and does not
assume and shall not be deemed to have assumed any obligation towards or relationship of agency
or trust with or for Holdings or any of its Subsidiaries. The Administrative Agent may resign from
such role at any time, with immediate effect, by giving prior written notice thereof to the Borrower.

        9.2.     Powers and Duties. Each Lender irrevocably authorizes each Agent to take such
action on such Lender’s behalf and to exercise such powers, rights and remedies hereunder and
under the other Credit Documents as are specifically delegated or granted to such Agent by the
terms hereof and thereof, together with such powers, rights and remedies as are reasonably
incidental thereto. Each Agent shall have only those duties and responsibilities that are expressly
specified herein and the other Credit Documents. Each Agent may exercise such powers, rights
and remedies and perform such duties by or through its agents or employees. No Agent shall have,
by reason hereof or any of the other Credit Documents, a fiduciary relationship in respect of any
Lender or any other Person; and nothing herein or any of the other Credit Documents, expressed
or implied, is intended to or shall be so construed as to impose upon any Agent any obligations in
respect hereof or any of the other Credit Documents except as expressly set forth herein or therein.

       9.3.      General Immunity.

                (a)     No Responsibility for Certain Matters. No Agent shall be deemed to have
knowledge of any Default or Event of Default unless and until written notice thereof to the Agent
by the Borrower or any Lender and such written notice is clearly identified as a “notice of default”
and no Agent shall be responsible to any Lender for the execution, effectiveness, genuineness,
validity, enforceability, collectability or sufficiency hereof or any other Credit Document or for
any representations, warranties, recitals or statements made herein or therein or made in any
written or oral statements or in any financial or other statements, instruments, reports or certificates
or any other documents furnished or made by any Agent to Lenders or by or on behalf of any
Credit Party to any Agent or any Lender in connection with the Credit Documents and the
transactions contemplated thereby or for the financial condition or business affairs of any Credit
Party or any other Person liable for the payment of any Obligations, nor shall any Agent be required


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to ascertain or inquire as to the performance or observance of any of the terms, conditions,
provisions, covenants or agreements contained in any of the Credit Documents or as to the use of
the proceeds of the Loans or as to the existence or possible existence of any Event of Default or
Default or to make any disclosures with respect to the foregoing. Anything contained herein to the
contrary notwithstanding, Administrative Agent shall not have any liability arising from
confirmations of the amount of outstanding Loans. No Agent shall be required to qualify in any
jurisdiction in which it is not presently qualified to perform its obligations as Agent.

                 (b)    Exculpatory Provisions. No Agent nor any of its officers, partners, directors,
employees or agents shall be liable for any action taken or omitted by any Agent under or in
connection with any of the Credit Documents except to the extent caused by such Agent’s gross
negligence or willful misconduct, as determined by a final, non-appealable judgment of a court of
competent jurisdiction; provided, that any such action taken or omitted to be taken by the Agent
at the instruction of Requisite Lenders shall not constitute gross negligence or willful misconduct.
Each Agent shall be entitled to refrain from any act or the taking of any action (including the failure
to take an action) in connection herewith or any of the other Credit Documents or from the exercise
of any power, discretion or authority vested in it hereunder or thereunder unless and until such
Agent shall have received instructions in respect thereof from Requisite Lenders (or such other
Lenders as may be required to give such instructions under Section 10.5) and, upon receipt of such
instructions from Requisite Lenders (or such other Lenders, as the case may be), such Agent shall
be entitled to act or (where so instructed) refrain from acting, or to exercise such power, discretion
or authority, in accordance with such instructions, including for the avoidance of doubt refraining
from any action that, in its opinion or the opinion of its counsel, may be in violation of the
automatic stay under any Debtor Relief Law or that may effect a forfeiture, modification or
termination of property of a Defaulting Lender in violation of any Debtor Relief Law. Without
prejudice to the generality of the foregoing, (i) each Agent shall be entitled to rely, and shall be
fully protected in relying, upon any communication, instrument or document believed by it to be
genuine and correct and to have been signed or sent by the proper Person or Persons, and shall be
entitled to rely and shall be protected in relying on opinions and judgments of attorneys (who may
be attorneys for Holdings and its Subsidiaries), accountants, experts and other professional
advisors selected by it; and (ii) no Lender shall have any right of action whatsoever against any
Agent as a result of such Agent acting or (where so instructed) refraining from acting hereunder
or any of the other Credit Documents in accordance with the instructions of Requisite Lenders (or
such other Lenders as may be required to give such instructions under Section 10.5). No Agent
shall have liability for any failure, inability, unwillingness on the part of any Lender or Credit
Party to provide accurate and complete information on a timely basis to such Agent, or otherwise
on the part of any such party to comply with the terms of this Agreement, and shall not have any
liability for any inaccuracy or error in the performance or observance on such Agent’s part of any
of its duties hereunder that is caused by or results from any such inaccurate, incomplete or untimely
information received by it, or other failure on the part of any such other party to comply with the
terms hereof.

              (c)    For purposes of clarity, and without limiting any rights, protections,
immunities or indemnities afforded to either Agent hereunder (including without limitation this
Section 9), phrases such as “satisfactory to the Administrative Agent,” “approved by the
Administrative Agent,” “acceptable to the Administrative Agent,” “as determined by the
Administrative Agent,” “in the Administrative Agent’s discretion,” “selected by the

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Administrative Agent,” “elected by the Administrative Agent,” “requested by the Administrative
Agent,” and phrases of similar import that authorize and permit the Administrative Agent to
approve, disapprove, determine, act or decline to act in its discretion shall be subject to the
Administrative Agent receiving written direction from the Requisite Lenders (or such other
number or percentage of the Lenders as expressly required hereunder or under the other Credit
Documents) to take such action or to exercise such rights.

                (d)      Delegation of Duties. Administrative Agent may perform any and all of its
duties and exercise its rights and powers under this Agreement or under any other Credit Document
by or through any one or more sub-agents appointed by Administrative Agent. Administrative
Agent and any such sub-agent may perform any and all of its duties and exercise its rights and
powers by or through their respective Affiliates. The exculpatory, indemnification and other
provisions of this Section 9.3 and of Section 9.6 shall apply to any the Affiliates of Administrative
Agent and shall apply to their respective activities in connection with the syndication of the credit
facilities provided for herein as well as activities as Administrative Agent. All of the rights,
benefits, and privileges (including the exculpatory and indemnification provisions) of this
Section 9.3 and of Section 9.6 shall apply to any such sub-agent and to the Affiliates of any such
sub-agent, and shall apply to their respective activities as sub-agent as if such sub-agent and
Affiliates were named herein. Notwithstanding anything herein to the contrary, with respect to
each sub-agent appointed by Administrative Agent, (i) such sub-agent shall be a third party
beneficiary under this Agreement with respect to all such rights, benefits and privileges (including
exculpatory rights and rights to indemnification) and shall have all of the rights and benefits of a
third party beneficiary, including an independent right of action to enforce such rights, benefits
and privileges (including exculpatory rights and rights to indemnification) directly, without the
consent or joinder of any other Person, against any or all of Credit Parties and the Lenders, (ii)
such rights, benefits and privileges (including exculpatory rights and rights to indemnification)
shall not be modified or amended without the consent of such sub-agent, and (iii) such sub-agent
shall only have obligations to Administrative Agent and not to any Credit Party, Lender or any
other Person and no Credit Party, Lender or any other Person shall have any rights, directly or
indirectly, as a third party beneficiary or otherwise, against such sub-agent. The Administrative
Agent shall not be responsible for the negligence or misconduct of any sub-agents, except to the
extent that a court of competent jurisdiction determines in a final nonappealable judgment that the
Administrative Agent acted with gross negligence or willful misconduct in the selection of such
sub-agents.

                (e)     Disqualified Institutions. Any assignor of a Loan or seller of a participation
hereunder shall be entitled to rely conclusively on a representation of the assignee Lender or
purchaser of a participation in the relevant Assignment Agreement or participation agreement, as
applicable, that such assignee or purchaser is not a Disqualified Institution. No Agent shall have
any responsibility or liability for monitoring the list or identities of, or enforcing provisions relating
to Disqualified Institutions . The Administrative Agent shall have the right to post the list of
Disqualified Institutions (and any updates thereto from time to time) on the Platform.
Notwithstanding the foregoing, each Credit Party and the Lenders acknowledge and agree that the
Administrative Agent shall not have any responsibility or obligation to determine whether any
Lender or potential Lender is a Disqualified Institution and the Administrative Agent (in its
capacity as such) shall not have liability with respect to any assignment made to a Disqualified
Institution.

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         9.4.    Agents Entitled to Act as Lender. The agency hereby created shall in no way
impair or affect any of the rights and powers of, or impose any duties or obligations upon, any
Agent in its individual capacity as a Lender hereunder. With respect to its participation in the
Loans, each Agent shall have the same rights and powers hereunder as any other Lender and may
exercise the same as if it were not performing the duties and functions delegated to it hereunder,
and the term “Lender” shall, unless the context clearly otherwise indicates, include each Agent in
its individual capacity. Any Agent and its Affiliates may accept deposits from, lend money to, own
securities of, and generally engage in any kind of banking, trust, financial advisory or other
business with the Borrower or any of its Affiliates as if it were not performing the duties specified
herein, and may accept fees and other consideration from the Borrower for services in connection
herewith and otherwise without having to account for the same to Lenders.

       9.5.     Lenders’ Representations, Warranties and Acknowledgment.

                (a)      Each Lender represents and warrants that it has made its own independent
investigation of the financial condition and affairs of Holdings and its Subsidiaries in connection
with Credit Extensions hereunder and that it has made and shall continue to make its own appraisal
of the creditworthiness of Holdings and its Subsidiaries. No Agent shall have any duty or
responsibility, either initially or on a continuing basis, to make any such investigation or any such
appraisal on behalf of Lenders or to provide any Lender with any credit or other information with
respect thereto, whether coming into its possession before the making of the Loans or at any time
or times thereafter, and no Agent shall have any responsibility with respect to the accuracy of or
the completeness of any information provided to Lenders.

               (b)    Each Lender, by delivering its signature page to this Agreement, an
Assignment Agreement or a Joinder Agreement and funding its Term Loan on the Effective Date
shall be deemed to have acknowledged receipt of, and consented to and approved, each Credit
Document and each other document required to be approved by any Agent, Requisite Lenders or
Lenders, as applicable on the Effective Date.

              (c)    Each Lender acknowledges that Holdings and the other Credit Parties are
Eligible Assignees hereunder and may purchase Loans and/or Commitments hereunder from
Lenders from time to time, subject to the restrictions set forth in the definition of “Eligible
Assignee” and Section 10.6.

        9.6.      Right to Indemnity. Each Lender, in proportion to its Pro Rata Share, severally
agrees to indemnify each Agent, to the extent that such Agent shall not have been reimbursed by
any Credit Party, for and against any and all liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses (including counsel fees and disbursements) or
disbursements of any kind or nature whatsoever which may be imposed on, incurred by or asserted
against such Agent in exercising its powers, rights and remedies or performing its duties hereunder
or under the other Credit Documents or otherwise in its capacity as such Agent in any way relating
to or arising out of this Agreement or the other Credit Documents; provided, that no Lender shall
be liable for any portion of such liabilities, obligations, losses, damages, penalties, actions,
judgments, suits, costs, expenses or disbursements resulting from such Agent’s gross negligence
or willful misconduct, as determined by a final, non-appealable judgment of a court of competent
jurisdiction. If any indemnity furnished to any Agent for any purpose shall, in the opinion of such


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Agent, be insufficient or become impaired, such Agent may call for additional indemnity and
cease, or not commence, to do the acts indemnified against until such additional indemnity is
furnished; provided, that in no event shall this sentence require any Lender to indemnify any Agent
against any liability, obligation, loss, damage, penalty, action, judgment, suit, cost, expense or
disbursement in excess of such Lender’s Pro Rata Share thereof; and provided further, that this
sentence shall not be deemed to require any Lender to indemnify any Agent against any liability,
obligation, loss, damage, penalty, action, judgment, suit, cost, expense or disbursement described
in the proviso in the immediately preceding sentence.

       9.7.     Successor Administrative Agent and Successor Collateral Agent.

                 (a)     Administrative Agent shall have the right to resign at any time by giving
prior written notice thereof to Lenders and the Borrower and Administrative Agent may be
removed at any time with or without cause by an instrument or concurrent instruments in writing
delivered to the Borrower and Administrative Agent and signed by Requisite Lenders.
Administrative Agent shall have the right to appoint a financial institution to act as Administrative
Agent and/or Collateral Agent hereunder, subject to the reasonable satisfaction of the Borrower
and the Requisite Lenders, and Administrative Agent’s resignation shall become effective on the
earliest of (i) 30 days after delivery of the notice of resignation (regardless of whether a successor
has been appointed or not), (ii) the acceptance of such successor Administrative Agent by the
Borrower and the Requisite Lenders or (iii) such other date, if any, agreed to by the Requisite
Lenders. Upon any such notice of resignation or any such removal, if a successor Administrative
Agent has not already been appointed by the retiring Administrative Agent, Requisite Lenders
shall have the right, upon five Business Days’ notice to the Borrower and subject to the reasonable
consent of the Borrower (such consent not to be unreasonably withheld or delayed; provided that
such consent shall not be required after the occurrence and during the continuance of an Event of
Default), to appoint a successor Administrative Agent. If neither Requisite Lenders nor
Administrative Agent have appointed a successor Administrative Agent, Requisite Lenders shall
be deemed to have succeeded to and become vested with all the rights, powers, privileges and
duties of the retiring Administrative Agent; provided that, until a successor Administrative Agent
is so appointed by Requisite Lenders or Administrative Agent, any collateral security held by
Administrative Agent in its role as Collateral Agent on behalf of the Lenders under any of the
Credit Documents shall continue to be held by the retiring Collateral Agent as nominee until such
time as a successor Collateral Agent is appointed. Upon the acceptance of any appointment as
Administrative Agent hereunder by a successor Administrative Agent, that successor
Administrative Agent shall thereupon succeed to and become vested with all the rights, powers,
privileges and duties of the retiring or removed Administrative Agent, and the retiring or removed
Administrative Agent shall promptly (i) transfer to such successor Administrative Agent all sums,
Securities and other items of Collateral held under the Collateral Documents, together with all
records and other documents necessary or appropriate in connection with the performance of the
duties of the successor Administrative Agent under the Credit Documents, and (ii) execute and
deliver to such successor Administrative Agent such amendments to financing statements, and
take such other actions, as may be necessary or appropriate in connection with the assignment to
such successor Administrative Agent of the security interests created under the Collateral
Documents, whereupon such retiring or removed Administrative Agent shall be discharged from
its duties and obligations hereunder. Except as provided above, any resignation or removal of
WSFS or its successor as Administrative Agent pursuant to this Section 9.7 shall also constitute

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the resignation or removal of WSFS or its successor as Collateral Agent. After any retiring or
removed Administrative Agent’s resignation or removal hereunder as Administrative Agent, the
provisions of this Section 9 shall inure to its benefit as to any actions taken or omitted to be taken
by it (i) while it was acting as Administrative Agent hereunder and (ii) following such resignation
or removal for so long as the retiring or removed Administrative Agent continues in any capacity
hereunder while transferring the agency to the successor Administrative Agent. Any successor
Administrative Agent appointed pursuant to this Section 9.7 shall, upon its acceptance of such
appointment, become the successor Collateral Agent for all purposes hereunder.

                 (b)     In addition to the foregoing, Collateral Agent may resign at any time by
giving prior written notice thereof to Lenders and the Borrower, and Collateral Agent may be
removed at any time with or without cause by an instrument or concurrent instruments in writing
delivered to the Borrower and Collateral Agent signed by Requisite Lenders. Administrative Agent
shall have the right to appoint a financial institution as Collateral Agent hereunder, subject to the
reasonable satisfaction of the Borrower, and the Requisite Lenders and Collateral Agent’s
resignation shall become effective on the earliest of (i) 30 days after delivery of the notice of
resignation, (ii) the acceptance of such successor Collateral Agent by the Borrower and the
Requisite Lenders or (iii) such other date, if any, agreed to by the Requisite Lenders. Upon any
such notice of resignation or any such removal, Requisite Lenders shall have the right, upon five
Business Days’ notice to Administrative Agent and the Borrower and subject to the reasonable
consent of the Borrower (such consent not to be unreasonably withheld or delayed; provided that
such consent shall not be required after the occurrence and during the continuance of an Event of
Default), to appoint a successor Collateral Agent. Until a successor Collateral Agent is so
appointed by Requisite Lenders or Administrative Agent, any collateral security held by Collateral
Agent on behalf of the Lenders under any of the Credit Documents shall continue to be held by
the retiring Collateral Agent as nominee until such time as a successor Collateral Agent is
appointed. Upon the acceptance of any appointment as Collateral Agent hereunder by a successor
Collateral Agent, that successor Collateral Agent shall thereupon succeed to and become vested
with all the rights, powers, privileges and duties of the retiring or removed Collateral Agent under
this Agreement and the Collateral Documents, and the retiring or removed Collateral Agent under
this Agreement shall promptly (i) transfer to such successor Collateral Agent all sums, Securities
and other items of Collateral held hereunder or under the Collateral Documents, together with all
records and other documents necessary or appropriate in connection with the performance of the
duties of the successor Collateral Agent under this Agreement and the Collateral Documents, and
(ii) execute and deliver to such successor Collateral Agent or otherwise authorize the filing of such
amendments to financing statements, and take such other actions, as may be necessary or
appropriate in connection with the assignment to such successor Collateral Agent of the security
interests created under the Collateral Documents, whereupon such retiring or removed Collateral
Agent shall be discharged from its duties and obligations under this Agreement and the Collateral
Documents. After any retiring or removed Collateral Agent’s resignation or removal hereunder as
the Collateral Agent, the provisions of this Agreement and the Collateral Documents shall inure to
its benefit as to any actions taken or omitted to be taken by it under this Agreement or the Collateral
Documents while it was acting as the Collateral Agent hereunder, including for so long as the
retiring or removed Collateral Agent continues in any capacity hereunder while transferring
agency to the successor Collateral Agent.

       9.8.     Collateral Documents and Guaranty.

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                (a)    Agents under Collateral Documents and Guaranty. Each Secured Party
hereby further authorizes Administrative Agent or Collateral Agent, as applicable, on behalf of
and for the benefit of Secured Parties, to be the agent for and representative of Secured Parties
with respect to the Guaranty, the Collateral and the Collateral Documents. Subject to Section 10.5,
without further written consent or authorization from any Secured Party, Administrative Agent or
Collateral Agent, as applicable may execute any documents or instruments necessary to (i) in
connection with a sale or disposition of assets permitted by this Agreement or the release of any
Guarantor from the Guaranty as provided below, release any Lien encumbering any item of
Collateral that is the subject of such sale or other disposition of assets or to which Requisite
Lenders (or such other Lenders as may be required to give such consent under Section 10.5) have
otherwise consented or (ii) release any Guarantor from the Guaranty pursuant to Section 7.12 or
with respect to which Requisite Lenders (or such other Lenders as may be required to give such
consent under Section 10.5) have otherwise consented.

                (b)    Right to Realize on Collateral and Enforce Guaranty. Anything contained
in any of the Credit Documents to the contrary notwithstanding, the Borrower, Administrative
Agent, Collateral Agent and each Secured Party hereby agree that (i) no Secured Party shall have
any right individually to realize upon any of the Collateral or to enforce the Guaranty, it being
understood and agreed that all powers, rights and remedies hereunder and under any of the Credit
Documents may be exercised solely by Administrative Agent or Collateral Agent, as applicable,
for the benefit of the Secured Parties in accordance with the terms hereof and thereof and all
powers, rights and remedies under the Collateral Documents may be exercised solely by Collateral
Agent for the benefit of the Secured Parties in accordance with the terms thereof, and (ii) in the
event of a foreclosure or similar enforcement action by Collateral Agent on any of the Collateral
pursuant to a public or private sale or other disposition (including, without limitation, pursuant to
Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy Code), Collateral Agent
(or any Lender, except with respect to a “credit bid” pursuant to Section 363(k),
Section 1129(b)(2)(a)(ii) or otherwise of the Bankruptcy Code,) may be the purchaser or licensor
of any or all of such Collateral at any such sale or other disposition and Collateral Agent, as agent
for and representative of Secured Parties (but not any Lender or Lenders in its or their respective
individual capacities) shall be entitled, upon instructions from Requisite Lenders, for the purpose
of bidding and making settlement or payment of the purchase price for all or any portion of the
Collateral sold at any such sale or disposition, to use and apply any of the Obligations as a credit
on account of the purchase price for any collateral payable by Collateral Agent at such sale or other
disposition.

               (c)     [Reserved].

                (d)      Release of Collateral and Guaranties, Termination of Credit Documents.
Notwithstanding anything to the contrary contained herein or any other Credit Document, when
all Obligations have been Paid in Full or except as otherwise permitted hereunder or under the
terms of any other Credit Document, upon request of the Borrower, Collateral Agent (acting at the
Direction of the Requisite Lenders) shall take such actions as shall be required to release its
security interest in all Collateral, and to release all guarantee obligations provided for in any Credit
Document. Any such release of guarantee obligations shall be deemed subject to the provision that
such guarantee obligations shall be reinstated if after such release any portion of any payment in
respect of the Obligations guaranteed thereby shall be rescinded or must otherwise be restored or

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returned upon the insolvency, bankruptcy, dissolution, liquidation or reorganization of the
Borrower or any Guarantor, or upon or as a result of the appointment of a receiver, intervenor or
conservator of, or trustee or similar officer for, the Borrower or any Guarantor or any substantial
part of its property, or otherwise, all as though such payment had not been made.

                 (e)     No Agent shall be responsible for or have a duty to ascertain or inquire into
(i) the value or sufficiency of any Collateral, (ii) the creation, perfection or priority of any Lien on
the Collateral or the existence, value or sufficiency of the Collateral or to assure that the Liens
granted to the Collateral Agent pursuant to any Credit Document have been or will continue to be
properly or sufficiently or lawfully created, perfected or enforced or are entitled to any particular
priority, (iii) perfecting, maintaining, monitoring, preserving or protecting the security interest or
Lien granted under this Agreement, any other Credit Document or any agreement or instrument
contemplated hereby or thereby, (iv) the filing, re-filing, recording, re-recording or continuing or
any document, financing statement, mortgage, assignment, notice, instrument of further assurance
or other instrument in any public office at any time or times or (v) providing, maintaining,
monitoring or preserving insurance on (including any flood insurance policies or for determining
whether any flood insurance policies are or should be obtained in respect of the Collateral, which
each Lender shall be solely responsible for), or the payment of taxes with respect to, any of the
Collateral.

                 (f)    The Lenders hereby irrevocably agree that the Liens granted to the
Collateral Agent by the Credit Parties on any Collateral shall be automatically released (without
any action by the Administrative Agent, Collateral Agent, any Lender, any Secured Parties or any
other Person) (i) in full, upon the Payment in Full of the Obligations, (ii) upon the sale or other
disposition of such Collateral (including as part of or in connection with any other sale or other
disposition permitted hereunder) to any Person other than another Credit Party, to the extent such
sale or other disposition is made in compliance with the terms of this Agreement (and the Collateral
Agent may rely conclusively on a certificate to that effect provided to it by any Credit Party upon
its reasonable request without further inquiry), (iii) to the extent such Collateral is comprised of
property leased to a Credit Party, upon termination or expiration of such lease, (iv) if the release
of such Lien is approved, authorized or ratified in writing by the Requisite Lenders (or such other
percentage of the Lenders whose consent may be required in accordance with this Section 9.8), (v)
to the extent the property constituting such Collateral is owned by any Guarantor, upon the release
of such Guarantor from its obligations under the applicable Guaranty (in accordance with the
second following sentence), (vi) as required to effect any sale or other disposition of Collateral in
connection with any exercise of remedies of the Collateral Agent pursuant to the Collateral
Documents, and (vii) if such assets constitute Excluded Collateral. Any such release shall not in
any manner discharge, affect, or impair the Obligations or any Liens (other than those being
released) upon (or obligations (other than those being released) of the Credit Parties in respect of)
all interests retained by the Credit Parties, including the proceeds of any sale, all of which shall
continue to constitute part of the Collateral except to the extent otherwise released in accordance
with the provisions of the Credit Documents. Additionally, the Lenders hereby irrevocably agree
that any Subsidiary that is a Guarantor shall be released from the Guaranteed Obligations upon
consummation of any transaction not prohibited hereunder resulting in such Subsidiary ceasing to
constitute a wholly-owned Subsidiary; provided, that if any Guarantor (other than Holdings) ceases
to be wholly-owned, directly or indirectly, by Holdings, such subsidiary shall not be released from
its Guaranty as a result of the disposition of less than all of the Equity Interests in such subsidiary

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owned by Holdings or any Subsidiary, unless (A) such disposition is made in good faith for fair
market value and for a bona fide business purpose (as determined in good faith by the Borrower
in consultation with the Administrative Agent (acting at the Direction of the Requisite Lenders)),
(B) at the time such Guarantor ceases to be wholly-owned, the primary purpose of such transaction
was not to evade the guarantee requirements, (C) the transaction by which such Guarantor ceases
to be wholly-owned was consummated on an arms’ length basis with an unaffiliated third party
and (D) such transaction otherwise complies with the terms of Section 6.4 (with the Borrower
being deemed to have made an Investment in such resulting non-Guarantor Subsidiary, and such
transaction constitutes a Permitted Investment). The Lenders hereby authorize the Administrative
Agent and the Collateral Agent, as applicable, to execute and deliver any instruments, documents,
and agreements necessary or desirable to evidence and confirm the release of any Guarantor or
Collateral pursuant to the foregoing provisions of this paragraph, all without the further consent or
joinder of any Lender.

       9.9.     Withholding Taxes. To the extent required by any applicable law, Administrative
Agent may withhold from any payment to any Lender an amount equivalent to any applicable
withholding Tax. If the Internal Revenue Service or any other Governmental Authority asserts a
claim that Administrative Agent did not properly withhold Tax from amounts paid to or for the
account of any Lender because the appropriate form was not delivered or was not properly
executed or because such Lender failed to notify Administrative Agent of a change in circumstance
which rendered the exemption from, or reduction of, withholding Tax ineffective or for any other
reason, or if Administrative Agent reasonably determines that a payment was made to a Lender
pursuant to this Agreement without deduction of applicable withholding tax from such payment,
such Lender shall indemnify Administrative Agent fully for all amounts paid, directly or indirectly,
by Administrative Agent as Tax or otherwise, including any penalties or interest and together with
all expenses (including legal expenses, allocated internal costs and out-of-pocket expenses)
incurred.

       9.10. Administrative Agent May File Bankruptcy Disclosure and Proofs of Claim.
In case of the pendency of any proceeding under any Debtor Relief Laws relative to any Credit
Party, Administrative Agent (irrespective of whether the principal of any Loan shall then be due
and payable as herein expressed or by declaration or otherwise and irrespective of whether
Administrative Agent shall have made any demand on the Borrower) shall be entitled and
empowered (but not obligated) by intervention in such proceeding or otherwise:

                 (a)    to file a verified statement pursuant to rule 2019 of the Federal Rules of
Bankruptcy Procedure that, in its sole opinion, complies with such rule’s disclosure requirements
for entities representing more than one creditor;

                (b)    to file and prove a claim for the whole amount of the principal and interest
owing and unpaid in respect of the Loans and all other Obligations that are owing and unpaid and
to file such other documents as may be necessary or advisable in order to have the claims of the
Lenders and Administrative Agent (including any claim for the reasonable compensation,
expenses, disbursements and advances of Administrative Agent and its respective agents and
counsel and all other amounts due Administrative Agent under Sections 2.4, 2.11, 10.2 and 10.3)
allowed in such judicial proceeding; and



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               (c)   to collect and receive any monies or other property payable or deliverable
on any such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in
any such judicial proceeding is hereby authorized by each Lender to make such payments to
Administrative Agent and, in the event that Administrative Agent shall consent to the making of
such payments directly to the Lenders, to pay to Administrative Agent any amount due for the
reasonable compensation, expenses, disbursements and advances of Administrative Agent and its
agents and counsel, and any other amounts due Administrative Agent under Sections 2.11, 10.2
and 10.3. To the extent that the payment of any such compensation, expenses, disbursements and
advances of Administrative Agent, its agents and counsel, and any other amounts due
Administrative Agent under Sections 2.11, 10.2 and 10.3 out of the estate in any such proceeding,
shall be denied for any reason, payment of the same shall be secured by a Lien on, and shall be
paid out of, any and all distributions, dividends, money, securities and other properties that the
Lenders may be entitled to receive in such proceeding whether in liquidation or under any plan of
reorganization or arrangement or otherwise.

               (d)    Nothing contained herein shall be deemed to authorize Administrative
Agent to authorize or consent to or accept or adopt on behalf of any Lender any plan of
reorganization, arrangement, adjustment or composition affecting the Obligations or the rights of
any Lender or to authorize Administrative Agent to vote in respect of the claim of any Lender in
any such proceeding.

       9.11.    Certain ERISA Matters.

               (a)     Each Lender (x) represents and warrants, as of the date such Person became
a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender party
hereto to the date such Person ceases being a Lender party hereto, for the benefit of the
Administrative Agent and Collateral Agent and their respective Affiliates and not, for the
avoidance of doubt, to or for the benefit of the Borrower or any other Credit Party, that at least one
of the following is and will be true:

                      (i)    such Lender is not using “plan assets” (within the meaning of 29
CFR § 2510.3-101, as modified by Section 3(42) of ERISA) of one or more Benefit Plans (as
defined below) in connection with the Loans, the Letters of Credit or the Commitments,

                       (ii)   the transaction exemption set forth in one or more PTEs (as defined
below), such as PTE 84-14 (a class exemption for certain transactions determined by independent
qualified professional asset managers), PTE 95-60 (a class exemption for certain transactions
involving insurance company general accounts), PTE 90-1 (a class exemption for certain
transactions involving insurance company pooled separate accounts), PTE 91-38 (a class
exemption for certain transactions involving bank collective investment funds) or PTE 96-23 (a
class exemption for certain transactions determined by in-house asset managers), is applicable,
with respect to such Lender’s entrance into, participation in, administration of and performance of
the Loans, the Letters of Credit, the Commitments and this Agreement, or




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                       (iii) (A) such Lender is an investment fund managed by a “Qualified
Professional Asset Manager” (within the meaning of Part VI of PTE 84-14), (B) such Qualified
Professional Asset Manager made the investment decision on behalf of such Lender to enter into,
participate in, administer and perform the Loans, the Letters of Credit, the Commitments and this
Agreement, (C) the entrance into, participation in, administration of and performance of the Loans,
the Letters of Credit, the Commitments and this Agreement satisfies the requirements of sub-
sections (b) through (g) of Part I of PTE 84-14 and (D) to the best knowledge of such Lender, the
requirements of subsection (a) of Part I of PTE 84-14 are satisfied with respect to such Lender’s
entrance into, participation in, administration of and performance of the Loans, the Letters of
Credit, the Commitments and this Agreement, or

                      (iv)  Such other representation, warranty and covenant as may be agreed
in writing between the Administrative Agent, in its sole discretion, and such Lender.

                (b)     In addition, unless sub-clause (i) in the immediately preceding clause (a) is
true with respect to a Lender or such Lender has not provided another representation, warranty and
covenant as provided in sub-clause (iv) in the immediately preceding clause (a), such Lender
further (x) represents and warrants, as of the date such Person became a Lender party hereto, to,
and (y) covenants, from the date such Person became a Lender party hereto to the date such Person
ceases being a Lender party hereto, for the benefit of the Administrative Agent and Collateral
Agent and their respective Affiliates, and not, for the avoidance of doubt, to or for the benefit of
the Borrower or any other Credit Party, that neither the Administrative Agent and Collateral Agent
or any of their respective Affiliates is a fiduciary with respect to the assets of such Lender
(including in connection with the reservation or exercise of any rights by the Administrative Agent
under this Agreement, any Credit Document or any documents related to hereto or thereto).

For purposes of this Section 9.11, the following definitions apply to each of the capitalized terms
below:

“Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA) that is subject
to Title I of ERISA, (b) a “plan” as defined in and subject to Section 4975 of the Code or (c) any
Person whose assets include (for purposes of ERISA Section 3(42) or otherwise for purposes of
Title I of ERISA or Section 4975 of the Code) the assets of any such “employee benefit plan” or
“plan”.

“PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor,
as any such exemption may be amended from time to time.

        9.12. Acknowledgement Regarding any Supported QFCs. (a) To the extent that the
Credit Documents provide support, through a guarantee or otherwise, for swap contracts or any
other agreement or instrument that is a QFC (such support “QFC Credit Support” and each such
QFC a “Supported QFC”), the parties acknowledge and agree as follows with respect to the
resolution power of the Federal Deposit Insurance Corporation under the Federal Deposit
Insurance Act and Title II of the Dodd-Frank Wall Street Reform and Consumer Protection Act
(together with the regulations promulgated thereunder, the “U.S. Special Resolution Regime”) in
respect of such Supported QFC and QFC Credit Support (with the provisions below applicable
notwithstanding that the Credit Documents and any Supported QFC may in fact be stated to be


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governed by the laws of the State of New York and/or of the United States or any other state of
the United States):

                (b)    In the event a QFC covered entity that is party to a Supported QFC (each, a
“Covered Party”) becomes subject to a proceeding under a U.S. Special Resolution Regime, the
transfer of such Supported QFC and the benefit of such QFC Credit Support (and any interest and
obligation in or under such Supported QFC and such QFC Credit Support, and any rights in
property securing such Supported QFC or such QFC Credit Support) from such Covered Party will
be effective to the same extent as the transfer would be effective under the U.S. Special Resolution
Regime if the Supported QFC and such QFC Credit Support (and any such interest, obligation and
rights in property) were governed by the laws of the United States or a state of the United States.
In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes subject to a
proceeding under a U.S. Special Resolution Regime, default rights under the Credit Documents
that might otherwise apply to such Supported QFC or any QFC Credit Support that may be
exercised against such Covered Party are permitted to be exercised to no greater extent than such
default rights could be exercised under the U.S. Special Resolution Regime if the Supported QFC
and the Credit Documents were governed by the laws of the United States or a state of the United
States. Without limitation of the foregoing, it is understood and agreed that rights and remedies of
the parties with respect to a Defaulting Lender shall in no event affect the rights of any Covered
Party with respect to a Supported QFC or any QFC Credit Support. As used in this Section 9.12,
“BHC Act Affiliate” of a party means an “affiliate” (as such term is defined under, and interpreted
in accordance with, 12 U.S.C. 1841(k)) of such party.

       9.13.    Erroneous Payment. Each Lender hereby agrees that:

                 (a)     If the Administrative Agent notifies a Lender or Secured Party, or any
Person who has received funds on behalf of a Lender or Secured Party (any such Lender, Secured
Party or other recipient, a “Payment Recipient”) that the Administrative Agent has determined in
its sole discretion (whether or not after receipt of any notice under immediately succeeding clause
(b)) that any funds received by such Payment Recipient from the Administrative Agent or any of
its Affiliates were erroneously transmitted to, or otherwise erroneously or mistakenly received by,
such Payment Recipient (whether or not known to such Lender, Secured Party or other Payment
Recipient on its behalf) (any such funds, whether received as a payment, prepayment or repayment
of principal, interest, fees, distribution or otherwise, individually and collectively, an “Erroneous
Payment”) and demands the return of such Erroneous Payment (or a portion thereof) (provided
that, without limiting any other rights or remedies (whether at law or in equity), the Administrative
Agent may not make any such demand under this clause (a)(i) with respect to an Erroneous
Payment unless such demand is made within ten (10) Business Days of the date of receipt of such
Erroneous Payment by the applicable Payment Recipient), such Erroneous Payment shall at all
times remain the property of the Administrative Agent and shall be segregated by the Payment
Recipient and held in trust for the benefit of the Administrative Agent, and such Lender or Secured
Party shall (or, with respect to any Payment Recipient who received such funds on its behalf, shall
cause such Payment Recipient to) promptly, but in no event later than two Business Days
thereafter, return to the Administrative Agent the amount of any such Erroneous Payment (or
portion thereof) as to which such a demand was made, in same day funds (in the currency so
received), together with interest thereon in respect of each day from and including the date such
Erroneous Payment (or portion thereof) was received by such Payment Recipient to the date such

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amount is repaid to the Administrative Agent in same day funds at the greater of the Federal Funds
Effective Rate and a rate determined by the Administrative Agent in accordance with banking
industry rules on interbank compensation from time to time in effect. A notice of the
Administrative Agent to any Payment Recipient under this clause (a) shall be conclusive, absent
manifest error.

                (b)     Without limiting immediately preceding clause (a), each Lender or Secured
Party, or any Person who has received funds on behalf of a Lender or Secured Party, hereby further
agrees that if it receives a payment, prepayment or repayment (whether received as a payment,
prepayment or repayment of principal, interest, fees, distribution or otherwise) from the
Administrative Agent (or any of its Affiliates) (x) that is in a different amount than, or on a
different date from, that specified in a notice of payment, prepayment or repayment sent by the
Administrative Agent (or any of its Affiliates) with respect to such payment, prepayment or
repayment, (y) that was not preceded or accompanied by a notice of payment, prepayment or
repayment sent by the Administrative Agent (or any of its Affiliates), or (z) that such Lender or
Secured Party, or other such recipient, otherwise becomes aware was transmitted, or received, in
error or by mistake (in whole or in part) in each case:

                       (i)     (A) in the case of immediately preceding clauses (x) or (y), an error
shall be presumed to have been made (absent written confirmation from the Administrative Agent
to the contrary) or (B) an error has been made (in the case of immediately preceding clause (z)),
in each case, with respect to such payment, prepayment or repayment; and

                       (ii)    such Lender or Secured Party shall (and shall cause any other
recipient that receives funds on its respective behalf to) promptly (and, in all events, within one
Business Day of its knowledge of such error) notify the Administrative Agent of its receipt of such
payment, prepayment or repayment, the details thereof (in reasonable detail) and that it is so
notifying the Administrative Agent pursuant to this Section 9.13(b).

                 (c)    Each Lender or Secured Party hereby authorizes the Administrative Agent
to set off, net and apply any and all amounts at any time owing to such Lender or Secured Party
under any Credit Document, or otherwise payable or distributable by the Administrative Agent to
such Lender or Secured Party from any source, against any amount due to the Administrative
Agent under immediately preceding clause (a) or under the indemnification provisions of this
Agreement (it being understood that nothing herein shall require reimbursement by the Borrower
unless it is otherwise required under the Credit Documents).

               (d)    In the event that an Erroneous Payment (or portion thereof) is not recovered
by the Administrative Agent for any reason, after demand therefor by the Administrative Agent in
accordance with immediately preceding clause (a), from any Lender that has received such
Erroneous Payment (or portion thereof) (and/or from any Payment Recipient who received such
Erroneous Payment (or portion thereof) on its respective behalf) (such unrecovered amount, an
“Erroneous Payment Return Deficiency”), upon the Administrative Agent’s notice to such
Lender at any time, (i) such Lender shall be deemed to have assigned its Loans (but not its
Commitments) of the relevant Class with respect to which such Erroneous Payment was made (the
“Erroneous Payment Impacted Class”) in an amount equal to the Erroneous Payment Return
Deficiency (or such lesser amount as the Administrative Agent may specify) (such assignment of


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the Loans (but not Commitments) of the Erroneous Payment Impacted Class, the “Erroneous
Payment Deficiency Assignment”) at par plus any accrued and unpaid interest (with the
assignment fee to be waived by the Administrative Agent in such instance), and is hereby (together
with the Borrower) deemed to execute and deliver an Assignment Agreement (or, to the extent
applicable, an agreement incorporating an Assignment Agreement by reference pursuant to a
Platform as to which the Administrative Agent and such parties are participants) with respect to
such Erroneous Payment Deficiency Assignment, and such Lender shall deliver any Notes
evidencing such Loans to the Borrower or the Administrative Agent, (ii) the Administrative Agent
as the assignee Lender shall be deemed to acquire the Erroneous Payment Deficiency Assignment,
(iii) upon such deemed acquisition, the Administrative Agent as the assignee Lender shall become
a Lender hereunder with respect to such Erroneous Payment Deficiency Assignment and the
assigning Lender shall cease to be a Lender hereunder with respect to such Erroneous Payment
Deficiency Assignment, excluding, for the avoidance of doubt, its obligations under the
indemnification provisions of this Agreement and its applicable Commitments which shall survive
as to such assigning Lender and (iv) the Administrative Agent may reflect in the Register its
ownership interest in the Loans subject to the Erroneous Payment Deficiency Assignment. The
Administrative Agent may, in its discretion, sell any Loans acquired pursuant to an Erroneous
Payment Deficiency Assignment and upon receipt of the proceeds of such sale, the Erroneous
Payment Return Deficiency owing by the applicable Lender shall be reduced by the net proceeds
of the sale of such Loan (or portion thereof), and the Administrative Agent shall retain all other
rights, remedies and claims against such Lender (and/or against any recipient that receives funds
on its respective behalf). For the avoidance of doubt, no Erroneous Payment Deficiency
Assignment will reduce the Commitments of any Lender and such Commitments shall remain
available in accordance with the terms of this Agreement. In addition, each party hereto agrees
that, except to the extent that the Administrative Agent has sold a Loan (or portion thereof)
acquired pursuant to an Erroneous Payment Deficiency Assignment, and irrespective of whether
the Administrative Agent may be equitably subrogated, the Administrative Agent shall be
contractually subrogated to all the rights and interests of the applicable Lender or Secured Party
under the Credit Documents with respect to each Erroneous Payment Return Deficiency (the
“Erroneous Payment Subrogation Rights”).

                (e)     The parties hereto agree that an Erroneous Payment shall not pay, prepay,
repay, discharge or otherwise satisfy any Obligations owed by the Borrower or any other Credit
Party, except, in each case, to the extent such Erroneous Payment is, and solely with respect to the
amount of such Erroneous Payment that is, comprised of funds received by the Administrative
Agent from the Borrower or any other Credit Party for the purpose of making such Erroneous
Payment.

               (f)    To the extent permitted by applicable law, no Payment Recipient shall assert
any right or claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any
claim, counterclaim, defense or right of set-off or recoupment with respect to any demand, claim
or counterclaim by the Administrative Agent for the return of any Erroneous Payment received,
including without limitation waiver of any defense based on “discharge for value” or any similar
doctrine.

                (g)    Each party’s obligations, agreements and waivers under this Section 9.13
shall survive the resignation or replacement of the Administrative Agent, any transfer of rights or

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obligations by, or the replacement of, a Lender, the termination of the Commitments and/or the
repayment, satisfaction or discharge of all Obligations (or any portion thereof) under any Credit
Document.

       SECTION 10.         MISCELLANEOUS

       10.1.    Notices.

                 (a)     Notices Generally. Any notice or other communication herein required or
permitted to be given to a Credit Party, Collateral Agent or Administrative Agent shall be sent to
such Person’s address as set forth on Appendix B or in the other relevant Credit Document, and in
the case of any Lender, the address as indicated on Appendix B or otherwise indicated to
Administrative Agent in writing. Except as otherwise set forth in Section 3.2(b) or paragraph (b)
below, each notice hereunder shall be in writing and may be personally served or sent by facsimile
(except for any notices sent to Administrative Agent) or United States (or international, as the case
may be) mail or courier service and shall be deemed to have been given when delivered in person
or by courier service and signed for against receipt thereof, upon receipt of facsimile, or three
Business Days after depositing it in the United States mail with postage prepaid (or deposited with
such international courier delivery service, as the case may be) and properly addressed; provided,
that no notice to any Agent shall be effective until received by such Agent; provided further, that
any such notice or other communication shall at the request of Administrative Agent be provided
to any sub-agent appointed pursuant to Section 9.3(c) as designated by Administrative Agent from
time to time. Holdings hereby irrevocably designates and appoints the Borrower (in such capacity,
the “Process Agent”) as its authorized agent upon which process may be served in any action,
suit, proceeding or claim arising out of or relating to the transactions contemplated hereby or the
performance of services hereunder or under the other Credit Documents that may be instituted by
the Administrative Agent or any Lender or any other Secured Party. Holdings hereby agrees that
service of any process, summons, notice or document by U.S. registered mail addressed to the
Process Agent, with written notice of said service to Holdings at the address provided for in
Appendix B, shall be effective service of process for any action, suit, proceeding or claim arising
out of or relating to the transactions contemplated hereby or the performance of services hereunder
or under the other Credit Documents.

               (b)     Electronic Communications.

                       (i)    Notices and other communications to any Agent and Lenders
hereunder may be delivered or furnished by electronic communication (including e-mail and
Internet or intranet websites, including the Platform) pursuant to procedures approved by
Administrative Agent, provided that the foregoing shall not apply to notices to any Agent or any
Lender pursuant to Section 2 if such Person has notified Administrative Agent that it is incapable
of receiving notices under such Section by electronic communication. Administrative Agent or the
Borrower may, in its discretion, agree to accept notices and other communications to it hereunder
by electronic communications pursuant to procedures approved by it, provided that approval of
such procedures may be limited to particular notices or communications. Unless Administrative
Agent otherwise prescribes, (i) notices and other communications sent to an e-mail address shall
be deemed received upon the sender’s receipt of an acknowledgment from the intended recipient
(such as by the “return receipt requested” function, as available, return e-mail or other written


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acknowledgment), provided that if such notice or other communication is not sent during the
normal business hours of the recipient, such notice or communication shall be deemed to have
been sent at the opening of business on the next Business Day for the recipient, and (ii) notices or
communications posted to an Internet or intranet website shall be deemed received upon the
deemed receipt by the intended recipient at its e-mail address as described in the foregoing
clause (i) of notification that such notice or communication is available and identifying the website
address therefor.

                        (ii)   Each Credit Party understands that the distribution of material
through an electronic medium is not necessarily secure and that there are confidentiality and other
risks associated with such distribution and agrees and assumes the risks associated with such
electronic distribution, except to the extent caused by the willful misconduct, bad faith or gross
negligence of Administrative Agent, as determined by a final, non-appealable judgment of a court
of competent jurisdiction.

                      (iii) The Platform and any Approved Electronic Communications are
provided “as is” and “as available.” None of the Agents or any of their respective officers,
directors, employees, agents, advisors or representatives (the “Agent Affiliates”) warrant the
accuracy, adequacy, or completeness of the Approved Electronic Communications or the Platform
and each expressly disclaims liability for errors or omissions in the Platform and the Approved
Electronic Communications. No warranty of any kind, express, implied or statutory, including any
warranty of merchantability, fitness for a particular purpose, non-infringement of third party rights
or freedom from viruses or other code defects is made by the Agent Affiliates in connection with
the Platform or the Approved Electronic Communications.

                      (iv)    Each Credit Party, each Lender and each Agent agrees that
Administrative Agent may, but shall not be obligated to, store any Approved Electronic
Communications on the Platform in accordance with Administrative Agent’s customary document
retention procedures and policies.

                      (v)   Any notice of Default or Event of Default may be provided by
telephone if confirmed promptly thereafter by delivery of written notice thereof.

                (c)     Private Side Information Contacts. Each Public Lender agrees to cause at
least one individual at or on behalf of such Public Lender to at all times have selected the “Private
Side Information” or similar designation on the content declaration screen of the Platform in order
to enable such Public Lender or its delegate, in accordance with such Public Lender’s compliance
procedures and applicable law, including United States federal and state securities laws, to make
reference to information that is not made available through the “Public-Side Information” portion
of the Platform and that may contain Private-Side Information. In the event that any Public Lender
has determined for itself to not access any information disclosed through the Platform or otherwise,
such Public Lender acknowledges that (i) other Lenders may have availed themselves of such
information and (ii) neither the Borrower nor Administrative Agent has any responsibility for such
Public Lender’s decision to limit the scope of the information it has obtained in connection with
this Agreement and the other Credit Documents.




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        10.2. Expenses. Any action taken by any Credit Party under or with respect to any
Credit Document, even if required under any Credit Document or at the request of the Agent or
Requisite Lenders, shall be at the expense of such Credit Party, and neither the Agent nor any other
Secured Party shall be required under any Credit Document to reimburse any Credit Party or any
Subsidiary of any Credit Party therefor except as expressly provided therein. In addition, the
Borrower agrees (a) to pay or reimburse the Agent for all reasonable and documented or invoiced
out-of-pocket costs and expenses, including any and all recording and filing fees, costs and
expenses incurred pursuant to any Credit Document, associated with the syndication of the Loans
and the preparation, execution and delivery, administration, amendment, modification, waiver
and/or enforcement of this Agreement and the other Credit Documents, and any amendment,
waiver, consent or other modification of the provisions hereof and thereof (whether or not the
transactions contemplated thereby are consummated), including all Attorney Costs of one primary
counsel (it being understood such counsel shall be ArentFox Schiff LLP) (and a single local
counsel in each relevant jurisdiction or otherwise retained with the Borrower’s consent (such
consent not to be unreasonably withheld, conditioned or delayed)), (b) to pay or reimburse the
Agent for all reasonable and documented out-of-pocket costs and expenses incurred in connection
with the enforcement of any rights or remedies under this Agreement or the other Credit
Documents (including Attorney Costs of one firm or counsel to the Agent and, to the extent
required, one firm or local counsel in each relevant local jurisdiction or otherwise retained with
the Borrower’s consent (such consent not to be unreasonably withheld, conditioned or delayed),
which may include a single special counsel acting in multiple jurisdictions) and (c) to pay or
reimburse the Lenders for all their reasonable and documented out of pocket costs and expenses
(without duplication) incurred in connection with the development, preparation, execution and
delivery of, and any amendment, supplement, modification to, waiver, enforcement and
preservation of rights under this Agreement and the other Credit Documents and any other
documents in connection herewith or therewith, and the consummation and administration of the
transactions contemplated hereby and thereby, including the reasonable fees, disbursements and
other charges of one firm of counsel to the Lenders taken as a whole (it being understood such
counsel shall be Gibson, Dunn & Crutcher LLP), and, to the extent required one firm of local
counsel in each relevant local jurisdiction (which may include a single special counsel acting in
multiple jurisdictions). Subject to the limitations above, the foregoing costs and expenses shall
include all reasonable search, filing, recording and title insurance charges and fees related thereto,
and other reasonable and documented or invoiced out-of-pocket expenses incurred by the Agent.
The agreements in this Section 10.5 shall survive the termination of the Commitments and
repayment of all other Obligations. All amounts due under this Section 10.5 shall be paid within
ten (10) Business Days of receipt by the Borrower of an invoice relating thereto setting forth such
expenses in reasonable detail.

       10.3.    Indemnity.

               (a)     The Borrower agrees to pay, indemnify and hold harmless the Agent, each
Lender at any time party hereto (whether or not such Lender remains a party hereto) and each of
their respective Related Parties (without duplication) (each such Person being “Protected
Persons” or “Indemnitees”) from and against all Liabilities that may be imposed on, incurred by
or asserted against any such Protected Person and the reasonable and documented or invoiced out-
of-pocket expenses to which such Protected Person may become subject, in each case to the extent
of any such Liabilities and related expenses, to the extent arising out of, or resulting from, or in

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connection with the Credit Documents, the use or proposed use of proceeds of any Loan or any
Proceeding (regardless of whether such Protected Person is a party thereto or whether or not such
Proceeding was brought by the Borrower, its equityholders, Affiliates or creditors or any other
third Person) and to reimburse each such Protected Person promptly for any reasonable and
documented or invoiced out-of-pocket fees and expenses incurred in connection with
investigating, responding to or defending any of the foregoing (which, in the case of Attorney
Costs, shall be limited to (w) Attorney Costs of one firm of counsel for the Agent and its respective
Affiliates, directors, officers, employees, agents, advisors and other representatives (it being
understood such counsel shall be ArentFox Schiff LLP), (x) Attorney Costs of one firm of counsel
for the Lenders (other than the Fronting Lender) and their respective Affiliates, directors, officers,
employees, agents, advisors, and other representatives (it being understood such counsel shall be
Gibson, Dunn & Crutcher LLP), (y) Attorney Costs of one firm of counsel at a time for the Fronting
Lender and its Affiliates, directors, officers, employees, agents, advisors, and other representatives
and (z) if reasonably necessary, Attorney Costs of a single firm of local counsel in each appropriate
jurisdiction (which may include a single firm of special counsel acting in multiple jurisdictions)
(and, in the case of an actual or perceived conflict of interest where the indemnitee affected by
such conflict notifies the Borrower of the existence of such conflict and in connection with the
investigating, responding to or defending any of the foregoing has retained its own counsel, of one
other firm of counsel and, if reasonably necessary, on additional firm of local counsel in each
relevant jurisdiction for such similarly situated affected Protected Persons)), in each case relating
to the Transactions or the execution, delivery, enforcement, performance and administration of
this Agreement, the other Credit Documents and any such other documents or the use or proposed
use of the proceeds of the Loans (all the foregoing in this clause (a), collectively, the “Indemnified
Liabilities”); provided that this clause (a) shall not apply with respect to Taxes other than any
Taxes that represent Liabilities arising from any non-Tax claim; and provided, further, that the
Borrower shall have no obligation hereunder to any Protected Person with respect to Indemnified
Liabilities to the extent arising from (i) the gross negligence, bad faith or willful misconduct of
such Protected Person or any of its Related Parties as determined in a final and non-appealable
decision of a court of competent jurisdiction, (ii) a material breach of the obligations of such
Protected Person or any of its Related Parties under the terms of this Agreement or any other Credit
Document by such Indemnitee or any of its Related Parties as determined in a final and non-
appealable decision of a court of competent jurisdiction or (iii) any Proceeding brought by any
Indemnitee against any other Indemnitee that does not involve an act or omission by Holdings, the
Borrower or its Subsidiaries; provided that the Agent, to the extent fulfilling its role in its capacities
as such, shall remain indemnified in respect of such a Proceeding, to the extent that none of the
exceptions set forth in clause (i) or (ii) of the immediately preceding proviso applies to such Person
at such time.

                (b)     No Credit Party or any Protected Person shall have any liability for any
special, punitive, indirect or consequential damages resulting from this Agreement or any other
Credit Documents or arising out of activities in connection herewith or therewith (whether before
or after the Effective Date); provided that the foregoing shall not limit the Borrower’s
indemnification obligations to the Protected Persons pursuant to Section 10.3(a) in respect of
damages incurred or paid by a Protected Person to a third party.

               (c)   No Credit Party shall be liable for any settlement of any Proceeding effected
without written consent of the Borrower, but if settled with the Borrower’s written consent or if

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there is a final and non-appealable judgment by a court of competent jurisdiction in any such
Proceeding, each Credit Party agrees to indemnify and hold harmless each Indemnitee from and
against any and all Liabilities and reasonable and documented or invoiced legal or other out-of-
pocket expenses by reason of such settlement or judgment in accordance with and to the extent
provided in the other provisions of this Section 10.6. If any Person has reimbursed any Indemnitee
for any legal or other expenses in accordance with such request and there is a final and non-
appealable determination by a court of competent jurisdiction that the Indemnitee was not entitled
to indemnification or contribution rights with respect to such payment pursuant to this Section
10.6, then the Indemnitee shall promptly refund such amount.

                (d)     No Credit Party shall without the prior written consent of any Indemnitee
(which consent shall not be unreasonably withheld or delayed, it being understood that the
withholding of consent due to non-satisfaction of any of the conditions described in clauses (i), (ii)
and (iii) of this sentence shall be deemed reasonable), effect any settlement of any pending or
threatened Proceeding in respect of which indemnity could have been sought hereunder by such
Indemnitee unless such settlement (i) includes a full and unconditional release of such Indemnitee
in form and substance reasonably satisfactory to such Indemnitee from all liability or claims that
are the subject matter of such Proceeding, (ii) does not include any statement as to or any admission
of fault, culpability, wrongdoing or a failure to act by or on behalf of any Indemnitee, and (iii)
includes customary confidentiality and non-disparagement agreements.

        10.4. Set-Off. In addition to any rights now or hereafter granted under applicable law
and not by way of limitation of any such rights, upon the occurrence and during the continuance
of any Event of Default each Lender is hereby authorized by each Credit Party at any time or from
time to time subject to the consent of Administrative Agent (such consent not to be unreasonably
withheld or delayed), without notice to any Credit Party or to any other Person (other than
Administrative Agent), any such notice being hereby expressly waived, to set off and to
appropriate and to apply any and all deposits (general or special, including Indebtedness evidenced
by certificates of deposit, whether matured or unmatured, but not including trust accounts, payroll
accounts, employee benefits accounts, tax withholding accounts or other similar fiduciary
accounts) and any other Indebtedness at any time held or owing by such Lender to or for the credit
or the account of any Credit Party against and on account of the obligations and liabilities of any
Credit Party to such Lender hereunder and participations therein and under the other Credit
Documents, including all claims of any nature or description arising out of or connected hereto
and participations therein or with any other Credit Document, but solely to the extent the
Obligations are due and owing; provided that in the event that any Defaulting Lender shall exercise
any such right of setoff, (x) all amounts so set off shall be paid over immediately to Administrative
Agent for further application in accordance with the provisions of Sections 2.17 and 2.22 and,
pending such payment, shall be segregated by such Defaulting Lender from its other funds and
deemed held in trust for the benefit of Administrative Agent and the Lenders, and (y) the
Defaulting Lender shall provide promptly to Administrative Agent a statement describing in
reasonable detail the Obligations owing to such Defaulting Lender as to which it exercised such
right of setoff. The rights of each Lender and their respective Affiliates under this Section 10.4 are




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in addition to other rights and remedies (including other rights of setoff) that such Lender or their
respective Affiliates may have.

       10.5.    Amendments and Waivers.

                (a)     Requisite Lenders’ Consent. No amendment, modification, termination or
waiver of any provision of the Credit Documents, or consent to any departure by any Credit Party
therefrom, shall in any event be effective without the written concurrence of Requisite Lenders
and the Borrower; provided that Administrative Agent may, with the consent of the Borrower only,
amend, modify or supplement this Agreement or any other Credit Document to cure any
ambiguity, omission, defect or inconsistency (as reasonably determined by Administrative Agent),
so long as such amendment, modification or supplement does not adversely affect the rights of any
Lender or the Lenders shall have received at least five Business Days’ prior written notice thereof
and Administrative Agent shall not have received, within five Business Days of the date of such
notice to the Lenders, a written notice from the Requisite Lenders stating that the Requisite Lenders
object to such amendment.

               (b)    Affected Lenders’ Consent. Without the written consent of each Lender that
would be directly and adversely affected thereby (but not the Requisite Lender consent required
by Section 10.5(a) other than with respect to clauses (viii) and (ix)), no amendment, modification,
termination, or consent shall be effective if the effect thereof would:

                       (i)      extend the scheduled final maturity of any Loan or Note;

                    (ii)    waive, reduce or postpone any scheduled repayment (but not
prepayment, mandatory or otherwise, which shall require the consent of Requisite Lenders only)
of principal;

                     (iii) alter the required application of any repayments or prepayments as
between Classes pursuant to Section 2.15 or Section 8.2;

                       (iv)    reduce the rate of interest on any Loan (other than any waiver of any
increase in the interest rate applicable to any Loan pursuant to Section 2.10) or any fee or any
premium payable hereunder;

                       (v)      extend the time for payment of any such interest, fees or premium;

                         (vi)  (i) amend modify, terminate or waive the last paragraph of Section
6.1 or (ii) permit the issuance or incurrence of any Indebtedness (excluding, for the avoidance of
doubt any “debtor-in-possession” facility pursuant to Section 364 of the Bankruptcy Code (or
similar financing under applicable law)) with respect to which the Obligations would be
subordinated in right of payment or Liens on the Collateral securing the Obligations would be
subordinated (any such other Indebtedness to which the Obligations are subordinated in right of
payment or such Liens securing any of the Obligations are subordinated, “Specified
Indebtedness”), unless each adversely affected Lender has been offered a bona fide opportunity
to fund or otherwise provide its pro rata share (based on the principal amount of Obligations that
are adversely affected thereby held by each Lender) of the Specified Indebtedness on the same
terms (other than bona fide backstop fees and reimbursement of counsel fees and other expenses

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in connection with the negotiation of the terms of such transaction; such fees and expenses,
“Ancillary Fees”) as offered to all other providers (or their Affiliates) of the Specified
Indebtedness and to the extent such adversely affected Lender decides to participate in the
Specified Indebtedness, receive its pro rata share of the fees and any other similar benefit (other
than Ancillary Fees) of the Specified Indebtedness afforded to the providers of the Specified
Indebtedness (or any of their Affiliates) in connection with providing the Specified Indebtedness;

                        (vii) amend, modify, terminate or waive any provision of this
Section 10.5(b), Section 10.5(c) or any other provision of this Agreement that expressly provides
that the consent of all or all directly affected Lenders is required;

                      (viii) amend the definition of “Class”, “Requisite Lenders” or “Pro Rata
Share” or Section 2.17;

                        (ix)   release all or substantially all of the Collateral or all or substantially
all of the Guarantors from the Guaranty except as expressly provided in the Credit Documents and
except in connection with a “credit bid” undertaken by the Collateral Agent at the direction of the
Requisite Lenders pursuant to Section 363(k), Section 1129(b)(2)(a)(ii) or otherwise of the
Bankruptcy Code or other sale or disposition of assets in connection with an enforcement action
with respect to the Collateral permitted pursuant to the Credit Documents;

                      (x)    consent to the assignment or transfer by the Borrower of any of its
rights and obligations under any Credit Document (except as permitted by Sections 6.8(a) and
(w)); or

                        (xi)   amend, modify or waive any provision of the Credit Documents in
a manner that would permit any Subsidiary to be designated as an “Unrestricted Subsidiary” or
permit the transfer of any assets (including by Disposition, Investment, restricted payments or
otherwise) to “Unrestricted Subsidiaries” or otherwise permit the creation or existence of, or
transfer of any assets (including by Disposition, Investment, restricted payments or otherwise) to,
a subsidiary otherwise not subject to the provisions of the Credit Documents (it being
acknowledged that no Subsidiary is an “Unrestricted Subsidiary” as of the Closing Date);

                        (xii) amend, modify or waive any provision of the Credit Documents in
a manner that would permit transfers of Material Property (whether pursuant to a sale, lease,
license, transfer, Investment, restricted payment, dividend or otherwise or relating to the exclusive
rights thereto) to any Subsidiary that is not a Guarantor (including for the avoidance of doubt, (I)
the last paragraph of Sections 6.4, 6.6 and 6.8 and Section 6.11 or (II) the definition of “Material
Property”) or otherwise amend, modify or waive the last paragraph of Section 6.6;

                       (xiii) to the extent not otherwise permitted by this Agreement as of the
Effective Date, authorize additional Indebtedness that would be issued under the Credit Documents
(or otherwise) for the purpose of influencing voting thresholds;

                      (xiv) amend, modify or waive any provision of the Credit Documents to
allow for purchases of any Loans (by open market purchase or through other assignments) by the
Borrower or any of its Subsidiaries or other Affiliates;


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                         (xv)    amend, modify, terminate or waive any provision of Section 7.12
and/or Section 9.8(f);

                         (xvi)   amend, modify, terminate or waive any provision of Section 10.6(c);

                         (xvii) [reserved];

                         (xviii) [reserved]

                      (xix) amend, modify, terminate or waive any provision of the Credit
Documents in a manner that affects the rights or obligations of any member of a Class differently
than any other member of the Class, without the written consent of each Lender directly and
adversely affected thereby (other than with respect to fees paid to Lenders as consideration for
consenting to an amendment of the Credit Documents);

provided that, for the avoidance of doubt, all Lenders shall be deemed directly affected thereby
with respect to any amendment described in clauses (iii), (vi), (vii), (viii), (ix), (ix), (xii), (xiii),
(xiv), (xv), (xvi), (xvii) and (xviii).

               (c)    Other Consents. No amendment, modification, termination or waiver of any
provision of the Credit Documents, or consent to any departure by any Credit Party therefrom,
shall:

                    (i)    increase the aggregate amount of the Commitments of any Lender
or extend the Commitments of any Lender without the consent of such Lender;

                         (ii)    [reserved];

                        (iii) amend the provisions of Section 2.17, in a manner that would by its
terms alter the pro rata sharing of payments required thereby without the prior written consent of
each Lender;

                         (iv)    [reserved];

                      (v)     amend, modify or waive this Agreement so as to alter the ratable
treatment of Obligations arising under the Credit Documents or the definition of “Secured
Obligations” (as defined in any applicable Collateral Document) in each case in a manner adverse
to any Lender with Obligations then outstanding (as compared to any other Lender) without the
written consent of any such Lender;

                      (vi)    amend, modify, terminate or waive any section reference used in this
Section 10.5 without the written consent of each Lender;

                        (vii) amend, modify, terminate or waive any provision of the Credit
Documents as the same applies to any Agent, or any other provision hereof as the same applies to
the rights or obligations of any Agent, in each case without the consent of such Agent; or




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                      (viii) amend, modify, terminate or waive the requirements set forth in
Section 5.23 or Section 5.24 without the consent of each Lender.

                (d)     Execution of Amendments, Etc. Administrative Agent may, but shall have
no obligation to, with the concurrence of any Lender, execute amendments, modifications, waivers
or consents on behalf of such Lender. Any waiver or consent shall be effective only in the specific
instance and for the specific purpose for which it was given. No notice to or demand on any Credit
Party in any case shall entitle any Credit Party to any other or further notice or demand in similar
or other circumstances. Any amendment, modification, termination, waiver or consent effected in
accordance with this Section 10.5 shall be binding upon each Lender at the time outstanding, each
future Lender and, if signed by a Credit Party, on such Credit Party.

       10.6.    Successors and Assigns; Participations.

                (a)     Generally. This Agreement shall be binding upon the parties hereto and
their respective successors and assigns and shall inure to the benefit of the parties hereto and the
successors and assigns of Lenders. No Credit Party’s rights or obligations hereunder nor any
interest therein may be assigned or delegated by any Credit Party (except as permitted by Sections
6.8(a), (g) and (w)) without the prior written consent of all Lenders directly affected thereby.
Nothing in this Agreement, expressed or implied, shall be construed to confer upon any Person
(other than the parties hereto, their respective successors and assigns permitted hereby and, to the
extent expressly contemplated hereby, Affiliates of each of the Agents and Lenders and other
indemnitees) any legal or equitable right, remedy or claim under or by reason of this Agreement.

                (b)     Register. The Borrower, Administrative Agent and Lenders shall deem and
treat the Persons listed as Lenders in the Register as the holders and owners of the corresponding
Commitments and Loans listed therein for all purposes hereof, and no assignment or transfer of
any such Commitment or Loan shall be effective, in each case, unless and until recorded in the
Register following receipt of a fully executed Assignment Agreement effecting the assignment or
transfer thereof, together with the required forms and certificates regarding tax matters and any
fees payable in connection with such assignment, in each case, as provided in Section 10.6(d).
Each assignment shall be recorded in the Register promptly following receipt by Administrative
Agent of the fully executed Assignment Agreement and all other necessary documents and
approvals, prompt notice thereof shall be provided to the Borrower and a copy of such Assignment
Agreement shall be maintained, as applicable. The date of such recordation of a transfer shall be
referred to herein as the “Assignment Effective Date”. Any request, authority or consent of any
Person who, at the time of making such request or giving such authority or consent, is listed in the
Register as a Lender shall be conclusive and binding on any subsequent holder, assignee or
transferee of the corresponding Commitments or Loans.

                (c)     Right to Assign. Each Lender shall have the right at any time to sell, assign
or transfer all or a portion of its rights and obligations under this Agreement, including all or a
portion of its Commitment or Loans owing to it or other Obligations (provided, however, that pro
rata assignments shall not be required and each assignment shall be of a uniform, and not varying,
percentage of all rights and obligations under and in respect of any applicable Loan and any related
Commitments; provided, further, that no assignments shall be made to Defaulting Lenders or



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Disqualified Institutions or to any Affiliate of any Credit Party); provided that the Fronting Lender
may assign DIP Term Loans separately from DIP Term Loan Commitments;

provided further, that, each such assignment pursuant to this Section 10.6(c) shall be in an
aggregate amount of not less than (w) $1,000,000 with respect to the assignment of the Term
Loans, (x) such lesser amount as agreed to by the Borrower and Administrative Agent, (y) the
aggregate amount of the Loans of the assigning Lender with respect to the Class being assigned or
(z) the amount assigned by an assigning Lender to an Affiliate under common control with such
Lender or Related Fund of such Lender; provided that simultaneous assignments to or from two
or more Related Funds shall be aggregated for purposes of determining compliance with this
Section 10.6(c)(ii).

Notwithstanding anything herein to the contrary, the consent of the Administrative Agent will not
be required to effectuate the Syndication or any initial assignments by the Fronting Lender.

Notwithstanding the foregoing, no such assignment shall be made to a natural Person, Disqualified
Institution or Defaulting Lender. For the avoidance of doubt, (x) assignments shall only be made
to Eligible Assignees and (y) the Administrative Agent shall bear no responsibility or liability for
monitoring and enforcing the list of Persons who are Disqualified Institutions at any time.

               (d)     Mechanics.

                      (i) Assignments and assumptions of Loans and Commitments by Lenders
shall be effected by manual execution and delivery to Administrative Agent of an Assignment
Agreement. Assignments made pursuant to the foregoing provision shall be effective as of the
Assignment Effective Date. In connection with all assignments there shall be delivered to
Administrative Agent such forms, certificates or other evidence, if any, with respect to United
States federal income tax withholding matters as the assignee under such Assignment Agreement
may be required to deliver pursuant to Section 2.20(c), together with payment to Administrative
Agent of a registration and processing fee of $3,500 (except that no such registration and
processing fee shall be payable in the case of an assignee which is already a Lender or is an
Affiliate or Related Fund of a Lender or a Person under common management with a Lender);
provided that only one fee shall be payable for simultaneous assignments to or from two or more
Related Funds.

                        (ii) In connection with any assignment of rights and obligations of any
Defaulting Lender hereunder, no such assignment shall be effective unless and until, in addition
to the other conditions thereto set forth herein, the parties to the assignment shall make such
additional payments to Administrative Agent in an aggregate amount sufficient, upon distribution
thereof as appropriate (which may be outright payment, purchases by the assignee of participations
or subparticipations, or other compensating actions, including funding, with the consent of the
Borrower and Administrative Agent, the applicable Pro Rata Share of Loans previously requested
but not funded by the Defaulting Lender, to each of which the applicable assignee and assignor
hereby irrevocably consent), to (x) pay and satisfy in full all payment liabilities then owed by such
Defaulting Lender to Administrative Agent and each other Lender hereunder (and interest accrued
thereon), and (y) acquire (and fund as appropriate) its full Pro Rata Share of all Loans.
Notwithstanding the foregoing, in the event that any assignment of rights and obligations of any


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Defaulting Lender hereunder shall become effective under applicable law without compliance with
the provisions of this paragraph, then the assignee of such interest shall be deemed to be a
Defaulting Lender for all purposes of this Agreement until such compliance occurs.

                  (e)     Representations and Warranties of Assignee. Each Lender, upon execution
and delivery hereof or upon succeeding to an interest in the Commitments and Loans, as the case
may be, represents and warrants as of the Effective Date or as of the Assignment Effective Date
that (i) it is an Eligible Assignee; (ii) it has experience and expertise in the making of or investing
in commitments or loans such as the applicable Commitments or Loans, as the case may be; and
(iii) it will make or invest in, as the case may be, its Commitments or Loans for its own account in
the ordinary course and without a view to distribution of such Commitments or Loans within the
meaning of the Securities Act or the Exchange Act or other federal securities laws (it being
understood that, subject to the provisions of this Section 10.6, the disposition of such
Commitments or Loans or any interests therein shall at all times remain within its exclusive
control).

                (f)     Effect of Assignment. Subject to the terms and conditions of this
Section 10.6, as of the Assignment Effective Date (i) the assignee thereunder shall have the rights
and obligations of a “Lender” hereunder to the extent of its interest in the Loans and Commitments
as reflected in the Register and shall thereafter be a party hereto and a “Lender” for all purposes
hereof; (ii) the assigning Lender thereunder shall, to the extent that rights and obligations
hereunder have been assigned to the assignee, relinquish its rights (other than any rights which
survive the termination hereof under Section 10.8) and be released from its obligations hereunder
(and, in the case of an assignment covering all or the remaining portion of an assigning Lender’s
rights and obligations hereunder, such Lender shall cease to be a party hereto on the Assignment
Effective Date; provided, that anything contained in any of the Credit Documents to the contrary
notwithstanding, such assigning Lender shall continue to be entitled to the benefit of all
indemnities hereunder as specified herein with respect to matters arising out of the prior
involvement of such assigning Lender as a Lender hereunder); and (iii) if any such assignment
occurs after the issuance of any Note hereunder, the assigning Lender shall, upon the effectiveness
of such assignment or as promptly thereafter as practicable, surrender its applicable Notes to
Administrative Agent for cancellation, and thereupon the Borrower shall issue and deliver new
Notes, if so requested by the assignee and/or assigning Lender, to such assignee and/or to such
assigning Lender, with appropriate insertions, to reflect the new outstanding Loans of the assignee
and/or the assigning Lender.

               (g)     Participations.

                        (i)      Each Lender shall have the right at any time to sell one or more
participations to any Person (other than a Disqualified Institution, Holdings, any of its Subsidiaries
or any of its Affiliates) in all or any part of its Commitments, Loans or in any other Obligation.
Each Lender that sells a participation pursuant to this Section 10.6(g) shall, acting solely for U.S.
federal income tax purposes as an agent of the Borrower, maintain a register on which it records
the name and address of each participant and the principal amounts of (and stated interest on) each
participant’s participation interest with respect to the Term Loan (each, a “Participant Register”);
provided that no Lender shall have any obligation to disclose all or any portion of the Participant
Register to any Person (including the identity of any participant or any information relating to a

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participant’s interest in any Commitments, Loans or its other obligations under this Agreement)
except to the extent that the relevant parties, acting reasonably and in good faith, determine that
such disclosure is necessary to establish that such Commitment, Loan or other obligation is in
registered form under Treasury Regulation Section 5f.103-1 and Proposed Treasury Regulation
Section 1.163-5(b) and within the meaning of Section 163(f), 871(h)(2) and 881(c)(z) of the Code.
Unless otherwise required by the Internal Revenue Service, any disclosure required by the
foregoing sentence shall be made by the relevant Lender directly and solely to the Internal Revenue
Service. The entries in the Participant Register shall be conclusive absent manifest error, and such
Lender shall treat each Person whose name is recorded in the Participant Register as the owner of
a participation with respect to the Term Loan for all purposes under this Agreement,
notwithstanding any notice to the contrary.

                        (ii)    The holder of any such participation, other than an Affiliate of the
Lender granting such participation, shall not be entitled to require such Lender to take or omit to
take any action hereunder except with respect to any amendment, modification or waiver that
would (A) extend the final scheduled maturity of any Loan or Note in which such participant is
participating, or reduce the rate or extend the time of payment of interest or fees thereon (except
in connection with a waiver of applicability of any post-default increase in interest rates) or reduce
the principal amount thereof, or increase the amount of the participant’s participation over the
amount thereof then in effect (it being understood that a waiver of any Default or Event of Default
or of a mandatory reduction in the Commitment shall not constitute a change in the terms of such
participation, and that an increase in any Commitment or Loan shall be permitted without the
consent of any participant if the participant’s participation is not increased as a result thereof), (B)
consent to the assignment or transfer by any Credit Party of any of its rights and obligations under
this Agreement (except as permitted by Sections 6.8(a), (g) and (w)) or (C) release all or
substantially all of the Collateral under the Collateral Documents or all or substantially all of the
Guarantors from the Guaranty (in each case, except as expressly provided in the Credit
Documents) supporting the Loans hereunder in which such participant is participating.

                        (iii) The Borrower agrees that each participant shall be entitled to the
benefits of Sections 2.18(c), 2.19 and 2.20 to the same extent as if it were a Lender and had
acquired its interest by assignment pursuant to paragraph (c) of this Section 10.6; provided, that a
participant shall not be entitled to receive any greater payment under Section 2.19 or 2.20 than the
applicable Lender would have been entitled to receive with respect to the participation sold to such
participant, unless the sale of the participation to such participant is made with the Borrower’s
prior written consent (not to be unreasonably withheld or delayed). To the extent permitted by law,
each participant also shall be entitled to the benefits of Section 10.4 as though it were a Lender,
provided such participant agrees to be subject to Section 2.17 as though it were a Lender.

               (h)     Certain Other Assignments and Participations. In addition to any other
assignment or participation permitted pursuant to this Section 10.6 any Lender may assign, pledge
and/or grant a security interest in (other than to a Disqualified Institution) all or any portion of its
Loans, the other Obligations owed by or to such Lender, and its Notes, if any, to secure obligations
of such Lender including, without limitation, any Federal Reserve Bank as collateral security
pursuant to Regulation A of the Board of Governors and any operating circular issued by such
Federal Reserve Bank or any central bank having jurisdiction over such Lender in accordance with
applicable law; provided, that no Lender, as between the Borrower and such Lender, shall be

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relieved of any of its obligations hereunder as a result of any such assignment and pledge, and
provided further, that in no event shall the applicable Federal Reserve Bank, central bank, pledgee
or trustee, be considered to be a “Lender” or be entitled to require the assigning Lender to take or
omit to take any action hereunder.

        10.7. Independence of Covenants. All covenants hereunder shall be given independent
effect so that if a particular action or condition is not permitted by any of such covenants, the fact
that it would be permitted by an exception to, or would otherwise be within the limitations of,
another covenant shall not avoid the occurrence of a Default or an Event of Default if such action
is taken or condition exists.

       10.8. Survival of Representations, Warranties and Agreements. All representations,
warranties and agreements made herein shall survive the execution and delivery hereof and the
making of any Credit Extension. Notwithstanding anything herein or implied by law to the
contrary, the agreements of each Credit Party set forth in Sections 2.18(c), 2.19, 2.20, 10.2 and
10.3 and the agreements of Lenders set forth in Sections 2.17, 9.3(b) and 9.6 shall survive the
payment of the Loans and the termination hereof.

        10.9. No Waiver; Remedies Cumulative. No failure or delay on the part of any Agent
or any Lender in the exercise of any power, right or privilege hereunder or under any other Credit
Document shall impair such power, right or privilege or be construed to be a waiver of any default
or acquiescence therein, nor shall any single or partial exercise of any such power, right or privilege
preclude other or further exercise thereof or of any other power, right or privilege. The rights,
powers and remedies given to each Agent and each Lender hereby are cumulative and shall be in
addition to and independent of all rights, powers and remedies existing by virtue of any statute or
rule of law or in any of the other Credit Documents. Any forbearance or failure to exercise, and
any delay in exercising, any right, power or remedy hereunder shall not impair any such right,
power or remedy or be construed to be a waiver thereof, nor shall it preclude the further exercise
of any such right, power or remedy.

        10.10. Marshalling; Payments Set Aside. Neither any Agent nor any Lender shall be
under any obligation to marshal any assets in favor of any Credit Party or any other Person or
against or in payment of any or all of the Obligations. To the extent that any Credit Party makes a
payment or payments to Administrative Agent or Lenders (or to Administrative Agent, on behalf
of Lenders), or any Agent or Lender enforces any security interests or exercises any right of setoff,
and such payment or payments or the proceeds of such enforcement or setoff or any part thereof
are subsequently invalidated, declared to be fraudulent or preferential, set aside and/or required to
be repaid to a trustee, receiver or any other party under any bankruptcy law, any other state or
federal law, common law or any equitable cause, then, to the extent of such recovery, the obligation
or part thereof originally intended to be satisfied, and all Liens, rights and remedies therefor or
related thereto, shall be revived and continued in full force and effect as if such payment or
payments had not been made or such enforcement or setoff had not occurred.

       10.11. Severability. In case any provision in or obligation hereunder or under any other
Credit Document shall be invalid, illegal or unenforceable in any jurisdiction, the validity, legality




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and enforceability of the remaining provisions or obligations, or of such provision or obligation in
any other jurisdiction, shall not in any way be affected or impaired thereby.

       10.12. Obligations Several; Independent Nature of Lenders’ Rights. The obligations
of Lenders hereunder are several, and no Lender shall be responsible for the obligations or
Commitment of any other Lender hereunder. Nothing contained herein or in any other Credit
Document, and no action taken by Lenders pursuant hereto or thereto, shall be deemed to constitute
Lenders as a partnership, an association, a Joint Venture or any other kind of entity. The amounts
payable at any time hereunder to each Lender shall be a separate and independent debt, and each
Lender shall be entitled to protect and enforce its rights arising out hereof and it shall not be
necessary for any other Lender to be joined as an additional party in any proceeding for such
purpose.

       10.13. Headings. Section headings herein are included herein for convenience of
reference only and shall not constitute a part hereof for any other purpose or be given any
substantive effect.

     10.14. APPLICABLE LAW. THIS AGREEMENT AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES HEREUNDER (INCLUDING, WITHOUT
LIMITATION, ANY CLAIMS SOUNDING IN CONTRACT LAW OR TORT LAW
ARISING OUT OF THE SUBJECT MATTER HEREOF AND ANY DETERMINATIONS
WITH RESPECT TO POST-JUDGMENT INTEREST) SHALL BE GOVERNED BY, AND
SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF
THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAWS
PRINCIPLES THEREOF THAT WOULD RESULT IN THE APPLICATION OF ANY
LAW OTHER THAN THE LAW OF THE STATE OF NEW YORK.

     10.15. CONSENT TO JURISDICTION. SUBJECT TO CLAUSE (E) OF THE
FOLLOWING SENTENCE, ALL JUDICIAL PROCEEDINGS BROUGHT AGAINST
ANY PARTY ARISING OUT OF OR RELATING HERETO OR ANY OTHER CREDIT
DOCUMENTS, OR ANY OF THE OBLIGATIONS, SHALL BE BROUGHT IN ANY
FEDERAL COURT OF THE UNITED STATES OF AMERICA SITTING IN THE
BOROUGH OF MANHATTAN OR, IF THAT COURT DOES NOT HAVE SUBJECT
MATTER JURISDICTION, IN ANY STATE COURT LOCATED IN THE CITY AND
COUNTY OF NEW YORK. BY EXECUTING AND DELIVERING THIS AGREEMENT,
EACH PARTY HERETO, FOR ITSELF AND IN CONNECTION WITH ITS
PROPERTIES,    IRREVOCABLY     (A)   ACCEPTS    GENERALLY     AND
UNCONDITIONALLY THE EXCLUSIVE (SUBJECT TO CLAUSE (E) BELOW)
JURISDICTION AND VENUE OF SUCH COURTS; (B) WAIVES ANY DEFENSE OF
FORUM NON CONVENIENS; (C) AGREES THAT SERVICE OF ALL PROCESS IN
ANY SUCH PROCEEDING IN ANY SUCH COURT MAY BE MADE BY REGISTERED
OR CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO THE APPLICABLE
PARTY AT ITS ADDRESS PROVIDED IN ACCORDANCE WITH SECTION 10.1 OR
THE APPLICABLE ASSIGNMENT AGREEMENT; (D) AGREES THAT SERVICE AS
PROVIDED IN CLAUSE (C) ABOVE IS SUFFICIENT TO CONFER PERSONAL
JURISDICTION OVER THE APPLICABLE PARTY IN ANY SUCH PROCEEDING IN
ANY SUCH COURT, AND OTHERWISE CONSTITUTES EFFECTIVE AND BINDING

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SERVICE IN EVERY RESPECT; AND (E) EACH CREDIT PARTY AGREES THAT
AGENTS AND LENDERS RETAIN THE RIGHT TO SERVE PROCESS IN ANY OTHER
MANNER PERMITTED BY LAW OR TO BRING PROCEEDINGS AGAINST ANY
CREDIT PARTY IN THE COURTS OF ANY OTHER JURISDICTION IN
CONNECTION WITH THE EXERCISE OF ANY RIGHTS UNDER ANY CREDIT
DOCUMENT OR AGAINST ANY COLLATERAL OR THE ENFORCEMENT OF ANY
JUDGMENT, AND HEREBY SUBMITS TO THE JURISDICTION OF, AND CONSENTS
TO VENUE IN, ANY SUCH COURT.

       10.16. WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO HEREBY
AGREES TO WAIVE ITS RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM
OR CAUSE OF ACTION BASED UPON OR ARISING HEREUNDER OR UNDER ANY
OF THE OTHER CREDIT DOCUMENTS OR ANY DEALINGS BETWEEN THEM
RELATING TO THE SUBJECT MATTER OF THIS LOAN TRANSACTION OR THE
LENDER/BORROWER RELATIONSHIP THAT IS BEING ESTABLISHED. THE
SCOPE OF THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND
ALL DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE
SUBJECT MATTER OF THIS TRANSACTION, INCLUDING CONTRACT CLAIMS,
TORT CLAIMS, BREACH OF DUTY CLAIMS AND ALL OTHER COMMON LAW AND
STATUTORY CLAIMS. EACH PARTY HERETO ACKNOWLEDGES THAT THIS
WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS
RELATIONSHIP, THAT EACH HAS ALREADY RELIED ON THIS WAIVER IN
ENTERING INTO THIS AGREEMENT, AND THAT EACH WILL CONTINUE TO
RELY ON THIS WAIVER IN ITS RELATED FUTURE DEALINGS. EACH PARTY
HERETO FURTHER WARRANTS AND REPRESENTS THAT IT HAS REVIEWED
THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT IT KNOWINGLY AND
VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION
WITH LEGAL COUNSEL. THIS WAIVER IS IRREVOCABLE, MEANING THAT IT
MAY NOT BE MODIFIED EITHER ORALLY OR IN WRITING (OTHER THAN BY A
MUTUAL WRITTEN WAIVER SPECIFICALLY REFERRING TO THIS SECTION
10.16 AND EXECUTED BY EACH OF THE PARTIES HERETO), AND THIS WAIVER
SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS,
SUPPLEMENTS OR MODIFICATIONS HERETO OR ANY OF THE OTHER CREDIT
DOCUMENTS OR TO ANY OTHER DOCUMENTS OR AGREEMENTS RELATING TO
THE LOANS MADE HEREUNDER. IN THE EVENT OF LITIGATION, THIS
AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE
COURT.

        10.17. Confidentiality. Each Agent and each Lender shall hold all non-public
information regarding Holdings and its Subsidiaries, Affiliates and their businesses and obtained
by such Agent or such Lender pursuant to the requirements hereof in accordance with such Agent’s
and such Lender’s customary procedures for handling confidential information of such nature, it
being understood and agreed by the Borrower that, in any event, Administrative Agent may
disclose such information to the Lenders and each Agent and each Lender and each Agent may
make (i) disclosures of such information to Affiliates of such Lender or Agent and to their
respective officers, directors, partners, employees, legal counsel, independent auditors and other
advisors, experts or agents who need to know such information in connection with the Transactions

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and who are informed of the confidential nature of such information and who are subject to
customary confidentiality obligations of professional practice or who agree to be bound by the
terms of this Section 10.17 (or language substantially similar) (with each such Person, to the extent
within its control, responsible for such Person’s compliance with this paragraph), (ii) disclosures
of such information to any potential or prospective Lenders, hedge providers (or other derivative
transaction counterparties) (any such person, a “Derivative Counterparty”) participants or
assignees, in each case who agree (pursuant to customary syndication practice) to be bound by the
terms of this Section 10.17 (or confidentiality provisions at least as restrictive as those set forth in
this Section 10.17); provided that (x) the disclosure of any such information to any Lenders,
Derivative Counterparties or prospective Lenders, Derivative Counterparties or participants or
prospective participants referred to above shall be made subject to the acknowledgment and
acceptance by such Lender, Derivative Counterparty or prospective Lender or participant or
prospective participant that such information is being disseminated on a confidential basis (on
substantially the terms set forth in this Section 10.17 or confidentiality provisions at least as
restrictive as those set forth in this Section 10.17) in accordance with the standard syndication
processes of such Person or customary market standards for dissemination of such type of
information, which shall in any event require “click through” or other affirmative actions on the
part of recipient to access such information and (y) no such disclosure shall be made by any Person
to whom a list of Disqualified Institutions has been made available to any Person that is at such
time a Disqualified Institution, (iii) disclosure to any rating agency when required by it, provided
that, prior to any disclosure, such rating agency shall undertake in writing to preserve the
confidentiality of any confidential information relating to Credit Parties received by it from any
Agent or any Lender, (iv) [Reserved], (v) [Reserved], (vi) disclosures made pursuant to the order
of any court or administrative agency or in any pending legal or administrative proceeding, or
otherwise as required by applicable law or compulsory legal process (in which case such Person
agrees (except with respect to any routine or ordinary course audit or examination conducted by
bank accountants or any governmental, bank regulatory or self-regulatory authority licensing
examination or regulatory authority) to inform the Borrower promptly thereof to the extent
practicable and not prohibited by law), (vii) disclosures made upon the request or demand of any
regulatory or quasi-regulatory authority (including any self-regulatory authority) purporting to
have jurisdiction over such Person or any of its Affiliates (in which such Person agrees to inform
the Borrower promptly thereof (except with respect to any routine or ordinary course audit or
examination conducted by bank accountants or any governmental bank regulatory or self-
regulatory authority exercising examination or regulatory authority) to the extent practicable and
not prohibited by applicable law) and (viii) to the extent that such information becomes publicly
available other than by reason of improper disclosure by such Person or any of its Affiliates or any
Related Parties thereto in violation of any confidentiality obligations owing under this
Section 10.17, (ix) to the extent that such information is received by such Person from a third party
that is not, to such Person’s knowledge, subject to confidentiality obligations owing to any Credit
Party or any of their respective Subsidiaries or Affiliates, (x) to the extent that such information
was already in the possession of the Persons prior to any duty or otherundertaking of confidentiality
or is independently developed by such Persons without the use of such information and (xi) for
purposes of establishing a “due diligence” defense. In addition, each Agent and each Lender may
disclose the existence of this Agreement and the information about this Agreement to market data
collectors, similar services providers to the lending industry, and service providers to the Agents



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and the Lenders in connection with the administration and management of this Agreement and the
other Credit Documents.

        10.18. Usury Savings Clause. Notwithstanding any other provision herein, the aggregate
interest rate charged with respect to any of the Obligations, including all charges or fees in
connection therewith deemed in the nature of interest under applicable law shall not exceed the
Highest Lawful Rate. If the rate of interest (determined without regard to the preceding sentence)
under this Agreement at any time exceeds the Highest Lawful Rate, the Outstanding Amount of
the Loans made hereunder shall bear interest at the Highest Lawful Rate until the total amount of
interest due hereunder equals the amount of interest which would have been due hereunder if the
stated rates of interest set forth in this Agreement had at all times been in effect. In addition, if
when the Loans made hereunder are repaid in full the total interest due hereunder (taking into
account the increase provided for above) is less than the total amount of interest which would have
been due hereunder if the stated rates of interest set forth in this Agreement had at all times been
in effect, then to the extent permitted by law, the Borrower shall pay to Administrative Agent an
amount equal to the difference between the amount of interest paid and the amount of interest
which would have been paid if the Highest Lawful Rate had at all times been in effect.
Notwithstanding the foregoing, it is the intention of Lenders and the Borrower to conform strictly
to any applicable usury laws. Accordingly, if any Lender contracts for, charges, or receives any
consideration which constitutes interest in excess of the Highest Lawful Rate, then any such excess
shall be cancelled automatically and, if previously paid, shall at such Lender’s option be applied
to the Outstanding Amount of the Loans made hereunder or be refunded to the Borrower.

        10.19. Effectiveness; Counterparts. This Agreement shall become effective upon the
execution of a counterpart hereof by each of the parties hereto and receipt by the Borrower and
Administrative Agent of written notification of such execution and authorization of delivery
thereof. This Agreement may be executed in any number of counterparts, each of which when so
executed and delivered shall be deemed an original, but all such counterparts together shall
constitute but one and the same instrument. Delivery of an executed counterpart of a signature
page of this Agreement by facsimile or in electronic format (i.e., “pdf” or “tif” shall be effective
as delivery of a manually executed counterpart of this Agreement).

        10.20. Integration. This Agreement, together with the other Credit Documents and the
Fronting Lender Fee Letter, comprises the complete and integrated agreement of the parties on the
subject matter hereof and thereof and supersedes all prior agreements, written or oral, on such
subject matter. In the event of any conflict between the provisions of this Agreement and those of
any other Credit Document, the provisions of this Agreement shall control; provided that the
inclusion of supplemental rights or remedies in favor of the Agent or the Lenders in any other
Credit Document or in favor of the Fronting Lender in the Fronting Lender Fee Letter shall not be
deemed a conflict with this Agreement. Each Credit Document was drafted with the joint
participation of the respective parties thereto and shall be construed neither against nor in favor of
any party, but rather in accordance with the fair meaning thereof.

       10.21. PATRIOT Act. Each Lender subject to the PATRIOT ACT and Beneficial
Ownership Regulation and Administrative Agent (for itself and not on behalf of any Lender)
hereby notifies each Credit Party that pursuant to the requirements of the PATRIOT Act and the
Beneficial Ownership Regulation, it is required to obtain, verify and record information that

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identifies each Credit Party, which information includes the name and address of each Credit Party
and other information that will allow such Lender or Administrative Agent, as applicable, to
identify such Credit Party in accordance with the PATRIOT Act and the Beneficial Ownership
Regulation.

        10.22. Electronic Execution of Assignments and Certain Other Documents. The
words “execution,” “signed,” “signature,” and words of like import in any Credit Document, any
Assignment Agreement, any Funding Notice or any amendment or other modification hereof or
thereof (including waivers and consents) shall be deemed to include electronic signatures or the
keeping of records in electronic form, each of which shall be of the same legal effect, validity or
enforceability as a manually executed signature or the use of a paper-based recordkeeping system,
as the case may be, to the extent and as provided for in any applicable law, including the Federal
Electronic Signatures in Global and National Commerce Act, the New York State Electronic
Signatures and Records Act, or any other similar state laws based on the Uniform Electronic
Transactions Act.

         10.23. No Fiduciary Duty. Each Agent, each Lender and their Affiliates (collectively,
solely for purposes of this paragraph, the “Lenders”), may have economic interests that conflict
with those of the Credit Parties, their stockholders and/or their affiliates. Each Credit Party agrees
that nothing in the Credit Documents or otherwise will be deemed to create an advisory, fiduciary
or agency relationship or fiduciary or other implied duty between any Lender, on the one hand,
and such Credit Party, its stockholders or its affiliates, on the other. The Credit Parties
acknowledge and agree that (i) the transactions contemplated by the Credit Documents (including
the exercise of rights and remedies hereunder and thereunder) are arm’s-length commercial
transactions between the Lenders, on the one hand, and the Credit Parties, on the other, and (ii) in
connection therewith and with the process leading thereto, (x) no Lender has assumed an advisory
or fiduciary responsibility in favor of any Credit Party, its stockholders or its affiliates with respect
to the transactions contemplated hereby (or the exercise of rights or remedies with respect thereto)
or the process leading thereto (irrespective of whether any Lender has advised, is currently
advising or will advise any Credit Party, its stockholders or its Affiliates on other matters) or any
other obligation to any Credit Party except the obligations expressly set forth in the Credit
Documents and (y) each Lender is acting solely as principal and not as the agent or fiduciary of
any Credit Party, its management, stockholders, creditors or any other Person. Each Credit Party
acknowledges and agrees that it has consulted its own legal and financial advisors to the extent it
deemed appropriate and that it is responsible for making its own independent judgment with
respect to such transactions and the process leading thereto. Each Credit Party agrees that it will
not claim that any Lender has rendered advisory services of any nature or respect, or owes a
fiduciary or similar duty to such Credit Party, in connection with such transaction or the process
leading thereto.

        10.24. DIP Orders; Conflicts.

                (a)     Each Lender hereunder:

                         (i) consents to the creation of Liens on the Collateral pursuant to the ABL
DIP Credit Documents, which Liens will be subject to the terms and conditions (including with
respect to priority) of the DIP Orders;


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                        (ii) consents to the subordination of Liens provided for in the DIP Orders,
solely to the extent so provided therein; and

                      (iii) agrees that it will be bound by and will take no actions contrary to the
provisions of the DIP Orders.

               (b)   The parties hereto agree that in the event of any conflict between the DIP
Orders and this Agreement, that the terms of the DIP Orders shall govern and control.

       10.25. [Reserved].

         10.26. Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
Notwithstanding anything to the contrary in any Credit Document or in any other agreement,
arrangement or understanding among any such parties, each party hereto acknowledges that any
liability of any Lender that is an Affected Financial Institution arising under any Credit Document,
to the extent such liability is unsecured, may be subject to the Write-Down and Conversion Powers
of the applicable Resolution Authority and agrees and consents to, and acknowledges and agrees
to be bound by:

                (a)     the application of any Write-Down and Conversion Powers by the
applicable Resolution Authority to any such liabilities arising hereunder which may be payable to
it by any party hereto that is an Affected Financial Institution; and

               (b)     the effects of any Bail-In Action on any such liability, including, if
applicable:

                       (i) a reduction in full or in part or cancellation of any such liability;

                        (ii) a conversion of all, or a portion of, such liability into shares or other
instruments of ownership in such Affected Financial Institution, its parent undertaking, or a bridge
institution that may be issued to it or otherwise conferred on it, and that such shares or other
instruments of ownership will be accepted by it in lieu of any rights with respect to any such
liability under this Agreement or any other Credit Document;

                      (iii) the variation of the terms of such liability in connection with the
exercise of the Write-Down and Conversion Powers of the applicable Resolution Authority.

                                      [Signature pages follow]




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                IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
duly executed and delivered by their respective officers thereunto duly authorized as of the date
first written above.


BORROWER                                     DEL MONTE FOODS CORPORATION II INC.


                                             By:
                                                     Name:
                                                     Title:


HOLDINGS                                     DM INTERMEDIATE II CORPORATION


                                             By:
                                                     Name:
                                                     Title:




                                [DIP Credit and Guaranty Agreement]
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GUARANTORS:                           JOYBA, INC.


                                      By:
                                              Name:
                                              Title:

                                      KITCHEN BASICS, INC.


                                      By:
                                              Name:
                                              Title:


                                      GREEN THUMB FOODS
                                      DEL MONTE CHILLED FRUIT SNACKS,
                                      LLC


                                      By:
                                              Name:
                                              Title:

                                      DEL MONTE VENTURES, LLC


                                      By:
                                              Name:
                                              Title:

                                      SAGER CREEK FOODS, INC.


                                      By:
                                              Name:
                                              Title:




                         [DIP Credit and Guaranty Agreement]
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                                      HI CONTINENTAL CORP.


                                      By:
                                               Name:
                                               Title:

                                      COLLEGE INN FOODS


                                      By:
                                               Name:
                                      Title:

                                      CONTADINA FOODS, INC.



                                      By:
                                               Name:
                                               Title:

                                      S & W FINE FOODS, INC.


                                      By:
                                               Name:
                                               Title:




                         [DIP Credit and Guaranty Agreement]
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                                      WILMINGTON SAVINGS FUND SOCIETY,
                                      FSB,
                                      as Administrative Agent and Collateral Agent


                                      By:
                                                       Authorized Signatory




                         [DIP Credit and Guaranty Agreement]
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                                      OPY CREDIT CORP., solely in its capacity as
                                      Trading Agent and solely with respect to Sections
                                      9.3, 9.5, 9.6, 10.2, 10.3, 10.8, 10.14, 10.15, 10.16,
                                      10.17, 10.19, 10.20 and 10.23 herein


                                      By:
                                                       Authorized Signatory




                         [DIP Credit and Guaranty Agreement]
